          Case: 23-136    Document: 2-2     Page: 1   Filed: 06/16/2023




                              No. _____________


                In the United States Court of Appeals
                        for the Federal Circuit
                 _______________________________________

                IN RE: CHARTER COMMUNICATIONS, INC.,

                                                  Petitioner.
                   ___________________________________

                  On Petition for a Writ of Mandamus to the
          United States District Court for the Eastern District of Texas
                             Case No. 22-CV-0125
              Hon. Rodney Gilstrap, United States District Judge
                 ____________________________________

           NON-CONFIDENTIAL APPENDIX IN SUPPORT OF
              PETITION FOR A WRIT OF MANDAMUS
                __________________________________




                                          Daniel L. Reisner
                                          Elizabeth Long
                                          Melissa Brown
                                          Arnold & Porter Kaye Scholer LLP
                                          250 West 55th Street
                                          New York, New York 10019
                                          Tel.: (212) 836-8000
                                          Fax: (212) 836-8689

June 16, 2023                             Attorneys for Petitioner
                                          Charter Communications, Inc.
           Case: 23-136     Document: 2-2    Page: 2   Filed: 06/16/2023




     TABLE OF CONTENTS FOR NON-CONFIDENTIAL APPENDIX

                  CONFIDENTIAL MATERIAL OMITTED

       In the non-confidential version of the Appendix, confidential material or
information relating to Petitioner’s business practices and other commercially
sensitive information has been redacted or omitted in its entirety. That material or
information was designated as Confidential or Highly Confidential and filed with
redactions or under seal pursuant to the parties’ Stipulated Protective Order, So-
Ordered by the district court on August 10, 2022. (See Case No. 2:22-CV-0125,
Dkt. 36). Specifically, the following pages contain redactions or are entirely
omitted on the basis that they reflect Petitioner’s business practices and other
commercially sensitive information: Appx8, Appx10, Appx 17, Appx353-356,
Appx358-359, Appx364, Appx367, Appx379-395, Appx399-414, Appx420-454,
Appx461, Appx464-472, Appx474, Appx482, Appx484, Appx487, Appx496-562,
Appx565-570, Appx562-722, Appx736-737, Appx742, Appx747, Appx786-791,
Appx801, Appx805-806.

      The highlighting included at pages Appx496-729 appear exactly as those
pages were filed to the public docket before the district court.
                                      INDEX

     DATE                            DESCRIPTION                           PAGE

August 10, 2022     Stipulated Protective Order, So Ordered by Judge         i-xv
                    Rodney Gilstrap (Dkt. 36)

May 3, 2023         Memorandum Opinion and Order Denying                   Appx1
                    Defendant’s Motion to Dismiss for Improper Venue
                    (Dkt. 98-1 - Public Version)

April 27, 2022      Original Complaint for Patent Infringement             Appx21
                    (Dkt. 1)

                    Civil Cover Sheet (Dkt. 1-1)                           Appx40

                    Ex. A to Complaint (Dkt. 1-2)                          Appx41

                    Ex. B to Complaint (Dkt. 1-3)                          Appx49

                    Ex. C to Complaint (Dkt. 1-4)                          Appx65


                                         i
          Case: 23-136    Document: 2-2     Page: 3   Filed: 06/16/2023




                   Ex. D to Complaint (Dkt. 1-5)                          Appx78

                   Ex. E to Complaint (Dkt. 1-6)                          Appx98

                   Ex. F to Complaint (Dkt. 1-7)                          Appx112

                   Ex. G to Complaint (Dkt. 1-8)                          Appx127

                   Ex. H to Complaint (Dkt. 1-9)                          Appx132

                   Ex. I to Complaint (Dkt. 1-10)                         Appx138

                   Ex. J to Complaint (Dkt. 1-11)                         Appx145

                   Ex. K to Complaint (Dkt. 1-12)                         Appx148

                   Ex. L to Complaint (Dkt. 1-13)                         Appx153

January 10, 2023   Second Amended Complaint for Patent                    Appx158
                   Infringement (Dkt. 53)

                   Ex. A to Second Amended Complaint (Dkt. 53-1)          Appx185

                   Ex. B to Second Amended Complaint (Dkt. 53-2)          Appx193

                   Ex. C to Second Amended Complaint (Dkt. 53-3)          Appx209

                   Ex. D to Second Amended Complaint (Dkt. 53-4)          Appx222

                   Ex. E to Second Amended Complaint (Dkt. 53-5)          Appx242

                   Ex. F to Second Amended Complaint (Dkt. 53-6)          Appx256

                   Ex. G to Second Amended Complaint (Dkt. 53-7)          Appx271

                   Ex. H to Second Amended Complaint (Dkt. 53-8)          Appx276

                   Ex. I to Second Amended Complaint (Dkt. 53-9)          Appx282

                   Ex. J to Second Amended Complaint (Dkt. 53-10)         Appx289

                   Ex. K to Second Amended Complaint (Dkt. 53-11)         Appx292

                   Ex. L to Second Amended Complaint (Dkt. 53-12)         Appx297


                                       ii
          Case: 23-136    Document: 2-2      Page: 4   Filed: 06/16/2023




                   Ex. M to Second Amended Complaint (Dkt. 53-13)          Appx302

                   Ex. N to Second Amended Complaint (Dkt. 53-14)          Appx341

January 30, 2023   Defendant’s Motion to Dismiss the Second                Appx344
                   Amended Complaint for Improper Venue
                   (Dkt. 62 - Public Version)

                   Declaration of Melissa A. Brown in Support of           Appx371
                   Defendant’s Motion to Dismiss
                   (Dkt. 62-2 - Public Version)

                   Exhibit 1 to Motion to Dismiss                          Appx375
                   (Dkt. 62-3 - Public Version)

                   Exhibit 2 to Motion to Dismiss                          Appx379
                   (Dkt. 62-4 - Public Version) (Filed Under Seal)

                   Exhibit 3 to Motion to Dismiss                          Appx396
                   (Dkt. 62-5 - Public Version)

                   Exhibit 4 to Motion to Dismiss                          Appx399
                   (Dkt. 62-6 - Public Version) (Filed Under Seal)

                   Exhibit 5 to Motion to Dismiss                          Appx415
                   (Dkt. 62-7 - Public Version)

                   Exhibit 6 to Motion to Dismiss                          Appx417
                   (Dkt. 62-8 - Public Version)

                   Exhibit 7 to Motion to Dismiss                          Appx420
                   (Dkt. 62-9 - Public Version) (Filed Under Seal)

                   Exhibit 8 to Motion to Dismiss                          Appx424
                   (Dkt. 62-9 - Public Version) (Filed Under Seal)

                   Exhibit 9 to Motion to Dismiss                          Appx440
                   (Dkt. 62-9 - Public Version) (Filed Under Seal)

                   Exhibit 10 to Motion to Dismiss                         Appx448
                   (Dkt. 62-9 - Public Version) (Filed Under Seal)




                                       iii
          Case: 23-136   Document: 2-2     Page: 5     Filed: 06/16/2023




                 Exhibit 11 to Motion to Dismiss                           Appx451
                 (Dkt. 62-9 - Public Version) (Filed Under Seal)

                 Exhibit 12 to Motion to Dismiss                           Appx453
                 (Dkt. 62-9 - Public Version) (Filed Under Seal)

Feb. 21, 2023    Plaintiff’s Opposition to Motion to Dismiss for           Appx455
                 Improper Venue
                 (Dkt. 70 - Public Version)

                 Declaration of Matthew Blair In Support of                Appx491
                 Plaintiff’s Opposition
                 (Dkt. 70-1 - Public Version)

                 Exhibit A to Plaintiff’s Opposition                       Appx496
                 (Dkt. 70-2 - Public Version) (Filed Under Seal)

                 Exhibit B to Plaintiff’s Opposition                       Appx517
                 (Dkt. 70-2 - Public Version) (Filed Under Seal)

                 Exhibit C to Plaintiff’s Opposition                       Appx533
                 (Dkt. 70-2 - Public Version) (Filed Under Seal)

                 Exhibit D to Plaintiff’s Opposition                       Appx549
                 (Dkt. 70-2 - Public Version) (Filed Under Seal)

                 Exhibit E to Plaintiff’s Opposition                       Appx557
                 (Dkt. 70-2 - Public Version) (Filed Under Seal)

                 Exhibit F to Plaintiff’s Opposition                       Appx563
                 (Dkt. 70-3 - Public Version)

                 Exhibit G to Plaintiff’s Opposition                       Appx565
                 (Dkt. 70-4 - Public Version) (Filed Under Seal)

                 Exhibit H to Plaintiff’s Opposition                       Appx567
                 (Dkt. 70-4 - Public Version) (Filed Under Seal)

                 Exhibit I to Plaintiff’s Opposition                       Appx571
                 (Dkt. 70-5 - Public Version)

                 Exhibit J to Plaintiff’s Opposition                       Appx574


                                      iv
Case: 23-136   Document: 2-2    Page: 6      Filed: 06/16/2023




       (Dkt. 70-6 - Public Version)

       Exhibit K to Plaintiff’s Opposition                       Appx577
       (Dkt. 70-7 - Public Version)

       Exhibit L to Plaintiff’s Opposition                       Appx585
       (Dkt. 70-8 - Public Version)

       Exhibit M to Plaintiff’s Opposition                       Appx593
       (Dkt. 70-9 - Public Version)

       Exhibit N to Plaintiff’s Opposition                       Appx597
       (Dkt. 70-10 - Public Version)

       Exhibit O to Plaintiff’s Opposition                       Appx600
       (Dkt. 70-11 - Public Version)

       Exhibit P to Plaintiff’s Opposition                       Appx604
       (Dkt. 70-12 - Public Version)

       Exhibit Q to Plaintiff’s Opposition                       Appx607
       (Dkt. 70-13 - Public Version)

       Exhibit R to Plaintiff’s Opposition                       Appx617
       (Dkt. 70-14 - Public Version)

       Exhibit S to Plaintiff’s Opposition                       Appx618
       (Dkt. 70-15 - Public Version)

       Exhibit T to Plaintiff’s Opposition                       Appx620
       (Dkt. 70-16 - Public Version)

       Exhibit U to Plaintiff’s Opposition                       Appx622
       (Dkt. 70-17 - Public Version)

       Exhibit V to Plaintiff’s Opposition                       Appx624
       (Dkt. 70-18 - Public Version)

       Exhibit W to Plaintiff’s Opposition                       Appx635
       (Dkt. 70-19 - Public Version)

       Exhibit X to Plaintiff’s Opposition                       Appx648



                            v
          Case: 23-136   Document: 2-2    Page: 7   Filed: 06/16/2023




                 (Dkt. 70-20 - Public Version)

                 Exhibit Y to Plaintiff’s Opposition                    Appx652
                 (Dkt. 70-21 - Public Version) (Under Seal)

                 Exhibit Z to Plaintiff’s Opposition                    Appx658
                 (Dkt. 70-21 - Public Version) (Under Seal)

                 Exhibit AA to Plaintiff’s Opposition                   Appx671
                 (Dkt. 70-21 - Public Version) (Under Seal)

                 Exhibit AB to Plaintiff’s Opposition                   Appx694
                 (Dkt. 70-21 - Public Version) (Under Seal)

                 Exhibit AC to Plaintiff’s Opposition                   Appx723
                 (Dkt. 70-22 - Public Version)

March 9, 2023    Defendant’s Reply in Further Support of its Motion     Appx730
                 to Dismiss for Improper Venue
                 (Dkt. 79 - Public Version)

March 9, 2023    Declaration of Melissa A. Brown in Further             Appx746
                 Support of Defendant’s Motion to Dismiss for
                 Improper Venue
                 (Dkt. 79-1 - Public Version)

March 9, 2023    Exhibit 13 to Defendant’s Reply Brief                  Appx749
                 (Dkt. 79-2 - Public Version)

March 9, 2023    Exhibit 14 to Defendant’s Reply Brief                  Appx786
                 (Dkt. 79-3 - Public Version) (Under Seal)

March 6, 2023    Plaintiff’s Supplement to its Opposition to Motion     Appx792
                 to Dismiss for Improper Venue
                 (Dkt. 76 - Public Version)

March 23, 2023   Defendant’s Sur-Reply in Further Opposition to         Appx796
                 Motion to Dismiss for Improper Venue
                 (Dkt. 83 - Public Version)

N/A              District Court Docket Sheet, as of June 12, 2023       Appx810



                                     vi
              Case: 23-136         Document: 2-2         Page: 8      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 36 Filed 08/10/22 Page 1 of 15 PageID #: 464




                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


ENTROPIC COMMUNICATIONS, LLC,

                               Plaintiff,

v.                                                      Case No. 2:22-cv-00125-JRG

CHARTER COMMUNICATIONS, INC.;
Spectrum Advanced Services, LLC; and
Spectrum Management Holding Company,
LLC,


                             Defendants.

                            STIPULATED PROTECTIVE ORDER
       Plaintiff Entropic Communications, LLC (“Entropic” or “Plaintiff”) and Defendants Charter

Communications, Inc., Spectrum Advanced Services, LLC, and Spectrum Management Holding

Company, LLC (collectively “Charter” or “Defendants”) hereafter referred to individually as a

“Party” and collectively as “the Parties” to the “Action,” believe that certain information that is or

will be encompassed by discovery demands by the Parties involves the production or disclosure

of trade secrets, confidential business information, or other proprietary information;

       WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with

Federal Rule of Civil Procedure 26(c):

       THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

1.     Each Party may designate as confidential for protection under this Order, in whole or in part,

       any document, information or material that constitutes or includes, in whole or in part,

       confidential or proprietary information or trade secrets of the Party or a Third Party to whom

       the Party reasonably believes it owes an obligation of confidentiality with respect to such



                                                  1

                                              APPXi
           Case: 23-136         Document: 2-2         Page: 9       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 36 Filed 08/10/22 Page 2 of 15 PageID #: 465




      document, information or material (“Protected Material”). Protected Material shall be

      designated by the Party producing it by affixing a legend or stamp on such document,

      information or material as follows: “CONFIDENTIAL.” The word “CONFIDENTIAL”

      shall be placed clearly on each page of the Protected Material (except deposition and hearing

      transcripts) for which such protection is sought. For deposition and hearing transcripts, the

      word “CONFIDENTIAL” shall be placed on the cover page of the transcript (if not

      already present on the cover page of the transcript when received from the court reporter)

      by each attorney receiving a copy of the transcript after that attorney receives

      notice of the designation of some or all of that transcript as “CONFIDENTIAL.”

2.    Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of this

      Order with the designation “Confidential” or “Confidential - Outside Attorneys’ Eyes Only”

      shall receive the same treatment as if designated “RESTRICTED - ATTORNEYS’ EYES

      ONLY” under this Order, unless and until such document is redesignated to have a different

      classification under this Order.

3.    With respect to documents, information or material designated “CONFIDENTIAL,

      “RESTRICTED - ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

      SOURCE CODE” (“DESIGNATED MATERIAL”),1 subject to the provisions herein

      and unless otherwise stated, this Order governs, without limitation: (a) all documents,

      electronically stored information, and/or things as defined by the Federal Rules of Civil

      Procedure; (b) all pretrial, hearing or deposition testimony, or documents marked as exhibits




      1
          The term DESIGNATED MATERIAL is used throughout this Protective Order to refer
to the class of materials designated as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’
EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE,” both individually and
collectively.


                                                2



                                           APPXii
           Case: 23-136         Document: 2-2         Page: 10       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 36 Filed 08/10/22 Page 3 of 15 PageID #: 466




     or for identification in depositions and hearings; (c) pretrial pleadings, exhibits to pleadings

     and other court filings; (d) affidavits; and (e) stipulations. All copies, reproductions,

     extracts, digests and complete or partial summaries prepared from any DESIGNATED

     MATERIALS shall also be considered DESIGNATED MATERIAL and treated as

     such under this Order.

4.   A designation of Protected Material (i.e., “CONFIDENTIAL,” “RESTRICTED -

     ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE”)

     may be made at any time. Inadvertent or unintentional production of documents,

     information or material that has not been designated as DESIGNATED MATERIAL shall

     not be deemed a waiver in whole or in part of a claim for confidential treatment. Any party

     that inadvertently or unintentionally produces Protected Material without designating it as

     DESIGNATED MATERIAL may request destruction of that Protected Material by

     notifying the recipient(s), as soon as reasonably possible after the producing Party

     becomes aware of the inadvertent or unintentional disclosure, and providing replacement

     Protected Material that is properly designated. The recipient(s) shall then destroy all copies

     of the inadvertently or unintentionally produced Protected Materials and any documents,

     information or material derived from or based thereon.

5.   “CONFIDENTIAL” documents, information and material may be disclosed only to the

     following persons, except upon receipt of the prior written consent of the designating party,

     upon order of the Court, or as set forth in paragraph 12 herein:

     (a)     outside counsel of record in this Action for the Parties;

     (b)     employees of such counsel assigned to and reasonably necessary to assist such
             counsel in the litigation of this Action;

     (c)     in-house counsel for the Parties who either have responsibility for making decisions



                                                3

                                          APPXiii
           Case: 23-136         Document: 2-2        Page: 11       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 36 Filed 08/10/22 Page 4 of 15 PageID #: 467




            dealing directly with the litigation of this Action, or who are assisting outside
            counsel in the litigation of this Action;

     (d)    up to and including three (3) designated representatives of each of the Parties to the
            extent reasonably necessary for the litigation of this Action, except that either party
            may in good faith request the other party’s consent to designate one or more
            additional representatives, the other party shall not unreasonably withhold such
            consent, and the requesting party may seek leave of Court to designate such
            additional representative(s) if the requesting party believes the other party has
            unreasonably withheld such consent;

     (e)    outside consultants or experts (i.e., not existing employees or affiliates of a Party or
            an affiliate of a Party) retained for the purpose of this litigation, provided that: (1)
            such consultants or experts are not presently employed by the Parties hereto for
            purposes other than this Action; (2) before access is given, the consultant or expert
            has completed the Undertaking attached as Exhibit A hereto and the same is served
            upon the producing Party with a current curriculum vitae of the consultant or expert
            at least ten (10) days before access to the Protected Material is to be given to that
            consultant or Undertaking to object to and notify the receiving Party in writing that
            it objects to disclosure of Protected Material to the consultant or expert. The Parties
            agree to promptly confer and use good faith to resolve any such objection. If the
            Parties are unable to resolve any objection, the objecting Party may file a motion
            with the Court within fifteen (15) days of the notice, or within such other time as the
            Parties may agree, seeking a protective order with respect to the proposed disclosure.
            The objecting Party shall have the burden of proving the need for a protective order.
            No disclosure shall occur until all such objections are resolved by agreement or
            Court order;

     (f)    independent litigation support services, including persons working for or as court
            reporters, graphics or design services, jury or trial consulting services, and
            photocopy, document imaging, and database services retained by counsel and
            reasonably necessary to assist counsel with the litigation of this Action; and

     (g)    the Court and its personnel.

6.   A Party shall designate documents, information or material as “CONFIDENTIAL” only

     upon a good faith belief that the documents, information or material contains confidential

     or proprietary information or trade secrets of the Party or a Third Party to whom the Party

     reasonably believes it owes an obligation of confidentiality with respect to such documents,

     information or material.

7.   Documents, information or material produced pursuant to any discovery request in this



                                               4

                                           APPXiv
            Case: 23-136        Document: 2-2          Page: 12       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 36 Filed 08/10/22 Page 5 of 15 PageID #: 468




      Action, including but not limited to Protected Material designated as DESIGNATED

      MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not

      be used for any other purpose. Any person or entity who obtains access to DESIGNATED

      MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

      duplicates, extracts, summaries or descriptions of such DESIGNATED MATERIAL or any

      portion thereof except as may be reasonably necessary in the litigation of this Action. Any

      such copies, duplicates, extracts, summaries or descriptions shall be classified

      DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

8.    To the extent a producing Party believes that certain Protected Material qualifying to be

      designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

      limitation, the producing Party may designate such Protected Material “RESTRICTED --

      ATTORNEYS’ EYES ONLY,” or to the extent such Protected Material includes computer

      source code and/or live data (that is, data as it exists residing in a database or databases)

      (“Source Code Material”), the producing Party may designate such Protected Material as

      “RESTRICTED CONFIDENTIAL SOURCE CODE.”

9.    For Protected Material designated RESTRICTED -- ATTORNEYS’ EYES ONLY,

      access to, and disclosure of, such Protected Material shall be limited to individuals listed

      in paragraphs 5(a-c) and (e-g); provided, however, that access by in-house counsel

      pursuant to paragraph 5(c) be limited to in-house counsel who exercise no competitive

      decision-making authority on behalf of the client.

10.   For Protected Material designated RESTRICTED CONFIDENTIAL SOURCE CODE,

      the following additional restrictions apply:

      (a)    Access to a Party’s Source Code Material shall be provided only on “stand-alone”
             computer(s) (that is, the computer may not be linked to any network, including a



                                                5

                                            APPXv
             Case: 23-136        Document: 2-2          Page: 13       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 36 Filed 08/10/22 Page 6 of 15 PageID #: 469




               local area network (“LAN”), an intranet or the Internet).      The stand-alone
               computer(s) may be connected to (i) a printer, or (ii) a device capable of
               temporarily storing electronic copies solely for the limited purposes permitted
               pursuant to paragraphs 10 (h and k) below. Additionally, except as provided in
               paragraph 10(k) below, the stand-alone computer(s) may only be located at the
               offices of the producing Party’s outside counsel;

       (b)     The receiving Party shall make reasonable efforts to restrict its requests for such
               access to the stand-along computer(s) to normal business hours, which for purposes
               of this paragraph shall be 8:00 a.m. through 6:00 p.m. However, upon reasonable
               notice from the receiving party, the producing Party shall make reasonable efforts to
               accommodate the receiving Party’s request for access to the stand-alone computer(s)
               outside of normal business hours. The Parties agree to cooperate in good faith such
               that maintaining the producing Party’s Source Code Material at the offices of its
               outside counsel shall not unreasonably hinder the receiving Party’s ability to
               efficiently and effectively conduct the prosecution or defense of this Action;

       (c)     The producing Party shall provide the receiving Party with information explaining
               how to start, log on to, and operate the stand-alone computer(s) in order to access the
               produced Source Code Material on the stand-alone computer(s);

       (d)     The producing Party will produce Source Code Material in computer searchable
               format on the stand-alone computer(s) as described above;

       (e)     Access to Protected Material designated RESTRICTED CONFIDENTIAL -
               SOURCE CODE shall be limited to outside counsel and up to three (3) outside
               consultants or experts2 (i.e., not existing employees or affiliates of a Party or an
               affiliate of a Party) retained for the purpose of this litigation and approved to access
               such Protected Materials pursuant to paragraph 5(e) above. A receiving Party may
               include excerpts of Source Code Material in a pleading, exhibit, expert report,
               discovery document, deposition transcript, other Court document, provided that the
               Source Code Documents are appropriately marked under this Order, restricted to
               those who are entitled to have access to them as specified herein, and, if filed with
               the Court, filed under seal in accordance with the Court’s rules, procedures and
               orders;

       (f)     To the extent portions of Source Code Material are quoted in a Source Code
               Document, either (1) the entire Source Code Document will be stamped and treated
               as RESTRICTED CONFIDENTIAL SOURCE CODE or (2) those pages containing
               quoted Source Code Material will be separately stamped and treated as

       2
         For the purposes of this paragraph, an outside consultant or expert is defined to include
the outside consultant’s or expert’s direct reports and other support personnel, such that the
disclosure to a consultant or expert who employs others within his or her firm to help in his or
her analysis shall count as a disclosure to a single consultant or expert.


                                                  6

                                            APPXvi
            Case: 23-136        Document: 2-2          Page: 14        Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 36 Filed 08/10/22 Page 7 of 15 PageID #: 470




              RESTRICTED CONFIDENTIAL SOURCE CODE;

      (g)     Except as set forth in paragraph 10(k) below, no electronic copies of Source Code
              Material shall be made without prior written consent of the producing Party, except
              as necessary to create documents which, pursuant to the Court’s rules, procedures
              and order, must be filed or served electronically;

      (h)     The receiving Party shall be permitted to make a reasonable number of printouts and
              photocopies of Source Code Material, all of which shall be designated and clearly
              labeled “RESTRICTED CONFIDENTIAL SOURCE CODE,” and the receiving
              Party shall maintain a log of all such files that are printed or photocopied;

      (i)     Should such printouts or photocopies be transferred back to electronic media, such
              media shall be labeled “RESTRICTED CONFIDENTIAL SOURCE CODE” and
              shall continue to be treated as such;

      (j)     If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
              photocopies of Source Code Material, the receiving Party shall ensure that such
              outside counsel, consultants, or experts keep the printouts or photocopies in a
              secured locked area in the offices of such outside counsel, consultants, or expert.
              The receiving Party may also temporarily keep the printouts or photocopies at: (i) the
              Court for any proceedings(s) relating to the Source Code Material, for the dates
              associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
              the Source Code Material are taken, for the dates associated with the deposition(s);
              and (iii) any intermediate location reasonably necessary to transport the printouts or
              photocopies (e.g., a hotel prior to a Court proceeding or deposition); and

      (k)     A producing Party’s Source Code Material may only be transported by the receiving
              Party at the direction of a person authorized under paragraph 10(e) above to another
              person authorized under paragraph 10(e) above, on paper or removable electronic
              media (e.g., a DVD, CD-ROM, or flash memory “stick”) via hand carry, Federal
              Express or other similarly reliable courier. Source Code Material may not be
              transported or transmitted electronically over a network of any kind, including a
              LAN, an intranet, or the Internet. Source Code Material may only be transported
              electronically for the purpose of Court proceeding(s) or deposition(s) as set forth in
              paragraph 10(j) above and is at all times subject to the transport restrictions set forth
              herein. But, for those purposes only, the Source Code Materials may be loaded onto
              a stand-alone computer.

11.   Any attorney representing a Party, whether in-house or outside counsel, and any person

      associated with a Party and permitted to receive the other Party’s Protected Material that is

      designated RESTRICTED -- ATTORNEYS’ EYES ONLY and/or




                                                 7

                                           APPXvii
           Case: 23-136          Document: 2-2         Page: 15       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 36 Filed 08/10/22 Page 8 of 15 PageID #: 471




      RESTRICTED CONFIDENTIAL SOURCE CODE (collectively “HIGHLY SENSITIVE

      MATERIAL”), who obtains, receives, has access to, or otherwise learns, in whole or in

      part, the other Party’s HIGHLY SENSITIVE MATERIAL under this Order shall not

      prepare, prosecute, supervise, or assist in the preparation or prosecution of any patent

      application pertaining to the field of the invention of the patents-in-suit on behalf of the

      receiving Party or its acquirer, successor, predecessor, or other affiliate during the

      pendency of this Action and for one year after its conclusion, including any appeals. To

      ensure compliance with the purpose of this provision, each Party shall create an “Ethical

      Wall” between those persons with access to HIGHLY SENSITIVE MATERIAL and any

      individuals who, on behalf of the Party or its acquirer, successor, predecessor, or other

      affiliate, prepare, prosecute, supervise or assist in the preparation or prosecution of any

      patent application pertaining to the field of invention of the patent-in-suit.

12.   Nothing in this Order shall require production of documents, information or other material

      that a Party contends is protected from disclosure by the attorney-client privilege, the work

      product doctrine, or other privilege, doctrine, or immunity. If documents, information or

      other material subject to a claim of attorney-client privilege, work product doctrine, or other

      privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

      production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

      any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally

      produces documents, information or other material it reasonably believes are protected under

      the attorney-client privilege, work product doctrine, or other privilege, doctrine, or immunity

      may obtain the return of such documents, information or other material by promptly

      notifying the recipient(s) and providing a privilege log for the inadvertently or




                                                 8

                                          APPXviii
           Case: 23-136         Document: 2-2         Page: 16       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 36 Filed 08/10/22 Page 9 of 15 PageID #: 472




      unintentionally produced documents, information or other material. The recipient(s) shall

      gather and return all copies of such documents, information or other material to the

      producing Party, except for any pages containing privileged or otherwise protected markings

      by the recipient(s), which pages shall instead be destroyed and certified as such to the

      producing Party.

13.   There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

      to have access thereto to any person who is not authorized for such access under this Order.

      The Parties are hereby ORDERED to safeguard all such documents, information and

      material to protect against disclosure to any unauthorized persons or entities.

14.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

      DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

      the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have

      access to the DESIGNATED MATERIAL by virtue of his or her employment with the

      designating party, (ii) identified in the DESIGNATED MATERIAL as an author, addressee,

      or copy recipient of such information, (iii) although not identified as an author, addressee,

      or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary course of

      business, seen such DESIGNATED MATERIAL, (iv) a current or former officer, director

      or employee of the producing Party or a current or former officer, director or employee of

      a company affiliated with the producing Party; (v) counsel for a Party, including outside

      counsel and in-house counsel (subject to paragraph 9 of this Order); (vi) an independent

      contractor, consultant, and/or expert retained for the purpose of this litigation; (vii) court

      reporters and videographers; (viii) the Court; or (ix) other persons entitled hereunder to

      access to DESIGNATED MATERIAL. DESIGNATED MATERIAL shall not be disclosed




                                                9

                                           APPXix
          Case: 23-136           Document: 2-2           Page: 17        Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 36 Filed 08/10/22 Page 10 of 15 PageID #: 473




      to any other persons unless prior authorization is obtained from counsel representing the

      producing Party or from the Court.

15.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

      deposition or hearing transcript, designate the deposition or hearing transcript or any portion

      thereof as “CONFIDENTIAL,” “RESTRICTED - ATTORNEY’ EYES ONLY,” or

      “RESTRICTED CONFIDENTIAL SOURCE CODE” pursuant to this Order. Access to the

      deposition or hearing transcript so designated shall be limited in accordance with the terms

      of this Order.   Until expiration of the 30-day period, the entire deposition or hearing

      transcript shall be treated as confidential.

16.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

      shall remain under seal until further order of the Court. The filing party shall be responsible

      for informing the Clerk of the Court that the filing should be sealed and for placing the

      legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

      caption and conspicuously on each page of the filing. Exhibits to a filing shall conform to

      the labeling requirements set forth in this Order. If a pretrial pleading filed with the Court,

      or an exhibit thereto, discloses or relies on confidential documents, information or material,

      such confidential portions shall be redacted to the extent necessary and the pleading or

      exhibit filed publicly with the Court.

17.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

      the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

      this Action, or from using any information contained in DESIGNATED MATERIAL at

      the trial of this Action, subject to any pretrial order issued by this Court.

18.   A Party may request in writing to the other Party that the designation given to any




                                                10


                                               APPXx
           Case: 23-136         Document: 2-2        Page: 18       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 36 Filed 08/10/22 Page 11 of 15 PageID #: 474




      DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does not

      agree to redesignation within ten (10) days of receipt of the written request, the requesting

      Party may apply to the Court for relief. Upon any such application to the Court, the burden

      shall be on the designating Party to show why its classification is proper. Such application

      shall be treated procedurally as a motion to compel pursuant to Federal Rules of Civil

      Procedure 37, subject to the Rule’s provisions relating to sanctions.       In making such

      application, the requirements of the Federal Rules of Civil Procedure and the Local Rules

      of the Court shall be met.     Pending the Court’s determination of the application, the

      designation of the designating Party shall be maintained.

19.   Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

      accordance with the terms of this Order shall be advised by counsel of the terms of this

      Order, shall be informed that he or she is subject to the terms and conditions of this Order,

      and shall sign an acknowledgment that he or she has received a copy of, has read, and has

      agreed to be bound by this Order. A copy of the acknowledgment form is attached as

      Appendix A.

20.   To the extent that any discovery is taken of persons who are not Parties to this Action

      (“Third Parties”) and in the event that such Third Parties contended the discovery sought

      involves trade secrets, confidential business information, or other proprietary information,

      then such Third Parties may agree to be bound by this Order.

21.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

      designate as “CONFIDENTIAL” or “RESTRICTED -- ATTORNEYS’ EYES ONLY”

      any documents, information or other material, in whole or in part, produced or give by

      such documents, information or other material, in whole or in part, produced or give by




                                               11

                                          APPXxi
           Case: 23-136         Document: 2-2        Page: 19       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 36 Filed 08/10/22 Page 12 of 15 PageID #: 475




      such Third Parties. The Third Parties shall have ten (10) days after production of such

      documents, information or other materials to make such a designation. Until that time

      period lapses or until such a designation has been made, whichever occurs sooner, all

      documents, information or other material so produced or given shall be treated as

      “CONFIDENTIAL” in accordance with this Order.

22.   Within thirty (30) days of final termination of this Action, including any appeals, all

      DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes, summaries,

      descriptions, and excerpts or extracts thereof (excluding excerpts or extracts incorporated

      into any privileged memoranda of the Parties and materials which have been admitted into

      evidence in this Action), shall at the producing Party’s election either be returned to the

      producing Party or be destroyed. The receiving Party shall verify the return or destruction

      by affidavit furnished to the producing Party, upon the producing Party’s request.

23.   The failure to designate documents, information or material in accordance with this Order

      and the failure to object to a designation at a given time shall not preclude the filing of a

      motion at a later date seeking to impose such designation or challenging the propriety

      thereof. The entry of this Order and/or the production of documents, information and

      material hereunder shall in no way constitute a waiver of any objection to the furnishing

      thereof, all such objections being hereby preserved.

24.   Any Party knowing or believing that any other party is in violation of or intends to violate

      this Order and has raised the question of violation or potential violation with the opposing

      party and has been unable to resolve the matter by agreement may move the Court for such

      relief as may be appropriate in the circumstances. Pending disposition of the motion by the

      Court, the Party alleged to be in violation of or intending to violate this Order shall




                                               12

                                          APPXxii
              Case: 23-136          Document: 2-2          Page: 20        Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 36 Filed 08/10/22 Page 13 of 15 PageID #: 476




         discontinue the performance of and/or shall not undertake the further performance of any

         action alleged to constitute a violation of this Order.

25.      Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed a

         publication of the documents, information and material (or the contents thereof) produced

         so as to void or make voidable whatever claim the Parties may have as to the proprietary and

         confidential nature of the documents, information or other material or its contents.

 .
26.      Nothing in this Order shall be construed to effect an abrogation, waiver or limitation of any

         kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

27.      Each of the Parties shall also retain the right to file a motion with the Court (a) to modify this

         Order to allow disclosure of DESIGNATED MATERIAL to additional persons or entities

         if reasonably necessary to prepare and present this Action and (b) to apply for additional

         protection of DESIGNATED MATERIAL.


      So ORDERED and SIGNED this 10th day of August, 2022.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE




                                                    13

                                              APPXxiii
            Case: 23-136        Document: 2-2         Page: 21      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 36 Filed 08/10/22 Page 14 of 15 PageID #: 477




                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

ENTROPIC COMMUNICATIONS, LLC,

      Plaintiff,                                             Case No. 2:22-cv-00125-JRG

      v.
                                                             JURY TRIAL DEMANDED
CHARTER COMMUNICATIONS, INC.;
SPECTRUM ADVANCED SERVICES,
LLC; AND SPECTRUM MANAGEMENT
HOLDING COMPANY, LLC,

      Defendants.



                              APPENDIX A
           UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                          PROTECTIVE ORDER
        I, ___________________________________________, declare that:

 1.     My address is _________________________________________________________.

        My current employer is _________________________________________________.

        My current occupation is ________________________________________________.

 2.     I have received a copy of the Protective Order in this action. I have carefully read and

        understand the provisions of the Protective Order.

 3.     I will comply with all of the provisions of the Protective Order. I will hold in confidence,

        will not disclose to anyone not qualified under the Protective Order, and will use only for

        purposes of this action any information designated as “CONFIDENTIAL,”

        “RESTRICTED -- ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

        SOURCE CODE” that is disclosed to me.

 4.     Promptly upon termination of these actions, I will return all documents and things




                                                 1

                                          APPXxiv
            Case: 23-136         Document: 2-2         Page: 22      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 36 Filed 08/10/22 Page 15 of 15 PageID #: 478




       designated as “CONFIDENTIAL,” “RESTRICTED -- ATTORNEYS’ EYES ONLY,”

       or “RESTRICTED CONFIDENTIAL SOURCE CODE” that came into my possession,

       and all documents and things that I have prepared relating thereto, to the outside counsel

       for the party by whom I am employed.

5.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

       Protective Order in this action.

       I declare under penalty of perjury that the foregoing is true and correct.

Signature ________________________________________

Date _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _




                                                  2

                                           APPXxv
                Case: 23-136        Document: 2-2       Page: 23      Filed: 06/16/2023


Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 1 of 20 PageID #: 2549




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  ENTROPIC COMMUNICATIONS, LLC,                     §
                                                    §
                 Plaintiff,                         §
                                                    §
  v.                                                §   CIVIL ACTION NO. 2:22-CV-00125-JRG
                                                    §
  CHARTER COMMUNICATIONS, INC.,                     §
                                                    §
                 Defendant.                         §

                              MEMORANDUM OPINION AND ORDER

 I.     INTROUDCTION

        Before the Court is Defendant Charter Communications, Inc.’s (“Charter”) Motion to

 Dismiss the Second Amended Complaint for Improper Venue Pursuant to Fed. R. Civ. P. 12(b)(3)

 (“Motion”). (Dkt. No. 61.) For the reasons set forth herein, the Court finds that it should be and

 hereby is DENIED.

 II.    BACKGROUND

        A.      Procedural History

        Plaintiff Entropic Communications, LLC (“Entropic”) filed its original complaint on April

 27, 2022, alleging infringement of various patents. (Dkt. No. 1.) On July 22, 2022, the parties filed

 a Joint Motion requesting limited and expedited venue discovery, which the Court granted. (Dkt.

 Nos. 24, 25.) Entropic filed the operative complaint, the Second Amended Complaint, on January

 10, 2023 (Dkt. No. 53.) Venue discovery has now concluded and Charter’s Motion to Dismiss the

 Second Amended Complaint for Improper Venue is now before the Court. (Dkt. No. 61.)

        B.      The Parties

                i)      Entropic


                                              APPX1
                 Case: 23-136        Document: 2-2        Page: 24     Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 2 of 20 PageID #: 2550




          Plaintiff Entropic is a Delaware limited liability company with an office in Plano, Texas.

 (Dkt. No. 53 at ¶ 2.)

                     ii)   Charter and Its Subsidiaries

          Defendant Charter is a Delaware corporation with its principal place of business in

 Stamford, Connecticut. (Dkt. No. 53 at ¶ 3.) Charter is a large enterprise that spans a multitude of

 subsidiaries that it owns manages, two of which are particularly relevant here. (See Dkt. No. 68 at

 6.) The first, Spectrum Gulf Coast, LLC (“SGC”), owns the physical properties in the District that

 are discussed below. (Dkt. No. 61 at 1–2.) The second, Charter Communications, LLC (“CC

 LLC”) employs all individuals who work for all of the subsidiaries owned and managed by Charter.

 (Dkt. No. 61 at 4.) Charter itself does not have any employees, though it clearly has officers that

 act for it. (Id.)

          Significantly, all 200+ subsidiaries, including the two mentioned above, have complete

 overlap of officers and directors with Charter. (Dkt. No. 68 at 11. See Dkt. No. 68-2 at 69:15–17

 (69:15–17 (Q: “Do any of them have officers who are not officers of [Charter]?” A: “No.”).)

 Charter’s corporate representative testified that Charter simply copies the same officer list for

 every new entity that is created, save for a few irrelevant exceptions. (Dkt. No. 68 at 11. See Dkt.

 No. 68-2 at 42:4–12.)

 III.     LEGAL STANDARD

          Venue is controlled by 28 U.S.C. § 1400(b) in actions for patent infringement. Pursuant

 thereto, “[a]ny civil action for patent infringement may be brought in the judicial district where

 the defendant resides, or where the defendant has committed acts of infringement and has a regular

 and established place of business.” Under the residency requirement, the Supreme Court held that

 “a domestic corporation ‘resides’ only in its State of incorporation for purposes of the patent venue



                                                    2

                                                APPX2
               Case: 23-136          Document: 2-2        Page: 25       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 3 of 20 PageID #: 2551




 statute.” TC Heartland LLC v. Kraft Foods Grp. Brands LLC, 137 S. Ct. 1514, 1517 (2017).

         Entropic does not contend that Charter resides in this District. Rather, Entropic contends

 that venue is proper because Charter has committed acts of infringement and has a regular and

 established place of business in this District. (See, e.g., Dkt. No. 68 at 18–29.) Under Section

 1400(b), a “regular and established place of business” must be (1) “a physical place in the district”;

 (2) “regular and established”; and (3) “the place of the defendant.” In re Cray, 871 F.3d 1355,

 1360 (Fed. Cir. 2017). The Federal Circuit set forth a number of considerations relevant to

 determining if a regular and established place of business is “of the defendant.” Id. Those

 considerations include whether the defendant owns or leases the place, exercises other attributes

 of possession or control over the place, conditions employment on an employee’s continued

 residence in the district, stores materials at a place in the district so that they can be distributed or

 sold from that place, advertises a place for its business or represents that it has a place of business

 in the district. Id. at 1363–67. A court may also consider the nature and activity of the alleged place

 of business of the defendant in the district in comparison with that of other places of business of

 the defendant in other venues. Id. These enumerated considerations are not exhaustive but rather

 illustrative of the types of information relevant for determining whether a physical place is “of the

 defendant.” Id. at 1363.

 IV.     ANALYSIS

         A.      Acts of Infringement

         In a footnote to its opening brief, Charter denies that it has committed acts of infringement

 in this District “because it does not own, lease, or distribute the Accused Cable Modem Products

 and does because it does not provide the Accused Services.” (Dkt. No. 61 at 12, n. 9.)

         Entropic responds by arguing that it was only required to allege infringement to satisfy this



                                                    3

                                                APPX3
               Case: 23-136         Document: 2-2        Page: 26      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 4 of 20 PageID #: 2552




 portion of §1400(b). (Dkt. No. 68 at 18.) Moreover, it argues that it has alleged that Charter is

 accused of indirect infringement. (Id.)

         The Court finds that Entropic has satisfied the “acts of infringement” portion of § 1400(b).

 Entropic has alleged acts of infringement, direct and indirect, which is sufficient. Seven Networks,

 LLC v. Google LLC, 315 F. Supp. 3d 933, 942 (E.D. Tex. July 19, 2018) (“Where a complaint

 alleges infringement, the allegations satisfy the ‘acts of infringement’ requirement of § 1400(b)

 although the allegations may be contested.”) (quoting Symbology Innovations, LLC v. Lego Sys.,

 Inc., 282 F. Supp. 3d 916, 928 (E.D. Va. 2017)).

         B.     Regular and Established Place of Business

                i)      Physical Place in the District

         To satisfy this element, Entropic must show that Charter has a “physical place in the

 district” In re Cray, 871 F.3d at 1360. A “place” must be a “physical, geographical location in the

 district from which the business of the defendant is carried out.” Id. at 1362. The Second Amended

 Complaint identifies at least four physical locations in this District: 1414 Summit Avenue, Plano,

 Texas 75074; 700 Alma Drive, Plano, Texas 75075; 2100 N. Dallas Parkway, Plano, Texas 75075;

 and 4255-A Dowlen Road, Beaumont, Texas 77706. (See Dkt. No. 53 at ¶¶ 16–17). Thus, the only

 question is whether “the business of [Charter] is carried out” at these locations. Cray, 871 F.3d at

 1362.

         Charter argues that another subsidiary, SGC, operates these stores to provide services to

 customers. (Dkt. No. 61 at 13.) Charter also argues that it does not directly own or control any

 physical place in the District and thus this element cannot be satisfied. (Id.)

         Entropic responds by arguing that these locations do, in fact, carry out the business of

 Charter. (Dkt. No. 68 at 21.) Entropic points out that each of the above locations displays the



                                                   4

                                               APPX4
               Case: 23-136         Document: 2-2       Page: 27      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 5 of 20 PageID #: 2553




 “Spectrum” logo, which is the same logo that appears on the face of Charter’s customer service

 agreements used nationwide. (Id.) Entropic then analogizes to Entropic Communications, LLC v.

 DirecTV, LLC, No. 2:22-cv-75, Dkt. No. 109 at 7 (E.D. Tex. Oct. 24, 2022). There, the retail stores

 in the District bore the Dish name and provided Dish-branded products and services even though

 the stores were leased and operated by a subsidiary. Id. at 7. Relying on this, this Court concluded

 that the first Cray factor was satisfied.

         In reply, Charter argues that DirecTV is distinguishable from this case because there the

 “DirecTV” brand was used at the locations, whereas here the evidence shows use of the

 “Spectrum” brand, and not any “Charter”-specific brand. Cf. DirecTV at 7–8. (Dkt. No. 75 at 7.)

         In its sur-reply, Entropic argues that Charter is “Spectrum,” and “Spectrum” is Charter, so

 DirecTV is on point. (Dkt. No. 80 at 2–3.)

         The Court is persuaded that Charter is Spectrum, and Spectrum is Charter. Below is a

 relevant admission Charter’s 2022 SEC 10-K statement:

         We are a leading broadband connectivity company and cable operator serving more
         than 32 million customers in 41 states through our Spectrum brand. Over an
         advanced high-capacity, two-way telecommunications network, we offer a full
         range of state-of-the-art residential and business services including Spectrum
         Internet®, TV, Mobile and Voice. For small and medium-sized companies,
         Spectrum Business® delivers the same suite of broadband products and services
         coupled with special features and applications to enhance productivity, while for
         larger businesses and government entities, Spectrum EnterpriseTM provides highly
         customized, fiber-based solution. Spectrum Reach® delivers tailored advertising
         and production for the modern media landscape. We also distribute award-winning
         news coverage and sports programming to our customers through Spectrum
         Networks.

 https://www.sec.gov/ix?doc=/Archives/edgar/data/1091667/000109166723000024/chtr-

 20221231.htm (emphasis supplied). The 10-K statement makes clear that Spectrum is just a brand

 name or trade name, and it is Charter who is actually operating the business. Moreover, Charter’s

 Spectrum labeled invoices tell customers to send their payments to “Charter Communications.”

                                                  5

                                              APPX5
               Case: 23-136         Document: 2-2         Page: 28       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 6 of 20 PageID #: 2554




 https://www.spectrum.net/support/manage-account/understanding-your-statement-bill/.                This

 helps support the conclusion that “Spectrum” is Charter.

         The Court finds that DirecTV is on point. DirecTV, No. 2:22-cv-75, Dkt. No. 109 at 7 (E.D.

 Tex. Oct. 24, 2022). There, the retail stores in the District bore the Dish name and provided Dish-

 branded products and services even though the stores were leased and operated by a subsidiary.

 So too here, Charter operates stores and provides services in this District under the its brand name,

 Spectrum. See DirecTV, LLC, No. 2:22-cv-75, Dkt. No. 109 at 7 (E.D. Tex. Oct. 24, 2022). The

 fact that the name of the corporate entity (Charter) behind the brand name (Spectrum) is not the

 same as the name as the brand is irrelevant because the two names represent the one and same

 entity. Charter cannot escape venue by operating under a trade name when it is clear that Charter

 is the entity engaged in the challenged conduct which forms the basis of Plaintiff’s suit. The retail

 stores in this District are thus “physical, geographical location[s] in the district from which the

 business of the [Charter] is carried out.” Cray, 871 F.3d at 1362.

                 ii)     Regular and Established Place of Business

         Under the second Cray factor, a “regular and established place of business” requires “the

 regular, physical presence of an employee or other agent of the defendant conducting the

 defendant’s business at the alleged ‘place of business.’” In re Google, 949 F.3d 1338, 1345 (Fed.

 Cir. 2020). The Federal Circuit reiterated that “the essential elements of agency are (1) the

 principal’s right to direct or control the agent’s actions; (2) the manifestation of consent by the

 principal to the agent that the agent shall act on his behalf; and (3) the consent by the agent to act.”

 In re Volkswagen Grp. of Am., 28 F.4th 1203, 1208–09 (Fed. Cir. 2022) (quotations omitted). “The

 power to give interim instructions distinguishes principals in agency relationships from those who

 contract to receive services provided by persons who are not agents.” In re Google, 949 F.3d at



                                                    6

                                               APPX6
                 Case: 23-136           Document: 2-2           Page: 29        Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 7 of 20 PageID #: 2555




 1345–46 (quoting Restatement (Third) of Agency § 1.01 cmt. f(1)).

         Charter argues that it does not have any employees at all, and therefore does not have any

 employees who regularly conduct business in the District. 1 (Dkt. No. 61 at 14.) Moreover, it argues

 that it does not have any agents employed in the district. (Id.) Charter also argues that it has no

 control over any subsidiary’s operations through the LLC agreements and that it is nothing more

 than a typical manager of its subsidiaries. (Id.) Further, Charter contends that it does not maintain

 or operate the Spectrum-branded stores and does not participate in the hiring or firing of

 employees. (Id.) Finally, Charter argues that the only way these activities can be imputed to Charter

 is if the corporate veil is pierced. (Id. at 15.)

         In response, Entropic argues that Charter has the right to direct or control the employees’

 actions (the first element of agency). Entropic cites to AGIS, where this Court found third-party

 CTDI to be Google’s agent for venue purposes based on the fact that Google “directs and controls

 CTDI’s actions” within the established place of business. AGIS Software Development LLC v.

 Google LLC, 2:19-cv-361, 2022 WL 1511757 at *4 (E.D. Tex. May 12, 2022). In that case, Google

 and CTDI had an agreement that allowed Google to: set physical specifications for a secured area;

 restrict the area to Google’s products and services and limited access to CTDI employees

 authorized to work on Google’s products; move the secured area; and provided instructions for

 services that CTDI was required to perform for Google customers. See id. at *5. CTDI was not an

 affiliate of Google, and its agreement expressly disclaimed an agency relationship. Id. at *8. The

 similarities between Google and Charter vis-á-vis CTDI are readily apparent.

         Further, Entropic again cites to DirecTV, where this Court found this element was satisfied

 because “DISH holds the locations [in the District] out as its own. Entropic Communications, LLC


 1
  This assertion is in stark contrast with evidence from Charter’s own website that states it is a company with over
 93,000 employees. (See Dkt. No. 68 at 24.)

                                                         7

                                                    APPX7
               Case: 23-136         Document: 2-2       Page: 30      Filed: 06/16/2023
                         CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 8 of 20 PageID #: 2556




 v. DirecTV, LLC, No. 2:22-cv-75, Dkt. No. 109 at 9 (E.D. Tex. Oct. 24, 2022)) There, the Court

 noted that the Dish logo appears on vans and other property stored at that location. Id. at 10.

 Entropic argues that in this case the Spectrum logo appears on vans and the buildings themselves

 at the locations in questions. (Dkt. No. 68 at 23.)

        Further still, Entropic argues that Charter has the right to direct or control the employee’s

 actions as the manager of CC, LLC and SGC. (Id.) Charter’s corporate representative testified that

 employees are provided to Spectrum stores                                                 (Id.; Dkt.

 No. 68-2 at 85:10–18.)




                                                         (Id.) Also, Charter’s corporate documents

 span numerous subsidiaries but are ultimately headed by Charter officers. (Dkt. No. 68 at 24, 12–

 13.) Charter’s corporate representative testified that these Charter officers can direct the work of

 the employees in their respective departments, which they also represent on their biographies as

 Charter officers. (Id. at 24, 12–13.)

        Entropic also argues that Charter has publicly manifested that the employees act on the

 company’s behalf (thus satisfying the second element of agency). (Id. at 24.) Charter’s website

 and annual shareholder report both characterize Charter as a company with over 93,000 employees.

 (Id.) Moreover, it uses its website to promote Charter/Spectrum jobs around the country, including

 within the District. (Id.) When Charter announced its new headquarters in another state, it stated

 that it has “1,700 employees” now working there, even though all are actually employed by Charter

 Communications, LLC. (Id.)

        Entropic notes that Charter has acknowledged these workers as its own employees/agents



                                                   8

                                              APPX8
               Case: 23-136          Document: 2-2        Page: 31       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 9 of 20 PageID #: 2557




 in federal court filings (even though all employees are technically employed by CC LLC). (Id. at

 24–25 (citing Montes v. Charter Communications, Inc., No. 7:21-cv-489, Dkt. No 10 at 1, 2 (S.D.

 Tex. Feb. 2, 2022) (“Ms. Trevino, an employee of Charter”); Montes v. Charter Communications,

 Inc., No. 7:21-cv-489, Dkt. No 1 at ¶ 12 (S.D. Tex. Dec. 12, 2021) (Charter stating that Anderson,

 a manager did not owe an individual duty “as Charter’s agent”)).)

         Regarding the third element of agency, Entropic argues that Spectrum employees have

 consented to act as the agents of Charter. (Dkt. No. 68 at 25.) All applicants apply through the

 single Charter website. (Id.) Moreover, employees are required to sign an arbitration agreement

 which states that it applies to all disputes “whether made against Charter, or any of its subsidiaries,

 parent, or affiliated entities.” (Id.) Charter’s corporate representative, when asked at deposition if

 employees were aware of the distinction between various Charter entities, testified that “[he]

 would suspect most of them are not.” (Id.) Indeed, many employees represent on LinkedIn that

 they work for Charter even though Charter now says they instead work for a subsidiary. (Id. at 25–

 26.) Further, Charter’s website claims the employees as its own: “[o]ur diverse, highly skilled

 employees are our greatest resource . . . .” (Id.)

         In reply, Charter argues that nothing in the record suggests that the relationship between

 Charter and its subsidiaries is anything more than a typical parent-subsidiary relationship, and that

 this is insufficient to establish agency by itself. (Dkt. No. 75 at 8.) Charter also argues that Entropic

 does not cite any authority for the proposition that acknowledging the existence of employees who

 support the Spectrum brand is a manifestation of consent for CC LLC employees to act on

 Charter’s behalf. (Id. at 9.) Finally, Charter argues that Entropic does not explain how Spectrum

 employees consented to act as the agents of Charter or how Charter consented to have them act on

 its behalf. (Id.) Charter does not appear to dispute that the employees that work at the physical



                                                      9

                                                APPX9
               Case: 23-136         Document: 2-2         Page: 32        Filed: 06/16/2023
                        CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 10 of 20 PageID #: 2558




 Charter locations in this District carry out its business, it only disputes whether their activities can

 be attributed to Charter as agents of the company.

         The Court finds that Entropic has fairly shown that the locations in the District are “regular

 and established place[s] of business” with “the regular, physical presence of an employee or other

 agent of the defendant conducting the defendant’s business at the alleged ‘place of business.’” In

 re Google, 949 F.3d at 1345. Specifically, the Court finds that the CC LLC employees, including

 those staffed at the locations in the District, are agents of Charter.

         Charter has the right to direct or control the employee’s actions as the manager of Charter

 Communications, LLC and Spectrum Gulf Coast. Charter’s corporate representative testified that

 employees are provided to Spectrum stores                                                    (Dkt. No.

 68 at 23.)




                                                          (Id.) The management agreement thus gives

 Charter the ability to materially control the employees of CC LLC. Further, Charter’s corporate

 representative testified that these Charter officers can direct the work of the employees in their

 respective departments. (Id. at 24, 12–13.)

         Charter is correct that a mere corporate relationship is not sufficient to show an agency

 relationship, but here there is much more than a mere corporate relationship. See, e.g., E. Texas

 Med. Ctr. Reg’l Healthcare Sys. v. Slack, 916 F. Supp. 2d 719, 722 (E.D. Tex. 2013) (Gilstrap, J.)

 (rejecting agency relationship “based merely on” a “corporate relationship”). As described above,

 Charter has the right to control the actions of the agents working at the locations in this District.

 The fact that Charter has not improperly managed its subsidiaries does not have any bearing



                                                   10

                                               APPX10
               Case: 23-136         Document: 2-2        Page: 33       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 11 of 20 PageID #: 2559




 whether Charter has the right to control the CC LLC employees. In the worst case scenario, even

 if Charter’s officers did not participate in the hiring and firing of any employee, such has no bearing

 on whether they have the right to do so. At most, Charter can point to testimony from its corporate

 representative saying that he is “he is uncertain what ‘authority [the department heads] have as

 officers of [Charter].’” (Dkt. No. 75 at 3 (brackets in original omitted).) However, based on all the

 other facts outlined above, the Court is persuaded that Charter has the right to control the agents

 working at the locations in this District.

        The Court finds that the second element of agency is also satisfied: Charter manifested that

 the employees act on the company’s behalf. Charter uses its website to promote Charter/Spectrum

 jobs around the country, including within this District. (Dkt. No. 68 at 24.) Moreover, its website

 and annual shareholder report both characterize Charter as a company with over 93,000 employees.

 (Id.) Further, when Charter announced its new headquarters in another state, it represented that it

 had “1,700 employees” working there, even though all were actually employed by CC LLC. (Id.)

 Further, Charter has also acknowledged workers as its own employees/agents in federal court

 filings. (Id. at 24–25.) By claiming the CC LLC employees as its own, Charter manifests its consent

 for the employees of CC LLC to act on its behalf.

        Lastly, the Court finds that the CC LLC employees have consented to act as the agents of

 Charter. They apply through the single Charter website. (Id. at 25.) Employees are required to sign

 an arbitration agreement which states that it applies to all disputes “whether made against Charter,

 or any of its subsidiaries, parent, or affiliated entities.” (Id.) Moreover, Charter’s corporate

 representative, when asked if employees were aware of the distinction between various Charter

 entities, said that “[he] would suspect most of them are not.” (Id.) Indeed, many employees

 represent on LinkedIn that they work for Charter even though it now says they instead work for



                                                   11

                                              APPX11
                Case: 23-136         Document: 2-2          Page: 34     Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 12 of 20 PageID #: 2560



 CC LLC, a subsidiary. (Id. at 25–26.) These facts all demonstrate that the CC LLC employees

 believe they are acting on behalf of Charter, and thus have consented to acting on Charter’s behalf.

        As stated above, the Court finds DirecTV to be on point. Ultimately, the Court is persuaded

 that Charter is Spectrum and Spectrum is Charter. As in DirecTV, Defendant placed their brand or

 trade name on the building, and on trucks parked at these locations. See DirecTV, No. 2:22-cv-75,

 Dkt. No. 109 at 9–10 (E.D. Tex. Oct. 24, 2022). Since Charter holds the locations in this District

 out as its own, there is therefore no need to pierce the corporate veil. See id.

        Since the Court finds that the CC LLC employees are agents of Charter, and there is no

 dispute that the employees that work at the physical Charter locations in the District carry out

 Charter’s business, the second Cray factor is satisfied.

                iii)    The Place of the Defendant

        Under the third Cray factor, “‘the regular and established place of business’ must be ‘the

 place of the defendant.’” In re Cray, 871 F.3d at 1363. To be a place of the defendant, “the

 defendant must establish or ratify the place of business.” Id.

        The parties disagree on whether ratification is a form of imputation, such that the

 requirements for imputation must be satisfied in order for Entropic to show that Charter has ratified

 certain locations. Specifically, the parties disagree on whether “corporate separateness” must be

 shown for Entropic to succeed under a ratification theory. (See Dkt. No. 75 at 1–2; Dkt. No. 80 at

 4.) Charter maintains that corporate separateness must be shown. (Dkt. No. 75 at 1–2). Meanwhile

 Entropic maintains that ratification is a separate theory, such that corporate separateness does not

 have to be shown. (Dkt. No. 80 at 4.) Indeed, the Federal Circuit has held that “[a] threshold inquiry

 when determining whether the place of business of one company can be imputed to another, related

 company is whether they have maintained corporate separateness. If corporate separateness has



                                                   12

                                               APPX12
               Case: 23-136        Document: 2-2        Page: 35       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 13 of 20 PageID #: 2561




 not been maintained, the place of business of one corporation may be imputed to the other for

 venue purposes.” Andra Grp., LP v. Victoria’s Secret Stores, L.L.C., 6 F.4th 1283, 1289 (Fed. Cir.

 2021). However, this same case makes clear that ratification and corporate separateness are distinct

 theories, such that corporate separateness need not be shown in order to show ratification. Id.

 (“Andra does not argue that the Defendants have not maintained corporate separateness. Andra

 contends that each of the Non-Store Defendants has ratified the retail stores as its own based on

 the criteria outlined in In re Cray … .”); id. at 1289–90 (analyzing In re Cray factors to determine

 whether defendants ratified the locations in question, not addressing corporate separateness).

 Further, the Federal Circuit has squarely addressed this in Celgene: “Of course, it might be that a

 parent corporation might specifically ratify a subsidiary’s place of business, even if the two do

 maintain corporate separateness.” Celgene Corp. v. Mylan Pharms. Inc., 17 F.4th 1111, 1127 (Fed.

 Cir. 2021). This makes clear that corporate separateness need not be shown for Plaintiff to succeed

 on a ratification theory.

                        a)      Ratification

        Charter argues that the locations in this District are not “of [Charter].” Charter says it does

 not own or lease any property in the District and its own name is not associated with any properties

 within the District. (Dkt. No. 61 at 16.) Charter argues it does not have any employees in Texas;

 does not conduct any commercial business with the public; and does not make, manufacture, or

 sell any product anywhere. (Id. at 17.) It claims it Charter does not maintain or operate the physical

 locations identified in the District, and it argues that the use of a common or generic name,

 Spectrum, cannot support venue under the patent statute where corporate formalities between

 related companies remain intact. (Id.) Bd. Of Regents v. Medtronic PLC., No. 17-CV-0942, 2018

 WL 4179080, at *2 (W.D. Tex. July 19, 2018).



                                                  13

                                               APPX13
               Case: 23-136         Document: 2-2        Page: 36       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 14 of 20 PageID #: 2562




        In response, Entropic relies upon and analogizes these facts to DirecTV. (Dkt. No. 68 at

 26–27.) In finding that the third Cray factor was satisfied under a ratification theory, this Court

 reasoned in DirecTV that customers could use the main Dish website to find Dish service packages

 and authorized retailers available within the district; that prospective employees could find Dish

 job listings for positions in the district; and that Dish’s website prominently advertised Dish’s

 “nationwide availability.” See, No. 2:22-cv-75, Dkt. No. 109 at 10 (E.D. Tex. Oct. 24, 2022). Here,

 Charter holds itself out as a company that provides internet and television services across 41 states.

 (Dkt. No. 68 at 27, 14–15.) It also advertises retail locations, service packages, and job listings

 through a nationwide website. (Id. at 27, 15–16.) Further, Charter itself actually negotiated and

 signed the leases for the Spectrum Stores in this District. (Id. at 28, 8–9.)

        Entropic further contends that the Management Agreement gives Charter wide latitude to

 manage virtually every aspect of the Charter business, including personnel, operations, and

 engineering; maintenance and plant upgrades; compliance with regulations; negotiating

 advertising time; and marketing, sales, and promotions. (Id. at 28.) Importantly, the officers

 between Charter and the officers of the subsidiaries are the same. One such officer said that the

 existence of the subsidiaries is a “mere formality.” (Id. at 29, 7, 11.)

        Entropic distinguishes Bd. of Regents v. Medtronic PLC because the court there held that

 the mere appearance of a “Medtronic” sign was insufficient to support venue against the parent

 company. No. 17-CV-0942, 2018 WL 4179080 at*2 (W.D. Tex. July 19, 2018). Here, Charter has

 directly represented to the public that Charter itself is the entity that offers broadband services

 under the Spectrum name. (Dkt. No. 68 at 27–28.)




                                                   14

                                             APPX14
                Case: 23-136       Document: 2-2        Page: 37      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 15 of 20 PageID #: 2563




 Dkt. No. 68-13 at 4.

         In reply, Charter argues that all job listings are under the Spectrum name, not Charter,

 which distinguishes this case from DirecTV. (Dkt. No. 75 at 10.)

         The Court finds that Charter has ratified the locations in this District as its own. DirecTV

 is on point. In DirecTV, the Defendant advertised service packages and locations in the District

 via its national website. DirecTV, No. 2:22-cv-75, Dkt. No. 109 at 10 (E.D. Tex. Oct. 24, 2022).

 Indeed, it “advertise[d] its ‘nationwide availability’ prominently on its website.” Id. Moreover,

 Dish listed job postings for locations in the District on this same website. Id. Here, Charter holds

 itself out as a company that provides internet and television services across 41 states. (Dkt. No. 68

 at 27, 14–15.) Further, it advertises retail locations, service packages, and job listings through a

 nationwide website. (Id. at 27, 15–16.) The fact that the nationwide website is under the brand or

 trade name “Spectrum” rather than “Charter” is irrelevant because these two names denote the

 same singular entity. Moreover, the present case presents facts that go further than those in

 DirecTV in that Charter actually negotiated and signed the leases for Spectrum Stores in this

 District. (Id. at 28, 8–9.)

                                                  15

                                            APPX15
               Case: 23-136        Document: 2-2        Page: 38       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 16 of 20 PageID #: 2564




        Medtronic, as Entropic argues, is inapposite. There, the mere appearance of a “Medtronic”

 sign was insufficient to support venue against the parent company. No. 17-CV-0942, 2018 WL

 4179080 at *2 (W.D. Tex. July 19, 2018). Here, Charter has directly represented to the public that

 Charter itself is the entity that offers broadband services under the Spectrum brand name. The fact

 that Charter undertakes certain activities under the “Spectrum” name is irrelevant because, as the

 Court has found, Charter is Spectrum and Spectrum is Charter.

        Finally, the Court finds that multiple Cray factors support a finding that venue is proper in

 this District. Charter has signed the lease agreement for SGC. (Dkt. No. 68 at 28, 8–9.) In re Cray,

 871 F.3d at 1363 (“Relevant considerations include whether the defendant owns or leases the

 place.”). The Management Agreement gives it wide latitude to manage virtually every aspect of

 the Charter business. (Dkt. No. 68 at 28.) In re Cray, 871 F.3d at 1363 (“Relevant considerations

 include whether the defendant … exercises other attributes of possession or control over the

 place.”). Charter advertises its locations, service packages, and job listings in this District on its

 website. (Dkt. No. 68 at 27.) In re Cray, 871 F.3d at 1363 (“Marketing or advertisements may also

 be relevant.”).

        As a result, the Court finds that Charter has ratified the locations in this District, such that

 they are “of the [D]efendant.” In re Cray, 871 F.3d at 1363.

                   b)   Lack of Corporate Separateness

        As an alternative to the evidence of ratification discussed above, the Court now turns to the

 concept of imputation. For a regular and established place of business of a subsidiary to be imputed

 to a parent, the corporations must lack formal corporate separateness:

        “[W]hen separate, but closely related, corporations are involved ... the rule is
        similar to that applied for purposes of service of process. So long as a formal
        separation of the entities is preserved, the courts ordinarily will not treat the place
        of business of one corporation as the place of business of the other. On the other

                                                  16

                                             APPX16
        Case: 23-136     Document: 2-2    Page: 39    Filed: 06/16/2023
                CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 17 of 20 PageID #: 2565




                                 APPX17
               Case: 23-136        Document: 2-2         Page: 40       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 18 of 20 PageID #: 2566




 entities, testified that he did not distinguish between or treat any differently the different entities

 in carrying out his role. (Dkt. No. 68 at 11; Dkt. No. 68-2 at 30:6–11.) Charter’s officers lead

 enterprise-wide departments which span numerous subsidiaries. (Dkt. No. 68 at 12–13.) Notably,

 the subsidiaries do not hold corporate meetings or maintain their own records. (Dkt. No. 68 at 13–

 14.)

        Finally, Entropic argues that Charter holds itself out to the public and the federal

 government as being one enterprise. (Dkt. No. 68 at 14–18.) The very first sentence of Charter’s

 10-K annual report states, “[w]e are a leading broadband connectivity company and cable operator

 serving more than 32 million customers in 41 states through our Spectrum brand.” (Dkt. No. 68 at

 14; Dkt. No. 68-12 at 1.) Charter’s website proclaims that “Charter Communications, Inc.

 (NASDAQ:CHTR) is a leading broadband connectivity company and cable operator serving more

 than 32 million customers in 41 states through its Spectrum brand.” (Dkt. No. 68 at 15; Dkt. No.

 68-13 at 1.) Charter uses the “Spectrum” brand across its entire enterprise. (Dkt. No. 68 at 15; Dkt.

 No. 68-3 at 95:12–14 (“The Spectrum brand is used for all customer-facing functions in all retail

 stores in all service.”).) Charter uses one website for consumers and to post job openings

 enterprise-wide. (Dkt. No. 68 at 15–16.) Charter has previously represented to the FCC, the ITC,

 and other Article III courts that it is one enterprise. (Dkt. No. 68 at 16–18.)

        Charter argues that this evidence is insufficient because it never exercised improper control

 over its subsidiaries, the entities do not carry out business in Charter’s name, and the entities

 followed corporate formalities. (Dkt. No. 75 at 2–4). Again, the Court disagrees.

        The Court finds Entropic’s arguments persuasive and holds as a matter of fact finding that

 the subsidiary corporations under Charter “disregard their separateness [from Charter] and act as

 a single enterprise.” Thus, the activities of its subsidiaries (including those that operate the



                                                   18

                                             APPX18
               Case: 23-136        Document: 2-2         Page: 41      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 19 of 20 PageID #: 2567




 locations in this District) may be properly imputed to Charter.

        As noted, Charter unabashedly holds itself out to the world as a single enterprise. It has

 said this to the federal government in various filings, and it proclaims this to the world through its

 marketing. (Dkt. No. 68 at 14, 16–18; Dkt. No. 68-12 at 1; Dkt. No. 68-13 at 1.) Moreover,

 Charter’s corporate representative admitted upon deposition that the lines between the different

 corporations are simply “legal formalities.” (Dkt. No. 68-2 at 45:25–46:10.) The internal structure

 of Charter further confirms this. It staffs its employees throughout the enterprise even though only

 one subsidiary technically employs them. (Dkt. No. 68 at 12–13.) To facilitate this, Charter signs

 all contracts and documents on behalf of its subsidiaries. (Id. at 2, 8–9.)

        Charter misspeaks when it says it must to exercise improper control over its subsidiaries

 for it to act as a single enterprise. (Dkt. No. 75 at 2–4.) The appropriate inquiry is whether Charter

 and its subsidiaries “act as a single enterprise.” Soverain IP, LLC, 2017 WL 5126158, at *1.

        As outlined above, the Court finds as a factual finding that Charter and its subsidiaries,

 including SGC, “act as a single enterprise” so the actions of its subsidiaries are properly imputed

 to Charter. Accordingly, the Court also finds that the locations in this District are “of the

 defendant” under a lack of corporate separateness theory.

  V.    CONCLUSION

        For all the foregoing reasons, the Court finds that the Motion should be and hereby is

 DENIED. The parties are directed to jointly prepare a redacted version of this Order for public

 viewing and to file the same on the Court’s docket as an attachment to a Notice of Redaction

 withing five (5) business days of this Order.




                                                  19

                                             APPX19
            Case: 23-136   Document: 2-2    Page: 42    Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 98-1 Filed 05/10/23 Page 20 of 20 PageID #: 2568




     So ORDERED and SIGNED this 3rd day of May, 2023.




                                             ____________________________________
                                             RODNEY GILSTRAP
                                             UNITED STATES DISTRICT JUDGE




                                       20

                                   APPX20
            Case: 23-136         Document: 2-2           Page: 43      Filed: 06/16/2023



  Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 1 of 19 PageID #: 1



                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


ENTROPIC COMMUNICATIONS, LLC,
                                                      Case No. 2:22-cv-125
       Plaintiff,

       v.
                                                      JURY TRIAL DEMANDED
CHARTER COMMUNICATIONS, INC.;
SPECTRUM ADVANCED SERVICES,
LLC; AND SPECTRUM MANAGEMENT
HOLDING COMPANY, LLC,

       Defendants.


                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff, Entropic Communications, LLC (“Entropic”), files this complaint for patent

infringement against Charter Communications, Inc., Spectrum Advanced Services, LLC, and

Spectrum Management Holding Company, LLC (collectively “Charter”) and in support thereof

alleges and avers as follows:

                                  NATURE OF THE ACTION

       1.      This is a civil action arising under the patent laws of the United States, 35 U.S.C.

§ 1 et seq., including specifically 35 U.S.C. § 271, based on Charter’s infringement of U.S. Patent

Nos. 8,223,775 (the “’775 Patent”), 8,284,690 (the “’690 Patent”), 8,792,008 (the “’008 Patent”),

9,210,362 (the “’362 Patent”), 9,825,826 (the “’826 Patent”), and 10,135,682 (the “’682 Patent”)

(collectively “the Patents-in-Suit”).

                                        THE PARTIES

       2.      Entropic is a Delaware limited liability company with an office at 7150 Preston

Rd., Suite 300 Plano, Texas 75024.



                                                -1-



                                          APPX21
             Case: 23-136          Document: 2-2        Page: 44      Filed: 06/16/2023



  Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 2 of 19 PageID #: 2



        3.      On information and belief, Defendant Charter Communications, Inc. is a

corporation established under the laws of the State of Delaware, with a principal place of business

at 1400 Atlantic St., Stamford, CT 06901.

        4.      Charter Communications, Inc. has a registered agent in Texas, Corporation Service

Company d/b/a CSC - Lawyers Incorporating Service Company, located at 211 East 7th Street,

Suite 620, Austin, Texas 78701.

        5.      On information and belief, Defendant Spectrum Advanced Services, LLC is a

limited liability company established under the laws of the State of Delaware, with a principal

place of business at 12405 Powerscourt Drive, St. Louis, MO 63131.

        6.      On information and belief, Defendant Spectrum Management Holding Company,

LLC is a limited liability company established under the laws of the State of Delaware, with a

principal place of business at 12405 Powerscourt Drive, St. Louis, MO 63131.

        7.      On information and belief, Charter owns or leases, and maintains and operates

several stores in this district.

        8.      On information and belief, in each of those stores, Charter owns and stores

equipment such as modems and set top boxes (“STBs”) and demonstrates services provided via

those products to Charter customers.

        9.      On information and belief, Charter employs personnel that install, service, repair

and/or replace equipment, as appropriate, in this district.

                                   JURISDICTION AND VENUE

        10.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a) because the claims herein arise under the patent laws of the United States, 35 U.S.C. § 1

et seq., including 35 U.S.C. § 271.




                                                 -2-



                                            APPX22
          Case: 23-136          Document: 2-2          Page: 45        Filed: 06/16/2023



  Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 3 of 19 PageID #: 3



       11.     This Court has personal jurisdiction over Charter in this action because Charter has

committed acts of infringement within the State of Texas and within this district through, for

example, the provision of cable television and internet services (“Accused Services”) via the lease,

sale, and/or distribution of cable modems and STBs both online and from Spectrum stores in this

District. For example, Charter has and continues to lease, sell, and/or distribute the Arris SB6183

cable modem, Spectrum PC20 (e.g. the Spectrum EU2251) cable modem, and products that

operate in a similar manner (“Accused Cable Modem Products”), as well as Spectrum 100-series

STBs, Spectrum 200-series STBs, Spectrum 101-series STBs, Spectrum 201-series STBs,

Spectrum 110-series STBs, Spectrum 210-series STBs, the Arris DCX3600 STB, and products

that operate in a similar manner (“Accused Set Top Products”). Further, there is general personal

jurisdiction over Charter in this Judicial District, given Charter’s intentional direction of its

advertising efforts to potential customers here in the form of robocalls that Charter makes to such

potential customers.

       12.     The Accused Cable Modem Products, Accused Set Top Products, and Accused

Services are available for subscription online from the Charter website.

       13.     The Accused Services are available for subscription from various physical stores,

including those at 700 Alma Dr., Plano Texas 75075, 2100 N. Dallas Pkwy, Plano, Texas 75075,

and 4255-A Dowlen Rd., Beaumont, Texas 77706.

       14.     The devices, including the Accused Cable Modem Products and Accused Set Top

Products, provided by Charter to supply the Accused Services are provided to customers in this

district and may be obtained by customers from physical locations in this district, including those

at 700 Alma Dr., Plano Texas 75075, 2100 N. Dallas Pkwy, Plano, Texas 75075, and 4255-A

Dowlen Rd., Beaumont, Texas 77706.




                                                -3-



                                           APPX23
          Case: 23-136           Document: 2-2          Page: 46       Filed: 06/16/2023



  Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 4 of 19 PageID #: 4



       15.     Venue is proper in this district pursuant to 28 U.S.C. § 1400(b). Venue is proper

because Charter has committed and continues to commit acts of patent infringement in this district,

including making, using, offering to sell, and/or selling Accused Services, Accused Cable Modem

Products, and Accused Set Top Products in this district, and/or importing Accused Services,

Accused Set Top Products, and Accused Cable Modem Products into this district, including by

Internet sales and sales via retail and wholesale stores, and/or committing at least a portion of any

other infringements alleged herein in this district.

       16.      Charter has regular and established places of business in this district, including at

least at 1414 Summit Ave., Plano, Texas 75074:




(https://www.google.com/maps/place/1414+Summit+Ave,+Plano,+TX+75074/@33.0094166,-

96.691439,3a,75y,150.17h,90t/data=!3m7!1e1!3m5!1seMJAIjYK9mlgeFGO3-

opTg!2e0!6shttps:%2F%2Fstreetviewpixels-

pa.googleapis.com%2Fv1%2Fthumbnail%3Fpanoid%3DeMJAIjYK9mlgeFGO3-

opTg%26cb_client%3Dsearch.gws-

prod.gps%26w%3D86%26h%3D86%26yaw%3D150.1734%26pitch%3D0%26thumbfov%3D10

0!7i16384!8i8192!4m9!1m2!2m1!1s1414+Summit+Ave,+Plano,+TX+75074+and+2344+Rutlan

d+Dr.+Austin,+TX+78758!3m5!1s0x864c193c2e57c475:0x9e396bd707e242d3!8m2!3d33.0089
                                                 -4-



                                            APPX24
            Case: 23-136        Document: 2-2        Page: 47        Filed: 06/16/2023



  Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 5 of 19 PageID #: 5



809!4d-

96.6911307!15sCkYxNDE0IFN1bW1pdCBBdmUsIFBsYW5vLCBUWCA3NTA3NCBhbmQg

MjM0NCBSdXRsYW5kIERyLiBBdXN0aW4sIFRYIDc4NzU4kgERY29tcG91bmRfYnVpbGR

pbmc)

          17.   Charter, through its related entity, Spectrum Advanced Services, LLC, has retail

stores in the district, including storefronts located at 700 Alma Dr., Plano Texas 75075, 2100 N.

Dallas Pkwy, Plano, Texas 75075, and 4255-A Dowlen Rd., Beaumont, Texas 77706, among

others.




(https://www.google.com/maps/place/700+Alma+Dr,+Plano,+TX+75075/@33.009285,-

96.7156924,3a,75y,79.47h,78.1t/data=!3m6!1e1!3m4!1sV4Kgs33OEPn0OTPugr40sw!2e0!7i16

384!8i8192!4m5!3m4!1s0x864c18dd73ceae97:0x243da1c3797f6336!8m2!3d33.0097073!4d-

96.7151173)




                                               -5-



                                          APPX25
        Case: 23-136         Document: 2-2      Page: 48     Filed: 06/16/2023



  Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 6 of 19 PageID #: 6




(https://www.google.com/maps/place/Spectrum+Store/@33.0290298,-

96.8264017,3a,75y,278.05h,90t/data=!3m7!1e1!3m5!1sChdq99YtQUVhIguvPSaS_w!2e0!6shtt

ps:%2F%2Fstreetviewpixels-

pa.googleapis.com%2Fv1%2Fthumbnail%3Fpanoid%3DChdq99YtQUVhIguvPSaS_w%26cb_cl

ient%3Dmaps_sv.tactile.gps%26w%3D224%26h%3D298%26yaw%3D278.04987%26pitch%3

D0%26thumbfov%3D100!7i16384!8i8192!4m14!1m6!3m5!1s0x864c23070b47ed93:0xd9df492

87ca0c559!2sSpectrum+Store!8m2!3d33.0290441!4d-

96.8265123!3m6!1s0x864c23070b47ed93:0xd9df49287ca0c559!8m2!3d33.0290441!4d-

96.8265123!14m1!1BCgIgARICCAI)




                                          -6-



                                     APPX26
          Case: 23-136          Document: 2-2           Page: 49         Filed: 06/16/2023



  Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 7 of 19 PageID #: 7




(https://www.google.com/maps/place/Spectrum/@30.122185,-

94.1625943,3a,75y,90t/data=!3m8!1e2!3m6!1sAF1QipO5TahIK2i_6g7gm0X27L1OJ53yEjMyu

bkMbPiA!2e10!3e12!6shttps:%2F%2Flh5.googleusercontent.com%2Fp%2FAF1QipO5TahIK2i

_6g7gm0X27L1OJ53yEjMyubkMbPiA%3Dw203-h270-k-

no!7i3120!8i4160!4m14!1m6!3m5!1s0x863ecad62b4ceadb:0x88f010bf14187660!2sSpectrum!8

m2!3d30.1221793!4d-

94.1625942!3m6!1s0x863ecad62b4ceadb:0x88f010bf14187660!8m2!3d30.1221793!4d-

94.1625942!14m1!1BCgIgAQ)

       18.     Charter targets its advertisements to residents of this district.

       19.     Charter continues to conduct business in this judicial district, including one or more

acts of making, selling, using, importing and/or offering for sale Accused Products or providing

the Accused Services to Charter’s customers in this District.

                                    THE PATENTS-IN-SUIT

       20.     On July 17, 2012, U.S. Patent No. 8,223,775, entitled “Architecture for a Flexible

and High-Performance Gateway Cable Modem,” was duly and legally issued by the United States

                                                 -7-



                                           APPX27
             Case: 23-136         Document: 2-2          Page: 50        Filed: 06/16/2023



  Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 8 of 19 PageID #: 8



Patent and Trademark Office. A true and accurate copy of the ’775 Patent is attached hereto as

Exhibit A.

           21.   On October 9, 2012, U.S. Patent No. 8,284,690, entitled “Receiver Determined

Probe,” was duly and legally issued by the United States Patent and Trademark Office. A true and

accurate copy of the ’690 Patent is attached hereto as Exhibit B.

           22.   On July 29, 2014, U.S. Patent No. 8,792,008, entitled “Method and Apparatus for

Spectrum Monitoring,” was duly and legally issued by the United States Patent and Trademark

Office. A true and accurate copy of the ’008 Patent is attached hereto as Exhibit C.

           23.   On December 8, 2015, U.S. Patent No. 9,210,362, entitled “Wideband Tuner

Architecture,” was duly and legally issued by the United States Patent and Trademark Office. A

true and accurate copy of the ’362 Patent is attached hereto as Exhibit D.

           24.   On November 21, 2017, U.S. Patent No. 9,825,826 entitled “Method and Apparatus

for Spectrum Monitoring,” was duly and legally issued by the United States Patent and Trademark

Office. A true and accurate copy of the ’826 Patent is attached hereto as Exhibit E.

           25.   On November 20, 2018, U.S. Patent No. 10,135,682, entitled “Method and System

for Service Group Management in a Cable Network,” was duly and legally issued by the United

States Patent and Trademark Office. A true and accurate copy of the ’682 Patent is attached hereto

as Exhibit F.

           26.   Entropic is the owner by assignment of all rights, title, and interest in the Patents-

in-Suit.

                     ENTROPIC’S LEGACY AS A CABLE INNOVATOR

           27.   Entropic Communications Inc., the predecessor-in-interest to Entropic, was

founded in San Diego, California in 2001 by Dr. Anton Monk, Itzhak Gurantz, Ladd El Wardani

and others. Entropic Communications Inc. was instrumental in the development of the Multimedia


                                                  -8-



                                             APPX28
         Case: 23-136          Document: 2-2         Page: 51        Filed: 06/16/2023



  Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 9 of 19 PageID #: 9



over Coax Alliance (“MoCA”) standard, Direct Broadcast Satellite (“DBS”) Outdoor Unit

(“ODU”) single wire technology, and System-on-Chip (“SoC”) solutions for set-top boxes

(“STBs”) in the home television and home video markets.

       28.    Dr. Monk received his Bachelor of Science degree and Doctorate in Electrical

Engineering from the University of California San Diego and a Master of Science in Electrical

Engineering from the California Institute of Technology.

       29.    Under the guidance of Dr. Monk, Entropic Communications Inc. grew to an

eventual public listing on the NASDAQ in 2007. After the public listing, the company acquired

RF Magic, Inc. in 2007, a company specializing in DBS ODU technology and related hardware.

       30.    Additional growth between 2007 and 2015 bolstered the technical expertise of

Entropic Communications Inc., including signal acquisition, stacking, filtering, processing, and

distribution for STBs and cable modems.

       31.    For years, Entropic Communications Inc. pioneered cutting edge SoC technologies,

as well as television and internet related services. This technology simplified the installation

required to support wideband reception of multiple channels for demodulation, improved home

internet performance, and enabled more efficient and responsive troubleshooting and upstream

signal management for cable providers. These innovations represented significant advances in the

field, simplified the implementation of those advances, and reduced expenses for providers and

customers alike.

       32.    In 2015, MaxLinear, Inc.—a leading provider of radio-frequency (RF), analog,

digital, and mixed-signal semiconductor solutions—acquired Entropic Communications Inc. and

the pioneering intellectual property developed by Dr. Monk and his team.

       33.    The Patents-in-Suit are the result of years of research and development in satellite

and cable technology. These innovations are utilized by Charter to provide enhanced and expanded


                                              -9-



                                          APPX29
          Case: 23-136           Document: 2-2           Page: 52        Filed: 06/16/2023



 Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 10 of 19 PageID #: 10



services to customers, which in turn has increased revenues for Charter while at the same time

reducing the costs.

                                   FIRST CAUSE OF ACTION

                                (Infringement of the ’775 Patent)

       34.     Entropic incorporates by reference and realleges each and every allegation of

Paragraphs 1 through 33 as if set forth herein.

       35.     Entropic owns all substantial rights, interest, and title in and to the ’775 Patent,

including the sole and exclusive right to prosecute this action and enforce the ’775 Patent against

infringers, and to collect damages for all relevant times.

       36.     The ’775 Patent generally describes a partitioned cable modem that performs cable

modem functions and data and home networking functions. Functionally partitioning a cable

modem to perform cable modem functions and data and home networking functions enables a

cable modem to incorporate a variety of enhanced functions.

       37.     The Accused Cable Modem Products remain the property of Charter even when

deployed at the property of a customer.

       38.     The Accused Cable Modem Products and Accused Services operate in a manner

controlled and intended by Charter.

       39.     Charter directly infringes the ’775 Patent by using, importing, selling, and/or

offering for sale the Accused Cable Modem Products (for example, the Spectrum PC20 and Arris

SB6183) and/or the Accused Services (for example, utilizing cable modem functions).

       40.     As set forth in the attached non-limiting claim chart (Exhibit G), Charter has

directly infringed and is infringing at least Claim 18 of the ’775 Patent by using, importing, selling,

and/or offering for sale the Accused Cable Modem Products.




                                                  -10-



                                            APPX30
          Case: 23-136          Document: 2-2            Page: 53      Filed: 06/16/2023



 Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 11 of 19 PageID #: 11



       41.     Additionally, the use of the Accused Cable Modem Products by Charter to, for

example, demonstrate products in brick-and-mortar stores in Plano, Texas and Beaumont, Texas

or to, for example, test those products, constitute acts of direct infringement of at least Claim 18

of the ’775 Patent.

       42.     Entropic has been damaged as a result of the infringing conduct alleged above.

Charter is liable to Entropic in an amount that compensates Entropic for Charter’s infringement,

which by law cannot be less than a reasonable royalty, together with interest and costs as fixed by

this Court under 35 U.S.C. § 284.

       43.     Entropic has complied with 35 U.S.C. § 287 with respect to the ’775 Patent.

                                SECOND CAUSE OF ACTION

                                (Infringement of the ’690 Patent)

       44.     Entropic incorporates by reference and realleges each and every allegation of

Paragraphs 1 through 43 as if set forth herein.

       45.     Entropic owns all substantial rights, interest, and title in and to the ’690 Patent,

including the sole and exclusive right to prosecute this action and enforce the ’690 Patent against

infringers, and to collect damages for all relevant times.

       46.     The ’690 Patent generally describes the process of generating probe transmissions

in response to a request from a receiving node of a network, wherein the probe request specifies a

plurality of parameters that specify content payload of the probe transmission, and a second node

to receive the probe transmission, which enhances flexibility and therefore, improves the receiving

node’s ability to efficiently recognize the precise form of the transmitted probe.

       47.     The Accused Cable Modem Products remain the property of Charter even when

deployed at the property of a customer.




                                                  -11-



                                           APPX31
          Case: 23-136           Document: 2-2           Page: 54       Filed: 06/16/2023



 Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 12 of 19 PageID #: 12



       48.     The Accused Cable Modem Products and Accused Services operate in a manner

controlled and intended by Charter.

       49.     Charter directly infringes the ’690 Patent by using, importing, selling, and/or

offering for sale the Accused Cable Modem Products (for example, the Spectrum PC20 and Arris

SB6183) and/or the Accused Services (for example, probing for cable modem parameters).

       50.     As set forth in the attached non-limiting claim chart (Exhibit H), Charter has

directly infringed and is infringing at least the method of Claims 7, 8, 15, and 16 of the ’690 Patent

by using, selling, and/or offering for sale the Accused Services.

       51.     Additionally, the use of the Accused Services by Charter to, for example,

demonstrate products in brick-and-mortar stores in Plano, Texas and Beaumont, Texas or to, for

example, test those products, constitute acts of direct infringement of at least Claims 7, 8, 15, and

16 of the ’690 Patent.

       52.     Entropic has been damaged as a result of the infringing conduct alleged above.

Charter is liable to Entropic in an amount that compensates Entropic for Charter’s infringement,

which by law cannot be less than a reasonable royalty, together with interest and costs as fixed by

this Court under 35 U.S.C. § 284.

       53.     Entropic has complied with 35 U.S.C. § 287 with respect to the ’690 Patent.

                                  THIRD CAUSE OF ACTION

                                (Infringement of the ’008 Patent)

       54.     Entropic incorporates by reference and realleges each and every allegation of

Paragraphs 1 through 53 as if set forth herein.

       55.     Entropic owns all substantial rights, interest, and title in and to the ’008 Patent,

including the sole and exclusive right to prosecute this action and enforce the ’008 Patent against

infringers, and to collect damages for all relevant times.


                                                  -12-



                                           APPX32
            Case: 23-136         Document: 2-2           Page: 55        Filed: 06/16/2023



 Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 13 of 19 PageID #: 13



          56.   The ’008 Patent generally describes a system that receives a signal having a range

of frequencies, digitizes the received signal, and reports certain signal characteristics to the source

of the received signal.

          57.   The Accused Set Top Products remain the property of Charter even when deployed

at the property of a customer.

          58.   The Accused Set Top Products and Accused Services operate in a manner

controlled and intended by Charter.

          59.   Charter directly infringes the ’008 Patent by using, importing, selling, and/or

offering for sale the Accused Set Top Products (for example, the Spectrum 210) and/or the

Accused Services (for example, monitoring signals generated by the Accused Set Top Products).

          60.   As set forth in the attached non-limiting claim chart (Exhibit I), Charter has directly

infringed and is infringing at least Claim 1 of the ’008 Patent by using, importing, selling, and/or

offering for sale the Accused Set Top Products.

          61.   Additionally, the use of the Accused Set Top Products by Charter to, for example,

demonstrate products in brick-and-mortar stores in Plano, Texas and Beaumont, Texas or to, for

example, test those products, constitute acts of direct infringement of at least Claim 1 of the ’008

Patent.

          62.   Entropic has been damaged as a result of the infringing conduct alleged above.

Charter is liable to Entropic in an amount that compensates Entropic for Charter’s infringement,

which by law cannot be less than a reasonable royalty, together with interest and costs as fixed by

this Court under 35 U.S.C. § 284.

          63.   Entropic has complied with 35 U.S.C. § 287 with respect to the ’008 Patent.

                                 FOURTH CAUSE OF ACTION

                                 (Infringement of the ’362 Patent)


                                                 -13-



                                            APPX33
            Case: 23-136         Document: 2-2           Page: 56        Filed: 06/16/2023



 Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 14 of 19 PageID #: 14



          64.   Entropic incorporates by reference and realleges each and every allegation of

Paragraphs 1 through 63 as if set forth herein.

          65.   Entropic owns all substantial rights, interest, and title in and to the ’362 Patent,

including the sole and exclusive right to prosecute this action and enforce the ’362 Patent against

infringers, and to collect damages for all relevant times.

          66.   The ’362 Patent generally describes a wideband receiver system that down converts

a plurality of frequencies including desired television channels and undesired television channels,

digitizes frequencies, selects desired television channels from the frequencies, and outputs the

selected television channels to a demodulator as a digital data stream.

          67.   The Accused Set Top Products remain the property of Charter even when deployed

at the property of a customer.

          68.   The Accused Services operate in a manner controlled and intended by Charter.

          69.   Charter directly infringes the ’362 Patent by using, importing, selling, and/or

offering for sale the Accused Set Top Products (for example, the Spectrum 210) and/or the

Accused Services (for example, down converting, digitizing, and selecting desired television

channels from frequencies).

          70.   As set forth in the attached non-limiting claim chart (Exhibit J), Charter has directly

infringed and is infringing at least Claim 11 of the ’362 Patent by using, selling, and/or offering

for sale the Accused Services.

          71.   Additionally, the use of the Accused Services by Charter to, for example,

demonstrate products in brick-and-mortar stores in Plano, Texas and Beaumont, Texas or to, for

example, test those products, constitute acts of direct infringement of at least Claim 11 of the ’362

Patent.




                                                  -14-



                                            APPX34
          Case: 23-136           Document: 2-2           Page: 57        Filed: 06/16/2023



 Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 15 of 19 PageID #: 15



       72.     Entropic has been damaged as a result of the infringing conduct alleged above.

Charter is liable to Entropic in an amount that compensates Entropic for Charter’s infringement,

which by law cannot be less than a reasonable royalty, together with interest and costs as fixed by

this Court under 35 U.S.C. § 284.

       73.     Entropic has complied with 35 U.S.C. § 287 with respect to the ’362 Patent.

                                  FIFTH CAUSE OF ACTION

                                 (Infringement of the ’826 Patent)

       74.     Entropic incorporates by reference and realleges each and every allegation of

Paragraphs 1 through 73 as if set forth herein.

       75.     Entropic owns all substantial rights, interest, and title in and to the ’826 Patent,

including the sole and exclusive right to prosecute this action and enforce the ’826 Patent against

infringers, and to collect damages for all relevant times.

       76.     The ’826 Patent generally describes a system that receives a signal having a range

of frequencies, digitizes the received signal, and reports certain signal characteristics to the source

of the received signal.

       77.     The Accused Set Top Products remain the property of Charter even when deployed

at the property of a customer.

       78.     The Accused Services operate in a manner controlled and intended by Charter.

       79.     Charter directly infringes the ’826 Patent by using, importing, selling, and/or

offering for sale the Accused Set Top Products (for example, the Spectrum 210) and/or the

Accused Services (for example, monitoring signals generated by the Accused Set Top Products).

       80.     As set forth in the attached non-limiting claim chart (Exhibit K), Charter has

directly infringed and is infringing at least Claim 1 of the ’826 Patent by using, selling, and/or

offering for sale the Accused Services.


                                                  -15-



                                            APPX35
            Case: 23-136        Document: 2-2            Page: 58      Filed: 06/16/2023



 Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 16 of 19 PageID #: 16



          81.   Additionally, the use of the Accused Services by Charter to, for example,

demonstrate products in brick-and-mortar stores in Plano, Texas and Beaumont, Texas or to, for

example, test those products, constitute acts of direct infringement of at least Claim 1 of the ’826

Patent.

          82.   Entropic has been damaged as a result of the infringing conduct alleged above.

Charter is liable to Entropic in an amount that compensates Entropic for Charter’s infringement,

which by law cannot be less than a reasonable royalty, together with interest and costs as fixed by

this Court under 35 U.S.C. § 284.

          83.   Entropic has complied with 35 U.S.C. § 287 with respect to the ’826 Patent.

                                  SIXTH CAUSE OF ACTION

                                (Infringement of the ’682 Patent)

          84.   Entropic incorporates by reference and realleges each and every allegation of

Paragraphs 1 through 83 as if set forth herein.

          85.   Entropic owns all substantial rights, interest, and title in and to the ’682 Patent,

including the sole and exclusive right to prosecute this action and enforce the ’682 Patent against

infringers, and to collect damages for all relevant times.

          86.   The ’682 Patent generally describes a method performed by a cable modem

termination system, the method including determining a corresponding signal-to-noise-ratio

(“SNR”) related metric, assigning cable modems to service groups based on a respective

corresponding SNR-related metric, generating a composite SNR-related metric based on a worst-

case SNR profile, selecting a physical layer communication parameter to be used for

communicating with a service group based on a composite SNR-related metric, and

communicating with cable modems in the service group using the selected physical layer

communication parameter.


                                                  -16-



                                           APPX36
            Case: 23-136           Document: 2-2           Page: 59        Filed: 06/16/2023



 Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 17 of 19 PageID #: 17



          87.    The Accused Cable Modem Products remain the property of Charter even when

deployed at the property of a customer.

          88.    The Accused Services operate in a manner controlled and intended by Charter.

          89.    Charter directly infringes the ’682 Patent by using, selling, and/or offering for sale

the Accused Services, which utilize cable modem termination systems that communicate with the

Accused Cable Modem Products (for example, the Spectrum PC20 and Arris SB6183).

          90.    As set forth in the attached non-limiting claim chart (Exhibit L), Charter has

directly infringed and is infringing at least Claim 14 of the ’682 Patent by using, selling, and/or

offering for sale the Accused Services.

          91.    Additionally, the use of the Accused Services by Charter to, for example,

demonstrate products in brick-and-mortar stores in Plano, Texas and Beaumont, Texas or to, for

example, test those products, constitute acts of direct infringement of at least Claim 1 of the ’682

Patent.

          92.    Entropic has been damaged as a result of the infringing conduct alleged above.

Charter is liable to Entropic in an amount that compensates Entropic for Charter’s infringement,

which by law cannot be less than a reasonable royalty, together with interest and costs as fixed by

this Court under 35 U.S.C. § 284.

          93.    Entropic has complied with 35 U.S.C. § 287 with respect to the ’682 Patent.

                                           JURY DEMAND

          Entropic hereby requests a trial by jury on all issues so triable by right.

                                       PRAYER FOR RELIEF

          WHEREFORE, Entropic requests that:

          A.     The Court find that Charter has directly infringed the Patents-in-Suit and hold

Charter liable for such infringement;


                                                   -17-



                                              APPX37
            Case: 23-136        Document: 2-2           Page: 60        Filed: 06/16/2023



 Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 18 of 19 PageID #: 18



       B.      The Court award damages pursuant to 35 U.S.C. § 284 adequate to compensate

Entropic for Charter’s past infringement of the Patents-in-Suit, including both pre- and post-

judgment interest and costs as fixed by the Court;

       C.      The Court declare that this is an exceptional case entitling Entropic to its reasonable

attorneys’ fees under 35 U.S.C. § 285; and

       D.      The Court award such other relief as the Court may deem just and proper.




Dated: April 27, 2022                            Respectfully submitted,


                                                 /s/ James Shimota by permission Wesley Hill
                                              - James Shimota (pro hac vice forthcoming)
                                                Jason Engel (pro hac vice forthcoming)
                                                George Summerfield (pro hac vice forthcoming)
                                                K&L GATES LLP
                                                70 W. Madison Street, Suite 3300
                                                Chicago, IL 60602
                                                Tel.: (312) 372-1121
                                                Fax: (312) 827-8000
                                                jim.shimota@klgates.com
                                                jason.engel@klgates.com
                                                george.summerfield@klgates.com

                                                 Brian Bozzo (pro hac vice forthcoming)
                                                 K&L GATES LLP
                                                 210 Sixth Ave.
                                                 Pittsburgh, PA 15222
                                                 Tel.: (412) 355-6500
                                                 Fax: (412) 355-6501
                                                 brian.bozzo@klgates.com

                                                 Wesley Hill
                                                 Texas Bar No. 24032294
                                                 WARD, SMITH & HILL, PLLC

                                                -18-



                                           APPX38
     Case: 23-136      Document: 2-2      Page: 61   Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1 Filed 04/27/22 Page 19 of 19 PageID #: 19



                                    1507 Bill Owens Pkwy
                                    Longview, TX 75604
                                    Tel: (903) 757-6400
                                    Fax (903) 757-2323
                                    wh@wsfirm.com

                                    ATTORNEYS FOR PLAINTIFF
                                    ENTROPIC COMMUNICATIONS, LLC




                                   -19-



                               APPX39
                                Case: 23-136                         Document: 2-2                       Page: 62                   Filed: 06/16/2023



JS 44 (Rev. 04/21)   Case 2:22-cv-00125-JRG Document 1-1 Filed
                                            CIVIL COVER        04/27/22 Page 1 of 1 PageID #: 20
                                                            SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
         ENTROPIC COMMUNICATIONS, LLC                                                                    CHARTER COMMUNICATIONS, INC., ET AL
   (b) County of Residence of First Listed Plaintiff                                                     County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)

         Wesley Hill, WARD, SMITH & HILL, PLLC, 1507 Bill
         Owens Parkway, Longview, Texas 75604, (903) 757-6400
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                     and One Box for Defendant)
  1    U.S. Government               ✖ 3   Federal Question                                                                   PTF         DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State           1           1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                    INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                               820 Copyrights                    430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                         ✖   830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                             835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                    New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                     840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                      LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                          Other                       550 Civil Rights                 Actions                                                                State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1    Original          2 Removed from                     3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
       Proceeding          State Court                             Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       35 U.S.C. §§ 1 et seq
VI. CAUSE OF ACTION Brief description of cause:
                                       Patent Infringement
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✖ Yes            No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                        JUDGE                                                               DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
4/27/2022                                                             /s/ James Shimota (by permission Wesley Hill)
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE




                                                                                       APPX40
    Case: 23-136     Document: 2-2     Page: 63    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-2 Filed 04/27/22 Page 1 of 8 PageID #: 21




                   EXHIBIT A




                             APPX41
        Case: 23-136                        Document: 2-2                               Page: 64                                 Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-2 Filed 04/27/22 Page 2 of 8 PageID #: 22

                                                                                                                    US00822.3775B2


(12) United States Patent                                                               (10) Patent No.:                               US 8,223,775 B2
       Li et al.                                                                        (45) Date of Patent:                                Jul. 17, 2012
(54)   ARCHITECTURE FOR A FLEXBLE AND                                             (56)                                  References Cited
       HIGH-PERFORMANCE GATEWAY CABLE
       MODEMI                                                                                                U.S. PATENT DOCUMENTS
                                                                                           6,944,706 B2 * 9/2005 Schain et al. ................. 709/250
(75) Inventors: Gordon Y. Li, San Diego, CA (US);                                     2001/0039600 A1* 11/2001 Brooks et al. ......       ... 710,126
                Yoav Hebron, San Diego, CA (US)                                       2006/0080650 A1* 4/2006 Winters et al. ................ 717,168
                                                                                  * cited by examiner
(73) Assignee: Entropic Communications, Inc.
                                                                                  Primary Examiner — Patrice Winder
(*) Notice:          Subject to any disclaimer, the term of this                  (74) Attorney, Agent, or Firm — James Sze: Duane Morris
                     patent is extended or adjusted under 35                      LLP
                     U.S.C. 154(b) by 2220 days.
                                                                                  (57)                                         ABSTRACT
(21) Appl. No.: 10/675,566                                                        A cable modem system and architecture. A cable modem
(22) Filed:          Sep. 30, 2003                                                engine performs all cable modem functions, and a data net
                                                                                  working engine performs all data and home networking func
(65)                     Prior Publication Data                                   tions. The cable modem engine is completely partitioned
                                                                                  from the data networking engine. DOCSIS and VoIP func
       US 2005/OO71492 A1              Mar. 31, 2005                              tionality is implemented in the cable modem engine. The
                                                                                  VoIP functionality may be in accordance with the Packet
(51)    Int. C.                                                                   Cable specification. The data networking functionality pro
        H04L 2/46                  (2006.01)                                      vided by the data networking engine may be in accordance
(52) U.S. Cl. ........................................ 370/401; 709/249           with the CableHome specification.
(58) Field of Classification Search ................... 709/249
     See application file for complete search history.                                                       20 Claims, 2 Drawing Sheets

                                                                       1 00

                                                                                             Other CPEs
                                                           Ethernet         USB       (802.11, Powerline, etc.)
                                                                                                                 Networking
                                                                                                                Applications     252
                                                                                                                (Cablehome,
                                                                                                                Web Server.
                                                                                                          258      etc.
                                                                                                                  SNMP,          262
                                                                                                                 HCP, TTP,
                                             cifiver




                                                                                        PacketCable
                                                                       Provisioning     Provisioning




                                                                                                                      Strealisd
                                                                                                                      Pitjir
                                                                                                                           wif
                                                                                                                      Cassification
                                                                                      CMIPFUp
                                                                                                                          PHs.
                                                                                                                         PiL
                                                                                                                        Filtering
                                                                                         Classification
                                                                                        Protocol fittering
                                                MMMBP+
                                                                 NEDriver                  Cable MAC river               Woics
                                                                                                                       MADjiyer




                                                                            DOCSSPHY




                                                             APPX42
    Case: 23-136      Document: 2-2             Page: 65            Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-2 Filed 04/27/22 Page 3 of 8 PageID #: 23


U.S. Patent         Jul. 17, 2012          Sheet 1 of 2                       US 8,223,775 B2




                                                     -100
                     Ethernet         USB




                         Data Networking
                              Engine                           Other LAN IF
                             (ARM#3)                            (802.11, Powerline,
                                                                  Bluetooth, etc.)

                                                           120


                        DOCSIS Controller                                                 119
                            (ARME1)                       be Voice DSP




                          DOCSIS MAC
                           Processor
                            (ARMi2)



                                                          112
                                                          oup downstream data
                                                                        as upstream data
                                                           a                          voice

                                                                                 control




                                APPX43
    Case: 23-136                                         Document: 2-2                    Page: 66                 Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-2 Filed 04/27/22 Page 4 of 8 PageID #: 24


U.S. Patent                                       Jul. 17, 2012                  Sheet 2 of 2                                US 8,223,775 B2




                                                                             100- -
                                                                                                    Other CPES
                                                             Ethernet            USB        (802.11, Powerline, etc.)

                                                                                                                    Applications
                                                               Driver                                              (Cablehoms,
        Assawaaaavosiase 4 awaraowso                                                                        2 58   Webetc.)
                                                                                                                        Server,             1 2O

                                             260                                   V
                                                                        Advanced Bridging     w
                                                                                          routing   ONE
                                                                        with NATFirewa and won        p
                                                                                                    Stack          DHCP,
                                                                                                                      tooTFTP,
                                       W   CME   river




                                                                                                                                            119
  130                                                                                                                                      Voice
                                                                                                                                            DSP


                                                                                                                          Strealined
                                                                                                                          pfuPRP
                                                                                                                              wif
                                                                                                                          Classification
                                                                                                                              PHS,
                                                                                                                              PC
                                                                                                                            Filtering


                                                 MMMBP+
                                                                                                                                           110
        118




                                                                                DOCSSPHY




                                                                                  RF




                                                                  APPX44
       Case: 23-136                   Document: 2-2                   Page: 67             Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-2 Filed 04/27/22 Page 5 of 8 PageID #: 25


                                                    US 8,223,775 B2
                              1.                                                              2
     ARCHITECTURE FOR A FLEXBLE AND                               working functions and a cable modem engine that performs
     HGH-PERFORMANCE GATEWAY CABLE                                all other cable modem functions, wherein the cable modem
                MODEMI                                            engine is completely partitioned from the data networking
                                                                  engine.
               FIELD OF THE INVENTION                                Another embodiment of the invention is a cable modem
                                                                  architecture. The architecture includes a cable modem engine
   The present invention relates to cable modems and, in having a DOCSIS PHY layer with a hardware transmitter and
particular, relates to a cable modem system having a func receiver, a DOCSIS MAC processor that implements real
tionally partitioned and flexible architecture.                   time critical MAC functions for both upstream and down
                                                               10
                                                                  stream communications, and a DOCSIS controller imple
           BACKGROUND OF THE INVENTION                            menting VoIP functionality. The architecture also includes a
                                                                  data networking engine implementing all data networking
   The future gateway cable modem (CM) will provide a wide processing and home networking applications. The data net
range of data networking and VoIP services, as exemplified by working engine is completely decoupled from the cable
the requirements for initiatives such as CableHome and Pack 15 modem engine. In one implementation, the VoIP functional
etCable. The major challenge in designing Such a gateway ity provided by the cable modem is in accordance with the
cable modem is integration of these services with the basic PacketCable specification and the data networking function
cable modem functionality in an efficient and cost-effective. ality provided by the data networking engine is in accordance
Several objectives need to be met:                                with the CableHome specification.
   Functional Partitioning. The gateway cable modem will             Another embodiment of the invention is a method for pro
incorporate a variety of functions beyond the traditional cable viding a flexible and partitioned cable modem gateway. Data
modem, including IP routing, network address translation and home networking functionality is provided by a data
(NAT)/firewall, virtual private network (VPN), web server networking engine, and DOCSIS and VoIP functionality is
and VoIP. These functions need to utilize DOCSIS (Data Over provided by a cable modem engine. The data networking
Cable Service Interface Specification)services (link-layer 25 engine is partitioned from the cable modem engine so that the
transport and QoS) for wide area network (WAN) access. data and home networking functionality is completely
Partitioning these functions along with other cable modem decoupled from the DOCSIS and VoIP functionality.
functions among different computational agents is an essen           Other systems, methods, features and advantages of the
tial issue in designing a gateway cable modem.                    invention will be or will become apparent to one with skill in
   Flexiblity. The architecture of the gateway cable modem the art upon examination of the following figures and detailed
                                                               30
should be flexible enough to allow independent software description. It is intended that all Such additional systems,
development and field-upgrade of gateway value-added ser methods, features and advantages be included within this
vices and basic DOCSIS cable modem services. From a               description, be within the scope of the invention, and be
development standpoint, the architecture should facilitate dif protected by the accompanying claims.
ferent Software-partnering models, including all in-house, 35
software components licensing, and OEM vendor-differenti                 BRIEF DESCRIPTION OF THE DRAWINGS
ating design. From a multiple system operator (MSO) per
spective, it is highly desirable to be able to independently         The components in the figures are not necessarily to scale,
provision, maintain and upgrade revenue-producing gateway emphasis instead being placed upon illustrating the principles
services and basic broadband access services.                  40 of the invention. In the figures, like reference numerals des
   Performance. The gateway cable modem should be able to ignate corresponding parts throughout the different views.
Support a large number of simultaneous data application ses          FIG. 1 is a block diagram of a gateway cable modem
sions originated from/terminated on multiple CPE (customer architecture according to the present invention.
provided equipment) devices. VoIP applications must not be           FIG. 2 is a functional block diagram implementing the
adversely impacted by an concurrent data applications, and 45 cable modem architecture of FIG. 1.
the data path for Voice packets must be optimized to minimize
delay and jitter.                                                     DETAILED DESCRIPTION OF THE INVENTION
   Cost. The gateway cable modem chip should have a small
incremental hardware cost/functional increase relative to            FIG. 1 illustrates a cable modem system architecture 100
stand-alone cable modem chips.                                 50 according to the present invention. System 100 comprises
   Software Re-Use. It should be possible to carry over exist three major Subsystems: cable modem engine 110; data net
ing cable modem Software to the new gateway cable modem working engine 120; and advanced crypto engine 130. The
without major changes. The existing Software running on functional Sub-components of these three-subsystems are
network processors should be easily portable to run on the illustrated in greater detail in FIG. 2.
gateway platform without major adaptation.                     55    Cable modem engine 110 implements the entire DOCSIS
   The present invention provides a gateway cable modem cable modem functionality and is further divided into three
architecture that meets all of these objectives.                  functional blocks: DOCSIS PHY layer 112: DOCSIS MAC
                                                                  processor 114 and DOCSIS controller 116. DOCSIS PHY
              SUMMARY OF THE INVENTION                            layer 112 comprises a hardware transmitter and receiver. In
                                                               60 one implementation, it is for a DOCSIS 2.0-compliant PHY.
   The present invention provides a gateway cable modem As seen in FIG. 1, DOCSIS PHY layer 112 receives down
system and architecture that meets the above objectives and stream data, transmits upstream data and receives and trans
provides a highly flexible, high performance system capable mits voice data from/to an external Source. In one implemen
of handling multiple cable modem Voice, data and network tation, the external source is a HFC (hybrid fiber coax) cable
ing services.                                                  65 employing both fiber optic and coaxial cable as an effective
   One embodiment of the invention is a cable modem system means for delivering combined data, video, voice, CATV and
comprising a data networking engine that performs data net other communications.




                                                    APPX45
       Case: 23-136                  Document: 2-2                     Page: 68             Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-2 Filed 04/27/22 Page 6 of 8 PageID #: 26


                                                  US 8,223,775 B2
                             3                                                                    4
   Processor 114 implements real-time critical MAC func             modem engine driver 260 communicates with cable modem
tions for both upstream (US) and downstream (DS) commu              engine 110 and functional block 262 provides SNMP, DHCP.
nications. These functions include US and DS synchroniza            TFTP and TOD functionality.
tion, DSMAC address filtering, DS protocol filtering, US and          Advanced crypto engine 130 provides hardware support
DSPHS, concatenation, fragmentation, MAP processing, US             for crypto functions. These include common crypto functions
transmission scheduling, as well as DOCSIS link-layer DES           required by the baseline DOCSIS link-layer security, Packet
encryption and decryption. Processor 114 receives down              Cable Voice security and data-networking security (e.g.
stream data from, provides upstream data to and exchanges           VPN). These functions include DES/3DES, AES and
voice data in both directions with DOCSIS PHY 112. It also          HMAC-MD5/SH-1.
receives upstream data from, and exchanges Voice data in       10     The architecture of gateway cable modem 100 addresses
both directions with, controller 116. To increase downstream        the objectives set forth in the “Background' section above as
                                                                    follows:
throughput, all processing of DSPDU (protocol data unit)          Functional Partitioning. Cable modem 100 completely par
packets is done within processor 114 without involving con titions     data networking functions (advanced bridging/rout
troller 116. After being processed, DSPDU packets are for 15 ing, NAT/firewall, VPN, web server and CableHome appli
warded by processor 116 directly to data networking engine cations) from DOCSIS cable modem functionality. This is
120 along path 118, bypassing controller 116. In one imple accomplished by localizing data networking functions in the
mentation, processor 114 is an ARM9TDMI-based RISC data networking engine processor and localizing cable
processor. In FIG. 2, processor 114 is represented by MAC modem functions in the cable modem engine processor. Addi
DS block 152 and MAC US block 154.                             tionally, PacketCable VoIP functionality (embedded MTA) is
   Controller 116 receives US PDU packets from data net implemented within cable modem engine 110 to address the
working engine 120. As previously described, DSPDU pack facts that embedded MTA is closely coupled with cable
ets are forwarded by processor 114 to data networking engine modem MAC services and that the latency and jitter of voice
120 without involvement of controller 116. In one implemen packets needs to be minimized.
tation, controller 116 is an ARM940-based RISC processor. 25 Flexibility. Since the data networking and cable modem
Controller 116 implements the following DOCSIS (blocks functions are decoupled and implemented in different proces
200-212) functions: MAC management message (MMM) sors 110 and 120, independent Software upgrading and main
processing (ranging, registration, UCD, UCC, DCC, DCI. tenance of these functions is feasible. From a development
UP-DIS, DSX and BPI--) (functional block 200 of FIG. 2),       standpoint, the architecture can facilitate different software
IGMP, MAC address learning, classification, US protocol 30 partnering models, such as complete in-house development,
filtering (functional block 202 of FIG. 2) and CMIP stack and software-components licensing and OEM vendor-differenti
software downloading. Functional block 204 carries out cable ating design. In particular, data networking engine 120 pro
modem IP/UDP functions, functional block 206 carries out       vides third parties and OEMs with a dedicated computational
SNMP, DHCP TFTP and TOD functionality and functional platform to develop advanced services outside of the baseline
block 208 is responsible for cable modem provisioning. Con 35 cable modem and VoIP/PacketCable services, minimizing
troller 116 also includes a data network engine driver 210 in their support dependency on the cable modem provider.
communication with data network engine 120 and cable Moreover, the software architecture within cable modem
MAC driver 212.                                                engine 110 is designed in a modular way so that the Packet
   In addition, in order to minimize the latency and jitter of Cable E-MTA can be implemented with minimum impact on
voice packets, controller 116 also implements all Packet 40 the cable modem.
Cable functionality. In FIG. 2, PacketCable functionality is      Performance. System 100 is able to support a large number
represented by functional blocks 220-228. These Packet of simultaneous data-application sessions originated from/
Cable functions include provisioning (block 220), security terminated on multiple CPE devices. Its performance is
and signaling. Functional blocks 222 (voice DSP driver), 224 enhanced by the pipe-lining nature of system 100: the pro
(streamlined IP/UDP/RTP with classification: PHS, IP/LLC 45 cessing-intensive functions of the cable modem and data net
filtering) and 226 (voice MAC driver) interface with external working are rationally distributed among three different pro
voice DSP 119. Additionally MGCP and RTCP functions are cessors: DOCSIS MAC processor 114 (ARM #2); DOCSIS
provided by functional block 228.                              controller 116 (ARM #1); and data networking engine 120
   Data networking engine 120 is responsible for all data (ARM #3), according to their orders in the packet flow. To
networking processing including advanced multi-port bridg 50 further boost downstream throughput, the downstream PDU
ing/routing with NAT/firewall and VPN (block 250) and packets are directly forwarded from the DOCSIS MAC pro
home networking applications (CableHome, Web Server, cessor 114 to the data networking engine 120 without going
etc.) (block 252). In one implementation, the entire embedded through DOCSIS controller 116. This is made possible by
portal services (PS) functionality of the CableHome specifi exploiting the asymmetric nature of the DOCSIS US/DS 152
cation is contained within data networking engine 120, with 55 and 154. In addition, the data path for voice packets is laid
the CableHome functionality being completely decoupled entirely within cable modem engine 110 and is optimized to
from the PacketCable and DOCSIS functionality provided by reduce delay and jitter.
cable modem engine 110. As a result of the virtual de-cou         Cost. A chip implementing cable modem system 100 will
pling from cable modem engine 110, data networking engine have only a small incremental hardware cost/functional
120 can be independently software-upgraded without impact 60 increase over current stand-alone cable modem chips. The
ing the functionality of cable modem engine 110 (and vice major cost difference relative to current chips is the addition
Versa).                                                        of another ARM940-type processor to the chip.
   As seen in FIG. 1, data networking engine is capable of        Software Re-Use. Existing cable modem software may be
additional CPE functionality such as Ethernet, USB and other carried over to system 100 without major or drastic changes.
LAN I/F communications (802.11, Bluetooth, Powerline, 65 Existing software running on PCD network processors may
etc.), with appropriate CPE drivers 254, 256, 258 being pro be easily ported to run on data networking engine 120 without
vided to Support Such communications. Additionally, cable major adaptation.




                                                   APPX46
        Case: 23-136                    Document: 2-2                    Page: 69              Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-2 Filed 04/27/22 Page 7 of 8 PageID #: 27


                                                      US 8,223,775 B2
                               5                                                                6
  While various embodiments of the invention have been                  the DOCSIS MAC processor is configured to implement
described, it will be apparent to those of ordinary skill in the          real-time MAC functions for both upstream and down
art that many more embodiments and implementations are                    stream communications; and
possible that are within the scope of this invention.                    the DOCSIS controller is configured to implement VoIP
   What is claimed is:                                                      functionality; and wherein the data networking engine
   1. A cable modem system comprising:                                      includes a RISC processor configured to implement a
   a data networking engine implemented in a first circuit that             majority of data networking processing and home net
      includes at least one processor, the data networking                  working applications decoupled from the implementa
      engine programmed with Software that when executed                    tion of the MAC functions and the VoIP functionality of
      by the at least one processor of the first circuit causes the 10      the cable modem engine.
      data networking engine to perform home networking                   11. A cable modem system as claimed in claim 10, wherein
      functions including interfacing with customer provided the DOCSIS controller is configured to provide VoIP func
      equipment, wherein the at least one processor is a RISC tionality in accordance with the PacketCable specification,
      processor,                                                       wherein the data networking engine is configured to provide
   a cable modem engine implemented in a second circuit that 15 the embedded portal services functionality of the CableHome
      includes at least one processor, the second circuit being specification, and wherein the CableHome functionality pro
      separate from the first circuit, the cable modem engine vided by the data networking engine is completely decoupled
      including a DOCSIS PHY layer, a DOCSIS controller, from the PacketCable and DOCSIS functionality provided by
      and a DOCSIS controller and programmed with soft the cable modem engine.
      ware that when executed by the at least one processor of           12. A cable modem system as claimed in claim 11, wherein
      the second circuit causes the cable modem engine to the DOCSIS MAC processor is an ARM9TDMI-based RISC
      perform cable modem functions other than the home processor, and wherein the DOCSIS controller is an
      networking functions performed by the data networking ARM940-based RISC processor.
      engine, the cable modem functions including interfacing             13. A cable modem system as claimed in claim 1, wherein
      with cable media, the cable modem engine configured to 25 the data networking engine includes consumer provided
      enable upgrades to its Software in a manner that is inde equipment drivers including a USB driver and an Ethernet
      pendent of upgrades to the Software of the data network driver and the data networking engine is configured to provide
      ing engine; and                                                  the embedded portal services functionality of the CableHome
   a data bus that connects the data networking engine to the specification, wherein the DOCSIS controller is configured to
      cable modem engine, wherein the cable modem func 30 provide VoIP functionality in accordance with the Packet
      tions performed by the cable modem engine are com Cable specification, and wherein the CableHome functional
      pletely partitioned from the home networking functions ity provided by the data networking engine is completely
      performed by the data networking engine;                         decoupled from the PacketCable and DOCSIS functionality
   wherein the DOCSIS MAC processor is configured to pro provided by the cable modem engine.
      cess downstream PDU packets and forward the pro 35 14. A method of cable modem operation comprising:
      cessed packets directly to the data networking engine              executing, via at least one processor of a first circuit that
      without the involvement of the DOCSIS controller in                   implements a data networking engine, first Software that
      order to boost downstream throughput.                                 causes the data networking engine to perform home
   2. A cable modem system as claimed in claim 1, wherein all               networking functions including interfacing with cus
DOCSIS functions are localized in the cable modem engine. 40                tomer provided equipment, wherein the at least one pro
   3. A cable modem system as claimed in claim 2, wherein                   cessor is a RISC processor;
VoIP functionality is embedded in the cable modem engine.                executing, via one or more processors of a second circuit
   4. A cable modem system as claimed in claim 1, and further               that implements a cable modem engine programmed
comprising an advanced crypto engine configured to perform                  with second software, the second software to cause the
all crypto functions for both the data networking engine and 45             cable modem engine to perform cable modem functions
the cable modem engine, the advanced crypto engine being                    other than the home networking functions performed by
separate from both the data networking engine and the cable                 the data networking engine, the cable modem functions
modem engine.                                                               including interfacing with cable media, the cable
   5. A cable modem system as claimed in claim 1, wherein                   modem engine configured to enable upgrades to its soft
the DOCSIS PHY layer includes a hardware transmitter and 50                 ware in a manner that is independent of upgrades to the
receiver.                                                                   Software of the data networking engine, wherein the
   6. A cable modem system as claimed in claim 1, wherein all               second circuit is separate from the first circuit, and
VoIP functionality is implemented in the DOCSIS controller.                 wherein the cable modem engine includes a DOCSIS
   7. A cable modem system as claimed in claim 6, wherein                   PHY layer, a DOCSIS controller and a DOCSIS con
the VoIP functionality is in conformance with the Packet 55                 troller;
Cable specification.                                                     connecting, via a data bus, the data networking engine to
   8. A cable modem system as claimed in claim 1, wherein                   the cable modem engine, wherein the cable modem
the data networking engine is configured to perform all data                functions performed by the cable modem engine are
networking processing including advanced multi-port bridg                   completely partitioned from the home networking func
ing routing with NAT/firewall and VPN, and home network 60                  tions performed by the data networking engine;
ing applications.                                                        processing, via the DOCSIS MAC processor, downstream
   9. A cable modem system as claimed in claim 8, wherein                   PDU packets and forwarding the processed packets
the data networking engine comprises the entire embedded                    directly to the data networking engine without the
portal services functionality of the CableHome specification.               involvement of the DOCSIS controller in order to boost
   10. A cable modem system as claimed in claim 1, wherein 65               downstream throughput.
with regard to the cable modem engine:                                    15. A method of cable modem operation as claimed in
   the DOCSISPHY layer includes a transmitter and receiver; claim 14, further comprising:




                                                       APPX47
      Case: 23-136                   Document: 2-2                    Page: 70              Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-2 Filed 04/27/22 Page 8 of 8 PageID #: 28


                                                   US 8,223,775 B2
                             7                                                                 8
 providing a flexible and partitioned cable modem gateway            by the at least one processor of the first circuit causes the
   comprising:                                                       data networking engine to perform home networking
   providing data and home networking functionality in the           functions including interfacing with customer provided
      data networking engine;                                        equipment;
   providing DOCSIS and VoIP functionality in the cable 5         a cable modem engine implemented in a second circuit that
      modem engine; and                                              includes at least one processor, the second circuit being
   partitioning the data networking engine from the cable            separate from the first circuit, the cable modem engine
      modem engine so that the data and home networking              programmed with software that when executed by the at
      functionality is completely decoupled from the DOC             least one processor of the second circuit causes the cable
      SIS and VoIP functionality.                            10      modem engine to perform cable modem functions other
 16. A method as claimed in claim 14, further comprising:            than the home networking functions performed by the
 providing VoIP functionality in accordance with the Pack            data networking engine, the cable modem functions
   etCable specification in the DOCSIS controller; and               including interfacing with cable media, and the cable
 providing the embedded portal services functionality of the         modem engine configured to enable upgrades to its soft
   CableHome specification in the data networking engine; 15         ware in a manner that is independent of upgrades to the
 wherein the CableHome functionality provided by the data            Software of the data networking engine, the cable
   networking engine is completely decoupled from the                modem engine including a DOCSIS controller and a
   PacketCable and DOCSIS functionality provided by the              DOCSIS MAC processor, the DOCSIS MAC processor
   cable modem engine.                                               configured to process downstream PDU packets and
 17. A method as claimed in claim 14, further comprising:            forward the processed packets directly to the data net
 providing the embedded portal services functionality of the         working engine without the involvement of the DOCSIS
   CableHome specification in the data networking engine;            controller in order to boost downstream throughput; and
    and                                                           a data bus that connects the data networking engine to the
 providing VoIP functionality in accordance with the Pack            cable modem engine, wherein the cable modem func
    etCable specification in the DOCSIS controller;          25      tions performed by the cable modem engine are com
 wherein the data networking engine includes consumer                pletely partitioned from the home networking functions
    provided equipment drivers including a USB driver and            performed by the data networking engine.
    an Ethernet driver; and                                       19. A cable modem system as claimed in claim 18, wherein
 wherein the CableHome functionality provided by the data all DOCSIS functions are localized in the cable modem
    networking engine is completely decoupled from the 30 engine.
    PacketCable and DOCSIS functionality provided by the          20. The cable modem system as claimed in claim 18
    cable modem engine.                                         wherein the DOCSISMAC processor is configured to imple
 18. A cable modem system comprising:                           ment real-time MAC functions for both upstream and down
 a data networking engine implemented in a first circuit that stream communications.
    includes at least one processor, the data networking 35
    engine programmed with Software that when executed




                                                    APPX48
     Case: 23-136     Document: 2-2     Page: 71    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-3 Filed 04/27/22 Page 1 of 16 PageID #: 29




                    EXHIBIT B




                              APPX49
         Case: 23-136                            Document: 2-2                  Page: 72                  Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-3 Filed 04/27/22 Page 2 of 16 PageID #: 30

                                                                                                    US008284690B2


(12) United States Patent                                                       (10) Patent No.:                     US 8.284,690 B2
       Barr                                                                     (45) Date of Patent:                           Oct. 9, 2012

(54) RECEIVER DETERMINED PROBE                                               (58) Field of Classification Search ........................ None
                                                                                  See application file for complete search history.
 75) Inventor
(75) I    tor:        David
                       aVIC B5arr, San
                                   San Jose,
                                       Jose, CA (US
                                                (US)                         (56)                     References Cited

(73) Assignee: for                   unications Inc., San                                      U.S. PATENT DOCUMENTS
                              s                                                     7,124,199 B2 * 10/2006 Miller et al. .................. TO9,238
 c            -r                             -                                2007, 0183383 A1*        8, 2007 Bitran et al. ...          370,338
(*) Notice:           subsists still                                          20080117833 A1* 5/2008 Borran et al. ................. 370,252
                      U.S.C. 154(b) by 253 days.                             * cited by examiner
                                                                             Primary Exami — C1
                                                                              FIFOF EXOFilter                   Ce   Ha
(21) Appl. No.: 12/635,649                                                   (74) Attorney, Agent, or Firm — Bruce W. Greenhaus;
(22) Filed:            Dec.e 10,
                             - V8
                                  2009                                       Daniel Yannuzzi: Michael Febbo
                                                                             (57)                  ABSTRACT
(65)                Prior Publication Data                                   According to various embodiments of the disclosed method
        US 2010/O15OO16A1      Jun. 17, 2010                                 and apparatus, nodes on a network are programmed to gen
                                                                             erate a probe transmission in response to a request from the
              Related U.S. Application Data                                  node that will be receiving the probe. The receiving node may
(60) Provisional application No. 61/122,687, filed on Dec                    generate a probe request that specifies a plurality of param
     15, 2008, provisional a lication No. 61f179.45 4.                       eters, such as a modulation profile for the probe; the payload
     filed on M. 19, 2009 pp                                       s a- is   content of the probe; the number of times to transmit the
                 y 19,                                                       probe; a number of symbols for the payload of the probe; a
(51) Int. Cl.                                                                preamble type for the probe; a cyclic-prefix length for the
     G06F II/00                     (2006.01)                                payload of the probe; a transmit power for the probe; and a
     GO6F 15/173                    (2006.015                                transmit power Scaling factor for the payload of the probe.
(52) U.S. Cl. ........................................ 370/252: 709/224                      24 Claims, 6 Drawing Sheets




                                                                                       33    E3883:
                                                                                        $838. Six



                                          B&Evi
                                             83.38
                                                   Rc8:          -




                                                               APPX50
    Case: 23-136      Document: 2-2     Page: 73     Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-3 Filed 04/27/22 Page 3 of 16 PageID #: 31


U.S. Patent          Oct. 9, 2012   Sheet 1 of 6          US 8,284,690 B2




                                APPX51
    Case: 23-136      Document: 2-2     Page: 74     Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-3 Filed 04/27/22 Page 4 of 16 PageID #: 32


U.S. Patent          Oct. 9, 2012   Sheet 2 of 6          US 8,284,690 B2




                                APPX52
    Case: 23-136      Document: 2-2     Page: 75     Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-3 Filed 04/27/22 Page 5 of 16 PageID #: 33




                              APPX53
    Case: 23-136      Document: 2-2     Page: 76     Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-3 Filed 04/27/22 Page 6 of 16 PageID #: 34




                              APPX54
    Case: 23-136      Document: 2-2       Page: 77       Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-3 Filed 04/27/22 Page 7 of 16 PageID #: 35


U.S. Patent          Oct. 9, 2012    Sheet 5 of 6            US 8,284,690 B2




                          Six Y six                      |-260
                                    «Six

                                                                s
                     SECY }          {{Scte;

                   specify User of symbols for M
                             -Yi               -

                    S-EY Y-8xxx xxiii


                        Six-Y        k{xxx



                  SPECIFY TRANSMTPower SETTINGS/28
                   specify payload symbol scale             -266
                                    fix


                      SEY xiii.                     8:        ef
                          kiss8S




                                APPX55
    Case: 23-136      Document: 2-2             Page: 78      Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-3 Filed 04/27/22 Page 8 of 16 PageID #: 36


U.S. Patent          Oct. 9, 2012      Sheet 6 of 6               US 8,284,690 B2




                                      8:308.88.083.




                                     8:38, 88


                                     38888.            S38838
                                       ;   ::      *       33-3
                                       3.x:                388




                        cons if 32: K            CHANNE 328




                                    Tig. 6


                                APPX56
        Case: 23-136                   Document: 2-2                       Page: 79             Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-3 Filed 04/27/22 Page 9 of 16 PageID #: 37


                                                      US 8,284,690 B2
                               1.                                                                 2
          RECEIVER DETERMINED PROBE                               network devices) are programmed to generate a probe trans
                                                                  mission in response to a request from the nodes that will be
            CROSS-REFERENCE TO RELATED                            receiving the probe. The receiving node may generate a probe
                       APPLICATIONS                               request that specifies a plurality of parameters to be used in
   This application claims the benefit of U.S. Provisional ing    such a “receiver determined probe to generate a probehav
Applications No. 61/122,687, filed Dec. 15, 2008, and No. the probe   the “form’ specified by these parameters. Accordingly,
61/179,454, filed May 19, 2009, each of which is herein                      request specifies a plurality of parameters associ
incorporated by reference.                                        ated with the generation and transmission of a probe, includ
                                                               10
                                                                  ing the content of a payload of the probe. In one embodiment,
                    TECHNICAL FIELD                               the parameters further include: the modulation profile for the
                                                                  probe; the payload content of the probe; the number of times
   The presently disclosed method and apparatus relates gen to transmit the probe; the number of symbols for the payload
erally to communication networks, and more particularly, of the probe; the preamble type for the probe; the cyclic-prefix
Some embodiments relate to channel assessment probes.          15 length for the payload of the probe; the transmit powerfor the
         DESCRIPTION OF THE RELATED ART                           probe; and the transmit power Scaling factor for the payload
                                                                  of the probe. Accordingly, the probe that is transmitted in
   A home network may include multiple types of subscriber response to the probe request will have a form dictated by the
equipment configured to deliver Subscriber services through parameters specified in the probe request.
out the home. These subscriber services include delivering          In various embodiments, these receiver determined probes
multimedia content, Such as streaming audio and video, may be used in a variety of applications. For example, the
through the home network to subscriber equipment, where it probes may be used to reach or discover hidden nodes; in
is presented to a user. As the number of available subscriber networks employing orthogonal frequency division multiple
services has increased and they become more popular, the
number of devices being connected within each home net 25 access         (OFDMA), the probes may be used for OFDMA sub
                                                                  channel assessment; or in networks accessible by content
work has also increased. The increase in the number of Ser
vices and devices increases the complexity of coordinating providers,
                                                                   OS1S.
                                                                              the probes may be used for off-site network diag
communication between the network nodes as each node may            An embodiment of the disclosed method comprises: a)
experience different access conditions along its portion of the receiving   in a first node, a probe request specifying a plurality
network.
   This increase in complexity, further increases the likeli 30 of parameters associated with the generation and transmis
hood that network problems may develop. When problems sion of a probe, including the content of a payload of the
with subscriber services develop, subscriber service content probe; and b) transmitting from the first node to a second node
providers are typically required to diagnosis the source of the the probehaving a form dictated by the parameters specified
network problem. Often, this requires sending a technician to by the probe request.
the physical location of the home network to personally 35 In a further embodiment of the method and apparatus, at
assess the network and diagnose the problem. Accordingly, as least one of the probe parameters indicates: a) a modulation
the number of homes with subscriber services incorporated profile for the probe; b) the payload content of the probe; c)
into their home networks increases, so does the amount of the number of times to transmit the probe; d) the number of
resources a service provider must devote to technical Support symbols for the payload of the probe; e) the preamble type for
and network maintenance.                                       40 the probe: f) the cyclic-prefix length for the payload of the
   In many instances in which a network is established, it is probe; g) the transmit powerfor the probe; and h) the transmit
helpful to characterize the communication channel over power Scaling factor for the payload of the probe.
which data is to be sent between nodes of the network. It
should be noted that for the purposes of this disclosure, a         Other features and aspects of the disclosed method and
“channel’ is the communication link between a first node of 45 apparatus will become apparent from the following detailed
a network and a second node of a network in one particular description,         taken in conjunction with the accompanying
                                                                  drawings, which illustrate, by way of example, the features in
direction. Therefore, there is a first channel from a first node        accordance with embodiments of the disclosed method and
1 to a second node 2 and a second unique channel from the               apparatus. The Summary is not intended to limit the scope of
second node 2 to the first node 1. In some instances, probes
are sent between nodes of the network in order to allow a               the claimed invention, which is defined solely by the claims
receiving node on the network to determine Some of the 50 attached hereto.
characteristics of the channel between the receiving node and              BRIEF DESCRIPTION OF THE DRAWINGS
the transmitting node. These probes are typically well
defined. Accordingly, the receiving node knows before recep
tion what reference signal was transmitted. By comparing the          The disclosed method and apparatus, in accordance with
reference probe with the actual received probe, the receiver 55 one or more various embodiments, is described in detail with
can determine some of the characteristics of the channel           reference to the following figures. The drawings are provided
between the transmitting and receiving node. However, for purposes of illustration only and merely depict either
requiring the transmitting node to send a predetermined probe typical embodiments or examples of particular embodiments.
reduces the amount flexibility of the characterization process. These drawings are provided to facilitate the readers under
Nonetheless, this reduction in the flexibility must be suffered 60 standing of the disclosed method and apparatus and shall not
because it is critical to the process that the receiving node be considered limiting of the breadth, scope, or applicability
knows the precise form of the transmitted probe.                   of the claimed invention. It should be noted that for clarity and
                                                                   ease of illustration these drawings are not necessarily made to
                     BRIEF SUMMARY                                      scale.
                                                                   65     FIG. 1 illustrates an example of one environment in which
  According to various embodiments of the disclosed                     Some embodiments of the disclosed method and apparatus
method and apparatus, nodes on a network (also referred to as           may be implemented.




                                                       APPX57
       Case: 23-136                   Document: 2-2                    Page: 80             Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-3 Filed 04/27/22 Page 10 of 16 PageID #: 38


                                                    US 8,284,690 B2
                                  3                                                                4
   FIG. 2 illustrates an example of one embodiment of a the NC based upon a process defined by the communications
network topology of the disclosed method and apparatus.             protocol. In networks employing an NC, the NC schedules
   FIG. 3 illustrates a transmitter module that may be network communications between network nodes using a
employed in some embodiments of the disclosed method and MAP message. The MAP is sent as a packet. Such MAP
apparatus to generate PHY packets.                                5 packets are sent on a regular basis. MAPs are generated in
   FIG. 4 illustrates a method of operation according to an response to reservation requests by the nodes of the network.
embodiment of the disclosed method and apparatus.                   The NC's MAP message may precisely schedule probe trans
   FIG. 5 illustrates examples of parameters that may be missions. The NC also performs admission procedures when
modified or determined for generating a probe request a new node requests admission to the network.
according to an embodiment of the disclosed method and 10 Nodes described herein can be associated with a variety of
apparatus.                                                          devices. For example, in a system deployed in a residence
   FIG. 6 illustrates an example computing module that may 101, a node may be a network communications module asso
be used in implementing various features of embodiments of ciated with one of the computers 109 or 110. Such nodes
the disclosed method and apparatus.                                 allow the computers 109, 110 to communicate on the com
   The figures are not intended to be exhaustive or to limit the 15 munications medium 100. Alternatively, a node may be a
claimed invention to the precise form disclosed. It should be module associated with a television 111 to allow the televi
understood that the disclosed method and apparatus can be sion to receive and display media streamed from the internet,
practiced with modification and alteration, and that the or from one or more other network nodes. A node might also
claimed invention should be limited only by the claims and be associated with a speaker or other media playing devices
the equivalents thereof.                                            103 that plays music. A node might also be associated with a
                                                                    module configured to interface with an internet or cable ser
                   DETAILED DESCRIPTION                             vice provider 112, for example to provide Internet access,
                                                                    digital video recording capabilities, media streaming func
   Before describing the disclosed method and apparatus in tions, or network management services to the residence 101.
detail, it is useful to describe an example of an environment in 25 In many embodiments, network probes are used to perform
which the disclosed method and apparatus can be imple various channel assessment or network maintenance proce
mented. The network of FIG. 1 will be described for this            dures. For example, in a wired network, network node mobil
purpose. A wired communications medium 100 is shown. In ity may be fairly low and new nodes joining the network may
Some embodiments, the wired communications medium                   be a relatively rare occurrence. In contrast to highly dynamic
might be a coaxial cable system, a power line system, a fiber 30 networks. Such as wireless networks, wired networks are
optic cable system, an Ethernet cable system, or other similar more stable, i.e., the channel conditions do not change fre
communications medium. Alternatively, the communications quently. In stable networks probing can be used to profile the
medium might be a wireless transmission system. In the channel conditions without introducing unacceptable net
illustrated embodiment, the communications medium 100 is            work overhead. However, even with more dynamic networks,
preinstalled coaxial cabling deployed within a residence 101. 35 network probes can be used to diagnose problems. For
   The network comprises a plurality of network nodes 102, example, a probe can replicate a potential problem, reach or
103,104,105,106 in communication according to a commu discover a distant or previously undetected node on the net
nications protocol. For example, the communications proto work, or assist with network admissions procedures.
col might comprise a networking standard, Such as the Mul              In some embodiments, network communications use
timedia over Coax Alliance (MoCA) standard. In the 40 orthogonal frequency division multiplexing (OFDM). In
illustrated embodiment, the communications protocol speci OFDM, a communications channel comprises a plurality of
fies a packet based communications system. In this embodi orthogonal Subcarrier frequencies. In one embodiment, trans
ment, physical layer (PHY) packets comprise preambles and missions are modulated onto these Subcarriers using quadra
payloads. A PHY preamble is typically inserted at the begin ture amplitude modulation (QAM), where symbols are
ning of each packet to assist receivers in detecting and acquir 45 modulated onto the subcarrier by modifying the amplitude of
ing the physical layer parameters to properly receive and an in-phase and independently modifying the amplitude of a
decode the packet. The communications protocol may have a quadrature portion of the Subcarrier transmission. Each
plurality of pre-defined PHY preambles to use with different OFDM symbol is formed from the collection of all of the
types of network communications. For example, one type of QAM symbols modulated onto each of the used subcarriers in
preamble may be used when transmitting in a diversity mode 50 the same time slot. In some embodiments, each Subcarrier is
(a communication mode in which little is known about the modulated with the same modulation scheme. For example,
communication channel). Another type of preamble may be an OFDM symbol may comprise a plurality of subcarriers
used when transmitting a media access plan (MAP) message. each modulated with 4-QAM. In another embodiment, trans
Another type of preamble may comprise a specified Subset of missions on different subcarriers may utilize different QAM
Subcarrier frequencies. Other types of packets may use other 55 schemes. For example, a first Subcarrier may be modulated
types of preambles.                                                 using 2-QAM (otherwise known as binary phase shift keying
   A PHY payload is used to transmit the data content of the (BPSK)), a second subcarrier may be modulated using
packet. In some cases, the PHY payload has a predetermined 64-QAM, and so on. In yet another embodiment, different
format. For example, in a MoCA network, network mainte transmission types may utilize different types of OFDM sym
nance messages and MAP messages each have a format that 60 bols. For example, during network admissions processes,
is determined by the MoCA protocol. In other cases, the PHY transmissions may utilize OFDM symbols where each sub
payload may have undetermined format. For example, the carrier is modulated with 2-QAM, and once the network node
PHY payload of a media streaming transmission might com has been admitted to the network, it may utilize an adaptable
prise an embedded Ethernet packet or a portion thereof.             bitloading profile for its OFDM symbols.
   In some embodiments, activity on the network is controlled 65 In some embodiments, OFDMA may be employed to allow
by a network coordinator (NC) node. In one such embodi multiple nodes to have simultaneous access to the channel. In
ment, one of the nodes is selected to perform the functions of OFDMA, disjoint subsets of subcarriers, referred to as sub




                                                     APPX58
       Case: 23-136                   Document: 2-2                  Page: 81             Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-3 Filed 04/27/22 Page 11 of 16 PageID #: 39


                                                   US 8,284,690 B2
                           5                                                                     6
channels, are assigned to the nodes participating in the         domain PHY preamble before the frequency domain payload
OFDMA communications. In some embodiments employing              160. Accordingly, a preamble specified in the frequency
NCs, OFDMA is used for the communications between the            domain may be “prepended to the payload after the subcar
non-NC nodes and the NC. In these embodiments, the NC            rier mapper 163. The combined signal is then modulated onto
may partition the channel into Sub-channels and assign these the OFDM symbol by a modulator module 164. The modu
Sub-channels to the participating network nodes. In a particu lated signal is then filtered and upconverted to the channels
lar embodiment, the Sub-channels are configured Such that the predetermined radio frequencies by the filter 165 and an RF
bitloading on each Sub-channel is the same. In this embodi upconverter 166.
ment, because different Subcarriers may accommodate differ          When the transmitting module 150 is generating a time
ent modulation schemes, the Sub-channels may not all have 10 domain packet, the frequency domain modulation is not nec
the same number of Subcarriers. However, in other embodi         essary. However, in one embodiment the frequency domain
ments, different Sub-channel bitloading and partitioning modulation is used even when generating a time domain
schemes may be employed.                                         packet. A time domain payload 161 having a time domain
   FIG. 2 illustrates a full mesh topology between four preamble generated by a time domain preamble generator
example nodes. In some embodiments, network conditions 15 module 167 is filtered and RF upconverted for transmission
may vary according to the particular channel, and even on the channel.
according to the direction of the channel. For example, net         FIG. 4 illustrates a method of operation according to an
work conditions for the channel from node 1 to node 2 can        embodiment of the disclosed method and apparatus. In block
differ from the conditions for the channel from node 2 to node   200, one or more nodes transmit a probe request specifying
1. These can each be different from the conditions of the        probe parameters to one or more nodes that will be transmit
channel from node 2 to node 3, and so on. Accordingly, ting the eventual probe(s) having a form that is dictated by the
different modulation schemes may be employed for each specified parameters. In one embodiment, the probe is trans
channel. In one embodiment, probes are used during a net mitted by a single node and received by a single node (point
work profiling period to determine the modulation schemes to to-point) or received by several nodes (point-to-multipoint,
be used for the different links. For example, node 1 may 25 Such as multicast or broadcast). In another embodiment, the
transmit a probe request to each of nodes 2, 3, and 4 specify probe is simultaneously transmitted by multiple nodes and
ing a bitloading per Subcarrier and a raw data sequence to be received by a single node (multipoint-to-point, such as
used in transmitting the probe. Each of nodes 2, 3, and 4 OFDMA). In other OFMDA embodiments, multiple nodes
would then generate the probe with the requested bitloading might share the communications channel for multi-point to
and raw data sequence and transmit the probe to node 1. By 30 multi-point communications. In Such a case, multiple nodes
analyzing this return probe and repeating the process if nec can transmit probe requests, and multiple nodes can receive
essary, node 1 can develop bitloading profiles for use on the probes, all simultaneously.
Subcarriers used to communicate with each of nodes 2, 3, and        In block 201, the probe transmitter or transmitters receive
4.                                                               the probe request or requests. In one embodiment, the probe
   In one embodiment employing OFDMA, a receiving node 35 request specifies a plurality of parameters for the probe that
sends a probe request that indicates which Sub-carriers are to will dictate the form of the probe to be transmitted. These
be used to send a probe from a particular transmitting node parameters are discussed in more detail below with respect to
and the bitloading profiles applied across those sub-carriers.   FIG. 5. In block 202, the probe transmitter uses the specified
For example, in one embodiment, node 1 may be an NC, and probe parameters to generate a probe having a form that
may receive reservation requests from nodes 2, 3, and 4 40 complies with the specified parameters. In block 203, the
simultaneously using OFDMA. If node 1 were to establish a probe transmitter transmits the generated probe to the probe
potential Sub-channel with node 2, node 1 can transmit a requester at a specified time. Alternatively, the probe trans
probe request specifying a bitloading profile in which the mitter can transmit the probe to any other probe base upon one
subcarriers that are not in the potential sub-channel are left of the parameters of the probe request or based upon infor
untransmitted. Accordingly, the bitloading profile would 45 mation that previously existed within the transmitting node.
indicate modulating only the Subcarriers that are in the poten In some embodiments, the requested probe may exceed cer
tial Sub-channel. In this case, the probe generated by node 2 in tain capabilities of the transmitter.
response to the probe request from node 1 would emulate an          In one embodiment, the probe transmitter's RMS error
OFDMA transmission from node 2 to node 1. Node 1 could           (signal fidelity) requirements may be relaxed if the requested
then use the information derived from the probe in its 50 probe specifies a power output that exceeds the transmitting
OFDMA sub-channel allocation procedure.                          node's nominal total output power. As another example, the
   In another embodiment, node 1 could transmit one or more      probe transmitter may have restrictions on how many time
probe requests that request probes to be transmitted by some domain probes it is allowed to send, and will send a time
or all of the OFDMA participant nodes simultaneously on the domain probe only if the probe transmitter determines that the
subcarriers assigned to be used by each OFDMA participant 55 time domain probe will not negatively impact other network
node.                                                            operations.
   FIG. 3 illustrates a transmitter module 150 used within a        In block 204, the requesting node receives the probe gen
node, such as the nodes 102,103,104,105,106 shown in FIG.        erated according to its earlier probe request. The received
1. The transmitter module 150 generates PHY packets in probe may then be used in further processing in block 205. In
accordance with one embodiment of the disclosed method 60 one embodiment, the received probe may be used in channel
and apparatus. The module 150 has a frequency domain pay analysis to determine a bitloading table, FEC and other com
load 160 and/or a time domain payload 161. A subcarrier munication parameters for OFDM or OFDMA signals for
mapper 163 maps the payload 161 to a plurality of assigned future transmissions from the probe transmitter. In another
Subcarriers according to a predetermined bitloading profile embodiment, post reception processing might comprise gen
for the channel (or sub-channel in the case of an OFDMA 65 erating a report from the probe and transmitting this probe
transmission). The transmitter module 150 uses a frequency report to the requesting node or to a designated entity. For
domain preamble generator module 162 to inserta frequency example, the probe report could contain bitloading, FEC and




                                                    APPX59
       Case: 23-136                   Document: 2-2                   Page: 82             Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-3 Filed 04/27/22 Page 12 of 16 PageID #: 40


                                                    US 8,284,690 B2
                               7                                                                 8
other communication parameters to be used subsequently by various techniques, such as data-Scrambling, bin-scrambling,
the transmitting node when communicating to the receiving forward error correction, or encryption be used in network
node. In another example, the probe report could be conveyed communications. In some Such embodiments, these tech
to an offsite network administrator for remote management niques are specified in the probe request. In alternative
purposes. For example, the parameters of the requested probe 5 embodiments, these techniques are not used in the specified
can be determined by an off-site network administrator, and data sequence for simplicity.
conveyed to a probe requestor. The resulting probe, post              In block 262, a probe request specifies a number of sym
processing, and probe report can be used to assist in diagnos bols for the probe payload length. In one embodiment, the
ing a network problem possibly involving the probe requester number of symbols and the raw data sequence will be deter
or the probe transmitter. In one Such case, a probe report is 10 mined such that the serialized bit stream corresponding to the
sent to the network administrator.                                 raw data sequence fully occupies the requested number of
   In other embodiments, the probe request might be trans symbols using the requested bitloading profile. Additionally,
mitted by a different node than the probe receiver. For in embodiments using OFDM communications, or other
example, in FIG. 2, node 2 might generate a probe request for embodiments with multi-path channel characteristics, a
node 3 to generate and transmit a specified probe to node 1. In 15 cyclic prefix length may be specified. In some embodiments,
Some embodiments, this is used to determine how communi            the cyclic prefix length may be the same for each symbol of
cations between node 3 and node 1 could impact communi the specified number of symbols. In other embodiments, the
cations between node 2 and node 4. This might occur, for cyclic prefix length may be assigned in a symbol specific
example, in an OFDMA system in which a sub-channel manner or may otherwise vary between symbols of the probe.
between node 1 and node 3 and a second sub-channel between            In block 264, a probe request further specifies a preamble
node 2 and node 3 are active at the same time. In another          type to use in the probe. As discussed above, some networks
embodiment, an NC can generate a probe request for a probe operate according to protocols that specify a variety of avail
to be transmitted between two other nodes with an instruction      able packet preambles. These packet preambles can be used
that a probe report be transmitted to the NC. This might be for packet identification or can contain information useful in
used by an off-site network manager that can communicate 25 receiving and decoding the packet's payload. In some
with only some of the network nodes, but Suspects that com embodiments, different preambles may be utilized according
munications between other network nodes may be causing a to channel conditions, such as a long and robust preamble
network problem.                                                   when the channel conditions are unknown, or a short and
   FIG. 5 illustrates examples of parameters that may be efficient preamble when the channel conditions are known to
modified or determined for generating a probe request 30 be good. In some embodiments using OFDMA transmis
according to an embodiment of the disclosed method and sions, a preamble type may be used in which each simulta
apparatus. A probe request may specify a bitloading profile or neous transmitter contributes a portion of the composite pre
constellation profile to be used in the probe (block 260). For amble corresponding to the particular Subcarriers assigned to
example, in OFDM networks, the bitloading profile or con each participating transmitter. In some embodiments, nodes
stellation profile may specify which QAM constellations to 35 may be restricted from using certain preamble types. For
use for which channel Subcarriers. In some embodiments, the        example, in a network utilizing MAP packets, a MAP packet
specified bitloading profile may specify a QAM constellation preamble may be specified, and nodes may be restricted from
or QAM scheme to use for each subcarrier. In other embodi requesting that a probe utilize a MAP packet preamble. This
ments, the bitloading profile specifies QAM schemes for only can serve to reduce the likelihood that a probe might
a Subset of the available Subcarriers and the probe generating 40 adversely affect the operation of other nodes not involved in
node will not transmit the remaining Subcarriers.                  the probing procedure. In other embodiments, the type of
   In various embodiments, the bitloading profile includes preamble available is not restricted, or the restriction can be
indications to leave certain Subcarriers untransmitted. For        overcome in certain circumstances. For example, diagnostic
example, in one embodiment, in which the network conforms probe requests could be unrestricted in terms of the available
to an industry standard established by MoCA, 100 MHz/512 45 preambles while network maintenance or assessment or
versions of MoCA's Type II Frequency Domain Tone Probes channel assessment probe requests could be restricted in
can be accommodated without the need to specifically define terms of their available preambles. Additionally, in some
the probes in the MoCA specification. This could be accom embodiments, only certain probe parameters can be
plished in part by generating a probe request for a probe requested under certain conditions. For example, in an
having two modulated Subcarriers, while specifying that the 50 OFDMA network, the network protocol may specify that a
remaining Subcarriers of the probe be untransmitted. As particular OFDMA preamble be used in all OFDMA trans
another example, an OFDMA transmission from a single missions. Therefore, if a probe request specifies an OFDMA
node could be emulated by instructing the node to transmit a probe, then the probe request will specify that the particular
probe in which only Subcarriers belonging to a certain Sub OFDMA preamble be used in the OFDMA probe. In another
channel are transmitted, while leaving the remaining Subcar 55 embodiment, the probe request also specifies that the same
riers untransmitted. Additionally, simultaneous OFDMA Subcarriers remain untransmitted in the preamble as in the
transmissions may occur in response to probe requests to OFDMA packet payload. In another embodiment, the probe
multiple nodes. In one embodiment, each of the multiple transmitting node may perform this operation automatically.
probe requests is sent to one of a plurality of nodes. Each           In the embodiment of FIG. 5, block 265 indicates that a
probe request specifies a bitloading profile specific to the 60 probe request specifies a transmit power setting for the probe.
particular probe-transmitting node. Such that the simulta          In some embodiments, the network protocol may establish a
neously transmitted probes from the multiple nodes comprise range of transmit power settings that are available for various
an OFDMA transmission to the requesting node.                      transmissions. In a particular embodiment, a range of trans
   In accordance with the embodiment shown in FIG. 5, in           mit power (attenuation) settings is between 0 and 30 dB for
block 261, the probe request specifies a raw data sequence for 65 normal transmissions, and between -12dB (corresponding to
the probe (or for just the probe's payload). In some embodi amplification) to 45 dB for OFDMA transmissions, or trans
ments, a network communications protocol specifies that missions with an OFDMA specifying preamble. In some




                                                    APPX60
       Case: 23-136                   Document: 2-2                  Page: 83             Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-3 Filed 04/27/22 Page 13 of 16 PageID #: 41


                                                   US 8,284,690 B2
                                                                                              10
embodiments, a node conforms to these predetermined set domain probe request to determine if the corresponding time
tings in generating probe requests. In other embodiments, the domain probe would disrupt the network.
different settings available for different transmission types     In various embodiments, allowing a probe receiving node
may be exploited to generate particular probes. For example, to specify the parameters for a probe from the probe trans
a probe request could request an amplified non-OFDMA mitting node allows various features to be implemented. Fur
probe in order to reach or identify a distant or hidden node.   thermore, in Some embodiments, networks implementing
   In block 266, a probe request further specifies a power these embodiments may simplify their shared communica
scaling factor for the payload relative to the preamble. In tions standards. For example, a network standard may forgo
embodiments employing this scaling factor, probe payloads specifying particular assessment probes and allow a receiving
can be transmitted with different power characteristics than 10 node to determine its own assessment probe. In one embodi
the probe preambles. In one particular embodiment, the scale ment, the receiving node may utilize this ability to specify the
factor varies from 0 to 17 dB of amplification in the payload characteristics of an error vector measurement (EVM) probe
relative to the preamble. This might be used in a variety of or echo profile probe (EPP). Furthermore, this may simplify
different requested probes. For example, 100 MHz/512-sub the shared communications standard by allowing proprietary
carrier versions of MoCA's Type II Frequency Domain Tone 15 aspects of the probe signal processing to be confined to par
Probes can be emulated, in part, by applying an appropriate ticular receivers. Allowing the receiving node to specify the
payload scale factor. For example, a probe request may characteristics of the probe also supports future extensibility
specify a payload that modulates only a single Subcarrier with (e.g., new probe signals could be Supported by older trans
the maximum available payload Scaling factor (amplification) mitters). In addition to allowing a network to improve its
in order to reach or identify a distant or hidden node. In functioning, this may also allow legacy nodes to better inter
another example, a payload scale factor may be requested operate with nodes operating according to future standards.
which produces a probe transmission which exceeds the For example, if an improved EVM probe type were developed
transmitting node's nominal total output power, in order to for a future network, nodes implementing this embodiment
reach or identify a distant or hidden node. Alternatively, the will be capable of transmitting the improved probe, even if
probe request may specify an OFDMA emulating probe in 25 they themselves are not able to process these probes and are
which the payload is modulated on a set of subcarriers that restricted to using a legacy EVM probe. Additionally, some
comprises a potential sub-channel for OFDMA communica nodes may be capable of downloading or receiving new probe
tions. The Scaling factor can be determined Such that the types from outside entities. In networks implementing an
payload is transmitted at the power level of a normal OFDMA embodiment of the disclosed method and apparatus, these
Sub-channel, even though the preamble does not specify that 30 new probes may be uploaded to the capable nodes, which can
the communication is an OFDMA sub-channel. In one               then request the updated probes to be transmitted from nodes
embodiment, such probes might be used to assess a channel that would not otherwise have the upgraded capabilities.
and thus allow an NC to pre-determine which OFDMA sub             As used herein, the term module might describe a given
channels should be used if a node leaves or joins the network. unit of functionality that can be performed in accordance with
For example, an NC could establish four potential sub-chan 35 one or more embodiments of the disclosed method and appa
nels for a network having three current nodes. This would ratus. As used herein, a module might be implemented utiliz
avoid overhead if a fourth node were to join the network. In ing any form of hardware, Software, or a combination thereof.
Some embodiments, packet power restrictions may impact For example, one or more processors, controllers, ASICs,
what Scaling factors are available in terms of the specified PLAs, PALs, CPLDs, FPGAs, logical components, software
transmit power setting. In a particular embodiment, the pay 40 routines or other mechanisms might be implemented to make
load symbol scaling factor minus the transmit power (attenu up a module. In implementation, the various modules
ation) setting is restricted to less than or equal to 12 dB.    described herein might be implemented as discrete modules
   In block 267, a probe request specifies the number of times or the functions and features described can be shared in part or
the generated probe should be transmitted. For example, a in total among one or more modules. In other words, as would
probe request may specify that the generated probe be 45 be apparent to one of ordinary skill in the art after reading this
repeated to allow improved channel assessment or to diagno description, the various features and functionality described
sis a particular network issue. In one embodiment, the amount herein may be implemented in any given application and can
of delay between repetitions is specified. In further embodi be implemented in one or more separate or shared modules in
ments, the probe request may specify that certain probe various combinations and permutations. Even though various
parameters vary in Subsequent transmissions. For example, 50 features or elements of functionality may be individually
the probe request may specify that the transmitter transmit described or claimed as separate modules, one of ordinary
three Subsequent probes with equivalent parameters except skill in the art will understand that these features and func
for an increasing power transmit setting. In some embodi tionality can be shared among one or more common Software
ments, this is used to avoid repetitious probe requests.        and hardware elements, and Such description shall not require
   In some alternative embodiments, the probe requests 55 or imply that separate hardware or software components are
specify time-domain probes. For example, a probe request used to implement Such features or functionality.
may specify a time domain probe to generate a square wave or      Where components or modules of the disclosed method
othereasily analyzed signal for channel estimate purposes. In and apparatus are implemented in whole or in part using
Some embodiments, factors similar to those employed in the Software, in one embodiment, these Software elements can be
embodiments described with respect to FIG. 5 may be 60 implemented to operate with a computing or processing mod
employed in a time domain probe request, except that the ule capable of carrying out the functionality described with
bitloading profile and raw data bit-sequence are replaced with respect thereto. One Such example computing module is
a time series for the transmitted probe. In some embodiments,   shown in FIG. 6. Various embodiments are described interms
the allowed time domain sequences are restricted, for of this example-computing module 300. After reading this
example to prevent a mal-formed packet from disrupting 65 description, it will become apparent to a person skilled in the
other network communications. In other embodiments, probe relevantart how to implement the disclosed method and appa
transmitters are programmed to evaluate a received time ratus using other computing modules or architectures.




                                                    APPX61
       Case: 23-136                   Document: 2-2                   Page: 84              Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-3 Filed 04/27/22 Page 14 of 16 PageID #: 42


                                                    US 8,284,690 B2
                              11                                                              12
   Referring now to FIG. 6, computing module 300 may used to allow software and data to be transferred between
represent, for example, computing or processing capabilities computing module 300 and external devices. Examples of
found within desktop, laptop and notebook computers; hand communications interface 324 might include a modem or
held computing devices (PDAs, Smartphones, cell phones,          Softmodem, a network interface (such as an Ethernet, network
palmtops, etc.); mainframes, Supercomputers, workstations interface card, WiMedia, IEEE 802.XX or other interface), a
or servers; or any other type of special-purpose or general communications port (Such as for example, a USB port, IR
purpose computing devices as may be desirable or appropri port, RS232 port BluetoothR) interface, or other port), or other
ate for a given application or environment. Computing mod communications interface. Software and data transferred via
ule 300 might also represent computing capabilities communications interface 324 might typically be carried on
embedded within or otherwise available to a given device. For 10 signals, which can be electronic, electromagnetic (which
example, a computing module 300 might be found in elec includes optical) or other signals capable of being exchanged
tronic devices Such as, for example, digital cameras, naviga by a given communications interface 324. These signals
tion systems, cellular telephones, portable computing might be provided to communications interface 324 via a
devices, modems, routers, wireless access points (WAPs), channel 328. This channel 328 might carry signals and might
terminals and other electronic devices that might include 15 be implemented using a wired or wireless communication
Some form of processing capability.                              medium. Some examples of a channel might include a MoCA
   Computing module 300 might include, for example, one or channel over coaxial cable, phone line, power line, a cellular
more processors, controllers, control modules, or other pro link, an RF link, an optical link, a network interface, a local or
cessing devices, such as a processor 304. Processor 304 might wide area network, and other wired or wireless communica
be implemented using a general-purpose or special-purpose tions channels.
processing engine Such as, for example, a microprocessor,           In this document, the terms "computer program medium’
controller, or other control logic. In the illustrated example, and “computer usable medium' are used to generally refer to
processor 304 is connected to a bus 302, although any com media such as, for example, memory 308, storage unit 320,
munication medium can be used to facilitate interaction with       media 314, and channel 328. These and other various forms of
other components of computing module 300 or to communi 25 computer program media or computer usable media may be
cate externally.                                                   involved in carrying one or more sequences of one or more
   Computing module 300 might also include one or more instructions to a processing device for execution. Such
memory modules, simply referred to herein as main memory instructions embodied on the medium, are generally referred
308. For example, preferably random access memory (RAM) to as "computer program code' or a "computer program
or other dynamic memory, might be used for storing infor 30 product' (which may be grouped in the form of computer
mation and instructions to be executed by processor 304. programs or other groupings). When executed, such instruc
Main memory 308 might also be used for storing temporary tions might enable the computing module 300 to perform
variables or other intermediate information during execution features or functions of the disclosed method and apparatus as
of instructions to be executed by processor 304. Computing discussed herein.
module 300 might likewise include a read only memory 35 While various embodiments of the disclosed method and
(“ROM) or other static storage device coupled to bus 302 for apparatus have been described above, it should be understood
storing static information and instructions for processor 304. that they have been presented by way of example only, and not
   The computing module 300 might also include one or more of limitation. Likewise, the various diagrams may depict an
various forms of information storage mechanism 310, which example architectural or other configuration for the disclosed
might include, for example, a media drive 312 and a storage 40 method and apparatus, which is done to aid in understanding
unit interface 320. The media drive 312 might include a drive the features and functionality that can be included in the
or other mechanism to Support fixed or removable storage disclosed method and apparatus. The claimed invention is not
media 314. For example, a hard disk drive, a floppy disk drive,    restricted to the illustrated example architectures or configu
a magnetic tape drive, an optical disk drive, a CD or DVD rations, but the desired features can be implemented using a
drive (R or RW), or other removable or fixed media drive 45 variety of alternative architectures and configurations.
might be provided. Accordingly, storage media 314 might Indeed, it will be apparent to one of skill in the art how
include, for example, a hard disk, a floppy disk, magnetic alternative functional, logical or physical partitioning and
tape, cartridge, optical disk, a CD or DVD, or other fixed or configurations can be implemented to implement the desired
removable medium that is read by, written to or accessed by features of the disclosed method and apparatus. Also, a mul
media drive 312. As these examples illustrate, the storage 50 titude of different constituent module names other than those
media 314 can include a computer usable storage medium depicted herein can be applied to the various partitions. Addi
having stored therein computer software or data.                   tionally, with regard to flow diagrams, operational descrip
   In alternative embodiments, information storage mecha tions and method claims, the order in which the blocks are
nism 310 might include other similar instrumentalities for presented herein shall not mandate that various embodiments
allowing computer programs or other instructions or data to 55 be implemented to perform the recited functionality in the
be loaded into computing module 300. Such instrumentalities        same order unless the context dictates otherwise.
might include, for example, a fixed or removable storage unit         Although the disclosed method and apparatus is described
322 and an interface 320. Examples of such storage units 322 above interms of various exemplary embodiments and imple
and interfaces 320 can include a program cartridge and car         mentations, it should be understood that the various features,
tridge interface, a removable memory (for example, a flash 60 aspects and functionality described in one or more of the
memory or other removable memory module) and memory individual embodiments are not limited in their applicability
slot, a PCMCIA slot and card, and other fixed or removable         to the particular embodiment with which they are described,
storage units 322 and interfaces 320 that allow software and but instead can be applied, alone or in various combinations,
data to be transferred from the storage unit 322 to computing to one or more of the other embodiments of the disclosed
module 300.                                                     65 method and apparatus, whether or not such embodiments are
   Computing module 300 might also include a communica described and whether or not such features are presented as
tions interface 324. Communications interface 324 might be being apart of a described embodiment. Thus, the breadth and




                                                     APPX62
        Case: 23-136                   Document: 2-2                    Page: 85               Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-3 Filed 04/27/22 Page 15 of 16 PageID #: 43


                                                      US 8,284,690 B2
                                 13                                                                 14
scope of the claimed invention should not be limited by any of         e) a cyclic-prefix length for the payload of the probe;
the above-described embodiments which are presented as                 f) a transmit power for the probe; and
mere examples for illustration only.                                   g) a transmit power scaling factor for the payload of the
   Terms and phrases used in this document, and variations                probe.
thereof, unless otherwise expressly stated, should be con 5 4. The method of claim 3, wherein the probe request iden
Strued as open ended as opposed to limiting. As examples of tifies a hidden node.
the foregoing: the term “including should be read as mean              5. The method of claim 3, wherein the modulation profile
ing “including, without limitation” or the like; the term for the probe emulates an orthogonal frequency division mul
“example' is used to provide exemplary instances of the item tiple access (OFDMA) transmission.
in discussion, not an exhaustive or limiting list thereof; the 10 6. The method of claim 1, wherein the probe request is
terms “a” or “an should be read as meaning “at least one.” generated             by the second node.
“one or more' or the like; and adjectives such as “conven              7. The method of claim 1, wherein the probe request
tional,” “traditional,” “normal,” “standard,” “known and
terms of similar meaning should not be construed as limiting requests a probe that assists in diagnosing a network problem.
the item described to a given time period or to an item avail 15 8. The method of claim 7, wherein the probe request is
able as of a given time, but instead should be read to encom generated           by a network operator and uploaded to the second
pass conventional, traditional, normal, or standard technolo node.
gies that may be available or known now or at any time in the          9. A method comprising:
future. Likewise, where this document refers to technologies           a) a first node transmitting a probe request to a second node,
that would be apparent or known to one of ordinary skill in the           the probe request specifying a first plurality of probe
art, such technologies encompass those apparent or known to               parameters for a physical layer probe, the first plurality
the skilled artisan now or at any time in the future.                     of probe parameters comprising a form for the probe
   The presence of broadening words and phrases such as                   including a modulation profile for the probe;
“one or more.” “at least,” “but not limited to’ or other like          b) the first node receiving the probe from the second node,
phrases in some instances shall not be read to mean that the 25           wherein the probe is generated in accordance with the
narrower case is intended or required in instances where Such             first plurality of parameters and in accordance with a
broadening phrases may be absent. The use of the term 'mod                second plurality of parameters determined by the second
ule' does not imply that the components or functionality                  node.
described or claimed as part of the module are all configured          10. The method of claim 9, wherein the probe request is
in a common package. Indeed, any or all of the various com 30 configured such that the probe emulates an OFDMA trans
ponents of a module, whether control logic or other compo mission.
nents, can be combined in a single package or separately               11. The method of claim 9, further comprising:
maintained and can further be distributed in multiple group            a) the first node transmitting a second probe request to a
ings or packages or across multiple locations.                            third node:
   Additionally, the various embodiments set forth herein are 35 b) and the first node receiving a second probe from the third
described in terms of exemplary block diagrams, flow charts               node, wherein the second probe is generated according
and other illustrations. As will become apparent to one of                to the second probe request; and
ordinary skill in the art after reading this document, the illus       wherein the first probe and second probe are transmitted
trated embodiments and their various alternatives can be                  simultaneously using OFDMA.
implemented without confinement to the illustrated 40 12. The method of claim 9, wherein the probe parameters
examples. For example, block diagrams and their accompa further comprises:
nying description should not be construed as mandating a               a) an indication of the number of times to transmit the
particular architecture or configuration.                                 probe;
   The invention claimed is:                                           b) a number of symbols for the payload of the probe; a
   1. A method comprising:                                          45    preamble type for the probe;
   a) receiving in a first node, a probe request specifying a first    c) a cyclic-prefix length for the payload of the probe; a
      plurality of parameters associated with the generation              transmit power for the probe; and
      and transmission of a probe, wherein the first plurality of      d) a transmit power scaling factor for the payload of the
      parameters at least specify content payload of the probe            probe.
      and a second node,                                            50 13. The method of claim 12, wherein the probe request is
   b) determining a second plurality of parameters associated configured such that the probe identifies a hidden node.
      with generation and transmission of the probe;                   14. The method of claim 9, wherein the probe request is
   c) generating the probe in accordance with the first plural transmitted at a specific time.
      ity of parameters and the second plurality of parameters,        15. The method of claim 9, wherein the probe request is
      wherein the probe has a form dictated by the first plu 55 configured to diagnose a network problem.
      rality of parameters; and                                        16. The method of claim 15, wherein the probe request is
   d) transmitting the probe from the first node to the second generated by a network operator and uploaded to the first
     node.                                                           node.
  2. The method of claim 1, further including using within             17. A system, comprising:
the first node, at least one of the probe parameters to deter 60       a) a first node on a communications network, the first node
mine a modulation profile for the probe.                                  comprising a first processor and a first computer execut
  3. The method of claim 1, wherein at least one of the probe             able program code embodied on a first a computer read
parameters indicates:                                                     able medium, the first computer executable program
  a) a modulation profile for the probe;                                  code configured to transmit a probe request to a second
  b) the number of times to transmit the probe;               65          node, on the communications network, the probe request
  c) a number of symbols for the payload of the probe;                    specifying a first plurality of probe parameters for a
  d) a preamble type for the probe;                                       physical layer probe, wherein the first plurality of probe




                                                       APPX63
       Case: 23-136                   Document: 2-2                   Page: 86              Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-3 Filed 04/27/22 Page 16 of 16 PageID #: 44


                                                    US 8,284,690 B2
                              15                                                                  16
      parameters comprising at least a payload content for the           a third computer executable program code embodied on
      probe and a modulation profile for the probe; and                  a third computer readable medium, the third executable
   b) the second node on the communications network, the                 program code configured to receive the second probe
      second node comprising a second processor and a sec                request, generate the second probe according to the
      ond computer executable program code embodied on a                 received probe request, and transmit the second probe to
      second computer readable medium, the second execut                 the first node on the communications network; and
      able program code configured to:                                   wherein the first probe and second probe are transmitted
   receive the probe request;                                            simultaneously using OFDMA.
   determine a second plurality of parameters associated with         20. The system of claim 17, wherein the probe parameters
      generation and transmission of the probe;                 10 further comprises:
   generate the probe in accordance with the first plurality of       a) an indication of the number of times to transmit the
      parameters and the second plurality of parameters,                 probe;
      wherein the probe has a form dictated by the first plu         b) a number of symbols for the payload of the probe;
      rality of parameters; and                                       c) a preamble type for the probe;
   transmit the probe to the first node.                        15    d) a cyclic-prefix length for the payload of the probe;
   18. The system of claim 17, wherein the probe request is           e) a transmit power for the probe; and
configured such that the probe emulates an OFDMA trans                f) a transmit power Scaling factor for the payload of the
mission.                                                                 probe.
   19. The system of claim 17, wherein the first executable           21. The system of claim 20, wherein the probe request is
program code is further configured to transmit a second probe configured such that the probe identifies a hidden node.
request to a third node on the communications network, the            22. The system of claim 17, wherein the probe request is
second probe request specifying a third first plurality of probe generated by the first node.
parameters for a second physical layer probe, the third plu           23. The system of claim 17, wherein the probe request is
rality of probe parameters comprising a second payload con configured to diagnose a network problem.
tent for the second probe and a second modulation profile for 25 24. The system of claim 23, wherein the probe request is
the probe, the second probe request further specifying a dif generated by a network operator and uploaded to the first
ferent second plurality of parameters associated with the gen node.
eration and transmission of the second probe; and
   further comprising the third node on the communications
      network, the third node comprising a third processor and




                                                     APPX64
     Case: 23-136     Document: 2-2     Page: 87    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-4 Filed 04/27/22 Page 1 of 13 PageID #: 45




                    EXHIBIT C




                              APPX65
        Case: 23-136                                Document: 2-2                   Page: 88                  Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-4 Filed 04/27/22 Page 2 of 13 PageID #: 46

                                                                                                        USOO8792008B2


(12) United States Patent                                                           (10) Patent No.:                    US 8,792,008 B2
       Gallagher et al.                                                             (45) Date of Patent:                             Jul. 29, 2014
(54) METHOD AND APPARATUS FOR SPECTRUM                                           (58) Field of Classification Search
       MONITORING                                                                        USPC ......................... 348/192,725,572, 731, 729;
                                                                                                            455/234.1, 136, 138,234.2; 375/349,
(75) Inventors: Timothy Gallagher, Encinitas, CA                                                                                   375/350, 316
                (US); Patrick Tierney, Solana Beach,                                     See application file for complete search history.
                           AsS); Jun Huang, San Diego, CA                        (56)                     References Cited
                                                                                                   U.S. PATENT DOCUMENTS
(73) Assignee: Maxinear, Inc., Carlsbad, CA (US)
                                                                                        6,038.435 A * 3/2000 Zhang ............          ... 455,234.1
(*) Notice:           Subject to any disclaimer, the term of this                       6,813,320 B1 * 1 1/2004 Claxton et al. ................ 375.316
                      patent is extended or adjusted under 35                            S. E: R.S. t 1.
                                                                                          - ww.                              a   .
                                                                                                                                              (4:35
                      U.S.C. 154(b) by 52 days.                                       8,611,483 B2 * 12/2013 Zhu et al. ...........   ... 375,349
                                                                                  2010/0105332 A1* 4/2010 McHenry et al. ............... 455,62
(21) Appl. No.: 13/607,916                                                        2012/0163518 A1* 6/2012 Reddy et al. .................. 375/350
(22) Filed:           Sep. 10, 2012                                              * cited by examiner
                                         O      O                                Primary Examiner — Paulos MNatnael
(65)                        Prior Publication Data                                        y
                                                                                 (74) Attorney, Agent, or Firm — McAndrews, Held &
       US 2013/OO63608A1                     Mar. 14, 2013                       Malloy, Ltd.
                                                                                 (57)                       ABSTRACT
                 Related U.S. Application Data                                   A system, Such as a satellite reception assembly or customer
(60) Provisional
     8, 2011
                 application No. 61/532,098, filed on Sep.                       premises  gateway, may comprise an analog-to-digital con
                                                                                 Verter operable to digitize a signal spanning an entire televi
        s                                                                        sion spectrum (e.g., cable television spectrum or satellite
(51) Int. Cl                                                                     television spectrum) comprising a plurality of television
       ioniz/00                        (2006.01)                                 channels. The System may comprise a signal monitor oper
       H04L 2/66                       (2006.015                                 able to analyze a signal to determine a characteristic of the
       H04L 12/26                      (2006,015                                 signal. The system may comprise a data processor operable to
       HO4B 17/OO                      (2006. 01)                                process a television channel to recover content carried on the
 52) U.S. C                                                                      television channel. The system may comprise a channelizer
(52) CPC                      H04L 12/66 (2013.O1): H04L 43/08                   operable to select first and second portions of the signal, and
               "(2013 O1): fiSE) 26. O1): HO4B                                   concurrently output the first portion to the signal monitor and
                       (       .01):                  99. 36. 01)                the second portion to the data processor.
       USPC .......................................................... 348/192                     18 Claims, 7 Drawing Sheets




                                                                   APPX66
    Case: 23-136      Document: 2-2         Page: 89   Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-4 Filed 04/27/22 Page 3 of 13 PageID #: 47


U.S. Patent         Jul. 29, 2014       Sheet 1 of 7       US 8,792,008 B2




                        JeuquoofueldS
                                  d
                              o




                                      APPX67
    Case: 23-136      Document: 2-2     Page: 90     Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-4 Filed 04/27/22 Page 4 of 13 PageID #: 48


U.S. Patent                                               US 8,792,008 B2




                              APPX68
       Case: 23-136     Document: 2-2         Page: 91   Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-4 Filed 04/27/22 Page 5 of 13 PageID #: 49


U.S. Patent           Jul. 29, 2014      Sheet 3 of 7         US 8,792,008 B2



                      174




 182                                               re. Monitoring154
                       Front-end         Channelizer
                            158              152
                                                            Data Processing
                                                                 156




                                   FIG. 1C




                                   APPX69
    Case: 23-136      Document: 2-2     Page: 92     Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-4 Filed 04/27/22 Page 6 of 13 PageID #: 50


U.S. Patent         Jul. 29, 2014   Sheet 4 of 7          US 8,792,008 B2




                                APPX70
    Case: 23-136      Document: 2-2     Page: 93     Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-4 Filed 04/27/22 Page 7 of 13 PageID #: 51


U.S. Patent         Jul. 29, 2014   Sheet 5 Of 7          US 8,792,008 B2




                                APPX71
    Case: 23-136         Document: 2-2                Page: 94        Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-4 Filed 04/27/22 Page 8 of 13 PageID #: 52


U.S. Patent             Jul. 29, 2014          Sheet 6 of 7                     US 8,792,008 B2




                   O)


                OS C
                   O
                   d                    H1N




                                   w                             s
               s                   &                             ed
               g                   cy     O.     O.   O          cy




                                                                                          s

                                                                            d
                                                                        .N
                                                                        CD
                                                                        c
                                                                        c
                                                                        (5
                                                                        O




                                        APPX72
     Case: 23-136               Document: 2-2                 Page: 95           Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-4 Filed 04/27/22 Page 9 of 13 PageID #: 53


U.S. Patent                  Jul. 29, 2014             Sheet 7 Of 7                          US 8,792,008 B2




                                          402        Start




    404           An FDM signal occupying the frequency band between Flo and Fi is received



    406
                                                      !
                     Received FDM is digitized signal across the entire band from Foto Fhi



    408
                                                      !
                                      The digitized signal is channelized



    410
                                                      !
                 A first one or more of the channels are conveyed to a data processing module



    412-
                                                      !
                  A second one or more of the channels are conveyed to a monitoring module



    414    Data processing module processes the first one or more channels for consumption while the
                  monitoring module concurrently processes the second one or more channels




                                                   FIG. 4




                                             APPX73
        Case: 23-136                   Document: 2-2                   Page: 96              Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-4 Filed 04/27/22 Page 10 of 13 PageID #: 54


                                                    US 8,792,008 B2
                              1.                                                               2
   METHOD AND APPARATUS FOR SPECTRUM                                 FIG. 1B depicts an example receiver operable to perform
              MONITORING                                           spectrum monitoring in accordance with an example embodi
                                                                   ment of the invention.
                     PRIORITY CLAIM                               FIG. 1C depicts an example satellite system in accordance
   This patent application makes reference to, claims priority with  an example embodiment of the invention.
                                                                  FIG. 2A depicts an example RF front-end of a receiver
to and claims benefit from U.S. Provisional Patent Applica operable to perform spectrum monitoring in accordance with
tion Ser. No. 61/532,098 entitled “Method and Apparatus for an example embodiment of the invention.
Spectrum Monitoring and filed on Sep. 8, 2011.                    FIG.2B depicts another example RF front-end of a receiver
   The above application is hereby incorporated herein by 10 operable    to perform spectrum monitoring in accordance with
reference in its entirety.
                                                               an example embodiment of the invention.
           INCORPORATION BY REFERENCE                             FIG. 3 depicts an example channelizer which may be uti
                                                               lized for performing spectrum monitoring in accordance with
   This patent application also makes reference to:            an example embodiment of the invention.
U.S. patent application Ser. No. 13/336,451 entitled “Method 15 FIG. 4 is a flow chart illustrating example steps for spec
and Apparatus for Broadband Data Conversion' and filed on trum monitoring in accordance with an example embodiment
Dec. 23, 2011; and                                                 of the invention.
U.S. patent application Ser. No. 13/485,003 entitled “Multi
layer Time-Interleaved Analog-to-Digital Converter (ADC)               DETAILED DESCRIPTION OF THE INVENTION
and filed on May 31, 2012; and
U.S. patent application Ser. No. 13/588,769 entitled “Multi           As utilized herein the terms “circuits’ and “circuitry” refer
Standard Coverage Map Generation' and filed on Aug. 17.            to physical electronic components (i.e. hardware) and any
2012.                                                              software and/or firmware (“code’) which may configure the
   Each of the above stated applications is hereby incorpo         hardware, be executed by the hardware, and or otherwise be
rated herein by reference in its entirety.                   25 associated with the hardware. As utilized herein, “and/or

                FIELD OF THE INVENTION                          means any one or more of the items in the list joined by
                                                                “and/or”. For example, “x and/ory' means any element of the
   Certain embodiments of the invention relate to signal pro three-element set {(x), (y), (x,y)}. Similarly, “x, y, and/or z”
cessing. More specifically, certain embodiments of the inven 30 means any element of the seven-element set {(x), (y), (Z), (x,
tion relate to a method and system for spectrum monitoring. y), (X,Z), (y,z), (x,y, z)}. As utilized herein, the terms “block”
                                                                and “module” refer to functions than can be implemented in
          BACKGROUND OF THE INVENTION                           hardware, software, firmware, or any combination of one or
                                                                   more thereof.
   Network-based services can become unacceptable if net               FIG. 1A depicts an example communication system in
work parameters fall outside of those for which receivers in 35 accordance with an example embodiment of the invention.
the network were designed. For example, in a cable television Shown in FIG. 1 is a terrestrial television antenna 102, a
system there are specifications for the number of channels on satellite dish 104, an Internet Protocol (IP) network 106, a
the plant, the types of channels, the signal levels of those headend 108, a wide area network (e.g., hybrid fiber-coaxial
channels and the impairments that can be on the plant that (HFC) network) 118, a gateways 120a and 120b, end systems
would affect the performance of the receiver. If some or all of 40 126a and 12.6b (e.g., computers), and end systems 128a and
these parameters deviate outside acceptable bounds, the user 128b. The headend 108 comprises a switch 110, a video
may experience unacceptable performance. Conventional modulator 112, a cable modem termination system (CMTS)
methods and apparatuses for monitoring network parameters           114, and a splitter/combiner 116.
are too costly and impractical for use in customer-premises            For downstream traffic, the headend 108 may receive tele
equipment (CPE).                                                 45 vision signals via the antenna 102 and the satellite dish 104,
   Further limitations and disadvantages of conventional and and may receive data via the IP network 106. The switch 110
traditional approaches will become apparent to one of skill in may convey the television signals to the video modulator 112
the art, through comparison of Such systems with some and the data to the CMTS 114. The video modulator 112 may
aspects of the present invention as set forth in the remainder of modulate the received television signals onto a carrier. The
the present application with reference to the drawings.          50 CMTS 114 may modulate the received data onto a carrier. The
                                                                    splitter/combiner 116 may combine the outputs of the video
         BRIEF SUMMARY OF THE INVENTION                             modulator 112 and the CMTS 114 resulting in a frequency
                                                                    division multiplexed (FDM) signal comprising one or more
   A system and/or method is provided for spectrum moni television channels and/or one or more DOCSIS channels.
toring, Substantially as shown in and/or described in connec 55 The FDM signal may be onto the wide area network (WAN)
tion with at least one of the figures, as set forth more com        118 for distribution to customer premise equipment (CPE).
pletely in the claims.                                              Each of the gateways 120a and 120b may comprise a receive
   These and other advantages, aspects and novel features of module 150 operable to process the received FDM signal as
the present invention, as well as details of an illustrated described below.
embodiment thereof, will be more fully understood from the 60 In an example embodiment, each of the gateways 120a and
following description and drawings.                                 120b may be operable to transmit, via a module 152, mes
                                                                    sages to the CMTS 114. For such upstream data, the gateways
    BRIEF DESCRIPTION OF SEVERAL VIEWS OF                           120a and 120b may modulate messages (e.g., network man
                      THE DRAWINGS                                  agement/maintenance messages) onto one or more carriers
                                                                 65 for transmission via the WAN 118. The splitter/combiner 116
   FIG. 1A depicts an example cable system in accordance may then convey the message to the CMTS 114. The CMTS
with an example embodiment of the invention.                        114 may process the messages and, in an example embodi




                                                     APPX74
       Case: 23-136                   Document: 2-2                   Page: 97              Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-4 Filed 04/27/22 Page 11 of 13 PageID #: 55


                                                    US 8,792,008 B2
                            3                                                                   4
ment, adjust transmission parameters (e.g., modulation            packets and/or Internet Protocol packets) to end systems 126,
parameters, transmit power, frequency offsets, etc.) and/or       perhaps via an interface such as an HDMI interface and/or an
perform other maintenance/management based on the                 Ethernet interface (not shown). The data processing module
received messages.                                                156 may also be operable to generate one or more control
  FIG. 1B depicts an example receiver operable to perform         signals 162 for configuring the channelizer 102 and/or the
spectrum monitoring in accordance with an example embodi          receive front-end 158.
ment of the invention. Shown in FIG. 1B is a receiver circuit          The parallel arrangement of the monitoring module 154
100 comprising an RF receive front-end module 158, a chan and data processing module 156 may enable determination of
nelizer module 102, a monitoring module 154, and a data signal and/or channel characteristics without having to inter
processing module 156.                                            10 rupt service to user equipment 126 and 128.
   The RF receive front-end 158 may be operable to process a            In an example embodiment, the signal S may be a cable
received RF signal S to generate a digital signal D. The signal television signal with F-55 MHz. Fis 1002 MHz. In an
S may be the result of a plurality of television and/or DOCSIS example embodiment, the signal S may be a MoCA signal
channels being frequency division multiplexed into a single with with F-1150 MHz and F-2100 MHz. These numbers
signal. The signal S may occupy a frequency band from F to 15 are purely for illustration and not intended to be limiting.
F. The RF front-end 158 may, for example, amplify, down                 In an example embodiment, the signal S may be a satellite
convert, filter, and/or digitize the received signal S to generate television signal such as may be at the input of a LNB, at the
the digital signal D. Example embodiments of the RF front output of a LNB, or at the input of a indoor unit (e.g., set top
end are depicted in FIGS. 2A and 2B.                                 box). In such an embodiment, the front-end 158, channelizer
   The channelizer 102 may be operable to select J-1 bands 152, data processing module 154, and/or monitoring module
(represented as C-C) of the signal S and output each of the 154 may reside in the indoor unit (e.g., set-top box), outdoor
selected bands to the monitoring module 154 and/or the data unit (e.g., satellite dish or accompanying components), and/
processing module 156, where J is an integer greater than 1. or may be distributed among the indoor unit and outdoor unit
An example embodiment of the channelizer102 is depicted in of a satellite installation residing at a customer premises. An
FIG. 3. Each band C, may, for example, correspond to the 25 example of such an embodiment is shown in FIG. 1C.
frequency band of one or more television channels. For                  In operation of Such an example embodiment, the signal S
example, each band C, may be an integer multiple of 6 MHz may be amplified, possibly downconverted, and digitized by
(U.S.) or 8 MHz (EU).                                                the RF front-end 158 to generate the signal D. The channel
   In an example embodiment, the channelizer 102 may be izer102 may then select J bands of the signal D for output to
implemented entirely in the digital domain and the channel 30 the data processing module 156. Each of the selected bands
ization may be achieved via one or more digital filtering C-C may, for example, comprise one or more of the cable
algorithms and/or other digital signal processing algorithms. television channels and/or one or more of the DOCSIS chan
   The monitoring module 154 may be operable to analyze nels that make up the signal S. The data processing module
the band C that it receives from the channelizer 102 to              156 may provide one or more control signals to determine
measure/determine characteristics such as, for example, Sig 35 which portion of the signal D is selected for each of the bands
nal power level vs. frequency, delay vs. frequency, phase shift C-C. The selection may be based, for example, on which
vs. frequency, type and/or amount of modulation, code rate, television channels are being consumed by end systems 128
interference levels, signal to noise ratio, a transfer function of and/or whether DOCSIS data is being consumed by end sys
the channel of over which the signal was received, an impulse tems 126. The channelizer 102 may also select one band,
response of the channel over which the signal was received, 40 represented as band C, to be output to the monitoring
and/or any other characteristic that may help assess charac module 154. Band C may comprise any portion orportions
teristics of the channel over which the signal was received,         (including the entire bandwidth from F to F) of the signal
assess characteristics of the transmitter that sent the signal D. Which portion of the signal S is selected as band C may,
and/or any otherwise be pertinent to performance of the com for example, be configured by the monitoring module 154.
munication system. The monitoring module may also be 45 The data processing module 156 may process one or more of
operable to generate one or more control signals 160 for bands C-C to recover data on one or more channels (e.g.,
configuring the channelizer102 and/or for configuring the RF television and/or DOCSIS channels) present in those bands
front-end 158. Additionally or alternatively, the control while the monitoring module 154 may concurrently process
signal(s) 160 output by the monitoring module 154 may con band C to measure/determine characteristics of all or a
trol the transmission of network management/maintenance 50 portion of the signal Sbetween f and f.
messages by the device 150. Such message may comprise, for              FIG. 1C depicts an example satellite system in accordance
example, network status updates indicating whether one or with an example embodiment of the invention. Shown in FIG.
more communication parameters of one or more received 1C is a satellite dish assembly 172, and a gateway 196. The
television or DOCSIS channels are outside acceptable subassembly 174 comprises a feedhorn 182, an LNB 194, the
bounds, and/or conveying measured/determined characteris 55 front-end 158, the channelizer 152, the monitoring module
tics back to a source of the received signal (e.g., back to a 154, and the data processing module 156. The various mod
cable headend). In an example embodiment, the monitoring ules of the subassembly 174 may reside in one or more hous
module 174 may be operable to demodulate signals for mea ings, on one or more printed circuit boards, and/or one or
Suring one or more characteristics Such as signal-to-noise more integrated circuits (e.g., one or more silicon dice). In
ratio, code rate.                                                 60 another example embodiment, the monitoring module 154
   The data processing module 156 may be operable to pro and/or the data processing module 156 may reside in the
cess the bands C-C conveyed to it by the channelizer102 to gateway 196.
recover data present in one or more television channels                 In the example embodiment depicted, the satellite dish
present in those bands of the signal S. The data processing assembly 172 comprises a parabolic reflector 176 and a sub
module 156 may, for example, perform synchronization, 65 assembly 174 mounted (e.g., bolted or welded) to a support
equalization, and decoding. The data processing module 156 structure 178 which, in turn, comprises a boom 190 and
may output processed data (e.g., MPEG transport stream attaches (e.g., via bolts) to the premises 180 (e.g., to the roof).




                                                     APPX75
        Case: 23-136                   Document: 2-2                  Page: 98              Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-4 Filed 04/27/22 Page 12 of 13 PageID #: 56


                                                     US 8,792,008 B2
                               5                                                                  6
In another example embodiment, all or a portion of the mod         an example embodiment of the invention. Band selection
ules 152, 154, and/or 156 may be mounted to the premises           filters 302-302, of the channelizer102 may each process the
180 separate from the satellite dish (e.g., connected via wired    signal D to recover a corresponding one of the J selected
and/or wireless connections), but may still be part of the         bands of the signal D, and output the band on a corresponding
“outdoor unit.”                                                  5
                                                                   one of the ports 304 to 304. Aband selection filter 302 of
   The gateway 196 may receive data from the satellite dish the channelizer102 may process the signal D to recover band
assembly 172 (via cable(s) 184). The gateway and may trans from the signal D, and output band C on the port 304.
mit data onto and receive data from the WAN 192 (via broad
band connection 188). The gateway 196 may transmit data to Which            band or bands are selected by the filter 302 may be
                                                                   configured based on one or more control signals input to the
and receive data from user equipment 128 and 126 (via one or channelizer102. For example, the value of a parameter k may
                                                                10
more connections 186).
   FIG. 2A depicts an example RF front-end of a receiver determine the center frequency of the portion of signal D that
operable to perform spectrum monitoring in accordance with is to be selected as by the filter 302, and the value of A may
an example embodiment of the invention. The RF front-end determine the bandwidth of the portion of this signal D that is
158A shown in FIG. 2A comprises a variable gain amplifier 15 selected as band C for output on the port 304. In this
202, and receive chains 204-204, where L is an integer manner, all of the signal D between F and F or any portion
greater than or equal to 1. Each receive chains 204 may orportions of the signal D, may be selected for output on the
comprise an amplifier module 210, a mixer module 212, a port 304.
filter module 214, and an analog-to-digital converter (ADC)           FIG. 4 is a flow chart illustrating example steps for spec
module 216, where 1 is an integer between 1 and L.                 trum monitoring in accordance with an example embodiment
   Eachamplifier 210 may be operable to amplify aband 1 of of the invention. After start step 402, in step 404, the receiver
the signal S. Each mixer 212 may be operable to mix aband circuit 100 may receive a frequency division multiplexed
1 of the signal S with a local oscillator signal (not shown) to (FDM) signal comprising one or more channels (e.g., satellite
downconvert the band 1 to a lower frequency. Each filter television channels, cable television channels, and/or DOC
module 214 may be operable to bandpass filter the band 1 to 25 SIS channels) occupying a frequency band between F and
remove/attenuate frequencies outside band 1. Each ADC 216 F. In step 406, the received FDM signal is digitized across
may be operable to convert the band 1 of the analog signal S the full band from F to F. In step 408, the digitized signal
to a corresponding digital representation. Operation of the RF is channelized into one or more bands. In step 410, a first one
front-end 158 and/or processing of signals generated by the or more of the bands are conveyed to a data processing mod
front-end 158, may, for example, be as described in U.S. 30 ule. In step 412 a second one or more of the bands are output
patent application Ser. No. 13/336,451 entitled “Method and to a monitoring module. In step 414, the data processing
Apparatus for Broadband Data Conversion” which is incor module processes one or more of the first one or more bands
porated by reference herein, as set forth above.                   to recover data on those bands while the monitoring module
   In an example embodiment, the front-end 158A may reside concurrently processes the second one or more bands to deter
in a cable gateway Such as the cable gateway 120 described 35 mine characteristics of all or a portion of the frequency band
above. In an example embodiment, the front-end 158A may from F to F.
reside in Satellite gateway/set-top box and/or in an outdoor          Other embodiments of the invention may provide a non
unit of a satellite reception assembly (e.g., collocated on-chip transitory computer readable medium and/or storage
or on-PCB with a satellite low-noise block downconverter           medium, and/or a non-transitory machine readable medium
(LNB)).                                                         40 and/or storage medium, having stored thereon, a machine
   FIG.2B depicts another example RF front-end of a receiver code and/or a computer program having at least one code
operable to perform spectrum monitoring in accordance with section executable by a machine and/or a computer, thereby
an example embodiment of the invention. The RF front-end causing the machine and/or computer to perform the steps as
158B shown in FIG. 2B comprises a variable gain amplifier described herein for spectrum monitoring
252, a filter 254, and an ADC 256. Functions performed by 45 Accordingly, the present invention may be realized inhard
the RF front-end 158B may be referred to as “full-spectrum ware, Software, or a combination of hardware and software.
capture” (or “FSC).                                                The present invention may be realized in a centralized fashion
   In the front-end 158B, the entire bandwidth, from F to F. in at least one computing system, or in a distributed fashion
of signal S may be amplified by the amplifier 252 to generate where different elements are spread across several intercon
S'. The amplified signal S" may be then filtered by the filter 50 nected computing systems. Any kind of computing system or
254 to remove undesired signals outside of F to F, and other apparatus adapted for carrying out the methods
generate signal S". The signal S", from F to F may then be described herein is suited. A typical combination of hardware
digitized by the ADC 256 to generate signal D. In an example and software may be a general-purpose computing system
embodiment, the ADC may be as described in U.S. patent with a program or other code that, when being loaded and
application Ser. No. 13/485,003 entitled “Multi-layer Time 55 executed, controls the computing system such that it carries
Interleaved Analog-to-Digital Converter (ADC), which is out the methods described herein. Another typical implemen
incorporated by reference herein, as set forth above.              tation may comprise an application specific integrated circuit
   In an example embodiment, the ADC 256 may be capable or chip.
of digitizing a signal S wherein F, to F is 1 GHz or higher.          The present invention may also be embedded in a computer
Accordingly, for cable television/DOCSIS, the ADC 256 may 60 program product, which comprises all the features enabling
be operable to digitize the entire cable downstream (e.g., from the implementation of the methods described herein, and
-55 MHz to ~1002 MHz). Similarly, for satellite television, which when loaded in a computer system is able to carry out
the ADC 256 may be operable to digitize the received signal these methods. Computer program in the present context
at the input of the LNB, and/or the downconverted signal means any expression, in any language, code or notation, of a
(e.g., from ~1 GHz to ~2 GHz) at the output by an LNB. 65 set of instructions intended to cause a system having an infor
   FIG. 3 depicts an example channelizer which may be uti mation processing capability to perform a particular function
lized for performing spectrum monitoring in accordance with either directly or after either or both of the following: a)




                                                      APPX76
        Case: 23-136                     Document: 2-2                     Page: 99               Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-4 Filed 04/27/22 Page 13 of 13 PageID #: 57


                                                        US 8,792,008 B2
                                7                                                                      8
conversion to another language, code or notation; b) repro                6. The method of claim 3, wherein:
duction in a different material form.                                     said received signal is a cable television signal; and
  While the present invention has been described with refer               said plurality of channels comprises a plurality of televi
ence to certain embodiments, it will be understood by those              sion channels.
skilled in the art that various changes may be made and 5 7. The method of claim 3, wherein:
equivalents may be substituted without departing from the             said received signal is a satellite television signal output by
Scope of the present invention. In addition, many modifica               a low noise block downconverter; and
tions may be made to adapt a particular situation or material         said plurality of channels comprises a plurality of televi
to the teachings of the present invention without departing              sion channels.
from its scope. Therefore, it is intended that the present inven 10 8. The method of claim 7, wherein said one or more circuits
tion not be limited to the particular embodiment disclosed, reside in a customer premises satellite reception assembly.
but that the present invention will include all embodiments           9. The method of claim3, wherein said one or more circuits
falling within the scope of the appended claims.                   reside in a customer premises gateway.
  What is claimed is:                                                     10. The method of claim 3, wherein a bandwidth and/or
   1. A system comprising:                                          15 center frequency of said selected first portion is configurable
   an analog-to-digital converter operable to digitize a during                operation of said one or more circuits.
                                                                          11. A system comprising:
      received signal spanning an entire television spectrum              one or more circuits that are operable to:
      comprising a plurality of television channels, said digi               receive a signal having a bandwidth that spans from a
      tization resulting in a digitized signal;
   a signal monitor operable to:                                                first frequency, F, to a second frequency, F.
      analyze said digitized signal to determine a characteris                  wherein said signal carries a plurality of channels;
         tic of said digitized signal; and                                   digitize said received signal from F to F, to generate a
      report said determined characteristic to a source of said                 digitized signal;
         received signal;                                                    Select a first portion of said digitized signal;
   a data processor operable to process a television channel to 25           Select a second portion of said digitized signal; and
      recover content carried on the television channel; and                concurrently output said selected first portion and said
   a channelizer operable to:                                                   selected second portion, wherein:
      Select a first portion of said digitized signal;                          said selected first portion is output to a signal analyzer
      Select a second portion of said digitized signal; and                        that is operable to analyze said first portion to deter
      concurrently output said first portion of said digitized 30                  mine one or more characteristics of said first por
         signal to said signal monitor and said second portion                     tion, and that is operable to report said determined
         of said digitized signal to said data processor.                          one or more characteristics to a source of said
   2. The system of claim 1, wherein said first portion of said                    received signal; and
digitized signal spans said entire television spectrum.                         said selected second portion is output to a data pro
   3. A method comprising:                                          35             cessor for recovery of data carried on one or more
   performing by one or more circuits:                                             of said plurality of channels.
      receiving a signal having a bandwidth that spans from a comprises   12. The system of claim 11, wherein said first portion
         first frequency, F, to a second frequency, F.                              all of said received signal from F to F.
                                                                          13. The system of claim 11, wherein said one or more
         wherein said signal carries a plurality of channels; 40 characteristics
      digitizing said received signal from F to F, to generate frequency, signal-to-noiseis one of signal power vs. frequency, phase vs.
         a digitized signal;                                                                          ratio, peak-to-average ratio, noise
      Selecting a first portion of said digitized signal;              levels, bit error rate, and symbol error rate.
      Selecting a second portion of said digitized signal; and            14. The system of claim 11, wherein:
      concurrently outputting said selected first portion and             said received signal is a cable television signal; and
         said selected second portion, wherein:                     45    said plurality of channels comprises a plurality of televi
         said selected first portion is output to a signal analyzer          sion channels.
            which analyzes said selected first portion to deter           15. The system of claim 11, wherein:
            mine one or more characteristics of the received              said received signal is a satellite television signal output by
            signal, and which reports said determined one or                 a low noise block downconverter; and
           more characteristics to a source of said received 50           said plurality of channels comprises a plurality of televi
            signal; and                                             sion channels.
                                                                  16. The system of claim 15, wherein said one or more
         said selected second portion is output to a data pro circuits
            cessor for recovery of data carried on one or more assembly.reside in a customer premises satellite reception
            of said plurality of channels.                        17. The system of claim 11, wherein said one or more
   4. The method of claim 3, wherein said first portion com 55 circuits reside in a customer premises gateway.
prises all of said received signal from F to F.                   18. The system of claim 11, wherein a bandwidth and/or
   5. The method of claim 3, wherein said one or more char center
acteristics is one of signal power vs. frequency, phase vs. during frequency      of said selected first portion is configurable
                                                                       operation of said one or more circuits.
frequency, signal-to-noise ratio, peak-to-average ratio, noise
levels, bit error rate, and symbol error rate.                                         ck  ck  ck  ck    ck




                                                         APPX77
    Case: 23-136     Document: 2-2     Page: 100    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 1 of 20 PageID #: 58




                    EXHIBIT D




                              APPX78
       Case: 23-136                        Document: 2-2                    Page: 101                                Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 2 of 20 PageID #: 59

                                                                                                       USOO9210362B2


(12) United States Patent                                                       (10) Patent No.:                                   US 9.210,362 B2
       Reddy et al.                                                             (45) Date of Patent:                                        *Dec. 8, 2015
(54)   WIDEBAND TUNER ARCHITECTURE                                    (58) Field of Classification Search
                                                                                   USPC ......... 455/131, 140, 207,214, 313, 315, 323,
(71) Applicant: Maxinear, Inc., Carlsbad, CA (US)                                                                                           455/324, 325,334
                                                                                   See application file for complete search history.
(72) Inventors: Madhukar Reddy, Carlsbad, CA (US);
                Curtis Ling, Carlsbad, CA (US); Tim                   (56)                                   References Cited
                Gallagher, Carlsbad, CA (US)
                                                                                                U.S. PATENT DOCUMENTS
(73) Assignee: Maxinear, Inc., Carlsbad, CA (US)
                                                                                 5,280,636 A *                 1/1994 Kelley et al. .................. 455,131
                                                                                 6,906,498 B2                 6/2005 Breuch et al.
(*) Notice: Subject to any disclaimer, the term of this
               patent is extended or adjusted under 35                                                            (Continued)
               U.S.C. 154(b) by 0 days.
                                                                                          FOREIGN PATENT DOCUMENTS
               This patent is Subject to a terminal dis
                   claimer.                                           EP                            2087623 A2                    8, 2009

(21) Appl. No.: 14/614,543                                                                          OTHER PUBLICATIONS

(22) Filed:         Feb. 5, 2015                                      Jeffrey A. Weldon, et al. A 1.75-GHz Highly Integrated Narrow-Band
                                                                      CMOS Transmitter With Harmonic-Rejection Mixers, IEEE Journal
(65)                   Prior Publication Data                         of Solid-State Circuits, Dec. 2001, pp. 2003-2015, vol. 36, No. 12,
                                                                      Seattle, Washington.
       US 2015/O156535A1             Jun. 4, 2015
                                                                      Primary Examiner — Blane JJackson
            Related U.S. Application Data                             (74) Attorney, Agent, or Firm — McAndrews, Held &
(63) Continuation of application No. 13/962,871, filed on             Malloy, Ltd.
     Aug. 8, 2013, which is a continuation of application
     No. 12/762,900, filed on Apr. 19, 2010, now Pat. No.             (57)                                      ABSTRACT
     8,526,898.                                                       A wideband receiver system comprises a mixer module, a
(60) Provisional application No. 61/170,526, filed on Apr.            wideband analog-to-digital converter (ADC) module, and
       17, 2009.                                                      digital circuitry. The mixer module is configured to downcon
                                                                      Vert a plurality of frequencies that comprises a plurality of
(51)   Int. C.                                                        desired television channels and a plurality of undesired tele
       H04B I/I6                  (2006.01)                           vision channels. The wideband ADC module is configured to
       H04N 5/50                  (2006.01)                           digitize the Swatch of frequencies comprising the plurality of
       H04B I/O                   (2006.01)                           desired television channels and the plurality of undesired
                             (Continued)                              television channels. The digital circuitry is configured to
                                                                      select the desired plurality of television channels from the
(52)   U.S. C.                                                        digitized plurality of frequencies, and output the selected
       CPC ............... H04N 5/50 (2013.01); H04B I/0014           plurality of television channels to a demodulator as a digital
                  (2013.01); H04N 2 1/4263 (2013.01); H04N            datastream.
                 21/4383 (2013.01); H04N 2 1/454 (2013.01);
                                   H04N 21/6.193 (2013.01)                                     20 Claims, 10 Drawing Sheets




                     input
                    signat
                       2

                                                                                               52    454
                                                                            N na                           M upcnverta Felgrads
                                                        43    -   -   - -   -
                                                                               lchrines
                                                                                -(tasbahdarc
                                                                                                4




                                                                                                                              is a 32iz


                                      site.8




                                                    APPX79
        Case: 23-136                 Document: 2-2                   Page: 102               Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 3 of 20 PageID #: 60


                                                      US 9,210,362 B2
                                                           Page 2

(51) Int. Cl.                                                          7,421,259 B2    9, 2008 Gomez et al.
        H4N2L/426             (2011.01)                                7,599,673 B2 * 10, 2009 Maxim et al. .............. 455,179.1
                                                                       8,285,240 B2 10, 2012 Seendripu et al.
                              (2011.01)                                8,300,681 B2 10, 2012 Petrovic et al.
                              (2011.01)                                8,374,568 B2    2, 2013 Seendripu et al.
                                                                       8,374,569 B2    2, 2013 Seendripu et al.
                              (2011.01)                                8,374,570 B2    2, 2013 Seendripu et al.
                                                                       8,526,898 B2* 9, 2013 Reddy et al. .................. 455,2O7
(56)                  References Cited                                 8,577,319 B2 11, 2013 Ling et al.
                                                                       8,666,350 B2    3, 2014 Vauhkonen
                U.S. PATENT DOCUMENTS                                  8,909, 187 B2 12/2014 Seendripu et al.
                                                                       9,059,672 B2    6, 2015 Ling et al.
       6,992,855 B2   1, 2006 Ehrlich                               2005/004O909 A1      2, 2005 Waight et al.
       7,095,454 B2   8, 2006 Waight et al.                         2007/OO42742 A1      2, 2007 Kim et al.
       7,167,694 B2   1/2007 Khoini-Poorfard et al.                 2007/01 11661 A1     5/2007 Bargroffet al.
       7,362,178 B2   4, 2008 Montemayor et al.
       7,373,125 B2   5/2008 Godambe et al.                     * cited by examiner




                                                      APPX80
    Case: 23-136     Document: 2-2      Page: 103    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 4 of 20 PageID #: 61




                              APPX81
    Case: 23-136     Document: 2-2      Page: 104    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 5 of 20 PageID #: 62


U.S. Patent                                               US 9.210,362 B2




                              APPX82
    Case: 23-136      Document: 2-2     Page: 105    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 6 of 20 PageID #: 63


U.S. Patent          Dec. 8, 2015   Sheet 3 of 10         US 9.210,362 B2




                                APPX83
    Case: 23-136      Document: 2-2     Page: 106    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 7 of 20 PageID #: 64


U.S. Patent          Dec. 8, 2015   Sheet 4 of 10         US 9.210,362 B2




                               |




                                                       No.

                                                    |-


                                APPX84
    Case: 23-136      Document: 2-2          Page: 107   Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 8 of 20 PageID #: 65


U.S. Patent          Dec. 8, 2015        Sheet 5 of 10       US 9.210,362 B2




                                    3.




                                APPX85
    Case: 23-136      Document: 2-2     Page: 108       Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 9 of 20 PageID #: 66


U.S. Patent          Dec. 8, 2015   Sheet 6 of 10           US 9.210,362 B2




                                                    |




                 S




                                APPX86
    Case: 23-136      Document: 2-2      Page: 109    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 10 of 20 PageID #: 67


U.S. Patent          Dec. 8, 2015    Sheet 7 of 10        US 9.210,362 B2




      |

                                                                  s

                                                                 k
                                                                  2


          ?




                                APPX87
    Case: 23-136      Document: 2-2              Page: 110   Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 11 of 20 PageID #: 68


U.S. Patent          Dec. 8, 2015           Sheet 8 of 10        US 9.210,362 B2




                                  { } { } } { | |
                          }   { }                 } {
                                                        }




                                   APPX88
    Case: 23-136      Document: 2-2          Page: 111   Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 12 of 20 PageID #: 69


U.S. Patent          Dec. 8, 2015        Sheet 9 of 10       US 9.210,362 B2




        S
                                                                   sy
                                     s                              x


                                    85




                                APPX89
    Case: 23-136      Document: 2-2     Page: 112     Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 13 of 20 PageID #: 70


U.S. Patent                                               US 9.210,362 B2




        {} {} .

                                                               Koos


                                                               9o




                               APPX90
      Case: 23-136                   Document: 2-2                   Page: 113               Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 14 of 20 PageID #: 71


                                                    US 9,210,362 B2
                              1.                                                              2
        WIDEBAND TUNER ARCHITECTURE                                nels 110 occupies a bandwidth BW1 120 at an RF center
                                                                   frequency f. 130. Synthesizer S1 may be tuned to a fre
                    PRIORITY CLAIM                                 quency around the center frequency f. 130 for mixing chan
                                                                   nels 110 to an intermediate frequency f. 160, the frequency
   This application is a continuation of U.S. patent applica- 5 down-mixed channels 140 are amplified by amplifier V1 and
tion Ser. No. 13/962,871 filed on Aug. 8, 2013, which is a then filtered by F1 to produce a swath of channels 170 cen
continuation of U.S. patent application Ser. No. 12/762,900 tered around frequency f. 160. In an exemplary application
filed on Apr. 19, 2010 (now U.S. Pat. No. 8,526,898), which shown in FIG.1, bandwidth BW1 contains 10 channels. In the
claims the benefit of priority to U.S. provisional application case where channels are TV channels that are spaced at either
61/170,526 filed Apr. 17, 2009. Each of the above referenced 10 6 MHz or 8 MHz in most parts of the world, bandwidth BW1
documents is hereby incorporated by reference in its entirety.  120 would span from 60-80 MHz, i.e., the down-converted
                                                                bandwidth at the intermediate frequency would require a
                      BACKGROUND                                bandwidth equal to at least BW1, or at least 80 MHz when
                                                                Such architecture is used. It is noted that in other applications
   This invention relates to wideband receiver systems and 15 where the desired RF channels are located in the low band
methods having a wideband receiver that is capable of receiv such as channels numbers 2 to 6 (VHF in the terrestrial TV
ing multiple radio frequency channels located in abroad radio broadcast or CATV) and in the high band such as channels
frequency spectrum. In particular, the invention relates to     numbers 14 to 83 of the UHF TV broadcast or channel num
wideband receiver systems that are capable of receiving mul bers 63-158 of the CATV's ultra band, the bandwidth BW1
tiple desired television channels that extend over multiple 20 can be 800 MHz or higher. This wide bandwidth of 800 MHz
non-contiguous portions of the broad frequency spectrum and would require a very expensive digital processing circuitry
grouping them into a contiguous, or Substantially-contigu Such as very high-speed analog to digital conversion and
ous, frequency spectrum.                                        high-speed processor in the demodulator.
   Receivers used to down-convert and selectively filter TV       It is desirable to have wideband receiver systems that can
channels are referred to as tuners, and tuners designed to 25 increase the dynamic range without requiring expensive data
concurrently receive several TV channels are referred to as conversion, filtering and channel selection at the demodula
wideband tuners. Existing tuners for these applications down tOr.
convert a Swath of channels to an intermediate frequency,
which are then sent to a demodulator. Because the Swath of                             BRIEF SUMMARY
channels is not contiguous, this Swath includes the desired 30
channels as well as undesired channels. The demodulator              An embodiment of the present invention includes a wide
employs a high-speed data converter to capture this swath of band receiver system that is configured to concurrently
desired and undesired channels in the digital domain and receive multiple radio frequency (RF) channels including a
subsequently filters out the desired channels.                     number of desired channels that are located in non-contigu
   In general, television channels broadcasted over the air or 35 ous portions of a frequency spectrum and group the desired
over cable networks are distributed across a broad frequency channels in a contiguous or Substantially-contiguous fre
spectrum. That is, the channel frequencies may not be adja quency band at an intermediate frequency spectrum, where
cent to each other. In certain applications such as DVR and the term “substantially-contiguous’ includes spacing the
picture-in-picture, the receiver system may have to concur desired channels close to each other (e.g. as a fraction of the
rently receive several desired channels that may or may not be 40 total system bandwidth, or relative to a channel bandwidth)
contiguous. The wideband receiver requirement poses a but with a spacing that can be variable to accommodate the
trade-off to the system to limit either the dynamic range of the needs of overall system. The term “contiguous' heretofore
wideband tuner or reduce the bandwidth covered by the tuner encompasses “substantially-contiguous. The term 'spacing
so that fewer channels may be received and processed by the is referred to as the frequency difference between adjacent
demodulator.                                                    45 channels. The system includes a wideband receiver having a
   FIG. 1 shows a conventional wideband tuner 100. Tuner           complex mixer module for down-shifting the multiple RF
100 may be a direct conversion tuner and includes a low noise channels and transforming them to an in-phase signal and a
amplifier LNA1 having an input terminal coupled to a radio quadrature signal in the baseband or low intermediate fre
frequency (RF) input signal 102 and an output terminal quency (IF) band. The system further includes a wideband
coupled to a mixer M1. The RF signal may include one or 50 analog-to-digital converter module that digitizes the in-phase
more television channels receiving from a cable network via and quadrature signals. The digital in-phase and quadrature
an RF connector or wirelessly via an antenna. The RF input signals are provided to a digital frontend module that contains
signal may include the VHF and UHF television channels in a bank of complex mixers that frequency-shift the number of
a terrestrial television broadcasting system or the CATV desired channels to a baseband where the desired channels are
channels in cable networks. In order to receive all broadcasted 55 individually filtered.
channels present in the RF input signal, LNA1 must neces             The digital frontend module may also include a decimator
sarily have a wide tuning range, high linearity, and low noise. module that decimates the desired RF channels by a factor M
Mixer M1 is coupled to a synthesizer S1 that can generate an before demodulating them to a digital data stream.
oscillator frequency located around the center of the RF sig          In certain embodiments of the present invention, the wide
nal. Mixer M1 frequency down-converts the received RF 60 band receiver system additionally includes an up-converter
input signal to a more convenient intermediate frequency (IF) module having multiple complex up-mixers, each of the com
band. Tuner 100 includes an amplifier V1 having a program plex up-mixers is configured to frequency up-shift each one
mable gain for amplifying the IF signal, which is then band of the desired RF channels to a sub-portion of an IF spectrum,
pass filtered by a filter F1 before outputting to a demodulator. wherein all Sub-portions of the desired channels are adjacent
   In general, the RF signal includes multiple desired chan- 65 to each another and form a contiguous frequency band in the
nels that are located in non-contiguous portions of a radio        IF spectrum. The act of frequency shifting the desired chan
frequency spectrum. As shown in FIG. 1, the Swath of chan nels to the IF spectrum allows the wideband receiver system




                                                     APPX91
      Case: 23-136                    Document: 2-2                    Page: 114               Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 15 of 20 PageID #: 72


                                                     US 9,210,362 B2
                                3                                                                   4
to directly interface with commercially available demodula              FIG. 7 is a block diagram illustrating an exemplary digital
tors. Allowing the spacing of the desired channels in the front end according to an embodiment of the present inven
contiguous spectrum to be variable allows a system to opti tion in more detail;
mize placement of these desired channels for the purposes of            FIG. 8 is a block diagram illustrating an exemplary tiled
avoiding sensitive portions of the spectrum which may either 5 up-converter module according to an embodiment of the
be vulnerable to spurious signals and interference; or which present invention in more detail;
may generate interference directly or as a harmonic product,            FIG. 9 is a simplified block diagram of a wideband multi
to other systems.                                                    tuner receiver system 900 according to an embodiment of the
   In another embodiment of the present invention, a multi present invention; and
tuner receiver system having two or more tuners is provided 10 FIG. 10 is a simplified block diagram of a wideband multi
to receive multiple desired RF channels that extend over tuner             receiver system 1000 according to another embodiment
several non-contiguous Sub-portions of a broad frequency of the present invention.
spectrum and group them into a contiguous frequency spec                              DETAILED DESCRIPTION
trum. The multi-tuner system includes at least a first tuner that 15
processes a first Sub-portion of the broad frequency spectrum           FIG. 2 is a schematic block diagram of a wideband receiver
into a first in-phase signal and a first quadrature signal and a system 200 according to an embodiment of the present inven
second tuner that processes a second Sub-portion of the broad tion. Wideband receiver system 200 includes a radio frontend
frequency spectrum into a second in-phase signal and a sec 210 and a digital front end 230. Radio front end 210 may be
ond quadrature signal. The multi-tuner receiver system fur a single very wide-band tuner receiver that captures the
ther includes a first analog-to-digital converter module that desired Swath of channels located in non-contiguous portions
digitizes the first in-phase and quadrature signals and a sec of the spectrum having a frequency bandwidth BW1 120. In
ond analog-to-digital converter module that digitizes the sec this example, the number of available channels in BW1 120 is
ond in-phase and quadrature signals. In addition, the multi assumed to be 10 with each channel occupying an 8 MHz
tuner system includes a first digital frontend module having a 25 bandwidth for a total of 80 MHz. Radio front end 210 is
first number of complex mixers corresponding to a first num shown as including a low noise amplifier LNA 202 having an
ber of the desired RF channels located in the first sub-portion input terminal configured to receive an RF input signal 102. In
of the broad frequency spectrum and a second digital frontend the example shown, RF signal 102 includes four desired RF
module having a second number of complex mixers corre channels having the respective carrier frequency f. f. fs,
sponding to a second number of the desired RF channels 30 and fa that are located in non-contiguous portions of the
located in the second sub-portion of the broad frequency wide frequency spectrum BW1. It is understood, however,
spectrum. The first digital frontend module frequency shifts that spectrum BW1 120 may have any other number of
the first number of the desired RF channels to a first plurality desired frequencies that are not contiguous. LNA 202 has a
of baseband signals and the second digital frontend module very low noise figure and very high linearity and a wide
frequency shifts the second number of the desired RF chan 35 tuning range (i.e., very high IIP2 and IIP3 intercept points) to
nels to a second plurality of baseband signals.                      maximize a signal-to-noise-and distortion ratio (SNDR) at
   The multi-tuner system further includes a first up-converter the amplifier output. LNA 202 may have a programmable
module having a plurality of N complex mixers, wherein N is gain to amplify RF signal 102 to adequate Voltage levels for
an integer value equal to the number of desired channel. The mixers M1 211 and M2 221.
first up-converter module frequency up-shifts the first plural 40 Mixers M1 211 and M2 221 may be conventional mixers
ity of the baseband signals to a first portion of an intermediate formed using, for example, differential Gilbert cells. Each of
frequency. In addition, the multi-tuner system includes a sec the mixers 211 and 221 multiplies (mixes) an amplified RF
ond up-converter module that frequency up-shifts the second signal 203 with a respective first oscillator frequency signal
plurality of the baseband signals to a second portion of an 205 and a second oscillator frequency signal 207 to generate
intermediate frequency. The first and the second portions of 45 an in-phase signal 212 and a quadrature signal 222 that have
the intermediate frequency are non-overlapping and located a phase shift of 90 degree between them. Mixers 211 and 221
adjacent to each other to form a contiguous intermediate are identical so that the amplitude of the in-phase signal 212
frequency (IF) band. The multi-tuner system further includes and quadrature signal 222 are the same. The first and second
a digital-to-analog converter that converts the contiguous IF oscillator frequencies 205 and 207 are identical and have a
band to an analog waveform signal.                                50 90 degree phase shift generated through a 90° degree phase
                                                                     shifter P1 206. Synthesizer S1 may be a single local oscillator
        BRIEF DESCRIPTION OF THE DRAWINGS                            operable to generate the oscillator frequency 205 for convert
                                                                     ing the receive RF signal 102 to a zero-IF or low-IF band.
   FIG. 1 is a schematic block diagram of a conventional             Synthesizer S1 can be a coarse (large step) phase locked loop.
wideband tuner;                                                   55 Synthesizer S1 can also be programmable to cover the wide
   FIG. 2 is a schematic block diagram of a wideband receiver band frequency of the analog and digital terrestrial broadcast
system according to an embodiment of the present invention;          and/or the cable television system. The RF signal 102 may
   FIG. 3 is a simplified circuit diagram of a complex down have relatively uniform signal strength in a cable network.
mixer according to an embodiment of the present invention;           However, its signal strength may extend in several orders of
   FIG. 4 is a simplified schematic block diagram of a wide 60 magnitude in a terrestrial broadcast system, thus, LNA 202
band receiver system according to another embodiment of the and/or mixers M1 211, M2 221 are required to have a rela
present invention;                                                   tively high dynamic range to handle the large variations in the
   FIG. 5 is a simplified circuit diagram of a complex up            signal strength.
mixer according to an embodiment of the present invention;              In-phase signal 212 and quadrature signal 222 are further
   FIG. 6 is a simplified schematic block diagram of a wide 65 amplified and filtered by respective amplifiers V1 213, V2
band multi-tuner receiver system according to an embodi 223 and filters F1 215, F2 225 to generate a filtered in-phase
ment of the present invention;                                       signal 216 and a filtered quadrature signal 226. Filters F1 215




                                                      APPX92
      Case: 23-136                    Document: 2-2                    Page: 115                Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 16 of 20 PageID #: 73


                                                      US 9,210,362 B2
                               5                                                                    6
and F2 225 may be passive or active low-pass filters to filter      filtered signal 322. Thus, digital signals 312 and 322 only
out any unwanted frequency components of the signals 214            contain low-frequency components with undesired high-fre
and 224 before digitizing them for further processing in digi       quency components being eliminated by respective filters 311
tal front end 230. It is understood that the in-phase path 216      and 321. It is noted that filtered signals 312 and 322 are
and the quadrature path 226 must have the same amplitude            interposed between the respective ADCs 218, 228 and the
spectrum and maintain a fixed phase relationship, i.e., ampli       bank of N complex mixers 250.
fiers V1 213, V2 223 and filters F1 215, F2 225 must be                Mixer 300, which represents one of the N complex mixers
substantially identical. Because the two paths 216 and 226 are 250, includes four multipliers 313, 315,323, and 325. Mul
in quadrature, the spectral components from both positive and tipliers 313 and 315 multiply the filtered signal 312 with
negative frequencies can be overlaid so that the bandwidth 10 respective cos(cot) and sin(o),t) signals and generate respec
(cutoff frequency) offilters F1 215 and F2 225 can be one half tive products 314 and 316. Similarly, multipliers 323 and 325
of the BW1 bandwidth 120.                                           multiply the filtered Q signal 322 with respective cos(cot)
   Analog-to-digital converters ADC1 218 and ADC2 228 are and sin(o),t) signals and generate respective products 324
high-speed (i.e., high sampling rate) converters to maximize and 326. An adder 317 sums the products 314 and 326 to
the dynamic range. In an exemplary application, radio front 15 generate a frequency-shifted signal I 318. An adder 327 sums
end 210 operates as a nominal Zero-IF down-mixer so that the products 324 and 316 to generate a frequency-shifted
signals 216 and 226 have a nominal bandwidth 290 equal to           signal Q 328. Basically, complex mixer 300 causes a fre
one half of the RF signal bandwidth BW1 thanks to the quency shift of the filtered components 312 and 322 to respec
complex down-mixer architecture. In other embodiment, tive baseband signals 318 and 328 in the digital domain
radio front end 210 operates as a low-IF down-mixer so that according to the operation:
the nominal bandwidth 290 of signals 216 and 226 is greater
than one half of the bandwidth BW1. In practice, the sampling
rate of ADC1 218 and ADC2 228 is chosen to be higher than or taken the Fourier transform, we obtain:
the Nyquist sampling requirement, i.e., the filtered analog
quadrature signals 216 and 226 may be over-sampled in order 25
to reduce or avoid aliasing of undesired signals into the digi         Multipliers 313, 315, 323, and 325 are identical digital
tized I and Q signals.                                              multipliers. In an embodiment, a numerically controlled
   ADC1 218 generates a digital signal I 232 that is a digital oscillator with quadrature output generates the cos(cot) and
representation of the analog filtered signal 216: ADC2 228 sin(o),t) signals. Numerically controlled oscillators (NCO)
generates a digital signal Q242 that is a digital representation 30 can be implemented using a phase accumulator and a look-up
of the analog filtered signal 226. Digital signals I 232 and Q table. NCOs are known to those of skill in the art and will not
242 are then applied to a bank of N complex mixers 250, be described herein. The frequency () is so chosen that each
wherein N is an integer value corresponding to the number of one of the desired channels embedded in the digital signals I
desired RF channels located in the non-contiguous portions 232 and Q 242 will be downshifted to the baseband. In the
of the frequency spectrum BW1. It is understood that the 35 given example shown in FIG. 2, the bank of N complex
number N can be any integer value. In one embodiment, Ncan mixers will have four complex mixers, each one of the N (i.e.,
be equal to the number of all available channels that exist in four) complex mixers is coupled to an individual NCO having
the licensed frequency spectrum to provide system flexibility. a distinct frequency (), so that when mixing the filtered
In other embodiments, N can be equal to the number of all digital I and Q signals 312 and 322 with that frequency, each
receivable channels within a geographic area. In yet another 40 one of the complex mixers will generate the signals I (318)
embodiment, N can be an integer value less than the number and Q (328) of a corresponding one of the desired channels at
of receivable channels with the geographic area to reduce the baseband.
system costs. In the exemplary embodiment shown in FIG.2,              In an embodiment, baseband signals 318 and 328 are fur
the number of desired channels is 4. That is, each of the 4         ther individually filtered by respective filters 330 and 340 that
complex mixers 250 mixes in-phase and quadrature signals 45 are identified as one of the filters 260a-n in FIG. 2. Filters 330
232 and 242 with an associated frequency to generate a cor and 340 may be band-pass or low-pass filters having a narrow
responding baseband, which is then individually filtered, bandwidth equal to the bandwidth of a desired channel. In
decimated and provided to an associated demodulator.                certain embodiments, filters 330 and 340 can be analog pas
   Each of the N complex mixers 250 receives the digital sive or active low-pass or complex band-pass filters such as
signals I 232 and Q 242 from ADCs 218 and 228 to extract a 50 polyphase filters. In another embodiment, filters 330 and 340
different one of the desired channels and frequency-shifts the can be digital low-pass filters, such as finite impulse response
extracted signals to the baseband frequency. Each of the fre (FIR) filters to eliminate high frequency components that
quency shifted desired channels 252 is filtered by an associ may be aliased back to the baseband signals Ii (332) and Qi
ated filter module (identified as 260a to 260m). In an embodi (342) when decimated by subsequent decimator 350.
ment, each of the filtered signals 260a to 260n may be sent 55 The reduced sampling rate of the Ndesired baseband chan
directly to an associated demodulator (identified as 270a to nels will be sent as a serial or parallel digital data stream to a
270m) for extracting the original information transmitted in demodulator using a serial or parallel data interface according
the associated desired channel. In another embodiment, each         to commonly known methods, as shown in FIG. 2. This
of the filtered signals 262a to 262n is further decimated before approach provides several advantages over conventional
providing to a demodulator. A path of digital front end 230 is 60 tuner architectures. First, it eliminates the need of expensive
described in more detail below.                                     data conversion, filtering and channel selection on the
   FIG. 3 is a simplified circuit diagram of one of the signal demodulator side. Second, it removes undesired channels
paths 272a to 272n of digital front end 230 shown in FIG. 2 from the signal path at an early stage, thus relieves the large
according to an embodiment of the present invention. In an dynamic range requirement in the demodulator.
embodiment, digital signal I 232 may be further filtered by a 65 FIG. 4 shows a simplified schematic block diagram of a
filter 311 to obtain a filtered signal 312. Similarly, digital wideband receiver system 400 according to another embodi
signal Q 242 may be further filtered by a filter 321 to obtain a ment of the present invention. Wideband receiver system 400




                                                       APPX93
      Case: 23-136                    Document: 2-2                  Page: 116               Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 17 of 20 PageID #: 74


                                                      US 9,210,362 B2
                              7                                                                   8
includes a radio front end 410, a digital front end 430, a tiled    allows the demodulator to operate the data converter at a
up-conversion module 450, and a Summing digital-to-analog           lower data rate and with lower resolution (fewer bits) due to
converter module DAC 470. Radio front end 410 includes a            the fact that the contiguous channels have a narrower band
low noise amplifier LNA1 that receives an RF input signal width. Second, the up-conversion approach provides full
102 and provides an amplified RF signal 403 to mixers M1            compatibility with existing demodulators that require anana
411 and M2421. Mixer M1 411 is coupled to an oscillator log IF signal. Third, it removes undesired channels from the
frequency 405 of a synthesizer S1 whereas mixer M2421 is signal path at an early stage, thus relieves the requirement of
coupled with the oscillator frequency 405 via a phase shifter a high dynamic range requirement of the demodulators ana
P1 406 that generates a 90° degree phase-shift to the oscillator log-to-digital converter and the demodulator itself.
frequency 405. Mixers M1411 and M2421 generate respec 10 FIG. 5 shows a simplified exemplary circuit diagram of a
tive in-phase signal 412 and quadrature signal 422 that are complex up-mixer 500 according to an embodiment of the
further amplified by respective amplifiers V1 413 and V2423. present invention. Up-mixer 500 is one of the N complex
The amplified in-phase and quadrature signals 414, 424 are up-mixers 452a to 452n in tiled up-conversion module 450
then filtered by filters F1 415 and F2425 to eliminate undes shown in FIG. 4. Up-mixer 500 includes filter 510 and 520
ired frequency components that would be aliased back to the 15 configured to eliminate unwanted frequency components
in-phase and quadrature signals when digitally sampled by present in respective input signals I 501 and Q502. Filtered
Subsequent analog-to-digital converters ADC1 418 and signals 512 and 522 are provided to up-mixers UMI515 and
ADC2 428. Digital signals I 422 and Q 442 at the input of UMQ 525 that multiply the filtered signals 512 and 522 with
digital front end 430 are digital representations of the filtered respective cos(cot) and sin(cot). The products 516 and 526
analog in-phase and quadrature signals 416, 426 before the are summed in an adder 530 to generate an IF signal 532
ADCs. Digital front end 430 include a bank of N complex according to the following equation:
mixers 432 comprising 432a to 432n identical mixers, where
N is an integer value corresponding to the number of the
desired channels located in non-contiguous portions of the            Up-mixers UMI 515 and UMQ 525 are identical digital
frequency spectrum. Each of the N complex mixers 432a to 25 multipliers that multiply the respective filtered signal 512 and
432n frequency down-converts signals I 432 and Q 442 to an 522 with a cosine function 505 and a sine function 506 that
associated baseband. Each of the frequency down-converted can be generated from a NCO using a digital phase accumu
I and Q signals are coupled to respective low-pass, band-pass, lator and a look-up table.
or decimating filters 434. In this regard, the radio front end        As described above, TV channels are grouped into multiple
410 and the digital front end 430 are similar to respective 30 frequency bands in North America. For example, channels 2
radio front end 210 and digital front end 230 of FIG. 2 that through 6 are grouped in VHF-low band (aka band I in
have been described in detail above.                                Europe), channels 7 through 13 in VHF-high band (band III),
   In an alternative embodiment of the present invention, the and channels 14 through 69 in UHF band (bands IV andV). In
N filtered and decimated channels 438a to 438n (where indi order to receive Such a wide frequency spectrum, the low
ces a to n correspond to the associated number of desired 35 noise amplifier and mixer must have very low noise, wide
channels) are not provided to a demodulator for demodula tuning range and high linearity as described above in the
tion. Instead, the N filtered and decimated channels 438a to        wideband receiver systems 200 and 400. However, a wide
438n are further frequency up-converted to an intermediate band receiver having a single tuner with high sensitivity may
frequency (IF) spectrum. In order to achieve that, the N fil have a high power consumption. For certain applications, it
tered and decimated channels are coupled to a tiled up-con 40 may be advantageous to use multiple tuners that are opti
version module 450 that includes a bank of N complex up mized for a given frequency band, Such as a dedicated tuner
mixers, where N is an integer value correspond to the number for the low VHF band, another dedicated tuner for the high
of desired received channels. The N complex up-mixers VHF band and the UHF band, and yet other dedicated tuners
include identical digital mixers 452a to 452n that will be for receiving the digital video broadcasting (DVB) via satel
described further in detail below with reference to FIG.S. The 45 lite (DVB-S), via cable (DVB-C), or terrestrial digital video
Nup-shifted channels are then filtered by a subsequent bank broadcasting (DVB-T). The multi-tuner approach may also
of channel filters 454 that, in an embodiment, comprises N be advantageously applied to cable networks that carry TV
individual finite impulse response (FIR) filters. The N filtered programs on an 88 MHz to 860 MHz according to the Data
channels are then digitally combined and converted to the Over Cable Service Interface Specification (DOCSIS) proto
analog domain by a Summing digital-to-analog converter 50 col.
module DAC 470. The Nup-shifted channels are adjacent to              FIG. 6 shows a simplified schematic block diagram of a
each other and form a contiguous or Substantially-contiguous wideband multi-tuner receiver system 600 according to an
set of channels 475 in the IF spectrum centered around fas embodiment of the present invention. In an embodiment,
illustrated in FIG. 4. In an embodiment, the spectra of the multi-tuner system 600 includes low noise amplifier A1 602
mixed products are spaced in Such a way so as to avoid 55 for receiving an RF input signal 601. Amplifier A1 602 is
overlap with known frequency bands containing potential or coupled to at least a tunerl 610 and a tuner2 720. In another
actual interferers. In another embodiment, the spectra of the embodiment, multi-tuner system 600 may not include ampli
mixed products are spaced in Such a way so as to avoid fier 602 so that RF input signal 601 can be received directly at
overlap with frequency bands that might introduce interfer each tuner 610 and 720.
ence to other systems. In general, because the bandwidth 60 Tunerl 610 includes an amplifying filter AF1 613 that
BW, is substantially lower than BWI, the IF frequency ?can filters and amplifies a first portion BWtunerl 604 of a broad
be set proportionally lower, e.g., typically about 16 MHz to frequency spectrum 608 that contains a first plurality of RF
accommodate the spectrum of BW2 of up to 32 MHZ (corre channels 606 including desired channels 607 having respec
sponding to the total bandwidth of the four desired channels, tive channel frequencies fa and fa. The first portion of the
each having a bandwidth of 8 MHz in this example).               65 broad frequency spectrum BWtunerl 604 is then frequency
   The up-conversion approach of FIG. 4 provides several down-converted to a low-IF or zero-IF in-phase signal I1 612
advantages over conventional tuner architectures. First, it and a quadrature signal Q1 622 through respective mixer M1




                                                       APPX94
      Case: 23-136                   Document: 2-2                  Page: 117               Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 18 of 20 PageID #: 75


                                                    US 9,210,362 B2
                              9                                                                10
611 and M2 621. Signals I1 612 and Q1 622 are further             decimated by a Subsequent decimator. The elements of digital
amplified and low-pass filtered before applying to respective     front end 740 are substantially similar to those described in
analog-to-digital converters ADC1 618 and ADC2 628 that           digital front end 630. Thus, redundant description is omitted
convert analog signals Ial 616 and Qal 626 to respective          herein.
digital in-phase signal Idl 631 and digital quadrature signal       The decimated baseband I and Q channels are further pro
Qd1 641. Because tunerl 610 only covers a portion                 vided to a subsequent up-conversion module 760 that per
BWtunerl 604 of the entire frequency spectrum 608 having          forms a function Substantially similar to that of the up-con
fewer channels, the ADC1 618 and ADC2 628 can be slower           version module 650 already described above. The outputs of
speed analog-to-digital converters with a large number of         up-conversion module 650 and 760 can be tiled to generate a
bits, i.e., large dynamic range.                               10 contiguous set of IF frequencies 682,684 centered at f686.
   Digital signals Id1 631 and Qd1 641 are then provided to a In an embodiment, the outputs of up-conversion module 650
digital front end DFE 630 that includes a first bank of N and 760 are digitally Summed and converted to an analog
complex mixers 632 and channel and decimating filters 634.        signal by summing DAC 670. In another embodiment, the
The first bank of N complex filters 632 has N identical com up-conversion modules 650 and 760 and the digital summing
plex mixers, where N is an integer value equal to the number 15 function 672 can be performed using an inverse discrete Fou
of desired channels located in the first portion BWtunerl 604 rier transform or an inverse Fast Fourier transform operation.
of the broad frequency spectrum 608. In an embodiment, each          The multi-tuner architecture provides the flexibility that
one of the first bank ofN complex mixers includes four digital multiple commercially available tuners can be used without
mixers that multiply digital stream Id1 631 and Qd1 641 with the need of designing a wideband tuner. For example, a tuner
respective digitized cosine function and sine function togen designed for a terrestrial broadcast digital TV can be used
erate the Sum and difference frequency components, as shown together with a tuner dedicated to receiving a cable signal
in FIG. 3. The digitized cosine and sine frequency, i.e., the and/or a tuner for receiving a satellite broadcast signal. The
mixer frequency is so chosen so that when mixing signals Id1      multi-tuner receiver system provides an additional advantage
631 and Qd1 641 will move them to a baseband or a low-IF that other tuners can be added quickly to the system to accom
band. In an embodiment, channel and decimating filters have 25 modate any future applications. Additionally, the multi-tuner
similar structures as filters 330 and 340 and demodulator 350     architecture allows the use of slower speed (i.e., lower cost)
as shown in FIG. 3. That is, channel and decimating filters analog-to-digital converters with a larger number of bits for
include digital low-pass filters 330 and 340 that eliminates achieving large dynamic range.
unwanted high frequency components of the baseband sig               FIG. 7 shows a block diagram of an exemplary digital front
nals I and Q prior to applying them to a decimator 350 (FIG. 30 end of the invention in more detail. In an embodiment, in
3) that reduces the sample frequency without any loss of phase signal Id2 731 and quadrature signal Qd2 741 at the
information since Idl 631 and Qd1 641 are sampled at a much output of respective ADC converters 718 and 728 are pro
higher frequency by the respective ADC 1618 and ADC2 628. vided to each of the L complex mixers 732 comprising mixers
   The decimated desired channels are then provided to an 732A to 732L. A more detailed description of each of L
up-converter module 650 that includes a bank of Nup-mixers. 35 complex mixers is shown in FIG. 3. Mixer 732A multiplies
The bank of N up-mixers includes N identical up-mixers Id2731 and Qd2741 with a cosinesignal and a sinesignal that
whose structure is shown in FIG.5. In an embodiment, Nisan        are generated from an NCO1 and produces an I-732A signal
integer value equal to the number of desired channels present and a Q-732A signal that are further individually filtered by
in BWtunerl 604. Each one of the up-mixer frequency-shifts an FIR filter before decimating. The bank of L complex
the baseband signals I and Q of each one of the desired 40 mixers corresponds to the block 732 in FIG. 6; and the set of
channels to an appropriate portion of the intermediate fre FIR filters and decimator corresponds to the block 734 in FIG.
quency band according to Equation (3). In other words, the 6. Each decimated pair of I-732i/M in the baseband, where the
bank of Nup-mixers is “frequency multiplexing the desired index “i' is from A to L, is further provided to a subsequent
channels onto a first portion 682 of an IF band 686.              up-mixer for frequency-shifting to an intermediate frequency
   Similarly, tuner2720 includes an amplifying filter AF2 713 45 as shown in FIG. 8.
that is configured to receive a second portion BWtuner2 704          FIG. 8 shows an exemplary embodiment of a bank of L
of the broad frequency spectrum 608. The second portion 704 complex up-mixers according to the present invention. Each
contains a second plurality of RF channels 706 including a decimated pair of complex signals I-732i/M and Q-732i/M is
second number of desired channels. In the exemplary illus provided to an associated complex up-mixer, whose fre
tration of FIG. 6, the second portion 704 has a frequency 50 quency is so chosen that when mixing with the pair of com
bandwidth of BW tuner2 that contains desired channels 707         plex signals I-732i/M and Q-732i/M will generate an associ
having respective channel frequencies f and fa. Tuner2 ated channel at a predetermined sub-portion of the
720 includes elements such as mixers M3 711, M4 721,              intermediate frequency band 686 (FIG. 6). A more detailed
amplifiers V3714, V4724, filters F3 715, F4725 and analog schematic block of one of the Lup-mixers is described above
to-digital converters ADC3 731 and ADC4741 that are sub 55 together with FIG. 5.
stantially the same as the like-named elements of the signal         FIG. 9 is a simplified block diagram of a wideband multi
path of tunerl 610. Thus, redundant description is omitted tuner receiver system 900 according to an embodiment of the
herein.                                                           present invention. In an embodiment, system 900 includes a
   Digital in-phase signal Id2731 and digital quadrature sig crossbar switch 910 having at least an input terminal 912
nal Qd2741 are then provided to digital frontend 740. Digital 60 configured to receive signals from an analog-to-digital con
front end 740 includes a bank of L complex filters, where L is verter (ADC) 912 and an input terminal 922 configured to
an integer value equal to the number of desired channels in the receive signals from an ADC 922. Crossbar switch 910 also
second portion BWtuner2 704 of the broad frequency spec includes an output terminal 924 that is coupled to a digital
trum 608. Each one of the bank ofL complex filters is a digital front end 930. In an embodiment, input terminals 912 and 922
complex mixer configured to transform the signals Id2 731 65 of crossbar switch 910 have P inputs, where P is an integer
and Qd2 741 to baseband signals that are further filtered by value that is equal to the total number of desired channels
individual digital low-pass filters such as FIR filters before received by tunerl 610 and tuner2720. Output terminal 924




                                                    APPX95
      Case: 23-136                    Document: 2-2                   Page: 118                Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 19 of 20 PageID #: 76


                                                     US 9,210,362 B2
                               11                                                                 12
of crossbar switch910 have Q outputs, where Q is an integer          3. The wideband receiver system of claim 1, wherein said
value that is equal to the total number of desired channels output of said digital datastream is via a parallel interface.
received by tuned 610 and tuner2720.                                 4. The wideband receiver system of claim 1, wherein said
   In an embodiment, digital front end 930 may include a mixer module comprises a first mixer configured to generate
bank of R complex mixers that frequency shifts the received 5 an in-phase signal and a second mixer configured to generate
channels to a baseband. Digital front end 930 may combine a quadrature signal.
digital front end 630 and 740 shown in FIG. 6. Similarly, a          5. The wideband receiver system of claim 1, wherein said
tiled up-conversion module 950 may include up-converter wideband               analog-to-digital converter comprises:
modules 650 and 760 of FIG. 6.                                       a first ADC configured to generate a digital in-phase signal;
   System 900 further includes a summing DAC that operates      10
                                                                         and
similarly as summing DAC 470 and 670 that have been                  a  second   ADC configured to generate a digital quadrature
described in detail in relation with respective FIG. 4 and FIG.          signal.
6 above. Thus, redundant description is omitted herein.               6. The wideband receiver system of claim 5, wherein said
   FIG. 10 is a simplified block diagram of a wideband multi
tuner receiver system 1000 according to another embodiment 15 digital circuitry comprises a plurality of complex mixers con
of the present invention. System 1000 includes at least tuner1     figured to frequency shift said selected plurality of desired
610 coupled with digital front end 630 through an analog-to television channels.
digital converter 620 and tuner2 720 coupled with digital            7. The wideband receiver system of claim 6, wherein:
front end 740 through an analog-to-digital converter 730.            prior to said frequency shift, said selected plurality of
System 1000 further includes a crossbar switch 1010 that is              desired television channels occupy non-contiguous por
interposed between digital front ends 630, 740 and up-con                tions of a frequency spectrum; and
version modules 650, 760. Crossbar switch 1010 includes an           after said frequency shift, said selected plurality of desired
input terminal 1012 having S inputs coupled with DFE 630                 television channels occupy a contiguous frequency
and an input terminal 1022 having Tinputs coupled with DFE               spectrum.
740. In an embodiment, S is an integer value equal to the 25 8. The wideband receiver system of claim 1, wherein said
number of desired channels processed in DFE 630 and T is an digital circuitry comprises a plurality of channel filters con
integer value equal to the number of desired channels pro figured to perform said selection of said plurality of desired
cessed in DFE 740. Crossbar Switch 1010 further includes an        television channels.
output terminal 1024 having U outputs coupled with up               9. The wideband receiver system of claim 8, wherein each
converter module 650 and an output terminal 1024 having V 30 one of said plurality of channel filters is a finite impulse
outputs coupled with up-converter module 760. In an embodi response filter.
ment, the total number of the outputs U and V is equal to the       10. The wideband receiver system of claim 1, wherein said
sum of the inputs S and T. Thus, crossbar switch 1010 allows digital circuitry comprises a decimator circuit configured to
the routing of any channel from either DFE 630 or DFE 740 decimate one or more of said selected plurality of television
to up-converters 650 or 760. It is understood that system 1000 35 channels prior to said output of said selected plurality of
is not as flexible as system 900 because DFE 630 and DFE desired television channels.
740 are already pre-assigned to respective tuner1 (610) and         11. A method comprising:
tuner2 (720). However, this pre-assigned arrangement allows         in a wideband receiver system:
a simpler implementation of crossbar switch 1010 that oper             downconverting, by a mixer module of said wideband
ates at lower speeds.                                            40       receiver system, a plurality of frequencies that com
   While several embodiments in accordance with the present               prises a plurality of desired television channels and a
invention have been described, it is to be understood that the            plurality of undesired television channels;
above description is intended to be illustrative and not restric       digitizing, by a wideband analog-to-digital converter
tive. Many embodiments will be apparent to those of skill in              (ADC) module of said wideband receiver system, said
the art upon reviewing the above description. The scope of the 45         plurality of frequencies comprising said plurality of
invention should, therefore, be determined not with reference             desired television channels and said plurality of
to the above description, but instead should be determined                undesired television channels;
with reference to the appended claims along with their full            Selecting, by digital circuitry of said wideband receiver
Scope of equivalents.                                                     system, said plurality of desired television channels
                                                                 50       from said digitized plurality of frequencies; and
   What is claimed is:                                                 outputting, by said digital circuitry of said wideband
   1. A wideband receiver system comprising:                              receiver system, said selected plurality of television
   a mixer module configured to downconvert a plurality of                channels to a demodulator as a digital datastream.
      frequencies that comprises a plurality of desired televi      12. The method of claim 11, comprising outputting, by said
      sion channels and a plurality of undesired television 55 digital circuitry of said wideband receiver system, said digital
     channels;                                                      datastream via a serial interface.
  a wideband analog-to-digital converter (ADC) module              13. The method of claim 11, comprising outputting, by said
     configured to digitize said plurality of frequencies com digital circuitry of said wideband receiver system, said digital
     prising said plurality of desired television channels and datastream via a parallel interface.
     said plurality of undesired television channels;           60 14. The method of claim 11, comprising:
  digital circuitry configured to:                                 generating, by a first mixer of said mixer module, an in
     select said plurality of desired television channels from       phase signal; and
        said digitized plurality of frequencies; and               generating, by a second mixer of said mixer module, a
     output said selected plurality of television channels to a      quadrature signal.
        demodulator as a digital datastream.                    65 15. The method of claim 11, comprising:
  2. The wideband receiver system of claim 1, wherein said         generating, via a first ADC of said wideband analog-to
output of said digital datastream is via a serial interface.         digital converter, a digital in-phase signal; and




                                                      APPX96
      Case: 23-136                     Document: 2-2                  Page: 119   Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-5 Filed 04/27/22 Page 20 of 20 PageID #: 77


                                                    US 9,210,362 B2
                               13                                                  14
  generating, via a second ADC of said wideband analog-to
     digital converter, a digital quadrature signal.
   16. The method of claim 15, comprising frequency shifting
said selected plurality of desired television channels via a
plurality of complex mixers of said digital circuitry.          5
   17. The method of claim 16, wherein:
   prior to said frequency shifting, said selected plurality of
      desired television channels occupy non-contiguous por
      tions of a frequency spectrum; and
   after said frequency shifting, said selected plurality of 10
      desired television channels occupy a contiguous fre
     quency Spectrum.
  18. The method of claim 11, wherein said digital circuitry
comprises a plurality of channel filters configured to perform
said selecting.                                                  15
  19. The method of claim 18, wherein each one of said
plurality of channel filters is a finite impulse response filter.
   20. The method of claim 11, comprising decimating, by
said digital circuitry, one or more of said selected plurality of
desired television channels prior to said outputting of said 20
selected plurality of television channels.
                       k   k   k   k   k




                                                     APPX97
    Case: 23-136     Document: 2-2     Page: 120    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-6 Filed 04/27/22 Page 1 of 14 PageID #: 78




                    EXHIBIT E




                              APPX98
        Case: 23-136                     Document: 2-2                        Page: 121                     Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-6 Filed 04/27/22 Page 2 of 14 PageID #: 79
                                                                     |HAI LALA AT MATALULUT ATHOLD     US009825826B2

(12) United States Patent                                                      (10) Patent No.:                          US 9 ,825 ,826 B2
        Gallagher et al.                                                      (45) Date of Patent: *Nov . 21 , 2017
(54 ) METHOD AND APPARATUS FOR
         SPECTRUM MONITORING
                                                                           (52) CPC
                                                                                 U .S. CI............ H04L 43 /08 (2013.01) ; H04B 17 309
(71) Applicant: MaxLinear, Inc., Carlsbad , CA (US )
                                                                                                  (2015.01); H04L 12/66 (2013.01); H04N
                                                                                                                                         17 /00 (2013 .01 )
( 72 ) Inventors: Timothy Gallagher , Encinitas, CA                        (58 ) Field of Classification Search
                                                                                 ???                                       .................. HO4N 17 /00
                                                                                           ••••••••••••••••••••••••••••••••••
                  (US ); Patrick Tierney , Solana Beach ,                        USPC ............................. ....... 348 / 192 , 193 , 180
                  CA (US ); Jun Huang , San Diego , CA                           See application file for complete search history .
                      (US)
                                                                           (56 )                 References Cited
(73 ) Assignee : Maxlinear, Inc ., Carlsbad , CA (US )                                        U .S . PATENT DOCUMENTS
( * ) Notice:         Subject to any disclaimer , the term of this
                      patent is extended or adjusted under 35                      6 ,038,435 A          3 /2000 Zhang
                                                                                   7 , 162 ,731 B2 *     1/ 2007 Reidhead .................. H04L 1/ 24
                      U . S . C . 154(b ) by 0 days .                                                                                          348 /180
                       This patent is subject to a terminal dis                    7 ,418 , 240 B2 * 8/ 2008 Hsu ....................... H04L 1/0003
                                                                                                                                             370 /252
                      claimer .                                                                         (Continued )
(21) Appl. No.: 14/948,947                                                Primary Examiner — Paulos M Natnael
                                                                          (74 ) Attorney, Agent, or Firm - McAndrews, Held &
(22) Filed : Nov. 23, 2015                                                Malloy , Ltd .
(65 )                 Prior Publication Data                               (57)                    ABSTRACT
                                                                            A receiver is configured to be coupled to a television and
         US 2016 /0087865 A1 Mar. 24 , 2016                               data service provider headend via a hybrid fiber coaxial
                                                                          (HFC ) network . The receiver comprises front -end circuitry
             Related U . S . Application Data                             operable to receive a signal that carries a plurality of
                                                                          television and /or data channels, and digitize the received
(63 ) Continuation of application No. 14 /341,880 , filed on              signal to generate a digitized signal. The receiver comprises
         Jul. 28 , 2014 , now Pat. No . 9 , 203,653, which is a            channelizer circuitry operable to select a first portion of the
         continuation of application No . 13 /607,916 , filed on          digitized signal, and select a second portion of the digitized
         Sep . 10 , 2012 , now Pat. No. 8,792 ,008 .                      signal. The receiver comprises processing circuitry operable
                                                                          to process the selected second portion of the digitized signal
(60 ) Provisional application No.61/532 ,098 , filed on Sep .             to recover information carried in the plurality of channels.
                                                                           The receiver comprises monitoring circuitry operable to
         8 , 2011 .                                                       analyze the selected first portion of the digitized signal to
(51) Int. CI.                                                             measure a characteristic of the received signal; and control
     H04N 17/00                                                           the transmission of network management messages back to
                                  (2006 .01)
         H04L 12 /26              ( 2006 .01)                             the headend based on the measured characteristic of the
         H04L 12/66               ( 2006 .01)                             received signal.
         H04B 17 /309             ( 2015 .01)                                                 18 Claims, 7 Drawing Sheets
                        100



                                                                                                            To Tx 152




                                   RF Receive Front-end
                                           158
                                                          D          Channelizer
                                                                        152
                                                                                          C1-Cj
                                                                                                  HOL           1 ,160
                                                                                                           Monitoring
                                                                                                               154


                                                                                                         Data Processing
                                                                                                               156

                                                                                                                1 162

                                                                                                  To end system (s ) 126 , 128




                                                              APPX99
         Case: 23-136                    Document: 2-2                       Page: 122   Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-6 Filed 04/27/22 Page 3 of 14 PageID #: 80


                                                          US 9,825 ,826 B2
                                                                    Page 2

(56 )                    References Cited
                    U . S . PATENT DOCUMENTS
        8 , 161,388 B2 * 4 /2012 Rodriguez ............. G06F 3 /14
                                                            348/ 125
        8,611,483 B2* 12/2013 Zhu .                    H04L 7 / 0334
                                                           341/ 122
        8,792,008 B2 * 7/2014 Gallagher ............... H04L 43 /08
                                                           348 / 192
        9 ,026 , 118 B2 * 5 / 2015 Ling         . . . HO4W 72 /044
                                                            370 /316
     9 , 203,653 B2 * 12 / 2015 Gallagher ............. HO4L 43/08
     9 ,320 ,019 B2 * 4 / 2016 Gallagher ............. HO4W 72 /04
     9 ,332 ,214 B2 * 5 / 2016 Ideura ................. HO4N 5 /775
 2005/0152557 A1 * 7 / 2005 Sasaki ..                   H04S 7 / 302
                                                              381/58
 2010 /0171659 A1 * 7 /2010 Waters ................... HO4B 17 / 24
                                                         342/ 357. 74
 2011/0235758 A1 * 9 /2011 Khoini- Poorfard . ... HOZG 3/ 001
                                                     375 / 345
 2012/0163290 A1 6/2012 Krafft et al.
* cited by examiner




                                                         APPX100
    Case: 23-136                     Document: 2-2                                            Page: 123                  Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-6 Filed 04/27/22 Page 4 of 14 PageID #: 81


         atent                    Nov . 21, 2017                                 Sheet 1 of 7                                US 9,825 ,826 B2




       126a                                                                        126b

                     Tx   152a Rx 150a                                                               TX   152a Rx 150a
              120a                                                                     120b


                                                                                                                                       1A
                                                                                                                                       .
                                                                                                                                       FIG
                                                     118          HFC
                                                                                              .




                                                   combiner/Splitter
                                                                                              .




                                                                                              .




                                                                                              .




                                             112
                                                      Modulator
                                                                                              .




                                                                   114
                                                   Video                   CMTS Head n
                                         .                                                    .




                                         .                                                    .




                                         .                                                    .




                                         w

                                                                                              .



                                         w

                                                                                              .



                                         w




                                  108 110                                                     .




                                                                  Switch                      -
                                                                                              -
                                                                                              -
                                                                                              -




                                                     1104VAI
                                                                           106
              LY                                     104                          IPNetwork
                                                                                          .
                                                                                          e
                                                                                          g
                                                                                          (
                                                                                          )
                                                                                          internet
                                                                                          ,




                                                                  APPX101
     Case: 23-136         Document: 2-2                                                    Page: 124            Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-6 Filed 04/27/22 Page 5 of 14 PageID #: 82


         atent           Nov . 21, 2017                                                 Sheet 2 of 7               US 9 ,825 ,826 B2




           Tx
           To
           152    1 60       Monitrng   154
                                                                  PDroacestiang   156
                                                                                           162
                                                                                            (          128
                                                                                                       ,
                                                                                                       126
                                                                                                       )
                                                                                                       s
                                                                                                       (
                                                                                                       system
                                                                                                       end
                                                                                                       To




                              CJ
                              +
                              1                                  C1
                                                                 Cj
                                                                 -



                                                                                                                             1B
                                                                                                                             .
                                                                                                                             FIG

                                               Chanelizr   152




                                              end
                                              D
                                              -
                                              Front
                                              !
                                              RRF
                                               eceive
                                                           158




   100




                                                     APPX102
    Case: 23-136        Document: 2-2              Page: 125                 Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-6 Filed 04/27/22 Page 6 of 14 PageID #: 83


           atent       Nov . 21, 2017          Sheet 3 of 7                      US 9 ,825 ,826 B2




             194
                                                                      J+ 1        Monitoring
                         Front-- end    D                                             154
       1     LNB   S                            Channelizer
                            158                     152           C1 -Cj Data Processing
                                                                                     156




                                                              1 176
                                            174 For1825190 /L 1178
                                                                                   V180

                                                                      128

                                                                       1867
                                WAN
                                YAN
                                 192          3188
                                              3188     41 gateway
                                                            196




                                       FIG . 1C




                                       APPX103
    Case: 23-136            Document: 2-2         Page: 126                Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-6 Filed 04/27/22 Page 7 of 14 PageID #: 84


           atent
                          No.21 2017
                          Nov. 21 , 2017   Sheet 4 of 7                          US 9 , 825 ,826 B2




            ir
            2041
            /              F2042                            F2041
               2161 ADC                             =



                                                    =




                                                    =




                                                    =




                                                    =




                                                    =




                                                    =




                                                    l




                                                    "

                                                    l




                                                    -




                                                    -
                                                     I




                                                     TI

                                                     I
                                                                216L ADC   |1J
                            “? ?
                                                    -




                                                    -




                                                    -




                                                    -




                                                    line5




           ?
                                                    5




                                                            ?                               2A
                                                                                            .
                                                                                            FIG


           ?
                                            COC




    .
    158A




                                     APPX104
   Case: 23-136      Document: 2-2             Page: 127   Filed: 06/16/2023




Case 2:22-cv-00125-JRG Document 1-6 Filed 04/27/22 Page 8 of 14 PageID #: 85


           atent    Nov . 21, 2017       Sheet 5 of 7         US 9 ,825 ,826 B2




                                     ADC 992


                                                                        2B
                                                                        .
                                                                        FIG




    158B




                               APPX105
    Case: 23-136                    Document: 2-2                Page: 128           Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-6 Filed 04/27/22 Page 9 of 14 PageID #: 86



U.S.Patent
        atent                   Nov . 21, 2017           Sheet 6 of 7                               US 9 ,825,826 B2




                   ??
                         Monitr g                     plirocesing
                                                          data
                                                          To




                   304
                   +
                   3
                   1                            ,
                                                304
                                                                              3043


   A
   ,
   K




             302
              3
              +
              1
                                         3021                           ,
                                                                        302
                                                                                                              .
                                                                                                              FIG
                                                                                                              3




                                                                                      Chanelizr   102




                                                APPX106
    Case: 23-136             Document: 2-2                   Page: 129              Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-6 Filed 04/27/22 Page 10 of 14 PageID #: 87


        atent             Nov . 21, 2017               Sheet 7 of 7                       US 9 ,825 ,826 B2




                                         4027        Start



                 An FDM signal occupying the frequency band between Flo and Friis received



                    Received FDM is digitized signal across the entire band from Fio to Fni



                                      The digitized signal is channelized


                 A first one ormore of the channels are conveyed to a data processing module



                 A second one or more of the channels are conveyed to a monitoring module


          Data processing module processes the first one or more channels for consumption while the
                 monitoring module concurrently processes the second one or more channels




                                                   FIG . 4




                                           APPX107
        Case: 23-136                        Document: 2-2                         Page: 130                   Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-6 Filed 04/27/22 Page 11 of 14 PageID #: 88


                                                              US 9,825 ,826 B2
            METHOD AND APPARATUS FOR                                              These and other advantages, aspects and novel features of
              SPECTRUM MONITORING                                              the present invention , as well as details of an illustrated
                                                                               embodiment thereof, will be more fully understood from the
                        PRIORITY CLAIM                                          following description and drawings.
   This patent application is a continuation of U . S . patent                      BRIEF DESCRIPTION OF SEVERAL VIEWS OF
application Ser. No . 14 / 341,880 filed on Jul. 28 , 2014 now                                          THE DRAWINGS
patented as U . S . Pat. No . 9, 203 ,653 , which is a continuation
of U . S . patent application Ser. No . 13 / 607, 916 filed on Sep . FIG . 1A depicts an example cable system in accordance
 10 . 2012 now patented as U . S . Pat. No. 8 ,792 .008. which 10 with an example embodiment of the invention .
                                                                     FIG . 1B depicts an example receiver operable to perform
also makes reference to , claimspriority to and claims benefit spectrum
from U . S . Provisional Patent Application Ser. No . 61/532 , embodiment     monitoring in accordance with an example
098 filed on Sep . 8 , 2011 . Each of the above referenced                      of the invention .
                                                                    FIG  . 1C depicts an example satellite system in accordance
documents is hereby incorporated herein by reference in its1 1515 with an example embodiment
entirety .                                                                                         of the invention .
                                                                     FIG . 2A depicts an example RF front-end of a receiver
                                                                  operable to perform spectrum monitoring in accordance with
            INCORPORATION BY REFERENCE                            an example embodiment of the invention .
   This patent application also makes reference to :                 FIG . 2B depicts another example RF front-end of a
                                                              20 receiver operable to perform spectrum monitoring in accor
   U .S . patent application Ser . No. 13/336 ,451 titled dance with an example embodiment of the invention .
 “ Method and Apparatus for Broadband Data Conversion ,”                          FIG . 3 depicts an example channelizer which may be
 filed on Dec . 23 , 2011 , and published as U . S . Patent Appli -            utilized for performing spectrum monitoring in accordance
 cation Publication No . 2012/0163518 ;                              with an example embodiment of the invention .
    U .S .patent application Ser. No. 13 /485 ,003 titled “Multi - 25 FIG . 4 is a flow chart illustrating example steps for
 layer Time- Interleaved Analog -to -Digital Converter                         spectrum monitoring in accordance with an example
(ADC ),” filed on May 31, 2012 and now patented as U . S .                     embodiment of the invention .
Pat. No . 8 ,611, 483 ; and
    U .S . patent application Ser. No. 13/588 ,769 titled “ Multi                     DETAILED DESCRIPTION OF THE
 Standard Coverage Map Generation ,” filed on Aug . 17 , 30                                              INVENTION
 2012 , and now patented as U .S . Pat. No. 9 ,026 , 118 .
    Each of the above referenced documents applications
                                                applications isis        As utilized herein the terms " circuits” and “ circuitry ”
hereby incorporated herein by reference in its entirety .            refer to physical electronic components (i.e . hardware ) and
                                                                     any software and /or firmware (" code” ) which may configure
               FIELD OF THE INVENTION                             35 the hardware , be executed by the hardware , and or otherwise
                                                                     be associated with the hardware. As utilized herein , “ and /or ”
    Certain embodiments of the invention relate to signal means any one or more of the items in the list joined by
 processing. More specifically , certain embodiments of the “ and /or” . For example, " x and/or y ” means any element of
 invention relate to a method and system for spectrum                the three -element set { (x ), (y ), ( x , y ) }. Similarly , “ x , y,
monitoring                                                        40 and /or z " means any element of the seven - element set { (x ) ,
                                                                     (y ), ( z ), ( x , y ), (x , z ), (y, z ), (x , y , z ) } . As utilized herein , the
           BACKGROUND OF THE INVENTION                               terms “ block " and " module ” refer to functions than can be
                                                                               implemented in hardware , software , firmware , or any com
  Network -based services can become unacceptable if net-      bination of one or more thereof.
work parameters fall outside of those for which receivers in 45 FIG . 1A depicts an example communication system in
the network were designed . For example , in a cable televi-   accordance with an example embodiment of the invention .
sion system there are specifications for the number of                         Shown in FIG . 1 is a terrestrial television antenna 102 , a
channels on the plant, the types of channels, the signal levels                satellite dish 104 , an Internet Protocol (IP ) network 106 , a
 of those channels and the impairments that can be on the                      headend 108 , a wide area network ( e . g ., hybrid fiber -coaxial
plant that would affect the performance of the receiver. If 50 (HFC ) network ) 118 , a gateways 120a and 120b , end
 some or all of these parameters deviate outside acceptable                    systems 126a and 126b ( e. g ., computers ), and end systems
bounds, the user may experience unacceptable performance .                     128a and 128b . The headend 108 comprises a switch 110 , a
Conventionalmethods and apparatuses for monitoring net -                       video modulator 112 , a cable modem termination system
work parameters are too costly and impractical for use in                      (CMTS) 114 , and a splitter/combiner 116 .
customer -premises equipment (CPE ).                          55 For downstream traffic , the headend 108 may receive
   Further limitations and disadvantages of conventional and    television signals via the antenna 102 and the satellite dish
traditional approaches will become apparent to one of skill      104, and may receive data via the IP network 106 . The
in the art, through comparison of such systemswith some switch 110 may convey the television signals to the video
aspects of the present invention as set forth in the remainder modulator 112 and the data to the CMTS 114. The video
of the present application with reference to the drawings . 60 modulator 112 may modulate the received television signals
                                                                onto a carrier. The CMTS 114 may modulate the received
         BRIEF SUMMARY OF THE INVENTION                                        data onto a carrier. The splitter/ combiner 116 may combine
                                                                               the outputs of the video modulator 112 and the CMTS 114
   A system and/ or method is provided for spectrum moni- resulting in a frequency division multiplexed (FDM ) signal
toring, substantially as shown in and /or described in con - 65 comprising one or more television channels and/ or one or
nection with at least one of the figures , as set forth more more DOCSIS channels . The FDM signal may be onto the
completely in the claims.                                       wide area network (WAN ) 118 for distribution to customer




                                                             APPX108
       Case: 23-136                    Document: 2-2                 Page: 131                 Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-6 Filed 04/27/22 Page 12 of 14 PageID #: 89


                                                      US 9 ,825 ,826 B2
 premise equipment (CPE ). Each of the gateways 120a and           determined characteristics back to a source of the received
 120b may comprise a receive module 150 operable to                 signal ( e.g ., back to a cable headend ), In an example
 process the received FDM signal as described below .              embodiment, themonitoring module 174 may be operable to
   In an example embodiment, each of the gateways 120a             demodulate signals for measuring one or more characteris
and 120b may be operable to transmit, via a module 152 , 5 tics such as signal-to -noise ratio , code rate .
messages
m        to the CMTS 114 . For such upstream data , the               The data processing module 156 may be operable to
gateways 120a and 120b may modulate messages (e . g .,             process the bands C , - C , conveyed to it by the channelizer
network management/maintenance messages) onto one or               102 to recover data present in one or more television
more carriers for transmission via the WAN 118 . The split- channels present in those bands of the signal S . The data
ter /combiner 116 may then convey the message to the 10 processing module 156 may, for example , perform synchro
CMTS 114 . The CMTS 114 may process the messages and, nization , equalization , and decoding . The data processing
in an example embodiment, adjust transmission parameters module 156 may output processed data ( e. g ., MPEG trans
( e. g ., modulation parameters , transmit power, frequency port stream packets and /or Internet Protocolpackets ) to end
 offsets, etc .) and /or perform other maintenance/management
                                                          VI     systems 126 , perhaps via an interface such as an HDMI
based on the received messages .                              15 interface and / or an Ethernet interface (not shown ). The data
    FIG . 1B depicts an example receiver operable to perform     processingmodule 156 may also be operable to generate one
 spectrum monitoring in accordance with an example                 or more control signals 162 for configuring the channelizer
 embodiment of the invention . Shown in FIG . 1B is a receiver     102 and/or the receive front-end 158 .
 circuit 100 comprising an RF receive front- end module 158 ,   The parallel arrangement of the monitoring module 154
 a channelizer module 102, a monitoring module 154 , and a 20 and data processing module 156 may enable determination
data processing module 156 .                                       of signal and /or channel characteristics without having to
    The RF receive front - end 158 may be operable to process      interrupt service to user equipment 126 and 128 .
 a received RF signal S to generate a digital signal D . The        I n an example embodiment, the signal S may be a cable
 signal S may be the result of a plurality of television and/ or   television signal with F1 - 55 MHz, Fh 1002 MHz. In an
DOCSIS channels being frequency division multiplexed 25 example embodiment, the signal S may be a MOCA signal
into a single signal. The signal S may occupy a frequency          with F1 1150 MHz and Fhi 2100 MHz. These numbers are
band from F . to Fhi. The RF front -end 158 may, for               purely for illustration and not intended to be limiting.
example , amplify, down -convert, filter, and /or digitize the        In an example embodiment, the signal S may be a satellite
received signal S to generate the digital signal D . Example       television signal such as may be at the input of a LNB , at the
 embodiments of the RF front- end are depicted in FIGS. 2A 30 output of a LNB , or at the input of a indoor unit (e .g ., set top
 and 2B .                                                          box ) . In such an embodiment, the front - end 158 , channelizer
    The channelizer 102 may be operable to select J + 1 bands      152, data processing module 154 , and /or monitoringmodule
 (represented as C , - C . ) of the signal S and output each of    154 may reside in the indoor unit ( e . g ., set- top box ), outdoor
the selected bands to the monitoring module 154 and /or the        unit ( e. g., satellite dish or accompanying components),
data processing module 156 , where J is an integer greater 35 and / or may be distributed among the indoor unit and outdoor
than 1 . An example embodiment of the channelizer 102 is           unit of a satellite installation residing at a customer prem
depicted in FIG . 3 . Each band C ; may , for example , corre -    ises. An example of such an embodiment is shown in FIG .
spond to the frequency band of one or more television 1C .
 channels. For example , each band C ; may be an integer             In operation of such an example embodiment, the signal
multiple of 6 MHz (U . S.) or 8 MHz ( EU ) .                   40 S may be amplified , possibly downconverted , and digitized
    In an example embodiment, the channelizer 102 may be          by the RF front- end 158 to generate the signal D . The
implemented entirely in the digital domain and the channel         channelizer 102 may then select J bands of the signal D for
 ization may be achieved via one or more digital filtering output to the data processing module 156 . Each of the
 algorithms and /or other digital signal processing algorithms. selected bands C1-C , may , for example, comprise one or
     The monitoring module 154 may be operable to analyze 45 more of the cable television channels and/ or one or more of
the band C3+ 1 that it receives from the channelizer 102 to the DOCSIS channels that make up the signal S . The data
measure / determine characteristics such as , for example ,        processing module 156 may provide one or more control
signal power level vs . frequency , delay vs . frequency, phase    signals to determine which portion of the signal D is selected
shift vs. frequency , type and/ or amount of modulation , code     for each of the bands C , - C ,. The selection may be based , for
 rate , interference levels , signal to noise ratio , a transfer 50 example , on which television channels are being consumed
 function of the channel of over which the signal was              by end systems 128 and /or whether DOCSIS data is being
 received , an impulse response of the channel over which the      consumed by end systems 126 . The channelizer 102 may
signalwas received , and / or any other characteristic that may    also select one band , represented as band C41, to be output
help assess characteristics of the channel over which the to the monitoring module 154. Band CjH1 may comprise any
signal was received , assess characteristics of the transmitter 55 portion or portions ( including the entire bandwidth from F7.
that sent the signal and /or any otherwise be pertinent to to Fhi) of the signal D . Which portion of the signal S is
performance of the communication system . The monitoring           selected as band C4+ 1may , for example ,be configured by the
module may also be operable to generate one or more                monitoring module 154 . The data processing module 156
 control signals 160 for configuring the channelizer 102           may process one or more of bands C , - C , to recover data on
 and/ or for configuring the RF front-end 158 . Additionally or 60 one or more channels (e . g ., television and / or DOCSIS
alternatively , the control signal( s ) 160 output by the moni-    channels ) present in those bands while the monitoring
toring module 154 may control the transmission of network module 154 may concurrently process band Cj+ 1 to measure /
management/maintenance messages by the device 150 . Such    determine characteristics of all or a portion of the signal S
message may comprise , for example , network status updates between f; and fui.
indicating whether one or more communication parameters 65 FIG . 1C depicts an example satellite system in accordance
of one or more received television or DOCSIS channels are   with an example embodiment of the invention . Shown in
outside acceptable bounds, and /or conveying measured / FIG . 1C is a satellite dish assembly 172 , and a gateway 196 .




                                                     APPX109
       Case: 23-136                        Document: 2-2                Page: 132                 Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-6 Filed 04/27/22 Page 13 of 14 PageID #: 90


                                                      US 9 ,825 ,826 B2
 The subassembly 174 comprises a feed horn 182 , an LNB              may then be digitized by the ADC 256 to generate signal D .
 194 , the front - end 158 , the channelizer 152, the monitoring      In an example embodiment, the ADC may be as described
module 154, and the data processing module 156 . The                  in U .S . patent application Ser. No. 13 /485,003 entitled
 various modules of the subassembly 174 may reside in one             “Multi-layer Time- Interleaved Analog -to -Digital Converter
or more housings , on one or more printed circuit boards, 5 (ADC ),” which is incorporated by reference herein , as set
and/ or one or more integrated circuits ( e .g ., one or more forth above .
silicon dice ) . In another example embodiment, the monitor             In an example embodiment, the ADC 256 may be capable
 ing module 154 and /or the data processing module 156 may           of digitizing a signal S wherein Fje to Fhi is 1 GHz or higher.
reside in the gateway 196 .                                           Accordingly, for cable television/DOCSIS , the ADC 256
   In the example embodiment depicted , the satellite dish 10 may be operable to digitize the entire cable downstream
 assembly 172 comprises a parabolic reflector 176 and a       ( e .g ., from ~ 55 MHz to - 1002 MHz ). Similarly , for satellite
 subassembly 174 mounted ( e .g ., bolted or welded ) to a    television , the ADC 256 may be operable to digitize the
support structure 178 which , in turn , comprises a boom 190 received signal at the input of the LNB , and / or the down
and attaches ( e. g., via bolts ) to the premises 180 (e .g ., to the converted signal (e.g ., from ~ 1 GHz to ~ 2 GHz) at the output
roof). In another example embodiment, all or a portion of the 15 by an LNB .
modules 152, 154, and /or 156 may be mounted to the                     FIG . 3 depicts an example channelizer which may be
premises 180 separate from the satellite dish (e .g ., connected utilized for performing spectrum monitoring in accordance
 via wired and/ or wireless connections), but may still be part      with an example embodiment of the invention . Band selec
of the " outdoor unit ."                                             tion filters 302, - 302 , of the channelizer 102 may each
    The gateway 196 may receive data from the satellite dish 20 process the signal D to recover a corresponding one of the
 assembly 172 (via cable (s ) 184 ). The gateway and may              J selected bands of the signal D , and output the band on a
 transmit data onto and receive data from the WAN 192 ( via           corresponding one of the ports 304 , to 304 ;. A band selec
broadband connection 188 ). The gateway 196 may transmit             tion filter 302 . 11 of the channelizer 102 may process the
data to and receive data from user equipment 128 and 126             signal D to recover band Cg from the signal D , and output
 ( via one or more connections 186 ) .                             25 band Cmon the port 304 1 . Which band or bands are
   FIG . 2A depicts an example RF front -end of a receiver           selected by the filter 302 j+ 1 may be configured based on one
operable to perform spectrum monitoring in accordance with            or more control signals input to the channelizer 102 . For
an example embodiment of the invention . The RF front-end example, the value of a parameter k may determine the
158A shown in FIG . 2A comprises a variable gain amplifier center frequency of the portion of signal D that is to be
202, and receive chains 204 , -204 , where L is an integer 30 selected as C4+ 1 by the filter 302 3+ 1, and the value of A may
greater than or equal to 1 . Each receive chains 204 , may     determine the bandwidth of the portion of this signal D that
comprise an amplifier module 2101, a mixermodule 2121, a is selected as band Cj+ 1 for output on theport 304j+ 1. In this
filter module 214 , and an analog - to - digital converter     manner, all of the signal D between F andF or any portion
(ADC ) module 2161,where 1 is an integer between 1 and L . or portions of the signal D , may be selected for output on the
   Each amplifier 210 , may be operable to amplify a band 1 35 port 304 . 1.
of the signal S . Each mixer 212 , may be operable to mix a      FIG . 4 is a flow chart illustrating example steps for
band 1 of the signal S with a local oscillator signal (not spectrum monitoring in accordance with an example
shown) to downconvert the band 1 to a lower frequency .        embodiment of the invention . After start step 402 , in step
Each filter module 214 , may be operable to bandpass filter 404 , the receiver circuit 100 may receive a frequency
the band 1 to remove/attenuate frequencies outside band 1. 40 division multiplexed (FDM ) signal comprising one or more
Each ADC 216 may be operable to convert the band 1 of the             channels ( e. g ., satellite television channels , cable television
analog signal S to a corresponding digital representation             channels, and /or DOCSIS channels ) occupying a frequency
 Operation of the RF front- end 158 and /or processing of            band between Flo and Fhi. In step 406 , the received FDM
 signals generated by the front- end 158 , may , for example, be     signal is digitized across the full band from Fje to Fhi. In step
as described in U .S . patent application Ser. No. 13 / 336 ,451 45 408 , the digitized signal is channelized into one or more
entitled “Method and Apparatus for Broadband Data Con -              bands . In step 410 , a first one or more of the bands are
version ” which is incorporated by reference herein , as set          conveyed to a data processing module . In step 412 a second
 forth above .                                                       one or more of the bands are output to a monitoring module .
   In an example embodiment, the front- end 158A may                  In step 414 , the data processing module processes one or
reside in a cable gateway such as the cable gateway 120 50 more of the first one or more bands to recover data on those
 described above. In an example embodiment, the front- end           bands while the monitoring module concurrently processes
 158A may reside in satellite gateway/set -top box and /or in    the second one or more bands to determine characteristics of
an outdoor unit of a satellite reception assembly ( e . g .,     all or a portion of the frequency band from Fj, to Fhi .
collocated on - chip or on -PCB with a satellite low -noise         Other embodiments of the invention may provide a non
block downconverter (LNB )).                                  55 transitory computer readable medium and/ or storage
   FIG . 2B depicts another example RF front-end of a                medium , and / or a non -transitory machine readable medium
receiver operable to perform spectrum monitoring in accor             and /or storage medium , having stored thereon , a machine
dance with an example embodiment of the invention . The               code and /or a computer program having at least one code
RF front- end 158B shown in FIG . 2B comprises a variable             section executable by a machine and/ or a computer, thereby
gain amplifier 252, a filter 254 , and an ADC 256 . Functions 60 causing the machine and/or computer to perform the steps as
performed by the RF front- end 158B may be referred to as described herein for spectrum monitoring
“ full - spectrum capture ” ( or “ FSC ” ) .                            Accordingly , the present invention may be realized in
   In the front-end 158B , the entire bandwidth , from Fje to         hardware , software , or a combination of hardware and
Fhi, of signal S may be amplified by the amplifier 252 to        software . The present invention may be realized in a cen
generate S '. The amplified signal S 'may be then filtered by 65 tralized fashion in at least one computing system , or in a
 the filter 254 to remove undesired signals outside of Fj, to        distributed fashion where different elements are spread
Fhi and generate signal S " . The signal S " , from Foto Fhis         across several interconnected computing systems. Any kind




                                                     APPX110
        Case: 23-136                    Document: 2-2                   Page: 133                Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-6 Filed 04/27/22 Page 14 of 14 PageID #: 91


                                                       US 9 ,825 ,826 B2
of computing system or other apparatus adapted for carrying             4 . The method of claim 2 , wherein said parameter is a
OU              s described herein is suited . A typical com - transmit power of said received signal.
bination of hardware and software may be a general-purpose       5 . The method of claim 2 , wherein said parameter is a
computing system with a program or other code that, when       frequency offset of said received signal.
being loaded and executed , controls the computing system 5 6 . The method of claim 1, wherein said characteristic is
such that it carries out the methods described herein . signal power vs . frequency .
 Another typical implementation may comprise an applica -               7 . The method of claim 1, wherein said characteristics is
                                                           signal phase vs. frequency .
tion specific integrated circuit or chip .
   The present invention may also be embedded in a com        8 . The method of claim 1, wherein said characteristic is
puter program product, which comprises all the features 10 one of: signal -to -noise ratio , peak - to -average ratio , noise
enabling the implementation of the methods described                  levels, bit error rate, and symbol error rate .
herein , and which when loaded in a computer system is able          9 . The method of claim 1 , configuring , by said one or
to carry out these methods . Computer program in the present      more circuits, a bandwidth and /or center frequency of said
context means any expression , in any language , code or          selected first portion of said digitized signal.
 notation , of a set of instructions intended to cause a system 15 10 . A system comprising :
having an information processing capability to perform a                a receiver configured to be coupled to a television and
particular function either directly or after either or both of            data service provider headend via a hybrid fiber coaxial
the following : a ) conversion to another language, code or               (HFC ) network , the receiver comprising :
 notation ; b ) reproduction in a different material form .               front- end circuitry operable to :
   While the present invention has been described with 20                    receive a signal that carries a plurality of channels,
reference to certain embodiments , it will be understood by                     wherein said channels comprise one or both of
those skilled in the art that various changes may be made and                   television channels and data channels; and
equivalents may be substituted without departing from the                    digitize said received signal to generate a digitized
scope of the present invention . In addition, many modifica                     signal;
tions may be made to adapt a particular situation or material 25           channelizer circuitry operable to :
to the teachings of the present invention without departing                  select a first portion of said digitized signal; and
from its scope . Therefore , it is intended that the present                  select a second portion of said digitized signal;
 invention not be limited to the particular embodiment dis                 processing circuitry operable to process said selected
closed , but that the present invention will include all                     second portion of said digitized signal to recover
 embodiments falling within the scope of the appended 30                      information carried in said plurality of channels;
 claims.                                                                   monitoring circuitry operable to :
     What is claimed is:                                                       analyze said selected first portion of said digitized
     1 . A method comprising:                                                     signal to measure a characteristic of said received
     performing by one or more circuits of a receiver coupled                    signal  ; and
         to a television and data service provider headend via a 35            control   the  transmission of network management
        hybrid fiber coaxial (HFC ) network :                                    messages back to said headend based on said
        receiving , via said HFC network , a signal that carries a               measured characteristic of said received signal,
            plurality of channels , wherein said channels com                    wherein said measured characteristic is different
            prise one or both of television channels and data 40 11. Thethan            said network management messages .
                                                                                   system of claim 10 , wherein said network man
             channels ;                                    citized agementmessages indicate whether a parameter is outside of
        digitizing said received signal to generate a digitized     acceptable bounds.
             signal;                                                     12 . The system of claim 11 , wherein said parameter is a
        selecting a first portion of said digitized signal;
        selecting a second portion of said digitized signal; vir 45 modulation       parameter of said received signal.
                                                                         13 . The system of claim 11 , wherein said parameter is a
        processing said selected second portion of said digi- 45 transmit
            tized signal to recover information carried in said " 14 . Thepower          of said received signal.
                                                                                   system of claim 11, wherein said parameter is a
            plurality of channels;
         analyzing said selected first portion of said digitized frequency
                                                                     The           offset of said received signal.
                                                                     15 . The method of claim 1 , wherein said characteristic is
           signal to measure a characteristic of said received 50 signal  power vs. frequency.
           signal; and                                                   16 . The method of claim 1 , wherein said characteristics is
       controlling the transmission of network management             signal phase vs. frequency.
         messages back to said headend based on said mea
           sured characteristic of said received signal, wherein         17 . The system of claim 10 , wherein said characteristic is
           said measured characteristic is different than said        one of: signal-to - noise ratio , peak -to -average ratio , noise
         network management messages .                    55 levels , bit error rate , and symbol error rate .
   2 . The method of claim 1 , wherein said network manage said18monitoring
                                                                  . The system of claim 10 , comprising configuring, by
                                                                                 circuitry during operation of said one or
ment messages indicate whether a parameter is outside of
acceptable bounds.                                           more circuits, a bandwidth and /or center frequency of said
   3. The method of claim 2 , wherein said parameter is a selected first portion of said digitized signal.
modulation parameter of said received signal.                                          *   *  *  *   *




                                                      APPX111
    Case: 23-136     Document: 2-2     Page: 134    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-7 Filed 04/27/22 Page 1 of 15 PageID #: 92




                     EXHIBIT F




                             APPX112
       Case: 23-136                       Document: 2-2             Page: 135                   Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-7 Filed 04/27/22 Page 2 of 15 PageID #: 93

                                                                                           US010135682B2

(12) Ling
     United      States Patent                                       (10) Patent No.: US 10 ,135 ,682 B2
          et al.                                                     (45) Date of Patent:                     *Nov . 20 , 2018
(54 ) METHOD AND SYSTEM FOR SERVICE                               (58 ) Field of Classification Search
       GROUP MANAGEMENT IN A CABLE
       GETWORK NAGP                                                        CPC . HO4L 12 /2801; H04L 1/ 0009; H04L 1/0026 ;
                                                                                            HO4L 27 /2601; HO4L 41/0823 ; HOLL
                                                                                                             43 /08 ; H04L 43/ 12
(71) Applicant: Maxlinear, Inc., Carlsbad , CA (US)                        See application file for complete search history.
( 72 ) Inventors: Curtis Ling , Carlsbad , CA (US);
                  Sridhar Ramesh , Carlsbad , CA (US );           (56 )                    References Cited
                Timothy Gallagher, Carlsbad, CA (US)                                 U .S . PATENT DOCUMENTS
(73 ) Assignee: Maxlinear, Inc., Carlsbad , CA (US)                       5 ,563 ,918 A     10 / 1996 Waldschmidt
                                                                          6 ,275 ,483 B1     8/ 2001 Papasakellariou
( * ) Notice : Subject to any disclaimer, the term of this                                    (Continued )
                    patent is extended or adjusted under 35
                    U . S . C . 154 (b ) by 0 days.               Primary Examiner — Dung B Huynh
                    This patent is subject to a terminal dis      (74 ) Attorney, Agent, or Firm — McAndrews, Held &
                    claimer.                                      Malloy , Ltd
(21) Appl. No.: 15/866, 106                                       (57 )                  ABSTRACT
(22) Filed :        Jan . 9, 2018                                 A cable modem termination system (CMTS ) may determine,
                                                                  for a plurality of cable modems served by the CMTS , a
(65)                   Prior Publication Data                     corresponding plurality ofSNR -related metrics. The CMTS
                                                                  may assigning the modems among a plurality of service
      US 2018 /0131567 A1 May 10, 2018                            groups based on the SNR -related metrics. For any one of the
              Related U .S . Application Data                     modems, the CMTS may configure physical layer commu
(63 ) Continuation of application No. 15/ 434 ,673, filed on      nication parameters to be used by the one of the modems
      Feb . 16 , 2017 , now Pat. No. 9 , 866 ,438 , which is a    based on a SNR - related metric of a service group to which
                                                                  the one of the modems is assigned . The physical layer
                         (Continued )                             communication parameters may include one or more of:
                                                                  transmit power , receive sensitivity , timeslot duration , modu
(51) Int. CI.                                                     lation type, modulation order, forward error correction
       H04L 12 /24                ( 2006 .01)
                                                                  (FEC ) type, and FEC code rate . The CMTS and the modems
       H04L 1 /00               ( 2006 .01)                       may communicate using orthogonal frequency division mul
                          (Continued )                            tiplexing (OFDM ) over a plurality of subcarriers , and the
(52) U .S . Cl.                                                   physical layer communication parameters may be deter
                     H04L 41/0823 ( 2013 . 01 ); H04B 17318       mined on a per - subcarrier basis .
                        ( 2015 .01 ); H04L 1/ 0009 ( 2013 .01);
                           (Continued )                                              18 Claims, 7 Drawing Sheets


       302                                            CMTS sends probe to CMS

       304,                          CMsdetermine SNR profile and report back to CMTS

       306                     CMTS assigns CMs to service groups based on SNR profiles

       308        CMTS determines physical layer communication parameters per service group and
                         per subcarrier based on composite SNR profiles of the service groups

       310          Communications between CMTS and any particular CM use the per-subcarrier
                  physical layer parameters of the service group to which the CM has been assigned




                                                       APPX113
         Case: 23-136                         Document: 2-2                 Page: 136                  Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-7 Filed 04/27/22 Page 3 of 15 PageID #: 94


                                                            US 10 ,Page
                                                                    135 ,2682 B2

                Related U . S . Application Data                            2003/ 0223481 A112 / 2003 Jones
                                                                            2003 /0236071 A        12/2003 Ito
         continuation of application No. 15 /228,703 , filed on             2004 /0085976 A1 *      5 /2004 Dale .................. HO4B 7 / 18582
         Aug. 4 , 2016 , now Pat. No . 9 ,577 , 886 , which is a                                                                         370 / 411
         continuation of application No. 13 / 948,444 , filed on            2004 /0218568 A1       11/2004 Goodall
                                                                            2005 /0097617 A1        5 / 2005 Currivan
      Jul. 23 , 2013, now Pat . No. 9,419,858 .                             2005 /0122996 A1        6 /2005 Azenkot
(60 ) Provisional application No . 61 /674 ,742, filed on Jul.              2005/0135253 A1        6 / 2005 Cai et al.
         23 , 2012 .                                                        2005/0185824 A1        8 / 2005 Chen
                                                                            2005/0213579 A1        9 / 2005 Iyer
                                                                            2006 /0008020 AL        1/ 2006 Blankenship
(51 ) Int. Ci.                                                              2006 /0067278 A1 *     3 / 2006 Li                      H04B 1/ 707
         H04B 17318                 (2015 .01)                                                                                          370 / 335
         H04L 27/ 26                (2006 .01)                              2006 / 0126505 A1 *     6 / 2006 Denney ................ HO4J 3 / 1694
         H04L 12 / 28               (2006 .01)                                                                                           370 /229
     H04L 12 / 26                   ( 2006 .01)                             2007/0098007 A1         5 / 2007 Prodan
                                                                            2007/ 0202904 Al        8 /2007 Cheng
(52) U . S . CI.                                                            2007/ 0253388 A1       11/ 2007 Pietraski
         CPC ..... .. H04L 1 /0026 (2013 .01 ); H04L 12 / 2801              2009/0016420 AL         1/ 2009 Kwak
                  ( 2013 .01); H04L 27 /2601 (2013 .01); H04L               2009 /0040942 A         2 / 2009 Yang
                       27 /2602 (2013.01); H04L 43/08 ( 2013 .01 );         2009/0215403 A1         8 /2009 Currivan
                                              H04L 43 / 12 (2013 .01)       2009 /02 19856 A1 * 9 /2009 Richardson ......... H04W 72 /044
                                                                                                                                         370 / 328
                                                                            2010 /0002575 AL        1/2010 Eichinger
(56 )                      References Cited                                 2010 /0100919 A1        4 / 2010 Hsue
                                                                            2010 /0154017 A1 * 6 /2010 An ... ... ... ... ..... . HO4L 12 /2801
                   U .S . PATENT DOCUMENTS                                                                                             725 / 111
                                                                            2010 /0172316 A1 7 /2010 Hwang
        6 ,421, 327 B1       7/ 2002 Lundby                                 2011/ 0051607 A1 3 / 2011 Begen
        6 ,560 , 225 B1 5 / 2003 Czajkowski                                 2011 /0188852 Al 8 / 2011 Stodola
        6 ,757 ,522 B16 / 2004 Naegeli                                      2011/ 0306380 Al 12 /2011 Zavadsky
        6 ,891,858 B1     5 / 2005 Mahesh                                   2012 /0269242 Al       10 /2012 Prodan
        6 , 898 ,755 B1 * 5 /2005 Hou                    HO4L 1/ 0003       2013/0021931 A1       | 1/ 2013 Kim
                                                             370 /282       2013 / 0024753 Al       1 / 2013 Masuda
        7 ,761, 049 B2       7 /2010 Zeng                                   2013 /0100843 Al        4 /2013 Croak
        8 ,488,514 B2       7/ 2013 Cai                                     2013 /0107921 Al        5 /2013 Prodan
        8 ,743 ,933 B2 *    6 / 2014 Prodan          ..... HO4L 5 / 1446
                                                                            2013 /0114480 A15 /2013 Chapman
                                                               375 /219     2013 /0170528 A1 *      7 / 2013 Pantelias .. ...... .. HO4L 12/2801
     9 ,025, 954 B2 5 / 2015 Fang
     9 ,419 ,858 B2 * 8 / 2016 Ling                       H04L 1 /0026                                                                   375/222
     9 ,577 ,886 B2 * 2 / 2017 Ling               ... . . HO4L 1 / 0026     2013 /0227373 Al 8/ 2013 Shen
     9 , 866 ,438 B2 * 1/ 2018 Ling ................. HO4L 41/0823          2013 / 0266310 A110 / 2013 Fox
 2001/ 0055319 A1 * 12/ 2001 Quigley ................ H04J 3 / 1694         2014 / 0022926 A1       1/2014 Ling
                                                               370 /480     2014 /0133330 A1        5 / 2014 Chapman
 2002/ 0062486 A1 5 / 2002 Park                                             2014 /0169431 A1        6 /2014 Arambepola
 2002/0186459 Al 12 / 2002 DeGrange , Jr.                                   2014 /0286203 AL        9 /2014 Jindal
 2003 /0002450 AL  1/2003 Jalali                                            2014 /0301237 A1       10 /2014 Yi
 2003/ 0043732 Al 3 / 2003 Walton                                           2015 / 0071161 AL       3 /2015 Salhab
 2003/0053419 A1 3 / 2003 Kanazawa                                          2015 /0288498 A1 10 /2015 Kliger
 2003/0177502 AL 9 / 2003 Kolze
 2003/0199283 Al 10 / 2003 Busch                                           * cited by examiner




                                                           APPX114
    Case: 23-136         Document: 2-2                                Page: 137            Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-7 Filed 04/27/22 Page 4 of 15 PageID #: 95


        atent           Nov . 20 , 2018                      Sheet 1 of 7                    US 10 , 135 ,682 B2



                                                  1125 modem
                                                              Cable
                         1102
                                Split er
                                                  1124 modem
                                                              Cable
       1062
                                                                                              1123 Cable modem
        1996                               1101
                                                                                Split er
       108
                                                  Split er
                                                                                              1122 modem
                                                                                                      Cable
        1977 1095 109c                                                      Ca bl
                                                                        1121 modem
                                                                                  e
                                                                                              1
                                                                                              .
                                                                                              FIG

        1078
       104 Fibernode

                  103

      102      CMTS


                                           APPX115
    Case: 23-136         Document: 2-2           Page: 138                Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-7 Filed 04/27/22 Page 5 of 15 PageID #: 96


        atent         Nov . 20 , 2018         Sheet 2 of 7                  US 10 , 135 ,682 B2




                   112x Cable modem               112X Cable modem
                                                   204



                              nHetFwoCrk                     HneFtwoCrk
                                                                           2A
                                                                           .
                                                                           FIG




                           CMTS                           CMTS

                             1
                             Time
                             :                              A
                                                            :
                                                            1
                                                            Time
                                                            +




                                           APPX116
    Case: 23-136     Document: 2-2       Page: 139   Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-7 Filed 04/27/22 Page 6 of 15 PageID #: 97



U.S. Patent Nov.20,2018
          atent     Nov . 20 , 2018   Sheet 3 of 7      US 10 , 135 ,682 B2



                                                               FREQ
                                                                  sub8


                                                             !hat h   sub7

                                                                       gans

                                                                      sub5
                                                                              2B
                                                                              .
                                                                              FIG


                                                                      sub4

                                                                      sub3
                                                              te
                                                              t
                                                              +
                                                              to
                                                              +
                                                                      sub2

                                                                       sub1
    SNR




                                 APPX117
    Case: 23-136        Document: 2-2                          Page: 140   Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-7 Filed 04/27/22 Page 7 of 15 PageID #: 98



U.S. Patent Nov.2,0 2013
          atent        Nov . 20 , 2018                   Sheet 4 of 7        US 10 , 135 ,682 B2




                                                                2 81
                                                                                   tFREtQ
                                                                                       sub8

                                                         228
                                                                                       sub7
                                                   . .


                                               W




                                               .




                                               2




                                                    22
                                                                                        sub6

                                                                                        sub5
                                                                                               2C
                                                                                               .
                                                                                               FIG

                                   ???
                                   ??


                                   ???
                                   ?
                                         228
                                                                                        sub4

                                                                                        sub3

                             230
                                                                                        sub2
                   L




                   .




                                                                                        sub1
    SNR




                                           APPX118
    Case: 23-136             Document: 2-2             Page: 141          Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-7 Filed 04/27/22 Page 8 of 15 PageID #: 99


           atent           Nov . 20 , 2018        Sheet 5 of 7                US 10 , 135 ,682 B2




     3027                               CMTS sends probe to CMS                                 )
                            CMs determine SNR profile and report back to CMTS

                        CMTS assigns CMs to service groups based on SNR profiles

             CMTS determines physical layer communication parameters per service group and
                  per subcarrier based on composite SNR profiles of the service groups

     310       Communications between CMTS and any particular CM use the per -subcarrier
             physical layer parameters of the service group to which the CM has been assigned

                                                FIG . 3A



   3227                  CMTS determines location of CMs within HFC network

   324                  CMTS assigns CMs to service groups based on locations

   326     CMTS determines physical layer communication parameters per service group and
                        per subcarrier based on locations of service groups

   3287       Communications between CMTS and any particular CM use the per- subcarrier
            physical layer parameters of the service group to which the CM has been assigned

                                               FIG . 3B




                                        APPX119
    Case: 23-136                  Document: 2-2                               Page: 142                 Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-7 Filed 04/27/22 Page 9 of 15 PageID #: 100


           atent                 Nov . 20 , 2018                     Sheet 6 of 7                             US 10 , 135 ,682 B2



                                                          1125 modem
                                                              Ca b le
                                 1102
                                         Spliter    -


                                                    -


                                                    -


                                                    -


                                                    +


                                                    -



                                                    -




                                                          1124
                                                                     Cablemodem
      1062                                                                                                       Cable modem
                                                                                                          112
                                                                                                           .
                                                                                                           3
                                                                                  1103
             19 6                 1063
                                                   1 01
                                                                                             Split er
      108                                                                           -


                                                          Split er                                               Cable modem
             107b 109a 109c
                                                                                  1121 Cable modem
                                                                                                          12    )
                                                                                                                404


      1961                                                                        í
                                                                                  402

             107a 105                                                                                   4A
                                                                                                        .
                                                                                                        FIG


      104 Fibernode

                           103


     102            CMTS


                                                    APPX120
     Case: 23-136               Document: 2-2                               Page: 143                    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-7 Filed 04/27/22 Page 10 of 15 PageID #: 101


         atent                 Nov . 20 , 2018                       Sheet 7 of 7                              US 10 , 135 ,682 B2
                                                                      -




                                                              C a b
                                                          1125 modem
                                                                    le
                                1102
                                         Spliter
                                                                      Cablemodem
        1062?                                             Y
                                                          1124
                                                     4081                          1 03
                                                                                                           -




                                                                                                           -



                                                                                                           -
                                                                                                                   Cable
                                                                                                               1123 modem
             1995
              109b               1 063             1101
                                                                                              Split er
        108
                                                          Split er                                             1122 Cable modem
              107b 1095 109c
             1976                                                                         Cablemodem
                                                                             40626
                                                                              1121
                                                                               /
        1961
             1072
              107a 105                                                                                    4B
                                                                                                          .
                                                                                                          FIG

             7


        104 Fibernode


                         163

       102        CMTS


                                                   APPX121
        Case: 23-136                        Document: 2-2                       Page: 144                  Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-7 Filed 04/27/22 Page 11 of 15 PageID #: 102


                                                           US 10 ,135 ,682 B2
        METHOD AND SYSTEM FOR SERVICE                                       shown in and/or described in connection with at least one of
         GROUP MANAGEMENT IN A CABLE                                        the figures , as set forth more completely in the claims.
                             NETWORK                                           These and other advantages, aspects and novel features of
                                                                            the present invention , as well as details of an illustrated
                        PRIORITY CLAIM                                    5 embodiment thereof, will be more fully understood from the
                                                                              following description and drawings.
    This patent application is a continuation of U . S . patent
 application Ser . No. 15 /434,673 filed on Feb . 16 , 2017 ,                    BRIEF DESCRIPTION OF SEVERAL VIEWS OF
 which is a continuation of U .S . patent application Ser. No.                                        THE DRAWINGS
 15 / 228 ,703 filed on Aug. 4 , 2016 , now U . S . Pat. No. 10
 9 ,577 ,886 , which is a continuation of U .S . patent application             FIG . 1 is a diagram of an example cable /DOCSIS net
 Ser. No . 13 / 948 ,444 filed on Jul. 23 , 2013, now U . S . Pat.No.
 9 ,419 ,858 , which makes reference to , claims
                                              claims priority
                                                     priority toto and
                                                                   and FIG . 2A depicts an example method of determining
 claims benefit from U .S . Provisional Patent Application Seror. locations of CMswithin the HFC network .
 No . 61/674 .742 titled “ Method and System for Service 15 FIGS. 2B and 2C depict signal-to - noise ratio (SNR )
 Group Management in a Cable Television Network ” and                        versus frequency profiles for an example cable /DOCSIS
 filed on Jul. 23 , 2012 .                                                   network .
    The entirety of each of the above -mentioned applications                   FIG . 3A is a flowchart illustrating an example process for
 is hereby incorporated herein by reference .                               configuring a cable /DOCSIS HFC network based on mea
                                                                         20 sured performance metrics .
           INCORPORATION BY REFERENCE                                           FIG . 3B is a flowchart illustrating an example process for
                                                                configuring a cable /DOCSIS HFC network based on loca
     This application also makes reference to :                 tion of CMs within the network .
     U . S . patent application Ser. No . 13 /553 , 328 titled     FIGS. 4A and 4B illustrate the network of FIG . 1 , with
 “ Method and System for Client - Side Message Handling in a 25 different groupings of CMs based on one or both of: mea
 Low -Power Wide Area Network ." and filed on Jul. 19 , 2012 ;  sured performance metric ( s ) and location within the HFC
    U .S . patent application Ser. No. 13 /485 , 034 titled                   network .
 “Method and System for Server -Side Message Handling in                                  DETAILED DESCRIPTION OF THE
 a Low - Power Wide Area Network ,” and filed on May 31 ,
 2012 ;                                                     30                                           INVENTION
   U . S . patent application Ser. No . 13 /553, 175 titled
 “ Method and System for a Low -Power Client in a Wide Area                     As utilized herein the terms " circuits” and “ circuitry ”
 Network   ,” and filed on Jul. 19 , 2012;                        refer to physical electronic components (i. e . hardware ) and
   U . S . patent application Ser. No. 13 /553 . 195 titled       any software and/ or firmware (" code" ) which may configure
 “ Method and System for Server - Side Handling of a Low - 35 the hardware , be executed by the hardware , and or otherwise
 Power Client in a Wide Area Network ." and filed on Jul. 19. be associated with the hardware . As used herein , for
 2012 ;                                                           example, a particular processor and memory may comprise
     U . S . patent application Ser. No. 13 /948 . 401 titled     a first “ circuit ” when executing a first one or more lines of
 “ Method and System for a High Capacity Cable Network .”         code and may comprise a second “ circuit” when executing
 and filed on the same date as this application ; and          40 a second one or more lines of code. As utilized herein ,
     U . S . patent application Ser. No. 13 / 948 . 417 titled    " and /or” means any one or more of the items in the list
 “ Method and System for Noise Suppression in a Cable joined by “ and/ or ” . As an example , " x and /or y ” means any
 Network ,” and filed on the same date as this application .      element of the three - element set {( x ), ( y ), (x , y ) }. As another
     The entirety of each of the above -mentioned applications example , x , y, and /or Z means any element of the seven
 is hereby incorporated herein by reference.                   45 element set { ( x ), ( y ) , (2 ), (x , y ), (x , z ), ( y, z ), (x , y , z )} . As
                                                                             utilized herein , the term “ exemplary ” means serving as a
                  FIELD OF THE INVENTION                                     non - limiting example, instance , or illustration . As utilized
                                                                             herein , the terms “ e. g.,” and “ for example” set off lists of one
    Certain embodiments of the invention relate to cable or more non -limiting examples , instances , or illustrations.
 television networks. More specifically, certain embodiments 50 As utilized herein , circuitry is " operable ” to perform a
 of the invention relate to a method and system for service      function whenever the circuitry comprises the necessary
 group management in a cable television network .               hardware and code (if any is necessary to perform the
                                                                              function , regardless of whether performance of the function
          BACKGROUND OF THE INVENTION                          is disabled , or not enabled , by some user -configurable set
                                                            55 ting .
    Convention cable television networks can be inefficient       FIG . 1 is a diagram of an example cable /DOCSIS net
 and have insufficient capacity . Further limitations and dis -              work . The example network comprises a cable modem
 advantages of conventional and traditional approaches will                  termination system (CMTS ) 102 , a fiber node 104 , ampli
 become apparent to one of skill in the art , through compari-               fiers 106 , - 1063, a directional coupler 108 , splitters 110 ,
 son of such systems with some aspects of the present 60 1103 , and cable modems (CMs) 112, - 1125.
 invention as set forth in the remainder of the present     The CMTS 102 may comprise circuitry operable to man
 application with reference to the drawings .            age connections to the CMs 112 , - 1125. Thismay include, for
                                                         example : participating in ranging operations to determine
         BRIEF SUMMARY OF THE INVENTION                  physical layer parameters used for communications between
                                                            65 the CMTS 102 and CMs 112, - 1125; forwarding of dynamic
    A system and/ or method is provided for service group      host configuration protocol (DHCP ) messages between a
 management in a cable television network , substantially as DHCP server and the CMs 112 , - 1125; forwarding of time of




                                                            APPX122
        Case: 23-136                     Document: 2-2                   Page: 145               Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-7 Filed 04/27/22 Page 12 of 15 PageID #: 103


                                                      US 10 ,135 ,682 B2
 day messages between a time of day server and the CMs then interpolation may be used for determining the SNR of
 112 , - 1125; directing traffic between the CMs 112,- 1125 subcarriers on which the message 202 was not sent.
 other network devices ( e.g ., Ethernet interfaces of the CMTS   The message 202 may be transmitted with such encoding,
 102 may face the Internet, Optical RF interfaces of the modulation , and transmit power such that even a CM 112x
 CMTS 102 may face the CMs, and the CMTS may direct 5 with a worst-case performance metric (s ) can receive the
 traffic between and among the Ethernet and Optical RF message and accurately measure the metric(s ). In this
 interfaces ); and managing registration of the CMs 112 - 1125 regard , FIG . 2B shows a SNR versus frequency graph for an
 to grant the cable modems network (e .g., Internet ) access. example HFC network that uses eight channels/subcarriers.
  The registration process for a CM 112x ( X between 1 and 5 The line 222 in FIG . 2B represents a composite worst -case
 for the example network of FIG . 1 ) may comprise the CM " SNR profile for one or more CM (s ) in the HFC network to
 112 sending a registration request along with its configura which the message 202 is destined . For example , line 222
 tion settings , and the CMTS 102 accepting or rejecting the may be a SNR profile for a single CM 112x to which the
 cable modem based on the configuration settings . The reg -          message 202 is to be unicast. As another example , the line
 istration process may additionally comprise an exchange of 16 222 may be a composite worst -case SNR profile for a
 security keys, certificates , or other authentication informa plurality of CMs 112 of a particular service group to which
 tion .                                                         the message 202 is to be multicast. As another example , the
    The fiber node 104 may comprise circuitry operable to line 222 may be a composite worst-case SNR profile for all
 convert between optical signals conveyed via the fiber optic CMsofan HFC network handled by the CMTS 102 to which
 cable 103 and electrical signals conveyed via coaxial cable 20 the message 202 is to be broadcast. The message 202 may
 105 .                                                                be transmitted such that the minimum SNR needed to
   Each of the amplifiers 106 , - 106 , may comprise a bidi -         receive and accurately measure the SNR profile is below the
 rectional amplifier which may amplify downstream signals             line 222 (e.g ., SNR needed for receiving the message 202
 and upstream signals, where downstream signals are input             may be the line 224 ).
 via upstream interface 107a and output via downstream 25                Upon receipt of the message 202, a CM 112y may
 interface 107b , and upstream signals are input via down -           measure , over the channels / subbands on which the message
 stream interface 107b and output via upstream interface              was sent, one or more metrics ( e. g ., SNR versus frequency
 107a . The amplifiers 106 , , which amplifies signals along the      profile ) for the transmission 202 . The CM 112 y may then
 main coaxial " trunk ” may be referred to as a " trunk ampli-        report the metrics ( s ) back to the CMTS 102 via a message
 fier .” The amplifiers 1062 and 1063 which amplify signals 30 204 . In an example implementation , the message 202 may
 along “ branches ” split off from the trunk may be referred to       contain information about when and /or how the CM (s ) are
 as " branch " or " distribution ” amplifiers .                       supposed to report their metric ( s) ( e. g ., SNR profiles) back
    The directional coupler 108 may comprise circuitry oper -         to the CMTS 102. In this regard , the message 202 may
 able to direct downstream traffic incident on interface 109a         contain information that is the same as and /or or analogous
 onto interfaces 109 and 109c, and to direct upstream traffic 35 to what may be found in a MAP, UCD , and/ or other MAC
 incident on interfaces 1096 and 109c onto interface 109a .           management message defined in a DOCSIS standard .
 The directional coupler 108 may be a passive device .                Accordingly , the message 202 may have specified a format
   Each of the splitters 110 , - 1103 may comprise circuitryof the message 204 and that the message 204 is to be
 operable to output signals incident on each of its interfaces
                                                            transmitted at time T + O .
 onto each of its other interfaces. Each of the splitters 40 Once the metric ( s ) of one or more CMs are known to the
 110 , - 110 , may be a passive device.                     CMTS 102 , physical layer communication parameters to be
    Each of the cable modems (CMs) 112 , - 112 , may com -            used for communications between the CMTS 102 and the
 prise circuitry operable to communicate with , and beman           CMs 112 may be determined based on themetric (s ). In this
 aged by , the CMTS 1102 in accordance with one or more             regard , physical layer communication parameters may be
 standards ( e . g., DOCSIS ). Each of the CMs 112 , - 112 , may 45 determined per -CM based on each CM 's respective
 reside at the premises of a cable subscriber.                      metric (s ) ( e. g., each CM 's SNR profile ), per -service - group
    The components ( including, fiber optic cables, coaxial based on a composite metric ( s ) of the CM ( s ) assigned to that
 cables, amplifiers, directional couplers, splitters , and /or service group (e .g ., composite SNR profile for the CM (s ) of
 other devices ) between the CMTS and the CMs may be that service group ), per physical region of the HFC network
 referred to as a hybrid fiber coaxial (HFC ) network . Any of 50 based on a composite metric of the CMs located in that
 the amplifiers , directional coupler, and splitters may be physical region (e .g., composite SNR profile for the CM (s )
 referred to generically as a coupling device .                      in that physical region ), and /or the like . Furthermore , once
    FIG . 2A depicts an example method of determining the metric (s ) of a CM 112x is determined , the CMTS 102
 locations of CMswithin the HFC network . As shown in FIG . may assign that CM 112x to one or more service groups
 2A , to determine one or more measured performance 55 based on its metric (s ), as , for example , described below with
 metric ( s ) ( e . g ., an SNR - related metric such as SNR at a     reference to FIG . 4A . Example physical layer parameters
 particular frequency or SNR over a range of frequencies (an          include: encoding parameters, modulation parameters, trans
 SNR profile ), noise levels, strength of desired signals, and /or    mit power, receive sensitivity , timeslot duration, channel(s )
 the like) for any particular CM 112x , the CMTS 102 may             o r subcarrier (s ) on which to listen , channel( s ) or sub
 transmit , at time 1 , a message 202 that is destined (unicast, 60 carrier ( s ) on which to transmit, and / or the like. Example
 multicast, or broadcast ) for the CM 112 y and that functions      encoding parameters include : type of forward error correc
 as a probe to enable determination of the metric ( s ) for the       tion (FEC ) to be used ( e . g., Reed - Solomon , LDPC , etc .),
 CM 112x . The message 202 may be sent on multiple FEC block size , FEC code rate, etc . Example modulation
 channels spanning multiple frequencies . Similarly , where parameters include: type ofmodulation (e . g ., frequency shift
 OFDM is used for communications between the CMTS 102 65 keying (FSK ), phase shift keying (PSK ), quadrature ampli
 and the CM 112 y, the message 202 may be transmitted on      tude modulation (QAM ), etc .), modulation depth , modula
 each subcarrier,ormay be sent on a subset of subcarriers and tion order, etc .




                                                      APPX123
        Case: 23-136                    Document: 2-2                   Page: 146                Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-7 Filed 04/27/22 Page 13 of 15 PageID #: 104


                                                      US 10 ,135 ,682 B2
     In an example implementation, the transmission of mes        on channel z while the second service group consisting of
 sages 202 , the calculation of metrics, such as SNR profile ,    1122 and 1122 uses 16 - QAM on channel z .
 by the CM (s), the transmission 204 , and subsequent               In block 310, communications between the CMTS 102
  configuration of physical layer parameters based on the and any particular service group use the per -service - group
 metric ( s ) may take place in parallel with other operations 5 and per - subcarrier / channel physical layer parameters deter
 performed during the registration /ranging process .            mined in block 308.
    Referring now to FIG . 2C , there is again shown the line       FIG . 3B is a flowchart illustrating an example process for
 222 which represents the applicable SNR profile (e .g ., an          configuring a cable /DOCSIS HFC network based on loca
 individual SNR profile if configuring physical layer param -         tion of CMs within the network . For clarity of illustration ,
 eters per CM , a composite SNR profile for a service group 10 and as a non -limiting example, the process is described with
 if configuring physical layer parameters per service group , reference to the network of FIG . 1 and the messages of FIG .
 or a composite SNR profile for a particular physical region ). 2B . The process begins with block 322 in which the CMTS
 Also shown is a line 226 corresponding to SNR utilization 102 determines a location of each of the CMs 112 , - 112 , in
 for communications with the CM (s ) associated with the the network . Location of a CM 112 y may be characterized in
 profile 222 . Assuming the distance 228 is the minimum 15 a variety of ways including, for example: total distance of
 desired headroom , then the physical layer communication                 fiber and /or coaxial cable between the CMTS 102 and the
 parameters resulting in line 226 are nearly optimal in the CM 112 y , total attenuation between the CMTS 102 and the
 sense that there is minimal headroom on each of channels /              CM 112 y , which trunk amplifier ( s ) are upstream of the CM
 subbands 1 , 3 , 4 , 6 , 7 , 8 , and only slightly more than minimal    112 x , how many coupling elements ( amplifiers , splitters ,
 headroom on channels /subbands 2 and 5 .                             20 directional couplers , etc .) are between the CMTS 102 and
    Physical layer parameters may be configured /coordinated             the CM 112 y, GPS coordinates, and street address. In block
 using upstream and/or downstream MAP messages, 324 , the CMTS 102 assigns the CMs 112 , - 1125 to service
 upstream channel descriptors (UCDs), other MAC manage -              groups based on their determined locations . Blocks 326 and
 ment messages defined in DOCSIS protocols , and/ or pur-       328 are substantially similar to blocks 308 and 310 , respec
 pose -specific messages tailored to configuring the param - 25 tively , of FIG . 3A .
 eters based on measured performance metrics such as SNR                 The locations of the CMs 112 , - 112 , may be determined
 profiles as described in this disclosure .                           by, for example , transmitting sounding signals into the
    FIG . 3A is a flowchart illustrating an example process for       network . In order to characterize the channel with more
 configuring a cable /DOCSIS HFC network based on SNR                 precision , the channel sounding signal may be sent repeat
 profiles. For clarity of illustration the process is described 30 edly over an interval of time and the CMs may average
 with reference to the network of FIG . 1 and the messages of         multiple measurements over the time interval until they can
 FIG . 2A . The process begins with block 302 in which the            resolve identifying characteristics in the signal which indi
 CMTS 102 sends one or more probe messages 202 to the                 cate , for example , how many branch amplifiers and /or other
 CMs 112 , - 112 . In block 304 , each of the CMs 112 , - 112         coupling elements that the signal traveled through to reach
 determines its respective SNR profile based on a received 35 the CM . In another example implementation , the CMTS
 one of the messages 202 , and reports the SNR profile back   may communicate with a server that stores subscriber infor
 to the CMTS 102 in the form of a message 204. In block 306 , mation that associates the CMs with their geographic loca
 the CMTS 102 assigns the CMs to service groups based on      tion ( e . g ., street address ).
 the SNR profiles.                                              While FIGS. 3A and 3B depict SNR profiles and location
    In block 308 , physical layer communication parameters 40 as two separate bases on which to assign CMs to service
 are determined per service group and per channel/ subcarrier.        groups , the two may be used in combination .
 For example, for any particular service group , the modula -           FIGS. 4A and 4B illustrate the network of FIG . 1, with
 tion order and FEC code rate to be used on a particular              different groupings of CMs based on one or both of: mea
 subcarrier may be determined based on the worst case SNR             sured performance metric (s ) and location within the HFC
 for that subcarrier among the CMs in that particular service 45 network .
 group . Thus, it can be seen that grouping CMsbased on SNR              In the example of FIG . 4A , CMs 112 , 1124, and 112 , are
 profiles may enable configuring physical layer communica -           assigned to service group 402 and CMs 112 , and 112 , are
 tions parameters to such that one or more communication              assigned to service group 404 . The assignment of FIG . 4A
 parameters (throughput, reliability , etc . ) is optimal, or near - may result from , for example, assigning CMs based on the
 optimal, for all of the CMs in the service group . For 50 number of coupling elements between the CMTS 102 and
 example , without such grouping by SNR profile , one CM in          the CMs — four each for CMs 112 , 1122, and 112s; five each
 a particular service group may have substantially lower SNR          for CMs 1122 and 1123 . The number of coupling elements
 on one or more channels / subcarriers . As a result , all CMs in     may be determined based on , for example , measured per
 that particular service group may be forced to use physical          formance metrics ( e. g ., SNR profile ) of the CMs and /or
 layer parameters supported by this " lowest common 55 address orGPS information associated with the CMs. Alter
 denominator " CM . This may result in a lot of wasted natively , the assignment of FIG . 3A may result from , for
 capacity for the remaining CMs.                       example , assigning the CMs to service groups based directly
    To illustrate with a specific example : assume that CMS           on their respective measured performance metric ( s ) (e . g .,
 112 , 1124, and 112 of FIG . 1 have sufficient SNR on                the extra device in the path between CMTS 102 and CMS
 channel z to support 64 -QAM on channel z , but that CMS 60 1112 and 1123 may cause CMs 1122 and 1123 to have
 1122 and 1122 only have sufficient SNR on channel z to significantly poorer SNR ).
 support 16 -QAM . If 112 , is assigned to the same service       In the example of FIG . 4B , CMs 112 , , 112 , and 112 , are
 group as 1122 or 1123, then 112 , may be forced to use assigned to service group 406 and CMs 1124 and 1125 are
  16 -QAM on channel z . Conversely , if 112 , 1124, and 1125 assigned to service group 408 . The assignment of FIG . 4B
 are assigned to a first service group and 1122 and 1123 are 65 may result from , for example , assigning CMs based on
 assigned to a second service group , then the first service which trunk amplifiers are downstream of the CMs. Alter
 group consisting of 1121, 1124, and 1125 can use 64 -QAM natively, the assignment of FIG . 3A may result from , for




                                                      APPX124
       Case: 23-136                   Document: 2-2                    Page: 147               Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-7 Filed 04/27/22 Page 14 of 15 PageID #: 105


                                                    US 10 , 135 ,682 B2
 example , assigning the CMs to service groups based directly          What is claimed is:
 on their respective measured performance metric (s ) (e . g .,        1. A method comprising :
 the distance between CMTS 102 and CMs 1124 and 1125                   determining , by a cable modem termination system
 may be substantially greater than the distance between the               ( CMTS ), for each cable modem served by said CMTS,
 CMTS 102 and the CMs 1121, 1122, and 1123, thus resulting 5              a corresponding signal- to - noise ratio (SNR ) related
 in poorer SNR in CMs 1124 and 1125 ).                                    metric ;
    Grouping CMs according to which trunk or distribution               assigning, by said CMTS, each cable modem among a
 amplifiers are upstream of them may enable duty cycling                 plurality of service groups based on a respective cor
 power branch and / or distribution amplifiers . For example ,           responding SNR -related metric;
 when a CM in service group 406 is the talker , the upstream 10        generating, by said CMTS for each one of said plurality
 path through amplifier 1062 may be disabled such thatnoise              of service groups, a composite SNR - related metric
  from group 408 does not interfere with transmissions from              based at least in part on a worst- case SNR profile of
 the talker of service group 406 . Grouping CMs according to              said SNR -related metrics corresponding to said one of
 which trunk or distribution amplifier(s ) serve( s) them may             said plurality of service groups ;
 enable using more efficient physical layer parameters . For 15
 example , where there is a relatively long distance of cable          selecting , by said CMTS , one or more physical layer
 between amplifier 106 , and 106 , but relatively short distance          communication parameter to be used for communicat
 of cable between amplifiers 106 , and 1063, grouping the                 ing with said one of said plurality of service groups
 CMs by geography /distance to the CMTS may enable a                      based on said composite SNR -related metric; and
 lower transmit power to be used by the CMTS 102 when 20               communicating , by said CMTS , with one or more cable
 talking to service group 406 as compared to when talking to             modems corresponding to said one of said plurality of
 service group 408 .                                                      service groups using said selected one or more physical
    Other embodiments of the invention may provide a non                  layer communication parameter .
 transitory computer readable medium and /or storage               2 . The method of claim 1 , wherein said one or more
 medium , and/ or a non - transitory machine readable medium 25 physical layer communication parameter includes one or
 and/ or storage medium , having stored thereon , a machine          more of: transmit power, receive sensitivity, timeslot dura
 code and / or a computer program having at least one code           tion , modulation type , modulation order, forward error cor
 section executable by a machine and /or a computer, thereby         rection (FEC ) type , and FEC code rate .
 causing the machine and / or computer to perform processes             3 . The method of claim 1 , wherein said CMTS uses
 described .
    Accordingly , the present invention may be realized in u orthogonal
                                                             plurality of
                                                                          frequency division multiplexing (OFDM ) over a
                                                                           subcarriers for said communicating .
 hardware , software, or a combination of hardware and          4 . The method of claim 3 , comprising selecting , by said
 software . The present invention may be realized in a cen
 tralized fashion in at least one computing system , or in a CMTS , said one or more physical layer communication
                                                    read 3535 par
                                                              parameter on a per -OFDM -subcarrier basis.
 distributed fashion where different elements are spread         5 . The method of claim 4 , wherein said one or more
 across several interconnected computing systems. Any kind           physical layer communication parameter includes one or
 of computing system or other apparatus adapted for carrying
 out the methods described herein is suited . A typical com          both of: which of said OFDM subcarriers to use for trans
 bination ofhardware and software may be a general-purpose mission to said CMTS , and which of said OFDM subcarriers
 computing system with a program or other code that, when 40 to use for reception of information from said CMTS .
 being loaded and executed , controls the computing system      6 . The method of claim 1 , wherein :
 such that it carries out the methods described herein .        said plurality of service groups comprises a first service
  Another typical implementation may comprise an applica            group and a second service group ;
 tion specific integrated circuit or chip .                             said first service group has a first composite SNR versus
    The present invention may also be embedded in a com - 45               frequency profile , said second service group has a
 puter program product, which comprises all the features                   second composite SNR versus frequency profile , and a
 enabling the implementation of the methods described                      particular cable modem has a particular SNR versus
 herein , and which when loaded in a computer system is able               frequency profile ; and
 to carry out these methods. Computer program in thepresent             said assigning said each cable modem among said plu
 context means any expression, in any language , code or 50               rality of service groups comprises, for the particular
 notation , of a set of instructions intended to cause a system           cable modem :
 having an information processing capability to perform a                 assigning said particular cable modem to said first
 particular function either directly or after either or both of             service group if said particular SNR versus fre
 the following : a ) conversion to another language, code or                quency profile is more similar to said first composite
 notation ; b ) reproduction in a different material form .  55             SNR versus frequency profile than to said second
    While the present invention has been described with                      composite SNR versus frequency profile; and
 reference to certain embodiments , it will be understood by              assigning said particular cable modem to said second
 those skilled in the art that various changes may be made and               service group if said particular SNR versus fre
 equivalents may be substituted without departing from the                   quency profile is more similar to said second com
 scope of the present invention . In addition , many modifica - 60          posite SNR versus frequency profile than to said first
 tions may be made to adapt a particular situation or material               composite SNR versus frequency profile .
 to the teachings of the present invention without departing           7 . The method of claim 1 , comprising assigning said cable
 from its scope . Therefore, it is intended that the present         modems among said plurality of service groups based on
 invention not be limited to the particular embodiment dis - respective distances between said CMTS and said cable
 closed , but that the present invention will include all 65 modems
 embodiments falling within the scope of the appended                   8 . The method of claim 1, comprising assigning any
 claims.                                                             particular one of said cable modems to one of said plurality




                                                    APPX125
       Case: 23-136                   Document: 2-2                  Page: 148               Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-7 Filed 04/27/22 Page 15 of 15 PageID #: 106


                                                   US 10 , 135 ,682 B2
                                                                                                 10
 of service groups based on which one or more of a plurality       physical layer communication parameters are configurable
 of branch amplifiers are upstream of said one of said             on a per-OFDM - subcarrier basis.
 plurality of cable modems.                                           14. The system of claim 12 , wherein said one or more
    9 . The method of claim 1, wherein said determining said       physical layer communication parameter includes one or
 plurality of SNR -related metrics comprises:                    5 both of: which of said OFDM subcarriers to use for trans
    transmitting a probe message to each cable modem , said        mission to said CMTS , and which of said OFDM subcarriers
      probe message comprising instructions for measuring a        to use for reception of information from said CMTS .
      metric and reporting said measured metric back to said          15 . The system of claim 10 , wherein :
      CMTS ; and                                                     said plurality of service groups comprises a first service
    receiving a metric reporting message from each cable 10             group and a second service group ;
      modem .                                                        said first service group has a first composite SNR versus
    10 . A system comprising :
    circuitry for use in a cable modem termination system               frequency profile , said second service group has a
       (CMTS ), said circuitry comprising a network interface           second composite SNR versus frequency profile, and a
       and a processor wherein :                              15        particular cable modem has a particular SNR versus
    said processor is configured to determine , for each cable          frequency profile;
      modem served by said CMTS , a corresponding signal             said assignment of said each cable modem among said
      to -noise ratio (SNR ) related metric ;                           plurality of service groups comprises , for the particular
    said processor is configured to assign each of said cable           cable modem :
      modems among a plurality of service groups based on 20            assignment of said particular cable modem to said first
       a respective corresponding SNR - related metric ;                   service group if said particular SNR versus fre
    said processor is configured to generate , for each one of            quency profile is more similar to said first composite
       said plurality of service groups, a composite SNR                  SNR versus frequency profile than to said second
                                                                          composite SNR versus frequency profile ; and
      related metric based at least in part on a worst-case              assignment of said particular cable modem to said
      SNR profile of said SNR - related metrics corresponding 25
      to said one of said plurality of service groups;                     second service group if said particular SNR versus
    said processor is configured to select one or more physical            frequency profile is more similar to said second
                                                                           composite SNR versus frequency profile than to said
      layer communication parameter to be used for commu                   first composite SNR versus frequency profile .
      nicating with said one of said plurality of service
      groups based on said composite SNR -related metric ; 30 16 . The system of claim 10 , wherein said processor is
      and                                                          configured to assign said cable modems among said plurality
   said network interface is configured to communicate with of       service groups based on respective distances between said
      one or more cable modems corresponding to said one CMTS               and said cable modems.
                                                                      17 . The system of claim 10 , wherein said processor is
      of said plurality of service groups using the one or more 35 configured   to assign each of said cable modems among said
      selected physical layer communication parameter . 35         plurality of service groups based on one or more branch
    11 . The system of claim 10 , wherein said one or more         amplifier that serves said each of said cable modems.
 physical layer communication parameter includes one or              18 . The system of claim 10 , wherein said determination of
 more of: transmit power, receive sensitivity , timeslot dura
 tion , modulation type , modulation order, forward error cor     said plurality of SNR - related metrics comprises:
 rection (FEC ) type , and FEC code rate .                     40    transmission , via said network interface , of a probe mes
    12 . The system of claim 10 , wherein said network inter            sage to each cable modem , said probe message com
 face and said cable modems are configured to communicate               prising instructions for measuring a metric and report
 using orthogonal frequency division multiplexing (OFDM )               ing said measured metric back to said CMTS ; and
 over a plurality of subcarriers.                                    reception , via said network interface of said CMTS , of a
    13 . The system of claim 12 . wherein said network inter - 45      metric reporting message from each cable modem .
 face is configured such that at least one of said one ormore                            *   *   *    *   *




                                                   APPX126
    Case: 23-136     Document: 2-2     Page: 149    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-8 Filed 04/27/22 Page 1 of 5 PageID #: 107




                    EXHIBIT G




                             APPX127
                             Case 2:22-cv-00125-JRG Document 1-8 Filed 04/27/22 Page 2 of 5 PageID #: 108

                                                                 Exhibit G

                                                   Exemplary Chart for the ‘775 Patent
                                 Infringement of U.S. Patent No. 8,223,775 by Spectrum Accused Services

          #   U.S. Patent No. 8,223,775        Spectrum Accused Services
          18a A cable modem system The Accused Services are provided by the claimed cable modem system by utilizing, for
              comprising:                      example, at least one cable modem located at each subscriber location, including, for
                                                                                                                                       Case: 23-136




                                               example, the Spectrum PC20 and Arris SB6183, and products that operate in a similar
                                               manner. By way of example, the Spectrum PC20 is charted herein.
          18b a data networking engine The Spectrum PC20 includes a data networking engine implemented in a first circuit that
              implemented in a first circuit includes at least one processor, the data networking engine programmed with software
              that includes at least one that when executed by the at least one processor of the first circuit causes the data
              processor,      the       data networking engine to perform home networking functions including interfacing with
              networking              engine customer provided equipment.
                                                                                                                                       Document: 2-2




              programmed with software
              that when executed by the at Specifically, the Spectrum PC20 includes a Broadcom BCM3390 SoC.
              least one processor of the first
              circuit causes the data




APPX128
              networking engine to perform
              home networking functions
                                                                                                                                       Page: 150




              including interfacing with
              customer             provided
              equipment;
                                                                                                                                       Filed: 06/16/2023




                                                                 Page 1 of 4
                             Case 2:22-cv-00125-JRG Document 1-8 Filed 04/27/22 Page 3 of 5 PageID #: 109

                                                                 Exhibit G

          #    U.S. Patent No. 8,223,775      Spectrum Accused Services
                                                                                                                                        Case: 23-136
                                                                                                                                        Document: 2-2




APPX129
                                                                                                                                        Page: 151




                                             The Spectrum PC20, via the Broadcom BCM3390, has a dedicated cable modem CPU, a
                                             dedicated multi-threaded applications processor, and multiple hardware off-load engines.
                                             The multi-threaded applications processor implements a data networking engine. The data
                                             networking engine performs home networking functions including interfacing with
                                             customer provided equipment.
          18c a cable modem engine The Spectrum PC20 has a cable modem engine implemented in a second circuit that
                                                                                                                                        Filed: 06/16/2023




              implemented in a second includes at least one processor, the second circuit being separate from the first circuit, the
              circuit that includes at least cable modem engine programmed with software that when executed by the at least one


                                                                 Page 2 of 4
                            Case 2:22-cv-00125-JRG Document 1-8 Filed 04/27/22 Page 4 of 5 PageID #: 110

                                                                  Exhibit G

          #   U.S. Patent No. 8,223,775        Spectrum Accused Services
              one processor, the second        processor of the second circuit causes the cable modem engine to perform cable modem
              circuit being separate from      functions other than the home networking functions performed by the data networking
              the first circuit, the cable     engine, the cable modem functions including interfacing with cable media, and the cable
              modem engine programmed          modem engine configured to enable upgrades to its software in a manner that is
              with software that when          independent of upgrades to the software of the data networking engine, the cable modem
                                                                                                                                           Case: 23-136




              executed by the at least one     engine including a DOCSIS controller and a DOCSIS MAC processor, the DOCSIS MAC
              processor of the second          processor configured to process downstream PDU packets and forward the processed
              circuit causes the cable         packets directly to the data networking engine without the involvement of the DOCSIS
              modem engine to perform          controller in order to boost downstream throughput.
              cable modem functions other
              than the home networking         Specifically, the Spectrum PC20 has a dedicated cable modem CPU, a dedicated multi-
              functions performed by the       threaded applications processor, and multiple hardware off-load engines. The cable
                                                                                                                                           Document: 2-2




              data networking engine, the      modem CPU provides a cable modem engine. The cable modem CPU is separate from
              cable    modem       functions   the multi-threaded applications processor and the hardware off-load engines. Accordingly,
              including interfacing with       upgrades to the cable modem engine are independent of upgrades to the data networking
              cable media, and the cable       engine. The cable modem CPU implements the cable modem engine. Upon information




APPX130
              modem engine configured to       and belief, the cable modem engine includes a DOCSIS controller and a DOCSIS MAC
              enable upgrades to its           processor, the DOCSIS MAC processor configured to process downstream PDU packets
                                                                                                                                           Page: 152




              software in a manner that is     and forward the processed packets directly to the data networking engine without the
              independent of upgrades to       involvement of the DOCSIS controller in order to boost downstream throughput
              the software of the data
              networking engine, the cable
              modem engine including a
              DOCSIS controller and a
              DOCSIS MAC processor, the
              DOCSIS MAC processor
                                                                                                                                           Filed: 06/16/2023




              configured     to     process
              downstream PDU packets


                                                                  Page 3 of 4
                            Case 2:22-cv-00125-JRG Document 1-8 Filed 04/27/22 Page 5 of 5 PageID #: 111

                                                                 Exhibit G

          #   U.S. Patent No. 8,223,775       Spectrum Accused Services
              and forward the processed
              packets directly to the data
              networking engine without the
              involvement of the DOCSIS
              controller in order to boost
                                                                                                                                       Case: 23-136




              downstream throughput; and
          18d a data bus that connects the    The Spectrum PC20 has a data bus that connects the data networking engine to the cable
              data networking engine to the   modem engine, wherein the cable modem functions performed by the cable modem
              cable modem engine, wherein     engine are completely partitioned from the home networking functions performed by the
              the cable modem functions       data networking engine.
              performed by the cable
              modem         engine      are   Specifically, the Spectrum PC20 has a dedicated cable modem CPU, a dedicated multi-
                                                                                                                                       Document: 2-2




              completely partitioned from     threaded applications processor, and multiple hardware off-load engines. The multi-
              the      home      networking   threaded applications processor provides the data networking engine and the cable
              functions performed by the      modem CPU provides the cable modem engine. The cable modem CPU is separate from,
              data networking engine.         the multi-threaded applications processor. Accordingly, the cable modem functions




APPX131
                                              performed by the cable modem engine are completely partitioned from the home
                                              networking functions performed by the data networking engine. The cable modem CPU
                                                                                                                                       Page: 153




                                              communicates with the multi-threaded applications processor using a data bus.
                                              Accordingly, the data bus connects the data networking engine and the cable modem
                                              engine.

          19   A cable modem system as        In the Spectrum PC20, all DOCSIS functions are localized in the cable modem engine.
               claimed in claim 18, wherein
               all DOCSIS functions are       Specifically, the Spectrum PC20 includes a dedicated cable modem CPU, a dedicated
               localized in the cable modem   multi-threaded applications processor, and multiple hardware off-load engines. The
                                                                                                                                       Filed: 06/16/2023




               engine.                        DOCSIS functions are localized in the cable modem CPU.



                                                                 Page 4 of 4
    Case: 23-136     Document: 2-2     Page: 154    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-9 Filed 04/27/22 Page 1 of 6 PageID #: 112




                    EXHIBIT H




                             APPX132
                         Case 2:22-cv-00125-JRG Document 1-9 Filed 04/27/22 Page 2 of 6 PageID #: 113

                                                                Exhibit H

                                                Exemplary Chart for the ‘690 Patent
                              Infringement of U.S. Patent No. 8,284,690 by Spectrum Accused Services

          #      U.S. Patent No. 8,284,690               Spectrum Accused Services
          1pre   A method comprising:                    The Accused Services perform the claimed method utilizing, for example,
                                                         including a Cable Modem Termination System (“CMTS”) operated by
                                                                                                                                         Case: 23-136




                                                         Spectrum and at least one cable modem located at each subscriber
                                                         location, including, for example, the Spectrum PC20, and products that
                                                         operate in a similar manner. By way of example, the Spectrum PC20 is
                                                         charted herein.
          1a     a) receiving in a first node, a probe   The Accused Services include receiving in a first node, a probe request
                 request specifying a first plurality of specifying a first plurality of parameters associated with the generation and
                 parameters associated with the          transmission of a probe, wherein the first plurality of parameters at least
                                                                                                                                         Document: 2-2




                 generation and transmission of a        specify content payload of the probe and a second node.
                 probe, wherein the first plurality of
                 parameters at least specify content Specifically, the Spectrum PC20 samples and digitizes the entire 1GHz
                 payload of the probe and a second downstream spectrum of a cable plant and includes remote diagnostics




APPX133
                 node;                                   capabilities that provide real time, unobtrusive diagnostic and spectrum
                                                         analysis capabilities. These remote diagnostic capabilities include
                                                                                                                                         Page: 155




                                                         measuring statistics of the downstream spectrum. The Spectrum PC20
                                                         provides an agent that receives requests querying the performance of the
                                                         downstream spectrum from a second node. Upon information and belief,
                                                         the requests include the first plurality of parameters that at least specify
                                                         content payload of the probe and the second node. For example, in a
                                                         deployed system, the first node may be a cable modem and the second
                                                         node may be a CMTS.
          1b     b) determining a second plurality of The Spectrum PC20 determines a second plurality of parameters
                                                                                                                                         Filed: 06/16/2023




                 parameters       associated        with associated with generation and transmission of the probe.



                                                                Page 1 of 5
                       Case 2:22-cv-00125-JRG Document 1-9 Filed 04/27/22 Page 3 of 6 PageID #: 114

                                                              Exhibit H

          #    U.S. Patent No. 8,284,690              Spectrum Accused Services
               generation and transmission of the Specifically, the Spectrum PC20 determines information responsive to the
               probe;                                 received request based on the measured statistics of the downstream
                                                      spectrum. Upon information and belief, the information includes a second
                                                      plurality of parameters associated with the generation and transmission of
                                                      the probe.
                                                                                                                                    Case: 23-136




          1c   c) generating the probe in The Spectrum PC20 generates the probe in accordance with the first
               accordance with the first plurality of plurality of parameters and the second plurality of parameters, wherein the
               parameters and the second plurality probe has a form dictated by the first plurality of parameters.
               of parameters, wherein the probe
               has a form dictated by the first Specifically, the Spectrum PC20 generates a message responsive to the
               plurality of parameters; and           received request, the message indicating the responsive information and
                                                      having a particular form determined by the request.
                                                                                                                                    Document: 2-2




          1d   d) transmitting the probe from the The Spectrum PC20 transmits the probe from the first node to the second
               first node to the second node.         node.

                                                      Specifically, the Spectrum PC20 transmits the message to the second




APPX134
                                                      node using its agent.
                                                                                                                                    Page: 156




          7    The method of claim 1, wherein the The probe request requests a probe that assists in diagnosing a network
               probe request requests a probe that problem.
               assists in diagnosing a network
               problem.                            Specifically, the Spectrum PC20 includes remote diagnostics capabilities
                                                   that provide real time, unobtrusive diagnostic and spectrum analysis
                                                   capabilities related to diagnosing network problems. Upon information and
                                                   belief, Spectrum utilizes these remote diagnostic capabilities to assist in
                                                   diagnosing a network problem.
                                                                                                                                    Filed: 06/16/2023




                                                             Page 2 of 5
                         Case 2:22-cv-00125-JRG Document 1-9 Filed 04/27/22 Page 4 of 6 PageID #: 115

                                                              Exhibit H

          #      U.S. Patent No. 8,284,690             Spectrum Accused Services
          8      The method of claim 7, wherein the    The probe request is generated by a network operator and uploaded to
                 probe request is generated by a       the second node.
                 network operator and uploaded to
                 the second node.                      Specifically, a collector server operated by Spectrum provides the probe
                                                       request to the second node.
                                                                                                                                   Case: 23-136




          9pre   A method comprising:                  The Accused Services perform the claimed method utilizing, for example,
                                                       including a Cable Modem Termination System (“CMTS”) operated by
                                                       Spectrum and at least one cable modem located at each subscriber
                                                       location, including, for example, the Spectrum PC20, and products that
                                                       operate in a similar manner. By way of example, the Arris E6000 CMTS is
                                                       charted herein.
                                                                                                                                   Document: 2-2




          9a     a) a first node transmitting a probe  The Spectrum Services include a first node transmitting a probe request
                 request to a second node, the probe   to a second node, the probe request specifying a first plurality of probe
                                                       parameters for a physical layer probe, the first plurality of probe
                 request specifying a first plurality of
                 probe parameters for a physical layer parameters comprising a form for the probe including a modulation profile




APPX135
                 probe, the first plurality of probe   for the probe.
                                                                                                                                   Page: 157




                 parameters comprising a form for the
                 probe including a modulation profile Specifically, the Arris E6000 provides a set of SNMP (Simple Network
                 for the probe;                          Management Protocol) variables supported by the Arris E6000 known
                                                         collectively as the MIB (Management Information Base). The MIBs
                                                         includes support for per modem/per upstream channel stats, RCC
                                                         definitions, per MAC event handling, per modem event handling and
                                                         counts, and per modem impairment reporting. The Arris E6000 transmits,
                                                         to cable modems, requests specifying parameters as defined in the MIBs.
                                                         The requests have a modulation profile. For example, in a deployed
                                                                                                                                   Filed: 06/16/2023




                                                         system, the first node may be at least a CMTS and the second node may
                                                         be a cable modem.


                                                              Page 3 of 5
                         Case 2:22-cv-00125-JRG Document 1-9 Filed 04/27/22 Page 5 of 6 PageID #: 116

                                                                 Exhibit H

          #      U.S. Patent No. 8,284,690                Spectrum Accused Services
          9b     b) the first node receiving the probe    The Arris E6000 receives the probe from the second node, wherein the
                 from the second node, wherein the        probe is generated in accordance with the first plurality of parameters and
                 probe is generated in accordance         in accordance with a second plurality of parameters determined by the
                 with the first plurality of parameters   second node.
                 and in accordance with a second
                                                                                                                                        Case: 23-136




                 plurality of parameters determined       Specifically, the Arris E6000 receives, from the cable modems, messages
                 by the second node.                      responsive to the requests. The message includes data relevant to the
                                                          request and generated based on the MIBs.

          11pre The method of claim 9, further            See 9pre.
                comprising:
          11a   a) the first node transmitting a          See 9a.
                                                                                                                                        Document: 2-2




                second probe request to a third
                node;
          11b   b) and the first node receiving a         See 9b.
                second probe from the third node,




APPX136
                wherein the second probe is
                                                                                                                                        Page: 158




                generated according to the second
                probe request; and
          11d   wherein the first probe and second        The first probe and second probe are transmitted simultaneously using
                probe         are        transmitted      OFDMA.
                simultaneously using OFDMA.

          15     The method of claim 9, wherein the The probe request is configured to diagnose a network problem.
                 probe request is configured to
                                                                                                                                        Filed: 06/16/2023




                 diagnose a network problem.        Upon information and belief, Spectrum utilizes these remote diagnostic
                                                    capabilities to assist in diagnosing a network problem. For example, the
                                                    MIBs may include support for per modem/per upstream channel stats,


                                                                 Page 4 of 5
                      Case 2:22-cv-00125-JRG Document 1-9 Filed 04/27/22 Page 6 of 6 PageID #: 117

                                                          Exhibit H

          #    U.S. Patent No. 8,284,690           Spectrum Accused Services
                                                   RCC definitions, per MAC event handling, per modem event handling and
                                                   counts, and per modem impairment reporting, which can be used to
                                                   diagnose a network problem.

          16   The method of claim 15, wherein the The probe request is generated by a network operator and uploaded to
                                                                                                                           Case: 23-136




               probe request is generated by a the first node.
               network operator and uploaded to
               the first node.                     Specifically, a collector server operated by Spectrum can provide the
                                                   probe request to the first node.
                                                                                                                           Document: 2-2




APPX137
                                                                                                                           Page: 159
                                                                                                                           Filed: 06/16/2023




                                                          Page 5 of 5
     Case: 23-136     Document: 2-2     Page: 160    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-10 Filed 04/27/22 Page 1 of 7 PageID #: 118




                      EXHIBIT I




                              APPX138
                             Case 2:22-cv-00125-JRG Document 1-10 Filed 04/27/22 Page 2 of 7 PageID #: 119

                                                                     Exhibit I

                                                    Exemplary Chart for the ‘008 Patent
                                  Infringement of U.S. Patent No. 8,792,008 by Spectrum Accused Services

          #  U.S. Patent No. 8,792,008             Spectrum Accused Services
          1a 1. A system comprising:               The Accused Services are provided by the claimed system by utilizing, for example, the
                                                   Accused Set Top Products, which include at least one set top box (“STB”) located at
                                                                                                                                              Case: 23-136




                                                   each subscriber location, including, for example, the Spectrum 100-series STBs, Spec-
                                                   trum 200-series STBs, Spectrum 101-series STBs, Spectrum 201-series STBs, Spec-
                                                   trum 110-series STBs, Spectrum 210-series STBs, the Arris DCX3600 STB, and prod-
                                                   ucts that operate in a similar manner. By way of example, the Spectrum 210 (specifically
                                                   the Spectrum 210-T) is charted herein.
          1b an analog-to-digital converter op- The Spectrum 210 has an analog-to-digital converter operable to digitize a received
             erable to digitize a received sig- signal spanning an entire television spectrum comprising a plurality of television
                                                                                                                                              Document: 2-2




             nal spanning an entire television channels, said digitization resulting in a digitized signal.
             spectrum comprising a plurality
             of television channels, said digit- Specifically, the Spectrum 210 has an analog to digital converter:
             ization resulting in a digitized sig-




APPX139
             nal;
                                                                                                                                              Page: 161
                                                                                                                                              Filed: 06/16/2023




                                                                    Page 1 of 6
                            Case 2:22-cv-00125-JRG Document 1-10 Filed 04/27/22 Page 3 of 7 PageID #: 120

                                                                Exhibit I
                                                                                                                                          Case: 23-136
                                                                                                                                          Document: 2-2




APPX140
                                                                                                                                          Page: 162




                                             The Spectrum 210 receives the entire 1GHz downstream spectrum of a Spectrum cable
                                             plant. The 1 GHz cable spectrum includes a plurality of television channels. The
                                             Spectrum 210 digitizes the entire received signal; the digitization results in a digitized
                                             signal.
          1c a signal monitor operable to:   The Spectrum 210 has a signal monitor:
                                                                                                                                          Filed: 06/16/2023




                                                               Page 2 of 6
                             Case 2:22-cv-00125-JRG Document 1-10 Filed 04/27/22 Page 4 of 7 PageID #: 121

                                                                    Exhibit I
                                                                                                                                            Case: 23-136
                                                                                                                                            Document: 2-2




APPX141
          1d analyze said digitized signal to The Spectrum 210 analyzes said digitized signal to determine a characteristic of said
                                                                                                                                            Page: 163




             determine a characteristic of said digitized signal.
             digitized signal; and
                                                Specifically, the Spectrum 210 includes remote diagnostics capabilities that provide real
                                                time, unobtrusive diagnostic and spectrum analysis capabilities. Upon information and
                                                belief, the Spectrum 210 analyzes, using the signal monitor, said digitized signal to
                                                determine a characteristic of said digitized signal.
          1e report said determined charac- The Spectrum 210 reports said determined characteristic to a source of said received
             teristic to a source of said re- signal.
                                                                                                                                            Filed: 06/16/2023




             ceived signal;




                                                                   Page 3 of 6
                             Case 2:22-cv-00125-JRG Document 1-10 Filed 04/27/22 Page 5 of 7 PageID #: 122

                                                                     Exhibit I

                                                  Specifically, the Spectrum 210 includes remote diagnostics capabilities that provide real
                                                  time, unobtrusive diagnostic and spectrum analysis capabilities. Upon information and
                                                  belief, the Spectrum 210 reports said determined characteristic to a source of said
                                                  received signal.
          1f   a data processor operable to pro- The Spectrum 210 has a data processor operable to process a television channel to
               cess a television channel to re- recover content carried on the television channel:
                                                                                                                                                Case: 23-136




               cover content carried on the tele-
               vision channel; and
                                                                                                                                                Document: 2-2




APPX142
                                                                                                                                                Page: 164




                                                  Specifically, in the Spectrum 210, each digitally tuned television channel is provided to a
                                                  digital demodulator that outputs a transport stream for use in broadcast services.
                                                                                                                                                Filed: 06/16/2023




          1g a channelizer operable to:           The Spectrum 210 has a channelizer:




                                                                    Page 4 of 6
                              Case 2:22-cv-00125-JRG Document 1-10 Filed 04/27/22 Page 6 of 7 PageID #: 123

                                                                       Exhibit I
                                                                                                                                                  Case: 23-136
                                                                                                                                                  Document: 2-2




APPX143
          1h select a first portion of said digit- The Spectrum 210 selects a first portion of said digitized signal.
                                                                                                                                                  Page: 165




             ized signal;
                                                   Specifically, the Spectrum 210 includes advanced signal processing techniques that can
                                                   be used to digitally tune multiple channels simultaneously, including selecting a first por-
                                                   tion of said digitized signal.
          1i select a second portion of said The Spectrum 210 selects a second portion of said digitized signal.
             digitized signal; and
                                                   Specifically, the Spectrum 210 includes advanced signal processing techniques that can
                                                   be used to digitally tune multiple channels simultaneously, including selecting a second
                                                                                                                                                  Filed: 06/16/2023




                                                   portion of said digitized signal.




                                                                      Page 5 of 6
                              Case 2:22-cv-00125-JRG Document 1-10 Filed 04/27/22 Page 7 of 7 PageID #: 124

                                                                         Exhibit I

          1j   concurrently output said first por-   The Spectrum 210 concurrently outputs said first portion of said digitized signal to said
               tion of said digitized signal to      signal monitor and said second portion of said digitized signal to said data processor.
               said signal monitor and said sec-
               ond portion of said digitized sig-    Specifically, the Spectrum 210 includes remote diagnostics capabilities that provide real
               nal to said data processor.           time, unobtrusive diagnostic and spectrum analysis capabilities without affecting user
                                                     service on any downstream channels. As described above, the first portion of said digit-
                                                                                                                                                     Case: 23-136




                                                     ized signal is output to said signal monitor and said second portion of said digitized signal
                                                     is output to said data processor. Accordingly, the Spectrum 210 concurrently outputs
                                                     said first portion of said digitized signal to said signal monitor and said second portion of
                                                     said digitized signal to said data processor.

          2    2. The system of claim 1, See 1h.
               wherein said first portion of said
                                                                                                                                                     Document: 2-2




               digitized signal spans said entire
               television spectrum.




APPX144
                                                                                                                                                     Page: 166
                                                                                                                                                     Filed: 06/16/2023




                                                                        Page 6 of 6
     Case: 23-136     Document: 2-2     Page: 167    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-11 Filed 04/27/22 Page 1 of 3 PageID #: 125




                      EXHIBIT J




                              APPX145
                              Case 2:22-cv-00125-JRG Document 1-11 Filed 04/27/22 Page 2 of 3 PageID #: 126

                                                                      Exhibit J

                                                     Exemplary Chart for the ‘362 Patent
                                   Infringement of U.S. Patent No. 9,210,362 by Spectrum Accused Services

          #   U.S. Patent No. 9,210,362           Spectrum Accused Services
          11a A method comprising:                The Accused Services perform the claimed method utilizing, for example, the Accused
                                                  Set Top Products, which include at least one set top box (“STB”) located at each sub-
                                                                                                                                                 Case: 23-136




                                                  scriber location, including, for example, the Spectrum 100-series STBs, Spectrum 200-
                                                  series STBs, Spectrum 101-series STBs, Spectrum 201-series STBs, Spectrum 110-
                                                  series STBs, Spectrum 210-series STBs, the Arris DCX3600 STB, and products that
                                                  operate in a similar manner. By way of example, the Spectrum 210 (specifically the
                                                  Spectrum 210-T) is charted herein.
          11b in a wideband receiver system: The Spectrum 210 is a wideband receiver system.
          11c downconverting, by a mixer The Spectrum 210 downconverts, by a mixer module of said wideband receiver system,
                                                                                                                                                 Document: 2-2




              module of said wideband re- a plurality of frequencies that comprises a plurality of desired television channels and a
              ceiver system, a plurality of fre- plurality of undesired television channels.
              quencies that comprises a plu-
              rality of desired television chan- Specifically, the Spectrum 210 includes advanced signal processing techniques, includ-




APPX146
              nels and a plurality of undesired ing a mixer, that can be used to downconvert a plurality of frequencies that comprises
                                                                                                                                                 Page: 168




              television channels;                a plurality of desired television channels and a plurality of undesired television channels.
          11d digitizing, by a wideband analog- The Spectrum 210 digitizes, by a wideband analog-to-digital converter (ADC) module
              to-digital converter (ADC) mod- of said wideband receiver system, said plurality of frequencies comprising said plurality
              ule of said wideband receiver of desired television channels and said plurality of undesired television channels.
              system, said plurality of frequen-
              cies comprising said plurality of Specifically, the Spectrum 210 digitizes the entire 1GHz downstream spectrum of a
              desired television channels and Spectrum cable plant. The 1 GHz cable spectrum includes a plurality of desired and
              said plurality of undesired televi- undesired television channels.
              sion channels;
                                                                                                                                                 Filed: 06/16/2023




                                                                     Page 1 of 2
                             Case 2:22-cv-00125-JRG Document 1-11 Filed 04/27/22 Page 3 of 3 PageID #: 127

                                                                    Exhibit J

          11e selecting, by digital circuitry of   The Spectrum 210s select, by digital circuitry of said wideband receiver system, said
              said wideband receiver system,       plurality of desired television channels from said digitized plurality of frequencies as
              said plurality of desired televi-    described below:
              sion channels from said digitized
              plurality of frequencies; and         Specifically, the Spectrum 210 includes advanced signal processing techniques that
                                                    can be used to digitally tune multiple channels simultaneously, including to select the
                                                                                                                                              Case: 23-136




                                                    plurality of desired television channels from the digitized plurality of frequencies.
          11f   outputting, by said digital The Spectrum 110 and Spectrum 210 output, by said digital circuitry of said wideband
                circuitry of said wideband receiver system, said selected plurality of television channels to a demodulator as a
                receiver system, said selected digital datastream.
                plurality of television channels to
                a demodulator as a digital Specifically, in the Spectrum 210, the digitally tuned and selected plurality of desired
                datastream.                         television channels are then fed into a digital demodulator that outputs a transport
                                                                                                                                              Document: 2-2




                                                    stream for use in broadcast services.




APPX147
                                                                                                                                              Page: 169
                                                                                                                                              Filed: 06/16/2023




                                                                    Page 2 of 2
     Case: 23-136     Document: 2-2     Page: 170    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-12 Filed 04/27/22 Page 1 of 5 PageID #: 128




                    EXHIBIT K




                              APPX148
                            Case 2:22-cv-00125-JRG Document 1-12 Filed 04/27/22 Page 2 of 5 PageID #: 129

                                                                  Exhibit K

                                                   Exemplary Chart for the ‘826 Patent
                                 Infringement of U.S. Patent No. 9,825,826 by Spectrum Accused Services

          #  U.S. Patent No. 9,825,826   Spectrum Accused Services
          1a A method comprising:        The Accused Services perform the claimed method utilizing, for example, the Accused Set
                                         Top Products, which include at least one set top box (“STB”) located at each subscriber
                                                                                                                                       Case: 23-136




                                         location, including, for example, the Spectrum 100-series STBs, Spectrum 200-series STBs,
                                         Spectrum 101-series STBs, Spectrum 201-series STBs, Spectrum 110-series STBs,
                                         Spectrum 210-series STBs, the Arris DCX3600 STB, and products that operate in a similar
                                         manner. By way of example, the Spectrum 210 (specifically the Spectrum 210-T) is charted
                                         herein.
          1b performing by one or more The Spectrum 210 includes one or more circuits of a receiver coupled to a television and data
             circuits of a receiver service provider headend via a hybrid fiber coaxial (HFC) network, that perform the claimed
                                                                                                                                       Document: 2-2




             coupled to a television and steps, as described below:
             data     service   provider
             headend via a hybrid fiber
             coaxial (HFC) network:




APPX149
                                                                                                                                       Page: 171
                                                                                                                                       Filed: 06/16/2023




                                                                 Page 1 of 4
                            Case 2:22-cv-00125-JRG Document 1-12 Filed 04/27/22 Page 3 of 5 PageID #: 130

                                                                    Exhibit K

          #   U.S. Patent No. 9,825,826    Spectrum Accused Services
                                                                                                                                             Case: 23-136
                                                                                                                                             Document: 2-2




APPX150
                                                                                                                                             Page: 172




          1c receiving, via said HFC       The Spectrum 210 receives, via said HFC network, a signal that carries a plurality of channels,
             network, a signal that        wherein said channels comprise one or both of television channels and data channels.
             carries a plurality of
             channels, wherein said        Specifically, the Spectrum 210 receives the entire 1GHz downstream spectrum of a Spectrum
             channels comprise one or      cable plant. The 1 GHz cable spectrum includes a plurality of data and television channels.
             both of television channels
             and data channels;
          1d digitizing said received      The Spectrum 210 digitizes said received signal to generate a digitized signal.
                                                                                                                                             Filed: 06/16/2023




             signal to generate a
             digitized signal;             Specifically, the Spectrum 210 digitizes the entire 1GHz downstream spectrum it receives to
                                           generate a digitized signal.


                                                                   Page 2 of 4
                             Case 2:22-cv-00125-JRG Document 1-12 Filed 04/27/22 Page 4 of 5 PageID #: 131

                                                                      Exhibit K

          #  U.S. Patent No. 9,825,826 Spectrum Accused Services
          1e selecting a first portion of The Spectrum 210 selects a first portion of said digitized signal.
             said digitized signal;
                                             Specifically, the Spectrum 210 includes advanced signal processing techniques that can be
                                             used to digitally tune multiple channels simultaneously, including to select a first portion of
                                             said digitized signal.
                                                                                                                                                Case: 23-136




          1f selecting a second portion The Spectrum 210 selects a second portion of said digitized signal.
             of said digitized signal;
                                             Specifically, the Spectrum 210 includes advanced signal processing techniques that can be
                                             used to digitally tune multiple channels simultaneously, including to select a second portion of
                                             said digitized signal.
          1g processing said selected The Spectrum 210 process said selected second portion of said digitized signal to recover
             second portion of said information carried in said plurality of channels.
                                                                                                                                                Document: 2-2




             digitized signal to recover
             information carried in said Specifically, in the Spectrum 210, each digitally tuned channel then feeds the signal into a
             plurality of channels;          digital demodulator that outputs a transport stream for use in data or broadcast services.
          1h analyzing   said selected first The Spectrum 210 analyzes said selected first portion of said digitized signal to measure a




APPX151
             portion of said digitized characteristic of said received signal.
                                                                                                                                                Page: 173




             signal to measure a
             characteristic     of     said Specifically, the Spectrum 210 includes remote diagnostics capabilities that provide real time,
             received signal; and            unobtrusive diagnostic and spectrum analysis capabilities. Upon information and belief, the
                                             Spectrum 210 includes a signal analyzer that analyzes said selected first portion to determine
                                             one or more characteristics of the received signal.
          1i controlling the transmission The Spectrum 210 controls the transmission of network management messages back to said
             of network management headend based on said measured characteristic of said received signal, wherein said
             messages back to said measured characteristic is different than said network management messages.
             headend based on said
                                                                                                                                                Filed: 06/16/2023




             measured characteristic of Specifically, the Spectrum 210 includes remote diagnostics capabilities that provide real time,
             said      received     signal, unobtrusive diagnostic and spectrum analysis capabilities. Upon information and belief, the


                                                                      Page 3 of 4
                            Case 2:22-cv-00125-JRG Document 1-12 Filed 04/27/22 Page 5 of 5 PageID #: 132

                                                                    Exhibit K

          #   U.S. Patent No. 9,825,826     Spectrum Accused Services
              wherein said measured         Spectrum 210 controls the transmission of network management messages back to said
              characteristic is different   headend based on said measured characteristic of said received signal. Upon information and
              than      said    network     belief, said measured characteristic is different than said network management messages
              management messages.
                                                                                                                                          Case: 23-136
                                                                                                                                          Document: 2-2




APPX152
                                                                                                                                          Page: 174
                                                                                                                                          Filed: 06/16/2023




                                                                   Page 4 of 4
     Case: 23-136     Document: 2-2     Page: 175    Filed: 06/16/2023



Case 2:22-cv-00125-JRG Document 1-13 Filed 04/27/22 Page 1 of 5 PageID #: 133




                     EXHIBIT L




                              APPX153
                            Case 2:22-cv-00125-JRG Document 1-13 Filed 04/27/22 Page 2 of 5 PageID #: 134

                                                                 Exhibit L

                                                   Exemplary Chart for the ‘682 Patent
                                Infringement of U.S. Patent No. 10,135,682 by Spectrum Accused Services

          #    U.S. Patent No. 10,135,682 Spectrum Accused Services
          1a   A method comprising:       The Accused Services perform the claimed method utilizing, for example, including a Cable
                                          Modem Termination System (“CMTS”) operated by Spectrum and at least one cable
                                                                                                                                      Case: 23-136




                                          modem located at each subscriber location, including, for example, the Spectrum PC20,
                                          and products that operate in a similar manner. By way of example, the Arris E6000 CMTS
                                          is charted herein.
          1b   determining, by a cable The Arris E6000 CMTS determines, for each cable modem served by said CMTS, a
               modem termination system corresponding signal-to-noise ratio (SNR) related metric.
               (CMTS), for each cable
               modem served by said CMTS, Spectrum started using Arris CMTS’s as early as 2014, including the E6000, Arris’ CMTS
                                                                                                                                      Document: 2-2




               a corresponding signal-to- that added video edge QAM components and became a fully integrated Converged Cable
               noise ratio (SNR) related Access Platform. The E6000’s capabilities are described, for example, in the E6000
               metric;                    Manual.




APPX154
                                             Spectrum continues to use CMTSs like the E6000 to send and receive packets to
                                             downstream cable modems over the Internet. For the purposes of this analysis, the PC20
                                                                                                                                      Page: 176




                                             will be assessed. However, Spectrum’s services are compatible with a variety of cable
                                             modems for consumers to utilize in conjunction with their services.

                                             Cable modems, such as the PC20, include chips capable of receiving and transmitting
                                             performance data to the CMTS, such as Broadcom’s BCM3390 system-on-a-chip (“SoC”)
                                                                                                                                      Filed: 06/16/2023




                                                                 Page 1 of 4
                           Case 2:22-cv-00125-JRG Document 1-13 Filed 04/27/22 Page 3 of 5 PageID #: 135

                                                               Exhibit L

          #   U.S. Patent No. 10,135,682   Spectrum Accused Services
                                                                                                                                       Case: 23-136
                                                                                                                                       Document: 2-2




APPX155
                                                                                                                                       Page: 177




                                           Accordingly, cable modems, such as the PC20, are capable of bidirectional
                                           communications with upstream CMTSs, such as the E6000.

                                           Spectrum utilizes its CMTSs to determine a corresponding signal-to-noise ratio (SNR)
                                           related metric for each cable modem served by said CMTS. For example, according to the
                                           E6000 user manual, the CMTS utilizes a powerful spectral analysis engine built into every
                                           upstream receiver to gather detailed information about upstream channel noise.
                                                                                                                                       Filed: 06/16/2023




                                                               Page 2 of 4
                              Case 2:22-cv-00125-JRG Document 1-13 Filed 04/27/22 Page 4 of 5 PageID #: 136

                                                                       Exhibit L

          #    U.S. Patent No. 10,135,682         Spectrum Accused Services
          1c   assigning, by said CMTS,           A service group includes one or more modems. The Arris E6000 CMTS assigns each cable
               each cable modem among a           modem among a plurality of service groups based on a respective corresponding SNR-
               plurality of service groups        related metric.
               based on a respective
               corresponding     SNR-related      Specifically, the Arris E6000 CMTS utilizes a process of profiling downstream modems.
                                                                                                                                                 Case: 23-136




               metric;
          1d   generating, by said CMTS for       The Arris E6000 CMTS generates, for each one of said plurality of service groups, a
               each one of said plurality of      composite SNR-related metric based at least in part on a worst-case SNR profile of said
               service groups, a composite        SNR-related metrics corresponding to said one of said plurality of service groups.
               SNR-related metric based at
               least in part on a worst-case      Specifically, the Arris E6000 CMTS generates SNR-related metrics based on a worst-case
               SNR profile of said SNR-           SNR profile of each service group. For example, the Arris E6000 CMTS optimizes a
                                                                                                                                                 Document: 2-2




               related metrics corresponding      modulation profile based on worst-case noise that is expected on the upstream channel
               to said one of said plurality of   and still achieve a reasonable level of performance.
               service groups;
          1e   selecting, by said CMTS, one       The Arris E6000 CMTS selects one or more physical layer communication parameter to




APPX156
               or more physical layer             be used for communicating with said one of said plurality of service groups based on said
                                                                                                                                                 Page: 178




               communication parameter to         composite SNR-related metric.
               be used for communicating
               with said one of said plurality    Specifically, the Arris E6000 CMTS selects one or more physical layer communication
               of service groups based on         parameters to be used for communicating, via a physical layer, with each service group of
               said composite SNR-related         downstream modems. For example, the Arris E6000 CMTS selects one or more physical
               metric; and                        communication parameters that control modems in the various upstream channels, which
                                                  have been configured via the modulation profiles. For example, when adding additional
                                                  forward error correction to attempt to correct for upstream errors is no longer efficient, a
                                                  lower modulation rate (e.g. a physical layer communication parameter) is applied to a
                                                                                                                                                 Filed: 06/16/2023




                                                  particular service group.



                                                                      Page 3 of 4
                            Case 2:22-cv-00125-JRG Document 1-13 Filed 04/27/22 Page 5 of 5 PageID #: 137

                                                                   Exhibit L

          #    U.S. Patent No. 10,135,682      Spectrum Accused Services
          1f   communicating,     by    said   The Arris E6000 CMTS communicates with one or more cable modems corresponding to
               CMTS, with one or more cable    said one of the plurality of service groups using the selected one or more physical layer
               modems corresponding to         communication parameter.
               said one of said plurality of
               service groups using said       Specifically, Spectrum communicates, via its CMTSs (such as the Arris E6000 CMTS),
                                                                                                                                           Case: 23-136




               selected one or more physical   messages that include parameters that control cable modems in one of said plurality of
               layer         communication     service groups in the various upstream channels. These communications utilize the
               parameter.                      selected one or more physical layer communication parameters.
                                                                                                                                           Document: 2-2




APPX157
                                                                                                                                           Page: 179
                                                                                                                                           Filed: 06/16/2023




                                                                   Page 4 of 4
         Case: 23-136 Document
Case 2:22-cv-00125-JRG Document:53
                                 2-2Filed
                                        Page: 180 Page
                                          01/10/23 Filed:106/16/2023
                                                           of 27 PageID #: 530



                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


ENTROPIC COMMUNICATIONS, LLC,
                                                      Case No. 2:22-cv-00125-JRG
       Plaintiff,
                                                      DEMAND FOR JURY TRIAL
       v.

CHARTER COMMUNICATIONS, INC.,

       Defendant.


            SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff, Entropic Communications, LLC (“Entropic”), files this Second Amended

Complaint for patent infringement against Charter Communications, Inc. (“Charter”) and in

support thereof alleges and avers as follows:

                                  NATURE OF THE ACTION

       1.      This is a civil action arising under the patent laws of the United States, 35 U.S.C.

§ 1 et seq., including specifically 35 U.S.C. § 271, based on Charter’s infringement of U.S. Patent

Nos. 8,223,775 (the “’775 Patent”), 8,284,690 (the “’690 Patent”), 8,792,008 (the “’008 Patent”),

9,210,362 (the “’362 Patent”), 9,825,826 (the “’826 Patent”), and 10,135,682 (the “’682 Patent”)

(collectively “the Patents-in-Suit”).

                                        THE PARTIES

       2.      Entropic is a Delaware limited liability company with an office at 7150 Preston

Rd., Suite 300 Plano, Texas 75024.

       3.      On information and belief, Defendant Charter Communications, Inc. is a

corporation established under the laws of the State of Delaware, with a principal place of business

at 1400 Atlantic St., Stamford, CT 06901.

                                                -1-

                                        APPX158
         Case: 23-136 Document
Case 2:22-cv-00125-JRG Document:53
                                 2-2Filed
                                        Page: 181 Page
                                          01/10/23 Filed:206/16/2023
                                                           of 27 PageID #: 531



       4.       Charter Communications, Inc. has a registered agent in Texas, Corporation Service

Company d/b/a CSC - Lawyers Incorporating Service Company, located at 211 East 7th Street,

Suite 620, Austin, Texas 78701.

       5.       According to its website, https://corporate.charter.com/about-charter, “Charter

Communications, Inc. (NASDAQ:CHTR) is a leading broadband connectivity company and cable

operator serving more than 32 million customers in 41 states through its Spectrum brand.”

       6.       Charter owns or leases, and maintains and operates several stores in this district by

and through subsidiary limited liability companies that it manages and controls, including

Spectrum Gulf Coast LLC, and negotiates and signs agreements on Spectrum Gulf Coast’s behalf.

       7.       In each of those stores, Charter owns and stores equipment such as modems and set

top boxes (“STBs”) and demonstrates services provided via those products to Charter customers

by and through subsidiary limited liability companies that it manages and controls.

       8.       Charter employs personnel that install, service, repair and/or replace equipment, as

appropriate, in this district by and through subsidiary limited liability companies that it manages

and controls.

       9.       Charter is the corporate manager of its subsidiary LLCs that own or lease property

in this district, that employ employees in this district, and that own, store, sell, demonstrate, and

lease equipment in this district. Charter has the right to exercise near total control of each entity’s

operations through its LLC agreements with each entity.

                                 JURISDICTION AND VENUE

       10.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a) because the claims herein arise under the patent laws of the United States, 35 U.S.C. § 1

et seq., including 35 U.S.C. § 271.



                                                 -2-

                                          APPX159
         Case: 23-136 Document
Case 2:22-cv-00125-JRG Document:53
                                 2-2Filed
                                        Page: 182 Page
                                          01/10/23 Filed:306/16/2023
                                                           of 27 PageID #: 532



       11.     This Court has personal jurisdiction over Charter in this action because Charter1

has committed acts of infringement within the State of Texas and within this district through, for

example, the provision of cable television and internet services (“Accused Services”) via the lease,

sale, and/or distribution of cable modems and STBs both online and from Spectrum stores in this

District. For example, Charter has and continues to lease, sell, and/or distribute the Arris SB6183

cable modem, Spectrum PC20 (e.g. the Spectrum EU2251) cable modem, and products that

operate in a similar manner (“Accused Cable Modem Products”), as well as Spectrum 100-series

STBs, Spectrum 200-series STBs, Spectrum 101-series STBs, Spectrum 201-series STBs,

Spectrum 110-series STBs, Spectrum 210-series STBs, the Arris DCX3600 STB, and products

that operate in a similar manner (“Accused Set Top Products”). Further, there is general personal

jurisdiction over Charter in this Judicial District, given Charter’s intentional direction of its

advertising efforts to potential customers here in the form of robocalls that Charter makes to such

potential customers.

       12.     The Accused Cable Modem Products, Accused Set Top Products, and Accused

Services are available for subscription online from the Charter website.

       13.     The Accused Services are available for subscription from various physical stores,

including those at 700 Alma Dr., Plano, Texas 75075, 2100 N. Dallas Pkwy, Plano, Texas 75075,

and 4255-A Dowlen Rd., Beaumont, Texas 77706.

       14.     The devices, including the Accused Cable Modem Products and Accused Set Top

Products, provided by Charter to supply the Accused Services are provided to customers in this

district and may be obtained by customers from physical locations in this district, including those




1
  References to “Charter” include Charter’s own actions and its actions by and through its
subsidiary limited liability companies that it manages and controls, unless otherwise specified.

                                                -3-

                                         APPX160
         Case: 23-136 Document
Case 2:22-cv-00125-JRG Document:53
                                 2-2Filed
                                        Page: 183 Page
                                          01/10/23 Filed:406/16/2023
                                                           of 27 PageID #: 533



at 700 Alma Dr., Plano, Texas 75075, 2100 N. Dallas Pkwy, Plano, Texas 75075, and 4255-A

Dowlen Rd., Beaumont, Texas 77706.

        15.     Venue is proper in this district pursuant to 28 U.S.C. § 1400(b). Venue is proper

because Charter has committed and continues to commit acts of patent infringement in this district,

including making, using, offering to sell, and/or selling Accused Services, Accused Cable Modem

Products, and Accused Set Top Products in this district, and/or importing Accused Services,

Accused Set Top Products, and Accused Cable Modem Products into this district, including by

Internet sales and sales via retail and wholesale stores, inducing others to commit acts of patent

infringement in this district and/or committing at least a portion of any other infringements alleged

herein in this district.

        16.      Charter has regular and established places of business in this district, including at

least at 1414 Summit Ave., Plano, Texas 75074:




(https://www.google.com/maps/place/1414+Summit+Ave,+Plano,+TX+75074/@33.0094166,-

96.691439,3a,75y,150.17h,90t/data=!3m7!1e1!3m5!1seMJAIjYK9mlgeFGO3-

opTg!2e0!6shttps:%2F%2Fstreetviewpixels-

pa.googleapis.com%2Fv1%2Fthumbnail%3Fpanoid%3DeMJAIjYK9mlgeFGO3-

                                                 -4-

                                          APPX161
         Case: 23-136 Document
Case 2:22-cv-00125-JRG Document:53
                                 2-2Filed
                                        Page: 184 Page
                                          01/10/23 Filed:506/16/2023
                                                           of 27 PageID #: 534



opTg%26cb_client%3Dsearch.gws-

prod.gps%26w%3D86%26h%3D86%26yaw%3D150.1734%26pitch%3D0%26thumbfov%3D10

0!7i16384!8i8192!4m9!1m2!2m1!1s1414+Summit+Ave,+Plano,+TX+75074+and+2344+Rutlan

d+Dr.+Austin,+TX+78758!3m5!1s0x864c193c2e57c475:0x9e396bd707e242d3!8m2!3d33.0089

809!4d-

96.6911307!15sCkYxNDE0IFN1bW1pdCBBdmUsIFBsYW5vLCBUWCA3NTA3NCBhbmQg

MjM0NCBSdXRsYW5kIERyLiBBdXN0aW4sIFRYIDc4NzU4kgERY29tcG91bmRfYnVpbGR

pbmc)

        17.   Charter has retail stores in the district, including storefronts located at 700 Alma

Dr., Plano, Texas 75075, 2100 N. Dallas Pkwy, Plano, Texas 75075, and 4255-A Dowlen Rd.,

Beaumont, Texas 77706, among others.




(https://www.google.com/maps/place/700+Alma+Dr,+Plano,+TX+75075/@33.009285,-

96.7156924,3a,75y,79.47h,78.1t/data=!3m6!1e1!3m4!1sV4Kgs33OEPn0OTPugr40sw!2e0!7i16

384!8i8192!4m5!3m4!1s0x864c18dd73ceae97:0x243da1c3797f6336!8m2!3d33.0097073!4d-

96.7151173)



                                              -5-

                                       APPX162
         Case: 23-136 Document
Case 2:22-cv-00125-JRG Document:53
                                 2-2Filed
                                        Page: 185 Page
                                          01/10/23 Filed:606/16/2023
                                                           of 27 PageID #: 535




(https://www.google.com/maps/place/Spectrum+Store/@33.0290298,-

96.8264017,3a,75y,278.05h,90t/data=!3m7!1e1!3m5!1sChdq99YtQUVhIguvPSaS_w!2e0!6shtt

ps:%2F%2Fstreetviewpixels-

pa.googleapis.com%2Fv1%2Fthumbnail%3Fpanoid%3DChdq99YtQUVhIguvPSaS_w%26cb_cl

ient%3Dmaps_sv.tactile.gps%26w%3D224%26h%3D298%26yaw%3D278.04987%26pitch%3

D0%26thumbfov%3D100!7i16384!8i8192!4m14!1m6!3m5!1s0x864c23070b47ed93:0xd9df492

87ca0c559!2sSpectrum+Store!8m2!3d33.0290441!4d-

96.8265123!3m6!1s0x864c23070b47ed93:0xd9df49287ca0c559!8m2!3d33.0290441!4d-

96.8265123!14m1!1BCgIgARICCAI)




                                          -6-

                                   APPX163
         Case: 23-136 Document
Case 2:22-cv-00125-JRG Document:53
                                 2-2Filed
                                        Page: 186 Page
                                          01/10/23 Filed:706/16/2023
                                                           of 27 PageID #: 536




(https://www.google.com/maps/place/Spectrum/@30.122185,-

94.1625943,3a,75y,90t/data=!3m8!1e2!3m6!1sAF1QipO5TahIK2i_6g7gm0X27L1OJ53yEjMyu

bkMbPiA!2e10!3e12!6shttps:%2F%2Flh5.googleusercontent.com%2Fp%2FAF1QipO5TahIK2i

_6g7gm0X27L1OJ53yEjMyubkMbPiA%3Dw203-h270-k-

no!7i3120!8i4160!4m14!1m6!3m5!1s0x863ecad62b4ceadb:0x88f010bf14187660!2sSpectrum!8

m2!3d30.1221793!4d-

94.1625942!3m6!1s0x863ecad62b4ceadb:0x88f010bf14187660!8m2!3d30.1221793!4d-

94.1625942!14m1!1BCgIgAQ)

       18.     Each of the above locations features the                logo. According to Charter’s

website, https://corporate.charter.com/about-charter, this logo refers to “a suite of advanced

broadband services offered by Charter Communications, Inc.”

       19.     Charter targets its advertisements to residents of this district.

       20.     Charter continues to conduct business in this judicial district, including one or more

acts of making, selling, using, importing and/or offering for sale Accused Products or providing

the Accused Services to Charter’s customers in this District.
                                                 -7-

                                         APPX164
         Case: 23-136 Document
Case 2:22-cv-00125-JRG Document:53
                                 2-2Filed
                                        Page: 187 Page
                                          01/10/23 Filed:806/16/2023
                                                           of 27 PageID #: 537



                                     THE PATENTS-IN-SUIT

           21.   On July 17, 2012, U.S. Patent No. 8,223,775, entitled “Architecture for a Flexible

and High-Performance Gateway Cable Modem,” was duly and legally issued by the United States

Patent and Trademark Office. A true and accurate copy of the ’775 Patent is attached hereto as

Exhibit A.

           22.   On October 9, 2012, U.S. Patent No. 8,284,690, entitled “Receiver Determined

Probe,” was duly and legally issued by the United States Patent and Trademark Office. A true and

accurate copy of the ’690 Patent is attached hereto as Exhibit B.

           23.   On July 29, 2014, U.S. Patent No. 8,792,008, entitled “Method and Apparatus for

Spectrum Monitoring,” was duly and legally issued by the United States Patent and Trademark

Office. A true and accurate copy of the ’008 Patent is attached hereto as Exhibit C.

           24.   On December 8, 2015, U.S. Patent No. 9,210,362, entitled “Wideband Tuner

Architecture,” was duly and legally issued by the United States Patent and Trademark Office. A

true and accurate copy of the ’362 Patent is attached hereto as Exhibit D.

           25.   On November 21, 2017, U.S. Patent No. 9,825,826, entitled “Method and

Apparatus for Spectrum Monitoring,” was duly and legally issued by the United States Patent and

Trademark Office. A true and accurate copy of the ’826 Patent is attached hereto as Exhibit E.

           26.   On November 20, 2018, U.S. Patent No. 10,135,682, entitled “Method and System

for Service Group Management in a Cable Network,” was duly and legally issued by the United

States Patent and Trademark Office. A true and accurate copy of the ’682 Patent is attached hereto

as Exhibit F.

           27.   Entropic is the owner by assignment of all rights, title, and interest in the Patents-

in-Suit.

                     ENTROPIC’S LEGACY AS A CABLE INNOVATOR

                                                  -8-

                                           APPX165
         Case: 23-136 Document
Case 2:22-cv-00125-JRG Document:53
                                 2-2Filed
                                        Page: 188 Page
                                          01/10/23 Filed:906/16/2023
                                                           of 27 PageID #: 538



       28.    Entropic Communications Inc., the predecessor-in-interest to Entropic, was

founded in San Diego, California in 2001 by Dr. Anton Monk, Itzhak Gurantz, Ladd El Wardani

and others. Entropic Communications Inc. was instrumental in the development of the Multimedia

over Coax Alliance (“MoCA”) standard, Direct Broadcast Satellite (“DBS”) Outdoor Unit

(“ODU”) single wire technology, and System-on-Chip (“SoC”) solutions for set-top boxes

(“STBs”) in the home television and home video markets.

       29.    Dr. Monk received his Bachelor of Science degree and Doctorate in Electrical

Engineering from the University of California San Diego and a Master of Science in Electrical

Engineering from the California Institute of Technology.

       30.    Under the guidance of Dr. Monk, Entropic Communications Inc. grew to an

eventual public listing on the NASDAQ in 2007. After the public listing, the company acquired

RF Magic, Inc. in 2007, a company specializing in DBS ODU technology and related hardware.

       31.    Additional growth between 2007 and 2015 bolstered the technical expertise of

Entropic Communications Inc., including signal acquisition, stacking, filtering, processing, and

distribution for STBs and cable modems.

       32.    For years, Entropic Communications Inc. pioneered cutting edge SoC technologies,

as well as television and internet related services. This technology simplified the installation

required to support wideband reception of multiple channels for demodulation, improved home

internet performance, and enabled more efficient and responsive troubleshooting and upstream

signal management for cable providers. These innovations represented significant advances in the

field, simplified the implementation of those advances, and reduced expenses for providers and

customers alike.




                                              -9-

                                       APPX166
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 189 Page
                                            01/10/23 Filed:10
                                                            06/16/2023
                                                              of 27 PageID #: 539



       33.     In 2015, MaxLinear, Inc.—a leading provider of radio-frequency (RF), analog,

digital, and mixed-signal semiconductor solutions—acquired Entropic Communications Inc. and

the pioneering intellectual property developed by Dr. Monk and his team.

       34.     The Patents-in-Suit are the result of years of research and development in satellite

and cable technology. These innovations are utilized by Charter to provide enhanced and expanded

services to customers, which in turn has increased revenues for Charter while at the same time

reducing the costs.

                                  FIRST CAUSE OF ACTION

                                (Infringement of the ’775 Patent)

       35.     Entropic incorporates by reference and realleges each and every allegation of

Paragraphs 1 through 32 as if set forth herein.

       36.     Entropic owns all substantial rights, interest, and title in and to the ’775 Patent,

including the sole and exclusive right to prosecute this action and enforce the ’775 Patent against

infringers, and to collect damages for all relevant times.

       37.     The ’775 Patent generally describes a partitioned cable modem that performs cable

modem functions and data and home networking functions. Functionally partitioning a cable

modem to perform cable modem functions and data and home networking functions enables a

cable modem to incorporate a variety of enhanced functions.

       38.     The Accused Cable Modem Products remain the property of Charter even when

deployed at the property of a customer.

       39.     The Accused Cable Modem Products and Accused Services operate in a manner

controlled and intended by Charter. Charter directly infringes the ’775 Patent by using, importing,

selling, and/or offering for sale the Accused Cable Modem Products (for example, the Spectrum



                                                  -10-

                                          APPX167
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 190 Page
                                            01/10/23 Filed:11
                                                            06/16/2023
                                                              of 27 PageID #: 540



PC20 and Arris SB6183) and/or the Accused Services (for example, utilizing cable modem

functions).

        40.     As set forth in the attached non-limiting claim chart (Exhibit G), Charter has

directly infringed and is infringing at least Claims 18 and 19 of the ’775 Patent by using, importing,

selling, and/or offering for sale the Accused Cable Modem Products.

        41.     Additionally, the use of the Accused Cable Modem Products by Charter to, for

example, demonstrate products in brick-and-mortar stores in Plano, Texas and Beaumont, Texas

or to, for example, test those products, constitute acts of direct infringement of at least Claims 18

and 19 of the ’775 Patent.

        42.     Charter has been aware that it infringes Claims 18 and 19 of the ’775 Patent since

at least April 27, 2022 upon the receipt of the letters attached as Exhibit M and Exhibit N, as well

as the receipt of copies of the Original Complaint filed in this case on April 27, 2022 and served

on May 3, 2022. Since obtaining knowledge of its infringing activities, Charter has failed to cease

its infringing activities.

        43.     Customers and subscribers of Charter infringe at least Claims 18 and 19 of the ’775

Patent by using the claimed system, at least during the use of the Accused Cable Modem Products

(for example, the Spectrum PC20 and Arris SB6183).

        44.     Charter actively induces customers’ direct infringement. For example, Charter

actively induces infringement of at least Claims 18 and 19 of the ’775 Patent by providing

customers with specific instructions and/or assistance (including installation) regarding the

purchase and use of the Accused Cable Modem Products in a manner that infringes the ’775 Patent

in accordance with the ordinary course of operation of the Accused Services. For at least the above-

listed reasons, Charter aids, instructs, supports and otherwise acts with the intent to cause an end



                                                -11-

                                         APPX168
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 191 Page
                                            01/10/23 Filed:12
                                                            06/16/2023
                                                              of 27 PageID #: 541



user to use the Accused Cable Modem Products in a manner that infringes at least Claims 18 and

19 of the ’775 Patent.

       45.      Additionally, Charter contributes to the customers’ direct infringement. Charter

provides apparatuses, namely the Spectrum PC20 and Arris SB6183 products, which are used by

customers and directly infringe at least Claims 18 and 19 of the ’775 Patent.

       46.      The Accused Cable Modem Products have no substantial non-infringing uses.

When an end user uses the Accused Cable Modem Products in combination with, for example, the

Accused Services, the end user directly infringes at least Claims 18 and 19 of the ’775 Patent. The

Accused Cable Modem Products are especially made or especially adapted for use in an

infringement.

       47.      Charter’s inducement of, and contribution to, the direct infringement of at least

Claims 18 and 19 of the ’775 Patent is continuous and ongoing via the provision of the Accused

Cable Modem Products, which perform the Accused Services.

       48.      Charter’s infringement of the ’775 Patent is, has been, and continues to be willful,

intentional, deliberate, and/or in conscious disregard for Entropic’s rights under the patent.

       49.      Entropic has been damaged as a result of the infringing conduct alleged above.

Charter is liable to Entropic in an amount that compensates Entropic for Charter’s infringement,

which by law cannot be less than a reasonable royalty, together with interest and costs as fixed by

this Court under 35 U.S.C. § 284.

       50.      Entropic has complied with 35 U.S.C. § 287 with respect to the ’775 Patent.

                                SECOND CAUSE OF ACTION

                                (Infringement of the ’690 Patent)

       51.      Entropic incorporates by reference and realleges each and every allegation of

Paragraphs 1 through 48 as if set forth herein.

                                                  -12-

                                         APPX169
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 192 Page
                                            01/10/23 Filed:13
                                                            06/16/2023
                                                              of 27 PageID #: 542



       52.     Entropic owns all substantial rights, interest, and title in and to the ’690 Patent,

including the sole and exclusive right to prosecute this action and enforce the ’690 Patent against

infringers, and to collect damages for all relevant times.

       53.     The ’690 Patent generally describes the process of generating probe transmissions

in response to a request from a receiving node of a network, wherein the probe request specifies a

plurality of parameters that specify content payload of the probe transmission, and a second node

to receive the probe transmission, which enhances flexibility and therefore, improves the receiving

node’s ability to efficiently recognize the precise form of the transmitted probe. The Accused

Cable Modem Products remain the property of Charter even when deployed at the property of a

customer.

       54.     The Accused Cable Modem Products and Accused Services operate in a manner

controlled and intended by Charter.

       55.     Charter directly infringes the ’690 Patent by using, importing, selling, and/or

offering for sale the Accused Cable Modem Products (for example, the Spectrum PC20 and Arris

SB6183) and/or the Accused Services (for example, probing for cable modem parameters).

       56.     As set forth in the attached non-limiting claim chart (Exhibit H), Charter has

directly infringed and is infringing at least the method of Claims 7, 8, 11, 15, and 16 of the ’690

Patent by using, selling, and/or offering for sale the Accused Services.

       57.     Additionally, the use of the Accused Services by Charter to, for example,

demonstrate products in brick-and-mortar stores in Plano, Texas and Beaumont, Texas or to, for

example, test those products, constitute acts of direct infringement of at least Claims 7, 8, 15, and

16 of the ’690 Patent.

       58.     Charter has been aware that it infringes Claims 7, 8, 11, 15, and 16 of the ’690

Patent since at least April 27, 2022 upon the receipt of the letters attached as Exhibit M and Exhibit

                                                -13-

                                         APPX170
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 193 Page
                                            01/10/23 Filed:14
                                                            06/16/2023
                                                              of 27 PageID #: 543



N, as well as the receipt of copies of the Original Complaint filed in this case on April 27, 2022

and served on May 3, 2022. Since obtaining knowledge of its infringing activities, Charter has

failed to cease its infringing activities.

        59.     Customers and subscribers of Charter infringe at least Claims 7 and 8 of the ’690

Patent by using the claimed method, at least during receipt of the Accused Services utilizing, for

example, the Accused Cable Modem Products (for example, the Spectrum PC20 and Arris

SB6183).

        60.     Charter actively induces customers’ direct infringement. For example, Charter

actively induces infringement of at least Claims 7 and 8 of the ’690 Patent by providing the

Accused Cable Modem Products to Charter customers with specific instructions and/or assistance

(including installation) regarding the use of the Accused Cable Modem Products in a manner that

infringes the ’690 Patent in accordance with the ordinary course of operation of the Accused

Services. Charter provides the cable modem functions claimed by the ’690 Patent via the Accused

Services, which enable and induce its customers to directly infringe the claims. For at least the

above-listed reasons, Charter aids, instructs, supports and otherwise acts with the intent to cause

an end user to use the Accused Cable Modem Products in a manner that infringes at least Claims

7 and 8 of the ’690 Patent.

        61.     Additionally, Charter contributes to the customers’ direct infringement. Charter

provides apparatuses, namely the Spectrum PC20 and Arris SB6183 products, used by customers

to perform at least Claims 7 and 8 of the ’690 Patent.

        62.     The Accused Cable Modem Products have no substantial non-infringing uses.

When an end user uses the Accused Cable Modem Products in combination with, for example, the

Accused Services, the end user directly infringes at least Claims 7 and 8 of the ’690 Patent. The



                                               -14-

                                             APPX171
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 194 Page
                                            01/10/23 Filed:15
                                                            06/16/2023
                                                              of 27 PageID #: 544



Accused Cable Modem Products are especially made or especially adapted for use in an

infringement.

       63.      Charter’s inducement of, and contribution to, the direct infringement of at least

Claims 7 and 8 of the ’690 Patent is continuous and ongoing via the provision of the Accused

Services as well as technical assistance provided by Charter for equipment it provides to its

customers in support of the provision of the Accused Services.

       64.      Charter’s infringement of the ’690 Patent is, has been, and continues to be willful,

intentional, deliberate, and/or in conscious disregard for Entropic’s rights under the patent.

       65.      Entropic has been damaged as a result of the infringing conduct alleged above.

Charter is liable to Entropic in an amount that compensates Entropic for Charter’s infringement,

which by law cannot be less than a reasonable royalty, together with interest and costs as fixed by

this Court under 35 U.S.C. § 284.

       66.      Entropic has complied with 35 U.S.C. § 287 with respect to the ’690 Patent.

                                  THIRD CAUSE OF ACTION

                                (Infringement of the ’008 Patent)

       67.      Entropic incorporates by reference and realleges each and every allegation of

Paragraphs 1 through 64 as if set forth herein.

       68.      Entropic owns all substantial rights, interest, and title in and to the ’008 Patent,

including the sole and exclusive right to prosecute this action and enforce the ’008 Patent against

infringers, and to collect damages for all relevant times.

       69.      The ’008 Patent generally describes a system that receives a signal having a range

of frequencies, digitizes the received signal, and reports certain signal characteristics to the source

of the received signal.



                                                  -15-

                                          APPX172
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 195 Page
                                            01/10/23 Filed:16
                                                            06/16/2023
                                                              of 27 PageID #: 545



        70.     The Accused Set Top Products remain the property of Charter even when deployed

at the property of a customer.

        71.     The Accused Set Top Products and Accused Services operate in a manner

controlled and intended by Charter.

        72.     Charter directly infringes the ’008 Patent by using, importing, selling, and/or

offering for sale the Accused Set Top Products (for example, the Spectrum 210) and/or the

Accused Services (for example, monitoring signals generated by the Accused Set Top Products).

        73.     As set forth in the attached non-limiting claim chart (Exhibit I), Charter has directly

infringed and is infringing at least Claims 1 and 2 of the ’008 Patent by using, importing, selling,

and/or offering for sale the Accused Set Top Products.

        74.     Additionally, the use of the Accused Set Top Products by Charter to, for example,

demonstrate products in brick-and-mortar stores in Plano, Texas and Beaumont, Texas or to, for

example, test those products, constitute acts of direct infringement of at least Claims 1 and 2 of

the ’008 Patent.

        75.     Charter has been aware that it infringes Claims 1 and 2 of the ’008 Patent since at

least April 27, 2022 upon the receipt of the letters attached as Exhibit M and Exhibit N, as well as

the receipt of copies of the Original Complaint filed in this case on April 27, 2022 and served on

May 3, 2022. Since obtaining knowledge of its infringing activities, Charter has failed to cease its

infringing activities.

        76.     Customers and subscribers of Charter infringe at least Claims 1 and 2 of the ’008

Patent by using the claimed system, at least during the use of the Accused Set Top Products (for

example, the Spectrum 210).

        77.     Charter actively induces customers’ direct infringement. For example, Charter

actively induces infringement of at least Claims 1 and 2 of the ’008 Patent by providing customers

                                                 -16-

                                          APPX173
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 196 Page
                                            01/10/23 Filed:17
                                                            06/16/2023
                                                              of 27 PageID #: 546



with specific instructions and/or assistance (including installation) regarding the purchase and use

of the Accused Set Top Products in a manner that infringes the ’008 Patent in accordance with the

ordinary course of operation of the Accused Services. For at least the above-listed reasons, Charter

aids, instructs, supports and otherwise acts with the intent to cause an end user to use the Accused

Set Top Products in a manner that infringes at least Claims 1 and 2 of the ’008 Patent.

       78.     Additionally, Charter contributes to the customers’ direct infringement. Charter

provides apparatuses, namely the Spectrum 210 product, used by customers to perform at least

Claims 1 and 2 of the ’008 Patent.

       79.     The Accused Set Top Products have no substantial non-infringing uses. When an

end user uses the Accused Set Top Products in combination with, for example, the Accused

Services, the end user directly infringes at least Claims 1 and 2 of the ’008 Patent. The Accused

Cable Modem Products are especially made or especially adapted for use in an infringement.

       80.     Charter’s inducement of, and contribution to, the direct infringement of at least

Claims 1 and 2 of the ’008 Patent is continuous and ongoing via the provision of the Accused

Services as well as technical assistance provided by Charter for equipment it provides to its

customers in support of the provision of the Accused Services.

       81.     Charter’s infringement of the ’008 Patent is, has been, and continues to be willful,

intentional, deliberate, and/or in conscious disregard for Entropic’s rights under the patent.

       82.     Entropic has been damaged as a result of the infringing conduct alleged above.

Charter is liable to Entropic in an amount that compensates Entropic for Charter’s infringement,

which by law cannot be less than a reasonable royalty, together with interest and costs as fixed by

this Court under 35 U.S.C. § 284.

       83.     Entropic has complied with 35 U.S.C. § 287 with respect to the ’008 Patent.

                                FOURTH CAUSE OF ACTION

                                                -17-

                                         APPX174
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 197 Page
                                            01/10/23 Filed:18
                                                            06/16/2023
                                                              of 27 PageID #: 547



                                 (Infringement of the ’362 Patent)

          84.   Entropic incorporates by reference and realleges each and every allegation of

Paragraphs 1 through 81 as if set forth herein.

          85.   Entropic owns all substantial rights, interest, and title in and to the ’362 Patent,

including the sole and exclusive right to prosecute this action and enforce the ’362 Patent against

infringers, and to collect damages for all relevant times.

          86.   The ’362 Patent generally describes a wideband receiver system that down converts

a plurality of frequencies including desired television channels and undesired television channels,

digitizes frequencies, selects desired television channels from the frequencies, and outputs the

selected television channels to a demodulator as a digital data stream.

          87.   The Accused Set Top Products remain the property of Charter even when deployed

at the property of a customer.

          88.   The Accused Services operate in a manner controlled and intended by Charter.

          89.   Charter directly infringes the ’362 Patent by using, importing, selling, and/or

offering for sale the Accused Set Top Products (for example, the Spectrum 210) and/or the

Accused Services (for example, down converting, digitizing, and selecting desired television

channels from frequencies).

          90.   As set forth in the attached non-limiting claim chart (Exhibit J), Charter has directly

infringed and is infringing at least Claim 11 of the ’362 Patent by using, selling, and/or offering

for sale the Accused Services.

          91.   Additionally, the use of the Accused Services by Charter to, for example,

demonstrate products in brick-and-mortar stores in Plano, Texas and Beaumont, Texas or to, for

example, test those products, constitute acts of direct infringement of at least Claim 11 of the ’362

Patent.

                                                  -18-

                                          APPX175
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 198 Page
                                            01/10/23 Filed:19
                                                            06/16/2023
                                                              of 27 PageID #: 548



        92.     Charter has been aware that it infringes Claim 11 of the ’362 Patent since at least

April 27, 2022 upon the receipt of the letters attached as Exhibit M and Exhibit N, as well as the

receipt of copies of the Original Complaint filed in this case on April 27, 2022 and served on May

3, 2022. Since obtaining knowledge of its infringing activities, Charter has failed to cease its

infringing activities.

        93.     Customers and subscribers of Charter infringe at least Claim 11 of the ’362 Patent

by using the claimed method, at least during receipt of the Accused Services utilizing, for example,

the Accused Set Top Products (for example, the Spectrum 210).

        94.     Charter actively induces customers’ direct infringement. For example, Charter

actively induces infringement of at least Claim 11 of the ’362 Patent by providing the Accused Set

Top Products to Charter customers with specific instructions and/or assistance (including

installation) regarding the use of the Accused Set Top Products in a manner that infringes the ’362

Patent in accordance with the ordinary course of operation of the Accused Services. Charter

provides the television channel down-conversion, digitization, selection, and output functions

claimed by the ’362 Patent via the Accused Services, which enable and induce its customers to

directly infringe the claim. For at least the above-listed reasons, Charter aids, instructs, supports

and otherwise acts with the intent to cause an end user to use the Accused Set Top Products in a

manner that infringes at least Claim 11 of the ’362 Patent.

        95.     Additionally, Charter contributes to the customers’ direct infringement. Charter

provides apparatuses, namely the Spectrum 210, used by customers to perform at least Claim 11

of the ’362 Patent.

        96.     The Accused Set Top Products have no substantial non-infringing uses. When an

end user uses the Accused Set Top Products in combination with, for example, the Accused



                                                -19-

                                         APPX176
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 199 Page
                                            01/10/23 Filed:20
                                                            06/16/2023
                                                              of 27 PageID #: 549



Services, the end user directly infringes at least Claim 11 of the ’362 Patent. The Accused Cable

Modem Products are especially made or especially adapted for use in an infringement.

       97.     Charter’s inducement of, and contribution to, the direct infringement of at least

Claim 11 of the ’362 Patent is continuous and ongoing via the provision of the Accused Services

as well as technical assistance provided by Charter for equipment it provides to its customers in

support of the provision of the Accused Services.

       98.     Charter’s infringement of the ’362 Patent is, has been, and continues to be willful,

intentional, deliberate, and/or in conscious disregard for Entropic’s rights under the patent.

       99.     Entropic has been damaged as a result of the infringing conduct alleged above.

Charter is liable to Entropic in an amount that compensates Entropic for Charter’s infringement,

which by law cannot be less than a reasonable royalty, together with interest and costs as fixed by

this Court under 35 U.S.C. § 284.

       100.    Entropic has complied with 35 U.S.C. § 287 with respect to the ’362 Patent.

                                  FIFTH CAUSE OF ACTION

                                (Infringement of the ’826 Patent)

       101.    Entropic incorporates by reference and realleges each and every allegation of

Paragraphs 1 through 98 as if set forth herein.

       102.    Entropic owns all substantial rights, interest, and title in and to the ’826 Patent,

including the sole and exclusive right to prosecute this action and enforce the ’826 Patent against

infringers, and to collect damages for all relevant times.

       103.    The ’826 Patent generally describes a system that receives a signal having a range

of frequencies, digitizes the received signal, and reports certain signal characteristics to the source

of the received signal.



                                                  -20-

                                          APPX177
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 200 Page
                                            01/10/23 Filed:21
                                                            06/16/2023
                                                              of 27 PageID #: 550



          104.   The Accused Set Top Products remain the property of Charter even when deployed

at the property of a customer.

          105.   The Accused Services operate in a manner controlled and intended by Charter.

          106.   Charter directly infringes the ’826 Patent by using, importing, selling, and/or

offering for sale the Accused Set Top Products (for example, the Spectrum 210) and/or the

Accused Services (for example, monitoring signals generated by the Accused Set Top Products).

          107.   As set forth in the attached non-limiting claim chart (Exhibit K), Charter has

directly infringed and is infringing at least Claim 1 of the ’826 Patent by using, selling, and/or

offering for sale the Accused Services.

          108.   Additionally, the use of the Accused Services by Charter to, for example,

demonstrate products in brick-and-mortar stores in Plano, Texas and Beaumont, Texas or to, for

example, test those products, constitute acts of direct infringement of at least Claim 1 of the ’826

Patent.

          109.   Charter has been aware that it infringes Claim 1 of the ’826 Patent since at least

April 27, 2022 upon the receipt of the letters attached as Exhibit M and Exhibit N, as well as the

receipt of copies of the Original Complaint filed in this case on April 27, 2022 and served on May

3, 2022. Since obtaining knowledge of its infringing activities, Charter has failed to cease its

infringing activities.

          110.   Customers and subscribers of Charter infringe at least Claim 1 of the ’826 Patent

by using the claimed method, at least during the use of the Accused Set Top Products (for example,

the Spectrum 210).

          111.   Charter actively induces customers’ direct infringement. For example, Charter

actively induces infringement of at least Claim 1 of the ’826 Patent by providing the Accused Set

Top Products to Charter customers with specific instructions and/or assistance (including

                                                -21-

                                          APPX178
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 201 Page
                                            01/10/23 Filed:22
                                                            06/16/2023
                                                              of 27 PageID #: 551



installation) regarding the use of the Accused Set Top Products in a manner that infringes the ’826

Patent in accordance with the ordinary course of operation of the Accused Services. Charter

provides the signals claimed by the ’826 Patent via the Accused Services, which enable and induce

its customers to directly infringe the claim. For at least the above-listed reasons, Charter aids,

instructs, supports and otherwise acts with the intent to cause an end user to use the Accused Set

Top Products in a manner that infringes at least Claim 1 of the ’826 Patent.

       112.    Additionally, Charter contributes to the customers’ direct infringement. Charter

provides apparatuses, namely the Spectrum 210, used by customers to perform at least Claim 1 of

the ’826 Patent.

       113.    The Accused Set Top Products have no substantial non-infringing uses. When an

end user uses the Accused Set Top Products in combination with, for example, the Accused

Services, the end user directly infringes at least Claim 1 of the ’826 Patent. Charter knew that the

Accused Set Top Products were especially made for use in an infringing manner prior to the filing

of this lawsuit. The Accused Cable Modem Products are especially made or especially adapted

for use in an infringement.

       114.    Charter’s inducement of, and contribution to, the direct infringement of at least

Claim 1 of the ’826 Patent is continuous and ongoing via the provision of the Accused Services as

well as technical assistance provided by Charter for equipment it provides to its customers in

support of the provision of the Accused Services.

       115.    Charter’s infringement of the ’826 Patent is, has been, and continues to be willful,

intentional, deliberate, and/or in conscious disregard for Entropic’s rights under the patent.

       116.    Entropic has been damaged as a result of the infringing conduct alleged above.

Charter is liable to Entropic in an amount that compensates Entropic for Charter’s infringement,



                                                -22-

                                         APPX179
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 202 Page
                                            01/10/23 Filed:23
                                                            06/16/2023
                                                              of 27 PageID #: 552



which by law cannot be less than a reasonable royalty, together with interest and costs as fixed by

this Court under 35 U.S.C. § 284.

       117.    Entropic has complied with 35 U.S.C. § 287 with respect to the ’826 Patent.

                                  SIXTH CAUSE OF ACTION

                                (Infringement of the ’682 Patent)

       118.    Entropic incorporates by reference and realleges each and every allegation of

Paragraphs 1 through 115 as if set forth herein.

       119.    Entropic owns all substantial rights, interest, and title in and to the ’682 Patent,

including the sole and exclusive right to prosecute this action and enforce the ’682 Patent against

infringers, and to collect damages for all relevant times.

       120.    The ’682 Patent generally describes a method performed by a cable modem

termination system, the method including determining a corresponding signal-to-noise-ratio

(“SNR”) related metric, assigning cable modems to service groups based on a respective

corresponding SNR-related metric, generating a composite SNR-related metric based on a worst-

case SNR profile, selecting a physical layer communication parameter to be used for

communicating with a service group based on a composite SNR-related metric, and

communicating with cable modems in the service group using the selected physical layer

communication parameter.

       121.    The Accused Cable Modem Products remain the property of Charter even when

deployed at the property of a customer.

       122.    The Accused Services operate in a manner controlled and intended by Charter.

       123.    Charter directly infringes the ’682 Patent by using, selling, and/or offering for sale

the Accused Services, which utilize cable modem termination systems that communicate with the

Accused Cable Modem Products (for example, the Spectrum PC20 and Arris SB6183).

                                                -23-

                                          APPX180
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 203 Page
                                            01/10/23 Filed:24
                                                            06/16/2023
                                                              of 27 PageID #: 553



          124.   As set forth in the attached non-limiting claim chart (Exhibit L), Charter has

directly infringed and is infringing at least Claim 14 of the ’682 Patent by using, selling, and/or

offering for sale the Accused Services.

          125.   Additionally, the use of the Accused Services by Charter to, for example,

demonstrate products in brick-and-mortar stores in Plano, Texas and Beaumont, Texas or to, for

example, test those products, constitute acts of direct infringement of at least Claim 1 of the ’682

Patent.

          126.   Charter has been aware that it infringes Claim 1 of the ’682 Patent since at least

April 27, 2022 upon the receipt of the letters attached as Exhibit M and Exhibit N, as well as the

receipt of copies of the Original Complaint filed in this case on April 27, 2022 and served on May

3, 2022. Since obtaining knowledge of its infringing activities, Charter has failed to cease its

infringing activities. Charter’s infringement of the ’682 Patent is, has been, and continues to be

willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights under the patent.

          127.   Entropic has been damaged as a result of the infringing conduct alleged above.

Charter is liable to Entropic in an amount that compensates Entropic for Charter’s infringement,

which by law cannot be less than a reasonable royalty, together with interest and costs as fixed by

this Court under 35 U.S.C. § 284.

          128.   Entropic has complied with 35 U.S.C. § 287 with respect to the ’682 Patent.

                                           JURY DEMAND

          Entropic hereby requests a trial by jury on all issues so triable by right.

                                       PRAYER FOR RELIEF

          WHEREFORE, Entropic requests that:

          A.     The Court find that Charter has directly infringed the Patents-in-Suit and hold

Charter liable for such infringement;

                                                   -24-

                                            APPX181
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 204 Page
                                            01/10/23 Filed:25
                                                            06/16/2023
                                                              of 27 PageID #: 554



       B.      The Court find that Charter has indirectly infringed the Patents-in-Suit by inducing

its customers to directly infringe the Patents-in-Suit and hold Charter liable for such infringement;

       C.      The Court find that Charter has indirectly infringed the Patents-in-Suit by

contributing to its customers direct infringement of the Patents-in-Suit and hold Charter liable for

such infringement;

       D.      The Court award damages pursuant to 35 U.S.C. § 284 adequate to compensate

Entropic for Charter’s past infringement of the Patents-in-Suit, including both pre- and post-

judgment interest and costs as fixed by the Court;

       E.      The Court increase the damages to be awarded to Entropic by three times the

amount found by the jury or assessed by the Court;

       F.      The Court declare that this is an exceptional case entitling Entropic to its reasonable

attorneys’ fees under 35 U.S.C. § 285; and

       G.      The Court award such other relief as the Court may deem just and proper.




                                                -25-

                                         APPX182
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 205 Page
                                            01/10/23 Filed:26
                                                            06/16/2023
                                                              of 27 PageID #: 555




Dated: January 10, 2023                Respectfully submitted,
                                        /s/ James Shimota by permission Wesley Hill
                                       James Shimota – LEAD ATTORNEY
                                       Jason Engel
                                       George Summerfield
                                       Devon Beane (pro hac vice forthcoming)
                                       K&L GATES LLP
                                       70 W. Madison Street, Suite 3300
                                       Chicago, IL 60602
                                       Jim.shimota@klgates.com
                                       Jason.engel@klgates.com
                                       George.summerfield@klgates.com
                                       Devon.beane@klgates.com

                                       Darlene Ghavimi
                                       Matthew Blair
                                       K&L GATES LLP
                                       2801 Via Fortuna
                                       Suite #650
                                       Austin, Texas 78746
                                       Darlene.ghavimi@klgates.com
                                       Matthew.blair@klgates.com

                                       Wesley Hill
                                       Texas Bar No. 24032294
                                       Andrea Fair
                                       Texas Bar No. 24078488
                                       WARD, SMITH & HILL, PLLC
                                       1507 Bill Owens Pkwy
                                       Longview, TX 75604
                                       Tel: (903) 757-6400
                                       Fax (903) 757-2323
                                       wh@wsfirm.com
                                       andrea@wsfirm.com

                                       ATTORNEYS FOR PLAINTIFF
                                       ENTROPIC COMMUNICATIONS, LLC




                                      -26-

                                 APPX183
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:532-2Filed
                                          Page: 206 Page
                                            01/10/23 Filed:27
                                                            06/16/2023
                                                              of 27 PageID #: 556



                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who are

deemed to have consented to electronic service on this tenth day of January, 2023.

                                                           /s/ Wesley Hill




                                              -27-

                                       APPX184
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:53-1
                                  2-2 Filed
                                       Page:  207 Filed:
                                            01/10/23 Page06/16/2023
                                                          1 of 8 PageID #: 557




                     EXHIBIT A




                                APPX185
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:53-1
                                  2-2 Filed
                                       Page:  208 Filed:
                                            01/10/23 Page06/16/2023
                                                          2 of 8 PageID #: 558

                                                                                                                    US00822.3775B2


(12) United States Patent                                                               (10) Patent No.:                                  US 8,223,775 B2
       Li et al.                                                                        (45) Date of Patent:                                   Jul. 17, 2012
(54)   ARCHITECTURE FOR A FLEXBLE AND                                             (56)                                  References Cited
       HIGH-PERFORMANCE GATEWAY CABLE
       MODEMI                                                                                                U.S. PATENT DOCUMENTS
                                                                                           6,944,706 B2 * 9/2005 Schain et al. ................. 709/250
(75) Inventors: Gordon Y. Li, San Diego, CA (US);                                     2001/0039600 A1* 11/2001 Brooks et al. ......       ... 710,126
                Yoav Hebron, San Diego, CA (US)                                       2006/0080650 A1* 4/2006 Winters et al. ................ 717,168
                                                                                  * cited by examiner
(73) Assignee: Entropic Communications, Inc.
                                                                                  Primary Examiner — Patrice Winder
(*) Notice:          Subject to any disclaimer, the term of this                  (74) Attorney, Agent, or Firm — James Sze: Duane Morris
                     patent is extended or adjusted under 35                      LLP
                     U.S.C. 154(b) by 2220 days.
                                                                                  (57)                                         ABSTRACT
(21) Appl. No.: 10/675,566                                                        A cable modem system and architecture. A cable modem
(22) Filed:          Sep. 30, 2003                                                engine performs all cable modem functions, and a data net
                                                                                  working engine performs all data and home networking func
(65)                     Prior Publication Data                                   tions. The cable modem engine is completely partitioned
                                                                                  from the data networking engine. DOCSIS and VoIP func
       US 2005/OO71492 A1              Mar. 31, 2005                              tionality is implemented in the cable modem engine. The
                                                                                  VoIP functionality may be in accordance with the Packet
(51)    Int. C.                                                                   Cable specification. The data networking functionality pro
        H04L 2/46                  (2006.01)                                      vided by the data networking engine may be in accordance
(52) U.S. Cl. ........................................ 370/401; 709/249           with the CableHome specification.
(58) Field of Classification Search ................... 709/249
     See application file for complete search history.                                                       20 Claims, 2 Drawing Sheets

                                                                       1 00

                                                                                             Other CPEs
                                                           Ethernet         USB       (802.11, Powerline, etc.)
                                                                                                                 Networking
                                                                                                                Applications        252
                                                                                                                (Cablehome,
                                                                                                                Web Server.
                                                                                                          258      etc.
                                                                                                                  SNMP,          262
                                                                                                                 HCP, TTP,
                                             cifiver




                                                                                        PacketCable
                                                                       Provisioning     Provisioning




                                                                                                                      Strealisd
                                                                                                                      Pitjir
                                                                                                                           wif
                                                                                                                      Cassification
                                                                                      CMIPFUp
                                                                                                                          PHs.
                                                                                                                         PiL
                                                                                                                        Filtering
                                                                                         Classification
                                                                                        Protocol fittering
                                                MMMBP+
                                                                 NEDriver                  Cable MAC river               Woics
                                                                                                                       MADjiyer




                                                                            DOCSSPHY




                                                             APPX186
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:53-1
                                  2-2 Filed
                                       Page:  209 Filed:
                                            01/10/23 Page06/16/2023
                                                          3 of 8 PageID #: 559


U.S. Patent          Jul. 17, 2012          Sheet 1 of 2                       US 8,223,775 B2




                                                      -100
                       Ethernet        USB




                          Data Networking
                               Engine                           Other LAN IF
                              (ARM#3)                            (802.11, Powerline,
                                                                   Bluetooth, etc.)

                                                            120


                         DOCSIS Controller                                                 119
                             (ARME1)                       be Voice DSP




                           DOCSIS MAC
                            Processor
                             (ARMi2)



                                                           112
                                                           oup downstream data
                                                                         as upstream data
                                                            a                          voice

                                                                                  control




                                  APPX187
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:53-1
                                  2-2 Filed
                                       Page:  210 Filed:
                                            01/10/23 Page06/16/2023
                                                          4 of 8 PageID #: 560


U.S. Patent                                         Jul. 17, 2012               Sheet 2 of 2                               US 8,223,775 B2




                                                                            100- -
                                                                                                   Other CPES
                                                            Ethernet            USB        (802.11, Powerline, etc.)

                                                                                                                  Applications
                                                              Driver                                              (Cablehoms,
          Assawaaaavosiase 4 awaraowso                                                                     2 58   Webetc.)
                                                                                                                       Server,            1 2O

                                               260                                V
                                                                       Advanced Bridging     w
                                                                                         routing   ONE
                                                                       with NATFirewa and won        p
                                                                                                   Stack          DHCP,
                                                                                                                     tooTFTP,
                                         W   CME   river




                                                                                                                                          119
    130                                                                                                                                  Voice
                                                                                                                                          DSP


                                                                                                                        Strealined
                                                                                                                        pfuPRP
                                                                                                                            wif
                                                                                                                        Classification
                                                                                                                            PHS,
                                                                                                                            PC
                                                                                                                          Filtering


                                                   MMMBP+
                                                                                                                                         110
          118




                                                                               DOCSSPHY




                                                                                 RF




                                                                  APPX188
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:53-1
                                  2-2 Filed
                                       Page:  211 Filed:
                                            01/10/23 Page06/16/2023
                                                          5 of 8 PageID #: 561


                                                    US 8,223,775 B2
                              1.                                                              2
     ARCHITECTURE FOR A FLEXBLE AND                               working functions and a cable modem engine that performs
     HGH-PERFORMANCE GATEWAY CABLE                                all other cable modem functions, wherein the cable modem
                MODEMI                                            engine is completely partitioned from the data networking
                                                                  engine.
               FIELD OF THE INVENTION                                Another embodiment of the invention is a cable modem
                                                                  architecture. The architecture includes a cable modem engine
   The present invention relates to cable modems and, in having a DOCSIS PHY layer with a hardware transmitter and
particular, relates to a cable modem system having a func receiver, a DOCSIS MAC processor that implements real
tionally partitioned and flexible architecture.                   time critical MAC functions for both upstream and down
                                                               10
                                                                  stream communications, and a DOCSIS controller imple
           BACKGROUND OF THE INVENTION                            menting VoIP functionality. The architecture also includes a
                                                                  data networking engine implementing all data networking
   The future gateway cable modem (CM) will provide a wide processing and home networking applications. The data net
range of data networking and VoIP services, as exemplified by working engine is completely decoupled from the cable
the requirements for initiatives such as CableHome and Pack 15 modem engine. In one implementation, the VoIP functional
etCable. The major challenge in designing Such a gateway ity provided by the cable modem is in accordance with the
cable modem is integration of these services with the basic PacketCable specification and the data networking function
cable modem functionality in an efficient and cost-effective. ality provided by the data networking engine is in accordance
Several objectives need to be met:                                with the CableHome specification.
   Functional Partitioning. The gateway cable modem will             Another embodiment of the invention is a method for pro
incorporate a variety of functions beyond the traditional cable viding a flexible and partitioned cable modem gateway. Data
modem, including IP routing, network address translation and home networking functionality is provided by a data
(NAT)/firewall, virtual private network (VPN), web server networking engine, and DOCSIS and VoIP functionality is
and VoIP. These functions need to utilize DOCSIS (Data Over provided by a cable modem engine. The data networking
Cable Service Interface Specification)services (link-layer 25 engine is partitioned from the cable modem engine so that the
transport and QoS) for wide area network (WAN) access. data and home networking functionality is completely
Partitioning these functions along with other cable modem decoupled from the DOCSIS and VoIP functionality.
functions among different computational agents is an essen           Other systems, methods, features and advantages of the
tial issue in designing a gateway cable modem.                    invention will be or will become apparent to one with skill in
   Flexiblity. The architecture of the gateway cable modem 30 the art upon examination of the following figures and detailed
should be flexible enough to allow independent software description. It is intended that all Such additional systems,
development and field-upgrade of gateway value-added ser methods, features and advantages be included within this
vices and basic DOCSIS cable modem services. From a               description, be within the scope of the invention, and be
development standpoint, the architecture should facilitate dif protected by the accompanying claims.
ferent Software-partnering models, including all in-house, 35
software components licensing, and OEM vendor-differenti                 BRIEF DESCRIPTION OF THE DRAWINGS
ating design. From a multiple system operator (MSO) per
spective, it is highly desirable to be able to independently         The components in the figures are not necessarily to scale,
provision, maintain and upgrade revenue-producing gateway emphasis instead being placed upon illustrating the principles
services and basic broadband access services.                  40 of the invention. In the figures, like reference numerals des
   Performance. The gateway cable modem should be able to ignate corresponding parts throughout the different views.
Support a large number of simultaneous data application ses          FIG. 1 is a block diagram of a gateway cable modem
sions originated from/terminated on multiple CPE (customer architecture according to the present invention.
provided equipment) devices. VoIP applications must not be           FIG. 2 is a functional block diagram implementing the
adversely impacted by an concurrent data applications, and 45 cable modem architecture of FIG. 1.
the data path for Voice packets must be optimized to minimize
delay and jitter.                                                     DETAILED DESCRIPTION OF THE INVENTION
   Cost. The gateway cable modem chip should have a small
incremental hardware cost/functional increase relative to            FIG. 1 illustrates a cable modem system architecture 100
stand-alone cable modem chips.                                 50 according to the present invention. System 100 comprises
   Software Re-Use. It should be possible to carry over exist three major Subsystems: cable modem engine 110; data net
ing cable modem Software to the new gateway cable modem working engine 120; and advanced crypto engine 130. The
without major changes. The existing Software running on functional Sub-components of these three-subsystems are
network processors should be easily portable to run on the illustrated in greater detail in FIG. 2.
gateway platform without major adaptation.                     55    Cable modem engine 110 implements the entire DOCSIS
   The present invention provides a gateway cable modem cable modem functionality and is further divided into three
architecture that meets all of these objectives.                  functional blocks: DOCSIS PHY layer 112: DOCSIS MAC
                                                                  processor 114 and DOCSIS controller 116. DOCSIS PHY
              SUMMARY OF THE INVENTION                            layer 112 comprises a hardware transmitter and receiver. In
                                                               60 one implementation, it is for a DOCSIS 2.0-compliant PHY.
   The present invention provides a gateway cable modem As seen in FIG. 1, DOCSIS PHY layer 112 receives down
system and architecture that meets the above objectives and stream data, transmits upstream data and receives and trans
provides a highly flexible, high performance system capable mits voice data from/to an external Source. In one implemen
of handling multiple cable modem Voice, data and network tation, the external source is a HFC (hybrid fiber coax) cable
ing services.                                                  65 employing both fiber optic and coaxial cable as an effective
   One embodiment of the invention is a cable modem system means for delivering combined data, video, voice, CATV and
comprising a data networking engine that performs data net other communications.
                                                     APPX189
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:53-1
                                  2-2 Filed
                                       Page:  212 Filed:
                                            01/10/23 Page06/16/2023
                                                          6 of 8 PageID #: 562


                                                  US 8,223,775 B2
                             3                                                                    4
   Processor 114 implements real-time critical MAC func             modem engine driver 260 communicates with cable modem
tions for both upstream (US) and downstream (DS) commu              engine 110 and functional block 262 provides SNMP, DHCP.
nications. These functions include US and DS synchroniza            TFTP and TOD functionality.
tion, DSMAC address filtering, DS protocol filtering, US and          Advanced crypto engine 130 provides hardware support
DSPHS, concatenation, fragmentation, MAP processing, US             for crypto functions. These include common crypto functions
transmission scheduling, as well as DOCSIS link-layer DES           required by the baseline DOCSIS link-layer security, Packet
encryption and decryption. Processor 114 receives down              Cable Voice security and data-networking security (e.g.
stream data from, provides upstream data to and exchanges           VPN). These functions include DES/3DES, AES and
voice data in both directions with DOCSIS PHY 112. It also          HMAC-MD5/SH-1.
receives upstream data from, and exchanges Voice data in       10     The architecture of gateway cable modem 100 addresses
both directions with, controller 116. To increase downstream        the objectives set forth in the “Background' section above as
                                                                    follows:
throughput, all processing of DSPDU (protocol data unit)          Functional Partitioning. Cable modem 100 completely par
packets is done within processor 114 without involving con titions     data networking functions (advanced bridging/rout
troller 116. After being processed, DSPDU packets are for 15 ing, NAT/firewall, VPN, web server and CableHome appli
warded by processor 116 directly to data networking engine cations) from DOCSIS cable modem functionality. This is
120 along path 118, bypassing controller 116. In one imple accomplished by localizing data networking functions in the
mentation, processor 114 is an ARM9TDMI-based RISC data networking engine processor and localizing cable
processor. In FIG. 2, processor 114 is represented by MAC modem functions in the cable modem engine processor. Addi
DS block 152 and MAC US block 154.                             tionally, PacketCable VoIP functionality (embedded MTA) is
   Controller 116 receives US PDU packets from data net implemented within cable modem engine 110 to address the
working engine 120. As previously described, DSPDU pack facts that embedded MTA is closely coupled with cable
ets are forwarded by processor 114 to data networking engine modem MAC services and that the latency and jitter of voice
120 without involvement of controller 116. In one implemen packets needs to be minimized.
tation, controller 116 is an ARM940-based RISC processor. 25 Flexibility. Since the data networking and cable modem
Controller 116 implements the following DOCSIS (blocks functions are decoupled and implemented in different proces
200-212) functions: MAC management message (MMM) sors 110 and 120, independent Software upgrading and main
processing (ranging, registration, UCD, UCC, DCC, DCI. tenance of these functions is feasible. From a development
UP-DIS, DSX and BPI--) (functional block 200 of FIG. 2),       standpoint, the architecture can facilitate different software
IGMP, MAC address learning, classification, US protocol 30 partnering models, such as complete in-house development,
filtering (functional block 202 of FIG. 2) and CMIP stack and software-components licensing and OEM vendor-differenti
software downloading. Functional block 204 carries out cable ating design. In particular, data networking engine 120 pro
modem IP/UDP functions, functional block 206 carries out       vides third parties and OEMs with a dedicated computational
SNMP, DHCP TFTP and TOD functionality and functional platform to develop advanced services outside of the baseline
block 208 is responsible for cable modem provisioning. Con 35 cable modem and VoIP/PacketCable services, minimizing
troller 116 also includes a data network engine driver 210 in their support dependency on the cable modem provider.
communication with data network engine 120 and cable Moreover, the software architecture within cable modem
MAC driver 212.                                                engine 110 is designed in a modular way so that the Packet
   In addition, in order to minimize the latency and jitter of Cable E-MTA can be implemented with minimum impact on
voice packets, controller 116 also implements all Packet 40 the cable modem.
Cable functionality. In FIG. 2, PacketCable functionality is      Performance. System 100 is able to support a large number
represented by functional blocks 220-228. These Packet of simultaneous data-application sessions originated from/
Cable functions include provisioning (block 220), security terminated on multiple CPE devices. Its performance is
and signaling. Functional blocks 222 (voice DSP driver), 224 enhanced by the pipe-lining nature of system 100: the pro
(streamlined IP/UDP/RTP with classification: PHS, IP/LLC 45 cessing-intensive functions of the cable modem and data net
filtering) and 226 (voice MAC driver) interface with external working are rationally distributed among three different pro
voice DSP 119. Additionally MGCP and RTCP functions are cessors: DOCSIS MAC processor 114 (ARM #2); DOCSIS
provided by functional block 228.                              controller 116 (ARM #1); and data networking engine 120
   Data networking engine 120 is responsible for all data (ARM #3), according to their orders in the packet flow. To
networking processing including advanced multi-port bridg 50 further boost downstream throughput, the downstream PDU
ing/routing with NAT/firewall and VPN (block 250) and packets are directly forwarded from the DOCSIS MAC pro
home networking applications (CableHome, Web Server, cessor 114 to the data networking engine 120 without going
etc.) (block 252). In one implementation, the entire embedded through DOCSIS controller 116. This is made possible by
portal services (PS) functionality of the CableHome specifi exploiting the asymmetric nature of the DOCSIS US/DS 152
cation is contained within data networking engine 120, with 55 and 154. In addition, the data path for voice packets is laid
the CableHome functionality being completely decoupled entirely within cable modem engine 110 and is optimized to
from the PacketCable and DOCSIS functionality provided by reduce delay and jitter.
cable modem engine 110. As a result of the virtual de-cou         Cost. A chip implementing cable modem system 100 will
pling from cable modem engine 110, data networking engine have only a small incremental hardware cost/functional
120 can be independently software-upgraded without impact 60 increase over current stand-alone cable modem chips. The
ing the functionality of cable modem engine 110 (and vice major cost difference relative to current chips is the addition
Versa).                                                        of another ARM940-type processor to the chip.
   As seen in FIG. 1, data networking engine is capable of        Software Re-Use. Existing cable modem software may be
additional CPE functionality such as Ethernet, USB and other carried over to system 100 without major or drastic changes.
LAN I/F communications (802.11, Bluetooth, Powerline, 65 Existing software running on PCD network processors may
etc.), with appropriate CPE drivers 254, 256, 258 being pro be easily ported to run on data networking engine 120 without
vided to Support Such communications. Additionally, cable major adaptation.
                                                    APPX190
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:53-1
                                  2-2 Filed
                                       Page:  213 Filed:
                                            01/10/23 Page06/16/2023
                                                          7 of 8 PageID #: 563


                                                      US 8,223,775 B2
                               5                                                                6
  While various embodiments of the invention have been                  the DOCSIS MAC processor is configured to implement
described, it will be apparent to those of ordinary skill in the          real-time MAC functions for both upstream and down
art that many more embodiments and implementations are                    stream communications; and
possible that are within the scope of this invention.                    the DOCSIS controller is configured to implement VoIP
   What is claimed is:                                                      functionality; and wherein the data networking engine
   1. A cable modem system comprising:                                      includes a RISC processor configured to implement a
   a data networking engine implemented in a first circuit that             majority of data networking processing and home net
      includes at least one processor, the data networking                  working applications decoupled from the implementa
      engine programmed with Software that when executed                    tion of the MAC functions and the VoIP functionality of
      by the at least one processor of the first circuit causes the 10      the cable modem engine.
      data networking engine to perform home networking                   11. A cable modem system as claimed in claim 10, wherein
      functions including interfacing with customer provided the DOCSIS controller is configured to provide VoIP func
      equipment, wherein the at least one processor is a RISC tionality in accordance with the PacketCable specification,
      processor,                                                       wherein the data networking engine is configured to provide
   a cable modem engine implemented in a second circuit that 15 the embedded portal services functionality of the CableHome
      includes at least one processor, the second circuit being specification, and wherein the CableHome functionality pro
      separate from the first circuit, the cable modem engine vided by the data networking engine is completely decoupled
      including a DOCSIS PHY layer, a DOCSIS controller, from the PacketCable and DOCSIS functionality provided by
      and a DOCSIS controller and programmed with soft the cable modem engine.
      ware that when executed by the at least one processor of           12. A cable modem system as claimed in claim 11, wherein
      the second circuit causes the cable modem engine to the DOCSIS MAC processor is an ARM9TDMI-based RISC
      perform cable modem functions other than the home processor, and wherein the DOCSIS controller is an
      networking functions performed by the data networking ARM940-based RISC processor.
      engine, the cable modem functions including interfacing             13. A cable modem system as claimed in claim 1, wherein
      with cable media, the cable modem engine configured to 25 the data networking engine includes consumer provided
      enable upgrades to its Software in a manner that is inde equipment drivers including a USB driver and an Ethernet
      pendent of upgrades to the Software of the data network driver and the data networking engine is configured to provide
      ing engine; and                                                  the embedded portal services functionality of the CableHome
   a data bus that connects the data networking engine to the specification, wherein the DOCSIS controller is configured to
      cable modem engine, wherein the cable modem func 30 provide VoIP functionality in accordance with the Packet
      tions performed by the cable modem engine are com Cable specification, and wherein the CableHome functional
      pletely partitioned from the home networking functions ity provided by the data networking engine is completely
      performed by the data networking engine;                         decoupled from the PacketCable and DOCSIS functionality
   wherein the DOCSIS MAC processor is configured to pro provided by the cable modem engine.
      cess downstream PDU packets and forward the pro 35 14. A method of cable modem operation comprising:
      cessed packets directly to the data networking engine              executing, via at least one processor of a first circuit that
      without the involvement of the DOCSIS controller in                   implements a data networking engine, first Software that
      order to boost downstream throughput.                                 causes the data networking engine to perform home
   2. A cable modem system as claimed in claim 1, wherein all               networking functions including interfacing with cus
DOCSIS functions are localized in the cable modem engine. 40                tomer provided equipment, wherein the at least one pro
   3. A cable modem system as claimed in claim 2, wherein                   cessor is a RISC processor;
VoIP functionality is embedded in the cable modem engine.                executing, via one or more processors of a second circuit
   4. A cable modem system as claimed in claim 1, and further               that implements a cable modem engine programmed
comprising an advanced crypto engine configured to perform                  with second software, the second software to cause the
all crypto functions for both the data networking engine and 45             cable modem engine to perform cable modem functions
the cable modem engine, the advanced crypto engine being                    other than the home networking functions performed by
separate from both the data networking engine and the cable                 the data networking engine, the cable modem functions
modem engine.                                                               including interfacing with cable media, the cable
   5. A cable modem system as claimed in claim 1, wherein                   modem engine configured to enable upgrades to its soft
the DOCSIS PHY layer includes a hardware transmitter and 50                 ware in a manner that is independent of upgrades to the
receiver.                                                                   Software of the data networking engine, wherein the
   6. A cable modem system as claimed in claim 1, wherein all               second circuit is separate from the first circuit, and
VoIP functionality is implemented in the DOCSIS controller.                 wherein the cable modem engine includes a DOCSIS
   7. A cable modem system as claimed in claim 6, wherein                   PHY layer, a DOCSIS controller and a DOCSIS con
the VoIP functionality is in conformance with the Packet 55                 troller;
Cable specification.                                                     connecting, via a data bus, the data networking engine to
   8. A cable modem system as claimed in claim 1, wherein                   the cable modem engine, wherein the cable modem
the data networking engine is configured to perform all data                functions performed by the cable modem engine are
networking processing including advanced multi-port bridg                   completely partitioned from the home networking func
ing routing with NAT/firewall and VPN, and home network 60                  tions performed by the data networking engine;
ing applications.                                                        processing, via the DOCSIS MAC processor, downstream
   9. A cable modem system as claimed in claim 8, wherein                   PDU packets and forwarding the processed packets
the data networking engine comprises the entire embedded                    directly to the data networking engine without the
portal services functionality of the CableHome specification.               involvement of the DOCSIS controller in order to boost
   10. A cable modem system as claimed in claim 1, wherein 65               downstream throughput.
with regard to the cable modem engine:                                    15. A method of cable modem operation as claimed in
   the DOCSISPHY layer includes a transmitter and receiver; claim 14, further comprising:
                                                       APPX191
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:53-1
                                  2-2 Filed
                                       Page:  214 Filed:
                                            01/10/23 Page06/16/2023
                                                          8 of 8 PageID #: 564


                                                    US 8,223,775 B2
                              7                                                                 8
  providing a flexible and partitioned cable modem gateway            by the at least one processor of the first circuit causes the
    comprising:                                                       data networking engine to perform home networking
    providing data and home networking functionality in the           functions including interfacing with customer provided
       data networking engine;                                        equipment;
    providing DOCSIS and VoIP functionality in the cable 5         a cable modem engine implemented in a second circuit that
       modem engine; and                                              includes at least one processor, the second circuit being
    partitioning the data networking engine from the cable            separate from the first circuit, the cable modem engine
       modem engine so that the data and home networking              programmed with software that when executed by the at
       functionality is completely decoupled from the DOC             least one processor of the second circuit causes the cable
       SIS and VoIP functionality.                            10      modem engine to perform cable modem functions other
  16. A method as claimed in claim 14, further comprising:            than the home networking functions performed by the
  providing VoIP functionality in accordance with the Pack            data networking engine, the cable modem functions
    etCable specification in the DOCSIS controller; and               including interfacing with cable media, and the cable
  providing the embedded portal services functionality of the         modem engine configured to enable upgrades to its soft
    CableHome specification in the data networking engine; 15         ware in a manner that is independent of upgrades to the
  wherein the CableHome functionality provided by the data            Software of the data networking engine, the cable
    networking engine is completely decoupled from the                modem engine including a DOCSIS controller and a
    PacketCable and DOCSIS functionality provided by the              DOCSIS MAC processor, the DOCSIS MAC processor
    cable modem engine.                                               configured to process downstream PDU packets and
  17. A method as claimed in claim 14, further comprising:            forward the processed packets directly to the data net
  providing the embedded portal services functionality of the         working engine without the involvement of the DOCSIS
    CableHome specification in the data networking engine;            controller in order to boost downstream throughput; and
     and                                                           a data bus that connects the data networking engine to the
  providing VoIP functionality in accordance with the Pack            cable modem engine, wherein the cable modem func
     etCable specification in the DOCSIS controller;          25      tions performed by the cable modem engine are com
  wherein the data networking engine includes consumer                pletely partitioned from the home networking functions
     provided equipment drivers including a USB driver and            performed by the data networking engine.
     an Ethernet driver; and                                       19. A cable modem system as claimed in claim 18, wherein
  wherein the CableHome functionality provided by the data all DOCSIS functions are localized in the cable modem
     networking engine is completely decoupled from the 30 engine.
     PacketCable and DOCSIS functionality provided by the          20. The cable modem system as claimed in claim 18
     cable modem engine.                                         wherein the DOCSISMAC processor is configured to imple
  18. A cable modem system comprising:                           ment real-time MAC functions for both upstream and down
  a data networking engine implemented in a first circuit that stream communications.
     includes at least one processor, the data networking 35
     engine programmed with Software that when executed




                                                      APPX192
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-2    Page:  215 Filed:
                                             01/10/23 Page 06/16/2023
                                                           1 of 16 PageID #: 565




                      EXHIBIT B




                                APPX193
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-2    Page:  216 Filed:
                                             01/10/23 Page 06/16/2023
                                                           2 of 16 PageID #: 566

                                                                                                     US008284690B2


 (12) United States Patent                                                       (10) Patent No.:                     US 8.284,690 B2
        Barr                                                                     (45) Date of Patent:                           Oct. 9, 2012

 (54) RECEIVER DETERMINED PROBE                                               (58) Field of Classification Search ........................ None
                                                                                   See application file for complete search history.
  75) Inventor
 (75) I    tor:        David
                        aVIC B5arr, San
                                    San Jose,
                                        Jose, CA (US
                                                 (US)                         (56)                     References Cited

 (73) Assignee: for                   unications Inc., San                                      U.S. PATENT DOCUMENTS
                               s                                                     7,124,199 B2 * 10/2006 Miller et al. .................. TO9,238
  c            -r                             -                                2007, 0183383 A1*        8, 2007 Bitran et al. ...          370,338
 (*) Notice:           subsists still                                          20080117833 A1* 5/2008 Borran et al. ................. 370,252
                       U.S.C. 154(b) by 253 days.                             * cited by examiner
                                                                              Primary Exami — C1
                                                                               FIFOF EXOFilter                   Ce   Ha
 (21) Appl. No.: 12/635,649                                                   (74) Attorney, Agent, or Firm — Bruce W. Greenhaus;
 (22) Filed:            Dec.e 10,
                              - V8
                                   2009                                       Daniel Yannuzzi: Michael Febbo
                                                                              (57)                  ABSTRACT
 (65)                Prior Publication Data                                   According to various embodiments of the disclosed method
         US 2010/O15OO16A1      Jun. 17, 2010                                 and apparatus, nodes on a network are programmed to gen
                                                                              erate a probe transmission in response to a request from the
               Related U.S. Application Data                                  node that will be receiving the probe. The receiving node may
 (60) Provisional application No. 61/122,687, filed on Dec                    generate a probe request that specifies a plurality of param
      15, 2008, provisional a lication No. 61f179.45 4.                       eters, such as a modulation profile for the probe; the payload
      filed on M. 19, 2009 pp                                       s a- is   content of the probe; the number of times to transmit the
                  y 19,                                                       probe; a number of symbols for the payload of the probe; a
 (51) Int. Cl.                                                                preamble type for the probe; a cyclic-prefix length for the
      G06F II/00                     (2006.01)                                payload of the probe; a transmit power for the probe; and a
      GO6F 15/173                    (2006.015                                transmit power Scaling factor for the payload of the probe.
 (52) U.S. Cl. ........................................ 370/252: 709/224                      24 Claims, 6 Drawing Sheets




                                                                                        33    E3883:
                                                                                         $838. Six



                                           B&Evi
                                              83.38
                                                    Rc8:          -




                                                                 APPX194
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-2    Page:  217 Filed:
                                             01/10/23 Page 06/16/2023
                                                           3 of 16 PageID #: 567


 U.S. Patent          Oct. 9, 2012     Sheet 1 of 6         US 8,284,690 B2




                                     APPX195
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-2    Page:  218 Filed:
                                             01/10/23 Page 06/16/2023
                                                           4 of 16 PageID #: 568


 U.S. Patent          Oct. 9, 2012     Sheet 2 of 6         US 8,284,690 B2




                                     APPX196
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-2    Page:  219 Filed:
                                             01/10/23 Page 06/16/2023
                                                           5 of 16 PageID #: 569




                                APPX197
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-2    Page:  220 Filed:
                                             01/10/23 Page 06/16/2023
                                                           6 of 16 PageID #: 570




                                APPX198
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-2    Page:  221 Filed:
                                             01/10/23 Page 06/16/2023
                                                           7 of 16 PageID #: 571


 U.S. Patent          Oct. 9, 2012     Sheet 5 of 6          US 8,284,690 B2




                           Six Y six                       |-260
                                     «Six

                                                               s
                      SECY }           {{Scte;

                    specify User of symbols for M
                              -Yi               -

                      S-EY Y-8xxx xxiii


                         Six-Y        k{xxx



                    SPECIFY TRANSMTPower SETTINGS/28
                     specify payload symbol scale           -266
                                      fix


                        SEY xiii.                     8:      ef
                            kiss8S




                                     APPX199
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-2    Page:  222 Filed:
                                             01/10/23 Page 06/16/2023
                                                           8 of 16 PageID #: 572


 U.S. Patent          Oct. 9, 2012      Sheet 6 of 6            US 8,284,690 B2




                                       8:308.88.083.




                                      8:38, 88


                                      38888.           S38838
                                        ;   ::    *      33-3
                                        3.x:             388




                         cons if 32: K           CHANNE 328




                                     Tig. 6

                                     APPX200
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-2    Page:  223 Filed:
                                             01/10/23 Page 06/16/2023
                                                           9 of 16 PageID #: 573


                                                       US 8,284,690 B2
                                1.                                                                  2
           RECEIVER DETERMINED PROBE                               network devices) are programmed to generate a probe trans
                                                                   mission in response to a request from the nodes that will be
             CROSS-REFERENCE TO RELATED                            receiving the probe. The receiving node may generate a probe
                        APPLICATIONS                               request that specifies a plurality of parameters to be used in
    This application claims the benefit of U.S. Provisional ing    such a “receiver determined probe to generate a probehav
 Applications No. 61/122,687, filed Dec. 15, 2008, and No. the probe   the “form’ specified by these parameters. Accordingly,
 61/179,454, filed May 19, 2009, each of which is herein                       request specifies a plurality of parameters associ
 incorporated by reference.                                        ated with the generation and transmission of a probe, includ
                                                                10
                                                                   ing the content of a payload of the probe. In one embodiment,
                     TECHNICAL FIELD                               the parameters further include: the modulation profile for the
                                                                   probe; the payload content of the probe; the number of times
    The presently disclosed method and apparatus relates gen to transmit the probe; the number of symbols for the payload
 erally to communication networks, and more particularly, of the probe; the preamble type for the probe; the cyclic-prefix
 Some embodiments relate to channel assessment probes.          15 length for the payload of the probe; the transmit powerfor the
          DESCRIPTION OF THE RELATED ART                           probe; and the transmit power Scaling factor for the payload
                                                                   of the probe. Accordingly, the probe that is transmitted in
    A home network may include multiple types of subscriber response to the probe request will have a form dictated by the
 equipment configured to deliver Subscriber services through parameters specified in the probe request.
 out the home. These subscriber services include delivering          In various embodiments, these receiver determined probes
 multimedia content, Such as streaming audio and video, may be used in a variety of applications. For example, the
 through the home network to subscriber equipment, where it probes may be used to reach or discover hidden nodes; in
 is presented to a user. As the number of available subscriber networks employing orthogonal frequency division multiple
 services has increased and they become more popular, the
 number of devices being connected within each home net 25 access  channel
                                                                          (OFDMA), the probes may be used for OFDMA sub
                                                                             assessment; or in networks accessible by content
 work has also increased. The increase in the number of Ser
 vices and devices increases the complexity of coordinating providers,
                                                                    OS1S.
                                                                               the probes may be used for off-site network diag
 communication between the network nodes as each node may            An embodiment of the disclosed method comprises: a)
 experience different access conditions along its portion of the receiving    in a first node, a probe request specifying a plurality
 network.
                                                                30 of parameters associated with the generation and transmis
    This increase in complexity, further increases the likeli
 hood that network problems may develop. When problems sion of a probe, including the content of a payload of the
 with subscriber services develop, subscriber service content probe; and b) transmitting from the first node to a second node
 providers are typically required to diagnosis the source of the the probehaving a form dictated by the parameters specified
 network problem. Often, this requires sending a technician to by the probe request.
 the physical location of the home network to personally 35 In a further embodiment of the method and apparatus, at
 assess the network and diagnose the problem. Accordingly, as least one of the probe parameters indicates: a) a modulation
 the number of homes with subscriber services incorporated profile for the probe; b) the payload content of the probe; c)
 into their home networks increases, so does the amount of the number of times to transmit the probe; d) the number of
 resources a service provider must devote to technical Support symbols for the payload of the probe; e) the preamble type for
 and network maintenance.                                       40 the probe: f) the cyclic-prefix length for the payload of the
    In many instances in which a network is established, it is probe; g) the transmit powerfor the probe; and h) the transmit
 helpful to characterize the communication channel over power Scaling factor for the payload of the probe.
 which data is to be sent between nodes of the network. It
 should be noted that for the purposes of this disclosure, a         Other features and aspects of the disclosed method and
 “channel’ is the communication link between a first node of 45 apparatus will become apparent from the following detailed
 a network and a second node of a network in one particular description,          taken in conjunction with the accompanying
                                                                   drawings, which illustrate, by way of example, the features in
 direction. Therefore, there is a first channel from a first node        accordance with embodiments of the disclosed method and
 1 to a second node 2 and a second unique channel from the               apparatus. The Summary is not intended to limit the scope of
 second node 2 to the first node 1. In some instances, probes
 are sent between nodes of the network in order to allow a               the claimed invention, which is defined solely by the claims
 receiving node on the network to determine Some of the 50 attached hereto.
 characteristics of the channel between the receiving node and              BRIEF DESCRIPTION OF THE DRAWINGS
 the transmitting node. These probes are typically well
 defined. Accordingly, the receiving node knows before recep
 tion what reference signal was transmitted. By comparing the          The disclosed method and apparatus, in accordance with
 reference probe with the actual received probe, the receiver 55 one or more various embodiments, is described in detail with
 can determine some of the characteristics of the channel           reference to the following figures. The drawings are provided
 between the transmitting and receiving node. However, for purposes of illustration only and merely depict either
 requiring the transmitting node to send a predetermined probe typical embodiments or examples of particular embodiments.
 reduces the amount flexibility of the characterization process. These drawings are provided to facilitate the readers under
 Nonetheless, this reduction in the flexibility must be suffered 60 standing of the disclosed method and apparatus and shall not
 because it is critical to the process that the receiving node be considered limiting of the breadth, scope, or applicability
 knows the precise form of the transmitted probe.                   of the claimed invention. It should be noted that for clarity and
                                                                    ease of illustration these drawings are not necessarily made to
                      BRIEF SUMMARY                                      scale.
                                                                    65     FIG. 1 illustrates an example of one environment in which
   According to various embodiments of the disclosed                     Some embodiments of the disclosed method and apparatus
 method and apparatus, nodes on a network (also referred to as           may be implemented.
                                                        APPX201
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-2     Page:  224 Page
                                             01/10/23 Filed: 10
                                                             06/16/2023
                                                                of 16 PageID #: 574


                                                      US 8,284,690 B2
                                    3                                                                4
     FIG. 2 illustrates an example of one embodiment of a the NC based upon a process defined by the communications
  network topology of the disclosed method and apparatus.             protocol. In networks employing an NC, the NC schedules
     FIG. 3 illustrates a transmitter module that may be network communications between network nodes using a
  employed in some embodiments of the disclosed method and MAP message. The MAP is sent as a packet. Such MAP
  apparatus to generate PHY packets.                                5 packets are sent on a regular basis. MAPs are generated in
     FIG. 4 illustrates a method of operation according to an response to reservation requests by the nodes of the network.
  embodiment of the disclosed method and apparatus.                   The NC's MAP message may precisely schedule probe trans
     FIG. 5 illustrates examples of parameters that may be missions. The NC also performs admission procedures when
  modified or determined for generating a probe request a new node requests admission to the network.
  according to an embodiment of the disclosed method and 10 Nodes described herein can be associated with a variety of
  apparatus.                                                          devices. For example, in a system deployed in a residence
     FIG. 6 illustrates an example computing module that may 101, a node may be a network communications module asso
  be used in implementing various features of embodiments of ciated with one of the computers 109 or 110. Such nodes
  the disclosed method and apparatus.                                 allow the computers 109, 110 to communicate on the com
     The figures are not intended to be exhaustive or to limit the 15 munications medium 100. Alternatively, a node may be a
  claimed invention to the precise form disclosed. It should be module associated with a television 111 to allow the televi
  understood that the disclosed method and apparatus can be sion to receive and display media streamed from the internet,
  practiced with modification and alteration, and that the or from one or more other network nodes. A node might also
  claimed invention should be limited only by the claims and be associated with a speaker or other media playing devices
  the equivalents thereof.                                            103 that plays music. A node might also be associated with a
                                                                      module configured to interface with an internet or cable ser
                     DETAILED DESCRIPTION                             vice provider 112, for example to provide Internet access,
                                                                      digital video recording capabilities, media streaming func
     Before describing the disclosed method and apparatus in tions, or network management services to the residence 101.
  detail, it is useful to describe an example of an environment in 25 In many embodiments, network probes are used to perform
  which the disclosed method and apparatus can be imple various channel assessment or network maintenance proce
  mented. The network of FIG. 1 will be described for this            dures. For example, in a wired network, network node mobil
  purpose. A wired communications medium 100 is shown. In ity may be fairly low and new nodes joining the network may
  Some embodiments, the wired communications medium                   be a relatively rare occurrence. In contrast to highly dynamic
  might be a coaxial cable system, a power line system, a fiber 30 networks. Such as wireless networks, wired networks are
  optic cable system, an Ethernet cable system, or other similar more stable, i.e., the channel conditions do not change fre
  communications medium. Alternatively, the communications quently. In stable networks probing can be used to profile the
  medium might be a wireless transmission system. In the channel conditions without introducing unacceptable net
  illustrated embodiment, the communications medium 100 is            work overhead. However, even with more dynamic networks,
  preinstalled coaxial cabling deployed within a residence 101. 35 network probes can be used to diagnose problems. For
     The network comprises a plurality of network nodes 102, example, a probe can replicate a potential problem, reach or
  103,104,105,106 in communication according to a commu discover a distant or previously undetected node on the net
  nications protocol. For example, the communications proto work, or assist with network admissions procedures.
  col might comprise a networking standard, Such as the Mul              In some embodiments, network communications use
  timedia over Coax Alliance (MoCA) standard. In the 40 orthogonal frequency division multiplexing (OFDM). In
  illustrated embodiment, the communications protocol speci OFDM, a communications channel comprises a plurality of
  fies a packet based communications system. In this embodi orthogonal Subcarrier frequencies. In one embodiment, trans
  ment, physical layer (PHY) packets comprise preambles and missions are modulated onto these Subcarriers using quadra
  payloads. A PHY preamble is typically inserted at the begin ture amplitude modulation (QAM), where symbols are
  ning of each packet to assist receivers in detecting and acquir 45 modulated onto the subcarrier by modifying the amplitude of
  ing the physical layer parameters to properly receive and an in-phase and independently modifying the amplitude of a
  decode the packet. The communications protocol may have a quadrature portion of the Subcarrier transmission. Each
  plurality of pre-defined PHY preambles to use with different OFDM symbol is formed from the collection of all of the
  types of network communications. For example, one type of QAM symbols modulated onto each of the used subcarriers in
  preamble may be used when transmitting in a diversity mode 50 the same time slot. In some embodiments, each Subcarrier is
  (a communication mode in which little is known about the modulated with the same modulation scheme. For example,
  communication channel). Another type of preamble may be an OFDM symbol may comprise a plurality of subcarriers
  used when transmitting a media access plan (MAP) message. each modulated with 4-QAM. In another embodiment, trans
  Another type of preamble may comprise a specified Subset of missions on different subcarriers may utilize different QAM
  Subcarrier frequencies. Other types of packets may use other 55 schemes. For example, a first Subcarrier may be modulated
  types of preambles.                                                 using 2-QAM (otherwise known as binary phase shift keying
     A PHY payload is used to transmit the data content of the (BPSK)), a second subcarrier may be modulated using
  packet. In some cases, the PHY payload has a predetermined 64-QAM, and so on. In yet another embodiment, different
  format. For example, in a MoCA network, network mainte transmission types may utilize different types of OFDM sym
  nance messages and MAP messages each have a format that 60 bols. For example, during network admissions processes,
  is determined by the MoCA protocol. In other cases, the PHY transmissions may utilize OFDM symbols where each sub
  payload may have undetermined format. For example, the carrier is modulated with 2-QAM, and once the network node
  PHY payload of a media streaming transmission might com has been admitted to the network, it may utilize an adaptable
  prise an embedded Ethernet packet or a portion thereof.             bitloading profile for its OFDM symbols.
     In some embodiments, activity on the network is controlled 65 In some embodiments, OFDMA may be employed to allow
  by a network coordinator (NC) node. In one such embodi multiple nodes to have simultaneous access to the channel. In
  ment, one of the nodes is selected to perform the functions of OFDMA, disjoint subsets of subcarriers, referred to as sub
                                                        APPX202
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-2     Page:  225 Page
                                             01/10/23 Filed: 11
                                                             06/16/2023
                                                                of 16 PageID #: 575


                                                     US 8,284,690 B2
                             5                                                                     6
  channels, are assigned to the nodes participating in the         domain PHY preamble before the frequency domain payload
  OFDMA communications. In some embodiments employing              160. Accordingly, a preamble specified in the frequency
  NCs, OFDMA is used for the communications between the            domain may be “prepended to the payload after the subcar
  non-NC nodes and the NC. In these embodiments, the NC            rier mapper 163. The combined signal is then modulated onto
  may partition the channel into Sub-channels and assign these the OFDM symbol by a modulator module 164. The modu
  Sub-channels to the participating network nodes. In a particu lated signal is then filtered and upconverted to the channels
  lar embodiment, the Sub-channels are configured Such that the predetermined radio frequencies by the filter 165 and an RF
  bitloading on each Sub-channel is the same. In this embodi upconverter 166.
  ment, because different Subcarriers may accommodate differ          When the transmitting module 150 is generating a time
  ent modulation schemes, the Sub-channels may not all have 10 domain packet, the frequency domain modulation is not nec
  the same number of Subcarriers. However, in other embodi         essary. However, in one embodiment the frequency domain
  ments, different Sub-channel bitloading and partitioning modulation is used even when generating a time domain
  schemes may be employed.                                         packet. A time domain payload 161 having a time domain
     FIG. 2 illustrates a full mesh topology between four preamble generated by a time domain preamble generator
  example nodes. In some embodiments, network conditions 15 module 167 is filtered and RF upconverted for transmission
  may vary according to the particular channel, and even on the channel.
  according to the direction of the channel. For example, net         FIG. 4 illustrates a method of operation according to an
  work conditions for the channel from node 1 to node 2 can        embodiment of the disclosed method and apparatus. In block
  differ from the conditions for the channel from node 2 to node   200, one or more nodes transmit a probe request specifying
  1. These can each be different from the conditions of the        probe parameters to one or more nodes that will be transmit
  channel from node 2 to node 3, and so on. Accordingly, ting the eventual probe(s) having a form that is dictated by the
  different modulation schemes may be employed for each specified parameters. In one embodiment, the probe is trans
  channel. In one embodiment, probes are used during a net mitted by a single node and received by a single node (point
  work profiling period to determine the modulation schemes to to-point) or received by several nodes (point-to-multipoint,
  be used for the different links. For example, node 1 may 25 Such as multicast or broadcast). In another embodiment, the
  transmit a probe request to each of nodes 2, 3, and 4 specify probe is simultaneously transmitted by multiple nodes and
  ing a bitloading per Subcarrier and a raw data sequence to be received by a single node (multipoint-to-point, such as
  used in transmitting the probe. Each of nodes 2, 3, and 4 OFDMA). In other OFMDA embodiments, multiple nodes
  would then generate the probe with the requested bitloading might share the communications channel for multi-point to
  and raw data sequence and transmit the probe to node 1. By 30 multi-point communications. In Such a case, multiple nodes
  analyzing this return probe and repeating the process if nec can transmit probe requests, and multiple nodes can receive
  essary, node 1 can develop bitloading profiles for use on the probes, all simultaneously.
  Subcarriers used to communicate with each of nodes 2, 3, and        In block 201, the probe transmitter or transmitters receive
  4.                                                               the probe request or requests. In one embodiment, the probe
     In one embodiment employing OFDMA, a receiving node 35 request specifies a plurality of parameters for the probe that
  sends a probe request that indicates which Sub-carriers are to will dictate the form of the probe to be transmitted. These
  be used to send a probe from a particular transmitting node parameters are discussed in more detail below with respect to
  and the bitloading profiles applied across those sub-carriers.   FIG. 5. In block 202, the probe transmitter uses the specified
  For example, in one embodiment, node 1 may be an NC, and probe parameters to generate a probe having a form that
  may receive reservation requests from nodes 2, 3, and 4 40 complies with the specified parameters. In block 203, the
  simultaneously using OFDMA. If node 1 were to establish a probe transmitter transmits the generated probe to the probe
  potential Sub-channel with node 2, node 1 can transmit a requester at a specified time. Alternatively, the probe trans
  probe request specifying a bitloading profile in which the mitter can transmit the probe to any other probe base upon one
  subcarriers that are not in the potential sub-channel are left of the parameters of the probe request or based upon infor
  untransmitted. Accordingly, the bitloading profile would 45 mation that previously existed within the transmitting node.
  indicate modulating only the Subcarriers that are in the poten In some embodiments, the requested probe may exceed cer
  tial Sub-channel. In this case, the probe generated by node 2 in tain capabilities of the transmitter.
  response to the probe request from node 1 would emulate an          In one embodiment, the probe transmitter's RMS error
  OFDMA transmission from node 2 to node 1. Node 1 could           (signal fidelity) requirements may be relaxed if the requested
  then use the information derived from the probe in its 50 probe specifies a power output that exceeds the transmitting
  OFDMA sub-channel allocation procedure.                          node's nominal total output power. As another example, the
     In another embodiment, node 1 could transmit one or more      probe transmitter may have restrictions on how many time
  probe requests that request probes to be transmitted by some domain probes it is allowed to send, and will send a time
  or all of the OFDMA participant nodes simultaneously on the domain probe only if the probe transmitter determines that the
  subcarriers assigned to be used by each OFDMA participant 55 time domain probe will not negatively impact other network
  node.                                                            operations.
     FIG. 3 illustrates a transmitter module 150 used within a        In block 204, the requesting node receives the probe gen
  node, such as the nodes 102,103,104,105,106 shown in FIG.        erated according to its earlier probe request. The received
  1. The transmitter module 150 generates PHY packets in probe may then be used in further processing in block 205. In
  accordance with one embodiment of the disclosed method 60 one embodiment, the received probe may be used in channel
  and apparatus. The module 150 has a frequency domain pay analysis to determine a bitloading table, FEC and other com
  load 160 and/or a time domain payload 161. A subcarrier munication parameters for OFDM or OFDMA signals for
  mapper 163 maps the payload 161 to a plurality of assigned future transmissions from the probe transmitter. In another
  Subcarriers according to a predetermined bitloading profile embodiment, post reception processing might comprise gen
  for the channel (or sub-channel in the case of an OFDMA 65 erating a report from the probe and transmitting this probe
  transmission). The transmitter module 150 uses a frequency report to the requesting node or to a designated entity. For
  domain preamble generator module 162 to inserta frequency example, the probe report could contain bitloading, FEC and
                                                      APPX203
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-2     Page:  226 Page
                                             01/10/23 Filed: 12
                                                             06/16/2023
                                                                of 16 PageID #: 576


                                                      US 8,284,690 B2
                                 7                                                                 8
  other communication parameters to be used subsequently by various techniques, such as data-Scrambling, bin-scrambling,
  the transmitting node when communicating to the receiving forward error correction, or encryption be used in network
  node. In another example, the probe report could be conveyed communications. In some Such embodiments, these tech
  to an offsite network administrator for remote management niques are specified in the probe request. In alternative
  purposes. For example, the parameters of the requested probe 5 embodiments, these techniques are not used in the specified
  can be determined by an off-site network administrator, and data sequence for simplicity.
  conveyed to a probe requestor. The resulting probe, post              In block 262, a probe request specifies a number of sym
  processing, and probe report can be used to assist in diagnos bols for the probe payload length. In one embodiment, the
  ing a network problem possibly involving the probe requester number of symbols and the raw data sequence will be deter
  or the probe transmitter. In one Such case, a probe report is 10 mined such that the serialized bit stream corresponding to the
  sent to the network administrator.                                 raw data sequence fully occupies the requested number of
     In other embodiments, the probe request might be trans symbols using the requested bitloading profile. Additionally,
  mitted by a different node than the probe receiver. For in embodiments using OFDM communications, or other
  example, in FIG. 2, node 2 might generate a probe request for embodiments with multi-path channel characteristics, a
  node 3 to generate and transmit a specified probe to node 1. In 15 cyclic prefix length may be specified. In some embodiments,
  Some embodiments, this is used to determine how communi            the cyclic prefix length may be the same for each symbol of
  cations between node 3 and node 1 could impact communi the specified number of symbols. In other embodiments, the
  cations between node 2 and node 4. This might occur, for cyclic prefix length may be assigned in a symbol specific
  example, in an OFDMA system in which a sub-channel manner or may otherwise vary between symbols of the probe.
  between node 1 and node 3 and a second sub-channel between            In block 264, a probe request further specifies a preamble
  node 2 and node 3 are active at the same time. In another          type to use in the probe. As discussed above, some networks
  embodiment, an NC can generate a probe request for a probe operate according to protocols that specify a variety of avail
  to be transmitted between two other nodes with an instruction      able packet preambles. These packet preambles can be used
  that a probe report be transmitted to the NC. This might be for packet identification or can contain information useful in
  used by an off-site network manager that can communicate 25 receiving and decoding the packet's payload. In some
  with only some of the network nodes, but Suspects that com embodiments, different preambles may be utilized according
  munications between other network nodes may be causing a to channel conditions, such as a long and robust preamble
  network problem.                                                   when the channel conditions are unknown, or a short and
     FIG. 5 illustrates examples of parameters that may be efficient preamble when the channel conditions are known to
  modified or determined for generating a probe request 30 be good. In some embodiments using OFDMA transmis
  according to an embodiment of the disclosed method and sions, a preamble type may be used in which each simulta
  apparatus. A probe request may specify a bitloading profile or neous transmitter contributes a portion of the composite pre
  constellation profile to be used in the probe (block 260). For amble corresponding to the particular Subcarriers assigned to
  example, in OFDM networks, the bitloading profile or con each participating transmitter. In some embodiments, nodes
  stellation profile may specify which QAM constellations to 35 may be restricted from using certain preamble types. For
  use for which channel Subcarriers. In some embodiments, the        example, in a network utilizing MAP packets, a MAP packet
  specified bitloading profile may specify a QAM constellation preamble may be specified, and nodes may be restricted from
  or QAM scheme to use for each subcarrier. In other embodi requesting that a probe utilize a MAP packet preamble. This
  ments, the bitloading profile specifies QAM schemes for only can serve to reduce the likelihood that a probe might
  a Subset of the available Subcarriers and the probe generating 40 adversely affect the operation of other nodes not involved in
  node will not transmit the remaining Subcarriers.                  the probing procedure. In other embodiments, the type of
     In various embodiments, the bitloading profile includes preamble available is not restricted, or the restriction can be
  indications to leave certain Subcarriers untransmitted. For        overcome in certain circumstances. For example, diagnostic
  example, in one embodiment, in which the network conforms probe requests could be unrestricted in terms of the available
  to an industry standard established by MoCA, 100 MHz/512 45 preambles while network maintenance or assessment or
  versions of MoCA's Type II Frequency Domain Tone Probes channel assessment probe requests could be restricted in
  can be accommodated without the need to specifically define terms of their available preambles. Additionally, in some
  the probes in the MoCA specification. This could be accom embodiments, only certain probe parameters can be
  plished in part by generating a probe request for a probe requested under certain conditions. For example, in an
  having two modulated Subcarriers, while specifying that the 50 OFDMA network, the network protocol may specify that a
  remaining Subcarriers of the probe be untransmitted. As particular OFDMA preamble be used in all OFDMA trans
  another example, an OFDMA transmission from a single missions. Therefore, if a probe request specifies an OFDMA
  node could be emulated by instructing the node to transmit a probe, then the probe request will specify that the particular
  probe in which only Subcarriers belonging to a certain Sub OFDMA preamble be used in the OFDMA probe. In another
  channel are transmitted, while leaving the remaining Subcar 55 embodiment, the probe request also specifies that the same
  riers untransmitted. Additionally, simultaneous OFDMA Subcarriers remain untransmitted in the preamble as in the
  transmissions may occur in response to probe requests to OFDMA packet payload. In another embodiment, the probe
  multiple nodes. In one embodiment, each of the multiple transmitting node may perform this operation automatically.
  probe requests is sent to one of a plurality of nodes. Each           In the embodiment of FIG. 5, block 265 indicates that a
  probe request specifies a bitloading profile specific to the 60 probe request specifies a transmit power setting for the probe.
  particular probe-transmitting node. Such that the simulta          In some embodiments, the network protocol may establish a
  neously transmitted probes from the multiple nodes comprise range of transmit power settings that are available for various
  an OFDMA transmission to the requesting node.                      transmissions. In a particular embodiment, a range of trans
     In accordance with the embodiment shown in FIG. 5, in           mit power (attenuation) settings is between 0 and 30 dB for
  block 261, the probe request specifies a raw data sequence for 65 normal transmissions, and between -12dB (corresponding to
  the probe (or for just the probe's payload). In some embodi amplification) to 45 dB for OFDMA transmissions, or trans
  ments, a network communications protocol specifies that missions with an OFDMA specifying preamble. In some
                                                       APPX204
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-2     Page:  227 Page
                                             01/10/23 Filed: 13
                                                             06/16/2023
                                                                of 16 PageID #: 577


                                                     US 8,284,690 B2
                                                                                                10
  embodiments, a node conforms to these predetermined set         domain  probe request  to determine if the corresponding time
  tings in generating probe requests. In other embodiments, the domain probe would disrupt the network.
  different settings available for different transmission types     In various embodiments, allowing a probe receiving node
  may be exploited to generate particular probes. For example, to specify the parameters for a probe from the probe trans
  a probe request could request an amplified non-OFDMA mitting node allows various features to be implemented. Fur
  probe in order to reach or identify a distant or hidden node.   thermore, in Some embodiments, networks implementing
     In block 266, a probe request further specifies a power these embodiments may simplify their shared communica
  scaling factor for the payload relative to the preamble. In tions standards. For example, a network standard may forgo
  embodiments employing this scaling factor, probe payloads specifying particular assessment probes and allow a receiving
  can be transmitted with different power characteristics than 10 node to determine its own assessment probe. In one embodi
  the probe preambles. In one particular embodiment, the scale ment, the receiving node may utilize this ability to specify the
  factor varies from 0 to 17 dB of amplification in the payload characteristics of an error vector measurement (EVM) probe
  relative to the preamble. This might be used in a variety of or echo profile probe (EPP). Furthermore, this may simplify
  different requested probes. For example, 100 MHz/512-sub the shared communications standard by allowing proprietary
  carrier versions of MoCA's Type II Frequency Domain Tone 15 aspects of the probe signal processing to be confined to par
  Probes can be emulated, in part, by applying an appropriate ticular receivers. Allowing the receiving node to specify the
  payload scale factor. For example, a probe request may characteristics of the probe also supports future extensibility
  specify a payload that modulates only a single Subcarrier with (e.g., new probe signals could be Supported by older trans
  the maximum available payload Scaling factor (amplification) mitters). In addition to allowing a network to improve its
  in order to reach or identify a distant or hidden node. In functioning, this may also allow legacy nodes to better inter
  another example, a payload scale factor may be requested operate with nodes operating according to future standards.
  which produces a probe transmission which exceeds the For example, if an improved EVM probe type were developed
  transmitting node's nominal total output power, in order to for a future network, nodes implementing this embodiment
  reach or identify a distant or hidden node. Alternatively, the will be capable of transmitting the improved probe, even if
  probe request may specify an OFDMA emulating probe in 25 they themselves are not able to process these probes and are
  which the payload is modulated on a set of subcarriers that restricted to using a legacy EVM probe. Additionally, some
  comprises a potential sub-channel for OFDMA communica nodes may be capable of downloading or receiving new probe
  tions. The Scaling factor can be determined Such that the types from outside entities. In networks implementing an
  payload is transmitted at the power level of a normal OFDMA embodiment of the disclosed method and apparatus, these
  Sub-channel, even though the preamble does not specify that 30 new probes may be uploaded to the capable nodes, which can
  the communication is an OFDMA sub-channel. In one               then request the updated probes to be transmitted from nodes
  embodiment, such probes might be used to assess a channel that would not otherwise have the upgraded capabilities.
  and thus allow an NC to pre-determine which OFDMA sub             As used herein, the term module might describe a given
  channels should be used if a node leaves or joins the network. unit of functionality that can be performed in accordance with
  For example, an NC could establish four potential sub-chan 35 one or more embodiments of the disclosed method and appa
  nels for a network having three current nodes. This would ratus. As used herein, a module might be implemented utiliz
  avoid overhead if a fourth node were to join the network. In ing any form of hardware, Software, or a combination thereof.
  Some embodiments, packet power restrictions may impact For example, one or more processors, controllers, ASICs,
  what Scaling factors are available in terms of the specified PLAs, PALs, CPLDs, FPGAs, logical components, software
  transmit power setting. In a particular embodiment, the pay 40 routines or other mechanisms might be implemented to make
  load symbol scaling factor minus the transmit power (attenu up a module. In implementation, the various modules
  ation) setting is restricted to less than or equal to 12 dB.    described herein might be implemented as discrete modules
     In block 267, a probe request specifies the number of times or the functions and features described can be shared in part or
  the generated probe should be transmitted. For example, a in total among one or more modules. In other words, as would
  probe request may specify that the generated probe be 45 be apparent to one of ordinary skill in the art after reading this
  repeated to allow improved channel assessment or to diagno description, the various features and functionality described
  sis a particular network issue. In one embodiment, the amount herein may be implemented in any given application and can
  of delay between repetitions is specified. In further embodi be implemented in one or more separate or shared modules in
  ments, the probe request may specify that certain probe various combinations and permutations. Even though various
  parameters vary in Subsequent transmissions. For example, 50 features or elements of functionality may be individually
  the probe request may specify that the transmitter transmit described or claimed as separate modules, one of ordinary
  three Subsequent probes with equivalent parameters except skill in the art will understand that these features and func
  for an increasing power transmit setting. In some embodi tionality can be shared among one or more common Software
  ments, this is used to avoid repetitious probe requests.        and hardware elements, and Such description shall not require
     In some alternative embodiments, the probe requests 55 or imply that separate hardware or software components are
  specify time-domain probes. For example, a probe request used to implement Such features or functionality.
  may specify a time domain probe to generate a square wave or      Where components or modules of the disclosed method
  othereasily analyzed signal for channel estimate purposes. In and apparatus are implemented in whole or in part using
  Some embodiments, factors similar to those employed in the Software, in one embodiment, these Software elements can be
  embodiments described with respect to FIG. 5 may be 60 implemented to operate with a computing or processing mod
  employed in a time domain probe request, except that the ule capable of carrying out the functionality described with
  bitloading profile and raw data bit-sequence are replaced with respect thereto. One Such example computing module is
  a time series for the transmitted probe. In some embodiments,   shown in FIG. 6. Various embodiments are described interms
  the allowed time domain sequences are restricted, for of this example-computing module 300. After reading this
  example to prevent a mal-formed packet from disrupting 65 description, it will become apparent to a person skilled in the
  other network communications. In other embodiments, probe relevantart how to implement the disclosed method and appa
  transmitters are programmed to evaluate a received time ratus using other computing modules or architectures.
                                                      APPX205
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-2     Page:  228 Page
                                             01/10/23 Filed: 14
                                                             06/16/2023
                                                                of 16 PageID #: 578


                                                      US 8,284,690 B2
                                11                                                              12
     Referring now to FIG. 6, computing module 300 may used to allow software and data to be transferred between
  represent, for example, computing or processing capabilities computing module 300 and external devices. Examples of
  found within desktop, laptop and notebook computers; hand communications interface 324 might include a modem or
  held computing devices (PDAs, Smartphones, cell phones,          Softmodem, a network interface (such as an Ethernet, network
  palmtops, etc.); mainframes, Supercomputers, workstations interface card, WiMedia, IEEE 802.XX or other interface), a
  or servers; or any other type of special-purpose or general communications port (Such as for example, a USB port, IR
  purpose computing devices as may be desirable or appropri port, RS232 port BluetoothR) interface, or other port), or other
  ate for a given application or environment. Computing mod communications interface. Software and data transferred via
  ule 300 might also represent computing capabilities communications interface 324 might typically be carried on
  embedded within or otherwise available to a given device. For 10 signals, which can be electronic, electromagnetic (which
  example, a computing module 300 might be found in elec includes optical) or other signals capable of being exchanged
  tronic devices Such as, for example, digital cameras, naviga by a given communications interface 324. These signals
  tion systems, cellular telephones, portable computing might be provided to communications interface 324 via a
  devices, modems, routers, wireless access points (WAPs), channel 328. This channel 328 might carry signals and might
  terminals and other electronic devices that might include 15 be implemented using a wired or wireless communication
  Some form of processing capability.                              medium. Some examples of a channel might include a MoCA
     Computing module 300 might include, for example, one or channel over coaxial cable, phone line, power line, a cellular
  more processors, controllers, control modules, or other pro link, an RF link, an optical link, a network interface, a local or
  cessing devices, such as a processor 304. Processor 304 might wide area network, and other wired or wireless communica
  be implemented using a general-purpose or special-purpose tions channels.
  processing engine Such as, for example, a microprocessor,           In this document, the terms "computer program medium’
  controller, or other control logic. In the illustrated example, and “computer usable medium' are used to generally refer to
  processor 304 is connected to a bus 302, although any com media such as, for example, memory 308, storage unit 320,
  munication medium can be used to facilitate interaction with       media 314, and channel 328. These and other various forms of
  other components of computing module 300 or to communi 25 computer program media or computer usable media may be
  cate externally.                                                   involved in carrying one or more sequences of one or more
     Computing module 300 might also include one or more instructions to a processing device for execution. Such
  memory modules, simply referred to herein as main memory instructions embodied on the medium, are generally referred
  308. For example, preferably random access memory (RAM) to as "computer program code' or a "computer program
  or other dynamic memory, might be used for storing infor 30 product' (which may be grouped in the form of computer
  mation and instructions to be executed by processor 304. programs or other groupings). When executed, such instruc
  Main memory 308 might also be used for storing temporary tions might enable the computing module 300 to perform
  variables or other intermediate information during execution features or functions of the disclosed method and apparatus as
  of instructions to be executed by processor 304. Computing discussed herein.
  module 300 might likewise include a read only memory 35 While various embodiments of the disclosed method and
  (“ROM) or other static storage device coupled to bus 302 for apparatus have been described above, it should be understood
  storing static information and instructions for processor 304. that they have been presented by way of example only, and not
     The computing module 300 might also include one or more of limitation. Likewise, the various diagrams may depict an
  various forms of information storage mechanism 310, which example architectural or other configuration for the disclosed
  might include, for example, a media drive 312 and a storage 40 method and apparatus, which is done to aid in understanding
  unit interface 320. The media drive 312 might include a drive the features and functionality that can be included in the
  or other mechanism to Support fixed or removable storage disclosed method and apparatus. The claimed invention is not
  media 314. For example, a hard disk drive, a floppy disk drive,    restricted to the illustrated example architectures or configu
  a magnetic tape drive, an optical disk drive, a CD or DVD rations, but the desired features can be implemented using a
  drive (R or RW), or other removable or fixed media drive 45 variety of alternative architectures and configurations.
  might be provided. Accordingly, storage media 314 might Indeed, it will be apparent to one of skill in the art how
  include, for example, a hard disk, a floppy disk, magnetic alternative functional, logical or physical partitioning and
  tape, cartridge, optical disk, a CD or DVD, or other fixed or configurations can be implemented to implement the desired
  removable medium that is read by, written to or accessed by features of the disclosed method and apparatus. Also, a mul
  media drive 312. As these examples illustrate, the storage 50 titude of different constituent module names other than those
  media 314 can include a computer usable storage medium depicted herein can be applied to the various partitions. Addi
  having stored therein computer software or data.                   tionally, with regard to flow diagrams, operational descrip
     In alternative embodiments, information storage mecha tions and method claims, the order in which the blocks are
  nism 310 might include other similar instrumentalities for presented herein shall not mandate that various embodiments
  allowing computer programs or other instructions or data to 55 be implemented to perform the recited functionality in the
  be loaded into computing module 300. Such instrumentalities        same order unless the context dictates otherwise.
  might include, for example, a fixed or removable storage unit         Although the disclosed method and apparatus is described
  322 and an interface 320. Examples of such storage units 322 above interms of various exemplary embodiments and imple
  and interfaces 320 can include a program cartridge and car         mentations, it should be understood that the various features,
  tridge interface, a removable memory (for example, a flash 60 aspects and functionality described in one or more of the
  memory or other removable memory module) and memory individual embodiments are not limited in their applicability
  slot, a PCMCIA slot and card, and other fixed or removable         to the particular embodiment with which they are described,
  storage units 322 and interfaces 320 that allow software and but instead can be applied, alone or in various combinations,
  data to be transferred from the storage unit 322 to computing to one or more of the other embodiments of the disclosed
  module 300.                                                     65 method and apparatus, whether or not such embodiments are
     Computing module 300 might also include a communica described and whether or not such features are presented as
  tions interface 324. Communications interface 324 might be being apart of a described embodiment. Thus, the breadth and
                                                       APPX206
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-2     Page:  229 Page
                                             01/10/23 Filed: 15
                                                             06/16/2023
                                                                of 16 PageID #: 579


                                                        US 8,284,690 B2
                                   13                                                                     14
  scope of the claimed invention should not be limited by any of           e) a  cyclic-prefix length   for the payload of the probe;
  the above-described embodiments which are presented as                   f) a transmit power for the probe; and
  mere examples for illustration only.                                     g) a transmit power scaling factor for the payload of the
     Terms and phrases used in this document, and variations                  probe.
  thereof, unless otherwise expressly stated, should be con 5 4. The method of claim 3, wherein the probe request iden
  Strued as open ended as opposed to limiting. As examples of tifies a hidden node.
  the foregoing: the term “including should be read as mean                5. The method of claim 3, wherein the modulation profile
  ing “including, without limitation” or the like; the term for the probe emulates an orthogonal frequency division mul
  “example' is used to provide exemplary instances of the item
  in discussion, not an exhaustive or limiting list thereof; the 10 tiple  6.
                                                                              access (OFDMA) transmission.
                                                                               The method of claim 1, wherein the probe request is
  terms “a” or “an should be read as meaning “at least one.” generated               by the second node.
  “one or more' or the like; and adjectives such as “conven                7.  The    method of claim 1, wherein the probe request
  tional,” “traditional,” “normal,” “standard,” “known and               requests  a probe that assists in diagnosing a network problem.
  terms of similar meaning should not be construed as limiting
  the item described to a given time period or to an item avail       15   8.  The   method   of claim 7, wherein the probe request is
  able as of a given time, but instead should be read to encom generated             by a network operator and uploaded to the second
  pass conventional, traditional, normal, or standard technolo node.
  gies that may be available or known now or at any time in the            9. A method comprising:
  future. Likewise, where this document refers to technologies             a) a first node transmitting a probe request to a second node,
  that would be apparent or known to one of ordinary skill in the             the probe request specifying a first plurality of probe
  art, such technologies encompass those apparent or known to                 parameters for a physical layer probe, the first plurality
  the skilled artisan now or at any time in the future.                       of probe parameters comprising a form for the probe
     The presence of broadening words and phrases such as                     including a modulation profile for the probe;
  “one or more.” “at least,” “but not limited to’ or other like            b) the first node receiving the probe from the second node,
  phrases in some instances shall not be read to mean that the 25             wherein the probe is generated in accordance with the
  narrower case is intended or required in instances where Such               first plurality of parameters and in accordance with a
  broadening phrases may be absent. The use of the term 'mod                  second plurality of parameters determined by the second
  ule' does not imply that the components or functionality                    node.
  described or claimed as part of the module are all configured             10. The method of claim 9, wherein the probe request is
  in a common package. Indeed, any or all of the various com 30 configured such that the probe emulates an OFDMA trans
  ponents of a module, whether control logic or other compo mission.
  nents, can be combined in a single package or separately                 11. The method of claim 9, further comprising:
  maintained and can further be distributed in multiple group              a) the first node transmitting a second probe request to a
  ings or packages or across multiple locations.                              third node:
     Additionally, the various embodiments set forth herein are 35 b) and the first node receiving a second probe from the third
  described in terms of exemplary block diagrams, flow charts                 node, wherein the second probe is generated according
  and other illustrations. As will become apparent to one of                  to the second probe request; and
  ordinary skill in the art after reading this document, the illus         wherein the first probe and second probe are transmitted
  trated embodiments and their various alternatives can be                    simultaneously using OFDMA.
  implemented without confinement to the illustrated 40 12. The method of claim 9, wherein the probe parameters
  examples. For example, block diagrams and their accompa further comprises:
  nying description should not be construed as mandating a                 a) an indication of the number of times to transmit the
  particular architecture or configuration.                                   probe;
     The invention claimed is:                                             b) a number of symbols for the payload of the probe; a
     1. A method comprising:                                          45      preamble type for the probe;
     a) receiving in a first node, a probe request specifying a first      c) a cyclic-prefix length for the payload of the probe; a
        plurality of parameters associated with the generation                transmit power for the probe; and
        and transmission of a probe, wherein the first plurality of        d) a transmit power scaling factor for the payload of the
        parameters at least specify content payload of the probe              probe.
        and a second node,                                            50    13. The method of claim 12, wherein the probe request is
     b) determining a second plurality of parameters associated configured such that the probe identifies a hidden node.
        with generation and transmission of the probe;                      14. The method of claim 9, wherein the probe request is
     c) generating the probe in accordance with the first plural transmitted at a specific time.
        ity of parameters and the second plurality of parameters,           15. The method of claim 9, wherein the probe request is
        wherein the probe has a form dictated by the first plu 55 configured to diagnose a network problem.
        rality of parameters; and                                           16. The method of claim 15, wherein the probe request is
     d) transmitting the probe from the first node to the second generated by a network operator and uploaded to the first
       node.                                                            node.
    2. The method of claim 1, further including using within              17. A system, comprising:
  the first node, at least one of the probe parameters to deter 60        a) a first node on a communications network, the first node
  mine a modulation profile for the probe.                                   comprising a first processor and a first computer execut
    3. The method of claim 1, wherein at least one of the probe              able program code embodied on a first a computer read
  parameters indicates:                                                      able medium, the first computer executable program
    a) a modulation profile for the probe;                                   code configured to transmit a probe request to a second
    b) the number of times to transmit the probe;               65           node, on the communications network, the probe request
    c) a number of symbols for the payload of the probe;                     specifying a first plurality of probe parameters for a
    d) a preamble type for the probe;                                        physical layer probe, wherein the first plurality of probe
                                                          APPX207
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-2     Page:  230 Page
                                             01/10/23 Filed: 16
                                                             06/16/2023
                                                                of 16 PageID #: 580


                                                      US 8,284,690 B2
                                15                                                                  16
        parameters comprising at least a payload content for the           a third computer executable program code embodied on
        probe and a modulation profile for the probe; and                  a third computer readable medium, the third executable
     b) the second node on the communications network, the                 program code configured to receive the second probe
        second node comprising a second processor and a sec                request, generate the second probe according to the
        ond computer executable program code embodied on a                 received probe request, and transmit the second probe to
        second computer readable medium, the second execut                 the first node on the communications network; and
        able program code configured to:                                   wherein the first probe and second probe are transmitted
     receive the probe request;                                            simultaneously using OFDMA.
     determine a second plurality of parameters associated with         20. The system of claim 17, wherein the probe parameters
        generation and transmission of the probe;                 10 further comprises:
     generate the probe in accordance with the first plurality of       a) an indication of the number of times to transmit the
        parameters and the second plurality of parameters,                 probe;
        wherein the probe has a form dictated by the first plu         b) a number of symbols for the payload of the probe;
        rality of parameters; and                                       c) a preamble type for the probe;
     transmit the probe to the first node.                        15    d) a cyclic-prefix length for the payload of the probe;
     18. The system of claim 17, wherein the probe request is           e) a transmit power for the probe; and
  configured such that the probe emulates an OFDMA trans                f) a transmit power Scaling factor for the payload of the
  mission.                                                                 probe.
     19. The system of claim 17, wherein the first executable           21. The system of claim 20, wherein the probe request is
  program code is further configured to transmit a second probe configured such that the probe identifies a hidden node.
  request to a third node on the communications network, the            22. The system of claim 17, wherein the probe request is
  second probe request specifying a third first plurality of probe generated by the first node.
  parameters for a second physical layer probe, the third plu           23. The system of claim 17, wherein the probe request is
  rality of probe parameters comprising a second payload con configured to diagnose a network problem.
  tent for the second probe and a second modulation profile for 25 24. The system of claim 23, wherein the probe request is
  the probe, the second probe request further specifying a dif generated by a network operator and uploaded to the first
  ferent second plurality of parameters associated with the gen node.
  eration and transmission of the second probe; and
     further comprising the third node on the communications
        network, the third node comprising a third processor and




                                                       APPX208
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-3    Page:  231 Filed:
                                             01/10/23 Page 06/16/2023
                                                           1 of 13 PageID #: 581




                      EXHIBIT C




                                APPX209
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-3    Page:  232 Filed:
                                             01/10/23 Page 06/16/2023
                                                           2 of 13 PageID #: 582

                                                                                                         USOO8792008B2


 (12) United States Patent                                                           (10) Patent No.:                    US 8,792,008 B2
        Gallagher et al.                                                             (45) Date of Patent:                             Jul. 29, 2014
 (54) METHOD AND APPARATUS FOR SPECTRUM                                           (58) Field of Classification Search
        MONITORING                                                                        USPC ......................... 348/192,725,572, 731, 729;
                                                                                                             455/234.1, 136, 138,234.2; 375/349,
 (75) Inventors: Timothy Gallagher, Encinitas, CA                                                                                   375/350, 316
                 (US); Patrick Tierney, Solana Beach,                                     See application file for complete search history.
                            AsS); Jun Huang, San Diego, CA                        (56)                     References Cited
                                                                                                    U.S. PATENT DOCUMENTS
 (73) Assignee: Maxinear, Inc., Carlsbad, CA (US)
                                                                                         6,038.435 A * 3/2000 Zhang ............          ... 455,234.1
 (*) Notice:           Subject to any disclaimer, the term of this                       6,813,320 B1 * 1 1/2004 Claxton et al. ................ 375.316
                       patent is extended or adjusted under 35                            S. E: R.S. t 1.
                                                                                           - ww.                              a   .
                                                                                                                                               (4:35
                       U.S.C. 154(b) by 52 days.                                       8,611,483 B2 * 12/2013 Zhu et al. ...........   ... 375,349
                                                                                   2010/0105332 A1* 4/2010 McHenry et al. ............... 455,62
 (21) Appl. No.: 13/607,916                                                        2012/0163518 A1* 6/2012 Reddy et al. .................. 375/350
 (22) Filed:           Sep. 10, 2012                                              * cited by examiner
                                          O      O                                Primary Examiner — Paulos MNatnael
 (65)                        Prior Publication Data                                        y
                                                                                  (74) Attorney, Agent, or Firm — McAndrews, Held &
        US 2013/OO63608A1                     Mar. 14, 2013                       Malloy, Ltd.
                                                                                  (57)                       ABSTRACT
                  Related U.S. Application Data                                   A system, Such as a satellite reception assembly or customer
 (60) Provisional
      8, 2011
                  application No. 61/532,098, filed on Sep.                       premises  gateway, may comprise an analog-to-digital con
                                                                                  Verter operable to digitize a signal spanning an entire televi
         s                                                                        sion spectrum (e.g., cable television spectrum or satellite
 (51) Int. Cl                                                                     television spectrum) comprising a plurality of television
        ioniz/00                        (2006.01)                                 channels. The System may comprise a signal monitor oper
        H04L 2/66                       (2006.015                                 able to analyze a signal to determine a characteristic of the
        H04L 12/26                      (2006,015                                 signal. The system may comprise a data processor operable to
        HO4B 17/OO                      (2006. 01)                                process a television channel to recover content carried on the
  52) U.S. C                                                                      television channel. The system may comprise a channelizer
 (52) CPC                      H04L 12/66 (2013.O1): H04L 43/08                   operable to select first and second portions of the signal, and
                "(2013 O1): fiSE) 26. O1): HO4B                                   concurrently output the first portion to the signal monitor and
                        (       .01):                 99. 36. 01)                 the second portion to the data processor.
        USPC .......................................................... 348/192                     18 Claims, 7 Drawing Sheets




                                                                    APPX210
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-3    Page:  233 Filed:
                                             01/10/23 Page 06/16/2023
                                                           3 of 13 PageID #: 583


 U.S. Patent          Jul. 29, 2014       Sheet 1 of 7      US 8,792,008 B2




                          JeuquoofueldS
                                    d
                                o




                                        APPX211
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-3    Page:  234 Filed:
                                             01/10/23 Page 06/16/2023
                                                           4 of 13 PageID #: 584


 U.S. Patent                                                US 8,792,008 B2




                                APPX212
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-3    Page:  235 Filed:
                                             01/10/23 Page 06/16/2023
                                                           5 of 13 PageID #: 585


 U.S. Patent          Jul. 29, 2014     Sheet 3 of 7        US 8,792,008 B2



                     174




   182                                            re. Monitoring
                                                               154
                      Front-end         Channelizer
                           158              152
                                                          Data Processing
                                                               156




                                  FIG. 1C



                                  APPX213
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-3    Page:  236 Filed:
                                             01/10/23 Page 06/16/2023
                                                           6 of 13 PageID #: 586


 U.S. Patent          Jul. 29, 2014   Sheet 4 of 7          US 8,792,008 B2




                                  APPX214
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-3    Page:  237 Filed:
                                             01/10/23 Page 06/16/2023
                                                           7 of 13 PageID #: 587


 U.S. Patent          Jul. 29, 2014   Sheet 5 Of 7          US 8,792,008 B2




                                  APPX215
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-3    Page:  238 Filed:
                                             01/10/23 Page 06/16/2023
                                                           8 of 13 PageID #: 588


 U.S. Patent              Jul. 29, 2014          Sheet 6 of 7                US 8,792,008 B2




                     O)


                 OS  C
                     O
                     d                    H1N




                                     w                          s
                 s                   &                          ed
                 g                   cy     O.     O.   O       cy




                                                                                       s

                                                                         d
                                                                     .N
                                                                     CD
                                                                     c
                                                                     c
                                                                     (5
                                                                     O




                                          APPX216
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-3    Page:  239 Filed:
                                             01/10/23 Page 06/16/2023
                                                           9 of 13 PageID #: 589


 U.S. Patent                  Jul. 29, 2014             Sheet 7 Of 7                          US 8,792,008 B2




                                           402        Start




     404           An FDM signal occupying the frequency band between Flo and Fi is received



     406
                                                       !
                      Received FDM is digitized signal across the entire band from Foto Fhi



     408
                                                       !
                                       The digitized signal is channelized



     410
                                                       !
                  A first one or more of the channels are conveyed to a data processing module



     412-
                                                       !
                   A second one or more of the channels are conveyed to a monitoring module



     414    Data processing module processes the first one or more channels for consumption while the
                   monitoring module concurrently processes the second one or more channels




                                                    FIG. 4




                                                 APPX217
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-3     Page:  240 Page
                                             01/10/23 Filed: 10
                                                             06/16/2023
                                                                of 13 PageID #: 590


                                                      US 8,792,008 B2
                                1.                                                               2
     METHOD AND APPARATUS FOR SPECTRUM                                 FIG. 1B depicts an example receiver operable to perform
                MONITORING                                           spectrum monitoring in accordance with an example embodi
                                                                     ment of the invention.
                       PRIORITY CLAIM                               FIG. 1C depicts an example satellite system in accordance
     This patent application makes reference to, claims priority with  an example embodiment of the invention.
                                                                    FIG. 2A depicts an example RF front-end of a receiver
  to and claims benefit from U.S. Provisional Patent Applica operable to perform spectrum monitoring in accordance with
  tion Ser. No. 61/532,098 entitled “Method and Apparatus for an example embodiment of the invention.
  Spectrum Monitoring and filed on Sep. 8, 2011.                    FIG.2B depicts another example RF front-end of a receiver
     The above application is hereby incorporated herein by 10 operable    to perform spectrum monitoring in accordance with
  reference in its entirety.
                                                                 an example embodiment of the invention.
             INCORPORATION BY REFERENCE                             FIG. 3 depicts an example channelizer which may be uti
                                                                 lized for performing spectrum monitoring in accordance with
     This patent application also makes reference to:            an example embodiment of the invention.
  U.S. patent application Ser. No. 13/336,451 entitled “Method 15 FIG. 4 is a flow chart illustrating example steps for spec
  and Apparatus for Broadband Data Conversion' and filed on trum monitoring in accordance with an example embodiment
  Dec. 23, 2011; and                                                 of the invention.
  U.S. patent application Ser. No. 13/485,003 entitled “Multi
  layer Time-Interleaved Analog-to-Digital Converter (ADC)               DETAILED DESCRIPTION OF THE INVENTION
  and filed on May 31, 2012; and
  U.S. patent application Ser. No. 13/588,769 entitled “Multi           As utilized herein the terms “circuits’ and “circuitry” refer
  Standard Coverage Map Generation' and filed on Aug. 17.            to physical electronic components (i.e. hardware) and any
  2012.                                                              software and/or firmware (“code’) which may configure the
     Each of the above stated applications is hereby incorpo         hardware, be executed by the hardware, and or otherwise be
  rated herein by reference in its entirety.                   25 associated with the hardware. As utilized herein, “and/or

                  FIELD OF THE INVENTION                          means any one or more of the items in the list joined by
                                                                  “and/or”. For example, “x and/ory' means any element of the
     Certain embodiments of the invention relate to signal pro three-element set {(x), (y), (x,y)}. Similarly, “x, y, and/or z”
  cessing. More specifically, certain embodiments of the inven 30 means any element of the seven-element set {(x), (y), (Z), (x,
  tion relate to a method and system for spectrum monitoring. y), (X,Z), (y,z), (x,y, z)}. As utilized herein, the terms “block”
                                                                  and “module” refer to functions than can be implemented in
            BACKGROUND OF THE INVENTION                           hardware, software, firmware, or any combination of one or
                                                                     more thereof.
     Network-based services can become unacceptable if net               FIG. 1A depicts an example communication system in
  work parameters fall outside of those for which receivers in 35 accordance with an example embodiment of the invention.
  the network were designed. For example, in a cable television Shown in FIG. 1 is a terrestrial television antenna 102, a
  system there are specifications for the number of channels on satellite dish 104, an Internet Protocol (IP) network 106, a
  the plant, the types of channels, the signal levels of those headend 108, a wide area network (e.g., hybrid fiber-coaxial
  channels and the impairments that can be on the plant that (HFC) network) 118, a gateways 120a and 120b, end systems
  would affect the performance of the receiver. If some or all of 40 126a and 12.6b (e.g., computers), and end systems 128a and
  these parameters deviate outside acceptable bounds, the user 128b. The headend 108 comprises a switch 110, a video
  may experience unacceptable performance. Conventional modulator 112, a cable modem termination system (CMTS)
  methods and apparatuses for monitoring network parameters           114, and a splitter/combiner 116.
  are too costly and impractical for use in customer-premises            For downstream traffic, the headend 108 may receive tele
  equipment (CPE).                                                 45 vision signals via the antenna 102 and the satellite dish 104,
     Further limitations and disadvantages of conventional and and may receive data via the IP network 106. The switch 110
  traditional approaches will become apparent to one of skill in may convey the television signals to the video modulator 112
  the art, through comparison of Such systems with some and the data to the CMTS 114. The video modulator 112 may
  aspects of the present invention as set forth in the remainder of modulate the received television signals onto a carrier. The
  the present application with reference to the drawings.          50 CMTS 114 may modulate the received data onto a carrier. The
                                                                      splitter/combiner 116 may combine the outputs of the video
           BRIEF SUMMARY OF THE INVENTION                             modulator 112 and the CMTS 114 resulting in a frequency
                                                                      division multiplexed (FDM) signal comprising one or more
     A system and/or method is provided for spectrum moni television channels and/or one or more DOCSIS channels.
  toring, Substantially as shown in and/or described in connec 55 The FDM signal may be onto the wide area network (WAN)
  tion with at least one of the figures, as set forth more com        118 for distribution to customer premise equipment (CPE).
  pletely in the claims.                                              Each of the gateways 120a and 120b may comprise a receive
     These and other advantages, aspects and novel features of module 150 operable to process the received FDM signal as
  the present invention, as well as details of an illustrated described below.
  embodiment thereof, will be more fully understood from the 60 In an example embodiment, each of the gateways 120a and
  following description and drawings.                                 120b may be operable to transmit, via a module 152, mes
                                                                      sages to the CMTS 114. For such upstream data, the gateways
      BRIEF DESCRIPTION OF SEVERAL VIEWS OF                           120a and 120b may modulate messages (e.g., network man
                        THE DRAWINGS                                  agement/maintenance messages) onto one or more carriers
                                                                   65 for transmission via the WAN 118. The splitter/combiner 116
     FIG. 1A depicts an example cable system in accordance may then convey the message to the CMTS 114. The CMTS
  with an example embodiment of the invention.                        114 may process the messages and, in an example embodi
                                                        APPX218
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-3     Page:  241 Page
                                             01/10/23 Filed: 11
                                                             06/16/2023
                                                                of 13 PageID #: 591


                                                      US 8,792,008 B2
                              3                                                                   4
  ment, adjust transmission parameters (e.g., modulation            packets and/or Internet Protocol packets) to end systems 126,
  parameters, transmit power, frequency offsets, etc.) and/or       perhaps via an interface such as an HDMI interface and/or an
  perform other maintenance/management based on the                 Ethernet interface (not shown). The data processing module
  received messages.                                                156 may also be operable to generate one or more control
    FIG. 1B depicts an example receiver operable to perform         signals 162 for configuring the channelizer 102 and/or the
  spectrum monitoring in accordance with an example embodi          receive front-end 158.
  ment of the invention. Shown in FIG. 1B is a receiver circuit          The parallel arrangement of the monitoring module 154
  100 comprising an RF receive front-end module 158, a chan and data processing module 156 may enable determination of
  nelizer module 102, a monitoring module 154, and a data signal and/or channel characteristics without having to inter
  processing module 156.                                            10 rupt service to user equipment 126 and 128.
     The RF receive front-end 158 may be operable to process a            In an example embodiment, the signal S may be a cable
  received RF signal S to generate a digital signal D. The signal television signal with F-55 MHz. Fis 1002 MHz. In an
  S may be the result of a plurality of television and/or DOCSIS example embodiment, the signal S may be a MoCA signal
  channels being frequency division multiplexed into a single with with F-1150 MHz and F-2100 MHz. These numbers
  signal. The signal S may occupy a frequency band from F to 15 are purely for illustration and not intended to be limiting.
  F. The RF front-end 158 may, for example, amplify, down                 In an example embodiment, the signal S may be a satellite
  convert, filter, and/or digitize the received signal S to generate television signal such as may be at the input of a LNB, at the
  the digital signal D. Example embodiments of the RF front output of a LNB, or at the input of a indoor unit (e.g., set top
  end are depicted in FIGS. 2A and 2B.                                 box). In such an embodiment, the front-end 158, channelizer
     The channelizer 102 may be operable to select J-1 bands 152, data processing module 154, and/or monitoring module
  (represented as C-C) of the signal S and output each of the 154 may reside in the indoor unit (e.g., set-top box), outdoor
  selected bands to the monitoring module 154 and/or the data unit (e.g., satellite dish or accompanying components), and/
  processing module 156, where J is an integer greater than 1. or may be distributed among the indoor unit and outdoor unit
  An example embodiment of the channelizer102 is depicted in of a satellite installation residing at a customer premises. An
  FIG. 3. Each band C, may, for example, correspond to the 25 example of such an embodiment is shown in FIG. 1C.
  frequency band of one or more television channels. For                  In operation of Such an example embodiment, the signal S
  example, each band C, may be an integer multiple of 6 MHz may be amplified, possibly downconverted, and digitized by
  (U.S.) or 8 MHz (EU).                                                the RF front-end 158 to generate the signal D. The channel
     In an example embodiment, the channelizer 102 may be izer102 may then select J bands of the signal D for output to
  implemented entirely in the digital domain and the channel 30 the data processing module 156. Each of the selected bands
  ization may be achieved via one or more digital filtering C-C may, for example, comprise one or more of the cable
  algorithms and/or other digital signal processing algorithms. television channels and/or one or more of the DOCSIS chan
     The monitoring module 154 may be operable to analyze nels that make up the signal S. The data processing module
  the band C that it receives from the channelizer 102 to              156 may provide one or more control signals to determine
  measure/determine characteristics such as, for example, Sig 35 which portion of the signal D is selected for each of the bands
  nal power level vs. frequency, delay vs. frequency, phase shift C-C. The selection may be based, for example, on which
  vs. frequency, type and/or amount of modulation, code rate, television channels are being consumed by end systems 128
  interference levels, signal to noise ratio, a transfer function of and/or whether DOCSIS data is being consumed by end sys
  the channel of over which the signal was received, an impulse tems 126. The channelizer 102 may also select one band,
  response of the channel over which the signal was received, 40 represented as band C, to be output to the monitoring
  and/or any other characteristic that may help assess charac module 154. Band C may comprise any portion orportions
  teristics of the channel over which the signal was received,         (including the entire bandwidth from F to F) of the signal
  assess characteristics of the transmitter that sent the signal D. Which portion of the signal S is selected as band C may,
  and/or any otherwise be pertinent to performance of the com for example, be configured by the monitoring module 154.
  munication system. The monitoring module may also be 45 The data processing module 156 may process one or more of
  operable to generate one or more control signals 160 for bands C-C to recover data on one or more channels (e.g.,
  configuring the channelizer102 and/or for configuring the RF television and/or DOCSIS channels) present in those bands
  front-end 158. Additionally or alternatively, the control while the monitoring module 154 may concurrently process
  signal(s) 160 output by the monitoring module 154 may con band C to measure/determine characteristics of all or a
  trol the transmission of network management/maintenance 50 portion of the signal Sbetween f and f.
  messages by the device 150. Such message may comprise, for              FIG. 1C depicts an example satellite system in accordance
  example, network status updates indicating whether one or with an example embodiment of the invention. Shown in FIG.
  more communication parameters of one or more received 1C is a satellite dish assembly 172, and a gateway 196. The
  television or DOCSIS channels are outside acceptable subassembly 174 comprises a feedhorn 182, an LNB 194, the
  bounds, and/or conveying measured/determined characteris 55 front-end 158, the channelizer 152, the monitoring module
  tics back to a source of the received signal (e.g., back to a 154, and the data processing module 156. The various mod
  cable headend). In an example embodiment, the monitoring ules of the subassembly 174 may reside in one or more hous
  module 174 may be operable to demodulate signals for mea ings, on one or more printed circuit boards, and/or one or
  Suring one or more characteristics Such as signal-to-noise more integrated circuits (e.g., one or more silicon dice). In
  ratio, code rate.                                                 60 another example embodiment, the monitoring module 154
     The data processing module 156 may be operable to pro and/or the data processing module 156 may reside in the
  cess the bands C-C conveyed to it by the channelizer102 to gateway 196.
  recover data present in one or more television channels                 In the example embodiment depicted, the satellite dish
  present in those bands of the signal S. The data processing assembly 172 comprises a parabolic reflector 176 and a sub
  module 156 may, for example, perform synchronization, 65 assembly 174 mounted (e.g., bolted or welded) to a support
  equalization, and decoding. The data processing module 156 structure 178 which, in turn, comprises a boom 190 and
  may output processed data (e.g., MPEG transport stream attaches (e.g., via bolts) to the premises 180 (e.g., to the roof).
                                                       APPX219
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-3     Page:  242 Page
                                             01/10/23 Filed: 12
                                                             06/16/2023
                                                                of 13 PageID #: 592


                                                       US 8,792,008 B2
                                 5                                                                  6
  In another example embodiment, all or a portion of the mod         an example embodiment of the invention. Band selection
  ules 152, 154, and/or 156 may be mounted to the premises           filters 302-302, of the channelizer102 may each process the
  180 separate from the satellite dish (e.g., connected via wired    signal D to recover a corresponding one of the J selected
  and/or wireless connections), but may still be part of the         bands of the signal D, and output the band on a corresponding
  “outdoor unit.”                                                  5
                                                                     one of the ports 304 to 304. Aband selection filter 302 of
     The gateway 196 may receive data from the satellite dish the channelizer102 may process the signal D to recover band
  assembly 172 (via cable(s) 184). The gateway and may trans from the signal D, and output band C on the port 304.
  mit data onto and receive data from the WAN 192 (via broad
  band connection 188). The gateway 196 may transmit data to Which            band or bands are selected by the filter 302 may be
                                                                     configured  based on one or more control signals input to the
  and receive data from user equipment 128 and 126 (via one or 10 channelizer102. For example, the value of a parameter k may
  more connections 186).
     FIG. 2A depicts an example RF front-end of a receiver determine the center frequency of the portion of signal D that
  operable to perform spectrum monitoring in accordance with is to be selected as by the filter 302, and the value of A may
  an example embodiment of the invention. The RF front-end determine the bandwidth of the portion of this signal D that is
  158A shown in FIG. 2A comprises a variable gain amplifier 15 selected as band C for output on the port 304. In this
  202, and receive chains 204-204, where L is an integer manner, all of the signal D between F and F or any portion
  greater than or equal to 1. Each receive chains 204 may orportions of the signal D, may be selected for output on the
  comprise an amplifier module 210, a mixer module 212, a port 304.
  filter module 214, and an analog-to-digital converter (ADC)           FIG. 4 is a flow chart illustrating example steps for spec
  module 216, where 1 is an integer between 1 and L.                 trum monitoring in accordance with an example embodiment
     Eachamplifier 210 may be operable to amplify aband 1 of of the invention. After start step 402, in step 404, the receiver
  the signal S. Each mixer 212 may be operable to mix aband circuit 100 may receive a frequency division multiplexed
  1 of the signal S with a local oscillator signal (not shown) to (FDM) signal comprising one or more channels (e.g., satellite
  downconvert the band 1 to a lower frequency. Each filter television channels, cable television channels, and/or DOC
  module 214 may be operable to bandpass filter the band 1 to 25 SIS channels) occupying a frequency band between F and
  remove/attenuate frequencies outside band 1. Each ADC 216 F. In step 406, the received FDM signal is digitized across
  may be operable to convert the band 1 of the analog signal S the full band from F to F. In step 408, the digitized signal
  to a corresponding digital representation. Operation of the RF is channelized into one or more bands. In step 410, a first one
  front-end 158 and/or processing of signals generated by the or more of the bands are conveyed to a data processing mod
  front-end 158, may, for example, be as described in U.S. 30 ule. In step 412 a second one or more of the bands are output
  patent application Ser. No. 13/336,451 entitled “Method and to a monitoring module. In step 414, the data processing
  Apparatus for Broadband Data Conversion” which is incor module processes one or more of the first one or more bands
  porated by reference herein, as set forth above.                   to recover data on those bands while the monitoring module
     In an example embodiment, the front-end 158A may reside concurrently processes the second one or more bands to deter
  in a cable gateway Such as the cable gateway 120 described 35 mine characteristics of all or a portion of the frequency band
  above. In an example embodiment, the front-end 158A may from F to F.
  reside in Satellite gateway/set-top box and/or in an outdoor          Other embodiments of the invention may provide a non
  unit of a satellite reception assembly (e.g., collocated on-chip transitory computer readable medium and/or storage
  or on-PCB with a satellite low-noise block downconverter           medium, and/or a non-transitory machine readable medium
  (LNB)).                                                         40 and/or storage medium, having stored thereon, a machine
     FIG.2B depicts another example RF front-end of a receiver code and/or a computer program having at least one code
  operable to perform spectrum monitoring in accordance with section executable by a machine and/or a computer, thereby
  an example embodiment of the invention. The RF front-end causing the machine and/or computer to perform the steps as
  158B shown in FIG. 2B comprises a variable gain amplifier described herein for spectrum monitoring
  252, a filter 254, and an ADC 256. Functions performed by 45 Accordingly, the present invention may be realized inhard
  the RF front-end 158B may be referred to as “full-spectrum ware, Software, or a combination of hardware and software.
  capture” (or “FSC).                                                The present invention may be realized in a centralized fashion
     In the front-end 158B, the entire bandwidth, from F to F. in at least one computing system, or in a distributed fashion
  of signal S may be amplified by the amplifier 252 to generate where different elements are spread across several intercon
  S'. The amplified signal S" may be then filtered by the filter 50 nected computing systems. Any kind of computing system or
  254 to remove undesired signals outside of F to F, and other apparatus adapted for carrying out the methods
  generate signal S". The signal S", from F to F may then be described herein is suited. A typical combination of hardware
  digitized by the ADC 256 to generate signal D. In an example and software may be a general-purpose computing system
  embodiment, the ADC may be as described in U.S. patent with a program or other code that, when being loaded and
  application Ser. No. 13/485,003 entitled “Multi-layer Time 55 executed, controls the computing system such that it carries
  Interleaved Analog-to-Digital Converter (ADC), which is out the methods described herein. Another typical implemen
  incorporated by reference herein, as set forth above.              tation may comprise an application specific integrated circuit
     In an example embodiment, the ADC 256 may be capable or chip.
  of digitizing a signal S wherein F, to F is 1 GHz or higher.          The present invention may also be embedded in a computer
  Accordingly, for cable television/DOCSIS, the ADC 256 may 60 program product, which comprises all the features enabling
  be operable to digitize the entire cable downstream (e.g., from the implementation of the methods described herein, and
  -55 MHz to ~1002 MHz). Similarly, for satellite television, which when loaded in a computer system is able to carry out
  the ADC 256 may be operable to digitize the received signal these methods. Computer program in the present context
  at the input of the LNB, and/or the downconverted signal means any expression, in any language, code or notation, of a
  (e.g., from ~1 GHz to ~2 GHz) at the output by an LNB. 65 set of instructions intended to cause a system having an infor
     FIG. 3 depicts an example channelizer which may be uti mation processing capability to perform a particular function
  lized for performing spectrum monitoring in accordance with either directly or after either or both of the following: a)
                                                        APPX220
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-3     Page:  243 Page
                                             01/10/23 Filed: 13
                                                             06/16/2023
                                                                of 13 PageID #: 593


                                                          US 8,792,008 B2
                                  7                                                                      8
  conversion to another language, code or notation; b) repro                6. The method of claim 3, wherein:
  duction in a different material form.                                     said received signal is a cable television signal; and
    While the present invention has been described with refer               said plurality of channels comprises a plurality of televi
  ence to certain embodiments, it will be understood by those              sion channels.
  skilled in the art that various changes may be made and          5    7. The  method of claim 3, wherein:
  equivalents may be substituted without departing from the             said received signal is a satellite television signal output by
  Scope of the present invention. In addition, many modifica               a low noise block downconverter; and
  tions may be made to adapt a particular situation or material         said plurality of channels comprises a plurality of televi
  to the teachings of the present invention without departing              sion channels.
  from its scope. Therefore, it is intended that the present inven 10 8. The method of claim 7, wherein said one or more circuits
  tion not be limited to the particular embodiment disclosed, reside in a customer premises satellite reception assembly.
  but that the present invention will include all embodiments           9. The method of claim3, wherein said one or more circuits
  falling within the scope of the appended claims.                   reside in a customer premises gateway.
    What is claimed is:                                                     10. The method of claim 3, wherein a bandwidth and/or
     1. A system comprising:                                          15 center frequency of said selected first portion is configurable
     an analog-to-digital converter operable to digitize a during           11. A
                                                                                  operation of said one or more circuits.
                                                                                   system comprising:
        received signal spanning an entire television spectrum              one or more circuits that are operable to:
        comprising a plurality of television channels, said digi               receive a signal having a bandwidth that spans from a
        tization resulting in a digitized signal;
     a signal monitor operable to:                                                first frequency, F, to a second frequency, F.
        analyze said digitized signal to determine a characteris                  wherein    said signal carries a plurality of channels;
           tic of said digitized signal; and                                   digitize said received signal from F to F, to generate a
        report said determined characteristic to a source of said                 digitized signal;
           received signal;                                                    Select a first portion of said digitized signal;
     a data processor operable to process a television channel to 25           Select a second portion of said digitized signal; and
        recover content carried on the television channel; and                concurrently output said selected first portion and said
     a channelizer operable to:                                                   selected second portion, wherein:
        Select a first portion of said digitized signal;                          said selected first portion is output to a signal analyzer
        Select a second portion of said digitized signal; and                        that is operable to analyze said first portion to deter
        concurrently output said first portion of said digitized 30                  mine one or more characteristics of said first por
           signal to said signal monitor and said second portion                     tion, and that is operable to report said determined
           of said digitized signal to said data processor.                          one or more characteristics to a source of said
     2. The system of claim 1, wherein said first portion of said                    received signal; and
  digitized signal spans said entire television spectrum.                         said selected second portion is output to a data pro
     3. A method comprising:                                          35             cessor for recovery of data carried on one or more
     performing by one or more circuits:                                             of said plurality of channels.
        receiving a signal having a bandwidth that spans from a comprises   12. The system of claim 11, wherein said first portion
           first frequency, F, to a second frequency, F.                              all of said received signal from F to F.
           wherein said signal carries a plurality of channels;             13.  The   system of claim 11, wherein said one or more
        digitizing said received signal from F to F, to generate 40 characteristics
                                                                         frequency,
                                                                                           is one of signal power vs. frequency, phase vs.
                                                                                       signal-to-noise  ratio, peak-to-average ratio, noise
           a digitized signal;
        Selecting a first portion of said digitized signal;              levels, bit error rate, and symbol error rate.
        Selecting a second portion of said digitized signal; and            14. The system of claim 11, wherein:
        concurrently outputting said selected first portion and             said received signal is a cable television signal; and
           said selected second portion, wherein:                     45    said plurality of channels comprises a plurality of televi
           said selected first portion is output to a signal analyzer          sion channels.
              which analyzes said selected first portion to deter           15. The system of claim 11, wherein:
              mine one or more characteristics of the received              said received signal is a satellite television signal output by
              signal, and which reports said determined one or                 a low noise block downconverter; and
             more characteristics to a source of said received 50           said plurality of channels comprises a plurality of televi
              signal; and                                             sion channels.
                                                                    16. The system of claim 15, wherein said one or more
           said selected second portion is output to a data pro circuits
              cessor for recovery of data carried on one or more assembly.reside in a customer premises satellite reception
              of said plurality of channels.                        17. The system of claim 11, wherein said one or more
     4. The method of claim 3, wherein said first portion com 55 circuits reside in a customer premises gateway.
  prises all of said received signal from F to F.                   18. The  system of claim 11, wherein a bandwidth and/or
     5. The method of claim 3, wherein said one or more char
  acteristics is one of signal power vs. frequency, phase vs. center    frequency of said selected first portion is configurable
  frequency, signal-to-noise ratio, peak-to-average ratio, noise during operation of said one or more circuits.
  levels, bit error rate, and symbol error rate.                                         ck ck  ck ck    ck




                                                           APPX221
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4     Page: 244 Filed:
                                             01/10/23 Page 06/16/2023
                                                           1 of 20 PageID #: 594




                     EXHIBIT D




                                APPX222
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4    Page:  245 Filed:
                                             01/10/23 Page 06/16/2023
                                                           2 of 20 PageID #: 595

                                                                                                        USOO9210362B2


 (12) United States Patent                                                       (10) Patent No.:                                   US 9.210,362 B2
        Reddy et al.                                                             (45) Date of Patent:                                        *Dec. 8, 2015
 (54)   WIDEBAND TUNER ARCHITECTURE                                    (58) Field of Classification Search
                                                                                    USPC ......... 455/131, 140, 207,214, 313, 315, 323,
 (71) Applicant: Maxinear, Inc., Carlsbad, CA (US)                                                                                           455/324, 325,334
                                                                                    See application file for complete search history.
 (72) Inventors: Madhukar Reddy, Carlsbad, CA (US);
                 Curtis Ling, Carlsbad, CA (US); Tim                   (56)                                   References Cited
                 Gallagher, Carlsbad, CA (US)
                                                                                                 U.S. PATENT DOCUMENTS
 (73) Assignee: Maxinear, Inc., Carlsbad, CA (US)
                                                                                  5,280,636 A *                 1/1994 Kelley et al. .................. 455,131
                                                                                  6,906,498 B2                 6/2005 Breuch et al.
 (*) Notice: Subject to any disclaimer, the term of this
                patent is extended or adjusted under 35                                                            (Continued)
                U.S.C. 154(b) by 0 days.
                                                                                           FOREIGN PATENT DOCUMENTS
                This patent is Subject to a terminal dis
                    claimer.                                           EP                            2087623 A2                    8, 2009

 (21) Appl. No.: 14/614,543                                                                          OTHER PUBLICATIONS

 (22) Filed:         Feb. 5, 2015                                      Jeffrey A. Weldon, et al. A 1.75-GHz Highly Integrated Narrow-Band
                                                                       CMOS Transmitter With Harmonic-Rejection Mixers, IEEE Journal
 (65)                   Prior Publication Data                         of Solid-State Circuits, Dec. 2001, pp. 2003-2015, vol. 36, No. 12,
                                                                       Seattle, Washington.
        US 2015/O156535A1             Jun. 4, 2015
                                                                       Primary Examiner — Blane JJackson
             Related U.S. Application Data                             (74) Attorney, Agent, or Firm — McAndrews, Held &
 (63) Continuation of application No. 13/962,871, filed on             Malloy, Ltd.
      Aug. 8, 2013, which is a continuation of application
      No. 12/762,900, filed on Apr. 19, 2010, now Pat. No.             (57)                                      ABSTRACT
      8,526,898.                                                       A wideband receiver system comprises a mixer module, a
 (60) Provisional application No. 61/170,526, filed on Apr.            wideband analog-to-digital converter (ADC) module, and
        17, 2009.                                                      digital circuitry. The mixer module is configured to downcon
                                                                       Vert a plurality of frequencies that comprises a plurality of
 (51)   Int. C.                                                        desired television channels and a plurality of undesired tele
        H04B I/I6                  (2006.01)                           vision channels. The wideband ADC module is configured to
        H04N 5/50                  (2006.01)                           digitize the Swatch of frequencies comprising the plurality of
        H04B I/O                   (2006.01)                           desired television channels and the plurality of undesired
                              (Continued)                              television channels. The digital circuitry is configured to
                                                                       select the desired plurality of television channels from the
 (52)   U.S. C.                                                        digitized plurality of frequencies, and output the selected
        CPC ............... H04N 5/50 (2013.01); H04B I/0014           plurality of television channels to a demodulator as a digital
                   (2013.01); H04N 2 1/4263 (2013.01); H04N            datastream.
                  21/4383 (2013.01); H04N 2 1/454 (2013.01);
                                    H04N 21/6.193 (2013.01)                                     20 Claims, 10 Drawing Sheets




                      input
                     signat
                        2

                                                                                                52    454
                                                                             N na                           M upcnverta Felgrads
                                                         43    -   -   - -   -
                                                                                lchrines
                                                                                 -(tasbahdarc
                                                                                                 4




                                                                                                                               is a 32iz


                                       site.8



                                                     APPX223
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4    Page:  246 Filed:
                                             01/10/23 Page 06/16/2023
                                                           3 of 20 PageID #: 596


                                                       US 9,210,362 B2
                                                            Page 2

 (51) Int. Cl.                                                          7,421,259 B2      9, 2008 Gomez et al.
                                                                        7,599,673 B2 *   10, 2009 Maxim et al. .............. 455,179.1
         H4N2L/426             (2011.01)                                8,285,240 B2     10, 2012 Seendripu et al.
                               (2011.01)                                8,300,681 B2     10, 2012 Petrovic et al.
                               (2011.01)                                8,374,568 B2      2, 2013 Seendripu et al.
                                                                        8,374,569 B2      2, 2013 Seendripu et al.
                               (2011.01)                                8,374,570 B2      2, 2013 Seendripu et al.
                                                                        8,526,898 B2*     9, 2013 Reddy et al. .................. 455,2O7
 (56)                  References Cited                                 8,577,319 B2     11, 2013 Ling et al.
                                                                        8,666,350 B2      3, 2014 Vauhkonen
                 U.S. PATENT DOCUMENTS                                  8,909, 187 B2    12/2014 Seendripu et al.
                                                                        9,059,672 B2      6, 2015 Ling et al.
        6,992,855 B2   1, 2006 Ehrlich                               2005/004O909 A1      2, 2005 Waight et al.
        7,095,454 B2   8, 2006 Waight et al.                         2007/OO42742 A1      2, 2007 Kim et al.
        7,167,694 B2   1/2007 Khoini-Poorfard et al.                 2007/01 11661 A1     5/2007 Bargroffet al.
        7,362,178 B2   4, 2008 Montemayor et al.
        7,373,125 B2   5/2008 Godambe et al.                     * cited by examiner




                                                       APPX224
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4    Page:  247 Filed:
                                             01/10/23 Page 06/16/2023
                                                           4 of 20 PageID #: 597




                                APPX225
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4    Page:  248 Filed:
                                             01/10/23 Page 06/16/2023
                                                           5 of 20 PageID #: 598


 U.S. Patent                                                US 9.210,362 B2




                                APPX226
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4    Page:  249 Filed:
                                             01/10/23 Page 06/16/2023
                                                           6 of 20 PageID #: 599


 U.S. Patent          Dec. 8, 2015     Sheet 3 of 10        US 9.210,362 B2




                                     APPX227
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4    Page:  250 Filed:
                                             01/10/23 Page 06/16/2023
                                                           7 of 20 PageID #: 600


 U.S. Patent          Dec. 8, 2015     Sheet 4 of 10        US 9.210,362 B2




                                |




                                                         No.

                                                       |-

                                     APPX228
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4    Page:  251 Filed:
                                             01/10/23 Page 06/16/2023
                                                           8 of 20 PageID #: 601


 U.S. Patent          Dec. 8, 2015        Sheet 5 of 10     US 9.210,362 B2




                                     3.




                                     APPX229
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4    Page:  252 Filed:
                                             01/10/23 Page 06/16/2023
                                                           9 of 20 PageID #: 602


 U.S. Patent           Dec. 8, 2015     Sheet 6 of 10       US 9.210,362 B2




                                                        |




                   S




                                      APPX230
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4     Page:  253 Page
                                             01/10/23 Filed: 10
                                                             06/16/2023
                                                                of 20 PageID #: 603


  U.S. Patent          Dec. 8, 2015     Sheet 7 of 10         US 9.210,362 B2




        |

                                                                      s

                                                                      2
                                                                      k




            ?




                                      APPX231
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4     Page:  254 Page
                                             01/10/23 Filed: 11
                                                             06/16/2023
                                                                of 20 PageID #: 604


  U.S. Patent          Dec. 8, 2015           Sheet 8 of 10   US 9.210,362 B2




                                    { } { } } { | |
                            }   { }                 } {
                                                          }




                                      APPX232
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4     Page:  255 Page
                                             01/10/23 Filed: 12
                                                             06/16/2023
                                                                of 20 PageID #: 605


  U.S. Patent          Dec. 8, 2015         Sheet 9 of 10     US 9.210,362 B2




         S
                                                                     sy
                                        s                             x


                                       85




                                      APPX233
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4     Page:  256 Page
                                             01/10/23 Filed: 13
                                                             06/16/2023
                                                                of 20 PageID #: 606


  U.S. Patent                                                 US 9.210,362 B2




          {} {} .

                                                                    Koos


                                                                    9o




                                  APPX234
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4     Page:  257 Page
                                             01/10/23 Filed: 14
                                                             06/16/2023
                                                                of 20 PageID #: 607


                                                      US 9,210,362 B2
                                1.                                                              2
          WIDEBAND TUNER ARCHITECTURE                                nels 110 occupies a bandwidth BW1 120 at an RF center
                                                                     frequency f. 130. Synthesizer S1 may be tuned to a fre
                      PRIORITY CLAIM                                 quency around the center frequency f. 130 for mixing chan
                                                                     nels 110 to an intermediate frequency f. 160, the frequency
     This application is a continuation of U.S. patent applica- 5 down-mixed channels 140 are amplified by amplifier V1 and
  tion Ser. No. 13/962,871 filed on Aug. 8, 2013, which is a then filtered by F1 to produce a swath of channels 170 cen
  continuation of U.S. patent application Ser. No. 12/762,900 tered around frequency f. 160. In an exemplary application
  filed on Apr. 19, 2010 (now U.S. Pat. No. 8,526,898), which shown in FIG.1, bandwidth BW1 contains 10 channels. In the
  claims the benefit of priority to U.S. provisional application case where channels are TV channels that are spaced at either
  61/170,526 filed Apr. 17, 2009. Each of the above referenced 10 6 MHz or 8 MHz in most parts of the world, bandwidth BW1
  documents is hereby incorporated by reference in its entirety.  120 would span from 60-80 MHz, i.e., the down-converted
                                                                  bandwidth at the intermediate frequency would require a
                        BACKGROUND                                bandwidth equal to at least BW1, or at least 80 MHz when
                                                                  Such architecture is used. It is noted that in other applications
     This invention relates to wideband receiver systems and 15 where the desired RF channels are located in the low band
  methods having a wideband receiver that is capable of receiv such as channels numbers 2 to 6 (VHF in the terrestrial TV
  ing multiple radio frequency channels located in abroad radio broadcast or CATV) and in the high band such as channels
  frequency spectrum. In particular, the invention relates to     numbers 14 to 83 of the UHF TV broadcast or channel num
  wideband receiver systems that are capable of receiving mul bers 63-158 of the CATV's ultra band, the bandwidth BW1
  tiple desired television channels that extend over multiple 20 can be 800 MHz or higher. This wide bandwidth of 800 MHz
  non-contiguous portions of the broad frequency spectrum and would require a very expensive digital processing circuitry
  grouping them into a contiguous, or Substantially-contigu Such as very high-speed analog to digital conversion and
  ous, frequency spectrum.                                        high-speed processor in the demodulator.
     Receivers used to down-convert and selectively filter TV       It is desirable to have wideband receiver systems that can
  channels are referred to as tuners, and tuners designed to 25 increase the dynamic range without requiring expensive data
  concurrently receive several TV channels are referred to as conversion, filtering and channel selection at the demodula
  wideband tuners. Existing tuners for these applications down tOr.
  convert a Swath of channels to an intermediate frequency,
  which are then sent to a demodulator. Because the Swath of                             BRIEF SUMMARY
  channels is not contiguous, this Swath includes the desired 30
  channels as well as undesired channels. The demodulator              An embodiment of the present invention includes a wide
  employs a high-speed data converter to capture this swath of band receiver system that is configured to concurrently
  desired and undesired channels in the digital domain and receive multiple radio frequency (RF) channels including a
  subsequently filters out the desired channels.                     number of desired channels that are located in non-contigu
     In general, television channels broadcasted over the air or 35 ous portions of a frequency spectrum and group the desired
  over cable networks are distributed across a broad frequency channels in a contiguous or Substantially-contiguous fre
  spectrum. That is, the channel frequencies may not be adja quency band at an intermediate frequency spectrum, where
  cent to each other. In certain applications such as DVR and the term “substantially-contiguous’ includes spacing the
  picture-in-picture, the receiver system may have to concur desired channels close to each other (e.g. as a fraction of the
  rently receive several desired channels that may or may not be 40 total system bandwidth, or relative to a channel bandwidth)
  contiguous. The wideband receiver requirement poses a but with a spacing that can be variable to accommodate the
  trade-off to the system to limit either the dynamic range of the needs of overall system. The term “contiguous' heretofore
  wideband tuner or reduce the bandwidth covered by the tuner encompasses “substantially-contiguous. The term 'spacing
  so that fewer channels may be received and processed by the is referred to as the frequency difference between adjacent
  demodulator.                                                    45 channels. The system includes a wideband receiver having a
     FIG. 1 shows a conventional wideband tuner 100. Tuner           complex mixer module for down-shifting the multiple RF
  100 may be a direct conversion tuner and includes a low noise channels and transforming them to an in-phase signal and a
  amplifier LNA1 having an input terminal coupled to a radio quadrature signal in the baseband or low intermediate fre
  frequency (RF) input signal 102 and an output terminal quency (IF) band. The system further includes a wideband
  coupled to a mixer M1. The RF signal may include one or 50 analog-to-digital converter module that digitizes the in-phase
  more television channels receiving from a cable network via and quadrature signals. The digital in-phase and quadrature
  an RF connector or wirelessly via an antenna. The RF input signals are provided to a digital frontend module that contains
  signal may include the VHF and UHF television channels in a bank of complex mixers that frequency-shift the number of
  a terrestrial television broadcasting system or the CATV desired channels to a baseband where the desired channels are
  channels in cable networks. In order to receive all broadcasted 55 individually filtered.
  channels present in the RF input signal, LNA1 must neces             The digital frontend module may also include a decimator
  sarily have a wide tuning range, high linearity, and low noise. module that decimates the desired RF channels by a factor M
  Mixer M1 is coupled to a synthesizer S1 that can generate an before demodulating them to a digital data stream.
  oscillator frequency located around the center of the RF sig          In certain embodiments of the present invention, the wide
  nal. Mixer M1 frequency down-converts the received RF 60 band receiver system additionally includes an up-converter
  input signal to a more convenient intermediate frequency (IF) module having multiple complex up-mixers, each of the com
  band. Tuner 100 includes an amplifier V1 having a program plex up-mixers is configured to frequency up-shift each one
  mable gain for amplifying the IF signal, which is then band of the desired RF channels to a sub-portion of an IF spectrum,
  pass filtered by a filter F1 before outputting to a demodulator. wherein all Sub-portions of the desired channels are adjacent
     In general, the RF signal includes multiple desired chan- 65 to each another and form a contiguous frequency band in the
  nels that are located in non-contiguous portions of a radio        IF spectrum. The act of frequency shifting the desired chan
  frequency spectrum. As shown in FIG. 1, the Swath of chan nels to the IF spectrum allows the wideband receiver system
                                                       APPX235
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4     Page:  258 Page
                                             01/10/23 Filed: 15
                                                             06/16/2023
                                                                of 20 PageID #: 608


                                                       US 9,210,362 B2
                                  3                                                                   4
  to directly interface with commercially available demodula              FIG.  7 is a block diagram illustrating an exemplary digital
  tors. Allowing the spacing of the desired channels in the front end according to an embodiment of the present inven
  contiguous spectrum to be variable allows a system to opti tion in more detail;
  mize placement of these desired channels for the purposes of            FIG. 8 is a block diagram illustrating an exemplary tiled
  avoiding sensitive portions of the spectrum which may either 5 up-converter module according to an embodiment of the
  be vulnerable to spurious signals and interference; or which present invention in more detail;
  may generate interference directly or as a harmonic product,            FIG. 9 is a simplified block diagram of a wideband multi
  to other systems.                                                    tuner receiver system 900 according to an embodiment of the
     In another embodiment of the present invention, a multi present invention; and
  tuner receiver system having two or more tuners is provided 10 FIG. 10 is a simplified block diagram of a wideband multi
  to receive multiple desired RF channels that extend over tuner             receiver system 1000 according to another embodiment
  several non-contiguous Sub-portions of a broad frequency of the present invention.
  spectrum and group them into a contiguous frequency spec                               DETAILED DESCRIPTION
  trum. The multi-tuner system includes at least a first tuner that 15
  processes a first Sub-portion of the broad frequency spectrum           FIG. 2 is a schematic block diagram of a wideband receiver
  into a first in-phase signal and a first quadrature signal and a system 200 according to an embodiment of the present inven
  second tuner that processes a second Sub-portion of the broad tion. Wideband receiver system 200 includes a radio frontend
  frequency spectrum into a second in-phase signal and a sec 210 and a digital front end 230. Radio front end 210 may be
  ond quadrature signal. The multi-tuner receiver system fur a single very wide-band tuner receiver that captures the
  ther includes a first analog-to-digital converter module that desired Swath of channels located in non-contiguous portions
  digitizes the first in-phase and quadrature signals and a sec of the spectrum having a frequency bandwidth BW1 120. In
  ond analog-to-digital converter module that digitizes the sec this example, the number of available channels in BW1 120 is
  ond in-phase and quadrature signals. In addition, the multi assumed to be 10 with each channel occupying an 8 MHz
  tuner system includes a first digital frontend module having a 25 bandwidth for a total of 80 MHz. Radio front end 210 is
  first number of complex mixers corresponding to a first num shown as including a low noise amplifier LNA 202 having an
  ber of the desired RF channels located in the first sub-portion input terminal configured to receive an RF input signal 102. In
  of the broad frequency spectrum and a second digital frontend the example shown, RF signal 102 includes four desired RF
  module having a second number of complex mixers corre channels having the respective carrier frequency f. f. fs,
  sponding to a second number of the desired RF channels 30 and fa that are located in non-contiguous portions of the
  located in the second sub-portion of the broad frequency wide frequency spectrum BW1. It is understood, however,
  spectrum. The first digital frontend module frequency shifts that spectrum BW1 120 may have any other number of
  the first number of the desired RF channels to a first plurality desired frequencies that are not contiguous. LNA 202 has a
  of baseband signals and the second digital frontend module very low noise figure and very high linearity and a wide
  frequency shifts the second number of the desired RF chan 35 tuning range (i.e., very high IIP2 and IIP3 intercept points) to
  nels to a second plurality of baseband signals.                      maximize a signal-to-noise-and distortion ratio (SNDR) at
     The multi-tuner system further includes a first up-converter the amplifier output. LNA 202 may have a programmable
  module having a plurality of N complex mixers, wherein N is gain to amplify RF signal 102 to adequate Voltage levels for
  an integer value equal to the number of desired channel. The mixers M1 211 and M2 221.
  first up-converter module frequency up-shifts the first plural 40 Mixers M1 211 and M2 221 may be conventional mixers
  ity of the baseband signals to a first portion of an intermediate formed using, for example, differential Gilbert cells. Each of
  frequency. In addition, the multi-tuner system includes a sec the mixers 211 and 221 multiplies (mixes) an amplified RF
  ond up-converter module that frequency up-shifts the second signal 203 with a respective first oscillator frequency signal
  plurality of the baseband signals to a second portion of an 205 and a second oscillator frequency signal 207 to generate
  intermediate frequency. The first and the second portions of 45 an in-phase signal 212 and a quadrature signal 222 that have
  the intermediate frequency are non-overlapping and located a phase shift of 90 degree between them. Mixers 211 and 221
  adjacent to each other to form a contiguous intermediate are identical so that the amplitude of the in-phase signal 212
  frequency (IF) band. The multi-tuner system further includes and quadrature signal 222 are the same. The first and second
  a digital-to-analog converter that converts the contiguous IF oscillator frequencies 205 and 207 are identical and have a
  band to an analog waveform signal.                                50 90 degree phase shift generated through a 90° degree phase
                                                                       shifter P1 206. Synthesizer S1 may be a single local oscillator
          BRIEF DESCRIPTION OF THE DRAWINGS                            operable to generate the oscillator frequency 205 for convert
                                                                       ing the receive RF signal 102 to a zero-IF or low-IF band.
     FIG. 1 is a schematic block diagram of a conventional             Synthesizer S1 can be a coarse (large step) phase locked loop.
  wideband tuner;                                                   55 Synthesizer S1 can also be programmable to cover the wide
     FIG. 2 is a schematic block diagram of a wideband receiver band frequency of the analog and digital terrestrial broadcast
  system according to an embodiment of the present invention;          and/or the cable television system. The RF signal 102 may
     FIG. 3 is a simplified circuit diagram of a complex down have relatively uniform signal strength in a cable network.
  mixer according to an embodiment of the present invention;           However, its signal strength may extend in several orders of
     FIG. 4 is a simplified schematic block diagram of a wide 60 magnitude in a terrestrial broadcast system, thus, LNA 202
  band receiver system according to another embodiment of the and/or mixers M1 211, M2 221 are required to have a rela
  present invention;                                                   tively high dynamic range to handle the large variations in the
     FIG. 5 is a simplified circuit diagram of a complex up            signal strength.
  mixer according to an embodiment of the present invention;              In-phase signal 212 and quadrature signal 222 are further
     FIG. 6 is a simplified schematic block diagram of a wide 65 amplified and filtered by respective amplifiers V1 213, V2
  band multi-tuner receiver system according to an embodi 223 and filters F1 215, F2 225 to generate a filtered in-phase
  ment of the present invention;                                       signal 216 and a filtered quadrature signal 226. Filters F1 215
                                                        APPX236
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4     Page:  259 Page
                                             01/10/23 Filed: 16
                                                             06/16/2023
                                                                of 20 PageID #: 609


                                                        US 9,210,362 B2
                                 5                                                                    6
  and F2 225 may be passive or active low-pass filters to filter      filtered signal 322. Thus, digital signals 312 and 322 only
  out any unwanted frequency components of the signals 214            contain low-frequency components with undesired high-fre
  and 224 before digitizing them for further processing in digi       quency components being eliminated by respective filters 311
  tal front end 230. It is understood that the in-phase path 216      and 321. It is noted that filtered signals 312 and 322 are
  and the quadrature path 226 must have the same amplitude            interposed between the respective ADCs 218, 228 and the
  spectrum and maintain a fixed phase relationship, i.e., ampli       bank of N complex mixers 250.
  fiers V1 213, V2 223 and filters F1 215, F2 225 must be                Mixer 300, which represents one of the N complex mixers
  substantially identical. Because the two paths 216 and 226 are 250, includes four multipliers 313, 315,323, and 325. Mul
  in quadrature, the spectral components from both positive and tipliers 313 and 315 multiply the filtered signal 312 with
  negative frequencies can be overlaid so that the bandwidth 10 respective cos(cot) and sin(o),t) signals and generate respec
  (cutoff frequency) offilters F1 215 and F2 225 can be one half tive products 314 and 316. Similarly, multipliers 323 and 325
  of the BW1 bandwidth 120.                                           multiply the filtered Q signal 322 with respective cos(cot)
     Analog-to-digital converters ADC1 218 and ADC2 228 are and sin(o),t) signals and generate respective products 324
  high-speed (i.e., high sampling rate) converters to maximize and 326. An adder 317 sums the products 314 and 326 to
  the dynamic range. In an exemplary application, radio front 15 generate a frequency-shifted signal I 318. An adder 327 sums
  end 210 operates as a nominal Zero-IF down-mixer so that the products 324 and 316 to generate a frequency-shifted
  signals 216 and 226 have a nominal bandwidth 290 equal to           signal Q 328. Basically, complex mixer 300 causes a fre
  one half of the RF signal bandwidth BW1 thanks to the quency shift of the filtered components 312 and 322 to respec
  complex down-mixer architecture. In other embodiment, tive baseband signals 318 and 328 in the digital domain
  radio front end 210 operates as a low-IF down-mixer so that according to the operation:
  the nominal bandwidth 290 of signals 216 and 226 is greater
  than one half of the bandwidth BW1. In practice, the sampling
  rate of ADC1 218 and ADC2 228 is chosen to be higher than or taken the Fourier transform, we obtain:
  the Nyquist sampling requirement, i.e., the filtered analog
  quadrature signals 216 and 226 may be over-sampled in order 25
  to reduce or avoid aliasing of undesired signals into the digi         Multipliers 313, 315, 323, and 325 are identical digital
  tized I and Q signals.                                              multipliers. In an embodiment, a numerically controlled
     ADC1 218 generates a digital signal I 232 that is a digital oscillator with quadrature output generates the cos(cot) and
  representation of the analog filtered signal 216: ADC2 228 sin(o),t) signals. Numerically controlled oscillators (NCO)
  generates a digital signal Q242 that is a digital representation 30 can be implemented using a phase accumulator and a look-up
  of the analog filtered signal 226. Digital signals I 232 and Q table. NCOs are known to those of skill in the art and will not
  242 are then applied to a bank of N complex mixers 250, be described herein. The frequency () is so chosen that each
  wherein N is an integer value corresponding to the number of one of the desired channels embedded in the digital signals I
  desired RF channels located in the non-contiguous portions 232 and Q 242 will be downshifted to the baseband. In the
  of the frequency spectrum BW1. It is understood that the 35 given example shown in FIG. 2, the bank of N complex
  number N can be any integer value. In one embodiment, Ncan mixers will have four complex mixers, each one of the N (i.e.,
  be equal to the number of all available channels that exist in four) complex mixers is coupled to an individual NCO having
  the licensed frequency spectrum to provide system flexibility. a distinct frequency (), so that when mixing the filtered
  In other embodiments, N can be equal to the number of all digital I and Q signals 312 and 322 with that frequency, each
  receivable channels within a geographic area. In yet another 40 one of the complex mixers will generate the signals I (318)
  embodiment, N can be an integer value less than the number and Q (328) of a corresponding one of the desired channels at
  of receivable channels with the geographic area to reduce the baseband.
  system costs. In the exemplary embodiment shown in FIG.2,              In an embodiment, baseband signals 318 and 328 are fur
  the number of desired channels is 4. That is, each of the 4         ther individually filtered by respective filters 330 and 340 that
  complex mixers 250 mixes in-phase and quadrature signals 45 are identified as one of the filters 260a-n in FIG. 2. Filters 330
  232 and 242 with an associated frequency to generate a cor and 340 may be band-pass or low-pass filters having a narrow
  responding baseband, which is then individually filtered, bandwidth equal to the bandwidth of a desired channel. In
  decimated and provided to an associated demodulator.                certain embodiments, filters 330 and 340 can be analog pas
     Each of the N complex mixers 250 receives the digital sive or active low-pass or complex band-pass filters such as
  signals I 232 and Q 242 from ADCs 218 and 228 to extract a 50 polyphase filters. In another embodiment, filters 330 and 340
  different one of the desired channels and frequency-shifts the can be digital low-pass filters, such as finite impulse response
  extracted signals to the baseband frequency. Each of the fre (FIR) filters to eliminate high frequency components that
  quency shifted desired channels 252 is filtered by an associ may be aliased back to the baseband signals Ii (332) and Qi
  ated filter module (identified as 260a to 260m). In an embodi (342) when decimated by subsequent decimator 350.
  ment, each of the filtered signals 260a to 260n may be sent 55 The reduced sampling rate of the Ndesired baseband chan
  directly to an associated demodulator (identified as 270a to nels will be sent as a serial or parallel digital data stream to a
  270m) for extracting the original information transmitted in demodulator using a serial or parallel data interface according
  the associated desired channel. In another embodiment, each         to commonly known methods, as shown in FIG. 2. This
  of the filtered signals 262a to 262n is further decimated before approach provides several advantages over conventional
  providing to a demodulator. A path of digital front end 230 is 60 tuner architectures. First, it eliminates the need of expensive
  described in more detail below.                                     data conversion, filtering and channel selection on the
     FIG. 3 is a simplified circuit diagram of one of the signal demodulator side. Second, it removes undesired channels
  paths 272a to 272n of digital front end 230 shown in FIG. 2 from the signal path at an early stage, thus relieves the large
  according to an embodiment of the present invention. In an dynamic range requirement in the demodulator.
  embodiment, digital signal I 232 may be further filtered by a 65 FIG. 4 shows a simplified schematic block diagram of a
  filter 311 to obtain a filtered signal 312. Similarly, digital wideband receiver system 400 according to another embodi
  signal Q 242 may be further filtered by a filter 321 to obtain a ment of the present invention. Wideband receiver system 400
                                                         APPX237
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4     Page:  260 Page
                                             01/10/23 Filed: 17
                                                             06/16/2023
                                                                of 20 PageID #: 610


                                                        US 9,210,362 B2
                                7                                                                   8
  includes a radio front end 410, a digital front end 430, a tiled    allows the demodulator to operate the data converter at a
  up-conversion module 450, and a Summing digital-to-analog           lower data rate and with lower resolution (fewer bits) due to
  converter module DAC 470. Radio front end 410 includes a            the fact that the contiguous channels have a narrower band
  low noise amplifier LNA1 that receives an RF input signal width. Second, the up-conversion approach provides full
  102 and provides an amplified RF signal 403 to mixers M1            compatibility with existing demodulators that require anana
  411 and M2421. Mixer M1 411 is coupled to an oscillator log IF signal. Third, it removes undesired channels from the
  frequency 405 of a synthesizer S1 whereas mixer M2421 is signal path at an early stage, thus relieves the requirement of
  coupled with the oscillator frequency 405 via a phase shifter a high dynamic range requirement of the demodulators ana
  P1 406 that generates a 90° degree phase-shift to the oscillator log-to-digital converter and the demodulator itself.
  frequency 405. Mixers M1411 and M2421 generate respec 10 FIG. 5 shows a simplified exemplary circuit diagram of a
  tive in-phase signal 412 and quadrature signal 422 that are complex up-mixer 500 according to an embodiment of the
  further amplified by respective amplifiers V1 413 and V2423. present invention. Up-mixer 500 is one of the N complex
  The amplified in-phase and quadrature signals 414, 424 are up-mixers 452a to 452n in tiled up-conversion module 450
  then filtered by filters F1 415 and F2425 to eliminate undes shown in FIG. 4. Up-mixer 500 includes filter 510 and 520
  ired frequency components that would be aliased back to the 15 configured to eliminate unwanted frequency components
  in-phase and quadrature signals when digitally sampled by present in respective input signals I 501 and Q502. Filtered
  Subsequent analog-to-digital converters ADC1 418 and signals 512 and 522 are provided to up-mixers UMI515 and
  ADC2 428. Digital signals I 422 and Q 442 at the input of UMQ 525 that multiply the filtered signals 512 and 522 with
  digital front end 430 are digital representations of the filtered respective cos(cot) and sin(cot). The products 516 and 526
  analog in-phase and quadrature signals 416, 426 before the are summed in an adder 530 to generate an IF signal 532
  ADCs. Digital front end 430 include a bank of N complex according to the following equation:
  mixers 432 comprising 432a to 432n identical mixers, where
  N is an integer value corresponding to the number of the
  desired channels located in non-contiguous portions of the            Up-mixers UMI 515 and UMQ 525 are identical digital
  frequency spectrum. Each of the N complex mixers 432a to 25 multipliers that multiply the respective filtered signal 512 and
  432n frequency down-converts signals I 432 and Q 442 to an 522 with a cosine function 505 and a sine function 506 that
  associated baseband. Each of the frequency down-converted can be generated from a NCO using a digital phase accumu
  I and Q signals are coupled to respective low-pass, band-pass, lator and a look-up table.
  or decimating filters 434. In this regard, the radio front end        As described above, TV channels are grouped into multiple
  410 and the digital front end 430 are similar to respective 30 frequency bands in North America. For example, channels 2
  radio front end 210 and digital front end 230 of FIG. 2 that through 6 are grouped in VHF-low band (aka band I in
  have been described in detail above.                                Europe), channels 7 through 13 in VHF-high band (band III),
     In an alternative embodiment of the present invention, the and channels 14 through 69 in UHF band (bands IV andV). In
  N filtered and decimated channels 438a to 438n (where indi order to receive Such a wide frequency spectrum, the low
  ces a to n correspond to the associated number of desired 35 noise amplifier and mixer must have very low noise, wide
  channels) are not provided to a demodulator for demodula tuning range and high linearity as described above in the
  tion. Instead, the N filtered and decimated channels 438a to        wideband receiver systems 200 and 400. However, a wide
  438n are further frequency up-converted to an intermediate band receiver having a single tuner with high sensitivity may
  frequency (IF) spectrum. In order to achieve that, the N fil have a high power consumption. For certain applications, it
  tered and decimated channels are coupled to a tiled up-con 40 may be advantageous to use multiple tuners that are opti
  version module 450 that includes a bank of N complex up mized for a given frequency band, Such as a dedicated tuner
  mixers, where N is an integer value correspond to the number for the low VHF band, another dedicated tuner for the high
  of desired received channels. The N complex up-mixers VHF band and the UHF band, and yet other dedicated tuners
  include identical digital mixers 452a to 452n that will be for receiving the digital video broadcasting (DVB) via satel
  described further in detail below with reference to FIG.S. The 45 lite (DVB-S), via cable (DVB-C), or terrestrial digital video
  Nup-shifted channels are then filtered by a subsequent bank broadcasting (DVB-T). The multi-tuner approach may also
  of channel filters 454 that, in an embodiment, comprises N be advantageously applied to cable networks that carry TV
  individual finite impulse response (FIR) filters. The N filtered programs on an 88 MHz to 860 MHz according to the Data
  channels are then digitally combined and converted to the Over Cable Service Interface Specification (DOCSIS) proto
  analog domain by a Summing digital-to-analog converter 50 col.
  module DAC 470. The Nup-shifted channels are adjacent to              FIG. 6 shows a simplified schematic block diagram of a
  each other and form a contiguous or Substantially-contiguous wideband multi-tuner receiver system 600 according to an
  set of channels 475 in the IF spectrum centered around fas embodiment of the present invention. In an embodiment,
  illustrated in FIG. 4. In an embodiment, the spectra of the multi-tuner system 600 includes low noise amplifier A1 602
  mixed products are spaced in Such a way so as to avoid 55 for receiving an RF input signal 601. Amplifier A1 602 is
  overlap with known frequency bands containing potential or coupled to at least a tunerl 610 and a tuner2 720. In another
  actual interferers. In another embodiment, the spectra of the embodiment, multi-tuner system 600 may not include ampli
  mixed products are spaced in Such a way so as to avoid fier 602 so that RF input signal 601 can be received directly at
  overlap with frequency bands that might introduce interfer each tuner 610 and 720.
  ence to other systems. In general, because the bandwidth 60 Tunerl 610 includes an amplifying filter AF1 613 that
  BW, is substantially lower than BWI, the IF frequency ?can filters and amplifies a first portion BWtunerl 604 of a broad
  be set proportionally lower, e.g., typically about 16 MHz to frequency spectrum 608 that contains a first plurality of RF
  accommodate the spectrum of BW2 of up to 32 MHZ (corre channels 606 including desired channels 607 having respec
  sponding to the total bandwidth of the four desired channels, tive channel frequencies fa and fa. The first portion of the
  each having a bandwidth of 8 MHz in this example).               65 broad frequency spectrum BWtunerl 604 is then frequency
     The up-conversion approach of FIG. 4 provides several down-converted to a low-IF or zero-IF in-phase signal I1 612
  advantages over conventional tuner architectures. First, it and a quadrature signal Q1 622 through respective mixer M1
                                                         APPX238
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4     Page:  261 Page
                                             01/10/23 Filed: 18
                                                             06/16/2023
                                                                of 20 PageID #: 611


                                                      US 9,210,362 B2
                                9                                                                10
  611 and M2 621. Signals I1 612 and Q1 622 are further             decimated by a Subsequent decimator. The elements of digital
  amplified and low-pass filtered before applying to respective     front end 740 are substantially similar to those described in
  analog-to-digital converters ADC1 618 and ADC2 628 that           digital front end 630. Thus, redundant description is omitted
  convert analog signals Ial 616 and Qal 626 to respective          herein.
  digital in-phase signal Idl 631 and digital quadrature signal       The decimated baseband I and Q channels are further pro
  Qd1 641. Because tunerl 610 only covers a portion                 vided to a subsequent up-conversion module 760 that per
  BWtunerl 604 of the entire frequency spectrum 608 having          forms a function Substantially similar to that of the up-con
  fewer channels, the ADC1 618 and ADC2 628 can be slower           version module 650 already described above. The outputs of
  speed analog-to-digital converters with a large number of         up-conversion module 650 and 760 can be tiled to generate a
  bits, i.e., large dynamic range.                               10 contiguous set of IF frequencies 682,684 centered at f686.
     Digital signals Id1 631 and Qd1 641 are then provided to a In an embodiment, the outputs of up-conversion module 650
  digital front end DFE 630 that includes a first bank of N and 760 are digitally Summed and converted to an analog
  complex mixers 632 and channel and decimating filters 634.        signal by summing DAC 670. In another embodiment, the
  The first bank of N complex filters 632 has N identical com up-conversion modules 650 and 760 and the digital summing
  plex mixers, where N is an integer value equal to the number 15 function 672 can be performed using an inverse discrete Fou
  of desired channels located in the first portion BWtunerl 604 rier transform or an inverse Fast Fourier transform operation.
  of the broad frequency spectrum 608. In an embodiment, each          The multi-tuner architecture provides the flexibility that
  one of the first bank ofN complex mixers includes four digital multiple commercially available tuners can be used without
  mixers that multiply digital stream Id1 631 and Qd1 641 with the need of designing a wideband tuner. For example, a tuner
  respective digitized cosine function and sine function togen designed for a terrestrial broadcast digital TV can be used
  erate the Sum and difference frequency components, as shown together with a tuner dedicated to receiving a cable signal
  in FIG. 3. The digitized cosine and sine frequency, i.e., the and/or a tuner for receiving a satellite broadcast signal. The
  mixer frequency is so chosen so that when mixing signals Id1      multi-tuner receiver system provides an additional advantage
  631 and Qd1 641 will move them to a baseband or a low-IF that other tuners can be added quickly to the system to accom
  band. In an embodiment, channel and decimating filters have 25 modate any future applications. Additionally, the multi-tuner
  similar structures as filters 330 and 340 and demodulator 350     architecture allows the use of slower speed (i.e., lower cost)
  as shown in FIG. 3. That is, channel and decimating filters analog-to-digital converters with a larger number of bits for
  include digital low-pass filters 330 and 340 that eliminates achieving large dynamic range.
  unwanted high frequency components of the baseband sig               FIG. 7 shows a block diagram of an exemplary digital front
  nals I and Q prior to applying them to a decimator 350 (FIG. 30 end of the invention in more detail. In an embodiment, in
  3) that reduces the sample frequency without any loss of phase signal Id2 731 and quadrature signal Qd2 741 at the
  information since Idl 631 and Qd1 641 are sampled at a much output of respective ADC converters 718 and 728 are pro
  higher frequency by the respective ADC 1618 and ADC2 628. vided to each of the L complex mixers 732 comprising mixers
     The decimated desired channels are then provided to an 732A to 732L. A more detailed description of each of L
  up-converter module 650 that includes a bank of Nup-mixers. 35 complex mixers is shown in FIG. 3. Mixer 732A multiplies
  The bank of N up-mixers includes N identical up-mixers Id2731 and Qd2741 with a cosinesignal and a sinesignal that
  whose structure is shown in FIG.5. In an embodiment, Nisan        are generated from an NCO1 and produces an I-732A signal
  integer value equal to the number of desired channels present and a Q-732A signal that are further individually filtered by
  in BWtunerl 604. Each one of the up-mixer frequency-shifts an FIR filter before decimating. The bank of L complex
  the baseband signals I and Q of each one of the desired 40 mixers corresponds to the block 732 in FIG. 6; and the set of
  channels to an appropriate portion of the intermediate fre FIR filters and decimator corresponds to the block 734 in FIG.
  quency band according to Equation (3). In other words, the 6. Each decimated pair of I-732i/M in the baseband, where the
  bank of Nup-mixers is “frequency multiplexing the desired index “i' is from A to L, is further provided to a subsequent
  channels onto a first portion 682 of an IF band 686.              up-mixer for frequency-shifting to an intermediate frequency
     Similarly, tuner2720 includes an amplifying filter AF2 713 45 as shown in FIG. 8.
  that is configured to receive a second portion BWtuner2 704          FIG. 8 shows an exemplary embodiment of a bank of L
  of the broad frequency spectrum 608. The second portion 704 complex up-mixers according to the present invention. Each
  contains a second plurality of RF channels 706 including a decimated pair of complex signals I-732i/M and Q-732i/M is
  second number of desired channels. In the exemplary illus provided to an associated complex up-mixer, whose fre
  tration of FIG. 6, the second portion 704 has a frequency 50 quency is so chosen that when mixing with the pair of com
  bandwidth of BW tuner2 that contains desired channels 707         plex signals I-732i/M and Q-732i/M will generate an associ
  having respective channel frequencies f and fa. Tuner2 ated channel at a predetermined sub-portion of the
  720 includes elements such as mixers M3 711, M4 721,              intermediate frequency band 686 (FIG. 6). A more detailed
  amplifiers V3714, V4724, filters F3 715, F4725 and analog schematic block of one of the Lup-mixers is described above
  to-digital converters ADC3 731 and ADC4741 that are sub 55 together with FIG. 5.
  stantially the same as the like-named elements of the signal         FIG. 9 is a simplified block diagram of a wideband multi
  path of tunerl 610. Thus, redundant description is omitted tuner receiver system 900 according to an embodiment of the
  herein.                                                           present invention. In an embodiment, system 900 includes a
     Digital in-phase signal Id2731 and digital quadrature sig crossbar switch 910 having at least an input terminal 912
  nal Qd2741 are then provided to digital frontend 740. Digital 60 configured to receive signals from an analog-to-digital con
  front end 740 includes a bank of L complex filters, where L is verter (ADC) 912 and an input terminal 922 configured to
  an integer value equal to the number of desired channels in the receive signals from an ADC 922. Crossbar switch 910 also
  second portion BWtuner2 704 of the broad frequency spec includes an output terminal 924 that is coupled to a digital
  trum 608. Each one of the bank ofL complex filters is a digital front end 930. In an embodiment, input terminals 912 and 922
  complex mixer configured to transform the signals Id2 731 65 of crossbar switch 910 have P inputs, where P is an integer
  and Qd2 741 to baseband signals that are further filtered by value that is equal to the total number of desired channels
  individual digital low-pass filters such as FIR filters before received by tunerl 610 and tuner2720. Output terminal 924
                                                       APPX239
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4     Page:  262 Page
                                             01/10/23 Filed: 19
                                                             06/16/2023
                                                                of 20 PageID #: 612


                                                        US 9,210,362 B2
                                 11                                                                  12
  of crossbar switch910 have Q outputs, where Q is an integer          3. The wideband receiver system of claim 1, wherein said
  value that is equal to the total number of desired channels output of said digital datastream is via a parallel interface.
  received by tuned 610 and tuner2720.                                 4. The wideband receiver system of claim 1, wherein said
     In an embodiment, digital front end 930 may include a mixer module comprises a first mixer configured to generate
  bank of R complex mixers that frequency shifts the received 5 an in-phase signal and a second mixer configured to generate
  channels to a baseband. Digital front end 930 may combine a quadrature signal.
  digital front end 630 and 740 shown in FIG. 6. Similarly, a          5. The wideband receiver system of claim 1, wherein said
  tiled up-conversion module 950 may include up-converter wideband                analog-to-digital converter comprises:
  modules 650 and 760 of FIG. 6.                                       a  first ADC   configured to generate a digital in-phase signal;
     System 900 further includes a summing DAC that operates 10            and
  similarly as summing DAC 470 and 670 that have been                  a second ADC configured to generate a digital quadrature
  described in detail in relation with respective FIG. 4 and FIG.          signal.
  6 above. Thus, redundant description is omitted herein.               6. The   wideband receiver system of claim 5, wherein said
     FIG. 10 is a simplified block diagram of a wideband multi digital circuitry        comprises a plurality of complex mixers con
  tuner receiver system 1000 according to another embodiment      15
  of the present invention. System 1000 includes at least tuner1     figured   to frequency  shift said selected plurality of desired
  610 coupled with digital front end 630 through an analog-to television channels.
  digital converter 620 and tuner2 720 coupled with digital            7. The wideband receiver system of claim 6, wherein:
  front end 740 through an analog-to-digital converter 730.            prior to said frequency shift, said selected plurality of
  System 1000 further includes a crossbar switch 1010 that is              desired television channels occupy non-contiguous por
  interposed between digital front ends 630, 740 and up-con                tions of a frequency spectrum; and
  version modules 650, 760. Crossbar switch 1010 includes an           after said frequency shift, said selected plurality of desired
  input terminal 1012 having S inputs coupled with DFE 630                 television channels occupy a contiguous frequency
  and an input terminal 1022 having Tinputs coupled with DFE               spectrum.
  740. In an embodiment, S is an integer value equal to the 25 8. The wideband receiver system of claim 1, wherein said
  number of desired channels processed in DFE 630 and T is an digital circuitry comprises a plurality of channel filters con
  integer value equal to the number of desired channels pro figured to perform said selection of said plurality of desired
  cessed in DFE 740. Crossbar Switch 1010 further includes an         television channels.
  output terminal 1024 having U outputs coupled with up               9. The wideband receiver system of claim 8, wherein each
  converter module 650 and an output terminal 1024 having V 30 one of said plurality of channel filters is a finite impulse
  outputs coupled with up-converter module 760. In an embodi response filter.
  ment, the total number of the outputs U and V is equal to the       10. The wideband receiver system of claim 1, wherein said
  sum of the inputs S and T. Thus, crossbar switch 1010 allows digital circuitry comprises a decimator circuit configured to
  the routing of any channel from either DFE 630 or DFE 740 decimate one or more of said selected plurality of television
  to up-converters 650 or 760. It is understood that system 1000 35 channels prior to said output of said selected plurality of
  is not as flexible as system 900 because DFE 630 and DFE desired television channels.
  740 are already pre-assigned to respective tuner1 (610) and         11. A method comprising:
  tuner2 (720). However, this pre-assigned arrangement allows         in a wideband receiver system:
  a simpler implementation of crossbar switch 1010 that oper             downconverting, by a mixer module of said wideband
  ates at lower speeds.                                            40       receiver system, a plurality of frequencies that com
     While several embodiments in accordance with the present               prises a plurality of desired television channels and a
  invention have been described, it is to be understood that the            plurality of undesired television channels;
  above description is intended to be illustrative and not restric       digitizing, by a wideband analog-to-digital converter
  tive. Many embodiments will be apparent to those of skill in              (ADC) module of said wideband receiver system, said
  the art upon reviewing the above description. The scope of the 45         plurality of frequencies comprising said plurality of
  invention should, therefore, be determined not with reference             desired television channels and said plurality of
  to the above description, but instead should be determined                undesired television channels;
  with reference to the appended claims along with their full            Selecting, by digital circuitry of said wideband receiver
  Scope of equivalents.                                                     system, said plurality of desired television channels
                                                                   50       from said digitized plurality of frequencies; and
     What is claimed is:                                                 outputting, by said digital circuitry of said wideband
     1. A wideband receiver system comprising:                              receiver system, said selected plurality of television
     a mixer module configured to downconvert a plurality of                channels to a demodulator as a digital datastream.
        frequencies that comprises a plurality of desired televi      12. The method of claim 11, comprising outputting, by said
        sion channels and a plurality of undesired television 55 digital circuitry of said wideband receiver system, said digital
       channels;                                                       datastream via a serial interface.
    a wideband analog-to-digital converter (ADC) module              13. The method of claim 11, comprising outputting, by said
       configured to digitize said plurality of frequencies com digital circuitry of said wideband receiver system, said digital
       prising said plurality of desired television channels and datastream via a parallel interface.
       said plurality of undesired television channels;           60 14. The method of claim 11, comprising:
    digital circuitry configured to:                                 generating, by a first mixer of said mixer module, an in
       select said plurality of desired television channels from       phase signal; and
          said digitized plurality of frequencies; and               generating, by a second mixer of said mixer module, a
       output said selected plurality of television channels to a      quadrature signal.
          demodulator as a digital datastream.                    65 15. The method of claim 11, comprising:
    2. The wideband receiver system of claim 1, wherein said         generating, via a first ADC of said wideband analog-to
  output of said digital datastream is via a serial interface.         digital converter, a digital in-phase signal; and
                                                         APPX240
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-4     Page:  263 Page
                                             01/10/23 Filed: 20
                                                             06/16/2023
                                                                of 20 PageID #: 613


                                                      US 9,210,362 B2
                                 13                                     14
    generating, via a second ADC of said wideband analog-to
       digital converter, a digital quadrature signal.
     16. The method of claim 15, comprising frequency shifting
  said selected plurality of desired television channels via a
  plurality of complex mixers of said digital circuitry.          5
     17. The method of claim 16, wherein:
     prior to said frequency shifting, said selected plurality of
        desired television channels occupy non-contiguous por
        tions of a frequency spectrum; and
     after said frequency shifting, said selected plurality of 10
        desired television channels occupy a contiguous fre
       quency Spectrum.
    18. The method of claim 11, wherein said digital circuitry
  comprises a plurality of channel filters configured to perform
  said selecting.                                                  15
    19. The method of claim 18, wherein each one of said
  plurality of channel filters is a finite impulse response filter.
     20. The method of claim 11, comprising decimating, by
  said digital circuitry, one or more of said selected plurality of
  desired television channels prior to said outputting of said 20
  selected plurality of television channels.
                         k   k   k   k   k




                                                       APPX241
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-5    Page:  264 Filed:
                                             01/10/23 Page 06/16/2023
                                                           1 of 14 PageID #: 614




                      EXHIBIT E




                                APPX242
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-5    Page:  265 Filed:
                                             01/10/23 Page 06/16/2023
                                                           2 of 14 PageID #: 615
                                                                      |HAI LALA AT MATALULUT ATHOLD     US009825826B2

 (12) United States Patent                                                      (10) Patent No.:                          US 9 ,825 ,826 B2
         Gallagher et al.                                                      (45) Date of Patent: *Nov . 21 , 2017
 (54 ) METHOD AND APPARATUS FOR
          SPECTRUM MONITORING
                                                                            (52) CPC
                                                                                  U .S. CI............ H04L 43 /08 (2013.01) ; H04B 17 309
 (71) Applicant: MaxLinear, Inc., Carlsbad , CA (US )
                                                                                                   (2015.01); H04L 12/66 (2013.01); H04N
                                                                                                                                          17 /00 (2013 .01 )
 ( 72 ) Inventors: Timothy Gallagher , Encinitas, CA                        (58 ) Field of Classification Search
                                                                                  ???                                       .................. HO4N 17 /00
                                                                                            ••••••••••••••••••••••••••••••••••
                   (US ); Patrick Tierney , Solana Beach ,                        USPC ............................. ....... 348 / 192 , 193 , 180
                   CA (US ); Jun Huang , San Diego , CA                           See application file for complete search history .
                       (US)
                                                                            (56 )                 References Cited
 (73 ) Assignee : Maxlinear, Inc ., Carlsbad , CA (US )                                        U .S . PATENT DOCUMENTS
 ( * ) Notice:         Subject to any disclaimer , the term of this
                       patent is extended or adjusted under 35                      6 ,038,435 A          3 /2000 Zhang
                                                                                    7 , 162 ,731 B2 *     1/ 2007 Reidhead .................. H04L 1/ 24
                       U . S . C . 154(b ) by 0 days .                                                                                          348 /180
                        This patent is subject to a terminal dis                    7 ,418 , 240 B2 * 8/ 2008 Hsu ....................... H04L 1/0003
                                                                                                                                              370 /252
                       claimer .                                                                         (Continued )
 (21) Appl. No.: 14/948,947                                                Primary Examiner — Paulos M Natnael
                                                                           (74 ) Attorney, Agent, or Firm - McAndrews, Held &
 (22) Filed : Nov. 23, 2015                                                Malloy , Ltd .
 (65 )                 Prior Publication Data                               (57)                    ABSTRACT
                                                                             A receiver is configured to be coupled to a television and
          US 2016 /0087865 A1 Mar. 24 , 2016                               data service provider headend via a hybrid fiber coaxial
                                                                           (HFC ) network . The receiver comprises front -end circuitry
              Related U . S . Application Data                             operable to receive a signal that carries a plurality of
                                                                           television and /or data channels, and digitize the received
 (63 ) Continuation of application No. 14 /341,880 , filed on              signal to generate a digitized signal. The receiver comprises
          Jul. 28 , 2014 , now Pat. No . 9 , 203,653, which is a            channelizer circuitry operable to select a first portion of the
          continuation of application No . 13 /607,916 , filed on          digitized signal, and select a second portion of the digitized
          Sep . 10 , 2012 , now Pat. No. 8,792 ,008 .                      signal. The receiver comprises processing circuitry operable
                                                                           to process the selected second portion of the digitized signal
 (60 ) Provisional application No.61/532 ,098 , filed on Sep .             to recover information carried in the plurality of channels.
                                                                            The receiver comprises monitoring circuitry operable to
          8 , 2011 .                                                       analyze the selected first portion of the digitized signal to
 (51) Int. CI.                                                             measure a characteristic of the received signal; and control
      H04N 17/00                                                           the transmission of network management messages back to
                                   (2006 .01)
          H04L 12 /26              ( 2006 .01)                             the headend based on the measured characteristic of the
          H04L 12/66               ( 2006 .01)                             received signal.
          H04B 17 /309             ( 2015 .01)                                                 18 Claims, 7 Drawing Sheets
                         100



                                                                                                             To Tx 152




                                    RF Receive Front-end
                                            158
                                                           D          Channelizer
                                                                         152
                                                                                           C1-Cj
                                                                                                   HOL           1 ,160
                                                                                                            Monitoring
                                                                                                                154


                                                                                                          Data Processing
                                                                                                                156

                                                                                                                 1 162

                                                                                                   To end system (s ) 126 , 128



                                                               APPX243
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-5    Page:  266 Filed:
                                             01/10/23 Page 06/16/2023
                                                           3 of 14 PageID #: 616


                                                           US 9,825 ,826 B2
                                                                     Page 2

 (56 )                    References Cited
                     U . S . PATENT DOCUMENTS
         8 , 161,388 B2 * 4 /2012 Rodriguez ............. G06F 3 /14
                                                             348/ 125
         8,611,483 B2* 12/2013 Zhu .                    H04L 7 / 0334
                                                            341/ 122
         8,792,008 B2 * 7/2014 Gallagher ............... H04L 43 /08
                                                            348 / 192
         9 ,026 , 118 B2 * 5 / 2015 Ling         . . . HO4W 72 /044
                                                             370 /316
      9 , 203,653 B2 * 12 / 2015 Gallagher ............. HO4L 43/08
      9 ,320 ,019 B2 * 4 / 2016 Gallagher ............. HO4W 72 /04
      9 ,332 ,214 B2 * 5 / 2016 Ideura ................. HO4N 5 /775
  2005/0152557 A1 * 7 / 2005 Sasaki ..                   H04S 7 / 302
                                                               381/58
  2010 /0171659 A1 * 7 /2010 Waters ................... HO4B 17 / 24
                                                          342/ 357. 74
  2011/0235758 A1 * 9 /2011 Khoini- Poorfard . ... HOZG 3/ 001
                                                      375 / 345
  2012/0163290 A1 6/2012 Krafft et al.
 * cited by examiner




                                                            APPX244
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-5    Page:  267 Filed:
                                             01/10/23 Page 06/16/2023
                                                           4 of 14 PageID #: 617


          atent                    Nov . 21, 2017                                 Sheet 1 of 7                            US 9,825 ,826 B2




        126a                                                                        126b

                      Tx   152a Rx 150a                                                               TX   152a Rx 150a
               120a                                                                     120b


                                                                                                                                    1A
                                                                                                                                    .
                                                                                                                                    FIG
                                                      118          HFC
                                                                                               .




                                                    combiner/Splitter
                                                                                               .




                                                                                               .




                                                                                               .




                                              112
                                                       Modulator
                                                                                               .




                                                                    114
                                                    Video                   CMTS Head n
                                          .                                                    .




                                          .                                                    .




                                          .                                                    .




                                          w

                                                                                               .



                                          w

                                                                                               .



                                          w




                                   108 110                                                     .




                                                                   Switch                      -
                                                                                               -
                                                                                               -
                                                                                               -




                                                      1104VAI
                                                                            106
               LY                                     104                          IPNetwork
                                                                                           .
                                                                                           e
                                                                                           g
                                                                                           (
                                                                                           )
                                                                                           internet
                                                                                           ,




                                                                      APPX245
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-5    Page:  268 Filed:
                                             01/10/23 Page 06/16/2023
                                                           5 of 14 PageID #: 618


          atent           Nov . 21, 2017                                                 Sheet 2 of 7            US 9 ,825 ,826 B2




             Tx
             To
             152   1 60       Monitrng   154
                                                                   PDroacestiang   156
                                                                                            162
                                                                                             (          (
                                                                                                        system
                                                                                                        end
                                                                                                        To
                                                                                                        128
                                                                                                        ,
                                                                                                        126
                                                                                                        s
                                                                                                        )




                               CJ
                               +
                               1                                  C1
                                                                  Cj
                                                                  -



                                                                                                                           1B
                                                                                                                           .
                                                                                                                           FIG

                                                Chanelizr   152




                                               end
                                               D
                                               -
                                               Front
                                               !
                                               RRF
                                                eceive
                                                            158




    100




                                                             APPX246
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-5    Page:  269 Filed:
                                             01/10/23 Page 06/16/2023
                                                           6 of 14 PageID #: 619


            atent       Nov . 21, 2017          Sheet 3 of 7                   US 9 ,825 ,826 B2




              194
                                                                       J+ 1     Monitoring
                          Front-- end    D                                          154
        1     LNB
              LNB   S                            Channelizer
                             158                     152           C1 -Cj Data Processing
                                                                                   156




                                                               1 176
                                             174 For1825190 /L 1178
                                                                                 V180

                                                                       128

                                                                        1867
                                 WAN
                                 YAN
                                  192          3188
                                               3188     41 gateway
                                                             196




                                        FIG . 1C


                                        APPX247
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-5    Page:  270 Filed:
                                             01/10/23 Page 06/16/2023
                                                           7 of 14 PageID #: 620


            atent
                           No.21 2017
                           Nov. 21 , 2017   Sheet 4 of 7                       US 9 , 825 ,826 B2




             ir
             2041
             /              F2042                         F2041
                2161 ADC                           I




                                                   TI

                                                   I




                                                   =



                                                   =




                                                   =




                                                   =




                                                   =




                                                   =




                                                   =




                                                   l




                                                   "

                                                   l




                                                   -




                                                   -
                                                              216L ADC   |1J
                             “? ?
                                                   -




                                                   -




                                                  -




                                                  -




                                                  line5




            ?
                                                  5




                                                          ?                               2A
                                                                                          .
                                                                                          FIG


            ?
                                            COC




     .
     158A




                                        APPX248
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-5    Page:  271 Filed:
                                             01/10/23 Page 06/16/2023
                                                           8 of 14 PageID #: 621


            atent    Nov . 21, 2017       Sheet 5 of 7      US 9 ,825 ,826 B2




                                      ADC 992


                                                                       2B
                                                                       .
                                                                       FIG




     158B



                                  APPX249
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-5    Page:  272 Filed:
                                             01/10/23 Page 06/16/2023
                                                           9 of 14 PageID #: 622



 U.S.Patent
         atent                    Nov . 21, 2017           Sheet 6 of 7                              US 9 ,825,826 B2




                     ??
                           Monitr g                     plirocesing
                                                            data
                                                            To




                     304
                     +
                     3
                     1                            ,
                                                  304
                                                                                3043


     A
     ,
     K




               302
                3
                +
                1
                                           3021                           ,
                                                                          302
                                                                                                               .
                                                                                                               FIG
                                                                                                               3




                                                                                       Chanelizr   102




                                                    APPX250
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-5     Page:  273 Page
                                             01/10/23 Filed: 10
                                                             06/16/2023
                                                                of 14 PageID #: 623


          atent             Nov . 21, 2017               Sheet 7 of 7                       US 9 ,825 ,826 B2




                                           4027        Start



                   An FDM signal occupying the frequency band between Flo and Friis received



                      Received FDM is digitized signal across the entire band from Fio to Fni



                                        The digitized signal is channelized


                   A first one ormore of the channels are conveyed to a data processing module



                   A second one or more of the channels are conveyed to a monitoring module


            Data processing module processes the first one or more channels for consumption while the
                   monitoring module concurrently processes the second one or more channels




                                                     FIG . 4




                                               APPX251
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-5     Page:  274 Page
                                             01/10/23 Filed: 11
                                                             06/16/2023
                                                                of 14 PageID #: 624


                                                               US 9,825 ,826 B2
             METHOD AND APPARATUS FOR                                              These and other advantages, aspects and novel features of
               SPECTRUM MONITORING                                              the present invention , as well as details of an illustrated
                                                                                embodiment thereof, will be more fully understood from the
                         PRIORITY CLAIM                                          following description and drawings.
     This patent application is a continuation of U . S . patent                     BRIEF DESCRIPTION OF SEVERAL VIEWS OF
  application Ser. No . 14 / 341,880 filed on Jul. 28 , 2014 now                                         THE DRAWINGS
  patented as U . S . Pat. No . 9, 203 ,653 , which is a continuation
  of U . S . patent application Ser. No . 13 / 607, 916 filed on Sep .FIG . 1A depicts an example cable system in accordance
  10 . 2012 now patented as U . S . Pat. No. 8 ,792 .008. which 10 with an example embodiment of the invention .
                                                                       FIG . 1B depicts an example receiver operable to perform
  also makes reference to , claimspriority to and claims benefit spectrum
  from U . S . Provisional Patent Application Ser. No . 61/532 , embodiment     monitoring in accordance with an example
  098 filed on Sep . 8 , 2011 . Each of the above referenced                      of the invention .
                                                                      FIG  . 1C depicts an example satellite system in accordance
  documents is hereby incorporated herein by reference in its1 1515 with an example embodiment
  entirety .                                                                                         of the invention .
                                                                       FIG . 2A depicts an example RF front-end of a receiver
                                                                    operable to perform spectrum monitoring in accordance with
              INCORPORATION BY REFERENCE                            an example embodiment of the invention .
     This patent application also makes reference to :                 FIG . 2B depicts another example RF front-end of a
                                                                20 receiver operable to perform spectrum monitoring in accor
     U .S . patent application Ser . No. 13/336 ,451 titled dance with an example embodiment of the invention .
  “ Method and Apparatus for Broadband Data Conversion ,”                          FIG . 3 depicts an example channelizer which may be
  filed on Dec . 23 , 2011 , and published as U . S . Patent Appli -            utilized for performing spectrum monitoring in accordance
  cation Publication No . 2012/0163518 ;                              with an example embodiment of the invention .
     U .S .patent application Ser. No. 13 /485 ,003 titled “Multi - 25 FIG . 4 is a flow chart illustrating example steps for
  layer Time- Interleaved Analog -to -Digital Converter                         spectrum monitoring in accordance with an example
  (ADC ),” filed on May 31, 2012 and now patented as U . S .                    embodiment of the invention .
  Pat. No . 8 ,611, 483 ; and
     U .S . patent application Ser. No. 13/588 ,769 titled “ Multi                     DETAILED DESCRIPTION OF THE
  Standard Coverage Map Generation ,” filed on Aug . 17 , 30                                              INVENTION
  2012 , and now patented as U .S . Pat. No. 9 ,026 , 118 .
     Each of the above referenced documents applications
                                                 applications isis        As utilized herein the terms " circuits” and “ circuitry ”
 hereby incorporated herein by reference in its entirety .            refer to physical electronic components (i.e . hardware ) and
                                                                      any software and /or firmware (" code” ) which may configure
                FIELD OF THE INVENTION                             35 the hardware , be executed by the hardware , and or otherwise
                                                                      be associated with the hardware. As utilized herein , “ and /or ”
     Certain embodiments of the invention relate to signal means any one or more of the items in the list joined by
  processing. More specifically , certain embodiments of the “ and /or” . For example, " x and/or y ” means any element of
  invention relate to a method and system for spectrum                the three -element set { (x ), (y ), ( x , y ) }. Similarly , “ x , y,
 monitoring                                                        40 and /or z " means any element of the seven - element set { (x ) ,
                                                                      (y ), ( z ), ( x , y ), (x , z ), (y, z ), (x , y , z ) } . As utilized herein , the
            BACKGROUND OF THE INVENTION                               terms “ block " and " module ” refer to functions than can be
                                                                                implemented in hardware , software , firmware , or any com
    Network -based services can become unacceptable if net-      bination of one or more thereof.
  work parameters fall outside of those for which receivers in 45 FIG . 1A depicts an example communication system in
  the network were designed . For example , in a cable televi-   accordance with an example embodiment of the invention .
  sion system there are specifications for the number of                        Shown in FIG . 1 is a terrestrial television antenna 102 , a
  channels on the plant, the types of channels, the signal levels               satellite dish 104 , an Internet Protocol (IP ) network 106 , a
  of those channels and the impairments that can be on the                      headend 108 , a wide area network ( e . g ., hybrid fiber -coaxial
  plant that would affect the performance of the receiver. If 50 (HFC ) network ) 118 , a gateways 120a and 120b , end
  some or all of these parameters deviate outside acceptable                    systems 126a and 126b ( e. g ., computers ), and end systems
  bounds, the user may experience unacceptable performance .                    128a and 128b . The headend 108 comprises a switch 110 , a
  Conventionalmethods and apparatuses for monitoring net -                      video modulator 112 , a cable modem termination system
  work parameters are too costly and impractical for use in                     (CMTS) 114 , and a splitter/combiner 116 .
  customer -premises equipment (CPE ).                          55 For downstream traffic , the headend 108 may receive
     Further limitations and disadvantages of conventional and    television signals via the antenna 102 and the satellite dish
  traditional approaches will become apparent to one of skill      104, and may receive data via the IP network 106 . The
  in the art, through comparison of such systemswith some switch 110 may convey the television signals to the video
  aspects of the present invention as set forth in the remainder modulator 112 and the data to the CMTS 114. The video
  of the present application with reference to the drawings . 60 modulator 112 may modulate the received television signals
                                                                  onto a carrier. The CMTS 114 may modulate the received
          BRIEF SUMMARY OF THE INVENTION                                        data onto a carrier. The splitter/ combiner 116 may combine
                                                                                the outputs of the video modulator 112 and the CMTS 114
     A system and/ or method is provided for spectrum moni- resulting in a frequency division multiplexed (FDM ) signal
  toring, substantially as shown in and /or described in con - 65 comprising one or more television channels and/ or one or
  nection with at least one of the figures , as set forth more more DOCSIS channels . The FDM signal may be onto the
  completely in the claims.                                       wide area network (WAN ) 118 for distribution to customer
                                                                APPX252
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-5     Page:  275 Page
                                             01/10/23 Filed: 12
                                                             06/16/2023
                                                                of 14 PageID #: 625


                                                       US 9 ,825 ,826 B2
  premise equipment (CPE ). Each of the gateways 120a and            determined characteristics back to a source of the received
  120b may comprise a receive module 150 operable to                 signal ( e.g ., back to a cable headend ), In an example
  process the received FDM signal as described below .              embodiment, themonitoring module 174 may be operable to
     In an example embodiment, each of the gateways 120a            demodulate signals for measuring one or more characteris
  and 120b may be operable to transmit, via a module 152 , 5 tics such as signal-to -noise ratio , code rate .
  messages
  m         to the CMTS 114 . For such upstream data , the             The data processing module 156 may be operable to
   gateways 120a and 120b may modulate messages (e . g .,           process the bands C , - C , conveyed to it by the channelizer
  network management/maintenance messages) onto one or               102 to recover data present in one or more television
  more carriers for transmission via the WAN 118 . The split- channels present in those bands of the signal S . The data
  ter /combiner 116 may then convey the message to the 10 processing module 156 may, for example , perform synchro
  CMTS 114 . The CMTS 114 may process the messages and, nization , equalization , and decoding . The data processing
  in an example embodiment, adjust transmission parameters module 156 may output processed data ( e. g ., MPEG trans
  ( e. g ., modulation parameters , transmit power, frequency port stream packets and /or Internet Protocolpackets ) to end
  offsets, etc .) and /or perform other maintenance/management
                                                           VI     systems 126 , perhaps via an interface such as an HDMI
 based on the received messages .                              15 interface and / or an Ethernet interface (not shown ). The data
     FIG . 1B depicts an example receiver operable to perform     processingmodule 156 may also be operable to generate one
  spectrum monitoring in accordance with an example                  or more control signals 162 for configuring the channelizer
  embodiment of the invention . Shown in FIG . 1B is a receiver      102 and/or the receive front-end 158 .
  circuit 100 comprising an RF receive front- end module 158 ,   The parallel arrangement of the monitoring module 154
  a channelizer module 102, a monitoring module 154 , and a 20 and data processing module 156 may enable determination
  data processing module 156 .                                      of signal and /or channel characteristics without having to
     The RF receive front - end 158 may be operable to process      interrupt service to user equipment 126 and 128 .
  a received RF signal S to generate a digital signal D . The        I n an example embodiment, the signal S may be a cable
  signal S may be the result of a plurality of television and/ or   television signal with F1 - 55 MHz, Fh 1002 MHz. In an
  DOCSIS channels being frequency division multiplexed 25 example embodiment, the signal S may be a MOCA signal
  into a single signal. The signal S may occupy a frequency         with F1 1150 MHz and Fhi 2100 MHz. These numbers are
 band from F . to Fhi. The RF front -end 158 may, for               purely for illustration and not intended to be limiting.
  example , amplify, down -convert, filter, and /or digitize the       In an example embodiment, the signal S may be a satellite
  received signal S to generate the digital signal D . Example      television signal such as may be at the input of a LNB , at the
  embodiments of the RF front- end are depicted in FIGS. 2A 30 output of a LNB , or at the input of a indoor unit (e .g ., set top
  and 2B .                                                          box ) . In such an embodiment, the front - end 158 , channelizer
     The channelizer 102 may be operable to select J + 1 bands       152, data processing module 154 , and /or monitoringmodule
  (represented as C , - C . ) of the signal S and output each of     154 may reside in the indoor unit ( e . g ., set- top box ), outdoor
  the selected bands to the monitoring module 154 and /or the       unit ( e. g., satellite dish or accompanying components),
  data processing module 156 , where J is an integer greater 35 and / or may be distributed among the indoor unit and outdoor
  than 1 . An example embodiment of the channelizer 102 is          unit of a satellite installation residing at a customer prem
  depicted in FIG . 3 . Each band C ; may , for example , corre -   ises. An example of such an embodiment is shown in FIG .
 spond to the frequency band of one or more television 1C .
  channels. For example , each band C ; may be an integer             In operation of such an example embodiment, the signal
 multiple of 6 MHz (U . S.) or 8 MHz ( EU ) .                   40 S may be amplified , possibly downconverted , and digitized
     In an example embodiment, the channelizer 102 may be          by the RF front- end 158 to generate the signal D . The
 implemented entirely in the digital domain and the channel         channelizer 102 may then select J bands of the signal D for
  ization may be achieved via one or more digital filtering output to the data processing module 156 . Each of the
  algorithms and /or other digital signal processing algorithms. selected bands C1-C , may , for example, comprise one or
      The monitoring module 154 may be operable to analyze 45 more of the cable television channels and/ or one or more of
 the band C3+ 1 that it receives from the channelizer 102 to the DOCSIS channels that make up the signal S . The data
  measure / determine characteristics such as , for example ,       processing module 156 may provide one or more control
  signal power level vs . frequency , delay vs . frequency, phase   signals to determine which portion of the signal D is selected
  shift vs. frequency , type and/ or amount of modulation , code    for each of the bands C , - C ,. The selection may be based , for
  rate , interference levels , signal to noise ratio , a transfer 50 example , on which television channels are being consumed
  function of the channel of over which the signal was              by end systems 128 and /or whether DOCSIS data is being
  received , an impulse response of the channel over which the      consumed by end systems 126 . The channelizer 102 may
  signalwas received , and / or any other characteristic that may   also select one band , represented as band C41, to be output
  help assess characteristics of the channel over which the to the monitoring module 154. Band CjH1 may comprise any
  signal was received , assess characteristics of the transmitter 55 portion or portions ( including the entire bandwidth from F7.
  that sent the signal and /or any otherwise be pertinent to to Fhi) of the signal D . Which portion of the signal S is
  performance of the communication system . The monitoring          selected as band C4+ 1may , for example ,be configured by the
 module may also be operable to generate one or more                monitoring module 154 . The data processing module 156
  control signals 160 for configuring the channelizer 102           may process one or more of bands C , - C , to recover data on
  and/ or for configuring the RF front-end 158 . Additionally or 60 one or more channels (e . g ., television and / or DOCSIS
  alternatively , the control signal( s ) 160 output by the moni-   channels ) present in those bands while the monitoring
  toring module 154 may control the transmission of network module 154 may concurrently process band Cj+ 1 to measure /
  management/maintenance messages by the device 150 . Such    determine characteristics of all or a portion of the signal S
  message may comprise , for example , network status updates between f; and fui.
  indicating whether one or more communication parameters 65 FIG . 1C depicts an example satellite system in accordance
  of one or more received television or DOCSIS channels are   with an example embodiment of the invention . Shown in
  outside acceptable bounds, and /or conveying measured / FIG . 1C is a satellite dish assembly 172 , and a gateway 196 .
                                                        APPX253
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-5     Page:  276 Page
                                             01/10/23 Filed: 13
                                                             06/16/2023
                                                                of 14 PageID #: 626


                                                       US 9 ,825 ,826 B2
  The subassembly 174 comprises a feed horn 182 , an LNB              may then be digitized by the ADC 256 to generate signal D .
  194 , the front - end 158 , the channelizer 152, the monitoring      In an example embodiment, the ADC may be as described
 module 154, and the data processing module 156 . The                  in U .S . patent application Ser. No. 13 /485,003 entitled
  various modules of the subassembly 174 may reside in one             “Multi-layer Time- Interleaved Analog -to -Digital Converter
  or more housings , on one or more printed circuit boards, 5 (ADC ),” which is incorporated by reference herein , as set
  and/ or one or more integrated circuits ( e .g ., one or more forth above .
  silicon dice ) . In another example embodiment, the monitor            In an example embodiment, the ADC 256 may be capable
  ing module 154 and /or the data processing module 156 may           of digitizing a signal S wherein Fje to Fhi is 1 GHz or higher.
  reside in the gateway 196 .                                          Accordingly, for cable television/DOCSIS , the ADC 256
    In the example embodiment depicted , the satellite dish 10 may be operable to digitize the entire cable downstream
  assembly 172 comprises a parabolic reflector 176 and a       ( e .g ., from ~ 55 MHz to - 1002 MHz ). Similarly , for satellite
  subassembly 174 mounted ( e .g ., bolted or welded ) to a    television , the ADC 256 may be operable to digitize the
 support structure 178 which , in turn , comprises a boom 190 received signal at the input of the LNB , and / or the down
 and attaches ( e. g., via bolts ) to the premises 180 (e .g ., to the converted signal (e.g ., from ~ 1 GHz to ~ 2 GHz) at the output
 roof). In another example embodiment, all or a portion of the 15 by an LNB .
 modules 152, 154, and /or 156 may be mounted to the                     FIG . 3 depicts an example channelizer which may be
 premises 180 separate from the satellite dish (e .g ., connected utilized for performing spectrum monitoring in accordance
  via wired and/ or wireless connections), but may still be part      with an example embodiment of the invention . Band selec
  of the " outdoor unit ."                                            tion filters 302, - 302 , of the channelizer 102 may each
     The gateway 196 may receive data from the satellite dish 20 process the signal D to recover a corresponding one of the
  assembly 172 (via cable (s ) 184 ). The gateway and may              J selected bands of the signal D , and output the band on a
  transmit data onto and receive data from the WAN 192 ( via           corresponding one of the ports 304 , to 304 ;. A band selec
  broadband connection 188 ). The gateway 196 may transmit            tion filter 302 . 11 of the channelizer 102 may process the
  data to and receive data from user equipment 128 and 126            signal D to recover band Cg from the signal D , and output
  ( via one or more connections 186 ) .                             25 band Cmon the port 304 1 . Which band or bands are
     FIG . 2A depicts an example RF front -end of a receiver          selected by the filter 302 j+ 1 may be configured based on one
  operable to perform spectrum monitoring in accordance with           or more control signals input to the channelizer 102 . For
  an example embodiment of the invention . The RF front-end example, the value of a parameter k may determine the
  158A shown in FIG . 2A comprises a variable gain amplifier center frequency of the portion of signal D that is to be
  202, and receive chains 204 , -204 , where L is an integer 30 selected as C4+ 1 by the filter 302 3+ 1, and the value of A may
  greater than or equal to 1 . Each receive chains 204 , may     determine the bandwidth of the portion of this signal D that
  comprise an amplifier module 2101, a mixermodule 2121, a is selected as band Cj+ 1 for output on theport 304j+ 1. In this
  filter module 214 , and an analog - to - digital converter     manner, all of the signal D between F andF or any portion
  (ADC ) module 2161,where 1 is an integer between 1 and L . or portions of the signal D , may be selected for output on the
     Each amplifier 210 , may be operable to amplify a band 1 35 port 304 . 1.
  of the signal S . Each mixer 212 , may be operable to mix a      FIG . 4 is a flow chart illustrating example steps for
  band 1 of the signal S with a local oscillator signal (not spectrum monitoring in accordance with an example
  shown) to downconvert the band 1 to a lower frequency .        embodiment of the invention . After start step 402 , in step
  Each filter module 214 , may be operable to bandpass filter 404 , the receiver circuit 100 may receive a frequency
  the band 1 to remove/attenuate frequencies outside band 1. 40 division multiplexed (FDM ) signal comprising one or more
  Each ADC 216 may be operable to convert the band 1 of the            channels ( e. g ., satellite television channels , cable television
  analog signal S to a corresponding digital representation            channels, and /or DOCSIS channels ) occupying a frequency
  Operation of the RF front- end 158 and /or processing of            band between Flo and Fhi. In step 406 , the received FDM
  signals generated by the front- end 158 , may , for example, be     signal is digitized across the full band from Fje to Fhi. In step
  as described in U .S . patent application Ser. No. 13 / 336 ,451 45 408 , the digitized signal is channelized into one or more
  entitled “Method and Apparatus for Broadband Data Con -             bands . In step 410 , a first one or more of the bands are
  version ” which is incorporated by reference herein , as set         conveyed to a data processing module . In step 412 a second
  forth above .                                                       one or more of the bands are output to a monitoring module .
     In an example embodiment, the front- end 158A may                 In step 414 , the data processing module processes one or
  reside in a cable gateway such as the cable gateway 120 50 more of the first one or more bands to recover data on those
  described above. In an example embodiment, the front- end           bands while the monitoring module concurrently processes
  158A may reside in satellite gateway/set -top box and /or in    the second one or more bands to determine characteristics of
 an outdoor unit of a satellite reception assembly ( e . g .,     all or a portion of the frequency band from Fj, to Fhi .
 collocated on - chip or on -PCB with a satellite low -noise         Other embodiments of the invention may provide a non
 block downconverter (LNB )).                                  55 transitory computer readable medium and/ or storage
     FIG . 2B depicts another example RF front-end of a               medium , and / or a non -transitory machine readable medium
  receiver operable to perform spectrum monitoring in accor            and /or storage medium , having stored thereon , a machine
  dance with an example embodiment of the invention . The              code and /or a computer program having at least one code
  RF front- end 158B shown in FIG . 2B comprises a variable            section executable by a machine and/ or a computer, thereby
  gain amplifier 252, a filter 254 , and an ADC 256 . Functions 60 causing the machine and/or computer to perform the steps as
  performed by the RF front- end 158B may be referred to as described herein for spectrum monitoring
  “ full - spectrum capture ” ( or “ FSC ” ) .                           Accordingly , the present invention may be realized in
     In the front-end 158B , the entire bandwidth , from Fje to        hardware , software , or a combination of hardware and
  Fhi, of signal S may be amplified by the amplifier 252 to        software . The present invention may be realized in a cen
  generate S '. The amplified signal S 'may be then filtered by 65 tralized fashion in at least one computing system , or in a
  the filter 254 to remove undesired signals outside of Fj, to        distributed fashion where different elements are spread
  Fhi and generate signal S " . The signal S " , from Foto Fhis        across several interconnected computing systems. Any kind
                                                        APPX254
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-5     Page:  277 Page
                                             01/10/23 Filed: 14
                                                             06/16/2023
                                                                of 14 PageID #: 627


                                                          US 9 ,825 ,826 B2
  of computing system or other apparatus adapted for carrying               4 . The method of claim 2 , wherein said parameter is a
  OU             s described herein is suited . A typical com - transmit power of said received signal.
 bination of hardware and software may be a general-purpose       5 . The method of claim 2 , wherein said parameter is a
 computing system with a program or other code that, when       frequency offset of said received signal.
 being loaded and executed , controls the computing system 5 6 . The method of claim 1, wherein said characteristic is
 such that it carries out the methods described herein . signal power vs . frequency .
  Another typical implementation may comprise an applica -                   7 . The method of claim 1, wherein said characteristics is
                                                             signal phase vs. frequency .
  tion specific integrated circuit or chip .
     The present invention may also be embedded in a com        8 . The method of claim 1, wherein said characteristic is
  puter program product, which comprises all the features 10 one of: signal -to -noise ratio , peak - to -average ratio , noise
  enabling the implementation of the methods described                    levels, bit error rate, and symbol error rate .
  herein , and which when loaded in a computer system is able         9 . The method of claim 1 , configuring , by said one or
  to carry out these methods . Computer program in the present     more circuits, a bandwidth and /or center frequency of said
  context means any expression , in any language , code or         selected first portion of said digitized signal.
  notation , of a set of instructions intended to cause a system 15 10 . A system comprising :
  having an information processing capability to perform a                  a receiver configured to be coupled to a television and
  particular function either directly or after either or both of              data service provider headend via a hybrid fiber coaxial
  the following : a ) conversion to another language, code or                 (HFC ) network , the receiver comprising :
  notation ; b ) reproduction in a different material form .                  front- end circuitry operable to :
     While the present invention has been described with 20                      receive a signal that carries a plurality of channels,
  reference to certain embodiments , it will be understood by                       wherein said channels comprise one or both of
  those skilled in the art that various changes may be made and                     television channels and data channels; and
  equivalents may be substituted without departing from the                      digitize said received signal to generate a digitized
  scope of the present invention . In addition, many modifica                       signal;
  tions may be made to adapt a particular situation or material 25             channelizer circuitry operable to :
  to the teachings of the present invention without departing                    select a first portion of said digitized signal; and
  from its scope . Therefore , it is intended that the present                    select a second portion of said digitized signal;
  invention not be limited to the particular embodiment dis                    processing circuitry operable to process said selected
  closed , but that the present invention will include all                       second portion of said digitized signal to recover
  embodiments falling within the scope of the appended 30                         information carried in said plurality of channels;
  claims.                                                                      monitoring circuitry operable to :
       What is claimed is:                                                       analyze said selected first portion of said digitized
       1 . A method comprising:                                                     signal to measure a characteristic of said received
       performing by one or more circuits of a receiver coupled                    signal  ; and
           to a television and data service provider headend via a 35            control   the   transmission of network management
          hybrid fiber coaxial (HFC ) network :                                    messages back to said headend based on said
          receiving , via said HFC network , a signal that carries a               measured characteristic of said received signal,
              plurality of channels , wherein said channels com                    wherein said measured characteristic is different
              prise one or both of television channels and data 40 11. Thethan            said network management messages .
                                                                                     system   of claim 10 , wherein said network man
               channels ;                                    citized agementmessages indicate whether a parameter is outside of
          digitizing said received signal to generate a digitized     acceptable bounds.
               signal;                                                     12 . The system of claim 11 , wherein said parameter is a
          selecting a first portion of said digitized signal;
          selecting a second portion of said digitized signal; vir 45 modulation       parameter of said received signal.
          processing said selected second portion of said digi- 45 transmit power of of
                                                                           13 . The   system      claim 11 , wherein said parameter is a
              tized signal to recover information carried in said " 14 . The system of claimreceived
                                                                                               said
                                                                                                         11 ,
                                                                                                               signal.
                                                                                                              wherein   said parameter is a
              plurality of channels;
           analyzing said selected first portion of said digitized frequency
                                                                       The           offset of  said  received  signal .
                                                                      15 . The method of claim 1 , wherein said characteristic is
            signal to measure a characteristic of said received 50 signal  power vs. frequency.
            signal; and                                                      16 . The method of claim 1 , wherein said characteristics is
         controlling the transmission of network management               signal phase vs. frequency.
           messages back to said headend based on said mea
            sured characteristic of said received signal, wherein            17 . The system of claim 10 , wherein said characteristic is
            said measured characteristic is different than said           one of: signal-to - noise ratio , peak -to -average ratio , noise
          network management messages .                    55 levels , bit error rate , and symbol error rate .
    2 . The method of claim 1 , wherein said network manage said18monitoring
                                                                   . The system of claim 10 , comprising configuring, by
                                                                                  circuitry during operation of said one or
 ment messages indicate whether a parameter is outside of
 acceptable bounds.                                           more circuits, a bandwidth and /or center frequency of said
    3. The method of claim 2 , wherein said parameter is a selected first portion of said digitized signal.
 modulation parameter of said received signal.                                          *   *  *  *   *




                                                           APPX255
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-6    Page:  278 Filed:
                                             01/10/23 Page 06/16/2023
                                                           1 of 15 PageID #: 628




                      EXHIBIT F




                                APPX256
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-6    Page:  279 Filed:
                                             01/10/23 Page 06/16/2023
                                                           2 of 15 PageID #: 629

                                                                                            US010135682B2

 (12) Ling
      United      States Patent                                       (10) Patent No.: US 10 ,135 ,682 B2
           et al.                                                     (45) Date of Patent:                     *Nov . 20 , 2018
 (54 ) METHOD AND SYSTEM FOR SERVICE                               (58 ) Field of Classification Search
        GROUP MANAGEMENT IN A CABLE
        GETWORK NAGP                                                        CPC . HO4L 12 /2801; H04L 1/ 0009; H04L 1/0026 ;
                                                                                             HO4L 27 /2601; HO4L 41/0823 ; HOLL
                                                                                                              43 /08 ; H04L 43/ 12
 (71) Applicant: Maxlinear, Inc., Carlsbad , CA (US)                        See application file for complete search history.
 ( 72 ) Inventors: Curtis Ling , Carlsbad , CA (US);
                   Sridhar Ramesh , Carlsbad , CA (US );           (56 )                    References Cited
                 Timothy Gallagher, Carlsbad, CA (US)                                 U .S . PATENT DOCUMENTS
 (73 ) Assignee: Maxlinear, Inc., Carlsbad , CA (US)                       5 ,563 ,918 A     10 / 1996 Waldschmidt
                                                                           6 ,275 ,483 B1     8/ 2001 Papasakellariou
 ( * ) Notice : Subject to any disclaimer, the term of this                                    (Continued )
                     patent is extended or adjusted under 35
                     U . S . C . 154 (b ) by 0 days.               Primary Examiner — Dung B Huynh
                     This patent is subject to a terminal dis      (74 ) Attorney, Agent, or Firm — McAndrews, Held &
                     claimer.                                      Malloy , Ltd
 (21) Appl. No.: 15/866, 106                                       (57 )                  ABSTRACT
 (22) Filed :        Jan . 9, 2018                                 A cable modem termination system (CMTS ) may determine,
                                                                   for a plurality of cable modems served by the CMTS , a
 (65)                   Prior Publication Data                     corresponding plurality ofSNR -related metrics. The CMTS
                                                                   may assigning the modems among a plurality of service
       US 2018 /0131567 A1 May 10, 2018                            groups based on the SNR -related metrics. For any one of the
               Related U .S . Application Data                     modems, the CMTS may configure physical layer commu
 (63 ) Continuation of application No. 15/ 434 ,673, filed on      nication parameters to be used by the one of the modems
       Feb . 16 , 2017 , now Pat. No. 9 , 866 ,438 , which is a    based on a SNR - related metric of a service group to which
                                                                   the one of the modems is assigned . The physical layer
                          (Continued )                             communication parameters may include one or more of:
                                                                   transmit power , receive sensitivity , timeslot duration , modu
 (51) Int. CI.                                                     lation type, modulation order, forward error correction
        H04L 12 /24                ( 2006 .01)
                                                                   (FEC ) type, and FEC code rate . The CMTS and the modems
        H04L 1 /00               ( 2006 .01)                       may communicate using orthogonal frequency division mul
                           (Continued )                            tiplexing (OFDM ) over a plurality of subcarriers , and the
 (52) U .S . Cl.                                                   physical layer communication parameters may be deter
                      H04L 41/0823 ( 2013 . 01 ); H04B 17318       mined on a per - subcarrier basis .
                         ( 2015 .01 ); H04L 1/ 0009 ( 2013 .01);
                            (Continued )                                              18 Claims, 7 Drawing Sheets


        302                                            CMTS sends probe to CMS

        304,                          CMsdetermine SNR profile and report back to CMTS

        306                     CMTS assigns CMs to service groups based on SNR profiles

        308        CMTS determines physical layer communication parameters per service group and
                          per subcarrier based on composite SNR profiles of the service groups

        310          Communications between CMTS and any particular CM use the per-subcarrier
                   physical layer parameters of the service group to which the CM has been assigned


                                                         APPX257
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-6    Page:  280 Filed:
                                             01/10/23 Page 06/16/2023
                                                           3 of 15 PageID #: 630


                                                             US 10 ,Page
                                                                     135 ,2682 B2

                 Related U . S . Application Data                            2003/ 0223481 A112 / 2003 Jones
                                                                             2003 /0236071 A        12/2003 Ito
          continuation of application No. 15 /228,703 , filed on             2004 /0085976 A1 *      5 /2004 Dale .................. HO4B 7 / 18582
          Aug. 4 , 2016 , now Pat. No . 9 ,577 , 886 , which is a                                                                         370 / 411
          continuation of application No. 13 / 948,444 , filed on            2004 /0218568 A1       11/2004 Goodall
                                                                             2005 /0097617 A1        5 / 2005 Currivan
       Jul. 23 , 2013, now Pat . No. 9,419,858 .                             2005 /0122996 A1        6 /2005 Azenkot
 (60 ) Provisional application No . 61 /674 ,742, filed on Jul.              2005/0135253 A1        6 / 2005 Cai et al.
          23 , 2012 .                                                        2005/0185824 A1        8 / 2005 Chen
                                                                             2005/0213579 A1        9 / 2005 Iyer
                                                                             2006 /0008020 AL        1/ 2006 Blankenship
 (51 ) Int. Ci.                                                              2006 /0067278 A1 *     3 / 2006 Li                      H04B 1/ 707
          H04B 17318                 (2015 .01)                                                                                          370 / 335
          H04L 27/ 26                (2006 .01)                              2006 / 0126505 A1 *     6 / 2006 Denney ................ HO4J 3 / 1694
          H04L 12 / 28               (2006 .01)                                                                                           370 /229
      H04L 12 / 26                   ( 2006 .01)                             2007/0098007 A1         5 / 2007 Prodan
                                                                             2007/ 0202904 Al        8 /2007 Cheng
 (52) U . S . CI.                                                            2007/ 0253388 A1       11/ 2007 Pietraski
          CPC ..... .. H04L 1 /0026 (2013 .01 ); H04L 12 / 2801              2009/0016420 AL         1/ 2009 Kwak
                   ( 2013 .01); H04L 27 /2601 (2013 .01); H04L               2009 /0040942 A         2 / 2009 Yang
                        27 /2602 (2013.01); H04L 43/08 ( 2013 .01 );         2009/0215403 A1         8 /2009 Currivan
                                               H04L 43 / 12 (2013 .01)       2009 /02 19856 A1 * 9 /2009 Richardson ......... H04W 72 /044
                                                                                                                                          370 / 328
                                                                             2010 /0002575 AL        1/2010 Eichinger
 (56 )                      References Cited                                 2010 /0100919 A1        4 / 2010 Hsue
                                                                             2010 /0154017 A1 * 6 /2010 An ... ... ... ... ..... . HO4L 12 /2801
                    U .S . PATENT DOCUMENTS                                                                                             725 / 111
                                                                             2010 /0172316 A1 7 /2010 Hwang
         6 ,421, 327 B1       7/ 2002 Lundby                                 2011/ 0051607 A1 3 / 2011 Begen
         6 ,560 , 225 B1 5 / 2003 Czajkowski                                 2011 /0188852 Al 8 / 2011 Stodola
         6 ,757 ,522 B16 / 2004 Naegeli                                      2011/ 0306380 Al 12 /2011 Zavadsky
         6 ,891,858 B1     5 / 2005 Mahesh                                   2012 /0269242 Al       10 /2012 Prodan
         6 , 898 ,755 B1 * 5 /2005 Hou                    HO4L 1/ 0003       2013/0021931 A1       | 1/ 2013 Kim
                                                              370 /282       2013 / 0024753 Al       1 / 2013 Masuda
         7 ,761, 049 B2       7 /2010 Zeng                                   2013 /0100843 Al        4 /2013 Croak
         8 ,488,514 B2       7/ 2013 Cai                                     2013 /0107921 Al        5 /2013 Prodan
         8 ,743 ,933 B2 *    6 / 2014 Prodan          ..... HO4L 5 / 1446
                                                                             2013 /0114480 A15 /2013 Chapman
                                                                375 /219     2013 /0170528 A1 *      7 / 2013 Pantelias .. ...... .. HO4L 12/2801
      9 ,025, 954 B2 5 / 2015 Fang
      9 ,419 ,858 B2 * 8 / 2016 Ling                       H04L 1 /0026                                                                   375/222
      9 ,577 ,886 B2 * 2 / 2017 Ling               ... . . HO4L 1 / 0026     2013 /0227373 Al 8/ 2013 Shen
      9 , 866 ,438 B2 * 1/ 2018 Ling ................. HO4L 41/0823          2013 / 0266310 A110 / 2013 Fox
  2001/ 0055319 A1 * 12/ 2001 Quigley ................ H04J 3 / 1694         2014 / 0022926 A1  1/2014 Ling
                                                                370 /480     2014 /0133330 A1  5 / 2014 Chapman
  2002/ 0062486 A1 5 / 2002 Park                                             2014 /0169431 A1 6 /2014 Arambepola
  2002/0186459 Al 12 / 2002 DeGrange , Jr.                                   2014 /0286203 AL 9 /2014 Jindal
  2003 /0002450 AL  1/2003 Jalali                                            2014 /0301237 A1 10 /2014 Yi
  2003/ 0043732 Al 3 / 2003 Walton                                           2015 / 0071161 AL 3 /2015 Salhab
  2003/0053419 A1 3 / 2003 Kanazawa                                          2015 /0288498 A1 10 /2015 Kliger
  2003/0177502 AL 9 / 2003 Kolze
  2003/0199283 Al 10 / 2003 Busch                                           * cited by examiner




                                                               APPX258
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-6    Page:  281 Filed:
                                             01/10/23 Page 06/16/2023
                                                           4 of 15 PageID #: 631


          atent          Nov . 20 , 2018                      Sheet 1 of 7               US 10 , 135 ,682 B2


                                                       C a b
                                                   1125 modem
                                                             l e
                          1102
                                 Split er
                                                   1124 modem
                                                       C a b l e
         1062
                                                                                         1123 modem
                                                                                             C a b l e
         1996                               1101
                                                                              Split er
         108
                                                   Split er
                                                                                         1122 modem
                                                                                             C a b l e
         1977 1095 109c                                                  C a b
                                                                     1121 modem
                                                                               l e
                                                                                         1
                                                                                         .
                                                                                         FIG

         1078
        104 Fibernode

                   103

       102      CMTS

                                            APPX259
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-6    Page:  282 Filed:
                                             01/10/23 Page 06/16/2023
                                                           5 of 15 PageID #: 632


         atent         Nov . 20 , 2018         Sheet 2 of 7                 US 10 , 135 ,682 B2




                    112x Cable modem               112X Cable modem
                                                    204



                               nHetFwoCrk                     HneFtwoCrk
                                                                           2A
                                                                           .
                                                                           FIG




                            CMTS                           CMTS

                              1
                              Time
                              :                              A
                                                             :
                                                             1
                                                             Time
                                                             +




                                            APPX260
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-6    Page:  283 Filed:
                                             01/10/23 Page 06/16/2023
                                                           6 of 15 PageID #: 633



  U.S. Patent Nov.20,2018
           atent      Nov . 20 , 2018   Sheet 3 of 7       US 10 , 135 ,682 B2



                                                                 FREQ
                                                                    sub8


                                                               !hat h
                                                                    sub7

                                                                        gans

                                                                        sub5
                                                                               2B
                                                                               .
                                                                               FIG


                                                                        sub4

                                                                        sub3
                                                                 te
                                                                 t
                                                                 +
                                                                 to
                                                                 +
                                                                        sub2

                                                                        sub1
     SNR


                                    APPX261
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-6    Page:  284 Filed:
                                             01/10/23 Page 06/16/2023
                                                           7 of 15 PageID #: 634



 U.S. Patent Nov.2,0 2013
           atent         Nov . 20 , 2018                   Sheet 4 of 7   US 10 , 135 ,682 B2




                                                                 2 81
                                                                                tFREtQ
                                                                                    sub8

                                                           228
                                                                                    sub7
                                                     . .


                                                 W




                                                 .




                                                 2




                                                      22
                                                                                     sub6

                                                                                     sub5
                                                                                            2C
                                                                                            .
                                                                                            FIG

                                     ???
                                     ??


                                     ???
                                     ?
                                           228
                                                                                     sub4

                                                                                     sub3

                               230
                                                                                     sub2
                     L




                     .




                                                                                     sub1
     SNR

                                                 APPX262
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-6    Page:  285 Filed:
                                             01/10/23 Page 06/16/2023
                                                           8 of 15 PageID #: 635


             atent           Nov . 20 , 2018        Sheet 5 of 7                US 10 , 135 ,682 B2




       3027                               CMTS sends probe to CMS                                 )
                              CMs determine SNR profile and report back to CMTS

                          CMTS assigns CMs to service groups based on SNR profiles

               CMTS determines physical layer communication parameters per service group and
                    per subcarrier based on composite SNR profiles of the service groups

       310       Communications between CMTS and any particular CM use the per -subcarrier
               physical layer parameters of the service group to which the CM has been assigned

                                                  FIG . 3A



     3227                  CMTS determines location of CMs within HFC network

     324                  CMTS assigns CMs to service groups based on locations

     326     CMTS determines physical layer communication parameters per service group and
                          per subcarrier based on locations of service groups

     3287       Communications between CMTS and any particular CM use the per- subcarrier
              physical layer parameters of the service group to which the CM has been assigned

                                                 FIG . 3B




                                            APPX263
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-6    Page:  286 Filed:
                                             01/10/23 Page 06/16/2023
                                                           9 of 15 PageID #: 636


            atent                 Nov . 20 , 2018                     Sheet 6 of 7                           US 10 , 135 ,682 B2



                                                           1125 modem
                                                               C a b l e
                                  1102
                                          Spliter    -


                                                     -


                                                     -


                                                     -


                                                     +


                                                     -



                                                     -




                                                           1124
                                                                      Cablemodem
       1062                                                                                                     Cable modem
                                                                                                         112
                                                                                                          .
                                                                                                          3
                                                                                   1103
              19 6                 1063
                                                    1 01
                                                                                            Split er
       108                                                                          -


                                                           Split er                                             Cable modem
              107b 109a 109c                                                           C a b
                                                                                   1121 modeml e         12    )
                                                                                                               404


       1961                                                                        í
                                                                                   402

              107a 105                                                                                 4A
                                                                                                       .
                                                                                                       FIG


       104 Fibernode

                            103


      102            CMTS

                                                       APPX264
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-6     Page:  287 Page
                                             01/10/23 Filed: 10
                                                             06/16/2023
                                                                of 15 PageID #: 637


          atent                Nov . 20 , 2018                       Sheet 7 of 7                             US 10 , 135 ,682 B2
                                                                      -




                                                              C a b
                                                          1125 modem
                                                                    l e
                                1102
                                         Spliter
                                                                      Cablemodem
         1062?                                            Y
                                                          1124
                                                     4081                          1 03
                                                                                                          -




                                                                                                          -



                                                                                                          -



                                                                                                              1123
                                                                                                                     Cable modem
             1995
              109b               1 063             1101
                                                                                              Split er
         108
                                                          Split er                                            1122 modem
                                                                                                                  C a b l e
              107b 1095 109c
             1976                                                                         Cablemodem
                                                                             40626
                                                                              1121
                                                                               /
         1961
             1072
              107a 105                                                                                   4B
                                                                                                         .
                                                                                                         FIG

             7


         104 Fibernode


                         163

       102        CMTS
                                                    APPX265
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-6     Page:  288 Page
                                             01/10/23 Filed: 11
                                                             06/16/2023
                                                                of 15 PageID #: 638


                                                            US 10 ,135 ,682 B2
         METHOD AND SYSTEM FOR SERVICE                                       shown in and/or described in connection with at least one of
          GROUP MANAGEMENT IN A CABLE                                        the figures , as set forth more completely in the claims.
                              NETWORK                                           These and other advantages, aspects and novel features of
                                                                             the present invention , as well as details of an illustrated
                         PRIORITY CLAIM                                    5 embodiment thereof, will be more fully understood from the
                                                                               following description and drawings.
     This patent application is a continuation of U . S . patent
  application Ser . No. 15 /434,673 filed on Feb . 16 , 2017 ,                     BRIEF DESCRIPTION OF SEVERAL VIEWS OF
  which is a continuation of U .S . patent application Ser. No.                                        THE DRAWINGS
  15 / 228 ,703 filed on Aug. 4 , 2016 , now U . S . Pat. No. 10
  9 ,577 ,886 , which is a continuation of U .S . patent application              FIG . 1 is a diagram of an example cable /DOCSIS net
  Ser. No . 13 / 948 ,444 filed on Jul. 23 , 2013, now U . S . Pat.No.
  9 ,419 ,858 , which makes reference to , claims
                                               claims priority
                                                      priority toto and
                                                                    and FIG . 2A depicts an example method of determining
  claims benefit from U .S . Provisional Patent Application Seror. locations of CMswithin the HFC network .
  No . 61/674 .742 titled “ Method and System for Service 15 FIGS. 2B and 2C depict signal-to - noise ratio (SNR )
 Group Management in a Cable Television Network ” and                          versus frequency profiles for an example cable /DOCSIS
  filed on Jul. 23 , 2012 .                                                    network .
     The entirety of each of the above -mentioned applications                    FIG . 3A is a flowchart illustrating an example process for
  is hereby incorporated herein by reference .                               configuring a cable /DOCSIS HFC network based on mea
                                                                          20 sured performance metrics .
            INCORPORATION BY REFERENCE                                            FIG . 3B is a flowchart illustrating an example process for
                                                                 configuring a cable /DOCSIS HFC network based on loca
      This application also makes reference to :                 tion of CMs within the network .
      U . S . patent application Ser. No . 13 /553 , 328 titled     FIGS. 4A and 4B illustrate the network of FIG . 1 , with
  “ Method and System for Client - Side Message Handling in a 25 different groupings of CMs based on one or both of: mea
  Low -Power Wide Area Network ." and filed on Jul. 19 , 2012 ;  sured performance metric ( s ) and location within the HFC
     U .S . patent application Ser. No. 13 /485 , 034 titled                   network .
  “Method and System for Server -Side Message Handling in                                  DETAILED DESCRIPTION OF THE
  a Low - Power Wide Area Network ,” and filed on May 31 ,
  2012 ;                                                                  30                              INVENTION
    U . S . patent application Ser. No . 13 /553, 175 titled
  “ Method and System for a Low -Power Client in a Wide Area                      As utilized herein the terms " circuits” and “ circuitry ”
  Network   ,” and filed on Jul. 19 , 2012;                        refer to physical electronic components (i. e . hardware ) and
    U . S . patent application Ser. No. 13 /553 . 195 titled       any software and/ or firmware (" code" ) which may configure
  “ Method and System for Server - Side Handling of a Low - 35 the hardware , be executed by the hardware , and or otherwise
  Power Client in a Wide Area Network ." and filed on Jul. 19. be associated with the hardware . As used herein , for
  2012 ;                                                           example, a particular processor and memory may comprise
      U . S . patent application Ser. No. 13 /948 . 401 titled     a first “ circuit ” when executing a first one or more lines of
  “ Method and System for a High Capacity Cable Network .”         code and may comprise a second “ circuit” when executing
  and filed on the same date as this application ; and          40 a second one or more lines of code. As utilized herein ,
      U . S . patent application Ser. No. 13 / 948 . 417 titled    " and /or” means any one or more of the items in the list
  “ Method and System for Noise Suppression in a Cable joined by “ and/ or ” . As an example , " x and /or y ” means any
  Network ,” and filed on the same date as this application .      element of the three - element set {( x ), ( y ), (x , y ) }. As another
      The entirety of each of the above -mentioned applications example , x , y, and /or Z means any element of the seven
  is hereby incorporated herein by reference.                   45 element set { ( x ), ( y ) , (2 ), (x , y ), (x , z ), ( y, z ), (x , y , z )} . As
                                                                               utilized herein , the term “ exemplary ” means serving as a
                   FIELD OF THE INVENTION                                      non - limiting example, instance , or illustration . As utilized
                                                                               herein , the terms “ e. g.,” and “ for example” set off lists of one
     Certain embodiments of the invention relate to cable or more non -limiting examples , instances , or illustrations.
  television networks. More specifically, certain embodiments 50 As utilized herein , circuitry is " operable ” to perform a
  of the invention relate to a method and system for service      function whenever the circuitry comprises the necessary
  group management in a cable television network .               hardware and code (if any is necessary to perform the
                                                                               function , regardless of whether performance of the function
           BACKGROUND OF THE INVENTION                          is disabled , or not enabled , by some user -configurable set
                                                             55 ting .
     Convention cable television networks can be inefficient       FIG . 1 is a diagram of an example cable /DOCSIS net
 and have insufficient capacity . Further limitations and dis -                work . The example network comprises a cable modem
 advantages of conventional and traditional approaches will                    termination system (CMTS ) 102 , a fiber node 104 , ampli
 become apparent to one of skill in the art , through compari-                 fiers 106 , - 1063, a directional coupler 108 , splitters 110 ,
  son of such systems with some aspects of the present 60 1103 , and cable modems (CMs) 112, - 1125.
  invention as set forth in the remainder of the present     The CMTS 102 may comprise circuitry operable to man
  application with reference to the drawings .            age connections to the CMs 112 , - 1125. Thismay include, for
                                                          example : participating in ranging operations to determine
          BRIEF SUMMARY OF THE INVENTION                  physical layer parameters used for communications between
                                                            65 the CMTS 102 and CMs 112, - 1125; forwarding of dynamic
     A system and/ or method is provided for service group     host configuration protocol (DHCP ) messages between a
 management in a cable television network , substantially as DHCP server and the CMs 112 , - 1125; forwarding of time of
                                                               APPX266
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-6     Page:  289 Page
                                             01/10/23 Filed: 12
                                                             06/16/2023
                                                                of 15 PageID #: 639


                                                       US 10 ,135 ,682 B2
  day messages between a time of day server and the CMs then interpolation may be used for determining the SNR of
  112 , - 1125; directing traffic between the CMs 112,- 1125 subcarriers on which the message 202 was not sent.
  other network devices ( e.g ., Ethernet interfaces of the CMTS   The message 202 may be transmitted with such encoding,
  102 may face the Internet, Optical RF interfaces of the modulation , and transmit power such that even a CM 112x
  CMTS 102 may face the CMs, and the CMTS may direct 5 with a worst-case performance metric (s ) can receive the
  traffic between and among the Ethernet and Optical RF message and accurately measure the metric(s ). In this
  interfaces ); and managing registration of the CMs 112 - 1125 regard , FIG . 2B shows a SNR versus frequency graph for an
  to grant the cable modems network (e .g., Internet ) access. example HFC network that uses eight channels/subcarriers.
   The registration process for a CM 112x ( X between 1 and 5 The line 222 in FIG . 2B represents a composite worst -case
  for the example network of FIG . 1 ) may comprise the CM " SNR profile for one or more CM (s ) in the HFC network to
  112 sending a registration request along with its configura which the message 202 is destined . For example , line 222
  tion settings , and the CMTS 102 accepting or rejecting the may be a SNR profile for a single CM 112x to which the
  cable modem based on the configuration settings . The reg -          message 202 is to be unicast. As another example , the line
  istration process may additionally comprise an exchange of 16 222 may be a composite worst -case SNR profile for a
  security keys, certificates , or other authentication informa plurality of CMs 112 of a particular service group to which
  tion .                                                         the message 202 is to be multicast. As another example , the
     The fiber node 104 may comprise circuitry operable to line 222 may be a composite worst-case SNR profile for all
  convert between optical signals conveyed via the fiber optic CMsofan HFC network handled by the CMTS 102 to which
  cable 103 and electrical signals conveyed via coaxial cable 20 the message 202 is to be broadcast. The message 202 may
  105 .                                                                be transmitted such that the minimum SNR needed to
    Each of the amplifiers 106 , - 106 , may comprise a bidi -         receive and accurately measure the SNR profile is below the
  rectional amplifier which may amplify downstream signals             line 222 (e.g ., SNR needed for receiving the message 202
  and upstream signals, where downstream signals are input             may be the line 224 ).
  via upstream interface 107a and output via downstream 25                Upon receipt of the message 202, a CM 112y may
  interface 107b , and upstream signals are input via down -           measure , over the channels / subbands on which the message
  stream interface 107b and output via upstream interface              was sent, one or more metrics ( e. g ., SNR versus frequency
  107a . The amplifiers 106 , , which amplifies signals along the      profile ) for the transmission 202 . The CM 112 y may then
 main coaxial " trunk ” may be referred to as a " trunk ampli-         report the metrics ( s ) back to the CMTS 102 via a message
  fier .” The amplifiers 1062 and 1063 which amplify signals 30 204 . In an example implementation , the message 202 may
  along “ branches ” split off from the trunk may be referred to       contain information about when and /or how the CM (s ) are
  as " branch " or " distribution ” amplifiers .                       supposed to report their metric ( s) ( e. g ., SNR profiles) back
     The directional coupler 108 may comprise circuitry oper -         to the CMTS 102. In this regard , the message 202 may
  able to direct downstream traffic incident on interface 109a         contain information that is the same as and /or or analogous
  onto interfaces 109 and 109c, and to direct upstream traffic 35 to what may be found in a MAP, UCD , and/ or other MAC
  incident on interfaces 1096 and 109c onto interface 109a .           management message defined in a DOCSIS standard .
  The directional coupler 108 may be a passive device .                Accordingly , the message 202 may have specified a format
    Each of the splitters 110 , - 1103 may comprise circuitryof the message 204 and that the message 204 is to be
  operable to output signals incident on each of its interfaces
                                                             transmitted at time T + O .
  onto each of its other interfaces. Each of the splitters 40 Once the metric ( s ) of one or more CMs are known to the
  110 , - 110 , may be a passive device.                     CMTS 102 , physical layer communication parameters to be
     Each of the cable modems (CMs) 112 , - 112 , may com -            used for communications between the CMTS 102 and the
  prise circuitry operable to communicate with , and beman           CMs 112 may be determined based on themetric (s ). In this
  aged by , the CMTS 1102 in accordance with one or more             regard , physical layer communication parameters may be
  standards ( e . g., DOCSIS ). Each of the CMs 112 , - 112 , may 45 determined per -CM based on each CM 's respective
  reside at the premises of a cable subscriber.                      metric (s ) ( e. g., each CM 's SNR profile ), per -service - group
     The components ( including, fiber optic cables, coaxial based on a composite metric ( s ) of the CM ( s ) assigned to that
  cables, amplifiers, directional couplers, splitters , and /or service group (e .g ., composite SNR profile for the CM (s ) of
  other devices ) between the CMTS and the CMs may be that service group ), per physical region of the HFC network
  referred to as a hybrid fiber coaxial (HFC ) network . Any of 50 based on a composite metric of the CMs located in that
  the amplifiers , directional coupler, and splitters may be physical region (e .g., composite SNR profile for the CM (s )
  referred to generically as a coupling device .                      in that physical region ), and /or the like . Furthermore , once
     FIG . 2A depicts an example method of determining the metric (s ) of a CM 112x is determined , the CMTS 102
  locations of CMswithin the HFC network . As shown in FIG . may assign that CM 112x to one or more service groups
  2A , to determine one or more measured performance 55 based on its metric (s ), as , for example , described below with
 metric ( s ) ( e . g ., an SNR - related metric such as SNR at a      reference to FIG . 4A . Example physical layer parameters
  particular frequency or SNR over a range of frequencies (an          include: encoding parameters, modulation parameters, trans
  SNR profile ), noise levels, strength of desired signals, and /or    mit power, receive sensitivity , timeslot duration, channel(s )
  the like) for any particular CM 112x , the CMTS 102 may             o r subcarrier (s ) on which to listen , channel( s ) or sub
  transmit , at time 1 , a message 202 that is destined (unicast, 60 carrier ( s ) on which to transmit, and / or the like. Example
  multicast, or broadcast ) for the CM 112 y and that functions      encoding parameters include : type of forward error correc
  as a probe to enable determination of the metric ( s ) for the       tion (FEC ) to be used ( e . g., Reed - Solomon , LDPC , etc .),
  CM 112x . The message 202 may be sent on multiple FEC block size , FEC code rate, etc . Example modulation
  channels spanning multiple frequencies . Similarly , where parameters include: type ofmodulation (e . g ., frequency shift
  OFDM is used for communications between the CMTS 102 65 keying (FSK ), phase shift keying (PSK ), quadrature ampli
  and the CM 112 y, the message 202 may be transmitted on      tude modulation (QAM ), etc .), modulation depth , modula
  each subcarrier,ormay be sent on a subset of subcarriers and tion order, etc .
                                                          APPX267
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-6     Page:  290 Page
                                             01/10/23 Filed: 13
                                                             06/16/2023
                                                                of 15 PageID #: 640


                                                       US 10 ,135 ,682 B2
     In an example implementation, the transmission of mes        on channel z while the second service group consisting of
  sages 202 , the calculation of metrics, such as SNR profile ,   1122 and 1122 uses 16 - QAM on channel z .
 by the CM (s), the transmission 204 , and subsequent               In block 310, communications between the CMTS 102
  configuration of physical layer parameters based on the and any particular service group use the per -service - group
 metric ( s ) may take place in parallel with other operations 5 and per - subcarrier / channel physical layer parameters deter
 performed during the registration /ranging process .            mined in block 308.
    Referring now to FIG . 2C , there is again shown the line       FIG . 3B is a flowchart illustrating an example process for
  222 which represents the applicable SNR profile (e .g ., an   configuring a cable /DOCSIS HFC network based on loca
  individual SNR profile if configuring physical layer param -  tion of CMs within the network . For clarity of illustration ,
  eters per CM , a composite SNR profile for a service group 10 and as a non -limiting example, the process is described with
  if configuring physical layer parameters per service group ,         reference to the network of FIG . 1 and the messages of FIG .
  or a composite SNR profile for a particular physical region ).       2B . The process begins with block 322 in which the CMTS
  Also shown is a line 226 corresponding to SNR utilization            102 determines a location of each of the CMs 112 , - 112 , in
  for communications with the CM (s ) associated with the              the network . Location of a CM 112 y may be characterized in
  profile 222 . Assuming the distance 228 is the minimum 15 a variety of ways including, for example: total distance of
  desired headroom , then the physical layer communication                 fiber and /or coaxial cable between the CMTS 102 and the
  parameters resulting in line 226 are nearly optimal in the CM 112 y , total attenuation between the CMTS 102 and the
  sense that there is minimal headroom on each of channels /              CM 112 y , which trunk amplifier ( s ) are upstream of the CM
  subbands 1 , 3 , 4 , 6 , 7 , 8 , and only slightly more than minimal    112 x , how many coupling elements ( amplifiers , splitters ,
  headroom on channels /subbands 2 and 5 .                             20 directional couplers , etc .) are between the CMTS 102 and
     Physical layer parameters may be configured /coordinated             the CM 112 y, GPS coordinates, and street address. In block
  using upstream and/or downstream MAP messages, 324 , the CMTS 102 assigns the CMs 112 , - 1125 to service
  upstream channel descriptors (UCDs), other MAC manage -              groups based on their determined locations . Blocks 326 and
 ment messages defined in DOCSIS protocols , and/ or pur-       328 are substantially similar to blocks 308 and 310 , respec
 pose -specific messages tailored to configuring the param - 25 tively , of FIG . 3A .
  eters based on measured performance metrics such as SNR                 The locations of the CMs 112 , - 112 , may be determined
  profiles as described in this disclosure .                           by, for example , transmitting sounding signals into the
     FIG . 3A is a flowchart illustrating an example process for       network . In order to characterize the channel with more
  configuring a cable /DOCSIS HFC network based on SNR                 precision , the channel sounding signal may be sent repeat
  profiles. For clarity of illustration the process is described 30 edly over an interval of time and the CMs may average
  with reference to the network of FIG . 1 and the messages of         multiple measurements over the time interval until they can
  FIG . 2A . The process begins with block 302 in which the            resolve identifying characteristics in the signal which indi
  CMTS 102 sends one or more probe messages 202 to the                 cate , for example , how many branch amplifiers and /or other
  CMs 112 , - 112 . In block 304 , each of the CMs 112 , - 112         coupling elements that the signal traveled through to reach
  determines its respective SNR profile based on a received 35 the CM . In another example implementation , the CMTS
  one of the messages 202 , and reports the SNR profile back   may communicate with a server that stores subscriber infor
  to the CMTS 102 in the form of a message 204. In block 306 , mation that associates the CMs with their geographic loca
  the CMTS 102 assigns the CMs to service groups based on      tion ( e . g ., street address ).
  the SNR profiles.                                              While FIGS. 3A and 3B depict SNR profiles and location
     In block 308 , physical layer communication parameters 40 as two separate bases on which to assign CMs to service
  are determined per service group and per channel/ subcarrier.        groups , the two may be used in combination .
  For example, for any particular service group , the modula -           FIGS. 4A and 4B illustrate the network of FIG . 1, with
  tion order and FEC code rate to be used on a particular              different groupings of CMs based on one or both of: mea
  subcarrier may be determined based on the worst case SNR             sured performance metric (s ) and location within the HFC
  for that subcarrier among the CMs in that particular service 45 network .
  group . Thus, it can be seen that grouping CMsbased on SNR              In the example of FIG . 4A , CMs 112 , 1124, and 112 , are
  profiles may enable configuring physical layer communica -           assigned to service group 402 and CMs 112 , and 112 , are
  tions parameters to such that one or more communication              assigned to service group 404 . The assignment of FIG . 4A
  parameters (throughput, reliability , etc . ) is optimal, or near - may result from , for example, assigning CMs based on the
  optimal, for all of the CMs in the service group . For 50 number of coupling elements between the CMTS 102 and
  example , without such grouping by SNR profile , one CM in          the CMs — four each for CMs 112 , 1122, and 112s; five each
  a particular service group may have substantially lower SNR          for CMs 1122 and 1123 . The number of coupling elements
  on one or more channels / subcarriers . As a result , all CMs in     may be determined based on , for example , measured per
  that particular service group may be forced to use physical          formance metrics ( e. g ., SNR profile ) of the CMs and /or
  layer parameters supported by this " lowest common 55 address orGPS information associated with the CMs. Alter
  denominator " CM . This may result in a lot of wasted natively , the assignment of FIG . 3A may result from , for
  capacity for the remaining CMs.                       example , assigning the CMs to service groups based directly
     To illustrate with a specific example : assume that CMS           on their respective measured performance metric ( s ) (e . g .,
  112 , 1124, and 112 of FIG . 1 have sufficient SNR on                the extra device in the path between CMTS 102 and CMS
  channel z to support 64 -QAM on channel z , but that CMS 60 1112 and 1123 may cause CMs 1122 and 1123 to have
  1122 and 1122 only have sufficient SNR on channel z to significantly poorer SNR ).
  support 16 -QAM . If 112 , is assigned to the same service       In the example of FIG . 4B , CMs 112 , , 112 , and 112 , are
  group as 1122 or 1123, then 112 , may be forced to use assigned to service group 406 and CMs 1124 and 1125 are
   16 -QAM on channel z . Conversely , if 112 , 1124, and 1125 assigned to service group 408 . The assignment of FIG . 4B
  are assigned to a first service group and 1122 and 1123 are 65 may result from , for example , assigning CMs based on
  assigned to a second service group , then the first service which trunk amplifiers are downstream of the CMs. Alter
  group consisting of 1121, 1124, and 1125 can use 64 -QAM natively, the assignment of FIG . 3A may result from , for
                                                         APPX268
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-6     Page:  291 Page
                                             01/10/23 Filed: 14
                                                             06/16/2023
                                                                of 15 PageID #: 641


                                                     US 10 , 135 ,682 B2
  example , assigning the CMs to service groups based directly          What is claimed is:
  on their respective measured performance metric (s ) (e . g .,        1. A method comprising :
  the distance between CMTS 102 and CMs 1124 and 1125                   determining , by a cable modem termination system
  may be substantially greater than the distance between the               ( CMTS ), for each cable modem served by said CMTS,
  CMTS 102 and the CMs 1121, 1122, and 1123, thus resulting 5              a corresponding signal- to - noise ratio (SNR ) related
  in poorer SNR in CMs 1124 and 1125 ).                                    metric ;
     Grouping CMs according to which trunk or distribution               assigning, by said CMTS, each cable modem among a
  amplifiers are upstream of them may enable duty cycling                 plurality of service groups based on a respective cor
  power branch and / or distribution amplifiers . For example ,           responding SNR -related metric;
 when a CM in service group 406 is the talker , the upstream 10         generating, by said CMTS for each one of said plurality
 path through amplifier 1062 may be disabled such thatnoise               of service groups, a composite SNR - related metric
  from group 408 does not interfere with transmissions from               based at least in part on a worst- case SNR profile of
  the talker of service group 406 . Grouping CMs according to              said SNR -related metrics corresponding to said one of
 which trunk or distribution amplifier(s ) serve( s) them may              said plurality of service groups ;
  enable using more efficient physical layer parameters . For 15
  example , where there is a relatively long distance of cable          selecting , by said CMTS , one or more physical layer
  between amplifier 106 , and 106 , but relatively short distance          communication parameter to be used for communicat
  of cable between amplifiers 106 , and 1063, grouping the                 ing with said one of said plurality of service groups
  CMs by geography /distance to the CMTS may enable a                      based on said composite SNR -related metric; and
  lower transmit power to be used by the CMTS 102 when 20               communicating , by said CMTS , with one or more cable
  talking to service group 406 as compared to when talking to             modems corresponding to said one of said plurality of
  service group 408 .                                                      service groups using said selected one or more physical
     Other embodiments of the invention may provide a non                  layer communication parameter .
  transitory computer readable medium and /or storage               2 . The method of claim 1 , wherein said one or more
  medium , and/ or a non - transitory machine readable medium 25 physical layer communication parameter includes one or
  and/ or storage medium , having stored thereon , a machine          more of: transmit power, receive sensitivity, timeslot dura
  code and / or a computer program having at least one code           tion , modulation type , modulation order, forward error cor
  section executable by a machine and /or a computer, thereby         rection (FEC ) type , and FEC code rate .
  causing the machine and / or computer to perform processes             3 . The method of claim 1 , wherein said CMTS uses
  described .
     Accordingly , the present invention may be realized in u orthogonal
                                                              plurality of
                                                                           frequency division multiplexing (OFDM ) over a
                                                                            subcarriers for said communicating .
  hardware , software, or a combination of hardware and          4 . The method of claim 3 , comprising selecting , by said
  software . The present invention may be realized in a cen
  tralized fashion in at least one computing system , or in a CMTS , said one or more physical layer communication
                                                     read 3535 par
                                                               parameter on a per -OFDM -subcarrier basis.
  distributed fashion where different elements are spread         5 . The method of claim 4 , wherein said one or more
  across several interconnected computing systems. Any kind           physical layer communication parameter includes one or
  of computing system or other apparatus adapted for carrying
  out the methods described herein is suited . A typical com          both of: which of said OFDM subcarriers to use for trans
 bination ofhardware and software may be a general-purpose mission to said CMTS , and which of said OFDM subcarriers
 computing system with a program or other code that, when 40 to use for reception of information from said CMTS .
 being loaded and executed , controls the computing system      6 . The method of claim 1 , wherein :
 such that it carries out the methods described herein .        said plurality of service groups comprises a first service
  Another typical implementation may comprise an applica            group and a second service group ;
 tion specific integrated circuit or chip .                              said first service group has a first composite SNR versus
    The present invention may also be embedded in a com - 45                frequency profile , said second service group has a
 puter program product, which comprises all the features                    second composite SNR versus frequency profile , and a
 enabling the implementation of the methods described                       particular cable modem has a particular SNR versus
 herein , and which when loaded in a computer system is able                frequency profile ; and
 to carry out these methods. Computer program in thepresent              said assigning said each cable modem among said plu
  context means any expression, in any language , code or 50               rality of service groups comprises, for the particular
  notation , of a set of instructions intended to cause a system           cable modem :
  having an information processing capability to perform a                 assigning said particular cable modem to said first
  particular function either directly or after either or both of             service group if said particular SNR versus fre
  the following : a ) conversion to another language, code or                quency profile is more similar to said first composite
  notation ; b ) reproduction in a different material form .  55             SNR versus frequency profile than to said second
     While the present invention has been described with                      composite SNR versus frequency profile; and
  reference to certain embodiments , it will be understood by              assigning said particular cable modem to said second
  those skilled in the art that various changes may be made and               service group if said particular SNR versus fre
  equivalents may be substituted without departing from the                   quency profile is more similar to said second com
  scope of the present invention . In addition , many modifica - 60          posite SNR versus frequency profile than to said first
  tions may be made to adapt a particular situation or material               composite SNR versus frequency profile .
  to the teachings of the present invention without departing           7 . The method of claim 1 , comprising assigning said cable
  from its scope . Therefore, it is intended that the present         modems among said plurality of service groups based on
  invention not be limited to the particular embodiment dis - respective distances between said CMTS and said cable
  closed , but that the present invention will include all 65 modems
  embodiments falling within the scope of the appended                   8 . The method of claim 1, comprising assigning any
  claims.                                                             particular one of said cable modems to one of said plurality
                                                       APPX269
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-6     Page:  292 Page
                                             01/10/23 Filed: 15
                                                             06/16/2023
                                                                of 15 PageID #: 642


                                                    US 10 , 135 ,682 B2
                                                                                                  10
  of service groups based on which one or more of a plurality      physical layer communication parameters are configurable
  of branch amplifiers are upstream of said one of said            on a per-OFDM - subcarrier basis.
  plurality of cable modems.                                          14. The system of claim 12 , wherein said one or more
    9 . The method of claim 1, wherein said determining said       physical layer communication parameter includes one or
  plurality of SNR -related metrics comprises:                   5 both of: which of said OFDM subcarriers to use for trans
     transmitting a probe message to each cable modem , said       mission to said CMTS , and which of said OFDM subcarriers
       probe message comprising instructions for measuring a       to use for reception of information from said CMTS .
      metric and reporting said measured metric back to said          15 . The system of claim 10 , wherein :
       CMTS ; and                                                     said plurality of service groups comprises a first service
    receiving a metric reporting message from each cable 10              group and a second service group ;
      modem .                                                         said first service group has a first composite SNR versus
     10 . A system comprising :
    circuitry for use in a cable modem termination system                frequency profile , said second service group has a
       (CMTS ), said circuitry comprising a network interface            second composite SNR versus frequency profile, and a
       and a processor wherein :                              15         particular cable modem has a particular SNR versus
    said processor is configured to determine , for each cable           frequency profile;
      modem served by said CMTS , a corresponding signal              said assignment of said each cable modem among said
      to -noise ratio (SNR ) related metric ;                            plurality of service groups comprises , for the particular
    said processor is configured to assign each of said cable            cable modem :
      modems among a plurality of service groups based on 20             assignment of said particular cable modem to said first
       a respective corresponding SNR - related metric ;                    service group if said particular SNR versus fre
    said processor is configured to generate , for each one of             quency profile is more similar to said first composite
       said plurality of service groups, a composite SNR                   SNR versus frequency profile than to said second
                                                                           composite SNR versus frequency profile ; and
       related metric based at least in part on a worst-case              assignment of said particular cable modem to said
      SNR profile of said SNR - related metrics corresponding 25
       to said one of said plurality of service groups;                     second service group if said particular SNR versus
    said processor is configured to select one or more physical              frequency profile is more similar to said second
                                                                             composite SNR versus frequency profile than to said
      layer communication parameter to be used for commu                     first composite SNR versus frequency profile .
       nicating with said one of said plurality of service             16 . The   system of claim 10 , wherein said processor is
       groups based on said composite SNR -related metric ; 30
       and                                                          configured to assign said cable modems among said plurality
    said network interface is configured to communicate with of       service groups based on respective distances between said
                                                                    CMTS     and said cable modems.
       one or more cable modems corresponding to said one              17 . The system of claim 10 , wherein said processor is
       of said plurality of service groups using the one or more 35 configured    to assign each of said cable modems among said
       selected physical layer communication parameter . 35         plurality of service groups based on one or more branch
     11 . The system of claim 10 , wherein said one or more         amplifier that serves said each of said cable modems.
  physical layer communication parameter includes one or              18 . The system of claim 10 , wherein said determination of
 more of: transmit power, receive sensitivity , timeslot dura
  tion , modulation type , modulation order, forward error cor     said plurality of SNR - related metrics comprises:
  rection (FEC ) type , and FEC code rate .                     40    transmission , via said network interface , of a probe mes
     12 . The system of claim 10 , wherein said network inter            sage to each cable modem , said probe message com
  face and said cable modems are configured to communicate               prising instructions for measuring a metric and report
  using orthogonal frequency division multiplexing (OFDM )               ing said measured metric back to said CMTS ; and
  over a plurality of subcarriers.                                    reception , via said network interface of said CMTS , of a
     13 . The system of claim 12 . wherein said network inter - 45      metric reporting message from each cable modem .
  face is configured such that at least one of said one ormore                            *   *   *    *   *




                                                      APPX270
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:53-7
                                  2-2 Filed
                                       Page:  293 Filed:
                                            01/10/23 Page06/16/2023
                                                          1 of 5 PageID #: 643




                    EXHIBIT G




                                APPX271
                            Case 2:22-cv-00125-JRG Document 53-7 Filed 01/10/23 Page 2 of 5 PageID #: 644

                                                                 Exhibit G

                                                   Exemplary Chart for the ‘775 Patent
                                 Infringement of U.S. Patent No. 8,223,775 by Spectrum Accused Services

          #   U.S. Patent No. 8,223,775        Spectrum Accused Services
          18a A cable modem system The Accused Services are provided by the claimed cable modem system by utilizing, for
              comprising:                      example, at least one cable modem located at each subscriber location, including, for
                                               example, the Spectrum PC20 and Arris SB6183, and products that operate in a similar
                                                                                                                                       Case: 23-136




                                               manner. By way of example, the Spectrum PC20 is charted herein.
          18b a data networking engine The Spectrum PC20 includes a data networking engine implemented in a first circuit that
              implemented in a first circuit includes at least one processor, the data networking engine programmed with software
              that includes at least one that when executed by the at least one processor of the first circuit causes the data
              processor,      the       data networking engine to perform home networking functions including interfacing with
              networking              engine customer provided equipment.
                                                                                                                                       Document: 2-2




              programmed with software
              that when executed by the at Specifically, the Spectrum PC20 includes a Broadcom BCM3390 SoC.
              least one processor of the first




APPX272
              circuit causes the data
              networking engine to perform
                                                                                                                                       Page: 294




              home networking functions
              including interfacing with
              customer             provided
              equipment;
                                                                                                                                       Filed: 06/16/2023




                                                                 Page 1 of 4
                            Case 2:22-cv-00125-JRG Document 53-7 Filed 01/10/23 Page 3 of 5 PageID #: 645

                                                                 Exhibit G

          #    U.S. Patent No. 8,223,775      Spectrum Accused Services
                                                                                                                                        Case: 23-136
                                                                                                                                        Document: 2-2




APPX273
                                                                                                                                        Page: 295




                                             The Spectrum PC20, via the Broadcom BCM3390, has a dedicated cable modem CPU, a
                                             dedicated multi-threaded applications processor, and multiple hardware off-load engines.
                                             The multi-threaded applications processor implements a data networking engine. The data
                                             networking engine performs home networking functions including interfacing with
                                                                                                                                        Filed: 06/16/2023




                                             customer provided equipment.
          18c a cable modem engine The Spectrum PC20 has a cable modem engine implemented in a second circuit that
              implemented in a second includes at least one processor, the second circuit being separate from the first circuit, the
              circuit that includes at least cable modem engine programmed with software that when executed by the at least one


                                                                 Page 2 of 4
                           Case 2:22-cv-00125-JRG Document 53-7 Filed 01/10/23 Page 4 of 5 PageID #: 646

                                                                  Exhibit G

          #   U.S. Patent No. 8,223,775        Spectrum Accused Services
              one processor, the second        processor of the second circuit causes the cable modem engine to perform cable modem
              circuit being separate from      functions other than the home networking functions performed by the data networking
              the first circuit, the cable     engine, the cable modem functions including interfacing with cable media, and the cable
              modem engine programmed          modem engine configured to enable upgrades to its software in a manner that is
              with software that when          independent of upgrades to the software of the data networking engine, the cable modem
              executed by the at least one     engine including a DOCSIS controller and a DOCSIS MAC processor, the DOCSIS MAC
                                                                                                                                           Case: 23-136




              processor of the second          processor configured to process downstream PDU packets and forward the processed
              circuit causes the cable         packets directly to the data networking engine without the involvement of the DOCSIS
              modem engine to perform          controller in order to boost downstream throughput.
              cable modem functions other
              than the home networking         Specifically, the Spectrum PC20 has a dedicated cable modem CPU, a dedicated multi-
              functions performed by the       threaded applications processor, and multiple hardware off-load engines. The cable
                                                                                                                                           Document: 2-2




              data networking engine, the      modem CPU provides a cable modem engine. The cable modem CPU is separate from
              cable    modem       functions   the multi-threaded applications processor and the hardware off-load engines. Accordingly,
              including interfacing with       upgrades to the cable modem engine are independent of upgrades to the data networking




APPX274
              cable media, and the cable       engine. The cable modem CPU implements the cable modem engine. Upon information
              modem engine configured to       and belief, the cable modem engine includes a DOCSIS controller and a DOCSIS MAC
                                                                                                                                           Page: 296




              enable upgrades to its           processor, the DOCSIS MAC processor configured to process downstream PDU packets
              software in a manner that is     and forward the processed packets directly to the data networking engine without the
              independent of upgrades to       involvement of the DOCSIS controller in order to boost downstream throughput
              the software of the data
              networking engine, the cable
              modem engine including a
              DOCSIS controller and a
                                                                                                                                           Filed: 06/16/2023




              DOCSIS MAC processor, the
              DOCSIS MAC processor
              configured     to     process
              downstream PDU packets


                                                                  Page 3 of 4
                           Case 2:22-cv-00125-JRG Document 53-7 Filed 01/10/23 Page 5 of 5 PageID #: 647

                                                                 Exhibit G

          #   U.S. Patent No. 8,223,775       Spectrum Accused Services
              and forward the processed
              packets directly to the data
              networking engine without the
              involvement of the DOCSIS
              controller in order to boost
              downstream throughput; and
                                                                                                                                       Case: 23-136




          18d a data bus that connects the    The Spectrum PC20 has a data bus that connects the data networking engine to the cable
              data networking engine to the   modem engine, wherein the cable modem functions performed by the cable modem
              cable modem engine, wherein     engine are completely partitioned from the home networking functions performed by the
              the cable modem functions       data networking engine.
              performed by the cable
              modem         engine      are   Specifically, the Spectrum PC20 has a dedicated cable modem CPU, a dedicated multi-
                                                                                                                                       Document: 2-2




              completely partitioned from     threaded applications processor, and multiple hardware off-load engines. The multi-
              the      home      networking   threaded applications processor provides the data networking engine and the cable
              functions performed by the      modem CPU provides the cable modem engine. The cable modem CPU is separate from,




APPX275
              data networking engine.         the multi-threaded applications processor. Accordingly, the cable modem functions
                                              performed by the cable modem engine are completely partitioned from the home
                                                                                                                                       Page: 297




                                              networking functions performed by the data networking engine. The cable modem CPU
                                              communicates with the multi-threaded applications processor using a data bus.
                                              Accordingly, the data bus connects the data networking engine and the cable modem
                                              engine.

          19   A cable modem system as        In the Spectrum PC20, all DOCSIS functions are localized in the cable modem engine.
               claimed in claim 18, wherein
                                                                                                                                       Filed: 06/16/2023




               all DOCSIS functions are       Specifically, the Spectrum PC20 includes a dedicated cable modem CPU, a dedicated
               localized in the cable modem   multi-threaded applications processor, and multiple hardware off-load engines. The
               engine.                        DOCSIS functions are localized in the cable modem CPU.



                                                                 Page 4 of 4
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:53-8
                                  2-2 Filed
                                       Page:  298 Filed:
                                            01/10/23 Page06/16/2023
                                                          1 of 6 PageID #: 648




                    EXHIBIT H




                                APPX276
                         Case 2:22-cv-00125-JRG Document 53-8 Filed 01/10/23 Page 2 of 6 PageID #: 649

                                                                Exhibit H

                                                Exemplary Chart for the ‘690 Patent
                              Infringement of U.S. Patent No. 8,284,690 by Spectrum Accused Services

          #      U.S. Patent No. 8,284,690               Spectrum Accused Services
          1pre   A method comprising:                    The Accused Services perform the claimed method utilizing, for example,
                                                         including a Cable Modem Termination System (“CMTS”) operated by
                                                         Spectrum and at least one cable modem located at each subscriber
                                                                                                                                         Case: 23-136




                                                         location, including, for example, the Spectrum PC20, and products that
                                                         operate in a similar manner. By way of example, the Spectrum PC20 is
                                                         charted herein.
          1a     a) receiving in a first node, a probe   The Accused Services include receiving in a first node, a probe request
                 request specifying a first plurality of specifying a first plurality of parameters associated with the generation and
                 parameters associated with the          transmission of a probe, wherein the first plurality of parameters at least
                                                                                                                                         Document: 2-2




                 generation and transmission of a        specify content payload of the probe and a second node.
                 probe, wherein the first plurality of
                 parameters at least specify content Specifically, the Spectrum PC20 samples and digitizes the entire 1GHz




APPX277
                 payload of the probe and a second downstream spectrum of a cable plant and includes remote diagnostics
                 node;                                   capabilities that provide real time, unobtrusive diagnostic and spectrum
                                                                                                                                         Page: 299




                                                         analysis capabilities. These remote diagnostic capabilities include
                                                         measuring statistics of the downstream spectrum. The Spectrum PC20
                                                         provides an agent that receives requests querying the performance of the
                                                         downstream spectrum from a second node. Upon information and belief,
                                                         the requests include the first plurality of parameters that at least specify
                                                         content payload of the probe and the second node. For example, in a
                                                         deployed system, the first node may be a cable modem and the second
                                                                                                                                         Filed: 06/16/2023




                                                         node may be a CMTS.
          1b     b) determining a second plurality of The Spectrum PC20 determines a second plurality of parameters
                 parameters       associated        with associated with generation and transmission of the probe.



                                                                Page 1 of 5
                      Case 2:22-cv-00125-JRG Document 53-8 Filed 01/10/23 Page 3 of 6 PageID #: 650

                                                              Exhibit H

          #    U.S. Patent No. 8,284,690              Spectrum Accused Services
               generation and transmission of the Specifically, the Spectrum PC20 determines information responsive to the
               probe;                                 received request based on the measured statistics of the downstream
                                                      spectrum. Upon information and belief, the information includes a second
                                                      plurality of parameters associated with the generation and transmission of
                                                      the probe.
          1c   c) generating the probe in The Spectrum PC20 generates the probe in accordance with the first
                                                                                                                                    Case: 23-136




               accordance with the first plurality of plurality of parameters and the second plurality of parameters, wherein the
               parameters and the second plurality probe has a form dictated by the first plurality of parameters.
               of parameters, wherein the probe
               has a form dictated by the first Specifically, the Spectrum PC20 generates a message responsive to the
               plurality of parameters; and           received request, the message indicating the responsive information and
                                                      having a particular form determined by the request.
                                                                                                                                    Document: 2-2




          1d   d) transmitting the probe from the The Spectrum PC20 transmits the probe from the first node to the second
               first node to the second node.         node.




APPX278
                                                      Specifically, the Spectrum PC20 transmits the message to the second
                                                      node using its agent.
                                                                                                                                    Page: 300




          7    The method of claim 1, wherein the The probe request requests a probe that assists in diagnosing a network
               probe request requests a probe that problem.
               assists in diagnosing a network
               problem.                            Specifically, the Spectrum PC20 includes remote diagnostics capabilities
                                                   that provide real time, unobtrusive diagnostic and spectrum analysis
                                                   capabilities related to diagnosing network problems. Upon information and
                                                                                                                                    Filed: 06/16/2023




                                                   belief, Spectrum utilizes these remote diagnostic capabilities to assist in
                                                   diagnosing a network problem.




                                                             Page 2 of 5
                        Case 2:22-cv-00125-JRG Document 53-8 Filed 01/10/23 Page 4 of 6 PageID #: 651

                                                              Exhibit H

          #      U.S. Patent No. 8,284,690             Spectrum Accused Services
          8      The method of claim 7, wherein the    The probe request is generated by a network operator and uploaded to
                 probe request is generated by a       the second node.
                 network operator and uploaded to
                 the second node.                      Specifically, a collector server operated by Spectrum provides the probe
                                                       request to the second node.
                                                                                                                                   Case: 23-136




          9pre   A method comprising:                  The Accused Services perform the claimed method utilizing, for example,
                                                       including a Cable Modem Termination System (“CMTS”) operated by
                                                       Spectrum and at least one cable modem located at each subscriber
                                                       location, including, for example, the Spectrum PC20, and products that
                                                       operate in a similar manner. By way of example, the Arris E6000 CMTS is
                                                       charted herein.
                                                                                                                                   Document: 2-2




          9a     a) a first node transmitting a probe  The Spectrum Services include a first node transmitting a probe request
                 request to a second node, the probe   to a second node, the probe request specifying a first plurality of probe
                 request specifying a first plurality of
                                                       parameters for a physical layer probe, the first plurality of probe




APPX279
                 probe parameters for a physical layer parameters comprising a form for the probe including a modulation profile
                 probe, the first plurality of probe   for the probe.
                                                                                                                                   Page: 301




                 parameters comprising a form for the
                 probe including a modulation profile Specifically, the Arris E6000 provides a set of SNMP (Simple Network
                 for the probe;                          Management Protocol) variables supported by the Arris E6000 known
                                                         collectively as the MIB (Management Information Base). The MIBs
                                                         includes support for per modem/per upstream channel stats, RCC
                                                         definitions, per MAC event handling, per modem event handling and
                                                         counts, and per modem impairment reporting. The Arris E6000 transmits,
                                                                                                                                   Filed: 06/16/2023




                                                         to cable modems, requests specifying parameters as defined in the MIBs.
                                                         The requests have a modulation profile. For example, in a deployed
                                                         system, the first node may be at least a CMTS and the second node may
                                                         be a cable modem.


                                                              Page 3 of 5
                         Case 2:22-cv-00125-JRG Document 53-8 Filed 01/10/23 Page 5 of 6 PageID #: 652

                                                                 Exhibit H

          #      U.S. Patent No. 8,284,690                Spectrum Accused Services
          9b     b) the first node receiving the probe    The Arris E6000 receives the probe from the second node, wherein the
                 from the second node, wherein the        probe is generated in accordance with the first plurality of parameters and
                 probe is generated in accordance         in accordance with a second plurality of parameters determined by the
                 with the first plurality of parameters   second node.
                 and in accordance with a second
                 plurality of parameters determined       Specifically, the Arris E6000 receives, from the cable modems, messages
                                                                                                                                        Case: 23-136




                 by the second node.                      responsive to the requests. The message includes data relevant to the
                                                          request and generated based on the MIBs.

          11pre The method of claim 9, further            See 9pre.
                comprising:
          11a   a) the first node transmitting a          See 9a.
                                                                                                                                        Document: 2-2




                second probe request to a third
                node;
          11b   b) and the first node receiving a         See 9b.




APPX280
                second probe from the third node,
                wherein the second probe is
                                                                                                                                        Page: 302




                generated according to the second
                probe request; and
          11d   wherein the first probe and second        The first probe and second probe are transmitted simultaneously using
                probe         are        transmitted      OFDMA.
                simultaneously using OFDMA.
                                                                                                                                        Filed: 06/16/2023




          15     The method of claim 9, wherein the The probe request is configured to diagnose a network problem.
                 probe request is configured to
                 diagnose a network problem.        Upon information and belief, Spectrum utilizes these remote diagnostic
                                                    capabilities to assist in diagnosing a network problem. For example, the
                                                    MIBs may include support for per modem/per upstream channel stats,


                                                                 Page 4 of 5
                      Case 2:22-cv-00125-JRG Document 53-8 Filed 01/10/23 Page 6 of 6 PageID #: 653

                                                          Exhibit H

          #    U.S. Patent No. 8,284,690           Spectrum Accused Services
                                                   RCC definitions, per MAC event handling, per modem event handling and
                                                   counts, and per modem impairment reporting, which can be used to
                                                   diagnose a network problem.

          16   The method of claim 15, wherein the The probe request is generated by a network operator and uploaded to
               probe request is generated by a the first node.
                                                                                                                           Case: 23-136




               network operator and uploaded to
               the first node.                     Specifically, a collector server operated by Spectrum can provide the
                                                   probe request to the first node.
                                                                                                                           Document: 2-2




APPX281
                                                                                                                           Page: 303
                                                                                                                           Filed: 06/16/2023




                                                          Page 5 of 5
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:53-9
                                  2-2 Filed
                                       Page:  304 Filed:
                                            01/10/23 Page06/16/2023
                                                          1 of 7 PageID #: 654




                      EXHIBIT I




                                APPX282
                             Case 2:22-cv-00125-JRG Document 53-9 Filed 01/10/23 Page 2 of 7 PageID #: 655

                                                                     Exhibit I

                                                    Exemplary Chart for the ‘008 Patent
                                  Infringement of U.S. Patent No. 8,792,008 by Spectrum Accused Services

          #  U.S. Patent No. 8,792,008             Spectrum Accused Services
          1a 1. A system comprising:               The Accused Services are provided by the claimed system by utilizing, for example, the
                                                   Accused Set Top Products, which include at least one set top box (“STB”) located at
                                                   each subscriber location, including, for example, the Spectrum 100-series STBs, Spec-
                                                                                                                                              Case: 23-136




                                                   trum 200-series STBs, Spectrum 101-series STBs, Spectrum 201-series STBs, Spec-
                                                   trum 110-series STBs, Spectrum 210-series STBs, the Arris DCX3600 STB, and prod-
                                                   ucts that operate in a similar manner. By way of example, the Spectrum 210 (specifically
                                                   the Spectrum 210-T) is charted herein.
          1b an analog-to-digital converter op- The Spectrum 210 has an analog-to-digital converter operable to digitize a received
             erable to digitize a received sig- signal spanning an entire television spectrum comprising a plurality of television
                                                                                                                                              Document: 2-2




             nal spanning an entire television channels, said digitization resulting in a digitized signal.
             spectrum comprising a plurality
             of television channels, said digit- Specifically, the Spectrum 210 has an analog to digital converter:




APPX283
             ization resulting in a digitized sig-
             nal;
                                                                                                                                              Page: 305
                                                                                                                                              Filed: 06/16/2023




                                                                    Page 1 of 6
                            Case 2:22-cv-00125-JRG Document 53-9 Filed 01/10/23 Page 3 of 7 PageID #: 656

                                                                Exhibit I
                                                                                                                                          Case: 23-136
                                                                                                                                          Document: 2-2




APPX284
                                                                                                                                          Page: 306




                                             The Spectrum 210 receives the entire 1GHz downstream spectrum of a Spectrum cable
                                             plant. The 1 GHz cable spectrum includes a plurality of television channels. The
                                             Spectrum 210 digitizes the entire received signal; the digitization results in a digitized
                                             signal.
          1c a signal monitor operable to:   The Spectrum 210 has a signal monitor:
                                                                                                                                          Filed: 06/16/2023




                                                               Page 2 of 6
                             Case 2:22-cv-00125-JRG Document 53-9 Filed 01/10/23 Page 4 of 7 PageID #: 657

                                                                    Exhibit I
                                                                                                                                            Case: 23-136
                                                                                                                                            Document: 2-2




APPX285
                                                                                                                                            Page: 307




          1d analyze said digitized signal to The Spectrum 210 analyzes said digitized signal to determine a characteristic of said
             determine a characteristic of said digitized signal.
             digitized signal; and
                                                Specifically, the Spectrum 210 includes remote diagnostics capabilities that provide real
                                                time, unobtrusive diagnostic and spectrum analysis capabilities. Upon information and
                                                belief, the Spectrum 210 analyzes, using the signal monitor, said digitized signal to
                                                determine a characteristic of said digitized signal.
                                                                                                                                            Filed: 06/16/2023




          1e report said determined charac- The Spectrum 210 reports said determined characteristic to a source of said received
             teristic to a source of said re- signal.
             ceived signal;




                                                                   Page 3 of 6
                             Case 2:22-cv-00125-JRG Document 53-9 Filed 01/10/23 Page 5 of 7 PageID #: 658

                                                                     Exhibit I

                                                  Specifically, the Spectrum 210 includes remote diagnostics capabilities that provide real
                                                  time, unobtrusive diagnostic and spectrum analysis capabilities. Upon information and
                                                  belief, the Spectrum 210 reports said determined characteristic to a source of said
                                                  received signal.
          1f   a data processor operable to pro- The Spectrum 210 has a data processor operable to process a television channel to
               cess a television channel to re- recover content carried on the television channel:
               cover content carried on the tele-
                                                                                                                                                Case: 23-136




               vision channel; and
                                                                                                                                                Document: 2-2




APPX286
                                                                                                                                                Page: 308
                                                                                                                                                Filed: 06/16/2023




                                                  Specifically, in the Spectrum 210, each digitally tuned television channel is provided to a
                                                  digital demodulator that outputs a transport stream for use in broadcast services.
          1g a channelizer operable to:           The Spectrum 210 has a channelizer:




                                                                    Page 4 of 6
                              Case 2:22-cv-00125-JRG Document 53-9 Filed 01/10/23 Page 6 of 7 PageID #: 659

                                                                       Exhibit I
                                                                                                                                                  Case: 23-136
                                                                                                                                                  Document: 2-2




APPX287
                                                                                                                                                  Page: 309




          1h select a first portion of said digit- The Spectrum 210 selects a first portion of said digitized signal.
             ized signal;
                                                   Specifically, the Spectrum 210 includes advanced signal processing techniques that can
                                                   be used to digitally tune multiple channels simultaneously, including selecting a first por-
                                                   tion of said digitized signal.
          1i select a second portion of said The Spectrum 210 selects a second portion of said digitized signal.
             digitized signal; and
                                                                                                                                                  Filed: 06/16/2023




                                                   Specifically, the Spectrum 210 includes advanced signal processing techniques that can
                                                   be used to digitally tune multiple channels simultaneously, including selecting a second
                                                   portion of said digitized signal.




                                                                      Page 5 of 6
                              Case 2:22-cv-00125-JRG Document 53-9 Filed 01/10/23 Page 7 of 7 PageID #: 660

                                                                         Exhibit I

          1j   concurrently output said first por-   The Spectrum 210 concurrently outputs said first portion of said digitized signal to said
               tion of said digitized signal to      signal monitor and said second portion of said digitized signal to said data processor.
               said signal monitor and said sec-
               ond portion of said digitized sig-    Specifically, the Spectrum 210 includes remote diagnostics capabilities that provide real
               nal to said data processor.           time, unobtrusive diagnostic and spectrum analysis capabilities without affecting user
                                                     service on any downstream channels. As described above, the first portion of said digit-
                                                     ized signal is output to said signal monitor and said second portion of said digitized signal
                                                                                                                                                     Case: 23-136




                                                     is output to said data processor. Accordingly, the Spectrum 210 concurrently outputs
                                                     said first portion of said digitized signal to said signal monitor and said second portion of
                                                     said digitized signal to said data processor.

          2    2. The system of claim 1, See 1h.
               wherein said first portion of said
                                                                                                                                                     Document: 2-2




               digitized signal spans said entire
               television spectrum.




APPX288
                                                                                                                                                     Page: 310
                                                                                                                                                     Filed: 06/16/2023




                                                                        Page 6 of 6
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-10  Page:  311 Filed:
                                             01/10/23 Page06/16/2023
                                                           1 of 3 PageID #: 661




                       EXHIBIT J




                                APPX289
                             Case 2:22-cv-00125-JRG Document 53-10 Filed 01/10/23 Page 2 of 3 PageID #: 662

                                                                      Exhibit J

                                                     Exemplary Chart for the ‘362 Patent
                                   Infringement of U.S. Patent No. 9,210,362 by Spectrum Accused Services

          #   U.S. Patent No. 9,210,362           Spectrum Accused Services
          11a A method comprising:                The Accused Services perform the claimed method utilizing, for example, the Accused
                                                  Set Top Products, which include at least one set top box (“STB”) located at each sub-
                                                  scriber location, including, for example, the Spectrum 100-series STBs, Spectrum 200-
                                                                                                                                                 Case: 23-136




                                                  series STBs, Spectrum 101-series STBs, Spectrum 201-series STBs, Spectrum 110-
                                                  series STBs, Spectrum 210-series STBs, the Arris DCX3600 STB, and products that
                                                  operate in a similar manner. By way of example, the Spectrum 210 (specifically the
                                                  Spectrum 210-T) is charted herein.
          11b in a wideband receiver system: The Spectrum 210 is a wideband receiver system.
          11c downconverting, by a mixer The Spectrum 210 downconverts, by a mixer module of said wideband receiver system,
                                                                                                                                                 Document: 2-2




              module of said wideband re- a plurality of frequencies that comprises a plurality of desired television channels and a
              ceiver system, a plurality of fre- plurality of undesired television channels.
              quencies that comprises a plu-




APPX290
              rality of desired television chan- Specifically, the Spectrum 210 includes advanced signal processing techniques, includ-
              nels and a plurality of undesired ing a mixer, that can be used to downconvert a plurality of frequencies that comprises
                                                                                                                                                 Page: 312




              television channels;                a plurality of desired television channels and a plurality of undesired television channels.
          11d digitizing, by a wideband analog- The Spectrum 210 digitizes, by a wideband analog-to-digital converter (ADC) module
              to-digital converter (ADC) mod- of said wideband receiver system, said plurality of frequencies comprising said plurality
              ule of said wideband receiver of desired television channels and said plurality of undesired television channels.
              system, said plurality of frequen-
              cies comprising said plurality of Specifically, the Spectrum 210 digitizes the entire 1GHz downstream spectrum of a
              desired television channels and Spectrum cable plant. The 1 GHz cable spectrum includes a plurality of desired and
                                                                                                                                                 Filed: 06/16/2023




              said plurality of undesired televi- undesired television channels.
              sion channels;




                                                                     Page 1 of 2
                            Case 2:22-cv-00125-JRG Document 53-10 Filed 01/10/23 Page 3 of 3 PageID #: 663

                                                                    Exhibit J

          11e selecting, by digital circuitry of   The Spectrum 210s select, by digital circuitry of said wideband receiver system, said
              said wideband receiver system,       plurality of desired television channels from said digitized plurality of frequencies as
              said plurality of desired televi-    described below:
              sion channels from said digitized
              plurality of frequencies; and         Specifically, the Spectrum 210 includes advanced signal processing techniques that
                                                    can be used to digitally tune multiple channels simultaneously, including to select the
                                                    plurality of desired television channels from the digitized plurality of frequencies.
                                                                                                                                              Case: 23-136




          11f   outputting, by said digital The Spectrum 110 and Spectrum 210 output, by said digital circuitry of said wideband
                circuitry of said wideband receiver system, said selected plurality of television channels to a demodulator as a
                receiver system, said selected digital datastream.
                plurality of television channels to
                a demodulator as a digital Specifically, in the Spectrum 210, the digitally tuned and selected plurality of desired
                datastream.                         television channels are then fed into a digital demodulator that outputs a transport
                                                                                                                                              Document: 2-2




                                                    stream for use in broadcast services.




APPX291
                                                                                                                                              Page: 313
                                                                                                                                              Filed: 06/16/2023




                                                                    Page 2 of 2
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-11  Page:  314 Filed:
                                             01/10/23 Page06/16/2023
                                                           1 of 5 PageID #: 664




                     EXHIBIT K




                                APPX292
                           Case 2:22-cv-00125-JRG Document 53-11 Filed 01/10/23 Page 2 of 5 PageID #: 665

                                                                  Exhibit K

                                                   Exemplary Chart for the ‘826 Patent
                                 Infringement of U.S. Patent No. 9,825,826 by Spectrum Accused Services

          #  U.S. Patent No. 9,825,826   Spectrum Accused Services
          1a A method comprising:        The Accused Services perform the claimed method utilizing, for example, the Accused Set
                                         Top Products, which include at least one set top box (“STB”) located at each subscriber
                                         location, including, for example, the Spectrum 100-series STBs, Spectrum 200-series STBs,
                                                                                                                                       Case: 23-136




                                         Spectrum 101-series STBs, Spectrum 201-series STBs, Spectrum 110-series STBs,
                                         Spectrum 210-series STBs, the Arris DCX3600 STB, and products that operate in a similar
                                         manner. By way of example, the Spectrum 210 (specifically the Spectrum 210-T) is charted
                                         herein.
          1b performing by one or more The Spectrum 210 includes one or more circuits of a receiver coupled to a television and data
             circuits of a receiver service provider headend via a hybrid fiber coaxial (HFC) network, that perform the claimed
                                                                                                                                       Document: 2-2




             coupled to a television and steps, as described below:
             data     service   provider
             headend via a hybrid fiber




APPX293
             coaxial (HFC) network:
                                                                                                                                       Page: 315
                                                                                                                                       Filed: 06/16/2023




                                                                 Page 1 of 4
                           Case 2:22-cv-00125-JRG Document 53-11 Filed 01/10/23 Page 3 of 5 PageID #: 666

                                                                    Exhibit K

          #   U.S. Patent No. 9,825,826    Spectrum Accused Services
                                                                                                                                             Case: 23-136
                                                                                                                                             Document: 2-2




APPX294
                                                                                                                                             Page: 316




          1c receiving, via said HFC       The Spectrum 210 receives, via said HFC network, a signal that carries a plurality of channels,
             network, a signal that        wherein said channels comprise one or both of television channels and data channels.
             carries a plurality of
             channels, wherein said        Specifically, the Spectrum 210 receives the entire 1GHz downstream spectrum of a Spectrum
             channels comprise one or      cable plant. The 1 GHz cable spectrum includes a plurality of data and television channels.
             both of television channels
                                                                                                                                             Filed: 06/16/2023




             and data channels;
          1d digitizing said received      The Spectrum 210 digitizes said received signal to generate a digitized signal.
             signal to generate a
             digitized signal;             Specifically, the Spectrum 210 digitizes the entire 1GHz downstream spectrum it receives to
                                           generate a digitized signal.


                                                                   Page 2 of 4
                             Case 2:22-cv-00125-JRG Document 53-11 Filed 01/10/23 Page 4 of 5 PageID #: 667

                                                                      Exhibit K

          #  U.S. Patent No. 9,825,826 Spectrum Accused Services
          1e selecting a first portion of The Spectrum 210 selects a first portion of said digitized signal.
             said digitized signal;
                                            Specifically, the Spectrum 210 includes advanced signal processing techniques that can be
                                            used to digitally tune multiple channels simultaneously, including to select a first portion of
                                            said digitized signal.
          1f selecting a second portion The Spectrum 210 selects a second portion of said digitized signal.
                                                                                                                                               Case: 23-136




             of said digitized signal;
                                            Specifically, the Spectrum 210 includes advanced signal processing techniques that can be
                                            used to digitally tune multiple channels simultaneously, including to select a second portion of
                                            said digitized signal.
          1g processing said selected The Spectrum 210 process said selected second portion of said digitized signal to recover
             second portion of said information carried in said plurality of channels.
                                                                                                                                               Document: 2-2




             digitized signal to recover
             information carried in said Specifically, in the Spectrum 210, each digitally tuned channel then feeds the signal into a
             plurality of channels;         digital demodulator that outputs a transport stream for use in data or broadcast services.




APPX295
          1h analyzing said selected first The Spectrum 210 analyzes said selected first portion of said digitized signal to measure a
             portion of said digitized characteristic of said received signal.
                                                                                                                                               Page: 317




             signal to measure a
             characteristic     of     said Specifically, the Spectrum 210 includes remote diagnostics capabilities that provide real time,
             received signal; and           unobtrusive diagnostic and spectrum analysis capabilities. Upon information and belief, the
                                            Spectrum 210 includes a signal analyzer that analyzes said selected first portion to determine
                                            one or more characteristics of the received signal.
          1i controlling the transmission The Spectrum 210 controls the transmission of network management messages back to said
             of network management headend based on said measured characteristic of said received signal, wherein said
                                                                                                                                               Filed: 06/16/2023




             messages back to said measured characteristic is different than said network management messages.
             headend based on said
             measured characteristic of Specifically, the Spectrum 210 includes remote diagnostics capabilities that provide real time,
             said      received     signal, unobtrusive diagnostic and spectrum analysis capabilities. Upon information and belief, the


                                                                     Page 3 of 4
                           Case 2:22-cv-00125-JRG Document 53-11 Filed 01/10/23 Page 5 of 5 PageID #: 668

                                                                    Exhibit K

          #   U.S. Patent No. 9,825,826     Spectrum Accused Services
              wherein said measured         Spectrum 210 controls the transmission of network management messages back to said
              characteristic is different   headend based on said measured characteristic of said received signal. Upon information and
              than      said    network     belief, said measured characteristic is different than said network management messages
              management messages.
                                                                                                                                          Case: 23-136
                                                                                                                                          Document: 2-2




APPX296
                                                                                                                                          Page: 318
                                                                                                                                          Filed: 06/16/2023




                                                                   Page 4 of 4
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-12  Page: 319 Filed:
                                             01/10/23 Page06/16/2023
                                                           1 of 5 PageID #: 669




                      EXHIBIT L




                                APPX297
                           Case 2:22-cv-00125-JRG Document 53-12 Filed 01/10/23 Page 2 of 5 PageID #: 670

                                                                 Exhibit L

                                                   Exemplary Chart for the ‘682 Patent
                                Infringement of U.S. Patent No. 10,135,682 by Spectrum Accused Services

          #    U.S. Patent No. 10,135,682 Spectrum Accused Services
          1a   A method comprising:       The Accused Services perform the claimed method utilizing, for example, including a Cable
                                          Modem Termination System (“CMTS”) operated by Spectrum and at least one cable
                                          modem located at each subscriber location, including, for example, the Spectrum PC20,
                                                                                                                                      Case: 23-136




                                          and products that operate in a similar manner. By way of example, the Arris E6000 CMTS
                                          is charted herein.
          1b   determining, by a cable The Arris E6000 CMTS determines, for each cable modem served by said CMTS, a
               modem termination system corresponding signal-to-noise ratio (SNR) related metric.
               (CMTS), for each cable
               modem served by said CMTS, Spectrum started using Arris CMTS’s as early as 2014, including the E6000, Arris’ CMTS
                                                                                                                                      Document: 2-2




               a corresponding signal-to- that added video edge QAM components and became a fully integrated Converged Cable
               noise ratio (SNR) related Access Platform. The E6000’s capabilities are described, for example, in the E6000
               metric;                    Manual.




APPX298
                                             Spectrum continues to use CMTSs like the E6000 to send and receive packets to
                                                                                                                                      Page: 320




                                             downstream cable modems over the Internet. For the purposes of this analysis, the PC20
                                             will be assessed. However, Spectrum’s services are compatible with a variety of cable
                                             modems for consumers to utilize in conjunction with their services.

                                             Cable modems, such as the PC20, include chips capable of receiving and transmitting
                                             performance data to the CMTS, such as Broadcom’s BCM3390 system-on-a-chip (“SoC”)
                                                                                                                                      Filed: 06/16/2023




                                                                 Page 1 of 4
                          Case 2:22-cv-00125-JRG Document 53-12 Filed 01/10/23 Page 3 of 5 PageID #: 671

                                                               Exhibit L

          #   U.S. Patent No. 10,135,682   Spectrum Accused Services
                                                                                                                                       Case: 23-136
                                                                                                                                       Document: 2-2




APPX299
                                                                                                                                       Page: 321




                                           Accordingly, cable modems, such as the PC20, are capable of bidirectional
                                           communications with upstream CMTSs, such as the E6000.

                                           Spectrum utilizes its CMTSs to determine a corresponding signal-to-noise ratio (SNR)
                                           related metric for each cable modem served by said CMTS. For example, according to the
                                                                                                                                       Filed: 06/16/2023




                                           E6000 user manual, the CMTS utilizes a powerful spectral analysis engine built into every
                                           upstream receiver to gather detailed information about upstream channel noise.




                                                               Page 2 of 4
                             Case 2:22-cv-00125-JRG Document 53-12 Filed 01/10/23 Page 4 of 5 PageID #: 672

                                                                       Exhibit L

          #    U.S. Patent No. 10,135,682         Spectrum Accused Services
          1c   assigning, by said CMTS,           A service group includes one or more modems. The Arris E6000 CMTS assigns each cable
               each cable modem among a           modem among a plurality of service groups based on a respective corresponding SNR-
               plurality of service groups        related metric.
               based on a respective
               corresponding     SNR-related      Specifically, the Arris E6000 CMTS utilizes a process of profiling downstream modems.
               metric;
                                                                                                                                                 Case: 23-136




          1d   generating, by said CMTS for       The Arris E6000 CMTS generates, for each one of said plurality of service groups, a
               each one of said plurality of      composite SNR-related metric based at least in part on a worst-case SNR profile of said
               service groups, a composite        SNR-related metrics corresponding to said one of said plurality of service groups.
               SNR-related metric based at
               least in part on a worst-case      Specifically, the Arris E6000 CMTS generates SNR-related metrics based on a worst-case
               SNR profile of said SNR-           SNR profile of each service group. For example, the Arris E6000 CMTS optimizes a
                                                                                                                                                 Document: 2-2




               related metrics corresponding      modulation profile based on worst-case noise that is expected on the upstream channel
               to said one of said plurality of   and still achieve a reasonable level of performance.
               service groups;




APPX300
          1e   selecting, by said CMTS, one       The Arris E6000 CMTS selects one or more physical layer communication parameter to
               or more physical layer             be used for communicating with said one of said plurality of service groups based on said
                                                                                                                                                 Page: 322




               communication parameter to         composite SNR-related metric.
               be used for communicating
               with said one of said plurality    Specifically, the Arris E6000 CMTS selects one or more physical layer communication
               of service groups based on         parameters to be used for communicating, via a physical layer, with each service group of
               said composite SNR-related         downstream modems. For example, the Arris E6000 CMTS selects one or more physical
               metric; and                        communication parameters that control modems in the various upstream channels, which
                                                  have been configured via the modulation profiles. For example, when adding additional
                                                                                                                                                 Filed: 06/16/2023




                                                  forward error correction to attempt to correct for upstream errors is no longer efficient, a
                                                  lower modulation rate (e.g. a physical layer communication parameter) is applied to a
                                                  particular service group.



                                                                      Page 3 of 4
                            Case 2:22-cv-00125-JRG Document 53-12 Filed 01/10/23 Page 5 of 5 PageID #: 673

                                                                   Exhibit L

          #    U.S. Patent No. 10,135,682      Spectrum Accused Services
          1f   communicating,     by    said   The Arris E6000 CMTS communicates with one or more cable modems corresponding to
               CMTS, with one or more cable    said one of the plurality of service groups using the selected one or more physical layer
               modems corresponding to         communication parameter.
               said one of said plurality of
               service groups using said       Specifically, Spectrum communicates, via its CMTSs (such as the Arris E6000 CMTS),
               selected one or more physical   messages that include parameters that control cable modems in one of said plurality of
                                                                                                                                           Case: 23-136




               layer         communication     service groups in the various upstream channels. These communications utilize the
               parameter.                      selected one or more physical layer communication parameters.
                                                                                                                                           Document: 2-2




APPX301
                                                                                                                                           Page: 323
                                                                                                                                           Filed: 06/16/2023




                                                                   Page 4 of 4
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-13  Page:  324 Filed:
                                             01/10/23 Page06/16/2023
                                                           1 of 39 PageID #: 674




                EXHIBIT M




                                 APPX302
                 Case: 23-136 Document
      Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                       53-13  Page:  325 Filed:
                                                   01/10/23 Page06/16/2023
                                                                 2 of 39 PageID #: 675




                                                                          James Shimota
       April 27, 2022                                                     Jim.shimota@klgates.com

                                                                          T +1 312 807 4299
                                                                          F +1 312 827 8000
       Kirill Abramov
       kirill.abramov@charter.com
       Group Vice President and Associate General Counsel, Intellectual Property Law
       Charter Communications, Inc.
       400 Atlantic Street, 10th Floor
       Stamford, CT 06901

       Re:      Entropic Communications LLC’s Patents

       Dear Mr. Abramov:

               I am outside legal counsel for Entropic Communications LLC (“Entropic”). Entropic’s CEO,
       Boris Teksler, is writing to you directly. In conjunction with his letter, Entropic has instructed me
       to write to you regarding Entropic’s patent portfolio.

              Entropic owns numerous patents as listed in Exhibit A attached hereto. The portfolio
       represents a long and rich history of innovation. You should evaluate this portfolio carefully, as
       Entropic is open to discussing appropriate licenses to the patents.

              At present I draw your particular attention to six of these patents, selected because they
       are the subject of a lawsuit which will be filed today: U.S. Patent Nos. 8,223,775, 8,284,690,
       8,792,008, 9,210,362, 9,825,826, and 10,135,682. Your cable television services infringe certain
       claims of these patents, at least as set forth in the attached charts (Exhibits B to G).

                We will forward to you a courtesy copy of the litigation complaint when it is filed.

             As Entropic’s CEO Mr. Teksler has written to you, Entropic remains willing to discuss a
       reasonable business resolution to this issue. Please contact him or myself at your convenience
       and we will be happy to discuss.

       Very truly yours,




       James Shimota


K&L GATES LLP
70 W. MADISON ST. SUITE 3100 CHICAGO IL 60602
T +1 312 807 4299 F +1 312 827 8000 klgates.com



                                                  APPX303
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-13  Page:  326 Filed:
                                             01/10/23 Page06/16/2023
                                                           3 of 39 PageID #: 676




                            Exhibit A - Entropic Patents

 6552738
 7116712
 7130576
 7130576
 7154957
 7236757
 7271640
 7295518
 7295623
 7403752
 7428238
 7477871
 7499397
 7522875
 7526264
 7542411
 7542715
 7558551
 7573822
 7594249
 7724639
 7783958
 7889759
 7941091
 7995459
 8009725
 8010070
 8023912
 8085802
 8086170
 8176181
 8179920
 8223775
 8228910
 8266265
 8284690
 8300681
 8320566
 8340125
 8345798
 8351368

                                         2


                                 APPX304
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-13  Page:  327 Filed:
                                             01/10/23 Page06/16/2023
                                                           4 of 39 PageID #: 677




 8352569
 8363681
 8411565
 8416685
 8418036
 8427944
 8466850
 8468200
 8472912
 8483152
 8498294
 8526898
 8548034
 8548411
 8553727
 8566678
 8587722
 8588055
 8588250
 8593983
 8611483
 8621539
 8631450
 8634498
 8638808
 8677441
 8681900
 8688064
 8699704
 8711848
 8725104
 8750298
 8767554
 8767607
 8787430
 8788728
 8792008
 8792565
 8797220
 8799964
 8824270
 8831015
 8861357

                                       3


                                 APPX305
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-13  Page:  328 Filed:
                                             01/10/23 Page06/16/2023
                                                           5 of 39 PageID #: 678




 8891544
 8892026
 8892225
 8892926
 8913626
 8913635
 8934590
 8964903
 8981977
 8990864
 9008077
 9008571
 9014649
 9042433
 9042851
 9043855
 9100088
 9100622
 9106554
 9112803
 9172993
 9178765
 9184872
 9191461
 9203535
 9203653
 9209957
 9210062
 9210362
 9210363
 9219557
 9223382
 9225426
 9247274
 9258621
 9264074
 9270401
 9294297
 9300468
 9306595
 9326090
 9344262
 9391822

                                       4


                                 APPX306
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-13  Page:  329 Filed:
                                             01/10/23 Page06/16/2023
                                                           6 of 39 PageID #: 679




 9407369
 9413476
 9413632
 9414184
 9419858
 9432104
 9436271
 9461742
 9484986
 9509422
 9549222
 9559835
 9560477
 9565012
 9565469
 9571779
 9571885
 9577886
 9621367
 9647687
 9647817
 9668018
 9680503
 9692859
 9693175
 9712236
 9749088
 9755728
 9780962
 9787566
 9794823
 9800451
 9806765
 9813999
 9819698
 9819992
 9825826
 9838213
 9853757
 9853865
 9860144
 9866438
 9871892

                                       5


                                 APPX307
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-13  Page:  330 Filed:
                                             01/10/23 Page06/16/2023
                                                           7 of 39 PageID #: 680




 9875196
 9877062
 9883260
 9888294
 9894426
 9906508
 9913082
 9923652
 9929871
 9936262
 9936417
 9941986
 9942598
 9985777
 9991906
 9998270
 10009189
 10015000
 10020820
 10033484
 10051406
 10063436
 10075333
 10091133
 10103776
 10104083
 10104572
 10122543
 10129048
 10135682
 10142256
 10148480
 10182274
 10193645
 10211936
 10230515
 10244283
 10250724
 10251043
 10256898
 10257566
 10263801
 10264432

                                       6


                                 APPX308
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-13  Page:  331 Filed:
                                             01/10/23 Page06/16/2023
                                                           8 of 39 PageID #: 681




 10270710
 10271118
 10271192
 10284386
 10284899
 10285116
 10292068
 10298413
 10313489
 10313496
 10313733
 10324871
 10356584
 10356585
 10374879
 10432262
 10432422
 10439746
 10439911
 10454653
 10469166
 10491331
 10498768
 10574261
 10575073
 10594566
 10594672
 10659103
 10659296
 10715461
 10756923
 10771278
 10812223
 10848340
 10862702
 10965429
 10972781
 11121789
 11133893
 11139902
 11153415




                                       7


                                 APPX309
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-13  Page:  332 Filed:
                                             01/10/23 Page06/16/2023
                                                           9 of 39 PageID #: 682




                      EXHIBIT B




                                 APPX310
                          Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 10 of 39 PageID #: 683

                                                                 Exhibit B

                                                   Exemplary Chart for the ‘775 Patent
                                 Infringement of U.S. Patent No. 8,223,775 by Spectrum Accused Services

          #   U.S. Patent No. 8,223,775        Spectrum Accused Services
          18a A cable modem system The Accused Services are provided by the claimed cable modem system by utilizing, for
              comprising:                      example, at least one cable modem located at each subscriber location, including, for
                                               example, the Spectrum PC20 and Arris SB6183, and products that operate in a similar
                                                                                                                                       Case: 23-136




                                               manner. By way of example, the Spectrum PC20 is charted herein.
          18b a data networking engine The Spectrum PC20 includes a data networking engine implemented in a first circuit that
              implemented in a first circuit includes at least one processor, the data networking engine programmed with software
              that includes at least one that when executed by the at least one processor of the first circuit causes the data
              processor,      the       data networking engine to perform home networking functions including interfacing with
              networking              engine customer provided equipment.
                                                                                                                                       Document: 2-2




              programmed with software
              that when executed by the at Specifically, the Spectrum PC20 includes a Broadcom BCM3390 SoC.
              least one processor of the first




APPX311
              circuit causes the data
              networking engine to perform
                                                                                                                                       Page: 333




              home networking functions
              including interfacing with
              customer             provided
              equipment;
                                                                                                                                       Filed: 06/16/2023




                                                                 Page 1 of 4
                          Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 11 of 39 PageID #: 684

                                                                 Exhibit B

          #    U.S. Patent No. 8,223,775      Spectrum Accused Services
                                                                                                                                        Case: 23-136
                                                                                                                                        Document: 2-2




APPX312
                                                                                                                                        Page: 334




                                             The Spectrum PC20, via the Broadcom BCM3390, has a dedicated cable modem CPU, a
                                             dedicated multi-threaded applications processor, and multiple hardware off-load engines.
                                             The multi-threaded applications processor implements a data networking engine. The data
                                             networking engine performs home networking functions including interfacing with
                                                                                                                                        Filed: 06/16/2023




                                             customer provided equipment.
          18c a cable modem engine The Spectrum PC20 has a cable modem engine implemented in a second circuit that
              implemented in a second includes at least one processor, the second circuit being separate from the first circuit, the
              circuit that includes at least cable modem engine programmed with software that when executed by the at least one


                                                                 Page 2 of 4
                         Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 12 of 39 PageID #: 685

                                                                  Exhibit B

          #   U.S. Patent No. 8,223,775        Spectrum Accused Services
              one processor, the second        processor of the second circuit causes the cable modem engine to perform cable modem
              circuit being separate from      functions other than the home networking functions performed by the data networking
              the first circuit, the cable     engine, the cable modem functions including interfacing with cable media, and the cable
              modem engine programmed          modem engine configured to enable upgrades to its software in a manner that is
              with software that when          independent of upgrades to the software of the data networking engine, the cable modem
              executed by the at least one     engine including a DOCSIS controller and a DOCSIS MAC processor, the DOCSIS MAC
                                                                                                                                           Case: 23-136




              processor of the second          processor configured to process downstream PDU packets and forward the processed
              circuit causes the cable         packets directly to the data networking engine without the involvement of the DOCSIS
              modem engine to perform          controller in order to boost downstream throughput.
              cable modem functions other
              than the home networking         Specifically, the Spectrum PC20 has a dedicated cable modem CPU, a dedicated multi-
              functions performed by the       threaded applications processor, and multiple hardware off-load engines. The cable
                                                                                                                                           Document: 2-2




              data networking engine, the      modem CPU provides a cable modem engine. The cable modem CPU is separate from
              cable    modem       functions   the multi-threaded applications processor and the hardware off-load engines. Accordingly,
              including interfacing with       upgrades to the cable modem engine are independent of upgrades to the data networking




APPX313
              cable media, and the cable       engine. The cable modem CPU implements the cable modem engine. Upon information
              modem engine configured to       and belief, the cable modem engine includes a DOCSIS controller and a DOCSIS MAC
                                                                                                                                           Page: 335




              enable upgrades to its           processor, the DOCSIS MAC processor configured to process downstream PDU packets
              software in a manner that is     and forward the processed packets directly to the data networking engine without the
              independent of upgrades to       involvement of the DOCSIS controller in order to boost downstream throughput
              the software of the data
              networking engine, the cable
              modem engine including a
              DOCSIS controller and a
                                                                                                                                           Filed: 06/16/2023




              DOCSIS MAC processor, the
              DOCSIS MAC processor
              configured     to     process
              downstream PDU packets


                                                                  Page 3 of 4
                          Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 13 of 39 PageID #: 686

                                                                 Exhibit B

          #   U.S. Patent No. 8,223,775       Spectrum Accused Services
              and forward the processed
              packets directly to the data
              networking engine without the
              involvement of the DOCSIS
              controller in order to boost
              downstream throughput; and
                                                                                                                                       Case: 23-136




          18d a data bus that connects the    The Spectrum PC20 has a data bus that connects the data networking engine to the cable
              data networking engine to the   modem engine, wherein the cable modem functions performed by the cable modem
              cable modem engine, wherein     engine are completely partitioned from the home networking functions performed by the
              the cable modem functions       data networking engine.
              performed by the cable
              modem         engine      are   Specifically, the Spectrum PC20 has a dedicated cable modem CPU, a dedicated multi-
                                                                                                                                       Document: 2-2




              completely partitioned from     threaded applications processor, and multiple hardware off-load engines. The multi-
              the      home      networking   threaded applications processor provides the data networking engine and the cable
              functions performed by the      modem CPU provides the cable modem engine. The cable modem CPU is separate from,




APPX314
              data networking engine.         the multi-threaded applications processor. Accordingly, the cable modem functions
                                              performed by the cable modem engine are completely partitioned from the home
                                                                                                                                       Page: 336




                                              networking functions performed by the data networking engine. The cable modem CPU
                                              communicates with the multi-threaded applications processor using a data bus.
                                              Accordingly, the data bus connects the data networking engine and the cable modem
                                              engine.

          19   A cable modem system as        In the Spectrum PC20, all DOCSIS functions are localized in the cable modem engine.
               claimed in claim 18, wherein
                                                                                                                                       Filed: 06/16/2023




               all DOCSIS functions are       Specifically, the Spectrum PC20 includes a dedicated cable modem CPU, a dedicated
               localized in the cable modem   multi-threaded applications processor, and multiple hardware off-load engines. The
               engine.                        DOCSIS functions are localized in the cable modem CPU.



                                                                 Page 4 of 4
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2 Filed
                                  53-13    Page:  337 Filed:
                                               01/10/23 Page 06/16/2023
                                                             14 of 39 PageID #: 687




                       EXHIBIT C




                                  APPX315
                       Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 15 of 39 PageID #: 688

                                                                Exhibit C

                                                Exemplary Chart for the ‘690 Patent
                              Infringement of U.S. Patent No. 8,284,690 by Spectrum Accused Services

          #      U.S. Patent No. 8,284,690               Spectrum Accused Services
          1pre   A method comprising:                    The Accused Services perform the claimed method utilizing, for example,
                                                         including a Cable Modem Termination System (“CMTS”) operated by
                                                         Spectrum and at least one cable modem located at each subscriber
                                                                                                                                         Case: 23-136




                                                         location, including, for example, the Spectrum PC20, and products that
                                                         operate in a similar manner. By way of example, the Spectrum PC20 is
                                                         charted herein.
          1a     a) receiving in a first node, a probe   The Accused Services include receiving in a first node, a probe request
                 request specifying a first plurality of specifying a first plurality of parameters associated with the generation and
                 parameters associated with the          transmission of a probe, wherein the first plurality of parameters at least
                                                                                                                                         Document: 2-2




                 generation and transmission of a        specify content payload of the probe and a second node.
                 probe, wherein the first plurality of
                 parameters at least specify content Specifically, the Spectrum PC20 samples and digitizes the entire 1GHz




APPX316
                 payload of the probe and a second downstream spectrum of a cable plant and includes remote diagnostics
                 node;                                   capabilities that provide real time, unobtrusive diagnostic and spectrum
                                                                                                                                         Page: 338




                                                         analysis capabilities. These remote diagnostic capabilities include
                                                         measuring statistics of the downstream spectrum. The Spectrum PC20
                                                         provides an agent that receives requests querying the performance of the
                                                         downstream spectrum from a second node. Upon information and belief,
                                                         the requests include the first plurality of parameters that at least specify
                                                         content payload of the probe and the second node. For example, in a
                                                         deployed system, the first node may be a cable modem and the second
                                                                                                                                         Filed: 06/16/2023




                                                         node may be a CMTS.
          1b     b) determining a second plurality of The Spectrum PC20 determines a second plurality of parameters
                 parameters       associated        with associated with generation and transmission of the probe.



                                                                Page 1 of 5
                    C    a    s   e        2   :   2    2   -     c   v   -   0   0   1   2    5   -   J    R    G                  D   o   c   u                m

                                                                Exhibit C

          #    U.S. Patent No. 8,284,690              Spectrum Accused Services
               generation and transmission of the Specifically, the Spectrum PC20 determines information responsive to the
               probe;                                 received request based on the measured statistics of the downstream
                                                      spectrum. Upon information and belief, the information includes a second
                                                      plurality of parameters associated with the generation and transmission of
                                                      the probe.
          1c   c) generating the probe in The Spectrum PC20 generates the probe in accordance with the first
                                                                                                                                                    Case: 23-136




               accordance with the first plurality of plurality of parameters and the second plurality of parameters, wherein the
               parameters and the second plurality probe has a form dictated by the first plurality of parameters.
               of parameters, wherein the probe
               has a form dictated by the first Specifically, the Spectrum PC20 generates a message responsive to the
               plurality of parameters; and           received request, the message indicating the responsive information and
                                                      having a particular form determined by the request.
                                                                                                                                                    Document: 2-2




          1d   d) transmitting the probe from the The Spectrum PC20 transmits the probe from the first node to the second
               first node to the second node.         node.




APPX317
                                                       Specifically, the Spectrum PC20 transmits the message to the second
                                                       node using its agent.
                                                                                                                                                    Page: 339




          7    The method of claim 1, wherein the The probe request requests a probe that assists in diagnosing a network
               probe request requests a probe that problem.
               assists in diagnosing a network
               problem.                            Specifically, the Spectrum PC20 includes remote diagnostics capabilities
                                                   that provide real time, unobtrusive diagnostic and spectrum analysis
                                                   capabilities related to diagnosing network problems. Upon information and
                                                                                                                                                    Filed: 06/16/2023




                                                   belief, Spectrum utilizes these remote diagnostic capabilities to assist in
                                                   diagnosing a network problem.




                                                                Page 2 of 5
                      Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 17 of 39 PageID #: 690

                                                              Exhibit C

          #      U.S. Patent No. 8,284,690             Spectrum Accused Services
          8      The method of claim 7, wherein the    The probe request is generated by a network operator and uploaded to
                 probe request is generated by a       the second node.
                 network operator and uploaded to
                 the second node.                      Specifically, a collector server operated by Spectrum provides the probe
                                                       request to the second node.
                                                                                                                                   Case: 23-136




          9pre   A method comprising:                  The Accused Services perform the claimed method utilizing, for example,
                                                       including a Cable Modem Termination System (“CMTS”) operated by
                                                       Spectrum and at least one cable modem located at each subscriber
                                                       location, including, for example, the Spectrum PC20, and products that
                                                       operate in a similar manner. By way of example, the Arris E6000 CMTS is
                                                       charted herein.
                                                                                                                                   Document: 2-2




          9a     a) a first node transmitting a probe  The Spectrum Services include a first node transmitting a probe request
                 request to a second node, the probe   to a second node, the probe request specifying a first plurality of probe
                 request specifying a first plurality of
                                                       parameters for a physical layer probe, the first plurality of probe




APPX318
                 probe parameters for a physical layer parameters comprising a form for the probe including a modulation profile
                 probe, the first plurality of probe   for the probe.
                                                                                                                                   Page: 340




                 parameters comprising a form for the
                 probe including a modulation profile Specifically, the Arris E6000 provides a set of SNMP (Simple Network
                 for the probe;                          Management Protocol) variables supported by the Arris E6000 known
                                                         collectively as the MIB (Management Information Base). The MIBs
                                                         includes support for per modem/per upstream channel stats, RCC
                                                         definitions, per MAC event handling, per modem event handling and
                                                         counts, and per modem impairment reporting. The Arris E6000 transmits,
                                                                                                                                   Filed: 06/16/2023




                                                         to cable modems, requests specifying parameters as defined in the MIBs.
                                                         The requests have a modulation profile. For example, in a deployed
                                                         system, the first node may be at least a CMTS and the second node may
                                                         be a cable modem.


                                                              Page 3 of 5
                       Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 18 of 39 PageID #: 691

                                                                 Exhibit C

          #      U.S. Patent No. 8,284,690                Spectrum Accused Services
          9b     b) the first node receiving the probe    The Arris E6000 receives the probe from the second node, wherein the
                 from the second node, wherein the        probe is generated in accordance with the first plurality of parameters and
                 probe is generated in accordance         in accordance with a second plurality of parameters determined by the
                 with the first plurality of parameters   second node.
                 and in accordance with a second
                 plurality of parameters determined       Specifically, the Arris E6000 receives, from the cable modems, messages
                                                                                                                                        Case: 23-136




                 by the second node.                      responsive to the requests. The message includes data relevant to the
                                                          request and generated based on the MIBs.

          11pre The method of claim 9, further            See 9pre.
                comprising:
          11a   a) the first node transmitting a          See 9a.
                                                                                                                                        Document: 2-2




                second probe request to a third
                node;
          11b   b) and the first node receiving a         See 9b.




APPX319
                second probe from the third node,
                wherein the second probe is
                                                                                                                                        Page: 341




                generated according to the second
                probe request; and
          11d   wherein the first probe and second        The first probe and second probe are transmitted simultaneously using
                probe         are        transmitted      OFDMA.
                simultaneously using OFDMA.
                                                                                                                                        Filed: 06/16/2023




          15     The method of claim 9, wherein the The probe request is configured to diagnose a network problem.
                 probe request is configured to
                 diagnose a network problem.        Upon information and belief, Spectrum utilizes these remote diagnostic
                                                    capabilities to assist in diagnosing a network problem. For example, the
                                                    MIBs may include support for per modem/per upstream channel stats,


                                                                 Page 4 of 5
                    Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 19 of 39 PageID #: 692

                                                          Exhibit C

          #    U.S. Patent No. 8,284,690           Spectrum Accused Services
                                                   RCC definitions, per MAC event handling, per modem event handling and
                                                   counts, and per modem impairment reporting, which can be used to
                                                   diagnose a network problem.

          16   The method of claim 15, wherein the The probe request is generated by a network operator and uploaded to
               probe request is generated by a the first node.
                                                                                                                           Case: 23-136




               network operator and uploaded to
               the first node.                     Specifically, a collector server operated by Spectrum can provide the
                                                   probe request to the first node.
                                                                                                                           Document: 2-2




APPX320
                                                                                                                           Page: 342
                                                                                                                           Filed: 06/16/2023




                                                          Page 5 of 5
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2 Filed
                                  53-13     Page: 343 Filed:
                                               01/10/23 Page 06/16/2023
                                                             20 of 39 PageID #: 693




                      EXHIBIT D




                                  APPX321
                           Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 21 of 39 PageID #: 694

                                                                    Exhibit D

                                                    Exemplary Chart for the ‘008 Patent
                                  Infringement of U.S. Patent No. 8,792,008 by Spectrum Accused Services

          #  U.S. Patent No. 8,792,008             Spectrum Accused Services
          1a 1. A system comprising:               The Accused Services are provided by the claimed system by utilizing, for example, the
                                                   Accused Set Top Products, which include at least one set top box (“STB”) located at
                                                   each subscriber location, including, for example, the Spectrum 100-series STBs, Spec-
                                                                                                                                              Case: 23-136




                                                   trum 200-series STBs, Spectrum 101-series STBs, Spectrum 201-series STBs, Spec-
                                                   trum 110-series STBs, Spectrum 210-series STBs, the Arris DCX3600 STB, and prod-
                                                   ucts that operate in a similar manner. By way of example, the Spectrum 210 (specifically
                                                   the Spectrum 210-T) is charted herein.
          1b an analog-to-digital converter op- The Spectrum 210 has an analog-to-digital converter operable to digitize a received
             erable to digitize a received sig- signal spanning an entire television spectrum comprising a plurality of television
                                                                                                                                              Document: 2-2




             nal spanning an entire television channels, said digitization resulting in a digitized signal.
             spectrum comprising a plurality
             of television channels, said digit- Specifically, the Spectrum 210 has an analog to digital converter:




APPX322
             ization resulting in a digitized sig-
             nal;
                                                                                                                                              Page: 344
                                                                                                                                              Filed: 06/16/2023




                                                                    Page 1 of 6
                          Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 22 of 39 PageID #: 695

                                                               Exhibit D
                                                                                                                                          Case: 23-136
                                                                                                                                          Document: 2-2




APPX323
                                                                                                                                          Page: 345




                                             The Spectrum 210 receives the entire 1GHz downstream spectrum of a Spectrum cable
                                             plant. The 1 GHz cable spectrum includes a plurality of television channels. The
                                             Spectrum 210 digitizes the entire received signal; the digitization results in a digitized
                                             signal.
          1c a signal monitor operable to:   The Spectrum 210 has a signal monitor:
                                                                                                                                          Filed: 06/16/2023




                                                               Page 2 of 6
                           Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 23 of 39 PageID #: 696

                                                                   Exhibit D
                                                                                                                                            Case: 23-136
                                                                                                                                            Document: 2-2




APPX324
                                                                                                                                            Page: 346




          1d analyze said digitized signal to The Spectrum 210 analyzes said digitized signal to determine a characteristic of said
             determine a characteristic of said digitized signal.
             digitized signal; and
                                                Specifically, the Spectrum 210 includes remote diagnostics capabilities that provide real
                                                time, unobtrusive diagnostic and spectrum analysis capabilities. Upon information and
                                                belief, the Spectrum 210 analyzes, using the signal monitor, said digitized signal to
                                                determine a characteristic of said digitized signal.
                                                                                                                                            Filed: 06/16/2023




          1e report said determined charac- The Spectrum 210 reports said determined characteristic to a source of said received
             teristic to a source of said re- signal.
             ceived signal;




                                                                   Page 3 of 6
                           Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 24 of 39 PageID #: 697

                                                                    Exhibit D

                                                  Specifically, the Spectrum 210 includes remote diagnostics capabilities that provide real
                                                  time, unobtrusive diagnostic and spectrum analysis capabilities. Upon information and
                                                  belief, the Spectrum 210 reports said determined characteristic to a source of said
                                                  received signal.
          1f   a data processor operable to pro- The Spectrum 210 has a data processor operable to process a television channel to
               cess a television channel to re- recover content carried on the television channel:
               cover content carried on the tele-
                                                                                                                                                Case: 23-136




               vision channel; and
                                                                                                                                                Document: 2-2




APPX325
                                                                                                                                                Page: 347
                                                                                                                                                Filed: 06/16/2023




                                                  Specifically, in the Spectrum 210, each digitally tuned television channel is provided to a
                                                  digital demodulator that outputs a transport stream for use in broadcast services.
          1g a channelizer operable to:           The Spectrum 210 has a channelizer:




                                                                    Page 4 of 6
                            Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 25 of 39 PageID #: 698

                                                                      Exhibit D
                                                                                                                                                  Case: 23-136
                                                                                                                                                  Document: 2-2




APPX326
                                                                                                                                                  Page: 348




          1h select a first portion of said digit- The Spectrum 210 selects a first portion of said digitized signal.
             ized signal;
                                                   Specifically, the Spectrum 210 includes advanced signal processing techniques that can
                                                   be used to digitally tune multiple channels simultaneously, including selecting a first por-
                                                   tion of said digitized signal.
          1i select a second portion of said The Spectrum 210 selects a second portion of said digitized signal.
             digitized signal; and
                                                                                                                                                  Filed: 06/16/2023




                                                   Specifically, the Spectrum 210 includes advanced signal processing techniques that can
                                                   be used to digitally tune multiple channels simultaneously, including selecting a second
                                                   portion of said digitized signal.




                                                                      Page 5 of 6
                            Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 26 of 39 PageID #: 699

                                                                        Exhibit D

          1j   concurrently output said first por-   The Spectrum 210 concurrently outputs said first portion of said digitized signal to said
               tion of said digitized signal to      signal monitor and said second portion of said digitized signal to said data processor.
               said signal monitor and said sec-
               ond portion of said digitized sig-    Specifically, the Spectrum 210 includes remote diagnostics capabilities that provide real
               nal to said data processor.           time, unobtrusive diagnostic and spectrum analysis capabilities without affecting user
                                                     service on any downstream channels. As described above, the first portion of said digit-
                                                     ized signal is output to said signal monitor and said second portion of said digitized signal
                                                                                                                                                     Case: 23-136




                                                     is output to said data processor. Accordingly, the Spectrum 210 concurrently outputs
                                                     said first portion of said digitized signal to said signal monitor and said second portion of
                                                     said digitized signal to said data processor.

          2    2. The system of claim 1, See 1h.
               wherein said first portion of said
                                                                                                                                                     Document: 2-2




               digitized signal spans said entire
               television spectrum.




APPX327
                                                                                                                                                     Page: 349
                                                                                                                                                     Filed: 06/16/2023




                                                                        Page 6 of 6
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2 Filed
                                  53-13    Page:  350 Filed:
                                               01/10/23 Page 06/16/2023
                                                             27 of 39 PageID #: 700




                       EXHIBIT E




                                  APPX328
                            Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 28 of 39 PageID #: 701

                                                                      Exhibit E

                                                     Exemplary Chart for the ‘362 Patent
                                   Infringement of U.S. Patent No. 9,210,362 by Spectrum Accused Services

          #   U.S. Patent No. 9,210,362           Spectrum Accused Services
          11a A method comprising:                The Accused Services perform the claimed method utilizing, for example, the Accused
                                                  Set Top Products, which include at least one set top box (“STB”) located at each sub-
                                                  scriber location, including, for example, the Spectrum 100-series STBs, Spectrum 200-
                                                                                                                                                 Case: 23-136




                                                  series STBs, Spectrum 101-series STBs, Spectrum 201-series STBs, Spectrum 110-
                                                  series STBs, Spectrum 210-series STBs, the Arris DCX3600 STB, and products that
                                                  operate in a similar manner. By way of example, the Spectrum 210 (specifically the
                                                  Spectrum 210-T) is charted herein.
          11b in a wideband receiver system: The Spectrum 210 is a wideband receiver system.
          11c downconverting, by a mixer The Spectrum 210 downconverts, by a mixer module of said wideband receiver system,
                                                                                                                                                 Document: 2-2




              module of said wideband re- a plurality of frequencies that comprises a plurality of desired television channels and a
              ceiver system, a plurality of fre- plurality of undesired television channels.
              quencies that comprises a plu-




APPX329
              rality of desired television chan- Specifically, the Spectrum 210 includes advanced signal processing techniques, includ-
              nels and a plurality of undesired ing a mixer, that can be used to downconvert a plurality of frequencies that comprises
                                                                                                                                                 Page: 351




              television channels;                a plurality of desired television channels and a plurality of undesired television channels.
          11d digitizing, by a wideband analog- The Spectrum 210 digitizes, by a wideband analog-to-digital converter (ADC) module
              to-digital converter (ADC) mod- of said wideband receiver system, said plurality of frequencies comprising said plurality
              ule of said wideband receiver of desired television channels and said plurality of undesired television channels.
              system, said plurality of frequen-
              cies comprising said plurality of Specifically, the Spectrum 210 digitizes the entire 1GHz downstream spectrum of a
              desired television channels and Spectrum cable plant. The 1 GHz cable spectrum includes a plurality of desired and
                                                                                                                                                 Filed: 06/16/2023




              said plurality of undesired televi- undesired television channels.
              sion channels;




                                                                     Page 1 of 2
                           Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 29 of 39 PageID #: 702

                                                                    Exhibit E

          11e selecting, by digital circuitry of   The Spectrum 210s select, by digital circuitry of said wideband receiver system, said
              said wideband receiver system,       plurality of desired television channels from said digitized plurality of frequencies as
              said plurality of desired televi-    described below:
              sion channels from said digitized
              plurality of frequencies; and         Specifically, the Spectrum 210 includes advanced signal processing techniques that
                                                    can be used to digitally tune multiple channels simultaneously, including to select the
                                                    plurality of desired television channels from the digitized plurality of frequencies.
                                                                                                                                              Case: 23-136




          11f   outputting, by said digital The Spectrum 110 and Spectrum 210 output, by said digital circuitry of said wideband
                circuitry of said wideband receiver system, said selected plurality of television channels to a demodulator as a
                receiver system, said selected digital datastream.
                plurality of television channels to
                a demodulator as a digital Specifically, in the Spectrum 210, the digitally tuned and selected plurality of desired
                datastream.                         television channels are then fed into a digital demodulator that outputs a transport
                                                                                                                                              Document: 2-2




                                                    stream for use in broadcast services.




APPX330
                                                                                                                                              Page: 352
                                                                                                                                              Filed: 06/16/2023




                                                                    Page 2 of 2
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2 Filed
                                  53-13    Page:  353 Filed:
                                               01/10/23 Page 06/16/2023
                                                             30 of 39 PageID #: 703




                        EXHIBIT F




                                  APPX331
                          Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 31 of 39 PageID #: 704

                                                                  Exhibit F

                                                   Exemplary Chart for the ‘826 Patent
                                 Infringement of U.S. Patent No. 9,825,826 by Spectrum Accused Services

          #  U.S. Patent No. 9,825,826   Spectrum Accused Services
          1a A method comprising:        The Accused Services perform the claimed method utilizing, for example, the Accused Set
                                         Top Products, which include at least one set top box (“STB”) located at each subscriber
                                         location, including, for example, the Spectrum 100-series STBs, Spectrum 200-series STBs,
                                                                                                                                       Case: 23-136




                                         Spectrum 101-series STBs, Spectrum 201-series STBs, Spectrum 110-series STBs,
                                         Spectrum 210-series STBs, the Arris DCX3600 STB, and products that operate in a similar
                                         manner. By way of example, the Spectrum 210 (specifically the Spectrum 210-T) is charted
                                         herein.
          1b performing by one or more The Spectrum 210 includes one or more circuits of a receiver coupled to a television and data
             circuits of a receiver service provider headend via a hybrid fiber coaxial (HFC) network, that perform the claimed
                                                                                                                                       Document: 2-2




             coupled to a television and steps, as described below:
             data     service   provider
             headend via a hybrid fiber




APPX332
             coaxial (HFC) network:
                                                                                                                                       Page: 354
                                                                                                                                       Filed: 06/16/2023




                                                                 Page 1 of 4
                          Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 32 of 39 PageID #: 705

                                                                    Exhibit F

          #   U.S. Patent No. 9,825,826    Spectrum Accused Services
                                                                                                                                             Case: 23-136
                                                                                                                                             Document: 2-2




APPX333
                                                                                                                                             Page: 355




          1c receiving, via said HFC       The Spectrum 210 receives, via said HFC network, a signal that carries a plurality of channels,
             network, a signal that        wherein said channels comprise one or both of television channels and data channels.
             carries a plurality of
             channels, wherein said        Specifically, the Spectrum 210 receives the entire 1GHz downstream spectrum of a Spectrum
             channels comprise one or      cable plant. The 1 GHz cable spectrum includes a plurality of data and television channels.
             both of television channels
                                                                                                                                             Filed: 06/16/2023




             and data channels;
          1d digitizing said received      The Spectrum 210 digitizes said received signal to generate a digitized signal.
             signal to generate a
             digitized signal;             Specifically, the Spectrum 210 digitizes the entire 1GHz downstream spectrum it receives to
                                           generate a digitized signal.


                                                                   Page 2 of 4
                           Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 33 of 39 PageID #: 706

                                                                      Exhibit F

          #  U.S. Patent No. 9,825,826 Spectrum Accused Services
          1e selecting a first portion of The Spectrum 210 selects a first portion of said digitized signal.
             said digitized signal;
                                            Specifically, the Spectrum 210 includes advanced signal processing techniques that can be
                                            used to digitally tune multiple channels simultaneously, including to select a first portion of
                                            said digitized signal.
          1f selecting a second portion The Spectrum 210 selects a second portion of said digitized signal.
                                                                                                                                               Case: 23-136




             of said digitized signal;
                                            Specifically, the Spectrum 210 includes advanced signal processing techniques that can be
                                            used to digitally tune multiple channels simultaneously, including to select a second portion of
                                            said digitized signal.
          1g processing said selected The Spectrum 210 process said selected second portion of said digitized signal to recover
             second portion of said information carried in said plurality of channels.
                                                                                                                                               Document: 2-2




             digitized signal to recover
             information carried in said Specifically, in the Spectrum 210, each digitally tuned channel then feeds the signal into a
             plurality of channels;         digital demodulator that outputs a transport stream for use in data or broadcast services.




APPX334
          1h analyzing said selected first The Spectrum 210 analyzes said selected first portion of said digitized signal to measure a
             portion of said digitized characteristic of said received signal.
                                                                                                                                               Page: 356




             signal to measure a
             characteristic     of     said Specifically, the Spectrum 210 includes remote diagnostics capabilities that provide real time,
             received signal; and           unobtrusive diagnostic and spectrum analysis capabilities. Upon information and belief, the
                                            Spectrum 210 includes a signal analyzer that analyzes said selected first portion to determine
                                            one or more characteristics of the received signal.
          1i controlling the transmission The Spectrum 210 controls the transmission of network management messages back to said
             of network management headend based on said measured characteristic of said received signal, wherein said
                                                                                                                                               Filed: 06/16/2023




             messages back to said measured characteristic is different than said network management messages.
             headend based on said
             measured characteristic of Specifically, the Spectrum 210 includes remote diagnostics capabilities that provide real time,
             said      received     signal, unobtrusive diagnostic and spectrum analysis capabilities. Upon information and belief, the


                                                                     Page 3 of 4
                          Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 34 of 39 PageID #: 707

                                                                    Exhibit F

          #   U.S. Patent No. 9,825,826     Spectrum Accused Services
              wherein said measured         Spectrum 210 controls the transmission of network management messages back to said
              characteristic is different   headend based on said measured characteristic of said received signal. Upon information and
              than      said    network     belief, said measured characteristic is different than said network management messages
              management messages.
                                                                                                                                          Case: 23-136
                                                                                                                                          Document: 2-2




APPX335
                                                                                                                                          Page: 357
                                                                                                                                          Filed: 06/16/2023




                                                                   Page 4 of 4
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2 Filed
                                  53-13     Page: 358 Filed:
                                               01/10/23 Page 06/16/2023
                                                             35 of 39 PageID #: 708




                      EXHIBIT G




                                  APPX336
                          Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 36 of 39 PageID #: 709

                                                                 Exhibit G

                                                   Exemplary Chart for the ‘682 Patent
                                Infringement of U.S. Patent No. 10,135,682 by Spectrum Accused Services

          #    U.S. Patent No. 10,135,682 Spectrum Accused Services
          1a   A method comprising:       The Accused Services perform the claimed method utilizing, for example, including a Cable
                                          Modem Termination System (“CMTS”) operated by Spectrum and at least one cable
                                          modem located at each subscriber location, including, for example, the Spectrum PC20,
                                                                                                                                      Case: 23-136




                                          and products that operate in a similar manner. By way of example, the Arris E6000 CMTS
                                          is charted herein.
          1b   determining, by a cable The Arris E6000 CMTS determines, for each cable modem served by said CMTS, a
               modem termination system corresponding signal-to-noise ratio (SNR) related metric.
               (CMTS), for each cable
               modem served by said CMTS, Spectrum started using Arris CMTS’s as early as 2014, including the E6000, Arris’ CMTS
                                                                                                                                      Document: 2-2




               a corresponding signal-to- that added video edge QAM components and became a fully integrated Converged Cable
               noise ratio (SNR) related Access Platform. The E6000’s capabilities are described, for example, in the E6000
               metric;                    Manual.




APPX337
                                             Spectrum continues to use CMTSs like the E6000 to send and receive packets to
                                                                                                                                      Page: 359




                                             downstream cable modems over the Internet. For the purposes of this analysis, the PC20
                                             will be assessed. However, Spectrum’s services are compatible with a variety of cable
                                             modems for consumers to utilize in conjunction with their services.

                                             Cable modems, such as the PC20, include chips capable of receiving and transmitting
                                             performance data to the CMTS, such as Broadcom’s BCM3390 system-on-a-chip (“SoC”)
                                                                                                                                      Filed: 06/16/2023




                                                                 Page 1 of 4
                         Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 37 of 39 PageID #: 710

                                                               Exhibit G

          #   U.S. Patent No. 10,135,682   Spectrum Accused Services
                                                                                                                                       Case: 23-136
                                                                                                                                       Document: 2-2




APPX338
                                                                                                                                       Page: 360




                                           Accordingly, cable modems, such as the PC20, are capable of bidirectional
                                           communications with upstream CMTSs, such as the E6000.

                                           Spectrum utilizes its CMTSs to determine a corresponding signal-to-noise ratio (SNR)
                                           related metric for each cable modem served by said CMTS. For example, according to the
                                                                                                                                       Filed: 06/16/2023




                                           E6000 user manual, the CMTS utilizes a powerful spectral analysis engine built into every
                                           upstream receiver to gather detailed information about upstream channel noise.




                                                               Page 2 of 4
                            Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 38 of 39 PageID #: 711

                                                                      Exhibit G

          #    U.S. Patent No. 10,135,682         Spectrum Accused Services
          1c   assigning, by said CMTS,           A service group includes one or more modems. The Arris E6000 CMTS assigns each cable
               each cable modem among a           modem among a plurality of service groups based on a respective corresponding SNR-
               plurality of service groups        related metric.
               based on a respective
               corresponding     SNR-related      Specifically, the Arris E6000 CMTS utilizes a process of profiling downstream modems.
               metric;
                                                                                                                                                 Case: 23-136




          1d   generating, by said CMTS for       The Arris E6000 CMTS generates, for each one of said plurality of service groups, a
               each one of said plurality of      composite SNR-related metric based at least in part on a worst-case SNR profile of said
               service groups, a composite        SNR-related metrics corresponding to said one of said plurality of service groups.
               SNR-related metric based at
               least in part on a worst-case      Specifically, the Arris E6000 CMTS generates SNR-related metrics based on a worst-case
               SNR profile of said SNR-           SNR profile of each service group. For example, the Arris E6000 CMTS optimizes a
                                                                                                                                                 Document: 2-2




               related metrics corresponding      modulation profile based on worst-case noise that is expected on the upstream channel
               to said one of said plurality of   and still achieve a reasonable level of performance.
               service groups;




APPX339
          1e   selecting, by said CMTS, one       The Arris E6000 CMTS selects one or more physical layer communication parameter to
               or more physical layer             be used for communicating with said one of said plurality of service groups based on said
                                                                                                                                                 Page: 361




               communication parameter to         composite SNR-related metric.
               be used for communicating
               with said one of said plurality    Specifically, the Arris E6000 CMTS selects one or more physical layer communication
               of service groups based on         parameters to be used for communicating, via a physical layer, with each service group of
               said composite SNR-related         downstream modems. For example, the Arris E6000 CMTS selects one or more physical
               metric; and                        communication parameters that control modems in the various upstream channels, which
                                                  have been configured via the modulation profiles. For example, when adding additional
                                                                                                                                                 Filed: 06/16/2023




                                                  forward error correction to attempt to correct for upstream errors is no longer efficient, a
                                                  lower modulation rate (e.g. a physical layer communication parameter) is applied to a
                                                  particular service group.



                                                                      Page 3 of 4
                          Case 2:22-cv-00125-JRG Document 53-13 Filed 01/10/23 Page 39 of 39 PageID #: 712

                                                                   Exhibit G

          #    U.S. Patent No. 10,135,682      Spectrum Accused Services
          1f   communicating,     by    said   The Arris E6000 CMTS communicates with one or more cable modems corresponding to
               CMTS, with one or more cable    said one of the plurality of service groups using the selected one or more physical layer
               modems corresponding to         communication parameter.
               said one of said plurality of
               service groups using said       Specifically, Spectrum communicates, via its CMTSs (such as the Arris E6000 CMTS),
               selected one or more physical   messages that include parameters that control cable modems in one of said plurality of
                                                                                                                                           Case: 23-136




               layer         communication     service groups in the various upstream channels. These communications utilize the
               parameter.                      selected one or more physical layer communication parameters.
                                                                                                                                           Document: 2-2




APPX340
                                                                                                                                           Page: 362
                                                                                                                                           Filed: 06/16/2023




                                                                   Page 4 of 4
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-14  Page:  363 Filed:
                                             01/10/23 Page06/16/2023
                                                           1 of 3 PageID #: 713




                EXHIBIT N




                                APPX341
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-14  Page:  364 Filed:
                                             01/10/23 Page06/16/2023
                                                           2 of 3 PageID #: 714




Kirill Abramov
kirill.abramov@charter.com
Group Vice President and Associate General Counsel, Intellectual Property Law
Charter Communications, Inc.
400 Atlantic Street, 10th Floor
Stamford, CT 06901


Re:    Discussion to License the Patents of Entropic Communications LLC


Dear Mr. Abramov:


       My name is Boris Teksler, the CEO of Entropic Communications LLC
(“Entropic”). Entropic owns a large portfolio of patents including foundational patents
relating to cable television systems. These patents represent, in part, the cutting edge
development of Anton Monk, Itzhak Gurantz, Ladd El Wardani and others relating to the
processing of cable television signals. I have asked Entropic’s legal counsel at K&L
Gates LLP to provide you a complete list of the patents owned by Entropic.


       Entropic is committed to protecting the legacy of the investment that these
patents represent, in particular the technology that was developed and commercialized
resulting from the research leading to its patents. At present, I draw your attention to six
patents: U.S. Patent Nos. 8,223,775, 8,284,690, 8,792,008, 9,210,362, 9,825,826, and
10,135,682. These patents are the subject of a patent infringement action Entropic will
file today.


       Although Entropic has taken the step of formally filing litigation to protect its
rights, I look forward to discussing with you other methods to resolve Charter’s



      Entropic Communications LLC | 7150 Preston Road | Suite 300 | Plano, Texas 75024
                                     APPX342
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 53-14  Page:  365 Filed:
                                             01/10/23 Page06/16/2023
                                                           3 of 3 PageID #: 715




unauthorized utilization of Entropic’s patents. For the majority of my career, I have
worked on behalf of large Fortune 100 companies, such as Hewlett-Packard and Apple,
and more recently small companies at a different stage of their life cycle, such as
Entropic, to implement creative and mutually agreeable solutions to intellectual property
issues.


       Please forward this letter to whomever else within the Charter family of
companies may be relevant, and reach out to me whenever convenient to discuss. I
look forward to it.




                                                Very truly yours,




                                                Boris Teksler
                                                CEO of Entropic Communications, LLC




     Entropic Communications LLC | 7150 Preston Road | Suite 300 | Plano, Texas 75024
                                    APPX343
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:622-2Filed
                                          Page: 366 Page
                                            02/06/23 Filed:106/16/2023
                                                            of 27 PageID #: 1166



                       UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION



 ENTROPIC COMMUNICATIONS, LLC,

       Plaintiff

          v.                                      Civil Action No. 2:22-cv-00125-JRG

 CHARTER COMMUNICATIONS, INC.;                       JURY TRIAL DEMANDED
 SPECTRUM ADVANCED SERVICES, LLC; AND
 SPECTRUM MANAGEMENT HOLDING
 COMPANY, LLC,

       Defendants.


             DEFENDANT CHARTER COMMUNICATIONS, INC.’S
        MOTION TO DISMISS THE SECOND AMENDED COMPLAINT FOR
              IMPROPER VENUE PURSUANT TO FRCP 12(b)(3)




                                APPX344
            Case: 23-136                 Document: 2-2                  Page: 367               Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 2 of 27 PageID #: 1167




                                              TABLE OF CONTENTS

                                                                                                                                    Page

I.     INTRODUCTION ...............................................................................................................1

II.    STATEMENT OF THE ISSUES.........................................................................................2

III.   STATEMENT OF THE FACTS .........................................................................................2

       A.        CCI Does Not Reside in Texas ................................................................................2

       B.        CCI Does Not Have a Physical Presence in the District..........................................3

                 1.         CCI Does Not Provide Any Services in Texas ............................................3

                 2.         The Spectrum Brand ....................................................................................4

                 3.         CCI Does Not Have Any Employees in Texas ............................................4

                 4.         CCI Does Not Own, Lease, Maintain, or Operate Property in Texas ..........5

                 5.         CCI Does Not Own or Lease Any Equipment in Texas ..............................5

       C.        CCI Subsidiaries Perform Distinct Business Functions...........................................6

       D.        CCI is the Manager of the Limited Liability Companies, Including SGC ..............7

       E.        CCI Maintains Corporate Records Separate from the LLC Subsidiaries ..............10

IV.    LEGAL STANDARD........................................................................................................10

       A.        Entropic Has The Burden of Establishing Venue is Proper...................................10

       B.        Venue in Patent Cases ............................................................................................10

V.     ARGUMENT .....................................................................................................................11

       A.        Venue Is Improper As To CCI ...............................................................................12

                 1.         CCI Does Not Reside in this District .........................................................12

                 2.         CCI Has No Regular and Established Place of Business in this District ...12

                            (a)       CCI Has No Physical Place of Business in the District .................13

                            (b)       CCI Has No Employees or Agents Conducting Business in the
                                      District............................................................................................13




                                                                -i-


                                                       APPX345
           Case: 23-136                 Document: 2-2                   Page: 368               Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 3 of 27 PageID #: 1168




                           (c)        CCI Has No Regular and Established Place of Business in the
                                      District............................................................................................16

      B.        The Presence and Activities of SGC Cannot Be Imputed To CCI To Establish
                Venue .....................................................................................................................17

VI.   CONCLUSION ..................................................................................................................20




                                                                -ii-

                                                      APPX346
                Case: 23-136                 Document: 2-2                 Page: 369             Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 4 of 27 PageID #: 1169




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

Ambraco, Inc. v. Bossclip B.V.,
  570 F.3d 233 (5th Cir. 2009) ...................................................................................................11

Andra Grp., LP v. Victoria’s Secret Stores, LLC,
   6 F.4th 1283 (Fed. Cir. 2021) ................................................................................14, 15, 17, 19

Bd. Of Regents v. Medtronic PLC.,
    No. 17-CV-0942, 2018 WL 4179080 (W.D. Tex. July 19, 2018) ...........................................19

Blue Spike, LLC v. Nook Dig., LLC,
   No. 6:16-CV-1361-RWSJDL, 2017 WL 3263871 (E.D. Tex. July 28, 2017),
   report and recommendation adopted sub nom. Blue Spike, LLC v. Caterpillar,
   Inc., 2017 WL 4129321 (E.D. Tex. Sept. 19, 2017) ..........................................................17, 19

Cannon Mfg. Co. v. Cudahy Packing Co.,
   267 U.S. 333 (1925) .................................................................................................................19

Celgene Corp. v. Mylan Pharm. Inc.,
   17 F. 4th 1111 (Fed. Cir. 2021) ...............................................................................................17

Hargrave v. Fibreboard Corp.,
   710 F.2d 1154 (5th Cir. 1983) .................................................................................................18

Home Ins. Co. v. Thomas Indus., Inc.,
  896 F.2d 1352 (11th Cir. 1990) ...............................................................................................11

In re Cordis Corp.,
    769 F.2d 733 (Fed. Cir. 1985)..................................................................................................12

In re Cray Inc.,
    871 F.3d 1355 (Fed. Cir. 2017)..............................................................................10, 12, 13, 16

In re Google,
    949 F.3d 1338 (Fed. Cir. 2020)..........................................................................................13, 14

In re Volkswagen Grp. of America, Inc.,
    28 F.4th 1203 (Fed. Cir. 2022) ................................................................................................15

In re ZTE (USA) Inc.,
    890 F.3d 1008 (Fed. Cir. 2018)................................................................................................10

Interactive Toybox, LLC v. The Walt Disney Co.,
    No. 17-CV-1137, 2018 WL 5284625 (W.D. Tex. Oct. 24, 2018) ...........................................17



                                                                  -iii-

                                                          APPX347
                 Case: 23-136                   Document: 2-2                   Page: 370               Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 5 of 27 PageID #: 1170




IPVX Patent Holdings, Inc. v. Broadvox Holding Co., LLC,
   No. 6:11-CV-0575, 2012 WL 13012617 (E.D. Tex. Sept. 26, 2012) ......................................18

Jacoby Donner, P.C. v. Aristone Realty Cap., LLC,
   No. 17-CV-2206, 2020 WL 5095499 (E.D. Pa. Aug. 28, 2020) ...............................................8

Meyer v. Holley,
  537 U.S. 280 (2003) .................................................................................................................14

Nat’l Steel Car Ltd. v. The Greenbrier Cos., Inc.,
   No. 6:19-cv-00721-ADA, 2020 WL 42889388 (W.D. Tex. July 27, 2020) ............................17

Optic153 LLC v. Thorlabs Inc.,
   No. 6:19-CV-00667, 2020 WL 3403076 (W.D. Tex. June 19, 2020) .....................................10

Pia v. Supernova Media, Inc.,
   No. 09-CV-00840, 2014 WL 7261014 (D. Utah Dec. 18, 2014) ..............................................8

Pierce v. Shorty Small’s of Branson Inc.,
   137 F.3d 1190 (10th Cir. 1998) ...............................................................................................11

Seven Networks, LLC v. Google LLC,
   315 F. Supp. 3d 933 (E.D. Tex. 2018) .....................................................................................12

Sightline Payments, LLC v. Everi Holdings Inc.,
   No. 21-CV-1015, 2022 WL 2078215 (W.D. Tex. June 1, 2022) ............................................17

Soverain IP, LLC v. AT&T, Inc.,
   No. 2:17-CV-0293, 2017 WL 5126158, at *1 (E.D. Tex. Oct. 31, 2017)
   (“Soverain IP I”) report and recommendation adopted 2017 WL 6452802
   (E.D. Tex. Dec. 18, 2017) ..............................................................................................2, 17, 19

TC Heartland LLC v. Kraft Foods Grp. Brands LLC,
   581 U.S. 258 (2017) ...........................................................................................................10, 11

Ultravision Techs., LLC v. Eaton Corp. PLC,
    Case No. 2:19-CV-00290-JRG, 2019 WL 11250161 (E.D. Tex. Nov. 7, 2019)
    (Gilstrap, J.) ...............................................................................................................................1

Statutes and Rules

28 U.S.C. § 1400(b) ............................................................................................................... passim

Del. Code Ann. tit. 6, § 18–101(12) ................................................................................................8

Del. Code Ann. tit. 6, §§ 18–101, et seq. .........................................................................................8

Del. Code Ann. tit. 6, § 18–402 .................................................................................................8, 18




                                                                      -iv-

                                                              APPX348
                Case: 23-136                Document: 2-2                 Page: 371              Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 6 of 27 PageID #: 1171




Fed. R. Civ. P. 12(b)(3)....................................................................................................1, 2, 11, 20

Local Civil Rule CV-7(a)(1) ............................................................................................................2

Other Authorities

Darla M. Fera, Investment Management Compliance Guide, ¶ 723 LIMITED
   LIABILITY COMPANIES, available at 2017 WL 11025924 .................................................7

https://www.puc.texas.gov/industry/communications/business/sicfa/sicfa.aspx.............................3

Restatement (Third) of Agency § 1.01 ..........................................................................................14




                                                                  -v-

                                                          APPX349
              Case: 23-136          Document: 2-2         Page: 372        Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 7 of 27 PageID #: 1172




          Defendant Charter Communications, Inc. (“CCI” or “Defendant”) moves, pursuant to Rule

12(b)(3) of the Federal Rules of Civil Procedure, to dismiss Plaintiff Entropic Communications,

LLC’s (“Entropic”) Second Amended Complaint (“SAC,” Dkt. 53), which alleges CCI provides

“cable television and internet services” that infringe its patents, for improper venue.1

    I.    INTRODUCTION

          In the SAC, Entropic dropped two defendants from this action and added allegations that

venue is proper in this district for CCI, the sole remaining defendant, because CCI, “through

subsidiary limited liability companies that it manages and controls,” (1) “owns or leases, and

maintains and operates several stores in this district;” (2) “owns and stores equipment such as

modems and set top boxes (‘STBs’) and demonstrates services provided via those products to []

customers;” and (3) “employs personnel that install, service, repair, and/or replace equipment.”

Dkt. 53 ¶¶ 6-9, 11 n.1. However, venue-related discovery has confirmed that CCI is not

incorporated in Texas, does not own or lease property in this district, offers no products or services,

and has no employees here.

          Recognizing that CCI has no presence in the district, Entropic apparently seeks to attribute

the presence and actions of CCI’s subsidiaries in this district to CCI under the theories of alter ego

or agency.2      The SAC includes allegations and photographs depicting four addresses that

prominently feature the “Spectrum” logo as places where CCI allegedly operates. However, these

sites are leased or owned, and maintained and operated, by one of CCI’s separate and distinct

subsidiaries, Spectrum Gulf Coast, LLC (“SGC”), which Entropic has never named as a defendant



1
 The filing of the SAC moots CCI’s prior pending motion to dismiss Entropic’s First Amended
Complaint. See Dkt. 18; see Ultravision Techs., LLC v. Eaton Corp. PLC, Case No. 2:19-CV-
00290-JRG, 2019 WL 11250161, at *1 (E.D. Tex. Nov. 7, 2019) (Gilstrap, J.).
2
    “CCI’s subsidiaries” refer to both its direct and indirect subsidiaries.


                                                    -1-


                                              APPX350
             Case: 23-136       Document: 2-2         Page: 373      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 8 of 27 PageID #: 1173




in this action. To impute SGC’s actions to CCI under an alter ego theory, Entropic must meet the

“difficult standard” of establishing a “lack of formal corporate separateness.” Soverain IP, LLC

v. AT&T, Inc., No. 2:17-CV-0293, 2017 WL 5126158, at *1 (E.D. Tex. Oct. 31, 2017) (“Soverain

IP I”) report and recommendation adopted 2017 WL 6452802 (E.D. Tex. Dec. 18, 2017). Entropic

cannot meet that “difficult” standard because CCI maintains all corporate formalities as a parent

and as a manager of its subsidiary LLCs, such as SGC. Nor can Entropic demonstrate that CCI’s

subsidiaries or their employees are its agents of CCI because they are not controlled by CCI or

authorized to act and do not act on CCI’s behalf. Thus, the activities of CCI’s subsidiaries and/or

managed LLCs cannot form the basis for venue. Accordingly, the Court should dismiss this case

pursuant to Rule 12(b)(3) for lack of venue.3

 II.    STATEMENT OF THE ISSUES

        Pursuant to Local Civil Rule CV-7(a)(1), the issue to be decided by the Court in connection

with this Motion is whether Entropic’s Second Amended Complaint should be dismissed under

Federal Rule 12(b)(3) for failure to establish proper venue.

III.    STATEMENT OF THE FACTS

        A.      CCI Does Not Reside in Texas

        CCI is not incorporated in Texas. Dkt. 53 at ¶ 3. It is a Delaware corporation with its

principle place of business in Connecticut. Id.; Ex. 1, Declaration of Jennifer A. Smith (“Smith

Decl.”), ¶ 5.




3
 Because CCI (like Entropic) is a Delaware corporation, Entropic could have filed its action
Delaware. 28 U.S.C. § 1400(b).



                                                -2-

                                         APPX351
              Case: 23-136       Document: 2-2         Page: 374       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 9 of 27 PageID #: 1174




         B.      CCI Does Not Have a Physical Presence in the District

                 1.     CCI Does Not Provide Any Services in Texas

         CCI is a holding company, not an operating company, and therefore does not provide any

services, including the Accused Products and Services, in Texas.4 Ex. 2, Dec. 2, 2022 Deposition

of Thomas Proost (“Proost Dep.”), 57:13-15. Nor is CCI licensed by the State of Texas to provide

these services. The Public Utility Commission of Texas requires “any entity that proposes to

provide cable or video service anywhere in the State of Texas . . . to obtain a SICFA [State-Issued

Certificate of Franchise Authority], unless they are currently providing cable or video service in a

municipality that has an unexpired municipal franchise.”5 CCI does not hold a SIFCA, but SGC

does. Ex 3., Declaration of Jeff Burdett (“Burdett Decl.”) at ¶ 5. SGC, which does provide such

service in Texas, “is the only CCI subsidiary that is” licensed to do so. Id.

         The customer service documentation reflects this reality. When a customer purchases an

internet or video package, they accept certain terms and conditions specifying that “services will

be provided by a number of different entities”; in Texas, customers receive those video and internet

services from SGC. Ex. 2, Proost Dep., 80:7-82:13, 86:13-87:19; Ex. 4, Dec. 13, 2022 Deposition

of Daniel Boglioli (“Boglioli Dep.”), 49:9-51:3, 65:9-68:2. The terms and conditions for such

services are not between the customer and CCI; and, the customers are treated as customers of the

relevant entity that provides the specific services, such as SGC in Texas. Ex. 2, Proost Dep., 63:1-

15, 88:1-11; Ex. 4, Boglioli Dep., 49:4-50:24.




4
  The SAC defines the Accused Services as “the provision of cable television and internet
services.” Dkt. 53 ¶ 11. Accused Products refers to certain set top boxes and cable modems. Id.
¶¶ 11-14.
5
    See https://www.puc.texas.gov/industry/communications/business/sicfa/sicfa.aspx.



                                                 -3-

                                           APPX352
       Case: 23-136    Document: 2-2     Page: 375   Filed: 06/16/2023
               CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 10 of 27 PageID #: 1175




                               APPX353
       Case: 23-136    Document: 2-2     Page: 376   Filed: 06/16/2023
               CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 11 of 27 PageID #: 1176




                               APPX354
       Case: 23-136    Document: 2-2     Page: 377   Filed: 06/16/2023
               CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 12 of 27 PageID #: 1177




                               APPX355
       Case: 23-136    Document: 2-2     Page: 378   Filed: 06/16/2023
               CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 13 of 27 PageID #: 1178




                               APPX356
           Case: 23-136         Document: 2-2        Page: 379       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 14 of 27 PageID #: 1179




Management Compliance Guide, ¶ 723 LIMITED LIABILITY COMPANIES, available at 2017

WL 11025924. Under the Delaware Limited Liability Company Act (the “LLC Act”), an LLC

may be managed either by its members or by a non-member manager. Del. Code Ann. tit. 6, § 18–

402. The members that form the LLC company designate who will manage the LLC through an

LLC agreement. Id. If the operating agreement provides that a company is managed by a non-

member, the “management of the limited liability company, to the extent so provided, shall be

vested in the manager” chosen by the members. Id.; Del. Code Ann. tit. 6, § 18–101(12) (defining

a “manager” as a person so designated in an LLC agreement). The latter scenario is often referred

to as a “manager-managed” company, which is a “legally different business organization than a

corporation, with a different management structure (manager-managed as opposed to a board of

directors).” Pia v. Supernova Media, Inc., No. 09-CV-00840, 2014 WL 7261014, at *3 (D. Utah

Dec. 18, 2014) (analyzing Delaware law). Further, the LLC Act does not require any sort of annual

or monthly member or manager meetings. See Del. Code Ann. tit. 6, §§ 18-101, et seq.; Jacoby

Donner, P.C. v. Aristone Realty Cap., LLC, No. 17-CV-2206, 2020 WL 5095499, at *15 (E.D. Pa.

Aug. 28, 2020) (observing “member meetings are not required by . . . the Delaware Limited

Liability Company Act.”).

       Each of the relevant LLCs have been set up pursuant to, and in conformity with, the LLC

Act. CCI has been appointed as a manager of different limited liability companies (through their

respective members) that perform the separate business functions as discussed above. Ex. 2, Proost

Dep., 59:3-6. For example, SGC is an LLC incorporated under the laws of Delaware and is a

separate, indirect subsidiary of CCI. SGC provides internet and video (i.e., cable) services under

the Spectrum brand to customers in certain regions within the United States, including Texas.

Ex. 2, Proost Dep., 40:4-22, 70:8-71:1, 79:13-80:5; Ex. 4, Boglioli Dep., 49:18-22. Consistent




                                               -8-

                                         APPX357
           Case: 23-136        Document: 2-2        Page: 380       Filed: 06/16/2023
                     CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 15 of 27 PageID #: 1180




with the LLC Act, Time Warner Cable Enterprises LLC, as the sole member of SGC, appointed

CCI as the manager of SGC pursuant to an Amended and Restated Limited Liability Company

Agreement.8 Ex. 8, Am. and Restated LLC Agreement of Time Warner Cable Texas LLC, dated

May 18, 2016 (the “SGC LLC Agreement”). The SGC LLC Agreement sets out the “governance”

of the LLC and includes the powers and limitations of CCI as a manager. Id. § 4; Ex. 2, Proost

Dep., 59:3-17.

       The SGC LLC Agreement provides that



                                       CCI. Ex. 8, SGC LLC Agreement, § 4(a)(i). Moreover,

the SGC LLC Agreement provides, among other things,




       Entropic does not allege that there has been any violation of the applicable Delaware LLC

Act or governing agreements in the formation or management of SGC (or any other LLC).




8
  The SGC LLC Agreement is between Texas Warner Cable Texas LLC (“TWCT”) and Time
Warner Cable Enterprises LLC, as the sole member of TWCT. Ex. 8, SGC LLC Agreement. SGC
was formerly TWCT. Ex. 10, Certificate of Amendment, dated Sept. 12, 2018; Ex. 11, Affidavit
of Constance C. Kovach, dated October 29, 2018.



                                              -9-

                                        APPX358
            Case: 23-136         Document: 2-2          Page: 381        Filed: 06/16/2023
                       CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 16 of 27 PageID #: 1181




       E.      CCI Maintains Corporate Records Separate from the LLC Subsidiaries

       CCI’s corporate records are maintained separate from its LLC subsidiaries, care is taken to

ensure that any actions taken by CCI are separate from those taken by its LLC subsidiaries,

                                                                                  Ex. 2, Proost Dep.,

37:16-38:22, 60:5-20; Ex. 4, Boglioli Dep, 34:5-37:8, 70:15-71:10, 72:3-73:22 (

                                                                             ), 75:12-76:14, 83:4-12

(                                                                                        ).

IV.    LEGAL STANDARD

       A.      Entropic Has The Burden of Establishing Venue is Proper

       Venue in patent cases is exclusively governed by Section 1400(b) of Title 28 of the United

States Code. TC Heartland LLC v. Kraft Foods Grp. Brands LLC, 581 U.S. 258, 267-69 (2017).

Federal Circuit law applies to matters unique to patent law, such as section 1400(b), while regional

Circuit law apply to questions not unique to patent law. In re Cray Inc., 871 F.3d 1355, 1360 (Fed.

Cir. 2017); In re ZTE (USA) Inc., 890 F.3d 1008, 1013 (Fed. Cir. 2018). Under Federal Circuit

law, a plaintiff bears the burden of establishing that venue in this district is proper. In re ZTE, 890

F.3d at 1013; Optic153 LLC v. Thorlabs Inc., No. 6:19-CV-00667, 2020 WL 3403076, at *1 (W.D.

Tex. June 19, 2020).

       B.      Venue in Patent Cases

       The “requirement of venue [in patent cases] is specific and unambiguous; it is not one of

those vague principles which, in the interests of some overriding policy, is to be given liberal

construction,” Cray, 871 F.3d at 1361 (citation omitted), and “it is important ‘not to conflate

showings that may be sufficient for other purposes, e.g., personal jurisdiction or the general venue

statute, with the necessary showing to establish proper venue in patent cases.’” In re ZTE, 890

F.3d at 1014 (quoting Cray, 871 F.3d at 1361). Accordingly, under Section 1400(b), venue is




                                                 -10-

                                           APPX359
           Case: 23-136         Document: 2-2           Page: 382     Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 17 of 27 PageID #: 1182




proper either (1) in the district in which the defendant resides, or (2) where it has a regular and

established place of business and has committed acts of infringement. 28 U.S.C. §1400(b). “[A]

domestic corporation ‘resides’ only in its [s]tate of incorporation for purposes of the patent venue

statute.” TC Heartland, 581 U.S. at 262.

       Facts relating to venue pled in the complaint are accepted as true “only to the extent that

such facts are uncontroverted by [a] defendant’s affidavit.” Pierce v. Shorty Small’s of Branson

Inc., 137 F.3d 1190, 1192 (10th Cir. 1998) (citing Home Ins. Co. v. Thomas Indus., Inc., 896 F.2d

1352, 1355 (11th Cir. 1990)). A district court may look beyond the complaint when deciding a

motion to dismiss based on improper venue. Ambraco, Inc. v. Bossclip B.V., 570 F.3d 233, 238

(5th Cir. 2009) (stating that under Rule 12(b)(3) a court may look at evidence beyond the facts

alleged in the complaint and its attachments).

 V.    ARGUMENT

       CCI, the lone named defendant, is a holding company with no employees, no product or

service offerings to customers, no real property interests in the district and no ownership of

Accused Products. There is a subsidiary of CCI that does operate here, but Entropic chose not to

sue that entity, and chose not to sue CCI in Delaware where it resides.

       Instead, Entropic seeks to attribute the actions of SGC, CCI’s subsidiary, to CCI under the

guise of agency or alter ego theories without satisfying any of the elements necessary to proceed

under those theories. The employees assigned to work in the SGC stores in the district are in no

sense agents of CCI. They are not employed by CCI, not controlled by CCI, have no authority to

act on CCI’s behalf, and do not carry out the business of CCI. To overcome its utter failure to

establish agency or alter ego, Entropic asks the Court to disregard the separate corporate forms

merely because SGC, through its sole member, appointed CCI as its manager. Entropic’s request,

however, undermines the Delaware LLC Act, which explicitly contemplates and permits an LLC’s



                                                 -11-

                                           APPX360
            Case: 23-136          Document: 2-2         Page: 383      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 18 of 27 PageID #: 1183




members to appoint a separate corporate manager. Entropic has not uncovered any evidence to

remotely suggest that CCI was improperly appointed to act as manager of SGC or that it fails to

observe the corporate forms of its distinct subsidiaries. Nor has Entropic asserted any allegations

that SGC, or any other LLC, has not been properly established and separately maintained. For

these reasons, and as explained below, venue is improper in this district.

       A.      Venue Is Improper As To CCI

               1.      CCI Does Not Reside in this District

       Entropic admits that CCI is not incorporated in Texas. Dkt. 53, ¶ 3; Smith Decl. at ¶ 5.

Thus, to meet its burden in establishing that venue is proper, Entropic must show that CCI has a

regular and established place of business and committed acts of infringement in this district.9 See

Cray, 871 F. 3d at 1360. For the reasons set forth below, Entropic cannot meet this burden.

               2.      CCI Has No Regular and Established Place of Business in this District

       The “three general requirements relevant to the inquiry” of whether a defendant has a

regular and established place of business are: “(1) there must be a physical place in the district;

(2) it must be a regular and established place of business; and (3) it must be the place of the

defendant. If any statutory requirement is not satisfied, venue is improper under § 1400(b).” Cray,

871 F.3d at 1360. Entropic cannot satisfy any of these requirements because CCI has no regular

and established place of business in the district.



9
  CCI denies that it has committed acts of infringement anywhere, including in this district, because
it does not own, lease, or distribute the Accused Cable Modem Products and because it does not
provide the Accused Services. See Sections III.B.1 & 5, supra. On this basis, venue is improper.
See Section 1400(b) (requiring acts of infringement and a regular and established place of business
to establish venue). However, because “[t]he issue of infringement is not reached on the merits in
considering venue requirements,” CCI focuses this motion on Entropic’s failure to meet its burden
to establish that CCI has a regular and established place of business in the district. See Seven
Networks, LLC v. Google LLC, 315 F. Supp. 3d 933, 942-43 & n.10 (E.D. Tex. 2018) (quoting In
re Cordis Corp., 769 F.2d 733, 737 (Fed. Cir. 1985)).



                                                 -12-

                                           APPX361
            Case: 23-136         Document: 2-2          Page: 384       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 19 of 27 PageID #: 1184




                       (a)     CCI Has No Physical Place of Business in the District

       The first Cray factor requires that there “must be a physical place in the district.” 871 F.3d

at 1362. A “place” must be a “physical, geographical location in the district from which the

business of the defendant is carried out.” Id.

       CCI does not have any physical locations anywhere in Texas. Ex. 6, Nelson Decl., ¶ 5.

SGC, not CCI, leases or owns the SAC Properties that are located within this District. Nelson

Decl. at ¶¶ 5, 8. Almost every single property agreement concerning the SAC Properties and any

other property in the district reflects the fact that SGC, not CCI, is the real property interest-

holder.10 Ex. 12, Chart Summarizing Properties in E.D. Tex. There is no evidence that CCI

possesses or controls any physical space in the district. In re Google, 949 F.3d 1338, 1343 (Fed.

Cir. 2020) (holding that the statute could be satisfied by any physical place that the defendant could

“possess[ ] or control.” (quoting Cray, 871 F.3d at 1363)). And SGC, not CCI, operates the

Spectrum-branded stores to provide services to customers. Ex. 2, Proost Dep., 85:6-18; Ex. 4,

Boglioli Dep., 51:14-52:7. For these reasons alone, venue is improper.

                       (b)     CCI Has No Employees or Agents Conducting Business in the
                               District

       Under the second Cray factor, a “‘place of business’ generally requires an employee or

agent of the defendant to be conducting business in that place.” In re Google, 949 F.3d at 1344.

Therefore, even if the properties Entropic identified in its SAC did belong to CCI (and they do

not), Entropic must still establish that CCI has an employee or agent operating out of those

properties. In the SAC, Entropic does not even allege that CCI has any such employees, only that




10
  SGC either owns or leases every property within this district, except for two properties that are
owned or leased by different LLC subsidiaries. Ex. 12, Chart Summarizing Properties in E.D.
Tex. CCI does not own or lease any property in this district.



                                                 -13-

                                           APPX362
            Case: 23-136          Document: 2-2          Page: 385       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 20 of 27 PageID #: 1185




“Charter employs personnel . . . through subsidiary limited liability companies that it manages

and controls.” Dkt. 53 ¶ 8 (emphasis added). Here, as explained above, CCI does not have any

employees at all and therefore does not have any employees who regularly conduct business in

the district. Ex. 5, Armstrong Decl. at ¶ 4; Ex. 2, Proost Dep., 71:3-10, 73:20-74:11, 104:4-5;

Ex. 4, Boglioli Dep., 42:4-43:2; see also Section III.B.3.

       Entropic does not allege, nor could it, that SGC (or any employee allocated to SGC) is an

agent of CCI. An agency relationship is a “fiduciary relationship that arises when one person (a

‘principal’) manifests assent to another person (an ‘agent’) that the agent shall act on the principal’s

behalf and subject to the principal’s control, and the agent manifests assent or otherwise consents

to act.” In re Google, 949 F.3d at 1345 (quoting Restatement (Third) of Agency § 1.01). The

elements of agency are: “(1) the principal’s ‘right to direct or control’ the agent’s actions, (2) ‘the

manifestation of consent by [the principal] to [the agent] that the [agent] shall act on his behalf,’

and (3) the ‘consent by the [agent] to act.’” Id. (quoting Meyer v. Holley, 537 U.S. 280, 286

(2003)). Entropic cannot satisfy any of these elements.

       As for the first element–control–the SAC contains allegations that CCI “has the right to

exercise near total control of each entity’s operations” through LLC agreements. Dkt. 53 ¶ 9.

However, this alone cannot establish an agency relationship because nothing in the record suggests

that the relationship between CCI and SGC is anything more than that between LLC manager and

a managed LLC. CCI itself does not maintain or operate the Spectrum-branded stores that are

owned or leased by SGC in this district, Ex. 2, Proost Dep., 85:6-18, nor does CCI participate in

the hiring and firing of employees working in the SGC-owned or -leased stores in the district, id.

at 71:3-10, 73:20-74:11, 104:4-5; Ex. 4, Boglioli Dep., 42:4-43:2; Armstrong Decl., at ¶ 5; see

Andra Grp., LP v. Victoria’s Secret Stores, LLC, 6 F.4th 1283, 1288-899 (Fed. Cir. 2021). Those




                                                 -14-

                                            APPX363
            Case: 23-136         Document: 2-2         Page: 386       Filed: 06/16/2023
                      CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 21 of 27 PageID #: 1186




activities are carried out by the employees allocated to the SAC Properties. Ex. 4, Boglioli Dep.,

42:4-44:9, 47:8-13, 48:2-24. Such actions can only be attributed to CCI by virtue of its having

been appointed manager of SGC and disregarding the corporate separation of these distinct

entities; but Entropic fails to make any showing that would justify the extreme measure of piercing

the corporate veil. See Section V.B, infra.

       Nor can Entropic satisfy the remaining two elements for showing that SGC is CCI’s agent.

In addition to establishing that the principal controls the agent, Entropic must show “(2) the

manifestation of consent by [the principal] to [the agent] that the [agent] shall act on his behalf,

and (3) the consent by the [agent] to act.” Andra Grp., 6 F.4th at 1288 (internal quotations

omitted). There is no support for any contention that CCI has manifested consent for SGC, or

employees working at stores owned or leased by SGC, to act on CCI’s behalf, and there is no

evidence that any entity consented to act on CCI’s behalf. Entropic has not even attempted to

allege or meet these elements to proceed under an agency theory.

       While these facts alone are reason to reject any agency theory, there is more. The SGC

LLC Agreement does not contain any provision authorizing SGC to act as an agent of CCI. Rather,



the exact opposite of what Entropic must show.




                                 . Ex. 8, SGC LLC Agreement, § 5(d)(vi). Although not by itself

dispositive, the Federal Circuit has held this evidence is “relevant” to determine whether one entity

is another’s agent. See In re Volkswagen Grp. of America, Inc., 28 F.4th 1203, 1212 (Fed. Cir.




                                                -15-

                                           APPX364
            Case: 23-136           Document: 2-2          Page: 387        Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 22 of 27 PageID #: 1187




2022) (“Our holding is further bolstered by—the relevant though not dispositive—consideration

that the parties to the franchise agreements disclaim an agency relationship.”)

        Because CCI has no employees or agents in the district, Entropic cannot, for this additional

reason, meet its burden to show that venue is proper.

                        (c)     CCI Has No Regular and Established Place of Business in the
                                District

        When analyzing the third Cray factor, whether a “place of business” is “of the defendant,”

courts consider a number of non-exclusive factors, including “whether the defendant owns or

leases the place, or exercises other attributes of possession or control over the place,” “whether the

defendant lists the alleged place of business on a website, or in a telephone or other directory; or

places its name on a sign associated with or on the building itself.” Cray at 1363-64.

        None of these factors support venue in this case. Entropic cites to four properties located

in this district to allege that “Charter has regular and established places of business in this district.”

Dkt. 53, ¶¶ 16-17. Yet, CCI does not own or lease any of the properties listed in the SAC. See

Section III.B.4, supra. Entropic also contends that CCI “targets its advertisements” to this district,

and suggests that the Spectrum logo displayed on the SAC Properties somehow establishes that

CCI conducts business in this district. Dkt. 53 ¶¶ 18-20. However, the pertinent question is

whether “the defendant,” that is CCI, “places its name on a sign associated with or on the building

itself.” Cray, 871 F.3d at 1364 (emphasis added). Here, there are plainly no allegations nor any

evidence that CCI’s name is associated with any properties in this district or in Texas more broadly.

The photographs included in the SAC show that the “Spectrum” brand name is prominently

displayed on the SAC properties, not CCI or Charter. Dkt. 53, ¶¶ 16-17. As previously explained,

the Spectrum brand is used “for all customer-facing functions in all retail stores” and there is no




                                                  -16-

                                             APPX365
               Case: 23-136       Document: 2-2         Page: 388       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 23 of 27 PageID #: 1188




advertising or marketing of products under CCI’s name. Ex. 4, Boglioli Dep., 95:7-16; see also

id. at 55:17-19; Ex. 2, Proost Dep., 88:12-14, 100:11-12.

          Furthermore, CCI does not have any employees in Texas; does not conduct commercial

business with the public; and does not make, manufacture, or sell any product anywhere, including

in Texas. See Section III.B, supra. Indeed, CCI does not maintain or operate the physical locations

identified in the district. Ex. 2, Proost Dep., 85:6-18. Thus, not a single factor supports Entropic’s

assertion of venue and its pleading should be dismissed for lack of venue for this reason as well.

          B.     The Presence and Activities of SGC Cannot Be Imputed To CCI To
                 Establish Venue

          Recognizing that CCI does not have any presence or business in this district, the SAC

contains allegations suggesting that that the “regular and established place of business” of SGC,

as well as any subsidiary of CCI, should be imputed to CCI for venue purposes. Dkt. 53 ¶¶ 6-9,

11 n.1, 15-20. CCI and a subsidiary LLC such as SGC, however, can only be considered a single

entity for purposes of venue if that LLC is CCI’s alter ego. Id. This is “a difficult standard to

meet” and is rarely, if ever, satisfied in context of Section 1400(b).11 Soverain IP I, 2017 WL

5126158, at *1; see also Celgene Corp. v. Mylan Pharm. Inc., 17 F. 4th 1111, 1127 (Fed. Cir.

2021) (rejecting alter ego theory); Andra Grp., 6 F.4th at 1290 (same); Sightline Payments, LLC

v. Everi Holdings Inc., No. 21-CV-1015, 2022 WL 2078215, *7 (W.D. Tex. June 1, 2022) (same);

Nat’l Steel Car Ltd. v. The Greenbrier Cos., Inc., No. 6:19-cv-00721-ADA, 2020 WL 42889388,

at *3-5 (W.D. Tex. July 27, 2020) (same); Interactive Toybox, LLC v. The Walt Disney Co., No.

17-CV-1137, 2018 WL 5284625, at *4 (W.D. Tex. Oct. 24, 2018) (same); Blue Spike, LLC v. Nook

Dig., LLC, No. 6:16-CV-1361-RWSJDL, 2017 WL 3263871, at *3 (E.D. Tex. July 28, 2017),



11
     “Corporate separateness is an issue of regional-circuit law.” Celgene Corp., 17 F.4th at 1125.



                                                 -17-

                                            APPX366
           Case: 23-136          Document: 2-2         Page: 389       Filed: 06/16/2023
                      CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 24 of 27 PageID #: 1189




report and recommendation adopted sub nom. Blue Spike, LLC v. Caterpillar, Inc., 2017 WL

4129321 (E.D. Tex. Sept. 19, 2017) (same); IPVX Patent Holdings, Inc. v. Broadvox Holding Co.,

LLC, No. 6:11-CV-0575, 2012 WL 13012617, at *3 (E.D. Tex. Sept. 26, 2012) (same). Entropic

has done nothing to meet this “difficult standard.”

       First, Entropic’s principal basis for attempting to disregard the corporate separateness of

CCI and SGC is the mere fact that the SGC LLC Agreement appoints CCI as its manager. See

Dkt. 53 ¶ 9; id. ¶¶ 6-8, 11 n.1 (alleging that references to “Charter” include “Charter’s own actions

and its actions by and through its subsidiary limited liability companies that it manages and

controls”). The SGC LLC Agreement or any other agreement does not convert the actions of SGC

into the actions of CCI. The agreement and Delaware law are explicit and unequivocal:

                                                                             Ex. 8, SGC Agreement

§ 4(a)(i); Del. Code Ann. tit. 6, § 18-402. Entropic does not allege, nor has discovery revealed,

that CCI acted in violation, or beyond the scope of, its role as manager as provided in the SGC

LLC Agreement or pursuant to the LLC Act. IPVX Patent Holdings, 2012 WL 13012617, at *3

(“While [plaintiff] contends that [the parent-defendant] must control [its subsidiary-LLC that

conducts business in this district] because” the parent-defendant manages “its subsidiary, there is

no evidence that the control exerted by [the parent-defendant] is greater than that ‘normally

associated with common ownership and directorship.’” (citing Hargrave v. Fibreboard Corp., 710

F.2d 1154, 1160-61 (5th Cir. 1983))). Accordingly, Entropic cannot impute SGC’s actions as a

managed LLC to CCI, as a manager of the LLC, as a basis for venue.

       Second, to the extent that Entropic alleges that CCI and its subsidiary LLCs are alter egos

(separate and apart from any LLC agreement) such that “any ‘regular and established place of

business’” of SGC should be imputed to CCI, Entropic must establish that SGC and CCI “lack




                                                -18-

                                          APPX367
           Case: 23-136         Document: 2-2          Page: 390          Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 25 of 27 PageID #: 1190




formal corporate separateness.” Soverain IP I, 2017 WL 5126158, at *1 (declining to impute the

presence of a related company to another related company); Andra Grp., 6 F.4th at 1289 (“A

threshold inquiry when determining whether the place of business of one company can be imputed

to another, related company is whether they have maintained corporate separateness.” (citing

Cannon Mfg. Co. v. Cudahy Packing Co., 267 U.S. 333, 334-35 (1925))). When the entities “have

maintained corporate separateness, the place of business of one corporation is not imputed to the

other for venue purposes.” Andra Grp., 6 F.4th at 1289; Blue Spike, 2017 WL 3263871, at *3

(“[T]he mere existence of a wholly-owned subsidiary in a judicial district does not, by itself,

suffice to establish venue over the subsidiary’s parent corporation.”).

       Here, Entropic cannot show any lack of corporate separateness. The SAC does not contain

any allegations suggesting that CCI, SGC, or any other subsidiary LLC, have failed to maintain

corporate separateness or formalities. The fact is, CCI and its subsidiaries are distinct, separate

entities that observe all required corporate formalities separating them from each other, including

the maintenance of their own corporate books and records, meetings of shareholders (for CCI),

identification of LLC members and appointment of directors and officers. Smith Decl. at ¶¶ 5, 7;

see Sections III.C & D, supra. There has been nothing to suggest otherwise. Although the SAC

contains allegations that Spectrum-branded stores within this district bare the “Spectrum” logo,

which logo “refers to ‘a suite of advanced broadband services offered by Charter Communications,

Inc.,’” Dkt. 53 ¶¶ 5, 16-18, the “use of the common or generic name [Spectrum] on the exterior of

[the subsidiary’s building], as well as the press release announcing the business,” cannot support

venue under the patent statute, where the corporate formalities between related companies remain

intact, such as here. Bd. Of Regents v. Medtronic PLC., No. 17-CV-0942, 2018 WL 4179080, at

*2 (W.D. Tex. July 19, 2018).




                                                -19-

                                          APPX368
           Case: 23-136        Document: 2-2         Page: 391      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 26 of 27 PageID #: 1191




       Therefore, Entropic, cannot impute SGC’s actions in this district to CCI.

VI.    CONCLUSION

       Plaintiff’s Second Amended Complaint should be dismissed for improper venue under Fed.

R. Civ. P. 12(b)(3).



 Dated: January 30, 2023                      Respectfully submitted,

                                              /s/ Deron R. Dacus
                                              Deron R. Dacus
                                              State Bar No. 00790553
                                              The Dacus Firm, P.C.
                                              821 ESE Loop 323, Suite 430
                                              Tyler, TX 75701
                                              Phone: (903) 705-1117
                                              Fax: (903) 581-2543
                                              Email: ddacus@dacusfirm.com

                                              Daniel L. Reisner
                                              David Benyacar
                                              Elizabeth Long
                                              Albert J. Boardman
                                              Melissa Brown
                                              Palak Mayani Parikh
                                              ARNOLD & PORTER KAYE SCHOLER LLP
                                              250 West 55th Street
                                              New York, New York, 10019-9710
                                              Telephone: (212) 836-8000
                                              Email: daniel.reisner@arnoldporter.com
                                              Email: david.benyacar@arnoldporter.com
                                              Email: elizabeth.long@arnoldporter.com
                                              Email: albert.boardman@arnoldporter.com
                                              Email: melissa.brown@arnoldporter.com
                                              Email: palak.mayani@arnoldporter.com

                                              Attorneys for Defendant
                                              Charter Communications, Inc.




                                              -20-

                                        APPX369
           Case: 23-136        Document: 2-2         Page: 392      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62 Filed 02/06/23 Page 27 of 27 PageID #: 1192




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has been

served on all counsel of record via the Court’s ECF system on January 30, 2023.



                                            /s/ Deron R. Dacus
                                            Deron R. Dacus


             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       Pursuant to Local Rule CV-5, the undersigned counsel hereby certifies that authorization

for filing under seal has been previously granted by the Court in the Protective Order (Dkt. 36)

entered in this case on August 10, 2022.



                                            /s/ Deron R. Dacus
                                            Deron R. Dacus




                                              -21-


                                           APPX370
          Case: 23-136    Document: 2-2   Page: 393    Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62-2 Filed 02/06/23 Page 1 of 4 PageID #: 1194



                       UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION



 ENTROPIC COMMUNICATIONS, LLC,

       Plaintiff

          v.
                                                Civil Action No. 2:22-cv-00125-JRG
 CHARTER COMMUNICATIONS, INC.;
 SPECTRUM ADVANCED SERVICES,
 LLC; AND SPECTRUM MANAGEMENT
 HOLDING COMPANY, LLC,

       Defendants.


         DECLARATION OF MELISSA A. BROWN IN SUPPORT OF
   CHARTER COMMUNICATIONS, INC.’S MOTION TO DISMISS THE SECOND
  AMENDED COMPLAINT FOR IMPROPER VENUE PURSUANT TO FRCP 12(b)(3)




                                 APPX371
             Case: 23-136           Document: 2-2      Page: 394       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62-2 Filed 02/06/23 Page 2 of 4 PageID #: 1195




I, Melissa A. Brown, declare as follows:

        1.      I am over 18 years of age and competent to make this declaration. If called to testify

as a witness, I could and would testify truthfully under oath to each of the statements in the

declaration. I make each statement below based on my personal knowledge or after investigation

of the relevant information.

        2.      I am an attorney at Arnold & Porter Kaye Scholer, LLP, counsel of record for

Defendant, Charter Communications, Inc. (“Defendant” or “CCI”). I am licensed to practice law

in the States of New York and New Jersey, and have been admitted pro hac vice to this Court.

        3.      I make this Declaration based on my personal knowledge and in support of CCI’s

Motion to Dismiss the Second Amended Complaint for Improper Venue Pursuant to Federal Rule

of Civil Procedure 12(b)(3).

        4.      Attached hereto as Exhibit 1 is a true and correct copy of the declaration of Jennifer

A. Smith, dated July 7, 2022.

        5.      Attached hereto as Exhibit 2 is a true and correct copy of excerpts of the transcript

from the deposition of Thomas Proost, taken December 2, 2022.

        6.      Attached hereto as Exhibit 3 is a is a true and correct copy of the declaration of

Jeff Burdett, dated July 5, 2022.

        7.      Attached hereto as Exhibit 4 is a true and correct copy of excerpts of the transcript

from the deposition of Daniel Boglioli, taken December 13, 2022.

        8.      Attached hereto as Exhibit 5 is a true and correct copy of the declaration of Martin

C. Armstrong, dated July 6, 2022.

        9.      Attached hereto as Exhibit 6 is a true and correct copy of the declaration of Teresa

Nelson, dated July 6, 2022.




                                                  1


                                           APPX372
              Case: 23-136       Document: 2-2        Page: 395      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62-2 Filed 02/06/23 Page 3 of 4 PageID #: 1196




        10.     Attached hereto as Exhibit 7 is a true and correct copy of Equipment Lease

Agreement between Spectrum Gulf Coast, LLC and Charter Distribution LLC.

        11.     Attached hereto as Exhibit 8 is a true and correct copy of the Amended and

Restated LLC Agreement of Time Warner Cable Texas LLC, dated May 18, 2016.

        12.     Attached hereto as Exhibit 9 is a true and correct copy of the Second Amended and

Restated Management Agreement of Charter Communications Operating, LLC, dated May 18,

2016.

        13.     Attached hereto as Exhibit 10 is a true and correct copy of the Certificate of

Amendment, dated September 12, 2018, filed with the Delaware Secretary of State, reflecting a

name change from Time Warner Cable Texas LLC to Spectrum Gulf Coast, LLC.

        14.     Attached hereto as Exhibit 11 is a true and correct copy of the affidavit of

Constance C. Kovach, dated October 29, 2018.

        15.     Attached hereto as Exhibit 12 is a chart listing ownership or lease information for

property in the Eastern District of Texas.



Executed on January 30, 2023 in New York, New York.


                                              /s/ Melissa A. Brown
                                              Melissa A. Brown




                                                -2-

                                             APPX373
           Case: 23-136        Document: 2-2        Page: 396       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62-2 Filed 02/06/23 Page 4 of 4 PageID #: 1197




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has been

served on all counsel of record via the Court’s ECF system on January 30, 2023.



                                            /s/ Melissa A. Brown
                                            Melissa A. Brown


             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       Pursuant to Local Rule CV-5, the undersigned counsel hereby certifies that authorization

for filing under seal has been previously granted by the Court in the Protective Order (Dkt. 36)

entered in this case on August 10, 2022.



                                            /s/ Melissa A. Brown
                                            Melissa A. Brown




                                              -3-

                                           APPX374
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 62-3    Page:  397 Filed:
                                             02/06/23 Page 06/16/2023
                                                           1 of 4 PageID #: 1198




                   EXHIBIT 1




                                APPX375
                    Case: 23-136       Document: 2-2       Page: 398      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62-3 Filed 02/06/23 Page 2 of 4 PageID #: 1199



                               UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION



 ENTROPIC COMMUNICATIONS, LLC,

            Plaintiff

               v.                                                  Civil Action No. 2:22-cv-00125-JRG

 CHARTER COMMUNICATIONS, INC.;
 SPECTRUM ADVANCED SERVICES,
 LLC; AND SPECTRUM MANAGEMENT
 HOLDING COMPANY, LLC,

            Defendants.


                             DECLARATION OF JENNIFER A. SMITH

I, Jennifer A. Smith, declare as follows:

       1.           I have personal knowledge of the matters set forth herein.

       2.           I am VP, Associate General Counsel & Assistant Corporate Secretary at Charter

Communications, LLC.

       3.           I am informed that Entropic Communications, LLC (“Entropic”) has filed suit

against Charter Communications, Inc. (“CCI”), Spectrum Advanced Services, LLC (“SAS”); and

Spectrum Management Holding Company, LLC (“SMHC”).

       4.           I am familiar with the organization of CCI and its subsidiaries and/or I have

reviewed records kept by CCI, SAS and SMHC in the regular course of business in preparation

for making this declaration.

       5.           CCI is incorporated in Delaware and has its principal place of business in Stamford,

Connecticut. CCI is the corporate parent (either directly or indirectly) of a number of different

entities that carry on various businesses under the Spectrum brand. CCI is the parent of its

                                               APPX376
            Case: 23-136         Document: 2-2         Page: 399        Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62-3 Filed 02/06/23 Page 3 of 4 PageID #: 1200




subsidiaries and provides corporate oversight to those entities, but CCI does not directly conduct

any commercial business relations with the public. CCI does not directly make, manufacture, sell

or offer for sale any product or service of any nature, including in Texas.

       6.       I understand that Entropic has collectively referred to CCI, SAS, and SMHC as

“Charter” in its amended complaint, and in paragraph 17 of its amended complaint, referred to

SAS as a “related entity” of CCI.

       7.       CCI observes all required corporate formalities separate from its subsidiaries,

including SAS and SMHC. CCI regularly maintains its corporate records separate from those of

its subsidiaries, including those referenced herein, and conducts meetings of its shareholders and

directors separate from those these subsidiaries. Each of CCI’s subsidiaries maintains its own

corporate, partnership, or limited liability company status, identity, and structure.

       8.       SAS is an indirect majority-owned subsidiary of CCI. SAS is organized under the

laws of the State of Delaware and registered with the Secretary of State of Texas as a Foreign

Limited Liability Company. SAS is registered in the state of Texas with a purpose of providing

telecommunications services. SAS does not provide internet or cable television/video services.

       9.       SMHC is an indirect majority-owned subsidiary of CCI. SMHC is organized under

the laws of the State of Delaware. SMHC is not registered to do business in Texas. SMHC does

not directly conduct any commercial business relations with the public and does not directly make,

manufacture, sell or offer for sale any product or service of any nature, including in Texas. SMHC

holds certain assets and contracts which are used in connection with the business operations of its

subsidiaries.




                                                 -2-

                                           APPX377
         Case: 23-136         Document: 2-2           Page: 400      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62-3 Filed 02/06/23 Page 4 of 4 PageID #: 1201




       I declare under penalty of perjury that the foregoing is true and correct.



Dated: July 7, 2022

                                             Jennifer A. Smith




                                                -3-

                                        APPX378
 Case: 23-136   Document: 2-2   Page: 401   Filed: 06/16/2023




        CONFIDENTIAL MATERIAL OMITTED




 Exhibit 2 to Defendant’s
    Motion to Dismiss
Dkt. 61-4 (Sealed Version)
Dkt. 62-4 (Public Version)
  FILED UNDER SEAL




          (APPX379-395)
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 62-5    Page:  402 Filed:
                                             02/06/23 Page 06/16/2023
                                                           1 of 3 PageID #: 1203




                   EXHIBIT 3




                                APPX396
        Case: 23-136               Document: 2-2         Page: 403        Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62-5 Filed 02/06/23 Page 2 of 3 PageID #: 1204



                                 UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION




  ENTROPIC COMMUNICATIONS, LLC,

              Plaintiff
                                                                    Civil Action No. 2:22-cv-00125-JRG
                 V.

  CHARTER COMMUNICATIONS, INC.;
  SPECTRUM ADVANCED SERVICES,
  LLC; AND SPECTRUM MANAGEMENT
  HOLDING COMPANY, LLC,

              Defendants.


                                  DECLARATION OF JEFF BURDETT

 I, Jeff Burdett, declare as follows:

         1.           I have personal knowledge of the matters set forth herein.

         2.           I am Senior Director, Government Affairs at Charter Communications, LLC.

         3.           I am informed that Entropic Communications, LLC ("Entropic") has filed suit

 against Charter Communications, Inc. ("CCI"), Spectrum Advanced Services, LLC ("SAS") and

 Spectrum Management Holding Company, LLC ("SMHC").

        4.            I am familiar with the organization of CCI and its subsidiaries and/or I have

 reviewed records kept by CCI, SAS, and SMHC in the regular course of business in preparation

 for making this declaration.

         5.           Neither CCI, SAS, nor SMHC is a holder of a State-Issued Certificate of Franchise

 Authority ("SIFCA") issued by the Public Utility Commission of Texas. Spectrum Gulf Coast,

 LLC is the only CCI subsidiary that is a holder of a SICFA in Texas.




                                             APPX397
       Case: 23-136          Document: 2-2            Page: 404     Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62-5 Filed 02/06/23 Page 3 of 3 PageID #: 1205



      I declare nnder penalty of perjury that the foregoing is true and correct.



Dated: July 5 , 2022

                                             Jeff Burdett




                                                -2-



                                       APPX398
 Case: 23-136   Document: 2-2   Page: 405   Filed: 06/16/2023




        CONFIDENTIAL MATERIAL OMITTED




 Exhibit 4 to Defendant’s
    Motion to Dismiss
Dkt. 61-6 (Sealed Version)
Dkt. 62-6 (Public Version)
  FILED UNDER SEAL




          (APPX399-414)
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 62-7    Page:  406 Filed:
                                             02/06/23 Page 06/16/2023
                                                           1 of 2 PageID #: 1207




                   EXHIBIT 5




                                APPX415
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 62-7    Page:  407 Filed:
                                             02/06/23 Page 06/16/2023
                                                           2 of 2 PageID #: 1208


                                    UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF TEXAS
                                         MARSHALL DIVISION




     ENTROPIC COMMUNICATIONS, LLC,

                 Plaintiff

                    V.
                                                                       Civil Action No. 2:22-cv-00125-JRG

     CHARTER COMMUNICATIONS, INC.;
     SPECTRUM ADVANCED SERVICES,
     LLC; AND SPECTRUM MANAGEMENT
     HOLDING COMPANY, LLC,

                 Defendants.


                               DECLARATION OF MARTIN C. ARMSTRONG

    I, Martin C. Armstrong, declare as follows:

           1.            I have personal knowledge of the matters set forth herein.

           2.            I am Vice President, Payroll Shared Services at Charter Communications, LLC.

           3.            I am informed that Entropic Communications, LLC has filed suit against Charter

    Communications, Inc. ("CCI"), Spectrum Advanced Services, LLC ("SAS"); and Spectrum

    Management Holding Company, LLC ("SMHC").

           4.            Based upon my personal knowledge and/or a reasonable investigation, CCI, SAS,

    and SMHC do not have employees in the State of Texas.

            5.           CCI, SAS and SMHC do not participate in the hiring and firing of the employees

    of their subsidiaries in Texas.

           I declare under penalty of perjury that the foregoing is true and correct.



    Dated: July 6, 2022




                                               APPX416
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 62-8    Page:  408 Filed:
                                             02/06/23 Page 06/16/2023
                                                           1 of 3 PageID #: 1209




                   EXHIBIT 6




                                APPX417
             Case: 23-136           Document: 2-2         Page: 409        Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62-8 Filed 02/06/23 Page 2 of 3 PageID #: 1210



                                UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION




 ENTROPIC COMMUNICATIONS, LLC,

             Plaintiff

                v.                                                 Civil Action No. 2:22-cv-00125-JRG

 CHARTER COMMUNICATIONS, INC.;
 SPECTRUM ADVANCED SERVICES,
 LLC; AND SPECTRUM MANAGEMENT
 HOLDING COMPANY, LLC,

             Defendants.


                                DECLARATION OF TERESA NELSON

I, Teresa Nelson, declare as follows:

        1.           I have personal knowledge of the matters set forth herein.

        2.           I am Manager - Real Estate Property and Database Administration at Charter

Communications, LLC.

        3.           I am informed that Entropic Communications, LLC ("Entropic") has filed suit

against Charter Communications, Inc. ("CCI"), Spectrum Advanced Services, LLC ("SAS"); and

Spectrum Management Holding Company, LLC ("SMHC").

        4.           I have access to property lease agreements entered into by CCI, SAS, SMHC and

their affiliates, and have reviewed records, if any, kept by CCI, SAS, and SMHC in the regular

course of business in preparation for making this declaration.

        5.           Based upon a reasonable review of company records, CCI, SAS, and SMHC do not

own or lease offices or facilities located in the State of Texas.




                                              APPX418
          Case: 23-136          Document: 2-2           Page: 410       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 62-8 Filed 02/06/23 Page 3 of 3 PageID #: 1211



         6.      I am informed that Entropic has asserted in paragraphs 13, 14, & 17 of its amended

complaint that CCI, SAS, and SMHC provide "Accused Services", "Accused Cable Modem

Products" and "Accused Set Top Products" at physical stores including 700 Alma Dr., Plano Texas

75075; 2100 N. Dallas Pkwy, Plano, Texas 75075; and 4255-A Dowlen Rd., Beaumont, Texas

77706.

         7.     I am further informed that Entropic has asserted in paragraph 16 of its amended

complaint that CCI, SAS, and/or SMHC have regular and established places of business in this

district, including at 1414 Summit Ave., Plano, Texas 75074.

         8.     Based upon my reasonable review of company records, neither CCI, SAS, nor

SMHC own or lease any of the above properties. The owner or lessee of each of the above

properties is Spectrum Gulf Coast, LLC.



         I declare under penalty of perjury that the foregoing is true and correct.



Dated: July   6 , 2022
                                               Teresa Nelson




                                                  -2-


                                          APPX419
 Case: 23-136   Document: 2-2   Page: 411   Filed: 06/16/2023




        CONFIDENTIAL MATERIAL OMITTED




 Exhibit 7 to Defendant’s
    Motion to Dismiss
Dkt. 61-9 (Sealed Version)
Dkt. 62-9 (Public Version)
  FILED UNDER SEAL




          (APPX420-423)
  Case: 23-136   Document: 2-2   Page: 412   Filed: 06/16/2023




         CONFIDENTIAL MATERIAL OMITTED




 Exhibit 8 to Defendant’s
     Motion to Dismiss
Dkt. 61-10 (Sealed Version)
Dkt. 62-9 (Public Version)
  FILED UNDER SEAL




           (APPX424-439)
  Case: 23-136   Document: 2-2   Page: 413   Filed: 06/16/2023




         CONFIDENTIAL MATERIAL OMITTED




 Exhibit 9 to Defendant’s
     Motion to Dismiss
Dkt. 61-11 (Sealed Version)
Dkt. 62-9 (Public Version)
  FILED UNDER SEAL




           (APPX440-447)
  Case: 23-136   Document: 2-2   Page: 414   Filed: 06/16/2023




         CONFIDENTIAL MATERIAL OMITTED




 Exhibit 10 to Defendant’s
     Motion to Dismiss
Dkt. 61-12 (Sealed Version)
Dkt. 62-9 (Public Version)
  FILED UNDER SEAL




           (APPX448-450)
  Case: 23-136   Document: 2-2   Page: 415   Filed: 06/16/2023




         CONFIDENTIAL MATERIAL OMITTED




 Exhibit 11 to Defendant’s
     Motion to Dismiss
Dkt. 61-13 (Sealed Version)
Dkt. 62-9 (Public Version)
  FILED UNDER SEAL




           (APPX451-452)
  Case: 23-136   Document: 2-2   Page: 416   Filed: 06/16/2023




         CONFIDENTIAL MATERIAL OMITTED




 Exhibit 12 to Defendant’s
     Motion to Dismiss
Dkt. 61-14 (Sealed Version)
Dkt. 62-9 (Public Version)
  FILED UNDER SEAL




           (APPX453-454)
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:702-2Filed
                                          Page: 417 Page
                                            02/28/23 Filed:106/16/2023
                                                            of 36 PageID #: 1508




                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

ENTROPIC COMMUNICATIONS, LLC,

            Plaintiff
                                           Civil Action No. 2:22-cv-00125-JRG
      v.
                                           JURY TRIAL DEMANDED
CHARTER COMMUNICATIONS, INC.,

            Defendant.



      PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
        THE SECOND AMENDED COMPLAINT FOR IMPROPER VENUE
                      PURSUANT TO FRCP 12(b)(3)




                                  APPX455
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:702-2Filed
                                          Page: 418 Page
                                            02/28/23 Filed:206/16/2023
                                                            of 36 PageID #: 1509




                                              TABLE OF CONTENTS

I.     INTRODUCTION ...............................................................................................................1

II.    LEGAL BACKGROUND ...................................................................................................3

III.   ARGUMENT .......................................................................................................................5

       1.        The activities and employees of the subsidiaries are attributable to CCI ................5

                 a.         The subsidiaries are controlled by CCI with no independent existence ......5

                            i.         The subsidiaries have no employees of their own ...........................5

                            ii.        CCI is the manager of each subsidiary ............................................6

                            iii.       As manager, CCI executed the lease agreements for Spectrum
                                       stores in the District, among other contracts ....................................8

                            iv.        No individual subsidiary is a complete, functioning business, but
                                       rather each plays a discrete, dependent role within the Spectrum
                                       business controlled by CCI ............................................................10

                            v.         The subsidiaries have no independent officers or directors ...........11

                            vi.        CCI officers lead company-wide corporate departments, each of
                                       which spans numerous subsidiaries ...............................................12

                            vii.       The subsidiaries do not hold corporate meetings and do not
                                       maintain their own records.............................................................13

                 b.         CCI holds out to the public that Charter is one enterprise and that CCI
                            provides the accused products and services ...............................................14

                            i.         CCI tells investors and the public that it provides the accused
                                       products and services .....................................................................14

                            ii.        All Charter operations use the same Spectrum branding policies
                                       and conduct nationwide, across all subsidiaries ............................15

                            iii.       All Charter entities use the same website to sell products and
                                       services, list store locations, and post job openings.......................15

                 c.         CCI admits—indeed affirmatively represents—to the federal government
                            the reality that Charter is one enterprise and that CCI provides the accused
                            products and services .................................................................................16

                            i.         To the Federal Communications Commission, CCI emphasizes its
                                       control over the single operating enterprise ...................................16




                                                     APPX456
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:702-2Filed
                                          Page: 419 Page
                                            02/28/23 Filed:306/16/2023
                                                            of 36 PageID #: 1510




                           ii.       To the International Trade Commission, CCI admits that it is part
                                     and parcel of a “broadband connectivity company and cable
                                     operator” ........................................................................................17

                           iii.      To other Article III Courts outside this District, Charter pleads that
                                     CCI provides cable and communications services.........................17

      2.        Venue is proper over CCI in the Eastern District of Texas ...................................18

                a.         CCI has committed acts of infringement in the District ............................18

                b.         CCI has a regular and established place of business in the District...........19

                           i.        There are physical Charter/Spectrum locations in the District from
                                     which the business of CCI is carried out .......................................21

                           ii.       Charter’s physical locations are regular and established places of
                                     business ..........................................................................................22

                           iii.      The physical locations are the places of CCI .................................26

IV.   CONCLUSION ..................................................................................................................29




                                                    APPX457
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:702-2Filed
                                          Page: 420 Page
                                            02/28/23 Filed:406/16/2023
                                                            of 36 PageID #: 1511




                                                 TABLE OF AUTHORITIES

Cases                                                                                                                                Pages

AGIS Software Development LLC v. Google LLC, 2:19-cv-361, 2022 WL 1511757 (E.D. Tex.
      May 12, 2022) ........................................................................................................22–23, 27

Andra Group, LP v. Victoria’s Secret Stores, LLC, 6 F.4th 1283 (Fed. Cir. 2021) ........................4

Bd. Of Regents v. Medtronic PLC, No. 17-cv-0942, 2018 WL 4179080 (W.D. Tex. July 19,
       2018) ..................................................................................................................................27

Entropic Communications, LLC v. DirecTV, LLC, 2:22-cv-75, Dkt. No. 109, ORDER (E.D. Tex.
       Oct. 24, 2022) ..................................................................................3, 19–20, 22–24, 26, 28

In re Cray, 871 F.3d 1355 (Fed. Cir. 2017) ...................................................................4, 21–22, 26

In re Google, 949 F.3d 1338 (Fed. Cir. 2020) ...............................................................................22

Ramirez v. Charter Communications, Inc., 75 Cal. App. 5th 365 (2022) .....................................25

Sightline Payments, LLC v. Everi Holdings Inc., No. 6:21-cv-1015, 2022 WL 2078215 (W.D.
        Tex. June 1, 2022)................................................................................................................4

Seven Networks, LLC v. Google LLC, 315 F. Supp. 3d 933 (E.D. Tex. July 19, 2018) ................19

Statutes

28 U.S.C. § 1400(b)(2) ....................................................................................................................3

Other

Charter Communications, Inc. v. Bear Creek Techs., Inc., 1:11-cv-0722-GMS, Dkt. No. 1,
       COMPLAINT FOR DECLARATORY JUDGEMENT (D. Del. Aug. 17, 2011) .............................18

Charter Communications, Inc. v. Rockstar Consortium US LP, 1:14-cv-00055, Dkt. No. 1,
       COMPLAINT FOR DECLARATORY JUDGMENT (D. Del. Jan. 17, 2014) .............................1, 18

Charter Communications, Inc. v. Rockstar Consortium US LP, 1:14-cv-00055, Dkt. No. 69,
       ANSWERING BRIEF IN OPPOSITION TO MOTION TO DISMISS FOR FAILURE TO STATE A
       CLAIM [REDACTED VERSION] (D. Del. Jan. 17, 2014) .......................................................18

In the Matter of Certain Digital Set-Top Boxes and Systems and Services Including the Same,
        No. 337-TA-1315, Response to the Amended Complaint (June 21, 2022) ...................1, 17

Montes v. Charter Communications, Inc., No. 7:21-cv-489, Dkt. No. 1, NOTICE OF REMOVAL
      (S.D. Tex. Dec. 20, 2021) ..................................................................................................25




                                                           APPX458
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:702-2Filed
                                          Page: 421 Page
                                            02/28/23 Filed:506/16/2023
                                                            of 36 PageID #: 1512




Montes v. Charter Communications, Inc., No. 7:21-cv-489, Dkt. No. 8, MOTION TO COMPEL
      ARBITRATION AND DISMISS (S.D. Tex. Jan. 31, 2022).......................................................25

Montes v. Charter Communications, Inc., No. 7:21-cv-489, Dkt. No. 10, AMENDED MOTION TO
      DISMISS (S.D. Tex. Feb. 2, 2022) ................................................................................24–25




                                                  APPX459
             Case: 23-136           Document: 2-2          Page: 422        Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 6 of 36 PageID #: 1513




                                           INTRODUCTION

        There is no dispute that there are dozens of “Spectrum”-branded Charter physical locations

in the District, staffed by numerous employees—discovery even revealed that CCI itself negotiated

and signed the lease agreements for these stores. And there is no dispute that Charter provides

accused products and services to customers in the District. Finally, there should be no dispute that

CCI—the publicly-traded controlling corporation of this enterprise—is a provider of these accused

products and services. Historically, it has admitted so. In 2014, CCI affirmatively plead (as

plaintiff in a declaratory judgment complaint) to the U.S. District Court in Delaware:

        [CCI, the sole named Charter entity, is] a provider of cable services in the United
        States, offering a variety of entertainment, information, and communications
        solutions to residential and commercial customers.1

Eight years later, nothing has changed. In June 2022 CCI admitted to the U.S. ITC:

        Charter admits that Charter Communications, Inc. (together with its controlled
        subsidiaries) is a broadband connectivity company and cable operator that provides
        television and other services to subscribers under the Spectrum brand and provides
        such services on a variety of platforms, including through digital set-top boxes . . .2

These facts close the book on whether venue is proper over CCI. Nevertheless, in front of this

Court, CCI has made—and now renews—a motion that venue is improper. What is going on?

        Charter’s strategy is to ask this Court to ignore the tangible reality of CCI’s operation of

the Charter enterprise, in favor of playing along with an elaborate fiction involving over 200 shell

LLCs set up and entirely controlled by CCI. Legally, the Court has only one decision to make:

should the activities and employees of CCI’s subsidiaries be imputed to the controlling entity CCI,

the publicly-traded face of Charter to the world? Under controlling law, the answer is yes because



1
  Charter Communications, Inc. v. Rockstar Consortium US LP, 1:14-cv-00055, Dkt. No. 1 ¶ 15 (D. Del. Jan. 17,
2014) (emphasis added).
2
 In the Matter of Certain Digital Set-Top Boxes and Systems and Services Including the Same, No. 337-TA-1315,
Response to the Amended Complaint (June 21, 2022).



                                                     1

                                              APPX460
             Case: 23-136         Document: 2-2        Page: 423       Filed: 06/16/2023
                       CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 7 of 36 PageID #: 1514




(aside from the prior admissions) venue discovery has confirmed that in reality there is only one

enterprise. CCI’s subsidiaries have no independent existence—indeed, Charter’s corporate

representative                                                                        Discovery has

revealed:

           All 200+ subsidiaries are limited liability companies (LLCs) with CCI as the sole
            manager. CCI itself set up the LLCs, dictated the details of their formation and their
            operating agreements, and as manager CCI itself runs every detail of the entities’
            operations. See infra 6–8.

           None of the LLCs have their own employees, except a single LLC set up to hold all the
            employment relationships for all of Charter. Every single Charter employee (including
            the Spectrum brand), from the CEO to the technicians and retail workers, is placed in
            this LLC container. CCI itself then “allocates” employees to the various shells, thereby
            directing all the employees of the entire collection of entities. See infra 5–6. Moreover,
            CCI suspects its employees don’t even know which entity they work for. See infra 25.

           CCI signs the contracts for its subsidiaries, including agreements for the sale and lease
            of the Accused Instrumentalities as well as lease agreements for locations in this
            District. See infra 8–9.

           The subsidiaries have no independent officers or directors. All the named officers and
            directors overlap with CCI. See infra 11.

           The subsidiaries do not hold corporate meetings and do not maintain any records of
            their own. All records that may exist are maintained by CCI. See infra 13–14.

           The internal organization of Charter ignores the LLC boundaries: CCI officers lead
            enterprise-wide corporate departments, each of which spans numerous subsidiaries.
            See infra 12–13.

In summary, no individual subsidiary is a complete, functioning business, and CCI has actual

control and authority over the actions of its subsidiaries. There is only one Charter, controlled

entirely by CCI. The artificial subsidiary lines that Charter extols here do not exist in the day-to-

day operation of Charter’s cable and internet services business.

       Naturally, this reality of “One Charter” appears in CCI’s interactions with the public and

government:




                                                  2

                                           APPX461
             Case: 23-136        Document: 2-2          Page: 424       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 8 of 36 PageID #: 1515




          Everywhere except here, CCI is the “Spectrum”-branded enterprise. To investors and
           the SEC, in its annual 10-K, CCI introduces itself as: “We are a leading broadband
           connectivity company and cable operator serving more than 32 million customers in
           41 states through our Spectrum brand.” See infra 14.

          Ditto for its statements on the single national website spanning all territories, operated
           by CCI and branded as Spectrum. On the “About Charter” page of its website, CCI
           states “Charter Communications, Inc. (NASDAQ:CHTR) is a leading broadband
           connectivity company and cable operator serving more than 32 million customers in
           41 states through its Spectrum brand.” See infra 15.

          CCI represents to the general public, to its investors, and to the SEC that it has “93,700
           employees”—not that it is merely a holding company with zero. See infra 15.

          When CCI finds it convenient in interactions with federal agencies, it reveals the single-
           entity nature of its operations—justifying to the FCC the switching and swapping of
           communications licenses among various shells as “pro forma” because CCI is the
           “ultimate controlling entity” of the business. See infra 16-17.

          As noted at the outset, when CCI has sought the relief of the Federal Courts in patent
           matters, it has characterized itself as a provider of cable television and internet services.
           See infra 17–18. And even last summer, CCI admitted to the ITC that it is the actual
           provider of services. See infra 17.

       Taken together, the evidence is compelling that CCI’s subsidiaries are not separate

businesses, but instead are illusory lines sketched on top of the reality of CCI’s nationwide

enterprise. These contrived lines do not exist in CCI’s day-to-day business, but are instead artifices

CCI points to when it helps, and eschews when it hurts. The law recognizes that in such situations

the tangible reality of the operating enterprise controls, not the paper boundaries. This Court has

reached the same conclusion repeatedly, including very recently in Entropic Communications,

LLC v. DirecTV, LLC et al., No. 2:22-cv-75-JRG (E.D. Tex.). Under each of the two established

legal tests—lack of separateness and ratification—venue over CCI is fully proper in this District

without any piercing of the corporate veil, as Charter suggests is necessary.

                                    LEGAL BACKGROUND

       Venue is proper in any district where the defendant has committed acts of infringement

and has a regular and established place of business. See 28 U.S.C. § 1400(b)(2). Specifically, a


                                                  3

                                           APPX462
             Case: 23-136         Document: 2-2         Page: 425       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 9 of 36 PageID #: 1516




“regular and established place of business” must be (1) “a physical place in the district;”

(2) “regular and established;” and (3) “the place of the defendant.” In re Cray, 871 F.3d 1355,

1360 (Fed. Cir. 2017). The Federal Circuit has set forth a number of considerations relevant to

determining if a regular and established place of business is “of the defendant.” Id. at 1363–64.

Those considerations include whether the defendant owns or leases the place, exercises other

attributes of possession or control over the place, conditions employment on an employee’s

continued residence in the district, stores materials at a place in the district so that they can be

distributed or sold from that place, advertises a place for its business, or represents that it has a

place of business in the district. Id. A court may also consider the nature and activity of the alleged

place of business of the defendant in the district in comparison with that of other places of business

of the defendant in other venues. Id. at 1364. These enumerated considerations are not exhaustive

but rather illustrative of the types of information relevant for determining whether a physical place

is “of the defendant.” See id. at 1363–64.

       In the case of affiliated entities, the place of business of one company can be imputed to

another when the two have not maintained corporate separateness or when the defendant has

ratified the location as its own. See Andra Group, LP v. Victoria’s Secret Stores, LLC, 6 F.4th

1283, 1289 (Fed. Cir. 2021). The standard for establishing that two entities lack corporate

separateness is “relaxed” when the theory is not used to impose liability, but merely to establish

jurisdiction or venue. See Sightline Payments, LLC v. Everi Holdings Inc., No. 6:21-cv-1015, 2022

WL 2078215 at *4 (W.D. Tex. June 1, 2022) (appeal filed June 28, 2022) (quoting In re

Commodity Exch., Inc., 213 F. Supp. 3d 631, 681 (S.D.N.Y. 2016)).




                                                  4

                                             APPX463
             Case: 23-136        Document: 2-2         Page: 426       Filed: 06/16/2023
                       CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 10 of 36 PageID #: 1517




                                           ARGUMENT

   1. The activities and employees of the subsidiaries are attributable to CCI.

       There can be no dispute that this Court has venue over certain Charter entities. As Charter

readily acknowledges, there are dozens of Spectrum stores in Texas, including numerous stores in

this District. See Dkt. No. 61 at 13; see also Dkt. No. 61-14 (Exhibit 12 to Charter Motion). Charter

also does not dispute that there are Charter/Spectrum employees conducting business in this

District, i.e. by staffing those stores and responding to service and installation calls at customers’

homes. See Dkt. No. 61 at 4–5. Charter also provides the allegedly infringing products and services

to customers in this District. The only dispute before the Court is whether venue is proper against

CCI—the public-facing, publicly-traded, controller and orchestrator of the enterprise.

           a. The subsidiaries are controlled by CCI with no independent existence.

       The details that follow were unearthed in discovery. CCI saw Entropic’s opposition to the

original version of the present motion before renewing and re-filing it. In the renewed version,

CCI confesses some of the following points. It is notable that none of it was revealed to the Court

in the original CCI motion.

                  i.   The subsidiaries have no employees of their own.

       One subsidiary, Charter Communications, LLC, employs all personnel within the Charter

business. See Exhibit A, Proost Dep. Tr., at 73:20–74:11. Neither CCI nor any of the remaining

subsidiaries have employees of their own. See id.




                                                  5

                                           APPX464
            Case: 23-136        Document: 2-2         Page: 427       Filed: 06/16/2023
                       CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 11 of 36 PageID #: 1518




                ii.    CCI is the manager of each subsidiary.

       All of the Charter subsidiaries, direct and indirect, are limited liability companies (LLCs),

and CCI is designated as the corporate manager of every last one of them. See Exhibit A, Proost

Dep. Tr., at 56:23–57:12; see also Dkt. No. 61 at 7–9. This role is not, as Charter suggests,

ceremonial or incidental.




                                         In addition to the individual operating agreements, CCI

has also put in place a Management Agreement which specifies CCI’s authority and duties as

manager. See Exhibit D, Second Amended and Restated Management Agreement (“Management

Agreement”). Indeed,




       As the manager and ultimate parent, CCI dictates the terms of each subsidiary’s operations

and existence, including writing and executing the formation documents. For example, this is the

signature page of Spectrum Gulf Coast’s operating agreement:




                                                6

                                          APPX465
            Case: 23-136       Document: 2-2        Page: 428      Filed: 06/16/2023
                     CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 12 of 36 PageID #: 1519




Exhibit C, Spectrum Gulf Coast, LLC Operating Agreement, at 12. All internal Charter contracts

that Charter has produced in venue discovery are the same, i.e. one person signs for all Charter

entities. When asked whether this would be true of the operating and management agreements for

all 200+ subsidiaries,



       Charter’s corporate representative further confirmed that CCI dictates the terms of these

agreements, according to how it wants each subsidiary to operate. When asked how the operating

agreements are negotiated, he answered:




Exhibit A, Proost Dep. Tr., at 45:25–46:10; see also 49:13–16




                                               7

                                          APPX466
             Case: 23-136        Document: 2-2         Page: 429       Filed: 06/16/2023
                       CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 13 of 36 PageID #: 1520




                                         Note that even CCI’s representative

                the distinctions between entities that are played up so strongly to this Court are not

in the vocabulary of CCI/Charter’s own designated witness.

                iii.   As manager, CCI executed the lease agreements for Spectrum stores
                       in the District, among other contracts.

       CCI’s control of its subsidiaries is so direct that CCI routinely executes contracts on their

behalf. Most notably, the leases for Spectrum stores in the District, nominally held by Spectrum

Gulf Coast, LLC, were actually negotiated and executed by CCI. As an example, below is the

signature line on the lease for the Spectrum store in Beaumont, Texas:




Exhibit E, Beaumont Store Lease, at 34 (highlighting added for clarity). It is worth noting that this

was intentional—

                                                      and essentially every other Charter subsidiary,

but chose to sign in his capacity as a CCI officer, not in his capacity as an officer of Spectrum Gulf

Coast. This format is mirrored in nearly all of the property leases produced by Charter as part of

venue discovery.

       The same is also true of agreements relating to the Accused Instrumentalities, e.g., CMTS,

cable modem, and set-top box equipment used to deliver the Accused Services. For example,


                                                  8

                                           APPX467
                Case: 23-136      Document: 2-2         Page: 430       Filed: 06/16/2023
                       CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 14 of 36 PageID #: 1521




Charter Communications Operating, LLC entered into a Master Purchase Agreement

                                                                                  See Exhibit Z. That

purchase agreement is signed by CCI, as manager of Charter Communications Operating, LLC.

See id. at 1.




        Furthermore, within the Charter business, equipment is leased by

      to the various operating subsidiaries pursuant to a Master Equipment Lease Agreement. See

Exhibit AA. Several dozen Charter entities are signatories to the lease agreement, but CCI—and

more specifically, the same senior vice president on behalf of CCI—signed on behalf of all of

them. See id. at 15–22.

        Finally, CCI is listed as the custodian of nearly all the technical documents Charter has

produced in this case. This includes, for example, a “Request for Quote” document for one of the

accused set-top boxes (the Worldbox v2.0). See Exhibit AB. Charter has taken the position that

“CCI regularly maintains its corporate records separate from those of its subsidiaries.” See Dkt.

No. 61-3, Declaration of Jennifer Smith, at ¶ 7. Although discovery has called this representation

into question (see infra 13), to the extent it is true, it confirms that the technical documents belong

to CCI. This further demonstrates CCI’s control over the equipment that is used to deliver Charter’s

cable services.




                                                  9

                                           APPX468
            Case: 23-136        Document: 2-2        Page: 431       Filed: 06/16/2023
                      CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 15 of 36 PageID #: 1522




                iv.   No individual subsidiary is a complete, functioning business, but
                      rather each plays a discrete, dependent role within the Spectrum
                      business controlled by CCI.

       No subsidiary operates an independently functioning business. Instead, each subsidiary

plays a specific role in the overall national Spectrum business as designated and orchestrated by

CCI. Charter’s corporate representative testified that the overarching Management Agreement

between CCI and the subsidiaries controls the relationship between the companies,



                             Exhibit A, Proost Dep. Tr., at 71:25–72:6.

       For example, on paper Spectrum Gulf Coast operates retail stores and the “plant” in Texas

(Charter’s term for the equipment used to deliver television and internet services). See Exhibit A,

Proost Dep. Tr., at 70:8–20, 85:6–18.3 Spectrum Gulf Coast cannot service customers or operate

its stores without Charter Communications, LLC’s employees, which are allocated at the direction

of CCI. See Exhibit A, Proost Dep. Tr., at 85:6–18. And, Charter Communications, LLC does not

appear to have any operations or function aside from providing employees to the other subsidiaries.

       Other services, such as VoIP and mobile, are provided by different subsidiaries but are sold

out of the same stores leased by Spectrum Gulf Coast and operated by Charter Communications,

LLC employees. See Exhibit A, Proost Dep. Tr., at 86:13–87:19. Equipment, including the accused

set-top boxes and back-end CMTS equipment,                                                and then

leased to the various subsidiaries.4 See Exhibit B, Boglioli Dep. Tr., at 54:13–55:14, 78:22–79:6.

But tellingly, no money ever changes hands between the entities! Instead, most of the dollars are


3




4




                                                10

                                          APPX469
             Case: 23-136           Document: 2-2        Page: 432       Filed: 06/16/2023
                       CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 16 of 36 PageID #: 1523




kept within a single entity,

                                              Exhibit A, Proost Dep. Tr., at 72:10–73:2. The divisions

are not reality, they are accounting devices.

        Intellectual property rights are also nominally held by separate entities. Trademarks, for

example, including the              brand under which Charter conducts business, are held by a single

entity, Charter Communications Holding Company, LLC. See Exhibit B, Boglioli Dep. Tr., at

93:11–21, 95:7–16; see also Exhibit F, Trademark Electronic Search System (TESS). There are so

many entities, with so many discrete pieces of the business, that Charter’s corporate representative,

who is the Deputy General Counsel in charge of forming and managing the entities, did not know

each one or what they do. See Exhibit A, Proost Dep. Tr., at 27:24–28:7, 66:21–23, 76:2–16.

Indeed, he testified that, although he is an officer with all 200+ subsidiaries, he does not distinguish

between the different entities in his role:




Exhibit A, Proost Dep. Tr., at 30:6–11.

                  v.    The subsidiaries have no independent officers or directors.

        All 200+ subsidiaries have complete overlap of officers and directors with CCI. As

Charter’s corporate representative testified, save for a few exceptions that are not relevant here,

Charter simply copies the same officer list for every new entity that gets created. See Exhibit A,

Proost Dep. Tr., at 42:4–12; see also 69:15–17 (

                               ).



                                                    11

                                              APPX470
              Case: 23-136        Document: 2-2       Page: 433       Filed: 06/16/2023
                        CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 17 of 36 PageID #: 1524




                  vi.   CCI officers lead company-wide corporate departments, each of
                        which spans numerous subsidiaries.

          The individual departments within the Charter business (e.g., Field Operations, Human

Resources, Sales, etc.) are enterprise-wide and are headed by CCI’s officers. See Exhibit G, CCI

Officer List; see also Exhibit B, Boglioli Dep. Tr., at 100:4–8 (confirming accuracy). The entity

lines dissolve when one examines the actual functioning enterprise.

          For example, HR is a unified department slashing across the subsidiaries, headed by CCI

itself.

According to his company bio, as EVP of CCI he “is responsible for all human resources

strategies, policies and practices for more than 93,000 employees” and “oversees all aspects of

HR including recruitment, training and development, HR operations including payroll, HR shared

services and HR systems, as well as compensation and benefits.” See Exhibit I (emphasis added).

When it comes to HR and employee matters, there is “One Charter,” and it is controlled by CCI.

          So too with Field Operations.

                              , and his company bio states that he “oversees the entire Field

Operations organization including Charter’s 11 field regions operating across 41 states;

engineering and construction…; standards and compliance; and human resources for field

operations.” See Exhibit J (emphasis added). Again, the reality of One Charter controlled by CCI

surfaces.

          Discovery confirmed the enterprise-wide authority of these CCI executives. Charter’s

designated corporate witness confirmed that Mr. Marchand, Mr. Monaghan, and the other CCI

department heads have the power to hire, fire, and direct the work of employees within their

respective departments:




                                                12

                                          APPX471
            Case: 23-136         Document: 2-2         Page: 434       Filed: 06/16/2023
                       CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 18 of 36 PageID #: 1525




                                                 The entity lines simply don’t exist for the officers

of CCI when they are performing day-to-day duties across the enterprise.

                vii.   The subsidiaries do not hold corporate meetings and do not maintain
                       their own records.

       In a declaration submitted with Charter’s motion to dismiss, Charter’s VP Associate

General Counsel states that “CCI [1] regularly maintains its corporate records separate from those

of its subsidiaries, including those referenced herein, and [2] conducts meetings of its shareholders

and directors separate from those these [sic] subsidiaries.” Dkt. No. 61-3, Declaration of Jennifer

Smith, at ¶ 7 (numeral labels added for clarity). Examine the sworn statements one at a time. First,

item [1]: Seemingly contrary to the declaration, Charter in fact maintains all corporate records

under a single management system for all subsidiaries. See Exhibit A, Proost Dep. Tr., at 38:23–

39:11. Moreover, as noted above, CCI is listed as the custodian of nearly every technical document

Charter has produced in this case. It is unclear how this can be, given CCI’s stance that other

entities are responsible for the Accused Instrumentalities. See Dkt. No. 61 at 5–6. In any event,

separate maintenance appears to be a stretch for what is actually a unitary document management

system.

       Second, for item [2]: the corporate meetings are not really separate—discovery revealed

that the subsidiaries hold no meetings at all! CCI—head of the whole enterprise—is the only

Charter entity that conducts corporate meetings. See Exhibit A, Proost Dep. Tr., at 61:23–62:5

                                                        . Perhaps there are “simple explanations,”


                                                 13

                                           APPX472
              Case: 23-136        Document: 2-2        Page: 435      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 19 of 36 PageID #: 1526




but the point is that CCI’s declaration, carefully crafted for this motion, should be given little

weight compared to what CCI does and says everywhere else.

          We now turn to what CCI says everywhere else, by first examining what CCI represents to

the public and then what CCI represents to the government.

             b. CCI holds out to the public that Charter is one enterprise and that CCI
                provides the accused products and services

                   i.   CCI tells investors and the public that it provides the accused
                        products and services.

          The very first sentence of CCI’s 10-K annual report states, “[w]e are a leading broadband

connectivity company and cable operator serving more than 32 million customers in 41 states

through our Spectrum brand.” Exhibit K at 1. CCI also tells its investors that it operates in Texas,

stating “[w]e operate in geographically diverse areas which are managed centrally on a

consolidated level.” Id. at 3. This is then followed by a map of the company’s “footprint”:




See id.




                                                 14

                                           APPX473
                 Case: 23-136           Document: 2-2           Page: 436         Filed: 06/16/2023
                            CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 20 of 36 PageID #: 1527




           CCI makes the same representations on its website, https://corporate.charter.com/about-

charter.5 “Charter Communications, Inc. (NASDAQ:CHTR) is a leading broadband connectivity

company and cable operator serving more than 32 million customers in 41 states through its

Spectrum brand.” Exhibit L, About Charter, at 1. Indeed, CCI represents that “Spectrum is a suite

of advanced broadband services offered by Charter Communications, Inc.” Id. at 4 (emphasis

added). The same “About Charter” page also represents that Charter Communications, Inc. itself

has 93,700 employees. See id. at 3.

                      ii.   All Charter operations use the same Spectrum branding policies and
                            conduct nationwide, across all subsidiaries.

           All Charter entities use the same “Spectrum” branding and operate as a single Spectrum

business. See Exhibit B, Boglioli Dep. Tr., at 55:17–19 (“all our branding in our stores is the

Spectrum brand”), 95:12–14 (“The Spectrum brand is used for all customer-facing functions in all

retail stores in all service”); see also Dkt. No. 61 at 4. As addressed above, the Spectrum

trademarks are all held by one Charter entity but used by every subsidiary. See id. at 93:11–21.

Despite that, Charter Communications, Inc. tells the public that Spectrum is “its” brand. See

Exhibit L at 4. In addition,

               . See id. at 52:16–25. CCI’s marketing department also

              . See id. at 96:23–97:18.

                     iii.   All Charter entities use the same website to sell products and services,
                            list store locations, and post job openings.

           Once again, the reality of “One Charter” is confirmed by Charter’s website. There is one a

public-facing website for consumers, www.spectrum.com.6 Through that website, customers can


5
    The website includes a footer that reads “© 2022 Charter Communications Inc.” See Exhibit L at 7.
6
 There’s also a related “corporate.charter.com” website that is essentially an investor-focused website for all of
Charter. It links directly to the Spectrum website, including the careers page of the Spectrum website.



                                                          15

                                                   APPX474
                Case: 23-136           Document: 2-2           Page: 437         Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 21 of 36 PageID #: 1528




log on and sign up for services anywhere Spectrum offers it, find any Spectrum location, and apply

for any posted Spectrum job anywhere in the country—from field technicians to retail to engineers

to in-house counsel. There are no boundaries. Thus, the unitary website provides access to:

(1) stores within this District, see e.g. Exhibit O7 (Spectrum store location in Plano, TX offering

“Spectrum Mobile, Video, Internet and Phone”); (2) products and services offered within this

District, see e.g. Exhibit P8 (showing offers for TV, internet, phone, and mobile services for an

address in Frisco, TX); and (3) available jobs within this District, see e.g. Exhibit Q9 (job posting

for a retail sales specialist in Beaumont, TX).

               c. CCI admits—indeed affirmatively represents—to the federal government the
                  reality that Charter is one enterprise and that CCI provides the accused
                  products and services.

                      i.    To the Federal Communications Commission, CCI emphasizes its
                            control over the single operating enterprise.

           When dealing with the Federal Communications Commission, it is advantageous to Charter

to overlook the subsidiaries. It drastically simplifies shuffling FCC licenses. Thus, CCI tells the

FCC not to worry about the subsidiaries because CCI controls the enterprise. In a recent application

to transfer certain FCC licenses from one CCI subsidiary (Spectrum Northeast, LLC) to another

(Spectrum NLP, LLC), Charter said the proposed assignment was:

           entirely pro forma in nature, as Charter [defined therein as CCI] is currently the
           ultimate controlling entity of the existing Licensees and will remain the ultimate
           controlling entity of Spectrum NLP, LLC after the restructuring occurs.




7
    Available at https://www.spectrum.com/locations/tx/plano/700-alma-dr
8
 Available at https://www.spectrum.com/address/localization?zip=75035&a=13286+Guerin+
Dr&serviceVendorName=twc&v=ORG&omnitureId=4f8456d9-c71e-4429-95c0-92c76957a824
9
 Available at https://jobs.spectrum.com/job/beaumont/retail-sales-specialist-bilingual-spanish-18-00-per-hour-plus-
commission-and-incentives/4673/39929994304



                                                        16

                                                  APPX475
              Case: 23-136            Document: 2-2            Page: 438         Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 22 of 36 PageID #: 1529




Exhibits M & N, “Application for Fixed Satellite Service by Spectrum Northeast, LLC” and

attachment thereto.10 The application goes on to note that the assignment of the FCC licenses “will

enable Charter [again, defined therein as CCI] to continue providing cable and other services under

a simplified entity structure.” Id.

                    ii.   To the International Trade Commission, CCI admits that it is part
                          and parcel of a “broadband connectivity company and cable
                          operator.”

        In June 2022, Charter answered an ITC complaint, In the Matter of Certain Digital Set-

Top Boxes and Systems and Services Including the Same, No. 337-TA-1315, Response to the

Amended Complaint (June 21, 2022). Charter flatly admits the salient point:

        Charter admits that Charter Communications, Inc. (together with its controlled
        subsidiaries) is a broadband connectivity company and cable operator that provides
        television and other services to subscribers under the Spectrum brand and provides
        such services on a variety of platforms, including through digital set-top boxes . . .

Id. ¶ 20. Furthermore, “Charter”—defined as the full collection of entities including at its head

CCI—sells or leases set-top boxes”, ¶ 31, “charges subscribers for lost, damaged, and/or returned

set-top boxes”, ¶ 64, and “sells and provides Spectrum TV services in the United States and, in

certain situations, provides set-top boxes in conjunction with this service”, ¶ 66.11

                   iii.   To other Article III Courts outside this District, Charter pleads that
                          CCI provides cable and communications services.

        Sometimes, Charter affirmatively seeks out the Article III Courts for help. When it does,

CCI files the suit and names itself plaintiff. In such pleadings, CCI confirms that is the service

provider. In 2014 for example, CCI—and not one of its operating subsidiaries—brought an action


10
  Source: https://fcc.report/IBFS/SES-ASG-20200522-00563, portion quoted at https://fcc.report/IBFS/SES-ASG-
20200522-00563/2362560.
11
  The other defined entities in the Answer were Charter Communications Operating, LLC, Charter Communications
Holding Company, LLC, and Spectrum Management Holding Company, LLC. All of these are, on paper, employee-
less “holding” companies like CCI and not direct operating subsidiaries. Yet there Charter admits the reality—all of
these “holding” companies provide the goods and services accused.



                                                        17

                                                 APPX476
             Case: 23-136         Document: 2-2         Page: 439       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 23 of 36 PageID #: 1530




for declaratory judgment of patent non-infringement. CCI plead affirmatively that CCI is “a

provider of cable services in the United States, offering a variety of entertainment, information,

and communications solutions to residential and commercial customers.” See Charter

Communications, Inc. v. Rockstar Consortium US LP, 1:14-cv-00055, Dkt. No. 1 ¶ 15 (D. Del.

Jan. 17, 2014).

       Further down the docket, when fighting a motion to dismiss, CCI described itself as a

“multiple-system operator[]” that “operate[s] . . . cable networks in compliance with common

industry standards.” Id., Dkt. No. 69 at 1. CCI told the District of Delaware that it filed the

declaratory judgment suit (as co-plaintiff with other cable operators) to resolve the controversy

over “liability for infringement for their [plaintiffs’] use of identical Cisco and ARRIS equipment,

provision of common services, and practice of the same industry standards.” Id. at 4–5.

       Likewise, in 2011 CCI pursued the same strategy and made the same allegations. In that

DJ suit, CCI plead that it “is the nation’s fifth largest cable communications company, and, through

its operating subsidiaries, provides video, high speed data, and voice services to subscribers . . . .”

Charter Communications, Inc. v. Bear Creek Techs., Inc., 1:11-cv-0722-GMS, Dkt. No. 1 ¶ 1.

       In summary, CCI has been somewhat duplicitous in dealing with the Article III Courts.

When seeking their favor, CCI not only admits but affirmatively pleads that CCI is the enterprise.

When seeking to dodge the present suit, CCI denies and disavows. The truth is that CCI is

“a provider of cable services in the United States,” exactly as it pleads in the Rockstar case.

   2. Venue is proper over CCI in the Eastern District of Texas.

           a. CCI has committed acts of infringement in this District

       In its initial motion to dismiss (Dkt. No. 18), CCI did not dispute this element. In its

renewed motion, CCI half-heartedly does, denying—in a footnote—that CCI commits acts of




                                                  18

                                           APPX477
             Case: 23-136        Document: 2-2        Page: 440      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 24 of 36 PageID #: 1531




infringement “because it does not own, lease, or distribute the Accused Cable Modem Products

and because it does not provide the Accused Services.” Dkt. No. 61 at n. 9.

        CCI’s argument as to this element fails immediately and automatically because it also

stands accused of indirect infringement. The “acts of infringement required to support venue in a

patent infringement action need not be acts of direct infringement, and venue does lie if the

defendant only induced the infringement or contributed to the infringement in the forum.” Seven

Networks, LLC v. Google LLC, 315 F. Supp. 3d 933, 943 (E.D. Tex. July 19, 2018). Entropic has

alleged that CCI induces infringement that occurs in the District, as well as alleging that CCI

commits acts of direct infringement. See Dkt. No. 53 at ¶¶ 44, 60, 77, 94, 111; Id. at 942 (“Where

a complaint alleges infringement, the allegations satisfy the ‘acts of infringement’ requirement of

§ 1400(b) although the allegations may be contested.”) (quoting Symbology Innovations, LLC v.

Lego Sys., Inc., 282 F. Supp. 3d 916, 928 (E.D. Va. 2017)). Standing alone, that is the end of this

element.

           b. CCI has a regular and established place of business in the District.

        CCI has regular and established places of business in this District, including the Spectrum

stores and other locations from which its technicians are dispatched, all of which are staffed by

Charter/Spectrum employees. This Court recently addressed this issue on similar facts in Entropic

Communications, LLC v. DirecTV, LLC et al., 2:22-cv-75-JRG. That opinion should be dispositive

here.

        In that case, the Dish defendants argued that physical stores leased and operated by their

California subsidiary could not be considered the places of business of the ultimate parent

company. This Court rejected that argument, finding no dispute that Dish-branded products and

services are sold and delivered through Dish-branded retail outlets in the District. Entropic

Communications, LLC v. DirecTV, LLC, 2:22-cv-75, Dkt. No. 109 at 7 (E.D. Tex. Oct. 24, 2022).


                                                19

                                          APPX478
              Case: 23-136            Document: 2-2           Page: 441         Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 25 of 36 PageID #: 1532




The Court then cited various instances of overlap between Dish California and the named Dish

defendants. For example, Dish California used the same logo, the same standard service

agreement, the same headquarters, and shared overlapping leadership with the named defendants,

and technicians employed by Dish California carried business cards identifying their employer as

the parent company. See id. at 8, 9. Finally, the Court noted the various ways in which Dish “is

purposefully holding itself out as providing products and services in California.” Id. at 10. For

example, from the main Dish website, a visitor could find Dish service packages, authorized

retailers of Dish-branded products, and job listings for potential employment with Dish, all within

the District. See id. Therefore, the California stores were both “regular and established” and were

properly attributable to Dish. See id. at 10–11.

        In this case, as addressed in further detail below, the Charter entities all use the same

“Spectrum” branding, as well as the same public-facing website that promotes service packages,

store locations, and employment positions within the District. Charter also uses the same service

agreements nationwide and the subsidiaries share headquarters.12 But when it comes to the

relationship between CCI and the subsidiaries that supposedly operate its locations, the facts are

even stronger. CCI exerts a degree of control over its subsidiaries that far exceeds the evidence

presented in the DirecTV case.




12
   Charter Communications, Inc. was headquartered in St. Louis prior to June 2022 and then began moving their
headquarters to a new complex in Stamford, Connecticut. See https://corporate.charter.com/newsroom/charter-
officially-opens-corporate-headquarters-in-stamford-ct. Spectrum Gulf Coast, LLC’s mailing address is listed as the
St. Louis address, 12405 Powerscourt Drive, St. Louis, MO 63131, with the Texas Comptroller of Public Accounts.
See Exhibit S. It does not appear to be registered to conduct business in Missouri, however. See Exhibit T (showing
no results for “spectrum gulf coast” on the Missouri Secretary of State’s business entity search website).



                                                        20

                                                 APPX479
            Case: 23-136         Document: 2-2         Page: 442       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 26 of 36 PageID #: 1533




                  i.   There are physical Charter/Spectrum locations in the District from
                       which the business of CCI is carried out.

       To satisfy the first Cray factor, the place need only be a “physical, geographical location

in the district from which the business of the defendant is carried out.” In re Cray, 871 F.3d at

1360. Charter’s motion nominally contests this element, but Charter’s real gripe is with the second

and third factors. This is because Charter readily admits that there are physical Charter locations

in this District carrying out Spectrum business. See Dkt. No. 61 at 13; see also Dkt. No. 61-14

(Exhibit 12 to Charter Motion). Charter just believes these locations are not places of business “of”

CCI, which is properly addressed under the other factors. As such, this factor should be undisputed.

       Entropic’s Second Amended Complaint identifies at least four such locations, including a

facility at 1414 Summit Avenue, Plano, Texas 75074 (“Summit Ave. Facility”), as well as retail

outlets located at 700 Alma Drive, Plano, Texas 75075 (“Alma Dr. Store”), 2100 N. Dallas

Parkway, Plano, Texas 75075 (“Dallas Pkwy Store”), and 4255-A Dowlen Road, Beaumont, Texas

77706 (“Dowlen Rd. Store”). See Dkt. No. 53 at ¶¶ 16–17. Charter’s website lists numerous other

store locations in the District as well. https://www.spectrum.com/locations/tx.

       There can be no doubt that these locations are used to carry out CCI’s business of

“offer[ing] a full range of state-of-the-art residential and business services including Spectrum

Internet®, TV, Mobile and Voice.” See Exhibit L at 1. Each location displays the               logo.

See Second Amended Complaint, Dkt. No. 53 at ¶¶ 16–17 (logo appearing on the face of each

building); see also Exhibit U (logo appearing on service vans parked outside the Summit Ave.

Facility). Notably, this is the same logo that appears on the face of Charter’s customer service

agreements used nationwide. See e.g. Exhibit V (Spectrum Residential Internet Services

Agreement). And the physical stores offer the same Spectrum services that are offered on the main




                                                 21

                                           APPX480
             Case: 23-136         Document: 2-2        Page: 443       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 27 of 36 PageID #: 1534




Charter/Spectrum website and that CCI has touted publicly. See Exhibit B, Boglioli Dep. Tr., at

49:9–17; see also Exhibit P.

       These are the same facts that were present in the DirecTV case. There, the Court found that

retail stores in the district bore the Dish name and provided Dish-branded products and services,

even though the stores were leased and operated by a subsidiary. See Entropic Communications,

LLC v. DirecTV, LLC, No. 2:22-cv-75, Dkt. No. 109 at 7 (E.D. Tex. Oct. 24, 2022). The facts here

are indistinguishable.

                 ii.     Charter’s physical locations are regular and established places of
                         business.

       The second Cray factor requires the place of business to be regular and established.

“Regular” means “operat[ing] in a steady, uniform, orderly, and methodical manner.” In re Cray

Inc., 871 F.3d at 1362. The Federal Circuit has also stated the need for “the regular, physical

presence of an employee or other agent of the defendant conducting the defendant’s business at

the alleged place of business.” In re Google, 949 F.3d 1338, 1345 (Fed. Cir. 2020). An agency

relationship involves “(1) the principal’s right to direct or control the agent’s actions, (2) the

manifestation of consent by the principal to the agent that the agent shall act on his behalf, and (3)

the consent by the agent to act.” Id. The Federal Circuit has also emphasized that “[t]he power to

give interim instructions distinguishes principals in agency relationships from those who contract

to receive services provided by persons who are not agents.” Id. at 1345–46.

        In AGIS Software Development LLC v. Google LLC, 2:19-cv-361, 2022 WL 1511757

(E.D. Tex. May 12, 2022), this Court found third party CTDI to be Google’s agent for venue

purposes, based on the fact that Google “directs and controls CTDI’s actions” within the

established place of business (a portion of a CTDI repair facility designated as the Google Secured

Area). See 2022 WL 1511757 at *4. The agreement between Google and CTDI allowed Google to



                                                 22

                                           APPX481
             Case: 23-136         Document: 2-2          Page: 444       Filed: 06/16/2023
                       CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 28 of 36 PageID #: 1535




set the physical specifications for its secured area; restricted that area to Google’s products and

services and limited access to CTDI employees authorized to work on Google’s products; gave

Google authority to move the secured area; and provided instructions for services that CTDI was

required to perform for Google customers. See id. at *5. Notably, however, CTDI was not an

affiliate of Google, and their agreement expressly disclaimed any agency relationship. See id. at

*8.

       Likewise, in the DirecTV case, this Court found this element satisfied based on the fact that

“DISH holds the locations in CDCA out as its own.” See Entropic Communications, LLC v.

DirecTV, LLC, No. 2:22-cv-75, Dkt. No. 109 at 9 (E.D. Tex. Oct. 24, 2022). Specifically, the Court

noted that the Dish logo appears on vans and other property stored at the locations in question. See

id. at 10. As a result, there was “little real dispute that the locations at issue are ‘physical places’

within CDCA and that they are ‘regular and established.’” Id.

       Not only are the same facts present here (see supra 21 (noting that the            logo appears

on vans and the buildings themselves at the locations in question)); there is even more compelling

evidence that the Spectrum stores are “regular and established” and that the employees who operate

these stores are agents of CCI.

       First, CCI, as the manager of Charter Communications, LLC and Spectrum Gulf Coast, has

the right to direct or control the employees’ actions.



                                  This Management Agreement sets forth CCI’s authority and duties

as manager, including

             as well as

                                                                                   See Exhibit D at ¶




                                                  23

                                            APPX482
                 Case: 23-136           Document: 2-2            Page: 445         Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 29 of 36 PageID #: 1536




2(b)(i)–(ii). In addition, Charter’s corporate departments span numerous subsidiaries but are

ultimately headed by CCI officers. See supra 12–13. Charter’s corporate representative testified

that these CCI officers can direct the work of the employees in their respective departments, which

they also represent on their biographies as CCI officers. See supra at 12–13.

           CCI has also manifested its consent that the employees act on the company’s behalf,

including by representing to the public that the employees work for CCI. This can be seen on CCI’s

website and in the company’s annual shareholder report, both of which characterize CCI as a

company with over 93,000 employees. See Exhibit L, About Charter, at 1; Exhibit W, 2021

Shareholder Report, at 9. It is also reflected in the fact that, just as in the DirecTV case, CCI uses

its website to promote Charter/Spectrum job postings around the country, including within the

District. See supra 15–16. Furthermore, because the employees, stores, vans, etc. all use the same

Spectrum branding, there is no way for a customer to distinguish between the different

subsidiaries. CCI even represented in the announcement of its new headquarters in Connecticut

that it has “1,700 employees” now working there, even though all are actually employed by Charter

Communications, LLC. See Exhibit X, Charter Officially Opens New State-of-the-Art Corporate

Headquarters in Stamford, at 1.13

           CCI has even acknowledged workers as its own employees/agents in federal court filings.

One such case involved a wrongful death action, brought by the family of a former employee,

against CCI and one of its managers. Montes v. Charter Communications, Inc., No. 7:21-cv-489

(S.D. Tex.). CCI’s amended motion to dismiss confirms that Ms. Trevino was “an employee of

Charter,” which it had earlier defined as Defendant Charter Communications, Inc. See id., Dkt.




13
     Available at https://corporate.charter.com/newsroom/charter-officially-opens-corporate-headquarters-in-stamford-
ct



                                                          24

                                                   APPX483
                 Case: 23-136         Document: 2-2          Page: 446        Filed: 06/16/2023
                           CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 30 of 36 PageID #: 1537




No. 10 at 1, 2. As for the manager, CCI described him as “Charter’s agent.” See id., NOTICE OF

REMOVAL, Dkt. No. 1 at ¶ 12 (“Plaintiff has failed to plead facts establishing that Anderson14 was

negligent or grossly negligent because, as Charter’s agent, he did not owe Ms. Trevino an

individual duty”) (emphasis added).

           Finally, the Spectrum employees also have consented to act as the agents of CCI. When

people apply to work for Charter, they do so through the single Charter website. When they start

work,                                                                                . See Exhibit Y. The

Agreement does not specify which Charter entity is the counterparty but rather states that it applies

to all disputes

               Exhibit Y at ¶ B(2). Indeed, CCI has repeatedly invoked the agreement by moving to

compel arbitration in various employment litigations. See e.g. Ramirez v. Charter

Communications, Inc., 75 Cal. App. 5th 365, 368 (2022) (affirming order denying CCI’s motion

to compel arbitration); see also Montes v. Charter Communications, Inc., No. 7:21-cv-489,

MOTION TO COMPEL ARBITRATION AND DISMISS, Dkt. No. 8 (S.D. Tex. Jan. 31, 2022).

           When Charter’s corporate representative was asked if employees were even aware of the

distinction between the various Charter entities, he admitted

         See Exhibit A, Proost Dep. Tr., at 74:12–17. This appears accurate. Examples abound on

LinkedIn of employees who represent that they work for “Charter Communications, Inc.” even

though CCI apparently disclaims them and says they instead work for a subsidiary. See, e.g.:

               https://www.linkedin.com/in/michael-hanrahan-3521751/;

               https://www.linkedin.com/in/lisa-domenick-520aba23/;

               https://www.linkedin.com/in/rose-ayuyu-morales-shrm-cp/;


14
     Defendant confirmed that Brian Anderson is employed by Charter Communications, LLC.



                                                       25

                                                APPX484
             Case: 23-136        Document: 2-2         Page: 447       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 31 of 36 PageID #: 1538




          https://www.linkedin.com/in/arshanap/;

          https://www.linkedin.com/in/neilschworm/;

          https://www.linkedin.com/in/steven-widmer-9890ba8/;

          https://www.linkedin.com/in/jim-martin-7228854/.

       And here’s what CCI’s website has to say: “[o]ur diverse, highly skilled employees are our

greatest resource . . . .” Exhibit AC, Our Employees, at 1. In summary, CCI has given their

employees no reason to believe they work for anyone but CCI. And those employees are delegated

the power to carry out Charter’s business.

       CCI thus possesses actual authority as the manager of its subsidiaries and does in fact

dictate the allocation of Spectrum employees to its various subsidiaries, while also controlling

aspects of their work. Furthermore, CCI has represented to the world that, when a customer walks

into a Spectrum store or has a Spectrum technician install equipment at their home, that customer

is interacting with an employee/agent of Charter Communications, Inc. There is no dispute that

these employees are regularly present at locations within the district, so there can be no doubt that

these locations are “regular and established” as required by Cray.

                iii.   The physical locations are the places of CCI.

       In the DirecTV case, this Court found that Dish had adopted and ratified the locations of

its California subsidiary. The Court noted that customers could use the main Dish website to find

Dish service packages and authorized retailers available within the district; prospective employees

could find Dish job listings for positions in the district; and the site prominently advertised Dish’s

“nationwide availability.” See Entropic Communications, LLC v. DirecTV, LLC, No. 2:22-cv-75,

Dkt. No. 109 at 10 (E.D. Tex. Oct. 24, 2022). The Court concluded based on these facts that “DISH

is purposefully holding itself out as providing products and services in California.” Id.




                                                 26

                                           APPX485
              Case: 23-136            Document: 2-2            Page: 448          Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 32 of 36 PageID #: 1539




        All of these facts are present here, and then some. CCI holds itself out as a company that

provides internet and television services across 41 states (supra 14–15), and it advertises retail

locations, service packages, and job listings through a nationwide website (supra 15–16). Indeed,

CCI says it is Spectrum. See Exhibit L, About Charter, at 1, 4. Any visitor to Charter’s website or

stores would have every reason to believe that the Spectrum-branded stores and Spectrum services

are provided by CCI—because that’s exactly what CCI tells the public.15 Compare with AGIS

Software Development LLC v. Google LLC, 2:19-cv-361, 2022 WL 1511757 at *9 (E.D. Tex. May

12, 2022) (finding Google had ratified the CTDI location as its own, based in part on how Google

advertises to its customers that it is the provider of services at the CTDI facility and that “customers

are not even aware of CTDI”).

        Bd. Of Regents v. Medtronic PLC, No. 17-CV-0942, 2018 WL 4179080 (W.D. Tex. July

19, 2018), is inapposite. There, the Court determined that the mere appearance of a generic

“Medtronic” sign on a building was insufficient to support venue against the parent company

Metronic, Inc. See id. at *2. In this case, however, CCI has directly represented to the public that

CCI is the entity that offers broadband services under the                     logo:




15
   CCI argues that it is somehow significant that the stores are branded “Spectrum” instead of “Charter
Communications Inc.” This argument is nonsensical and unsupported by law. Everywhere but here, CCI represents
that Spectrum is its brand-name. The fact that Charter has chosen to do its entire business under a different name is
immaterial because the same principle holds—CCI is placing its brand-name on stores and services nation-wide,
declaring to the public that these stores and services are CCI’s stores and services.



                                                        27

                                                 APPX486
            Case: 23-136        Document: 2-2         Page: 449       Filed: 06/16/2023
                      CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 33 of 36 PageID #: 1540




Exhibit L, About Charter, at 4 (red annotations added).

       Furthermore, there is one additional fact that was not present in the DirecTV case and which

should prove dispositive here: CCI actually negotiated and signed the property leases for Spectrum

stores in this district. See supra 8–9. This is consistent with CCI’s authority as manager, which

includes

                                                                                            In fact,

                                                                                                  e




       Finally, it bears repeating that CCI’s officers are the same individuals who are in charge of

the various subsidiaries. See supra 11. One of these officers even admitted that he does not

distinguish between his roles at the different entities on a day-to-day basis, and he repeatedly

                                                                    See supra 7, 11. As such, CCI


                                                28

                                          APPX487
              Case: 23-136        Document: 2-2         Page: 450        Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 34 of 36 PageID #: 1541




is the entity that is ultimately in control of the activities of its subsidiaries, including the leasing

and maintaining of Spectrum stores within the district. There can be no doubt that CCI is

“purposely holding itself out as providing products and services” in the district, and the Court

should find that it has ratified the Spectrum stores as its own.

                                          CONCLUSION

        Charter asks this Court to hold that a nationwide corporate enterprise can avoid suit and

compartmentalize its liability by setting up wholly-controlled shell LLCs with no employees and

no independent operations. Such a holding could have far-reaching implications and upend patent

venue (and perhaps liability as well), leaving venue choice in the hands of defendants through their

choice of corporate structure. It could even allow a single enterprise of Charter’s size, spanning

“41 states,” to force fragmentation of patent infringement litigation into a multitude of suits around

the country by simply setting up LLCs with no real life of their own. This Court should reject that

invitation.

        The law sensibly rejects Charter’s position—not by piercing the corporate veil as CCI

posits, but by the existing legal tests of lack of separateness and ratification. This case law

recognizes that corporate/LLC shells are not meant to be used as artifices to rig the rules of venue.

Here, venue discovery has confirmed the fact pattern that law exists to address. Charter provides

infringing products and services in the district from regular and established places of business. All

the relevant acts are legally attributable to CCI. Entropic respectfully requests the Court find venue

proper and deny Charter’s motion to dismiss.




                                                  29

                                            APPX488
           Case: 23-136    Document: 2-2   Page: 451      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 35 of 36 PageID #: 1542




Dated: February 21, 2023                   Respectfully submitted,

                                           /s/ James Shimota by permission Wesley Hill
                                           James Shimota - LEAD ATTORNEY
                                           Jason Engel
                                           George Summerfield
                                           K&L GATES LLP
                                           70 W. Madison Street, Suite 3300
                                           Chicago, IL 60602
                                           Jim.shimota@klgates.com
                                           Jason.engel@klgates.com
                                           George.summerfield@klgates.com

                                           Nicholas F. Lenning
                                           K&L GATES LLP
                                           925 Fourth Avenue, Suite 2900
                                           Seattle, WA 98104-1158
                                           nicholas.lenning@klgates.com

                                           Darlene Ghavimi
                                           Matthew Blair
                                           K&L GATES LLP
                                           2801 Via Fortuna
                                           Suite #650
                                           Austin, Texas 78746
                                           Darlene.ghavimi@klgates.com
                                           Matthew.blair@klgates.com

                                           Wesley Hill
                                           Texas Bar No. 24032294
                                           Andrea Fair
                                           Texas Bar No. 24078488
                                           WARD, SMITH & HILL, PLLC
                                           1507 Bill Owens Pkwy
                                           Longview, TX 75604
                                           Tel: (903) 757-6400
                                           wh@wsfirm.com
                                           andrea@wsfirm.com

                                           ATTORNEYS FOR PLAINTIFF
                                           ENTROPIC COMMUNICATIONS, LLC




                                 APPX489
            Case: 23-136        Document: 2-2        Page: 452       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70 Filed 02/28/23 Page 36 of 36 PageID #: 1543




                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed electronically in

compliance with Local Rule CV-5(a) and served via email on all counsel of record on this twenty-

first day of February, 2023.

                                                            /s/ Wesley Hill
                                                            Wesley Hill

             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       This is to certify that the above document should be filed under seal because it contains

material designated by the parties as confidential pursuant to the Protective Order entered in this

case (Dkt. 36).

                                                            /s/ Wesley Hill
                                                            Wesley Hill




                                          APPX490
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-1    Page:  453 Filed:
                                             02/28/23 Page 06/16/2023
                                                           1 of 5 PageID #: 1544




                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

ENTROPIC COMMUNICATIONS, LLC,

            Plaintiff
                                           Civil Action No. 2:22-cv-00125-JRG
      v.
                                           JURY TRIAL DEMANDED
CHARTER COMMUNICATIONS, INC.,

            Defendant.


      DECLARATION OF MATTHEW BLAIR IN SUPPORT OF ENTROPIC’S
      OPPOSITION TO DEFENDANT’S MOTION TO DISMISS THE SECOND
       AMENDED COMPLAINT FOR IMPROPER VENUE PURSUANT TO
                           FRCP 12(b)(3)




                                  APPX491
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-1    Page:  454 Filed:
                                             02/28/23 Page 06/16/2023
                                                           2 of 5 PageID #: 1545




I, Matthew Blair, declare as follows:

         1.    I am over 18 years of age and competent to make this declaration. If called to testify

as a witness, I could and would testify truthfully under oath to each of the statements in the

declaration. I make each statement below based on my personal knowledge or after investigation

of the relevant information.

         2.    I am an attorney at K&L Gates, LLP, counsel of record for Plaintiff, Entropic

Communications, LLC (“Plaintiff” or “Entropic”). I am licensed to practice law in the State of

Texas.

         3.    On January 30, 2023, Defendant Charter Communications, Inc. (“Charter”) moved

to dismiss the second amended complaint on the basis that venue is improper.

         4.    I make this Declaration based on my personal knowledge and in support of

Entropic’s Opposition to Defendants’ Motion to Dismiss the Second Amended Complaint for

Improper Venue Pursuant to FRCP 12(b)(3).

         5.    Attached as Exhibit A is an excerpted copy of the transcript of the deposition of

Thomas Proost, corporate deponent for Charter.

         6.    Attached as Exhibit B is an excerpted copy of the transcript of the deposition of

Daniel Boglioli, corporate deponent for Charter.

         7.    Attached as Exhibit C is a true and correct copy of the Amended and Restated

Limited Liability Company Agreement of Time Warner Cable Texas LLC—which is now

Spectrum Gulf Coast, LLC—produced by Charter in this litigation.

         8.    Attached as Exhibit D is a true and correct copy of the Second Amended and

Restated Management Agreement between Charter Communications Operating, LLC and Charter

Communications, Inc., produced by Charter in this litigation.




                                                 1
                                         APPX492
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-1    Page:  455 Filed:
                                             02/28/23 Page 06/16/2023
                                                           3 of 5 PageID #: 1546




       9.      Attached as Exhibit E is an excerpted copy of the lease agreement for a Spectrum

store located in Beaumont, Texas, produced by Charter in this litigation.

       10.     Attached as Exhibit F is a printout of the United States Patent and Trademark

Office’s Trademark Electronic Search System (TESS), showing the status of the word mark

“SPECTRUM,” accessed on December 29, 2022.

       11.     Attached as Exhibit G is a true and correct copy of the officer/director list for

Charter Communications, Inc., produced by Charter in this litigation.

       12.     Attached as Exhibit H is a true and correct copy of the officer/director list for

Spectrum Gulf Coast, LLC, produced by Charter in this litigation.

       13.     Attached as Exhibit I is a printout of Charter’s website, showing the company

biography of Paul Marchand, available at https://corporate.charter.com/leadership/paul-marchand,

accessed on January 3, 2023.

       14.     Attached as Exhibit J is a printout of Charter’s website, showing the company

biography of Tom Monaghan, available at https://corporate.charter.com/leadership/tom-

monaghan, accessed on January 3, 2023.

       15.     Attached as Exhibit K is an excerpted copy of Charter Communications, Inc.’s

Form 10-K Annual Report for the year ending December 31, 2020.

       16.     Attached as Exhibit L is a printout of Charter’s website available at

https://corporate.charter.com/about-charter, accessed on November 28, 2022.

       17.     Attached as Exhibit M is a true and correct copy of an Application for Fixed

Satellite Service by Spectrum Northeast, LLC, available at https://fcc.report/IBFS/SES-ASG-

20200522-00563, accessed on January 6, 2023.




                                                2
                                        APPX493
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-1    Page:  456 Filed:
                                             02/28/23 Page 06/16/2023
                                                           4 of 5 PageID #: 1547




       18.         Attached as Exhibit N is a true and correct copy of a document identified as

“Attachment Exhibits E and F” to the Application for Fixed Satellite Service (Exhibit M to this

Declaration), available at https://fcc.report/IBFS/SES-ASG-20200522-00563/2362560, accessed

on January 6, 2023.

       19.         Attached as Exhibit O is a printout of Charter’s website, available at

https://www.spectrum.com/locations/tx/plano/700-alma-dr, accessed on December 29, 2022.

       20.         Attached as Exhibit P is a printout of Charter’s website, showing service packages

available    for     the   address   13286     Guerin     Dr.,   Frisco,   TX   75035,    available   at

https://www.spectrum.com/address/localization?zip=75035&a=13286+Guerin+Dr&serviceVend

orName=twc&v=ORG&omnitureId=4f8456d9-c71e-4429-95c0-92c76957a824,                        accessed     on

January 5, 2023.

       21.         Attached as Exhibit Q is a printout of Charter’s website, showing a job posting for

a     Retail          Sales      Specialist      in       Beaumont,        Texas,      available      at

https://jobs.spectrum.com/job/beaumont/retail-sales-specialist-bilingual-spanish-18-00-per-hour-

plus-commission-and-incentives/4673/39929994304, accessed on November 30, 2022.

       22.         Exhibit R is omitted.

       23.         Attached as Exhibit S is a printout of the Texas Office of the Comptroller’s website,

showing the franchise tax account status of Spectrum Gulf Coast, LLC as of January 10, 2023.

       24.         Attached as Exhibit T is a printout of the Missouri Secretary of State’s business

entity search website, showing the search results for “spectrum gulf coast” as of January 10, 2023.

       25.         Attached as Exhibit U is a photograph taken outside a Spectrum facility located at

1414 Summit Avenue, Plano, Texas 75074.




                                                      3
                                              APPX494
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-1    Page:  457 Filed:
                                             02/28/23 Page 06/16/2023
                                                           5 of 5 PageID #: 1548




        26.    Attached as Exhibit V is a true and correct copy of the Spectrum Residential

Internet Services Agreement, produced by Charter in this litigation.

        27.    Attached as Exhibit W is a true and correct copy of Charter Communications, Inc.’s

2021 annual shareholder report.

        28.    Attached as Exhibit X is a printout of a press release entitled “Charter Officially

Opens    New     State-of-the-Art    Corporate   Headquarters    in    Stamford,”   available   at

https://corporate.charter.com/newsroom/charter-officially-opens-corporate-headquarters-in-

stamford-ct, accessed on January 10, 2023.

        29.    Attached as Exhibit Y is a true and correct copy of Charter’s Mutual Arbitration

Agreement, produced by Charter in this litigation.

        30.    Attached as Exhibit Z is a true and correct copy of a Master Purchase Agreement,

produced by Charter in this litigation.

        31.    Attached as Exhibit AA is a true and correct copy of a Master Equipment Lease

Agreement, produced by Charter in this litigation.

        32.    Attached as Exhibit AB is a true and correct copy of a Request for Quote document,

produced by Charter in this litigation.

        33.    Attached as Exhibit AC is a printout of Charter’s website available at

https://policy.charter.com/resource-hub/our-employees, accessed on February 19, 2023.



Executed on February 21, 2023 in Austin, Texas.

                                                            /s/ Matthew Blair
                                                            Matthew Blair




                                                 4
                                          APPX495
 Case: 23-136   Document: 2-2   Page: 458   Filed: 06/16/2023




        CONFIDENTIAL MATERIAL OMITTED




 Exhibit A to Plaintiff’s
Opposition to Defendant’s
    Motion to Dismiss
Dkt. 68-2 (Sealed Version)
Dkt. 70-2 (Public Version)
 FILED UNDER SEAL




          (APPX496-516)
 Case: 23-136   Document: 2-2   Page: 459   Filed: 06/16/2023




        CONFIDENTIAL MATERIAL OMITTED




 Exhibit B to Plaintiff’s
Opposition to Defendant’s
    Motion to Dismiss
Dkt. 68-3 (Sealed Version)
Dkt. 70-2 (Public Version)
 FILED UNDER SEAL




          (APPX517-532)
 Case: 23-136   Document: 2-2   Page: 460   Filed: 06/16/2023




        CONFIDENTIAL MATERIAL OMITTED




 Exhibit C to Plaintiff’s
Opposition to Defendant’s
    Motion to Dismiss
Dkt. 68-4 (Sealed Version)
Dkt. 70-2 (Public Version)
 FILED UNDER SEAL




          (APPX533-548)
 Case: 23-136   Document: 2-2   Page: 461   Filed: 06/16/2023




        CONFIDENTIAL MATERIAL OMITTED




 Exhibit D to Plaintiff’s
Opposition to Defendant’s
    Motion to Dismiss
Dkt. 68-5 (Sealed Version)
Dkt. 70-2 (Public Version)
 FILED UNDER SEAL




          (APPX549-556)
 Case: 23-136   Document: 2-2   Page: 462   Filed: 06/16/2023




        CONFIDENTIAL MATERIAL OMITTED




 Exhibit E to Plaintiff’s
Opposition to Defendant’s
    Motion to Dismiss
Dkt. 68-6 (Sealed Version)
Dkt. 70-2 (Public Version)
 FILED UNDER SEAL




          (APPX557-562)
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-3    Page:  463 Filed:
                                             02/28/23 Page 06/16/2023
                                                           1 of 2 PageID #: 1550




                      EXHIBIT F




                                APPX563
                            Case: 23-136                  Document: 2-2                      Page: 464                    Filed: 06/16/2023

           Case
12/29/22, 12:45 PM 2:22-cv-00125-JRG                    Document 70-3    Filed
                                                                  Trademark       02/28/23
                                                                            Electronic          Page
                                                                                       Search System    2 of 2 PageID #: 1551
                                                                                                     (TESS)

            United States Patent and Trademark Office

            Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Dec 29 04:07:22 EST 2022



 Logout   Please logout when you are done to release system resources allocated for you.

  Start List At:               OR Jump to record:                     Record 8 out of 353

                                                ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark             SPECTRUM
 Goods and Services IC 043. US 100 101. G & S: Arena services, namely, providing general purpose facilities for sports, concerts, conventions and exhibitions. FIRST
                       USE: 20161031. FIRST USE IN COMMERCE: 20161031
 Mark Drawing Code (3) DESIGN PLUS WORDS, LETTERS, AND/OR NUMBERS
 Design Search Code 24.15.04 - Arrowheads
                       24.15.25 - Other arrows
 Serial Number         97214735
 Filing Date           January 12, 2022
 Current Basis         1A
 Original Filing Basis 1A
 Published for
                       October 25, 2022
 Opposition
 Owner                 (APPLICANT) Charter Communications Holding Company, LLC LIMITED LIABILITY COMPANY DELAWARE 12405 Powerscourt Drive St. Louis
                       MISSOURI 63131
 Attorney of Record Ester Martin
 Prior Registrations   4618730;5916316;6311602;AND OTHERS
 Description of Mark Color is not claimed as a feature of the mark. The mark consists of the stylized word SPECTRUM with a triangular arrow to the right of the term
                       SPECTRUM.
 Type of Mark          SERVICE MARK
 Register              PRINCIPAL
 Live/Dead Indicator LIVE




                                                        |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4805:wa0e7i.4.8                                                                                                   1/1

                                                                         APPX564
 Case: 23-136   Document: 2-2   Page: 465   Filed: 06/16/2023




        CONFIDENTIAL MATERIAL OMITTED




 Exhibit G to Plaintiff’s
Opposition to Defendant’s
    Motion to Dismiss
Dkt. 68-8 (Sealed Version)
Dkt. 70-4 (Public Version)
 FILED UNDER SEAL




          (APPX565-566)
 Case: 23-136   Document: 2-2   Page: 466   Filed: 06/16/2023




        CONFIDENTIAL MATERIAL OMITTED




 Exhibit H to Plaintiff’s
Opposition to Defendant’s
    Motion to Dismiss
Dkt. 68-9 (Sealed Version)
Dkt. 70-4 (Public Version)
 FILED UNDER SEAL




          (APPX567-570)
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-5    Page:  467 Filed:
                                             02/28/23 Page 06/16/2023
                                                           1 of 3 PageID #: 1553




                       EXHIBIT I




                                APPX571
                          Case: 23-136               Document: 2-2                  Page: 468             Filed: 06/16/2023

            Case
1/3/23, 10:30 PM 2:22-cv-00125-JRG      Document
                             Paul Marchand:             70-5
                                            Executive Vice       Filed
                                                           President, Chief02/28/23    Page
                                                                            Human Resources     2 of
                                                                                            Officer    3 PageID
                                                                                                    at Charter      #: 1554
                                                                                                               Communications

   SPECTRUM SITES




          < All Leadership                                                                                                                  Prev | Next




                                       Paul Marchand
                                       E X E C U T I V E V I C E P R E S I D E N T, C H I E F H U M A N R E S O U RC E S O F F I C E R

                                       Paul Marchand joined Charter Communications as Executive Vice President, Chief Human Resources Officer in
                                       2015. Mr. Marchand is responsible for all human resources strategies, policies and practices for more than 93,000
                                       employees. He oversees all aspects of HR including recruitment, training and development, HR operations
                                       including payroll, HR shared services and HR systems, as well as compensation and benefits.

                                       Mr. Marchand joined Charter from PepsiCo, most recently serving as Senior Vice President of Human Resources
                                       for the North America Beverages division. Earlier in his career he served in human resources roles at Merrill Lynch,
                                       JP Morgan and the May Department Stores.

                                       He received a B.A. in advertising from Syracuse University and a master’s degree in organizational psychology
                                       from Columbia University.




                                                Download Profile Image




   Company

   Newsroom

   Investors

   Careers

   Community Impact

   Public Policy

   Spectrum Sites




https://corporate.charter.com/leadership/paul-marchand                                                                                                        1/2

                                                                   APPX572
                           Case: 23-136                     Document: 2-2                        Page: 469                   Filed: 06/16/2023

            Case
1/3/23, 10:30 PM 2:22-cv-00125-JRG      Document
                             Paul Marchand:             70-5
                                            Executive Vice       Filed
                                                           President, Chief02/28/23    Page
                                                                            Human Resources     3 of
                                                                                            Officer    3 PageID
                                                                                                    at Charter      #: 1555
                                                                                                               Communications

                                                                        © 2023 Charter Communications Inc.

                  Terms of Service   Your Privacy Rights     California Consumer Privacy Rights    California Consumer Do Not Sell or Share My Personal Information
                                                   California Consumer Limit the Use of My Sensitive Personal Information   Site Map

                                                    If you are a customer with disability, please contact us. If you need assistance




https://corporate.charter.com/leadership/paul-marchand                                                                                                                2/2

                                                                            APPX573
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-6    Page:  470 Filed:
                                             02/28/23 Page 06/16/2023
                                                           1 of 3 PageID #: 1556




                       EXHIBIT J




                                APPX574
                         Case: 23-136                Document: 2-2                  Page: 471              Filed: 06/16/2023

            Case
1/3/23, 10:38 PM 2:22-cv-00125-JRG                 Document 70-6 Filed 02/28/23
                                                                 Tom Monaghan | CharterPage 2 of 3 PageID #: 1557

  SPECTRUM SITES




          < All Leadership                                                                                                                Prev | Next




                                      Tom Monaghan
                                      E X E C U T I V E V I C E P R E S I D E N T, F I E L D O P E R AT I O N S

                                      Tom Monaghan is Executive Vice President, Field Operations at Charter Communications. He oversees the entire
                                      Field Operations organization including Charter’s 11 field regions operating across 41 states; engineering and
                                      construction, including Charter’s previously announced $5 billion Rural Digital Opportunity Fund expansion;
                                      supply chain management; business planning; standards and compliance; and human resources for field
                                      operations.

                                      Mr. Monaghan most recently served as SVP, field Operations and has held multiple operations roles at Charter
                                      since joining the company in 2014. He joined Charter from Cablevision (now Altice), where he served as vice
                                      president of field operations in the Cable and Communications Division. Prior to Cablevision he served as SVP,
                                      Operations at Net2000, and VP, Network Services at Teligent, Inc. He started his career as a field technician at
                                      Verizon in 1987 before being promoted to area operations manager.

                                      He is a member of the Society of Cable Telecommunications Engineers (SCTE) and a graduate of Cable &
                                      Telecommunications Association for Marketing’s (CTAM) Cable Executive Management program at Harvard
                                      Business School.

                                      He received a B.S. in business management and economics from State University of New York (Empire State
                                      College).




                                               Download Profile Image




  Company

  Newsroom

  Investors

  Careers


https://corporate.charter.com/leadership/tom-monaghan                                                                                                    1/2

                                                                  APPX575
                           Case: 23-136                     Document: 2-2                        Page: 472                   Filed: 06/16/2023

            Case
1/3/23, 10:38 PM 2:22-cv-00125-JRG                        Document 70-6 Filed 02/28/23
                                                                        Tom Monaghan | CharterPage 3 of 3 PageID #: 1558

  Community Impact

  Public Policy

  Spectrum Sites




                                                                        © 2023 Charter Communications Inc.

                  Terms of Service   Your Privacy Rights     California Consumer Privacy Rights    California Consumer Do Not Sell or Share My Personal Information
                                                   California Consumer Limit the Use of My Sensitive Personal Information   Site Map

                                                    If you are a customer with disability, please contact us. If you need assistance




https://corporate.charter.com/leadership/tom-monaghan                                                                                                                 2/2

                                                                            APPX576
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-7    Page:  473 Filed:
                                             02/28/23 Page 06/16/2023
                                                           1 of 8 PageID #: 1559




                     EXHIBIT K




                                APPX577
                         Case: 23-136 Document
              Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                               70-7    Page:  474 Filed:
                                                           02/28/23 Page 06/16/2023
                                                                         2 of 8 PageID #: 1560



                                                                                                     UNITED STATES
                                                                            SECURITIES AND EXCHANGE COMMISSION
                                                                                                   Washington, D.C. 20549
                                                                                                      ______________
                                                                                                      FORM 10-K
                                                                                                         ______________
(Mark One)
   ☒     ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                                          For the fiscal year ended December 31, 2020
                                                                                                                   or
    ☐       TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934


                                                                                         For the Transition Period From             to
                                                                                                Commission File Number: 001-33664




                                                                                       Charter Communications, Inc.
                                                                                         (Exact name of registrant as specified in its charter)
                                    Delaware                                                                                                                              XX-XXXXXXX
           (State or other jurisdiction of incorporation or organization)                                                                                     (I.R.S. Employer Identification No.)
                               400 Atlantic Street                                   Stamford            Connecticut                                                         06901
                                          (Address of Principal Executive Offices)                                                                                         (Zip Code)

                                                                                                            (203) 905-7801
                                                                                         (Registrant's telephone number, including area code)
                                                                                     Securities registered pursuant to section 12(b) of the Act:
                             Title of each class                                                          Trading Symbol(s)                                                Name of each exchange on which registered
                  Class A Common Stock $.001 Par Value                                                           CHTR                                                            NASDAQ Global Select Market


                                                                                  Securities registered pursuant to section 12(g) of the Act: None

Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes x No o


Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act. Yes o No x

Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 during the preceding 12 months (or for such shorter period that the
registrant was required to file such reports), and (2) has been subject to such filing requirements for the past 90 days. Yes x No o

Indicate by check mark whether the registrants have submitted electronically every Interactive Data File required to be submitted and posted pursuant to Rule 405 of Regulation S-T (§232.405 of this chapter) during the
preceding 12 months (or for such shorter period that the registrants were required to submit and post such files). Yes x No o

Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, or a smaller reporting company. See definition of “large accelerated filer,” “accelerated filer,” and “smaller
reporting company” in Rule 12b-2 of the Exchange Act.:


Large accelerated filer x Accelerated filer o      Non-accelerated filer o    Smaller reporting company ☐       Emerging growth company ☐

If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or revised financial accounting standards provided pursuant to Section
13(a) of the Exchange Act. o


Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Act). Yes ☐ No x

The aggregate market value of the registrant of outstanding Class A common stock held by non-affiliates of the registrant at June 30, 2020 was approximately $75.8 billion, computed based on the closing sale price as quoted on
the NASDAQ Global Select Market on that date. For purposes of this calculation only,
directors, executive officers and the principal controlling shareholders or entities controlled by such controlling shareholders of the registrant are deemed to be affiliates of the registrant.

There were 193,730,992 shares of Class A common stock outstanding as of December 31, 2020. There was 1 share of Class B common stock outstanding as of the same date.

                                                                                               Documents Incorporated By Reference

Information required by Part III is incorporated by reference from Registrant’s proxy statement or an amendment to this Annual Report on Form 10-K to be filed no later than 120 days after the end of the Registrant's fiscal year
ended December 31, 2020.




                                                                                                  APPX578
                        Case: 23-136 Document
             Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                              70-7    Page:  475 Filed:
                                                          02/28/23 Page 06/16/2023
                                                                        3 of 8 PageID #: 1561




                                                                 CHARTER COMMUNICATIONS, INC.
                                                        FORM 10-K — FOR THE YEAR ENDED DECEMBER 31, 2020

                                                                              TABLE OF CONTENTS

                                                                                                                                                                          Page No.
PART I
Item 1              Business                                                                                                                                                  1
Item 1A             Risk Factors                                                                                                                                              17
Item 1B             Unresolved Staff Comments                                                                                                                                 26
Item 2              Properties                                                                                                                                                26
Item 3              Legal Proceedings                                                                                                                                         26
Item 4              Mine Safety Disclosures                                                                                                                                   26
PART II
Item 5              Market for Registrant's Common Equity, Related Stockholder Matters and Issuer Purchases of Equity Securities                                              27
Item 6              Selected Financial Data                                                                                                                                   28
Item 7              Management's Discussion and Analysis of Financial Condition and Results of Operations                                                                     28
Item 7A             Quantitative and Qualitative Disclosures About Market Risk                                                                                                45
Item 8              Financial Statements and Supplementary Data                                                                                                               46
Item 9              Changes in and Disagreements with Accountants on Accounting and Financial Disclosure                                                                      46
Item 9A             Controls and Procedures                                                                                                                                   46
Item 9B             Other Information                                                                                                                                         47
PART III
Item 10             Directors, Executive Officers and Corporate Governance                                                                                                    48
Item 11             Executive Compensation                                                                                                                                    48
Item 12             Security Ownership of Certain Beneficial Owners and Management and Related Stockholder Matters                                                            48
Item 13             Certain Relationships and Related Transactions, and Director Independence                                                                                 48
Item 14             Principal Accounting Fees and Services                                                                                                                    48
PART IV
Item 15             Exhibits and Financial Statement Schedules                                                                                                                49
Signatures                                                                                                                                                                   S-1
Exhibit Index                                                                                                                                                                E-1


This annual report on Form 10-K is for the year ended December 31, 2020. The United States Securities and Exchange Commission (“SEC”) allows us to “incorporate by reference”
information that we file with the SEC, which means that we can disclose important information to you by referring you directly to those documents. Information incorporated by
reference is considered to be part of this annual report. In addition, information that we file with the SEC in the future will automatically update and supersede information contained
in this annual report. In this annual report, “Charter,” “we,” “us” and “our” refer to Charter Communications, Inc. and its subsidiaries.




                                                                                           i




                                                                             APPX579
                      Case: 23-136 Document
           Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                            70-7    Page:  476 Filed:
                                                        02/28/23 Page 06/16/2023
                                                                      4 of 8 PageID #: 1562


                                            CAUTIONARY STATEMENT REGARDING FORWARD-LOOKING STATEMENTS:

This annual report includes forward-looking statements within the meaning of Section 27A of the Securities Act of 1933, as amended (the “Securities Act”), and Section 21E of the
Securities Exchange Act of 1934, as amended (the “Exchange Act”), regarding, among other things, our plans, strategies and prospects, both business and financial including,
without limitation, the forward-looking statements set forth in Part I. Item 1. under the heading “Business” and in Part II. Item 7. under the heading “Management’s Discussion and
Analysis of Financial Condition and Results of Operations” in this annual report. Although we believe that our plans, intentions and expectations reflected in or suggested by these
forward-looking statements are reasonable, we cannot assure you that we will achieve or realize these plans, intentions or expectations. Forward-looking statements are inherently
subject to risks, uncertainties and assumptions, including, without limitation, the factors described in Part I. Item 1A. under “Risk Factors” and in Part II. Item 7. under the heading,
“Management’s Discussion and Analysis of Financial Condition and Results of Operations” in this annual report. Many of the forward-looking statements contained in this annual
report may be identified by the use of forward-looking words such as “believe,” “expect,” “anticipate,” “should,” “planned,” “will,” “may,” “intend,” “estimated,” “aim,” “on track,”
“target,” “opportunity,” “tentative,” “positioning,” “designed,” “create,” “predict,” “project,” “initiatives,” “seek,” “would,” “could,” “continue,” “ongoing,” “upside,” “increases,”
“focused on” and “potential,” among others. Important factors that could cause actual results to differ materially from the forward-looking statements we make in this annual report
are set forth in this annual report and in other reports or documents that we file from time to time with the SEC, and include, but are not limited to:

•   our ability to sustain and grow revenues and cash flow from operations by offering Internet, video, voice, mobile, advertising and other services to residential and commercial
    customers, to adequately meet the customer experience demands in our service areas and to maintain and grow our customer base, particularly in the face of increasingly
    aggressive competition, the need for innovation and the related capital expenditures;
•   the impact of competition from other market participants, including but not limited to incumbent telephone companies, direct broadcast satellite ("DBS") operators, wireless
    broadband and telephone providers, digital subscriber line (“DSL”) providers, fiber to the home providers and providers of video content over broadband Internet connections;
•   general business conditions, unemployment levels and the level of activity in the housing sector and economic uncertainty or downturn, including the impacts of the Novel
    Coronavirus (“COVID-19”) pandemic to our customers, our vendors and local, state and federal governmental responses to the pandemic;
•   our ability to obtain programming at reasonable prices or to raise prices to offset, in whole or in part, the effects of higher programming costs (including retransmission consents
    and distribution requirements);
•   our ability to develop and deploy new products and technologies including mobile products and any other consumer services and service platforms;
•   any events that disrupt our networks, information systems or properties and impair our operating activities or our reputation;
•   the effects of governmental regulation on our business including costs, disruptions and possible limitations on operating flexibility related to, and our ability to comply with,
    regulatory conditions applicable to us;
•   the ability to hire and retain key personnel;
•   the availability and access, in general, of funds to meet our debt obligations prior to or when they become due and to fund our operations and necessary capital expenditures,
    either through (i) cash on hand, (ii) free cash flow, or (iii) access to the capital or credit markets; and
•   our ability to comply with all covenants in our indentures and credit facilities, any violation of which, if not cured in a timely manner, could trigger a default of our other
    obligations under cross-default provisions.

All forward-looking statements attributable to us or any person acting on our behalf are expressly qualified in their entirety by this cautionary statement. We are under no duty or
obligation to update any of the forward-looking statements after the date of this annual report.



                                                                                           ii




                                                                              APPX580
                      Case: 23-136 Document
           Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                            70-7    Page:  477 Filed:
                                                        02/28/23 Page 06/16/2023
                                                                      5 of 8 PageID #: 1563


                                                                                        PART I

Item 1. Business.

Introduction

We are a leading broadband connectivity company and cable operator serving more than 31 million customers in 41 states through our Spectrum brand. Over an advanced high-
capacity, two-way telecommunications network, we offer a full range of state-of-the-art residential and business services including Spectrum Internet, TV, Mobile and Voice. For
small and medium-sized companies, Spectrum Business® delivers the same suite of broadband products and services coupled with special features and applications to enhance
productivity, while for larger businesses and government entities, Spectrum Enterprise provides highly customized, fiber-based solutions. Spectrum Reach® delivers tailored
advertising and production for the modern media landscape. We also distribute award-winning news coverage, sports and high-quality original programming to our customers
through Spectrum Networks and Spectrum Originals.

Our network, which we own and operate, passes over 53 million households and small and medium businesses ("SMBs") across the United States. Our core strategy is to use our
network to deliver high quality products at competitive prices, combined with outstanding customer service. This strategy, combined with simple, easy to understand pricing and
packaging, is central to our goal of growing our customer base while selling more of our core connectivity services, which include both fixed and mobile Internet, video and voice
services, to each individual customer. We execute this strategy by managing our operations in a consumer-friendly, efficient and cost-effective manner. Our operating strategy
includes insourcing nearly all of our customer care and field operations workforces, which results in higher quality service delivery. While an insourced operating model can increase
the field operations and customer care costs associated with individual service transactions, the higher quality nature of insourced labor service transactions significantly reduces the
volume of service transactions per customer, more than offsetting the higher investment made in each insourced service transaction. As we reduce the number of service transactions
and recurring costs per customer relationship, we continue to provide our customers with products and prices that we believe provide more value than what our competitors offer.
The combination of offering high quality, competitively priced products and outstanding service, allows us to both increase the number of customers we serve over our fully
deployed network, and to increase the number of products we sell to each customer. This combination also reduces the number of service transactions we perform per relationship,
yielding higher customer satisfaction and lower customer churn, resulting in lower costs to acquire and serve customers and greater profitability.

We have enhanced our service operations to allow our customers to (1) more frequently interact with us through our customer website and My Spectrum application, online chat and
social media, (2) have their services installed at the time and in the manner of their own choosing, including self-installation, and (3) receive a variety of video packages on an
increasing number of connected devices including those owned by us and those owned by the customer. By offering our customers growing levels of choices in how they receive and
install their services and how they interact with us, we are driving higher overall levels of customer satisfaction and reducing our operating costs and capital expenditures per
customer relationship. Ultimately, our operating strategy enables us to offer high quality, competitively priced services profitably, while continuing to invest in new products and
services.

The capability and functionality of our network continues to grow in a number of areas, especially with respect to wireless connectivity. Our Internet service offers consumers the
ability to wirelessly connect to our network using WiFi technology. We estimate that approximately 400 million devices are wirelessly connected to our network through WiFi. In
addition, we extend Internet connectivity to our customers beyond the home via our Spectrum Mobile product through our mobile virtual network operator (“MVNO”) reseller
agreement with Verizon Communications Inc. ("Verizon"). In 2020, we purchased 210 Citizens Broadband Radio Service (“CBRS”) Priority Access Licenses (“PALs”) within our
footprint from the Federal Communications Commission ("FCC"). We intend to use the licenses along with unlicensed CBRS spectrum to build our own fifth generation ("5G")
mobile network which we plan to use in combination with our MVNO and WiFi network to enhance our customer’s experience and improve our cost structure.

Our principal executive offices are located at 400 Atlantic Street, Stamford, Connecticut 06901. Our telephone number is (203) 905-7801, and we have a website accessible at
www.corporate.charter.com. Our Annual Reports on Form 10-K, Quarterly Reports on Form 10-Q and Current Reports on Form 8-K, and all amendments thereto, are available on
our website free of charge as soon as reasonably practicable after they have been filed. The information posted on our website is not incorporated into this annual report.




                                                                                           1




                                                                              APPX581
                      Case: 23-136 Document
           Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                            70-7    Page:  478 Filed:
                                                        02/28/23 Page 06/16/2023
                                                                      6 of 8 PageID #: 1564


Corporate Entity Structure

The chart below sets forth our entity structure and that of our direct and indirect subsidiaries. The chart does not include all of our affiliates and subsidiaries and, in some cases, we
have combined separate entities for presentation purposes. The equity ownership percentages shown below are approximations. Indebtedness amounts shown below are principal
amounts as of December 31, 2020. See Note 9 to the accompanying consolidated financial statements contained in “Part II. Item 8. Financial Statements and Supplementary Data,”
which also includes the accreted values of the indebtedness described below.




                                                                                            2




                                                                              APPX582
                       Case: 23-136 Document
            Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                             70-7    Page:  479 Filed:
                                                         02/28/23 Page 06/16/2023
                                                                       7 of 8 PageID #: 1565


Footprint

We operate in geographically diverse areas which are managed centrally on a consolidated level. The map below highlights our footprint as of December 31, 2020.




Products and Services

We offer our customers subscription-based Internet services, video services, and mobile and voice services. Our services are offered to residential and commercial customers on a
subscription basis, with prices and related charges based on the types of service selected, whether the services are sold as a “bundle” or on an individual basis, and based on the
equipment necessary to receive our services. Bundled services are available to substantially all of our passings, and approximately 56% of our residential customers subscribe to a
bundle of services including some combination of our Internet, video and/or voice products.




                                                                                        3




                                                                           APPX583
                      Case: 23-136 Document
           Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                            70-7    Page:  480 Filed:
                                                        02/28/23 Page 06/16/2023
                                                                      8 of 8 PageID #: 1566


                                                                               SIGNATURES

Pursuant to the requirements of Section 13 or 15(d) of the Securities Exchange Act of 1934, Charter Communications, Inc. has duly caused this annual report to be signed on its
behalf by the undersigned, thereunto duly authorized.

                                                                            CHARTER COMMUNICATIONS, INC.,
                                                                            Registrant

                                                                            By:        /s/ Thomas M. Rutledge
                                                                                       Thomas M. Rutledge
                                                                                       Chairman and Chief Executive Officer
                                               Date: January 29, 2021




                                                                                     S-1




                                                                         APPX584
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-8    Page:  481 Filed:
                                             02/28/23 Page 06/16/2023
                                                           1 of 8 PageID #: 1567




                      EXHIBIT L




                                APPX585
                        Case: 23-136                 Document: 2-2                 Page: 482             Filed: 06/16/2023

            Case
11/28/22, 4:18 PM 2:22-cv-00125-JRG                  Document 70-8About
                                                                    Filed    02/28/23
                                                                        | Charter         Page 2 of 8 PageID #: 1568
                                                                                  Communications

   SPECTRUM SITES




   C O M PA N Y


   About Charter
   Charter Communications, Inc. (NASDAQ:CHTR) is a leading broadband connectivity company and cable operator
   serving more than 32 million customers in 41 states through its Spectrum brand. Over an advanced communications
   network, the company offers a full range of state-of-the-art residential and business services including Spectrum
   Internet®, TV, Mobile and Voice.

   For small and medium-sized companies, Spectrum Business® delivers the same suite of broadband products and
   services coupled with special features and applications to enhance productivity, while for larger businesses and
   government entities, Spectrum Enterprise provides highly customized, fiber-based solutions. Spectrum Reach® delivers
   tailored advertising and production for the modern media landscape. The company also distributes award-winning news coverage, sports and high-
   quality original programming to its customers through Spectrum Networks and Spectrum Originals.




   This is Spectrum

            This is Spectrum




https://corporate.charter.com/about-charter                                                                                                         1/7



                                                                  APPX586
                        Case: 23-136          Document: 2-2        Page: 483           Filed: 06/16/2023

            Case
11/28/22, 4:18 PM 2:22-cv-00125-JRG           Document 70-8About
                                                             Filed    02/28/23
                                                                 | Charter         Page 3 of 8 PageID #: 1569
                                                                           Communications




    Charter Facts: By the Numbers



                                $51.7 Billion in Annual Revenue (2021)



                                                  Nearly 500 Million
                                                      IP Devices Connected to Our Network




                                                            55 Million
                                                           Homes Passed in 41 States




                                                     32 Million
                                                     Customer Relationships




https://corporate.charter.com/about-charter                                                                     2/7



                                                      APPX587
                        Case: 23-136          Document: 2-2         Page: 484        Filed: 06/16/2023

            Case
11/28/22, 4:18 PM 2:22-cv-00125-JRG           Document 70-8About
                                                             Filed    02/28/23
                                                                 | Charter         Page 4 of 8 PageID #: 1570
                                                                           Communications




                                                            30.3 Million
                                                         Broadband Internet Customers




                                                             15 Million
                                                                Video Subscribers




                                                     9.2 Million
                                                        Voice Subscribers




                                                     4.7 Million
                                                            Mobile Lines




                                                   Nearly   800,000
                                                  Miles of Network Infrastructure




                                                                 93,700
                                                                    Employees
                                                                (as of 12/31/2021)




https://corporate.charter.com/about-charter                                                                     3/7



                                                      APPX588
                        Case: 23-136              Document: 2-2             Page: 485            Filed: 06/16/2023

            Case
11/28/22, 4:18 PM 2:22-cv-00125-JRG               Document 70-8About
                                                                 Filed    02/28/23
                                                                     | Charter         Page 5 of 8 PageID #: 1571
                                                                               Communications


                                                                    30+
                                                        Spectrum Networks Delivering
                                                             Local News and Sports




                                *Above data sourced from Q3 2022 unless noted




         Spectrum Residential

         Spectrum is a suite of advanced broadband services offered by Charter Communications, Inc. Spectrum provides a full range of
         services, including Spectrum TV®, Spectrum Internet®, Spectrum Voice® and Spectrum Mobile®.




         Spectrum Business

         Spectrum Business® provides small and medium-sized business organizations with scalable, and cost-effective broadband
         communications solutions, including Internet access, business telephone, and TV services. Catering to the unique broadband
         needs of business customers, Spectrum Business® offers competitively priced bundled products over its state-of-the-art, fiber-
         based network, helping businesses across a variety of industries maximize productivity while continuing to grow.




https://corporate.charter.com/about-charter                                                                                               4/7



                                                             APPX589
                        Case: 23-136             Document: 2-2               Page: 486            Filed: 06/16/2023

            Case
11/28/22, 4:18 PM 2:22-cv-00125-JRG              Document 70-8About
                                                                Filed    02/28/23
                                                                    | Charter         Page 6 of 8 PageID #: 1572
                                                                              Communications




         Spectrum Enterprise

         Spectrum Enterprise is a national provider of scalable, fiber technology solutions serving many of America’s largest businesses
         and communications service providers. The broad Spectrum Enterprise portfolio includes networking and managed services
         solutions: Internet access, Ethernet access and networks, Voice and TV solutions, Managed Application, Cloud Infrastructure and
         Managed Hosting Services. Our industry-leading team of experts work closely with clients to achieve greater business success by
         providing solutions designed to meet their evolving needs.




         Spectrum Reach

         Spectrum Reach®, the advertising sales and production services offered by Charter Communications, Inc., provides custom
         solutions for the modern media landscape. Operating in over 30 million households, nearly 100 DMAs, and 41 states, Spectrum
         Reach provides scalable advertising and marketing services utilizing national cable networks, internet advertising, and
         promotional events backed by marketing, research, and award-winning creative services. Driven by insightful research to
         understand consumer behavior, Spectrum Reach develops measurable, data-infused marketing solutions for businesses of all
         sizes.




https://corporate.charter.com/about-charter                                                                                                5/7



                                                              APPX590
                        Case: 23-136              Document: 2-2              Page: 487           Filed: 06/16/2023

            Case
11/28/22, 4:18 PM 2:22-cv-00125-JRG                Document 70-8About
                                                                  Filed    02/28/23
                                                                      | Charter         Page 7 of 8 PageID #: 1573
                                                                                Communications




         Spectrum Networks

         Spectrum Networks is a series of 24/7 news and sports networks owned and operated by Charter Communications, Inc. Spectrum
         Networks carry distinct, comprehensive, and exclusive local programming on more than 30 networks across 12 states.




         Spectrum Originals

         Charter launched Spectrum Originals in 2019, a premier destination for high-quality original series available exclusively to
         Spectrum TV subscribers on-demand and ad-free. This free service launched with the Sony and Bruckheimer-produced drama
         “L.A.’s Finest,” starring Gabrielle Union and Jessica Alba.




                                        C O M PA N Y


                                        Corporate Headquarters
                                        Charter Communications Corporate Headquarters:
                                        400 Washington Blvd.
                                        Stamford, CT 06902


https://corporate.charter.com/about-charter                                                                                             6/7



                                                              APPX591
                         Case: 23-136                       Document: 2-2                         Page: 488                    Filed: 06/16/2023

            Case
11/28/22, 4:18 PM 2:22-cv-00125-JRG                         Document 70-8About
                                                                           Filed    02/28/23
                                                                               | Charter         Page 8 of 8 PageID #: 1574
                                                                                         Communications


                                            For additional information, please contact us




   Company

   Newsroom

   Investors

   Careers

   Community Impact

   Public Policy

   Spectrum Sites




                                                                          © 2022 Charter Communications Inc.

                  Terms of Service   Your Privacy Rights   California Consumer Privacy Rights       California Consumer Do Not Sell My Personal Information   Site Map

                                                      If you are a customer with disability, please contact us. If you need assistance




https://corporate.charter.com/about-charter                                                                                                                              7/7



                                                                            APPX592
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-9    Page:  489 Filed:
                                             02/28/23 Page 06/16/2023
                                                           1 of 4 PageID #: 1575




                    EXHIBIT M




                                APPX593
1/6/23, 11:03Case
              PM        Case: 23-136
                  2:22-cv-00125-JRG
                                 Application Document:
                                           Document        70-9
                                             for Fixed Satellite2-2       Page:
                                                                      Filed
                                                                 Service by        490
                                                                              02/28/23
                                                                            Spectrum        Filed:
                                                                                            Page
                                                                                     Northeast,      06/16/2023
                                                                                                      2 of 4 PageID #: 1576
                                                                                                LLC [SES-ASG-20200522-00563]




                         Application for Fixed Satellite Service by Spectrum
                         Northeast, LLC
                         SES-ASG-20200522-00563 / SESASG2020052200563
                           FCC.report (https://fcc.report/) › / IBFS (/IBFS/) ›
                            / Spectrum Northeast, LLC (/company/Spectrum-Northeast-LLC) ›
                            / SES-ASG (/IBFS/Filing-List/SES-ASG)
                            / SESASG2020052200563 (/IBFS/SES-ASG-20200522-00563) [GOV]            (/IBFS/SES-ASG-20200522-
                           00563/GOV)


                         Applicant requests Commission authority for the pro forma assignment of
                         the subject stations to Spectrum NLP, LLC. There will be no changes in
                         station operations.


                             Filing: SES                                        Satellite Earth Station

                             Filing: ASG                                        Assignment

                             Nature of Service                                  Fixed Satellite Service

                             Last Action                                        Grant of Authority

                             Last Action Date                                   2020-06-19

                             Status                                             Action Taken Public Notice

                             Status Date                                        2020-06-24

                             Date Filed                                         2020-05-22

                             Date Granted                                       2020-06-19

                             Adopted Date                                       2020-06-23

                             Released Date                                      2020-06-23

                             Action Taken Public Notice                         2020-06-24

                             Red Light                                          N

                             Paper/Electronic                                   E

                             Environmental Impact                               N


                            Applicant                                         Contact

                            Spectrum Northeast, LLC                           None
                            12405 Powerscourt Drive                           SAME AS APPLICANT
                            Legal Dept                                        SAME AS APPLICANT
                            St. Louis, MO 63131 USA                           , USA
                            12405 Powerscourt Drive, Legal Dept, St. Louis,
                            MO 63131 USA




https://fcc.report/IBFS/SES-ASG-20200522-00563                    APPX594                                                      1/3
1/6/23, 11:03Case
              PM        Case: 23-136
                  2:22-cv-00125-JRG
                                 Application Document:
                                           Document        70-9
                                             for Fixed Satellite2-2       Page:
                                                                      Filed
                                                                 Service by        491
                                                                              02/28/23
                                                                            Spectrum        Filed:
                                                                                            Page
                                                                                     Northeast,      06/16/2023
                                                                                                      3 of 4 PageID #: 1577
                                                                                                LLC [SES-ASG-20200522-00563]


                               Charter Communi…
                               View larger map




                                          Map data ©2023 Google Report a map error




                            FROM                                                     TO


                            Spectrum Northeast, LLC                                  Spectrum NLP, LLC
                            12405 Powerscourt Drive                                  12405 Powerscourt Drive
                            Legal Dept                                               Legal Dept
                            St. Louis, MO 63131 USA                                  St. Louis, MO 63131 USA
                            12405 Powerscourt Drive, Legal Dept, St. Louis,          LLC, 12405 Powerscourt Drive, Legal Dept, St.
                            MO 63131 USA,                                            Louis, MO 63131 USA,

                               Charter Communi…                                           Charter Com…
                               View larger map                                            View larger map




                                          Map data ©2023 Google Report a map error                   Map data ©2023 Google Report a map error




                         Files
                          Description                             Commentor                                 Type / Date

                                    Grant                IB-FCC                                             DECISION
                            PDFLICENSE.pdf (/IBFS/SES-ASG-20200522-00563/2455037)                           2020-06-19


                         Attachments
                          Attachment                              Type                                      Date

                          Attachment Exhibits E and F
                          (/IBFS/SES-ASG-20200522-
                          00563/2362560)

                          Attachment Application
                          (/IBFS/SES-ASG-20200522-
                          00563/2366561)



https://fcc.report/IBFS/SES-ASG-20200522-00563                         APPX595                                                                  2/3
1/6/23, 11:03Case
              PM        Case: 23-136
                  2:22-cv-00125-JRG
                                 Application Document:
                                           Document        70-9
                                             for Fixed Satellite2-2       Page:
                                                                      Filed
                                                                 Service by        492
                                                                              02/28/23
                                                                            Spectrum        Filed:
                                                                                            Page
                                                                                     Northeast,      06/16/2023
                                                                                                      4 of 4 PageID #: 1578
                                                                                                LLC [SES-ASG-20200522-00563]

                           Attachment HTML
                           (/IBFS/SES-ASG-20200522-
                           00563/2366594)

                           Attachment PDFLICENSE.pdf
                           (/IBFS/SES-ASG-20200522-
                           00563/2455037)


                         Public Notices
                           Service                           Type                       Report No              Date

                           Satellite Earth Station           Action Taken Public        SES02279               2020-06-24
                                                             Notice                     (/IBFS/Public-
                                                                                        Notices/2455205)

                         No License History
                         No Site Information [see Application Filing (/IBFS/SES-ASG-20200522-00563/2366594)]
                         No Site Antenna Info




                       © 2023 FCC.report
                       This site is not affiliated with or endorsed by the FCC




https://fcc.report/IBFS/SES-ASG-20200522-00563                                   APPX596                                       3/3
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-10  Page:  493 Filed:
                                             02/28/23 Page06/16/2023
                                                           1 of 3 PageID #: 1579




                     EXHIBIT N




                                 APPX597
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-10  Page:  494 Filed:
                                             02/28/23 Page06/16/2023
                                                           2 of 3 PageID #: 1580




                                    DESCRIPTION OF TRANSACTION


          The purpose of this application is to request Commission consent to the pro forma

 assignment of the licenses listed on the application. As part of an entity rationalization project,

 Charter Communications, Inc. (“Charter”) is simplifying its existing entity structure and

 consolidating its portfolio of Spectrum Networks local news and regional sports networks. As

 such, FCC licenses currently held by various Charter operating subsidiaries will be assigned to

 Spectrum NLP, LLC. The license assignments requested to accomplish this entity rationalization

 are entirely pro forma in nature, as Charter is currently the ultimate controlling entity of the

 existing Licensees and will remain the ultimate controlling entity of Spectrum NLP, LLC after

 the restructuring occurs. (The attached diagram identifies current Charter Operating

 Entities/Licensees and the Spectrum NLP, LLC entity within the Charter organization.)


          The proposed transaction is in the public interest, as it will enable Charter to continue

 providing cable and other services under a simplified entity structure.




 4821-4163-3649v.1 0108500-000039

                                           APPX598
               Case: 23-136 Document
    Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                     70-10  Page:  495 Filed:
                                                 02/28/23 Page06/16/2023
                                                               3 of 3 PageID #: 1581

                                        CHARTER OWNERSHIP STRUCTURE


                                           Charter Communications, Inc.
                                                    (“Charter”)


                                                           100%                   Advance/Newhouse Partnership
               (Intermediate holding companies)
                                                           Approx.           Approx.       Exchangeable common and preferred units
                                                           88.5%             11.5%         representing approximately 11.5% common
                                                                                           equity interest with voting rights on an if-
                                                                                           converted, if-exchanged basis
                                     Charter Communications Holdings, LLC




               (Intermediate holding companies)




                                               CCO Holdings, LLC




                                    Charter Communications Operating, LLC




                                                                      Time Warner Cable, LLC




    Operating                              Time Warner Cable
                                                                                                Spectrum NLP, LLC
Entities/Licensees                           Enterprises LLC




                                                                                                       100% ownership, except where noted

                                       Operating Entities/Licensees




                                                          APPX599
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-11  Page:  496 Filed:
                                             02/28/23 Page06/16/2023
                                                           1 of 4 PageID #: 1582




                     EXHIBIT O




                                 APPX600
                          Case: 23-136                         Document: 2-2                     Page: 497                       Filed: 06/16/2023

           Case
12/29/22, 11:08 PM 2:22-cv-00125-JRG                     Document700
                                                                  70-11
                                                                     Alma Dr,Filed   02/28/23
                                                                             Plano, TX             Page
                                                                                       – Spectrum Store    2 of 4 PageID #: 1583
                                                                                                        Locations

                                                                                                                                                 My Account         Español

                                                 Residential    Business

                                                 Packages       Internet       TV    Mobile   Home Phone            Contact Us


                                                 Find Best Offers          Street Address                Apt/Unit     Zip Code    GO




                       All Locations | Texas | Plano | 700 Alma Dr



                       Spectrum - 700 Alma Dr
                       Plano, TX 75075


                            (866) 874-2389

                            Open until 8:00 PM today


                        MAKE RESERVATION




                       STORE S ERVI CES                                STO RE HOUR S                                   STO RE LOC ATION
                       Pay My Bill                                     Mon 10:00 AM - 8:00 PM                             700 Alma Dr #1…
                       Mobile Demo In-Store                            Tue        10:00 AM - 8:00 PM                      View larger map

                       Spectrum Mobile, Video, Internet
                                                                       Wed 10:00 AM - 8:00 PM
                       and Phone
                                                                       Thu        10:00 AM - 8:00 PM
                       Self Install Kits
                       Demo Center                                     Fri        10:00 AM - 8:00 PM

                       Equipment Exchange                              Sat        10:00 AM - 6:00 PM                                        Map data ©2022 Report a map error


                       Online Reservations                             Sun        12:00 PM - 5:00 PM                   Get Directions




                                                                       GET IT D ONE O NL IN E

                                                        Help Is Just a Click Away
                                                                      Residential           Mobile       Business




                                 Shop Online                                        Pay Your Bill                             Troubleshooting
                                     Get Started                                    Accounts & Billing                               Find Solutions




                                                                            MY S PEC TRUM APP



https://www.spectrum.com/locations/tx/plano/700-alma-dr                                                                                                                         1/3

                                                                                APPX601
                           Case: 23-136                                 Document: 2-2                                 Page: 498                          Filed: 06/16/2023

           Case
12/29/22, 11:08 PM 2:22-cv-00125-JRG                                Document700
                                                                             70-11
                                                                                Alma Dr,Filed   02/28/23
                                                                                        Plano, TX             Page
                                                                                                  – Spectrum Store    3 of 4 PageID #: 1584
                                                                                                                   Locations


                                                            Manage Your Account From
                                                                   Anywhere

                                                                                                                  Get the Highest-Rated Support
                                                                                                                  App + Advanced Home WiFi
                                                                                                                  Personalize your WiFi network, make
                                                                                                                  payments, get support and more. Use the
                                                                                                                  app with Advanced Home WiFi to manage
                                                                                                                  network access and get parental controls
                                                                                                                  like scheduling specific devices.

                                                                                                                        Set up a Spectrum WiFi Profile to
                                                                                                                        access free out-of-home WiFi
                                                                                                                        Enroll in Auto Pay and paperless billing
                                                                                                                        for added convenience
                                                                                                                        Troubleshoot your equipment and fix
                                                                                                                        service-related issues
                                                                                                                        Browse your current plan, add services
                                                                                                                        and view current offers




                                                                                                                  Learn more about My Spectrum App.




                       Save with
                       Spectrum One
                       Experience seamless connectivity across all your devices.
                       With Spectrum One, get Spectrum Internet®, Advanced
                       WiFi and an Unlimited Mobile line all for one incredible
                       price.

                       Internet + Advanced WiFi + Mobile

                       $
                           49
                                                99/mo
                                                for 12 mos
                                                when bundled




                            SHOP OFFER




                       Offer Details
                       Limited time offer; subject to change; valid to qualified residential customers who have not subscribed to any services within the previous 30 days and have no outstanding
                       obligations to Charter. Services are subject to all applicable service terms and conditions, subject to change. Services not available in all areas. Restrictions apply. INTERNET
                       & ADVANCED WIFI: Standard rates for Internet and Advanced WiFi apply after yr 1. Standard rates apply for Internet, WiFi, and Mobile if Mobile line is not activated within 30
                       days and maintained through the promo period. Equipment may be extra; installation and additional services are extra. 99.9% reliability based on Spectrum network
                       availability; excludes outages caused by external events. See spectrum.com/reliability for details. Speed based on wired connection. Available Internet speeds may vary by
                       address. SPECTRUM MOBILE: Service not available in all areas. Spectrum Internet and Auto Pay required. Other restrictions apply. Visit spectrum.com/mobile/plans for
                       details. UNLIMITED: Standard rates apply after yr 1. Smartwatch does not qualify as a line. Reduced speeds after 20 GB of usage per line. UNLIMITED PLUS: Customer opt-in
                       to Mobile Unlimited Plus will be required to pay additional $10 monthly rate for that service. Smartwatch does not qualify as a line. Reduced speeds after 30 GB of usage per
                       line. To access 5G, 5G compatible phone and 5G service required. Not all 5G capable phones compatible with all 5G service. Speeds may vary. Visit spectrum.com/mobile/5g
                       for details.




                       C O M PA N Y                                    SHOP                                     EXPLORE                                            HELP & SUPP ORT
                       About Charter                                   Bundles & Promotions                     Spectrum Apps                                      Contact Spectrum

                       Careers                                         Internet                                 Spectrum WiFi Access Points                        Manage Account

                       Spectrum Enterprise Solutions                   TV                                       Resource Center                                    Pay Your Bill



https://www.spectrum.com/locations/tx/plano/700-alma-dr                                                                                                                                                    2/3

                                                                                            APPX602
                              Case: 23-136                           Document: 2-2                           Page: 499                    Filed: 06/16/2023

           Case
12/29/22, 11:08 PM 2:22-cv-00125-JRG                             Document700
                                                                          70-11
                                                                             Alma Dr,Filed   02/28/23
                                                                                     Plano, TX             Page
                                                                                               – Spectrum Store    4 of 4 PageID #: 1585
                                                                                                                Locations
                           Spectrum Reach                           Home Phone                         Test Your Internet Speed                   Support

                           Spectrum Community Solutions             Mobile                             Contract Buyout                            Store Locator

                           Spectrum Business                        Spectrum Internet Assist           Channel Lineup                             Upgrade

                           Retailers                                                                   Why Spectrum?                              Move Your Services

                                                                                                       Services In Your Area                      Service Rates & Disclosures

                                                                                                       Rural Broadband Expansion                  Rural Carrier Call Completion

                                                                                                       Affordable Connectivity Program


                           Terms of Service/Policies | Your Privacy Rights | Accessibility | California Privacy Policy | California Consumer Do Not Sell My Personal Information


                           Not all products, pricing, and services are available in all areas. Pricing and actual speeds may vary. Internet speeds based on wired connection.
                           Restrictions apply.

                           ©2022 Charter Communications. All rights reserved.




            Chat With Us




https://www.spectrum.com/locations/tx/plano/700-alma-dr                                                                                                                            3/3

                                                                                      APPX603
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-12  Page:  500 Filed:
                                             02/28/23 Page06/16/2023
                                                           1 of 3 PageID #: 1586




                     EXHIBIT P




                                 APPX604
1/5/23, 2:38 AM                                  Case: 23-136 Document
                                      Case 2:22-cv-00125-JRG   Document: 2-2 Spectrum®
                                                                       70-12    Page:
                                                                               Filed     501
                                                                                      02/28/23
                                                                                       Buy         Filed:
                                                                                           - FeaturedPage06/16/2023
                                                                                                          2 of 3 PageID #: 1587

                                                                                                                                      $0.00/mo
                                                                                                                                  $0.00 initial order total




         Services
         Need help with your order? Call 1-855-839-4246.                                                                       13286 Guerin Dr, 75035



                                                                   SHOW ME OFFERS WITH:


                  TV                                            Internet                                 Home Phone




             Up to 500 Mbps                                                                                           From



                                                                                                                          39
             I NTERNET U LTR A
                                                                                                                      $                   99/mo
                  Turbocharged Internet with NO data caps                                                                                 for 24 mos

                  Complete control over your Spectrum WiFi network with Advanced WiFi                                                       Plan details

                  Eligible for Spectrum One savings. See details

                                                                                                                              ADD OFFER

                                                                                                                                            Plan details




             Up to 1 Gbps                                                                                             From



                                                                                                                          59
             INTERNET GIG
                                                                                                                      $                   99/mo
                  Our fastest Internet with NO data caps for ultimate performance                                                         for 24 mos

                  Complete control over your Spectrum WiFi network with Advanced WiFi                                                       Plan details

                  Eligible for Spectrum One savings. See details

                                                                                                                              ADD OFFER

                                                                                                                                            Plan details




             125+ Channels / Up to 500 Mbps                                                                         From



                                                                                                                        89
             T V SE LEC T + INTERNET U LTR A
                                                                                                                    $                    98/mo
                  Boost Your Speed with Internet Ultra                                                                                   for 24 mos
                                                                                                                                         when bundled
                  View channel lineup                                                                                                       Plan details

                  Eligible for Spectrum One savings. See details

                                                                                                                              ADD OFFER

                                                                                                                                            Plan details




             140+ Channels / Up to 500 Mbps                                                                          From



                                                                                                                         79
             MI PL AN L ATINO + I N T ER N ET U LTR A
                                                                                                                     $                   98/mo
                  Spanish and English language programming with thousands of On Demand choices.                                          for 24 mos
                                                                                                                                         when bundled
                  View channel lineup                                                                                                       Plan details

                  Eligible for Spectrum One savings. See details



https://www.spectrum.com/buy/featured?wcmmode=disabled                     APPX605                                                                            1/2
1/5/23, 2:38 AM                                  Case: 23-136 Document
                                      Case 2:22-cv-00125-JRG   Document: 2-2 Spectrum®
                                                                       70-12    Page:
                                                                               Filed     502
                                                                                      02/28/23
                                                                                       Buy         Filed:
                                                                                           - FeaturedPage06/16/2023
                                                                                                          3 of 3 PageID #: 1588

                                                                                                                                             ADD OFFER

                                                                                                                                                          Plan details




             125+ Channels                                                                                                         From



                                                                                                                                       59
             T V SE LEC T
                                                                                                                                   $                    99/mo
                  Get popular movies,sports and news with thousands of On Demand choices                                                                for 12 mos

                  View channel lineup                                                                                                                     Plan details




                                                                                                                                             ADD OFFER

                                                                                                                                                          Plan details




             140+ Channels                                                                                                         From



                                                                                                                                       39
             MI PL AN L ATINO
                                                                                                                                   $                    99/mo
                  140+ channels with FREE HD including 75+ Spanish channels                                                                             for 12 mos

                  FREE On Demand access                                                                                                                   Plan details

                  Stream anywhere with the spectrum TV® app

                                                                                                                                             ADD OFFER

                                                                                                                                                          Plan details




                                                                                                                                        1.855.839.4246
         Product and Offer Disclaimers | Your Privacy Rights | Policies | Contract Buyout Information | Ratecard | California Privacy Policy | California Consumer
         Do Not Sell or Share My Personal Information | California Consumer Limit the Use of My Sensitive Personal Information

         Not all products, pricing and services are available in all areas. Pricing and actual speeds may vary. Internet speeds based on wired connection, Restrictions
         apply.
         ©2023 Charter Communications, Inc.




                                                                                        Chat With Us




https://www.spectrum.com/buy/featured?wcmmode=disabled                         APPX606                                                                                    2/2
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2 Filed
                                  70-13    Page:  503 Filed:
                                               02/28/23 Page 06/16/2023
                                                             1 of 10 PageID #: 1589




                      EXHIBIT Q




                                  APPX607
                       Case: 23-136                Document: 2-2               Page: 504             Filed: 06/16/2023

          Case
11/30/22, 3:37 PM 2:22-cv-00125-JRG        Document
                              Retail Sales Specialist        70-13
                                                      (Bilingual Spanish)Filed   02/28/23
                                                                          - $18.00 per hour, plus Page   2 of
                                                                                                  commission and10  PageID
                                                                                                                 incentives!     #: 1590
                                                                                                                             at SPECTRUM

  SPEC TRUM SITES 


                        CAREERS

                   About us                                             Opportunities                                   Resources




     RETAIL SALES SPECIALIST (BILINGUAL SPANISH) - $18.00 PER HOUR,
     PLUS COMMISSION AND INCENTIVES!
      Beaumont, Texas

          APPLY NOW




                                                                     JUMP TO     

                                                                      OVERVIEW

                                                                  SUCCESS PROFILE

                                                                  IN-DEPTH DETAILS

                                                                      REWARDS

                                                                  RESPONSIBILITIES

                                                                      LOCATION

                                                                 CONNECT WITH US




    Overview

    Your personality connects you with people and our products and services connect them with each other. In Retail Sales, that’s a
    winning combination! With more than 700 locations across the country and counting, we’re making an impact in our customers’
    lives. If you have a passion for people and technology, our comprehensive training program will help you develop the skills you
    need to grow your sales career. Come grow with us!



https://jobs.spectrum.com/job/beaumont/retail-sales-specialist-bilingual-spanish-18-00-per-hour-plus-commission-and-incentives/4673/39929994304   1/9



                                                               APPX608
                       Case: 23-136                Document: 2-2               Page: 505             Filed: 06/16/2023

          Case
11/30/22, 3:37 PM 2:22-cv-00125-JRG        Document
                              Retail Sales Specialist        70-13
                                                      (Bilingual Spanish)Filed   02/28/23
                                                                          - $18.00 per hour, plus Page   3 of
                                                                                                  commission and10  PageID
                                                                                                                 incentives!     #: 1591
                                                                                                                             at SPECTRUM
       0:42
                                                   We asked Miguel :




                                                 Q     How I became a leader at Spectrum?

                                                          More testimonials here!




                                                                                                             Employee Q&A




       0:16
                                                   We asked Monica:




                                                 Q     What additional perks does Spectrum
                                                       provide? (401K, Tuition Reimbursement,
                                                       Discounted Internet/Cable/Voice)

                                                          More testimonials here!




                                                                                                             Employee Q&A




    Success Profile

                    What makes a successful Spectrum Retail Sales Specialist? Check out the top traits we’re looking for
                                                   and see if you have the right mix.




https://jobs.spectrum.com/job/beaumont/retail-sales-specialist-bilingual-spanish-18-00-per-hour-plus-commission-and-incentives/4673/39929994304   2/9



                                                               APPX609
                       Case: 23-136                Document: 2-2               Page: 506             Filed: 06/16/2023

          Case
11/30/22, 3:37 PM 2:22-cv-00125-JRG        Document
                              Retail Sales Specialist        70-13
                                                      (Bilingual Spanish)Filed   02/28/23
                                                                          - $18.00 per hour, plus Page   4 of
                                                                                                  commission and10  PageID
                                                                                                                 incentives!     #: 1592
                                                                                                                             at SPECTRUM




                                          Competitive                           Organized
                                          Achiever                              Results Driven
                                          Digitally Savvy                       Communicator




                            Day in the Life                                                        How We Prepare You



    To help unlock your potential, we have a comprehensive training program to get you up to speed. Don’t have sales experience? Our team
    will work with you in both the classroom and store to get you comfortable in your new role. If you have experience we will help you fine
    tune your skills so you can soar.



    EARN MORE, FASTER

    Our total compensation package creates opportunities for significant earnings. Our Sales Compensation Allowance Program provides
    minimum guarantee payouts during your first five months.


    COMPREHENSIVE TRAINING

    Work smarter, not harder. With Spectrum you will enjoy paid training on our winning sales techniques, products and services. Our five
    month learning journey involves:

      Virtual classroom training and self study activities

      Ongoing peer-to-peer, leadership mentoring, and skill practice in the Store environment.

      Ongoing product updates to keep you connected and help build your knowledge and skills

    Our ongoing training helps you always be prepared and able to provide the best experience to your customers and maximize sales
    opportunities.

    CAREER ADVANCEMENT

    Looking for a great company with exciting growth opportunities? This is the place to be. Establish yourself as a successful Retail Sales
    Specialist, enjoy the many benefits we have to offer and plan for a long and rewarding career with Spectrum.




https://jobs.spectrum.com/job/beaumont/retail-sales-specialist-bilingual-spanish-18-00-per-hour-plus-commission-and-incentives/4673/39929994304   3/9



                                                               APPX610
                       Case: 23-136                Document: 2-2                Page: 507            Filed: 06/16/2023

          Case
11/30/22, 3:37 PM 2:22-cv-00125-JRG        Document
                              Retail Sales Specialist        70-13
                                                      (Bilingual Spanish)Filed   02/28/23
                                                                          - $18.00 per hour, plus Page   5 of
                                                                                                  commission and10  PageID
                                                                                                                 incentives!     #: 1593
                                                                                                                             at SPECTRUM




    Rewards




                                                                                                  SAVINGS &
                           PAID TRAINING
                                                                                                 RETIREMENT




                                                                                            
    Responsibilities

    Date posted: 11/16/2022
    Requisition Number: 326946BR
    Business unit: Marketing
    Location: Beaumont, Texas
    Area of Interest: Retail, Sales
    Position Type: Full Time


    At A Glance:

         Our specialists earn an hourly base pay of $18.00 along with lucrative commission and incentives for targeted hourly
         earnings of $22.50/hour or $46,800.00 annually. Top performers in this role are earning $58,000.00. You may also qualify for
         free internet, TV, and phone services (restrictions do apply).
         This role is a full-time, entry to mid-level retail sales role, focusing on wireless, TV, and internet products in the
         communications and entertainment technology space. Advancement potential and generous commission opportunities are
         available.
         Our Retail Sales Specialists are organized, digitally savvy communicators with a competitive spirit eager to learn and grow. A
         results-driven achiever comfortable in a busy retail sales environment. Wireless sales experience preferred.

                                                                          ***


    About Us

    Spectrum is America’s fastest-growing TV, internet, and voice provider. Our organization is one filled with a diverse group of
https://jobs.spectrum.com/job/beaumont/retail-sales-specialist-bilingual-spanish-18-00-per-hour-plus-commission-and-incentives/4673/39929994304   4/9



                                                               APPX611
                       Case: 23-136                Document: 2-2                Page: 508            Filed: 06/16/2023

          Case
11/30/22, 3:37 PM 2:22-cv-00125-JRG        Document
                              Retail Sales Specialist        70-13
                                                      (Bilingual Spanish)Filed   02/28/23
                                                                          - $18.00 per hour, plus Page   6 of
                                                                                                  commission and10  PageID
                                                                                                                 incentives!     #: 1594
                                                                                                                             at SPECTRUM
    Spectrum is America s fastest growing TV, internet, and voice provider. Our organization is one filled with a diverse group of
    hardworking people. They’re committed to helping us grow, and we’re committed to growing with them because making sure
    everyone reaches their full potential is a key part of our mission.


    Our extensive training program, competitive base salary, and generous commission structure provides the foundation you
    need to be a successful salesperson. Meeting and exceeding sales goals while delivering service solutions to our customers -
    it’s a win-win.

                                                                          ***



    It’s all about learning and growing

    Whether this is a new road for you or you are an experienced sales professional, the journey is all mapped out. With plenty of
    dedicated peer and leadership support, our fully paid training programs shape new Retail Sales Specialists into quick-thinking
    professionals. We can bring you up to speed on Spectrum’s full line of products – and our competitors’ products – in about a
    month, including telephone, data, wireless, and video services. As products are updated, so are you, so you can pass that
    knowledge on to your customers.


    With a deliberate path to success

    We know that the best people to lead are those who have been down the same road before. Most of our managers started as
    Retail Sales Specialists themselves, proving that career advancement is a very real and achievable goal. Peer-to-peer mentoring
    and regular coaching sessions ensure you feel supported and have everything you need to succeed. Get started at a Fortune 100
    company and see how far you can go.


    The benefits are clear.

    On top of opportunities to advance your career and earn more, Spectrum offers comprehensive benefits, a market-leading
    retirement plan, and other programs to support you and your family at all stages of life.
    See all the ways we invest in you—at work and in life.


    What are our expectations?

          Meet or exceed monthly sales goals, including wireless sales
          Ensure a great customer experience
          Educate and engage customers through product demonstrations
          Be a team player (because we spend way too much time together)
          Know your stuff - maintain strong knowledge of all TV, internet, and wireless products, pricing plans, promotions, and
          service features for Spectrum, as well as our competitors



    What’s required to get started?

          Thrive in a fast-paced team environment
          Read, write and speak the English language to effectively communicate with employees, customers, and suppliers in
          person, on the phone, and by written communications
          Lifting up to 35 lbs.
          Standing for prolonged periods of time
          Wearing a required uniform
          High School Diploma or equivalent
          Bilingual Spanish Preferred



https://jobs.spectrum.com/job/beaumont/retail-sales-specialist-bilingual-spanish-18-00-per-hour-plus-commission-and-incentives/4673/39929994304   5/9



                                                               APPX612
                       Case: 23-136                Document: 2-2               Page: 509             Filed: 06/16/2023

          Case
11/30/22, 3:37 PM 2:22-cv-00125-JRG        Document
                              Retail Sales Specialist        70-13
                                                      (Bilingual Spanish)Filed   02/28/23
                                                                          - $18.00 per hour, plus Page   7 of
                                                                                                  commission and10  PageID
                                                                                                                 incentives!     #: 1595
                                                                                                                             at SPECTRUM
    Preferred Experience

          Sales Experience: 1 - 5 years
          Knowledge of latest technology and devices
          Commissioned sales experience
          Retail sales or wireless sales
          Valid driver’s license



    Get to Know Us Charter Communications is known in the United States by our Spectrum brands, including: Spectrum Internet®,
    TV, Mobile and Voice, Spectrum Networks, Spectrum Enterprise and Spectrum Reach. When you join us, you’re joining a strong
    community of more than 93,000 individuals working together to serve more than 32 million customers in 41 states and keep
    them connected to what matters most. Watch this video to learn more.


    Who You Are Matters Here We’re committed to growing a workforce that reflects our communities, and providing equal
    opportunities for employment and advancement. EOE, including disability/vets. Learn about our inclusive culture.




    READ LESS



         APPLY NOW                         EMAIL JOB



    SHARE THIS JOB




    About Our Location
    Beaumont, Texas



        LEARN MORE




https://jobs.spectrum.com/job/beaumont/retail-sales-specialist-bilingual-spanish-18-00-per-hour-plus-commission-and-incentives/4673/39929994304   6/9



                                                               APPX613
                       Case: 23-136                Document: 2-2               Page: 510             Filed: 06/16/2023

          Case
11/30/22, 3:37 PM 2:22-cv-00125-JRG        Document
                              Retail Sales Specialist        70-13
                                                      (Bilingual Spanish)Filed   02/28/23
                                                                          - $18.00 per hour, plus Page   8 of
                                                                                                  commission and10  PageID
                                                                                                                 incentives!     #: 1596
                                                                                                                             at SPECTRUM



                           RECENTLY VIEWED                                                               RELATED JOBS



                       Retail Sales Specialist (Bilingual Spanish) - $18.00 per hour, plus commission and incentives!
                                                                  Beaumont, Texas




    Sign up for job alerts

    Sign up to receive the latest career opportunities directly to your inbox. All fields marked
    with an asterisk (*) are required.



      First Name *



      Last Name *



      Email *



      Are youNumber
      Phone   a member of the military community?


    Are you a member of the military community?




    Areas of interest
    Enter a location and a category, and click "Add" to create your Job Alert.



      Select category



      Select location



       ADD


      Sales, Beaumont, Texas, United States             Retail, Beaumont, Texas, United States
                                                +




                                                                                                   +




    Resume

     Choose File No file chosen

https://jobs.spectrum.com/job/beaumont/retail-sales-specialist-bilingual-spanish-18-00-per-hour-plus-commission-and-incentives/4673/39929994304   7/9



                                                               APPX614
                       Case: 23-136                Document: 2-2               Page: 511             Filed: 06/16/2023

          Case
11/30/22, 3:37 PM 2:22-cv-00125-JRG        Document
                              Retail Sales Specialist        70-13
                                                      (Bilingual Spanish)Filed   02/28/23
                                                                          - $18.00 per hour, plus Page   9 of
                                                                                                  commission and10  PageID
                                                                                                                 incentives!     #: 1597
                                                                                                                             at SPECTRUM




    Spectrum employee
    Are you currently a Spectrum employee?


           YES

           NO



    By submitting your information, you acknowledge that you have read our privacy policy and
    consent to receive email communication from Spectrum.



          SIGN UP




      Company                                                                                                                                     +

      Newsroom                                                                                                                                    +

      Investors                                                                                                                                   +

      Careers                                                                                                                                     +

      Community Impact                                                                                                                            +

      Spectrum Sites                                                                                                                              +

      Public Policy                                                                                                                               +

                                                             Browse by Business Unit

                         Corporate   Community Solutions      Customer Operations     Field Operations    Network Operations
                     Product & Technology     Sales & Marketing    Spectrum Enterprise    Spectrum Networks      Spectrum Reach




                 Charter Communications is an Equal Employment Opportunity Employer. All qualified applicants will receive
                 consideration for employment without regard to race, color, religion, sex, sexual orientation, gender identity,
                                             national origin, disability or status as a protected veteran.



https://jobs.spectrum.com/job/beaumont/retail-sales-specialist-bilingual-spanish-18-00-per-hour-plus-commission-and-incentives/4673/39929994304       8/9



                                                               APPX615
                       Case: 23-136                Document: 2-2               Page: 512              Filed: 06/16/2023

11/30/22,Case
         3:37 PM2:22-cv-00125-JRG
                            Retail Sales Document          70-13
                                         Specialist (Bilingual       Filed
                                                               Spanish)       02/28/23
                                                                        - $18.00 per hour, plusPage  10 of
                                                                                               commission and10  PageID
                                                                                                             incentives!      #: 1598
                                                                                                                         at SPECTRUM
                       EEO Information - English (PDF)    Información EEO - Español (PDF)     FCC Notices     Your Privacy Rights
                                        Pay Transparency Provision    Accessibility    Spectrum.com     Site Map


                                             Jobs by Category    Jobs by Location     Jobs by Business Unit




https://jobs.spectrum.com/job/beaumont/retail-sales-specialist-bilingual-spanish-18-00-per-hour-plus-commission-and-incentives/4673/39929994304   9/9



                                                                APPX616
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-14  Page:  513 Filed:
                                             02/28/23 Page06/16/2023
                                                           1 of 1 PageID #: 1599




                       EXHIBIT R
                       OMITTED




                                 APPX617
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-15  Page:  514 Filed:
                                             02/28/23 Page06/16/2023
                                                           1 of 2 PageID #: 1600




                     EXHIBIT S




                                 APPX618
              Case: 23-136 Document
   Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                    70-15  Page:  515 Filed:
                                                02/28/23 Page06/16/2023
                                                              2 of 2 PageID #: 1601

                                                                 



                                            Franchise Tax Account Status
                                                      As of : 01/10/2023 13:15:40



            This page is valid for most business transactions but is not sufficient for filings with the Secretary of State



                                          SPECTRUM GULF COAST, LLC
        Texas Taxpayer Number 32048202892
                Mailing Address 12405 POWERSCOURT DR C/O INC TAX DEPT SAINT LOUIS, MO 63131-3673
 Right to Transact Business in ACTIVE
                         Texas
             State of Formation DE
 Effective SOS Registration Date 09/01/2012
        Texas SOS File Number 0801609419
        Registered Agent Name CORPORATION SERVICE COMPANY D/B/A CSC-LAWYERS INCO
Registered Office Street Address 211 E. 7TH STREET SUITE 620 AUSTIN, TX 78701




                                                       APPX619
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-16  Page:  516 Filed:
                                             02/28/23 Page06/16/2023
                                                           1 of 2 PageID #: 1602




                     EXHIBIT T




                                 APPX620
1/10/23, 1:17 PM                                     Case: 23-136 Document
                                          Case 2:22-cv-00125-JRG   Document: 2-2 Missouri
                                                                           70-16    Page:
                                                                                 Filed       517 Filings
                                                                                          02/28/23
                                                                                          Business    Filed:
                                                                                                        Page06/16/2023
                                                                                                             2 of 2 PageID #: 1603




          MY ACCOUNT                             HOME                        SEARCH                    MISC INFO                   UCC FILING                                         Help



                                                                       Search for a Business Entity
                                                                                                                                                                                                        
                                                                                                                                                                                     Required Field

                                                        Exact Match searches should include corporate designations (inc., llc, etc.) and punctuation.

                                                                          We recommend you do not include these for other searches.

                                                                                   Search      Business Name


                                                                                         Search for a Business Entity

                                           Business Name          spectrum gulf coast

                                           Includes names          Starting With                                      Only Active Corporations




                                                                                                                                                           SEARCH




            Search Results as of 1/10/2023 1:15 PM
              Change page:                                                                                                                                        Page 1 of 1, items 0 to 0 of 0.

                                                                                                     Charter                                                        Registered Agent
              Select                    Business Name                              Address           No.          Type                  Status          Created     Name

               No records to display.


              Change page:                                                                                                                                        Page 1 of 1, items 0 to 0 of 0.




                                                                                                                                                                                                    2
                                                                                                                                                 Hey there! I am an A.I.
                                                                                                                                                   chatbot, let's talk.



https://bsd.sos.mo.gov/BusinessEntity/BESearch.aspx?SearchType=0                            APPX621                                                                                                         1/1
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-17  Page:  518 Filed:
                                             02/28/23 Page06/16/2023
                                                           1 of 2 PageID #: 1604




                     EXHIBIT U




                                 APPX622
          Case 2:22-cv-00125-JRG   Document:
                     Case: 23-136 Document 70-17  Page:
                                             2-2 Filed   519 Filed:
                                                       02/28/23 Page06/16/2023
                                                                     2 of 2 PageID #: 1605




APPX623
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2 Filed
                                  70-18    Page:  520 Filed:
                                               02/28/23 Page 06/16/2023
                                                             1 of 11 PageID #: 1606




                      EXHIBIT V




                                  APPX624
         Case        Case: 23-136 Document
           PM 2:22-cv-00125-JRG     Document:  2-2Reskiential
                                           70-18
                                         Spectnan      Page:
                                                    Filed          521Serviogs
                                                              02/28/23
                                                              interne!      Filed:
                                                                             Page    06/16/2023
                                                                                     2 of 11 PageID #: 1607
                                                                               Agregrnent


            Spectrum



   Spectrum Residential Internet Services Agreement
   THESETERMS ANDCONDITIONS OFSERVICE                                               JERINING YOUR USE OF SPECTRUM
   INTERNET SERVICE INCLUDE BINDING
                                                                                GO"ATION PROVISION IN THE
   TERMS AND CONDITIONS    S
                                               FOR
                                                    4

                                                                   TRU    AREITR                       WRICKUINCLUDES            oon
                                                                                          TALSERVICES,
                                                                                          N

   f     FEROF                                                                            OR OPTING OUTOF ARBITRATION,

       “harter Cornmmuniceats                                                                               Lits afilietes and
   subsidiar!
   S           res a                           ovide         the   services set forth nerein                   (Spectrum)        w     “vide

                                                                                                                           sccordance
                                                                         ePVvICe”             out



             a
                                                   "|


   ics Internet                                                                                         atNy
                                                                                                      ARF       ber”) in              Liga hee
   withthese                                            whichterms and con
   Acc enttable Use Policy                                                                                          rate ane
                                                                                                                           <




                                   CALE,the              General Terms and
                                                        “trum Privacy
                                                                                              Con4.

                                                                                              astne
                                                                                         Hich ric




   SUDSCr ber’s      use oF the
   Subscriber nas read ond ag
                                            reed
                                                        vice shall bedeemed acknow
                                                    to the Term:
                                                 vice should imme
                                                                                                               ecgmensthe
                                                                                                                  internet
                                                                                                                               enat
                                                                                                                               Snot aqree to


                          ry Spectrum's           Custo            Yer   Service    at                       terminate the
                           Terms that are intial caor                                           ot defined, will    the
                               minthe other documents referen                                 need abo.      a, The
                                                                                                                      have
                                inding gocument,
   Spectrum regularh                                                                                  sevice, Sueseriber should
   comsult     Spectrum's                                                                                 ums-of-service to be sure
   Subscriber ramains in

   " Equipment: To use the internet Service, Supscriner must meetrumimumcomouter,
   device, in-home network andsystern requirements as identified by Spectrum.




hina wowspectrum oor policies
                                                                   APPX625
                                 facidential-intamel-sernions-aqreamant                                                                          148

                                                                                                                  CHARTER_ENTROPIC00047265
       Case        Case: 23-136 Document
         PM 2:22-cv-00125-JRG     Document:  2-2Reskiential
                                         70-18
                                       Spectnan      Page:
                                                  Filed          522Serviogs
                                                            02/28/23
                                                            interne!      Filed:
                                                                           Page    06/16/2023
                                                                                   3 of 11 PageID #: 1608
                                                                             Agregrnent




                                                                                                         are
                                                                                                     “one   ¢




      etwork Interface: When Spectrum installs
   network interfac:       ecard
                         or adapter providing an Ethernet cor
                                                                                                         inection. Alternatively,
   subscribermay         connect
                          toahs ne networking device


   5. Cable Modem/QtherSpectrum Eo
   From Spectrum or may                  purch            ndu
                                 SH




                                                 jase a       il
                aAet that such             we
        te
   party, provided
            WL}                thirdpart
   Spectrumin accorcance with our DX
              spectrum.com
                     ait
                                                                                               ene




                       enhance the internet Service. Soe
                                                                                    re




                                                                                               sscricomputers,
                                                                                                      ber
                                                                                                                a

                     Sang licensors. Spectrum hereby                                           DS               a nonex
   non
      transte
   system(s} she
                     agile license te instslland use
                       software
                                                   o                                                         device:
                                                                                           with tne Internet Ser
             se   touse &ary                                                                        §   supple
              gent upon          Subse                     other res               ned in
         ms of Service            andtkthe
                                AU Vitis ame      oreach for Subscriber copy, GuDplic te,
                                                                          ental |                                         fo
        e engineer or in any we            ange, temper with cr interfere with any
   software provided SUOSS
         OH             Supsent to                                                   ne
                                               Joon arty termination or expration of the
                                                                                         om,                        em




hina wowspectrum oor policies
                                                               APPX626
                                 facidential-intamel-sernions-aqreamant                                                                 2/48

                                                                                                                    CHARTER_ENTROPIC00047266
       Case        Case: 23-136 Document
         PM 2:22-cv-00125-JRG     Document:  2-2Reskiential
                                         70-18
                                       Spectnan      Page:
                                                  Filed          523Serviogs
                                                            02/28/23
                                                            interne!      Filed:
                                                                           Page    06/16/2023
                                                                                   4 of 11 PageID #: 1609
                                                                             Agregrnent
   Terms
         ven                  fe        tne
                                                                                       stroy
                                                    disconmection of Subse ribe rs Internet Service, this license will
                                   or


                                                                                                                        ofthe
   terminate
                                                                                                                               software that
                                                                                               al                                                          were
                                                                                                              capies




   delivered te
                                              ar Gin HUNG Dy sngand Gereri ng Spectrum that                                 sofware       Subscriber’




                                                                                                                                                                              ut
                                                                                                                                                “rare

   computer syste
   Subscriber owns the                        oy
                                                 re
                                                                    and warrants
                                                                   and associated use/license rights
                                                                                                                                 to


   thereto for the cornputers that are connected tothe Spectrum network.

   5, Security: Subscriber acknor
                                                            wiedges and agrees ew the ‘are




                                                                                                                             a
                                                                                                                                           =
                                                                                                                                      on
                                                                                                                            re                   sin risks shat
                                                                                                                                                             he




                                                                                                                       of Subserib


   wher

   eg uipment use                                                                                                           for icMg       ON      ail
    onfiaur ing ary”                                               rity measures for                                      the internet ser Ace TO


                                                                                                                       re
                                                                                                        ar5
                                                                                                am



                                                                                                               =
                                                        OF SOC
                                                            Nae                                                              |
   SPER, mort Gamage
   Deven’     Coxe Tane Fr                                                                                              valici ems
                                                                                                                            hous




                                                                     va even if Subserib
   technologies, nor does Spectrum warrant that the date or file
   computerviruses or other harmful components. Spectrum nas no responsibility
                         lighilityforithe protections                            bscriber may employ nor for any                                   darn end




                                                                                                                                                                        woe
                                                                                                                                                                   oe


                                                                                                                                                                          wey
                                                                        oY



                                                                                                                                                                        a
   assumes no                                                                                                         1EGES
                         a                                                              ‘shall not permit or enable any use OF
                                                                  ¢
   Subscriber's ALCON
   household,Subse
                          or account
                                    unt                            passwords By any       person not amember of Subscriber's
                                                                                          oF the Internet Service that occurs
                             ber! “account whether byar
                                                                                                    2




   through Subse        5                                                         rey        * Suoscriber’s household or
           aeenpee




   UMeUe norized third party,

                     one: Features, Functionality
   functionality
                                     and Tools:
                                        bo thar
                             DEctrum ofers
                                    temic
                                                A
                                                ally add tional service feature
                                                      “urther sublect to specific terms of
                    hoe LE
                                                  be
                                                   as




                                    ibd

   se and sumectto charges, ony
                                                                                         me




                                               ay
   7, Cookies: Subscriber                       ’s Spectrum e-mail account and support
          es at spectrum.net, provided that Subscrber’sobbrowser 1s confiqured ta accept
    wisbredb
   website      eng           arenortoa caeb                                     bes                                                            ander    arreary




   cookies frarn

                                                                the protection of our
      Marutoring the Internet Service and Privacy: Spectrum takes
                                                        ~




   Subscribers:
   5
                        oe         spect!
                            Spectrum
                             ees that
                                         SEMOUS                         m nas no
                                                                        m
                                                                                          tor
                                                                                              obligation to moniter content; however,
                                                                                        monttor the
                                                                                                   ‘Internet Service Gncluding
   but not imite        dco
                    content and      ubserit
                                           Br baat Poa                           QUE pr ent B
   Service from timeto  time) in accordance with       the Terms                                                       of service,          the AUP and

hina wowspectrum oor policies
                                                                       APPX627
                                        facidential-intamel-sernions-aqreamant
                                                                                                                                           CHARTER_ENTROPIC00047267
        Case        Case: 23-136 Document
          PM 2:22-cv-00125-JRG     Document:  2-2Reskiential
                                          70-18
                                        Spectnan      Page:
                                                   Filed          524Serviogs
                                                             02/28/23
                                                             interne!      Filed:
                                                                            Page    06/16/2023
                                                                                    5 of 11 PageID #: 1610
                                                                              Agregrnent
   Spectrum's Privacy Policy,
   Pot rontent residing o: SO                        ey
                                                                searyere     .
                                                                                 Oye                            ryest               rie        at all    firnes and
   without n Otice to rernove
                                                                                                                      og




                                                                                                                           ctrunm’s possessionvabout
                                                     ioer's use of the Internet                                                      Srwise 3S
                                                                                                                              or
                                                                                                                                 rothe
            Shay tO SATIS Py                                                                                                        Secure
                                                                                                                                   HE            rey OF

                                        on Spect                                                                           privacy, please rever To the
                                                                                 ACH
                                                                 &                     te




   9, Rights Infringement: Subscriber wi                                         MmemetService                                            ve

                                                                                                                       te




                                                                                paterwo7 es
                                                                       Los

                        or otnerwise use
                                                                                                                                   on
                                                          Lae            fat            nee                                  Ria


                                                 int    UR       any
                                                                   EYED


                  cooyrghts, trace secrets or
    ‘his incluces,but is mot limitedto, digitization of
                                           softs
                                                                     FOF “mrusic,
                                                                movies,
                                                                Subscriber
                                                                                      or                                    oFotograche ‘oth
   cOpyr nghted materials or ware.                    rust obtainappropriate suthorization
   From suchother person or entity priorto sending, receiving      or using suchmaterials.
   Subscriber representsand                     varranits
                                           t at Subscriber is and wil be the author and
                   erand/or an authorized
                                                           irespect to any hosted content
                                  repre
                             esents andwarrants that mohosted content violates arwill
                            ght, dornmain name or intelectual property        of a
                                                                                                                                          0
                       snot esponsibility, andSuoscniber assumes Gi risks:
                         ether material isin the public dornsin,  or may        vi                                                 other
    UCA puPOOses.

    spectrum 15 registerec
                                         Digital  MillenniumCapyrigntJ
                                                  athe right to notify Spe
                                                                                                                                          A} Under the
                                                                                                                                        2heve that        4
            trum customer

             a copyrightowner
   notice from
   infringement, Spectrum
                                       resin nowy the >pyrignt
                                                 nged ¢              owner's work(s)

                                                                                                                            in
                                                                                                                               Spect
                                                                                                                              get
                                                                                                                                     o r  copyright
                                                                                                                                                   1receives


                                                                                                                                        ment, Spectrum may
   determine that                         rep‘eat copyriabe mfringer Spectrum learns that
                           subscriberis          a
                                  Hin online copyright infringement         tharvaneoccasion.
                                                                                                   ote




                                        tight suspend
                                                                                                         Neo?
                                                                                                                oot



                                                                                                                       2




                                                                                                         ¢



                                                                                                                       fore                                   uhh




                                                 to                    or terminate                                   ‘ounts of repeat copyright


                                                                                   ae
                                                                                  tto         ary the
                                                                                      terminete
                                                                                       not berespons!                              forthe       returt
              On Spectrum s servers, gee
                                                            j

                          epee:
                                      such as web and                                         nai ser
                                  Be




   stored
                                                                                       on
                                                                                                                                                    om
                                                                                                                                                  Sac
                                           Re




   suspend      ed or terminated.


                                                                  APPX628
hina wowspectrum oor policies facidential-intamel-sernions-aqreamant                                                                                                  410

                                                                                                                                    CHARTER_ENTROPIC00047268
       Case        Case: 23-136 Document
         PM 2:22-cv-00125-JRG     Document:  2-2Reskiential
                                         70-18
                                       Spectnan      Page:
                                                  Filed          525Serviogs
                                                            02/28/23
                                                            interne!      Filed:
                                                                           Page    06/16/2023
                                                                                   6 of 11 PageID #: 1611
                                                                             Agregrnent

                                                               of Liability,
                                                     Lirnitation




                                             ryre
                                               ict




                                                         ets    we
                                                                                                       CPE      Tor
                                                                         Dy
                                                                           gee                       PAY
                                              Ate, GPG G                               OF
                                                                                            arn   ware software




                                                               PUL       PLAST   OES
                            S, OF   Warr                APY          ere          re




hina wowspectrum oor policies
                                                               APPX629
                                facidential-intamel-sernions-aqreamant
                                                                                                            CHARTER_ENTROPIC00047269
         Case        Case: 23-136 Document
           PM 2:22-cv-00125-JRG     Document:  2-2Reskiential
                                           70-18
                                         Spectnan      Page:
                                                    Filed          526Serviogs
                                                              02/28/23
                                                              interne!      Filed:
                                                                             Page    06/16/2023
                                                                                     7 of 11 PageID #: 1612
                                                                               Agregrnent
                                                                   at



                                                                         Spectrum de
                    Lee,
                    PAB




                                                                                                                                          uct
                                                                                                                                           ban hes OR




   eguiL
   these Terms of

                                              Spact e ur n
                                                                                                          SO


                                          on,
                                                                                                    Naw    Sad
                                                                                                          sat




                                                           she                                        not be fa
                              geqragation interruption
              ef                                                                ;

                        And                om
                                                ET




   to furnisn, or the                                                                    oF, any services,
                                ep    ey                                                       om     2         Saris
                                                      or

   content, gent anFO any                                                           or
                                                                                                                                                        spectrum
                                                               reonitor screen burn-in, monitor or screenwear,
                                                                              yare    Gamage, regardiass of cause,
                                                      tO ead San! fa  lury to any perSON Sis
                                                                         FO
                                                                       See
                                                                                    ar
                                                                                    Reet INI

                                                                 TE            are, WITINg OF
                                                                  Be                                                                                               we
                                                           oF equipment
                                                                              ete

                                                     rerroval                                                                                                  oO




                                                                                       that Spectrum
                                                                                                   owns any and all
                                                                                         re@ciauTgeet ok:ma
                                                                                                   Such                                ak
                                                                                                                                   gee Aha
                                                                                                                                Promos
                                                                                                                                CORES
                                                                                                                                          mailbo
                                                                                           fe
                                                                                      content
                                                                                                     ofeg,               emals attachn ents,ete)
                                                                                                                                §, at
   be destroyed, Spectrum may alsa mit
                                                                             the     number
                                                                                          a   ina specific
                                                                                                                 ne




   peri
                                        ipscriber doesnat eccess 4
                                            ined by Spectrum from time to
                                                                                               Spectrum
                                                                           rnallbox for an extender
                                                                               Spectrum may lock                                                             the
   mailbox ang orohib
    Me                                                                                                                  tine,




                                     if          DOX From receiving new em                         umn the
hina wowspectrum oor policies facidential-intamel-sernions-aqreamant
                                                                       APPX630
                                                                                                                                                                        810

                                                                                                                                         CHARTER_ENTROPIC00047270
       Case        Case: 23-136 Document
         PM 2:22-cv-00125-JRG     Document:  2-2Reskiential
                                         70-18
                                       Spectnan      Page:
                                                  Filed          527Serviogs
                                                            02/28/23
                                                            interne!      Filed:
                                                                           Page    06/16/2023
                                                                                   8 of 11 PageID #: 1613
                                                                             Agregrnent
   mailbox, ineuaing                                           &
                       sub-accounts associated with the mailbox.
   understands thetupon discan  any                        necting
                                     from Spectrum’s internet service, Sp                                                          ubscriber
   SUSHENG     the
               account            ecanteants ofthe mailba


                                                                    ctrumbe       respansib:              end Spectrum
                                                                  sectronic mail for any period of time. Spectrum also
                                                                  storage linmts.
        Network Secunty           and Management: Subscriber
              may      ftom.    any source,inclucing,without
                                                           |)
          ,as it deems neces ary TO secure ts network and/or eum nate s

   teke ot other         Inits
                     actions,          ssos discretion,
                                             to manage or protect its
                                                                    nets




                                                                                                  sy
                                                                                     OL
                                       ribers as identiniec




                                                                                                                        ist
                                                                                                                 Lo
   take          actio with without


                                                                                                                      iD
                                                                                                       “ye
           these <                        n fice, Insitue               Soec




                                                                                                  it



                                                                                                         rat
                              o
   sole discretion that subscriber may harm the
   nerformance:     ofthe        internet
                                   service for other users or where Subser
                                                                                  Spectrum
                                                                network or cisr mere
                                                                                   istransmitting
                                                                                                                                       Der
                                                software: opectrum
   Oris          wiseconnected with  what               considers in its soe discretion to be spam
   orother
          otner    Cious COE or  +          Subscriber agrees that Spectrum isentitied to
   damages       i
                            gs transmitting ar isothery      connected with spar or other
   rmrialic us “‘ocle                        r agrees Spec
                                                                                    vise
                                  twere. Subserie
                if
    owsvever actual           dan
                                es cannot be
                                   i



                                     oft    COS           $55         reasonably:          siculste
                                      srutted from or otherwise                                              ¢




                                         Spectrum WIFE Spectrum WIFI supported by the Spectrurn
                                                                    gee
                                                               Re




                                    “(Spectrum Router") is a service availableeta certansSuBSCribers
                                           to the Spectrumint      Service
                                          ess
                                                                                                                  wy
                                                Us




                                                                                                                 OY

                                  twor kK ancl beyvand the Sut        residen                                                      7




   configurationsfor the Home Ne
                                     ed  a feeconsistent w:
                                                comes                     pecans
                                                                         then-current prachces. The
                                                                  programmeddwith
                                                             Ework,Subser
                                                                                                                                               ti




                                                                                  Der ait
   configurations on th
   maintaining the defau t             Spectrum
                                        config: tation
                                                      ageé Rou
                                                             Mana                 ter                                 ectrum recommends
                                                                                                                      does not                 guarantee the
   Secu   writy of the SSpectrurMan
   service via the Nore
                                                      x.   sged
                                                              Spectrum
                                                                       and
                                                                  Router          Subscriber's connection te the internet
                                                                             WiFi accessed beyond the Rome Network may
   be subiect to additions           iconditions imposed by
                                                                                                                              pective then party
   whose network the Subscriber may access. Spectrum |
          mance of the internet Service to the extent access
                                                                                                                                                      speed
                                                                                                                                                      SOL
                                                                                                                                                                  mo
                                                                                                                                                                 CY


   party  network, Subscriber ur
                                                     “derste  oaned pee
                                                                      us ey                                                                    ars Ley
           cepts    oatbbe                                den and
   hor the security             me Network
                                          te                                      Ede
                                                                                                                                                   inorder to
                                                                                             be

        tbe                                                               mony                                                          sted            ofexye
                         oF                     must enable                 rid                                               om           etion

hina wowspectrum oor policies
                                                                     APPX631
                                 facidential-intamel-sernions-aqreamant
                                                                                                                                   CHARTER_ENTROPIC00047271
         Case        Case: 23-136 Document
           PM 2:22-cv-00125-JRG     Document:  2-2Reskiential
                                           70-18
                                         Spectnan      Page:
                                                    Filed          528Serviogs
                                                              02/28/23
                                                              interne!      Filed:
                                                                             Page    06/16/2023
                                                                                     9 of 11 PageID #: 1614
                                                                               Agregrnent
                                                                 ons.      Spectrum reserves the right to srecanvigure the
                                           butea wire: smvernet access point                 8 Spectrum
                                            rne Network. Anyuse of bandwidth from such


                                             sha
                                                 Heyaot be          sidered To be use by theSubscriber
                                                                                         consi
   for any purp              ber        have the right to disabie           such SpectrumWiFi Hotspot,
                                                             security
                                                       i




   andshallnot               ible for the              0ith WiF; Motspot, The Spectrum Maneged
   Routerwillc              maintain            information regarding access to
                                                       certain




   home |                    nformatio            include bur not be limited
   device name,           2      type,
                                applications and
   informationwill beused by Spectrum
                                                                cols, cormections,
                                                                                Prone
                                                                                                                     a




                                                                                                                          nd ipport
                                             £                  tne                                ,as well
                                                                                                               ‘the|
                                                                                      vide



   es tor Spectrurn’s internal
    "ob
                  gee Boe
   SUDSCMDSr BCRNOWIEGRS
                   any
                                     ree
                                     agrees
                                            business anchpe
                                                                srcina the uses
                                                                   3


                                                                         AN
                                                                                      qternetService.
                                                 that Soectrum shal have access to the network
                                                   we
                                                 ord
                                                            degre                ye
                                                                                                 we

                                                                                                 ~

                                                                                                sa


   name and                                                                Spe
                                                       sctrum nee Router inorder to provide
                                    aS, clrum reserves theright to mepany nen wor
                          di
              end
   suppert
   name and      pvassword{for th                         d             inorder    safeguard Interne
                                                                                             Router
                                                                                                               to




    oF   otectthe twork, otrier
                     ne                      users of                                                                    Subscriber
                                                                                                                         ment,

                                                                                                      When Suoscriber carmpletes
   registration for the Internet Service, Subscriber must estaglish an identity byselecting a
   username and passsword to be used                             by    S
                                                                                               to access tne
                                                                                                               Internet Servi
                        efor maintainingsubscriber
                                                                                                                                 Ace
   Subscriber
              responsible that Subscriber is
                   is                    the
                                                                                         resp
                                                                                                          OF
                                                                                                                                 Subscriber's
                                       vord
                                           nas




                                                 or name cr                5   userns
                                           that anyone who does Use
                                                 3h to theinternet
                                                                   Service, does so in accordance with the
                                                                                                               ya ble meesures
                                                       armel Service is notused by                        anoth     er without Subscriber's




   "8. Supscriber shall be responsipie  forprocuringand installing patches, any and anti-
   virus and firewall so"Lwere/ hardware and opersting system patches,               or
         lements that may be necessary for () the protectionand maximumfunctionality of
                                                                                                                          o-dates,
   Subsenber’s           computer andr
                                 related equiormentand (i) the crotection of Spectrum's
   network and other subscribers, Forpuroases of clarificetion, Soectrurm            disclauns                              herreby
                              anc liability
                                          for                           any
                                                     damages that may arise from Subscriber's
                                ibuity




                         installthe aforermentionec security software and /or nardware,



hina wowspectrum oor policies
                                                                  APPX632
                                 facidential-intamel-sernions-aqreamant                                                                         B48

                                                                                                                     CHARTER_ENTROPIC00047272
      Case        Case: 23-136 Document
        PM 2:22-cv-00125-JRG     Document:
                                        70-18 2-2Reskiential
                                        Spectnan      Page:
                                                  Filed           529Serviogs
                                                           02/28/23
                                                             interne!      Filed:
                                                                           Page     06/16/2023
                                                                                   10
                                                                              Agregrnentof 11 PageID #: 1615
                            Spectrum may, nite sme discretion, reange, MOG
                           Terms of Ser                                  Sr ectrum may not

                                                fee
                                                                               ectrum'swebs ‘te
                                                                              ne                  at
                                                                                                  2




                                   OIC
                                          neste              OFSer vic
                                           me            ~

                                                                         Ce




                                                                                                      stiaimnmedately
                 tre Subscriber's scceptance of                           an

                                                                                     nadifics
   not agree to any modification of the
   cease using     |internet Service anc
                    the                                                                                  terminating the
                                                                                                            compliance

                                                                                                w.spectrum.com, under
                                                                                                 lat govern tne
                                                                                                     any agent ar
                                     wd
                                          eT
                   Chive   ofSSpectrun
                           internetSer




hina wowspectrum oor policies
                                                              APPX633
                                facidential-intamel-sernions-aqreamant
                                                                                                      CHARTER_ENTROPIC00047273
       Case        Case: 23-136 Document
         PM 2:22-cv-00125-JRG     Document:
                                         70-18 2-2Reskiential
                                         Spectnan      Page:
                                                   Filed           530Serviogs
                                                            02/28/23
                                                              interne!      Filed:
                                                                            Page     06/16/2023
                                                                                    11
                                                                               Agregrnentof 11 PageID #: 1616




                                                             APPX634
hina wow spectrumoor policies facidential-intamel-sernions-aqreamant                                            1OH1G

                                                                                     CHARTER_ENTROPIC00047274
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2 Filed
                                  70-19    Page:  531 Filed:
                                               02/28/23 Page 06/16/2023
                                                             1 of 13 PageID #: 1617




                      EXHIBIT W




                                  APPX635
          Case: 23-136     Document: 2-2    Page: 532   Filed: 06/16/2023

  Case 2:22-cv-00125-JRG Document 70-19 Filed 02/28/23 Page 2 of 13 PageID #: 1618




2021 ANNUAL REPORT




                                  APPX636
             Case: 23-136     Document: 2-2     Page: 533   Filed: 06/16/2023

   Case 2:22-cv-00125-JRG Document 70-19 Filed 02/28/23 Page 3 of 13 PageID #: 1619




Charter is driving innovation and growing economies,
in communities large and small, from cities to farmland,
coast to coast . We’re breaking down barriers to
connectivity, helping to close the digital divide,
expanding our network into lower density rural areas and
providing more speed to more homes and businesses
across the country.




                                      APPX637
        Case: 23-136     Document: 2-2    Page: 534   Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70-19 Filed 02/28/23 Page 4 of 13 PageID #: 1620




                                                           CHARTER COMMUNICATIONS   1




                                APPX638
             Case: 23-136       Document: 2-2      Page: 535   Filed: 06/16/2023

   Case 2:22-cv-00125-JRG Document 70-19 Filed 02/28/23 Page 5 of 13 PageID #: 1621




From 2017-2021 alone, we’ve invested over $40 billion
in infrastructure and technology. Our network, nearly
800,000 miles long, spanning 41 states, delivers 1 Gig
speeds across our entire footprint. And, with our path
to 10G in place, our network is poised to power the
future. Our technology will revolutionize the way
consumers manage their digital lives.




                                        APPX639
        Case: 23-136     Document: 2-2                  Page: 536   Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70-19 Filed 02/28/23 Page 6 of 13 PageID #: 1622




                                                                                                       ••                  1       I        1
                                                                                                           •
                                                                                                           ,'.',','
                                                                                                               •
                                                                                                                       •


                                                                                                                           I
                                                                                                                                   'I


                                                                                                                                    f           •II
                                                                                                                                                    .·.· . ,' '
                                                                                   f               I           I           I        t       I       I       Io              I



                                                                                                                               I:
                                                                                               f                                        I       I       I               1


                                                                                       I•: I,·, t                                       f o •       •,:•,•,•,I
                                                                               I           t           I           1           1            t       O       1
                                                                                       I           I•:                                  I       I       I




                                                                        CHARTER COMMUNICATIONS:                                                                                      .. '.,    3
                                                                                                                                                            ' .,.
                                                                                                                                                                    o   • I

                                                                                                                                                                            ..   o   ~ o   •




                                   • .•,/,, ,1 '' ,·'


                                APPX640
             Case: 23-136      Document: 2-2      Page: 537      Filed: 06/16/2023

   Case 2:22-cv-00125-JRG Document 70-19 Filed 02/28/23 Page 7 of 13 PageID #: 1623




As a leading broadband connectivity company, we provide
our customers with superior products that stay ahead of
technology advances. We stand behind our full-range of
state-of-the art residential, business and enterprise services
with a commitment to quality and innovation to better serve
each and every one of our customers.




                                       APPX641
           Case: 23-136            Document: 2-2            Page: 538         Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70-19 Filed 02/28/23 Page 8 of 13 PageID #: 1624




  We’re providing access to more speed in more places      With a U.S.-based workforce, over 93,000 strong,
  coast to coast. That means 1 Gig speeds across our       we work to ensure all of our customers have the
  entire footprint along with starting speeds at 200       support they need to get the most out of their
                                                           Spectrum services including bilingual call centers
  Internet and Mobile to provide a better, and seamless,   and a new Disability Support Team launched in 2021.
  experience for our customers.




  Advanced Home WiFi provides more control over            Our strength is founded on saving customers money
  a customer’s wireless network than ever before.          while providing faster speeds to meet growing data
  It’s now available to nearly all Spectrum Internet®      consumption demand. We consistently deliver a
  customers, delivering security, reliability and the      better customer experience based on speed, security
  fastest speeds to every corner of the home.              and reliability.




                                                                                    CHARTER COMMUNICATIONS       5




                                              APPX642
        Case: 23-136    Document: 2-2     Page: 539   Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70-19 Filed 02/28/23 Page 9 of 13 PageID #: 1625




                                APPX643
                              Case: 23-136       Document: 2-2                     Page: 540           Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70-19 Filed 02/28/23 Page 10 of 13 PageID #: 1626




  DEAR SHAREHOLDERS:

  We continued to execute well in 2021, with strong customer and financial growth.

   For the full year 2021, we added 940,000 new customer relationships and over 1.2 million net new Internet
  customers. We also grew our mobile lines by 1.2 million in 2021, despite an operating environment that remains
   unusual. The market effects of COVID-19 have not yet passed and market churn remains historically low, which has
   muted selling and disconnect activity and reduced customer transaction costs.

  We generated strong financial growth in 2021, growing full year revenue and Adjusted EBITDA1 by 7.5% and 11.4%,
   respectively. And net income attributable to Charter shareholders increased by 44% to $4.7 billion and free cash
  flow 1 grew by 23% year-over-year to $8.7 billion.

  As we look forward to the rest of 2022, we remain focused on several strategic priorities and goals, including,
                Driving customer growth and penetration,
                Developing our products and network,
                Expanding and digitizing our customer self-service and self-care capabilities, and
                Executing our rural construction initiative.

  Fundamental to our success is the delivery of products and services that are superior to what our competitors
  can offer. Delivering more speed to our Internet customers remains a key area of focus. In order to increase the
  capacity of our network for next generation products and services, we have developed a multi-faceted approach
  to our network evolution. That approach is comprised of a number of technologies that will deliver bi-directional
   multi-gigabit Internet speeds with the lowest latency, at the lowest cost and time to deploy. In 2022, we will begin a
   number of projects to deploy capacity enhancements in our service areas, which will allow us to comfortably offer
   symmetrical gigabit speeds and multi-gigabit speeds in the downstream.



   REVENUE                                                ADJUSTED EBITDA1                                         RESIDENTIAL &
   (IN MILLIONS)                                          (IN MILLIONS)                                            SMALL AND MEDIUM
                                                                                                                   BUSINESS CUSTOMERS
                                                                                                                   (IN THOUSANDS)


                                          +7%                                                +11%                                                   +3%
                                                                                                                                          32,069
                                                                                                                                31,130
                                $51,682




                                                                                   $20,630




                                                                                                                       29,235
                    $48,097




                                                                         $18,518
      $45,764




                                                               $16,855




  1 Adjusted EBITDA and free cash flow are non-GAAP measures and are defined and reconciled to the most comparable GAAP measures starting on page
    F-4g of this document.



                                                                                                              CHARTER COMMUNICATIONS                      7

                                                                APPX644
                          Case: 23-136                      Document: 2-2   Page: 541          Filed: 06/16/2023

    Case 2:22-cv-00125-JRG Document 70-19 Filed 02/28/23 Page 11 of 13 PageID #: 1627


      Another critical piece of our long-term strategy is treating customer service as a product itself, and giving customers
      the flexibility to manage their Spectrum services and interactions with us, whenever and however they want. We
      continue to work on improving the quality and efficiency of our interactions with customers by expanding our
      customer self-service and self-care capabilities, and digitizing and modernizing our customer, field and network
      operations groups.

      Our rural construction initiative also remains a key growth priority. Our multiyear, multibillion-dollar construction
       project will deliver gigabit high-speed broadband access to more than 1 million unserved rural customer locations
       across the country. Through the Rural Digital Opportunity Fund or RDOF, we will add over 100,000 miles of new
       network infrastructure over the next five years to our approximately 800,000 existing miles. Ultimately, our rural
      construction initiative is not only good for the millions of rural consumers that will finally have access to fast and
       reliable Internet, but it is also good for Charter and its shareholders. The expansion of our footprint will help us drive
       additional customer growth and financial returns.

       Finally, we remain focused on driving customer growth, capturing market share and increasing penetration by
       offering high-quality products and service at attractive prices.

      Our network allows us to deliver a unique fully converged wireline and mobile connectivity service package while
       saving customers hundreds, or even thousands, of dollars per year. And our share of household connectivity spend,
       including mobile and fixed broadband, is still very low. In fact, we only capture about 27%1 of household spend on
      wireline and mobile connectivity within our footprint. There is a large opportunity for us to increase market share by
       saving customers money, and through our mobile offering, we are doing that.

      So far, we have seen a very strong response to our converged mobile and fixed broadband offering, with 380,000
       mobile line net additions in the fourth quarter-our strongest quarter for mobile line net additions yet. In fact, we
      ended the year with 3.6 million mobile customers and continue to gain mobile lines at a rapid pace because of the
      value in our bundled service offering.

      As always, we are highly focused on the execution of our long-term strategic initiatives and goals, and continue to
       make investments that will enhance our customer growth and improve long-term financial performance. We remain
      very well positioned in the marketplace and our success will drive more EBITDA and free cash flow per customer and
       passing, creating value for Charter shareholders.




      1 Source: S&P Global / Kagan and Charter estimates.


8     2021 ANNUAL REPORT

                                                                  APPX645
          Case: 23-136              Document: 2-2              Page: 542           Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70-19 Filed 02/28/23 Page 12 of 13 PageID #: 1628


   In closing, I would like to highlight our recently announced management changes and promotions.

         On October 19, we announced that John Bickham has been appointed Vice Chairman, ahead of his previously
         announced retirement at the end of 2022. I have worked with John for three decades. And at every turn, his
         knowledge, leadership and steady hand have not only contributed greatly to the success of the companies we
         led, but made a profound impact on the growth of our industry. I am grateful that John will continue to serve
         Charter in this new capacity, as a strategic advisor to the executive team .

         We also recently announced that Chris Winfrey has been promoted to Chief Operating Officer. Over the past
         11 years, Chris' influence on Charter has expanded far beyond that of a typical Chief Financial Officer. He has
         been actively involved in our business operations. His deep knowledge of our operations, combined with his
         previous operational experience in Europe, will serve us well as Charter's new Chief Operating Officer.

         As Chris moves to Chief Operating Officer, we have promoted Jessica Fischer, previously Executive Vice
         President of Finance, to Chief Financial Officer. Jessica's leadership and financial expertise have benefited
         Charter for many years, both in her roles at Charter and while a partner at EY, w here she was a key advisor
         during our 2016 transactions. In her new role, Jessica will have an even greater impact on Charter's success.

         Finally, Rich DiGeronimo, our Chief Product and Technology Officer, adds oversight of network and software
         operations to his current responsibilities leading the product and technology organization. With expanded
         responsibility, Rich will both shape the customer experience and lead our network's critical evolution into the
         10G future, delivering to our customers a superior broadband connectivity experience.

   I would like to thank all of our employees for their dedication to our customers and to Charter. The hard work of Charter's
   over 93,000 employees has been remarkable. I would also like to thank all of our investors for their continued support.

                                                                                      Best Regards,




                                                                                      Thomas M. Rutledge
                                                                                      Chairman and Chief Executive Officer
                                                                                      Charter Communications




                                                                  Charter Communications, Inc. (NASDAQ: CHTR) is
                                                                  a leading broadband connectivity company and cable
                                                                  operator ser v ing more than 32 million customers in
            THE CHARTER FOOTPRINT                                 41 states through its Spectrum brand . Over an advanced
                                                                  communications network, the company offers a full range
                                                                  of state-of-the-art residential and business ser vices
                                                                  including Spectrum Internet®, TV, Mobile and Voice.
                                                                  For small and medium-sized companies, Spectrum
                                                                  Business® delivers the same suite of broadband products
                                                                  and ser vices coupled with special features and
                                                                  applications to enhance productivity, while for larger
                                                                  businesses and government entities, Spectrum Enterprise
                                                                  pro v ides highl y customized , fiber-based solutions.
                                                                  Spectrum Reach ® delivers tailored ad vertising and
                                                                  production for the modern media landscape. The
                                                                  company also distributes award-winning news coverage,
                                                                  sports and high-quality original programming to its
                                                                  customers through Spectrum Networks and Spectrum
                                                                  Originals. More information about Charter can be found
                                                                  at Corporate.Charter.Com.



                                                                                                CHARTER COMMUNICATIONS           9

                                                APPX646
           Case: 23-136                Document: 2-2    Page: 543   Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 70-19 Filed 02/28/23 Page 13 of 13 PageID #: 1629




    Charter®
    COMMUNICATIONS


    Charter Communications, Inc.
    400 Washington Blvd.
    Stamford, CT 06902

    Spectrum.com

    ©2022 Charter Communications. All rights
    reserved . All trademarks remain the property
    of their respective owners.




                                                    APPX647
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-20  Page:  544 Filed:
                                             02/28/23 Page06/16/2023
                                                           1 of 4 PageID #: 1630




                     EXHIBIT X




                                 APPX648
                                Case: 23-136                       Document: 2-2                         Page: 545                   Filed: 06/16/2023

           Case
1/10/23, 1:33 PM 2:22-cv-00125-JRG                             Document    70-20
                                                                  Charter Opens     Filed
                                                                                Corporate   02/28/23
                                                                                          Headquarters      PageCT
                                                                                                       in Stamford, 2 |ofCharter
                                                                                                                           4 PageID #: 1631
            SPECTRUM SITES




                                       (/)              Company          Newsroom           Investors        Careers        Community Impact            Public Policy




            PRESS RELEASE               JUNE 6, 2022



            Charter Officially Opens New State-of-the-Art
            Corporate Headquarters in Stamford
            Connecticut Governor Ned Lamont and Stamford Mayor Caroline Simmons Joined Charter Executives to Cut the
            Ribbon on the New Facility

            S H A R E A RT I C L E :


                                                                                                                                                                       (mailto:?
                                                                            (https://twitter.com/intent/tweet?
                  (https://www.facebook.com/sharer/sharer.php?                                                                                                   body=https://corporate.charter.com/new
                                                                       url=https://corporate.charter.com/newsroom/charter-officially-opens-corporate-
            u=https://corporate.charter.com/newsroom/charter-                                                                                                    officially-opens-corporate-headquarters-
                                                                       headquarters-in-stamford-
            officially-opens-corporate-headquarters-in-                                                                                                          ct&subject=Charter%20Officially%20Ope
                                                                       ct&via=charternewsroom&text=Charter%20Officially%20Opens%20New%20State-
            stamford-ct)                                                                                                                                         of-the-
                                                                       of-the-Art%20Corporate%20Headquarters%20in%20Stamford)
                                                                                                                                                                 Art%20Corporate%20Headquarters%20in


            STAMFORD, Conn. – Charter Communications, Inc. officially marked the opening of its new headquarters in downtown Stamford on Monday, June 6, with a ribbon-cutting
            ceremony attended by elected officials, including Connecticut Governor Ned Lamont and Stamford Mayor Caroline Simmons. Located in the city’s revitalized Harbor Point
            neighborhood, Charter’s new corporate campus provides the company’s Stamford-based employees with an amenity-rich, commuter-friendly workspace with room for
            continued growth.

            “Over the past 10 years we have been proud members of the Stamford community and have experienced tremendous growth,” said Thomas M. Rutledge, Chairman and
            Chief Executive Officer for Charter. “Our Stamford headquarters has grown from a handful of employees in a small portion of a single floor to 1,700 employees in a two-
            building, 900,000 square-foot campus. This region provides access to a robust talent base, and at Charter we are committed to attracting and retaining highly-skilled
            employees who live and work in this area, and to contributing to the growth and success of this community.”

            “Charter is a leading Connecticut-based business, invested in the success of the state, Stamford and the many communities it serves across the country,” said Connecticut
            Governor Ned Lamont. “The company’s continued growth is a testament to its commitment to employees, customers and the communities in which they live and work.”

            “We are so thrilled and grateful to have Charter Communications in Stamford,” Mayor Simmons said. “Charter has brought over 1,700 jobs and invested over $500 million in
            this headquarters, bringing economic prosperity to our city. Charter has also been an excellent corporate partner, contributing to philanthropic efforts including a five year
            commitment to funding job training programs within our Community Action Agency in the South End. We are so grateful and happy to see Charter’s continued growth in
            Stamford.”




https://corporate.charter.com/newsroom/charter-officially-opens-corporate-headquarters-in-stamford-ct                                                                                               1/3

                                                                                    APPX649
                                Case: 23-136                       Document: 2-2                        Page: 546                    Filed: 06/16/2023

           Case
1/10/23, 1:33 PM 2:22-cv-00125-JRG                              Document    70-20
                                                                   Charter Opens     Filed
                                                                                 Corporate   02/28/23
                                                                                           Headquarters      PageCT
                                                                                                        in Stamford, 3 |ofCharter
                                                                                                                            4 PageID #: 1632
            Charter&nbsp;CEO Tom Rutledge (second from left) and&nbsp;Vice Chairman John Bickham (third from left)&nbsp;were&nbsp;joined by Stamford Mayor Caroline Simmons (far
            left)&nbsp;and&nbsp;Connecticut&nbsp;Gov. Ned Lamont (far right)&nbsp;at the June 6&nbsp;ribbon-cutting ceremony to celebrate Charter's new&nbsp;corporate
            headquarters.​

            Charter has more than 93,000 employees nationwide, and the company is currently hiring for more than 150 positions at the new Stamford campus, including professional-
            level roles in business planning, corporate security, customer operations, facilities, field operations, finance, human resources, information technology, legal, marketing,
            network engineering and sales. Named by Forbes as one of America’s Best Employers by State in 2021, Charter provides excellent wages, including a $20 minimum starting
            wage. The company offers comprehensive health benefits, and for the past nine years has absorbed the full annual cost increase of medical, dental and vision coverage,
            along with a market-leading retirement plan, education assistance and complimentary or discounted services.

            Charter’s Stamford campus is conveniently situated to support employees commuting by car, bus or train from New York City and other areas of Connecticut and
            Westchester County. It has direct access to the Stamford train station platform, which offers Metro North and Amtrak Acela services, and is located just off Interstate 95.
            Other amenities include:

                 A two-story food hall, three 24/7 self-serve markets; a coffee shop serving Starbucks© coffee and food, and a Pure Juice Bar with indoor and outdoor dining space.

                 A free fitness center with complimentary group exercise classes, fitness assessments and individualized exercise programs.

                 A health care center that is scheduled to opened in August that will provide employees in-building access to healthcare services.

                 A conference center with 10 conference rooms, three huddle rooms, three phone rooms, a break room, and a training room that holds more than 100 people.

                 A 250-seat auditorium set to open in August.

                 An outdoor amphitheater scheduled to open in the fall.

            More information about Stamford job openings is available at jobs.spectrum.com (https://jobs.spectrum.com/).


            About Charter
            Charter Communications, Inc. (NASDAQ:CHTR) is a leading broadband connectivity company and cable operator serving more than 32 million customers in 41 states
            through its Spectrum brand. Over an advanced communications network, the company offers a full range of state-of-the-art residential and business services including
            Spectrum Internet®, TV, Mobile and Voice.

            For small and medium-sized companies, Spectrum Business® delivers the same suite of broadband products and services coupled with special features and applications to
            enhance productivity, while for larger businesses and government entities, Spectrum Enterprise provides highly customized, fiber-based solutions. Spectrum Reach®
            delivers tailored advertising and production for the modern media landscape. The company also distributes award-winning news coverage, sports and high-quality original
            programming to its customers through Spectrum Networks and Spectrum Originals. More information about Charter can be found at corporate.charter.com
            (https://corporate.charter.com/).


            Media Contact
            Leslie Byxbee

            Leslie.Byxbee@charter.com (mailto:Leslie.Byxbee@charter.com)




            S H A R E A RT I C L E :


                                                                                                                                                                      (mailto:?
                                                                            (https://twitter.com/intent/tweet?
                  (https://www.facebook.com/sharer/sharer.php?                                                                                                  body=https://corporate.charter.com/new
                                                                       url=https://corporate.charter.com/newsroom/charter-officially-opens-corporate-
            u=https://corporate.charter.com/newsroom/charter-                                                                                                   officially-opens-corporate-headquarters-
                                                                       headquarters-in-stamford-
            officially-opens-corporate-headquarters-in-                                                                                                         ct&subject=Charter%20Officially%20Ope
                                                                       ct&via=charternewsroom&text=Charter%20Officially%20Opens%20New%20State-
            stamford-ct)                                                                                                                                        of-the-
                                                                       of-the-Art%20Corporate%20Headquarters%20in%20Stamford)
                                                                                                                                                                Art%20Corporate%20Headquarters%20in




            Related News




              PRESS RELEASE

              Charter Communications Reaches $20 Minimum Starting Wage Companywide




https://corporate.charter.com/newsroom/charter-officially-opens-corporate-headquarters-in-stamford-ct                                                                                              2/3

                                                                                   APPX650
                                       Case: 23-136                                Document: 2-2                                     Page: 547                           Filed: 06/16/2023

           Case
1/10/23, 1:33 PM 2:22-cv-00125-JRG                                             Document    70-20
                                                                                  Charter Opens     Filed
                                                                                                Corporate   02/28/23
                                                                                                          Headquarters      PageCT
                                                                                                                       in Stamford, 4 |ofCharter
                                                                                                                                           4 PageID #: 1633


               PRESS RELEASE

               Charter Now Offering 200 Mbps Starting Speeds in All Markets in its 41-State Service Area




                                                             (https://twitter.com/charternewsroom)                                     (https://www.youtube.com/chartercommunications)




            Company                                     Newsroom                                 Investors                             Careers                   Community Impact                           PublicPolicy            SpectrumSites

            About Charter                               Latest News                             Investor Home                        Job Search                About Community Impact                    Policy Home                Spectrum Residential
            (https://corporate.charter.com/about-       (https://corporate.charter.com/newsroom)(https://ir.charter.com)             (http://jobs.spectrum.com)(https://corporate.charter.com/community-(https://policy.charter.com)(https://spectrum.com)
            charter)                                                                                                                                           impact)
                                                      Media Library                              Results & SEC Filings                                                                                                              Spectrum Business
            Leadership                                (https://corporate.charter.com/media-      (https://ir.charter.com/financial-                            Community Center Assist                                              (https://business.spectrum
            (https://corporate.charter.com/leadership)library/images)                            information/quarterly-results)                                (https://corporate.charter.com/community-
                                                                                                                                                                                                                                    Spectrum Enterprise
                                                                                                                                                               assist)
            History                                     Media Contacts                           Events & Webcasts                                                                                                                  (https://enterprise.spectru
            (https://corporate.charter.com/history)     (https://corporate.charter.com/media-    (https://ir.charter.com/events-and-                           Spectrum Digital Education
                                                                                                                                                                                                                                    Spectrum Reach
                                                        contacts)                                webcasts)                                                     (https://corporate.charter.com/digital-
            Diversity & Inclusion                                                                                                                                                                                                   (https://spectrumreach.co
                                                                                                                                                               education)
            (https://corporate.charter.com/diversity-                                            Investor News
                                                                                                                                                                                                                                    Spectrum Account
            inclusion)                                                                           (https://ir.charter.com/news-                                 Community Loan Fund
                                                                                                                                                                                                                                    (https://www.spectrum.ne
                                                                                                 releases)                                                     (https://corporate.charter.com/community-
                                                                                                                                                               investment-loan-fund)
                                                                                                 Corporate Governance
                                                                                                 (https://ir.charter.com/corporate-                            Spectrum Networks
                                                                                                 governance)                                                   (https://corporate.charter.com/spectrum-
                                                                                                                                                               networks)
                                                                                                 Stock Information
                                                                                                 (https://ir.charter.com/stock-
                                                                                                 information/stock-quote)

                                                                                                 Investor Resources
                                                                                                 (https://ir.charter.com/investor-
                                                                                                 resources)

                                                                                                 ESG Report
                                                                                                 (https://corporate.charter.com/esg-
                                                                                                 report)




                                 (/)     © 2023 Charter Communications Inc.

                                                  Terms of Service(https://www.spectrum.com/policies/website-terms)         Your Privacy Rights(https://www.spectrum.com/policies/your-privacy-rights)
                   California Consumer Privacy Rights(https://www.spectrum.com/policies/california)       California Consumer Do Not Sell or Share My Personal Information(https://spectrum.com/policies/your-privacy-rights-opt-out)
                                             California Consumer Limit the Use of My Sensitive Personal Information(https://www.spectrum.com/policies/your-privacy-rights-opt-out)         Site Map(/sitemap)

                                         If you are a customer with disability, please contact us (https://www.spectrum.net/support/accessibility/talking-guide-information-and-support/) if you need assistance.




https://corporate.charter.com/newsroom/charter-officially-opens-corporate-headquarters-in-stamford-ct                                                                                                                                                    3/3

                                                                                                        APPX651
  Case: 23-136   Document: 2-2   Page: 548   Filed: 06/16/2023




         CONFIDENTIAL MATERIAL OMITTED




  Exhibit Y to Plaintiff’s
Opposition to Defendant’s
     Motion to Dismiss
Dkt. 68-26 (Sealed Version)
Dkt. 70-21 (Public Version)
  FILED UNDER SEAL




           (APPX652-657)
  Case: 23-136   Document: 2-2   Page: 549   Filed: 06/16/2023




         CONFIDENTIAL MATERIAL OMITTED




  Exhibit Z to Plaintiff’s
Opposition to Defendant’s
     Motion to Dismiss
Dkt. 68-27 (Sealed Version)
Dkt. 70-21 (Public Version)
  FILED UNDER SEAL




           (APPX658-670)
  Case: 23-136   Document: 2-2   Page: 550   Filed: 06/16/2023




         CONFIDENTIAL MATERIAL OMITTED




 Exhibit AA to Plaintiff’s
Opposition to Defendant’s
     Motion to Dismiss
Dkt. 68-28 (Sealed Version)
Dkt. 70-21 (Public Version)
  FILED UNDER SEAL




           (APPX671-693)
  Case: 23-136   Document: 2-2   Page: 551   Filed: 06/16/2023




         CONFIDENTIAL MATERIAL OMITTED




 Exhibit AB to Plaintiff’s
Opposition to Defendant’s
     Motion to Dismiss
Dkt. 68-29 (Sealed Version)
Dkt. 70-21 (Public Version)
  FILED UNDER SEAL




           (APPX694-722)
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 70-22  Page:  552 Filed:
                                             02/28/23 Page06/16/2023
                                                           1 of 7 PageID #: 1635




                    EXHIBIT AC




                                 APPX723
           Case
2/19/23, 2:58          Case: 23-136
              PM 2:22-cv-00125-JRG                           Document:
                                                            Document   2-2Our Filed
                                                                     70-22     Page:    553
                                                                                    02/28/23
                                                                              Employees            Filed:
                                                                                                    Page06/16/2023
                                                                                        | Charter Policy  2 of 7 PageID #: 1636
            SPECTRUM SITES




                                 (https://corporate.charter.com)   Company      Newsroom      Investors     Careers            Community          Public
                                                                                                                                  Impact          Policy


            PUBLIC
                           (/) Charter
                               Home
                                       Policy       (/)    About Charter
                                                           Policy          (/overview)   Resource
                                                                                         Hub
                                                                                                    (/resource-
                                                                                                    hub)
                                                                                                                      Policy News &
                                                                                                                      Updates
                                                                                                                                       (/news-
                                                                                                                                       updates)
            POLICY

            < Resource Hub (/resource-hub)




            Our Employees
            Our diverse, highly skilled employees are our greatest resource – and investing in their success helps us better serve our customers and
            build stronger connections in the communities we serve.




            For our more than 100,000 employees, working at Charter is not just a job – it is a place to
            build a career.




                  Charter’s highly skilled and diverse workforce includes:
                  • Nearly 50% people of color

                  • Nearly 10% with a military affiliation




https://policy.charter.com/resource-hub/our-employees                      APPX724                                                                         1/6
           Case
2/19/23, 2:58          Case: 23-136
              PM 2:22-cv-00125-JRG                     Document:
                                                      Document   2-2Our Filed
                                                               70-22     Page:    554
                                                                              02/28/23
                                                                        Employees            Filed:
                                                                                              Page06/16/2023
                                                                                  | Charter Policy  3 of 7 PageID #: 1637



                   Our Employees Earn Nearly 3x the Federal Minimum Wage




                Charter Employees Earn Nearly 3x the Federal Minimum Wage
                Our workforce is key to our long-term success and we’re proud to invest in them.




https://policy.charter.com/resource-hub/our-employees                 APPX725                                               2/6
           Case
2/19/23, 2:58          Case: 23-136
              PM 2:22-cv-00125-JRG                     Document:
                                                      Document   2-2Our Filed
                                                               70-22     Page:    555
                                                                              02/28/23
                                                                        Employees            Filed:
                                                                                              Page06/16/2023
                                                                                  | Charter Policy  4 of 7 PageID #: 1638
            Charter employees earn at least $20 per hour – nearly 3X the federal minimum wage.




            At Charter, our commitment to our transitioning service members, veterans, Guard, Reserve members, the military spouse community,
            and their families is strong. In fact, nearly one in ten of Charter’s employees has a military affiliation. We are investing in the military
            community, to help them build on skills and talents developed during their service and to translate them into meaningful careers
            throughout our company.


                                                                        Learn More (/veterans)




https://policy.charter.com/resource-hub/our-employees                 APPX726                                                                              3/6
           Case
2/19/23, 2:58          Case: 23-136
              PM 2:22-cv-00125-JRG                            Document:
                                                             Document   2-2Our Filed
                                                                      70-22     Page:    556
                                                                                     02/28/23
                                                                               Employees            Filed:
                                                                                                     Page06/16/2023
                                                                                         | Charter Policy  5 of 7 PageID #: 1639
                    Our Diverse Workforce




            Spectrum Scholars
            Spectrum Scholars is a two-year scholarship and professional development initiative to help support the needs and aspirations of underrepresented students through a
            combination of scholarships, mentorships, and opportunities to explore possible internships at Charter.


                                                                            Learn More (/blog/spectrum-scholars)




            Related News: Our Employees

https://policy.charter.com/resource-hub/our-employees                            APPX727                                                                                           4/6
           Case
2/19/23, 2:58          Case: 23-136
              PM 2:22-cv-00125-JRG                                              Document:
                                                                               Document   2-2Our Filed
                                                                                        70-22     Page:    557
                                                                                                       02/28/23
                                                                                                 Employees            Filed:
                                                                                                                       Page06/16/2023
                                                                                                           | Charter Policy  6 of 7 PageID #: 1640




               P OW E R E D BY A M E R I C A N J O B S

               Investing in Our Greatest Resource – Our Highly-Skilled, Diverse Workforce

               September 16, 2020




               V E T E R A N S A N D M I L I TA RY FA M I L I E S

               Charter’s Continuing Commitment to Veterans
               While 2020 and the COVID-19 pandemic have changed a lot of things about our day-to-day life, Charter’s commitment to our veterans and their families remains as
               strong as ever. As the nation pauses on Veterans Day to honor our veterans and those who continue to serve in the Guard or Reserves, Charter is proud to be helping
               veterans build careers in a growing and important field.

               November 11, 2020




               E M P LOY E E S

               To Our Employees: Thank You
               The work of our employees during the COVID-19 pandemic will have a meaningful and lasting impact on the communities we serve. From processing new service
               orders, executing complex and time-sensitive installations, and ensuring our network can meet the demand, their dedication to our customers and company is nothing
               short of inspiring.

               June 9, 2020




                                                                                                 View All (/policy-categories/employees)




                                                                                                Subscribe to Policy Updates
                                                                                                     Email Address



                                                                                                                   Sign Up Now



                                                                                                         I'm not a robot
                                                                                                                                         reCAPTCHA
                                                                                                                                        Privacy - Terms




                                                                                                      Follow Charter Policy

                                                                         (https://twitter.com/CharterGov)                               (http://www.facebook.com/CharterGov)




            Company                                     Newsroom                                 Investors                          Careers                   Community Impact                           PublicPolicy                         SpectrumSites

            About Charter                               Latest News                             Investors Home                       Job Search                About Community Impact                    Charter Policy Home                   Spectrum Reside
            (https://corporate.charter.com/about-       (https://corporate.charter.com/newsroom)(https://ir.charter.com)             (http://jobs.spectrum.com)(https://corporate.charter.com/community-(https://policy.charter.com/)          (https://spectrum
            charter)                                                                                                                                           impact)
                                                      Media Library                              Results & SEC Filings                                                                                   About Charter Policy                  Spectrum Busine
            Leadership                                (https://corporate.charter.com/media-      (https://ir.charter.com/financial-                            Spectrum Community Assist                 (https://policy.charter.com/overview)(https://business
            (https://corporate.charter.com/leadership)library/logos)                             information/quarterly-results)                                (https://corporate.charter.com/community-
                                                                                                                                                                                                         Resource Hub                          Spectrum Enterp
                                                                                                                                                               assist)
            History                                     Media Contacts                           Events & Webcasts                                                                                       (https://policy.charter.com/resource- (https://enterpri
            (https://corporate.charter.com/history)     (https://corporate.charter.com/media-    (https://ir.charter.com/events-and-                           Spectrum Digital Education                hub)
                                                                                                                                                                                                                                               Spectrum Reach
                                                        contacts)                                webcasts)                                                     (https://corporate.charter.com/digital-
            Diversity & Inclusion                                                                                                                                                                        Policy News & Updates                 (https://spectrum
                                                                                                                                                               education)
            (https://corporate.charter.com/diversity-                                            Investor News                                                                                           (https://policy.charter.com/news-
                                                                                                                                                                                                                                               Spectrum Accou
            inclusion)                                                                           (https://ir.charter.com/news-                                 Community Loan Fund                       updates)
                                                                                                                                                                                                                                               (https://www.sp
                                                                                                 releases)                                                     (https://corporate.charter.com/community-
                                                                                                                                                               investment-loan-fund)                                                           Spectrum Origin
                                                                                                 Corporate Governance
                                                                                                                                                                                                                                               (https://spectrum
                                                                                                 (https://ir.charter.com/corporate-                            Spectrum Networks



                                                                                                        APPX728
                                                                                                                                                               (https://corporate.charter.com/spectrum-


https://policy.charter.com/resource-hub/our-employees                                                                                                                                                                                                    5/6
           Case
2/19/23, 2:58          Case: 23-136
              PM 2:22-cv-00125-JRG                                   Document:
                                                                    Document   2-2Our Filed
                                                                             70-22     Page:    558
                                                                                            02/28/23
                                                                                      Employees            Filed:
                                                                                                            Page06/16/2023
                                                                                                | Charter Policy  7 of 7 PageID #: 1641
                                                                                       governance)                                                     networks)

                                                                                       Stock Information
                                                                                       (https://ir.charter.com/stock-
                                                                                       information/stock-quote)

                                                                                       Investor Resources
                                                                                       (https://ir.charter.com/investor-
                                                                                       resources)

                                                                                       ESG Report
                                                                                       (https://corporate.charter.com/esg-
                                                                                       report)




                        (https://corporate.charter.com)     © 2023 Charter Communications Inc.

                                                                                Terms of Service(https://www.spectrum.com/policies/website-terms)

                                                                            Your Privacy Rights(https://www.spectrum.com/policies/your-privacy-rights)

                                                                         California Consumer Privacy Rights(https://www.spectrum.com/policies/california)

                                                    California Consumer Do Not Sell or Share My Personal Information(https://spectrum.com/policies/your-privacy-rights-opt-out)

                                              California Consumer Limit the Use of My Sensitive Personal Information(https://www.spectrum.com/policies/your-privacy-rights-opt-out)

                               If you are a customer with disability, please contact us (https://www.spectrum.net/support/accessibility/talking-guide-information-and-support/) if you need assistance.




https://policy.charter.com/resource-hub/our-employees                                         APPX729                                                                                                     6/6
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:792-2Filed
                                          Page: 559 Page
                                            03/16/23 Filed:106/16/2023
                                                            of 16 PageID #: 1734



                      UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION



 ENTROPIC COMMUNICATIONS, LLC,

       Plaintiff

          v.                                      Civil Action No. 2:22-cv-00125-JRG

 CHARTER COMMUNICATIONS, INC.,                       JURY TRIAL DEMANDED

       Defendant.




   DEFENDANT CHARTER COMMUNICATIONS, INC.’S REPLY IN FURTHER
 SUPPORT OF ITS MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
          FOR IMPROPER VENUE PURSUANT TO FRCP 12(b)(3)




                                APPX730
            Case: 23-136                  Document: 2-2                   Page: 560               Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 79 Filed 03/16/23 Page 2 of 16 PageID #: 1735




                                               TABLE OF CONTENTS
                                                                                                                                      Page

I.     INTRODUCTION ...............................................................................................................1

II.    ARGUMENT .......................................................................................................................1

       A.        Entropic Cannot Meet the “Difficult” Standard to Establish a Lack of
                 Corporate Separateness Between CCI and Its Subsidiaries .....................................1

                 1.         CCI Never Exercised Improper Control Over Its Subsidiaries ....................2

                 2.         CCI’s Subsidiaries Followed Corporate Formalities ...................................4

                 3.         CCI’s Subsidiaries Do Not Carry Out Business Activities In CCI’s
                            Name ............................................................................................................5

       B.        Venue is Improper as to CCI Because It Does Not Have Regular and
                 Established Places of Business In This District .......................................................7

                 1.         Spectrum, Not CCI, Is Associated With the Website and Buildings
                            That Offer Spectrum Services in This District ............................................7

                 2.         CCI Has No Agents Conducting Business in the District ...........................7

                 3.         CCI Has Not Ratified Any Place of Business In This District ....................9

III.   CONCLUSION ..................................................................................................................10




                                                        APPX731
               Case: 23-136               Document: 2-2                Page: 561            Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 79 Filed 03/16/23 Page 3 of 16 PageID #: 1736




                                            TABLE OF AUTHORITIES

                                                                                                                        Page(s)

Cases

Agis Software Development LLC v. Google LLC,
   2022 WL 1511757 (E.D. Tex. May 12, 2022) .........................................................................10

Andra Grp., LP v. Victoria’s Secret Stores, LLC,
   6 F.4th 1283 (Fed. Cir. 2021) ......................................................................................5, 8, 9, 10

Bd. Of Regents v. Medtronic PLC.,
    No. 17-CV-0942, 2018 WL 4179080 (W.D. Tex. July 19, 2018) .........................................1, 5

Bobby Goldstein Productions, Inc. v. Habeeb,
   No. 21-CV-1924-G, 2022 WL 1642466 (N.D. Tex. May 24, 2022) .........................................9

Charles v. Charles,
   No. 21-CV-2061, 2022 WL 4747499 (S.D. Tex. Sept. 30, 2022) .............................................8

E. Texas Med. Ctr. Reg’l Healthcare Sys. v. Slack,
    916 F. Supp. 2d 719 (E.D. Tex. 2013) (Gilstrap, J.) ..................................................................8

Entropic Communications, LLC v. DirecTV, LLC et al.,
   No. 22-CV-0075, Dkt. 109, (E.D. Tex. Oct. 24, 2022) (Gilstrap, J.) ..................................7, 10

Interactive Toybox, LLC v. The Walt Disney Co.,
    No. 17-CV-1137, 2018 WL 5284625 (W.D. Tex. Oct. 24, 2018) .................................1, 2, 5, 6

IPVX Patent Holdings, Inc. v. Broadvox Holding Co., LLC,
   No. 11-CV-0575, 2012 WL 13012617 (E.D. Tex. Sept. 26, 2012) ...........................................2

L.B. Benon Family Ltd. P’ship v. Wells Fargo Bank, N.A.,
   SA-21-CA-01115, 2022 WL 16825204 (W.D. Tex. Nov. 7, 2022) ..........................................8

MDSave, Inc. v. Sesame, Inc.,
  No. 21-CV-01338, 2023 WL 353998 (W.D. Tex. Jan. 11, 2023) ...........................................10

Montes v. Charter Comms., Inc.,
  No. 21-CV-0489 (S.D. Tex.) .....................................................................................................9

Neria v. Dish Network L.L.C.,
   No. 19-CV-00430, 2020 WL 3403074 (W.D. Tex. June 19, 2020) ..........................................8

Parallel Network Licensing LLC v. Arrow Elecs., Inc.,
   No. 21-CV-0714, 2022 WL 1597364 (E.D. Tex. May 19, 2022)..............................................6




                                                       APPX732
                Case: 23-136                 Document: 2-2                  Page: 562              Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 79 Filed 03/16/23 Page 4 of 16 PageID #: 1737




Soverain IP, LLC v. AT&T, Inc.,
   No. 17-CV-0293, 2017 WL 5126158 (E.D. Tex. Oct. 31, 2017) ..........................................1, 4

United States ex rel. Reddell v. DynCorp Int’l, LLC,
   No. 1:14-CV-86, 2019 WL 12875442 (E.D. Tex. Mar. 1, 2019) ..............................................4

United States v. Bestfoods,
   524 U.S. 51 (1998) .....................................................................................................................4




                                                                   -iii-

                                                           APPX733
            Case: 23-136         Document: 2-2         Page: 563       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 79 Filed 03/16/23 Page 5 of 16 PageID #: 1738




 I.    INTRODUCTION

       Entropic Communications, LLC (“Entropic”) argues that venue is proper in this district

because “the activities and employees of CCI’s subsidiaries [are] imputed to” Charter

Communications, Inc. (“CCI”). Dkt. 68 at 1. Entropic cannot meet the “difficult” imputation

standard because CCI maintains all corporate formalities as a parent and manager of its subsidiary

LLCs, including Spectrum Gulf Coast, LLC (“SGC”), a separate and distinct subsidiary that

operates and leases or owns the properties in this district that are identified in the Second Amended

Complaint (“SAC”). Opening Br., Dkt. 61 at 2-10. Entropic asks the Court to disregard CCI’s

corporate form based on the theories of “lack of separateness,” “ratification,” and “agency.” Dkt.

68 at 3-4, 22-29. In doing so, Entropic blends these distinct legal theories, fails to set forth any

legal standards applicable to the lack of separateness or ratification theories (id. at 4), and

misrepresents facts to urge the Court to impute SGC’s conduct to CCI. There is no evidence that

would permit the Court to find a lack of corporate separateness, that CCI ratified any property in

this district, or that an agency relationship exists between CCI and its subsidiaries (or employees

of its subsidiary Charter Communications, LLC (“CC LLC”)). This Court should therefore grant

CCI’s Motion.

II.    ARGUMENT

       A.       Entropic Cannot Meet the “Difficult” Standard to Establish a Lack of
                Corporate Separateness Between CCI and Its Subsidiaries
       “Except where corporate formalities are ignored and an alter ego relationship exists, the

presence of a corporate relative in the district does not establish venue over another separate and

distinct corporate relative.” Bd. Of Regents v. Medtronic PLC., No. 17-CV-0942, 2018 WL

4179080, at *2 (W.D. Tex. July 19, 2018). “There must be a plus factor, something beyond the

subsidiary’s mere presence within the bosom of the corporate family.” Interactive Toybox, LLC




                                                 -1-


                                          APPX734
            Case: 23-136         Document: 2-2        Page: 564        Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 79 Filed 03/16/23 Page 6 of 16 PageID #: 1739




v. The Walt Disney Co., No. 17-CV-1137, 2018 WL 5284625, at *3 (W.D. Tex. Oct. 24, 2018).

This is a “difficult standard” to meet, and “[s]ettled law always presumes that corporations exist

as separate entities.” Soverain IP, LLC v. AT&T, Inc., No. 17-CV-0293, 2017 WL 5126158, at *1

(E.D. Tex. Oct. 31, 2017); Interactive Toybox, 2018 WL 5284625, at *3. Entropic contends, in

effect, that an alter ego relationship exists because (1) CCI purportedly holds itself out as “One

Charter”—a term created by Entropic, and (2) the various subsidiaries are “fiction[al,]” “shell

LLCs,” with “no independent existence.” Dkt. 68 at 1-3, 5-15, 29 & 10 n.3-4. In determining

whether corporate formalities have been ignored and an alter ego relationship exists, courts

undertake a rigorous analysis. See Dkt. 61 at 17-18 (collecting cases). Entropic makes no effort

to satisfy this standard.

                1.      CCI Never Exercised Improper Control Over Its Subsidiaries
        Entropic’s principal argument is that CCI has “complete, direct control over each

subsidiary” such that the “activities and employees of the subsidiaries are attributable to CCI”

because CCI is the manager of the subsidiary LLCs. Dkt. 68 at 5-8. The fact that CCI was

designated as a manager under LLC agreements does not convert the relationship between CCI, as

manager, and the managed LLC into that of an alter ego. See Dkt. 61 at 7-9, 11-12, 14-15, 18.

That is precisely how LLCs are designed to operate. Id. at 7-9, 18. Entropic has not cited any

evidence that CCI was improperly appointed as manager of SGC (or any other subsidiary) or that

CCI or any of its officers has acted beyond its authority as a “manager” as dictated by the relevant

LLC agreements or pursuant to the Delaware LLC Act. See Dkt. 61 at 8, 18; IPVX Patent

Holdings, Inc. v. Broadvox Holding Co., LLC, No. 11-CV-0575, 2012 WL 13012617, at *3 (E.D.

Tex. Sept. 26, 2012) (rejecting argument that parent-defendant “must control [its subsidiary-LLC

that conducts business in this district] because” the parent-defendant manages “its subsidiary”




                                                -2-

                                          APPX735
           Case: 23-136          Document: 2-2           Page: 565     Filed: 06/16/2023
                      CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 79 Filed 03/16/23 Page 7 of 16 PageID #: 1740




where there was “no evidence that the control exerted by [the parent-defendant] is greater than that

‘normally associated with common ownership and directorship.’” (citation omitted)).

       Entropic also asserts without basis that CCI “dictate[s] the allocation of Spectrum

employees to its various subsidiaries.” Dkt. 68 at 26.



                                     . Dkt. 61 at 4-7; Dkt. 61-4, Ex. 2, Proost Dep., 72:7-21; Dkt.

61-6, Ex. 4, Boglioli Dep., 36:12-16, 51:20-25 (                                                   ),

72:3-73:22, 75:12-76:14. Next, Entropic argues that “CCI’s department heads have the power to

hire, fire, and direct the work of employees,” but the very testimony it quotes explains that the

“department heads” are “employees of Charter Communications, LLC” and that he is uncertain

what “authority they have as officers of [CCI].” See Dkt. 68 at 12-13. The same witness had

already explained that CCI’s officers or directors do not participate in the hiring and firing of any

employees, including any employees in this district. See Dkt. 61 at 14-15 (collecting testimony

that CCI is not involved in the hiring and firing of any CC LLC employees); Dkt. 61-6 Ex. 4,

Boglioli Dep., 47:8-48:24 (testifying that to the extent any CCI officers are involved in the hiring

and firing of employees, which is “doubt[ful],” such conduct would be in their role with CC LLC,

not with CCI). In any event, Entropic does not even suggest any of this violates governing

Delaware corporate law or the applicable agreements.

       Finally, there is nothing improper about the fact that CCI, as manager, signed agreements

on behalf of SGC (or other managed LLCs) because the SGC LLC Agreement

                                                       . See Dkt. 61-10, Ex. 8, SGC LLC Agmt.,

§ 4(a)(iii). Entropic does not argue that CCI acted beyond the scope of this provision by signing

any document as manager of any subsidiary. Further, it is a “well established principle” of




                                                 -3-

                                          APPX736
           Case: 23-136         Document: 2-2          Page: 566      Filed: 06/16/2023
                     CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 79 Filed 03/16/23 Page 8 of 16 PageID #: 1741




corporate law “that directors and officers holding positions with a parent and its subsidiary can

and do ‘change hats’ to represent the two corporations separately, despite their common

ownership.” United States v. Bestfoods, 524 U.S. 51, 69 (1998); United States ex rel. Reddell v.

DynCorp Int’l, LLC, No. 1:14-CV-86, 2019 WL 12875442, at *7 (E.D. Tex. Mar. 1, 2019) (same);

Dkt. 68-2, Entropic’s Ex. A, Proost Dep., 48:14-49:4 (

                                 ).

               2.     CCI’s Subsidiaries Followed Corporate Formalities
       Although Entropic, like CCI’s subsidiaries, is a Delaware LLC, it misunderstands the

“corporate” and “legal formalit[ies]” required to form and maintain an LLC. See Dkt. 61 at 7-9

(explaining the purpose and formation of an LLC under the Delaware LLC Act); Dkt. 68-2,

Entropic’s Ex. A, Proost Dep., 46:1-18. For example, Entropic incorrectly suggests that an alter

ego relationship exists because CCI’s subsidiaries do not hold meetings and corporate records are

maintained “under a single management system for all subsidiaries.” Dkt. 68 at 13-14. The

Delaware LLC Act does not require any annual or monthly member or manager meetings. Dkt.

61 at 8. Nothing requires CCI, as a parent entity, to have separate document management systems

for each and every subsidiary.        And, “even if a parent corporation controls a subsidiary’s

operations,” which CCI does not, or if “venue-related discovery revealed an interdependence”

between CCI and its subsidiaries, a “subsidiary’s presence in a venue cannot be imputed to the

parent absent disregard for corporate separateness,” which Entropic fails to prove here. Soverain

IP, LLC, 2017 WL 5126158, at 1 (citations omitted). In any event the corporate documents for

each entity are “physically separated in different files” and CCI’s records are maintained separate

from its LLC subsidiaries.1 Dkt. 61-4, Ex. 2, Proost Dep., 60:5-61:8; see Dkt. 61 at 10.


1
       Entropic states that “CCI is listed as the custodian of nearly all the technical documents”
produced by CCI in this case. Dkt. 68 at 9, 13; Dkt. 74 (Entropic’s supplemental brief correcting



                                                 -4-

                                           APPX737
            Case: 23-136         Document: 2-2         Page: 567       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 79 Filed 03/16/23 Page 9 of 16 PageID #: 1742




       Entropic also relies on the fact that there is an overlap in officers or directors between CCI

and its subsidiaries, and points to agreements signed by the same person in different capacities and

on behalf of different entities as evidence of a purported lack of corporate separateness. Dkt. 68

at 6-9, 11-13. This argument fails to take into consideration that “[e]ven 100% stock ownership

and commonality of officers and directors are not alone sufficient to establish an alter ego

relationship between two corporations.” Interactive Toybox, 2018 WL 5284625, at *3.

               3.      CCI’s Subsidiaries Do Not Carry Out Business Activities In CCI’s
                       Name
       Entropic contends that CCI holds itself out as Spectrum, but it has no answer to the fact

that its subsidiaries’ “use of the common or generic name [Spectrum] on the exterior of [the

subsidiary’s buildings], as well as the press release announcing the business,” cannot support

venue where, as here, the corporate formalities between related companies remain intact.

Medtronic, 2018 WL 4179080, at *2. Entropic also relies on statements by CCI explaining the

unremarkable fact that, through its subsidiaries, it offers services to the public under the Spectrum

brand. See Dkt. 68 at 14-15. For example, Entropic relies on CCI’s annual report which says

“[w]e . . . serv[e] more than 32 million customers . . . through our Spectrum brand” and explains

that “‘Charter,’ ‘we,’ ‘us’ and ‘our’ refer to Charter Communications, Inc. and its subsidiaries.”

Dkt. 68-12, Entropic’s Ex. K at i & 1. Courts and people alike understand that many services are

provided through a corporation’s subsidiaries. Andra Grp., LP v. Victoria’s Secret Stores, LLC, 6

F.4th 1283, 1288 (Fed. Cir. 2021) (the “use of ‘we’ does not convey that ‘we’ means” the parent,

but” could “include the individual subsidary brands”).




this statement). That is not true, and Gregory Greene is the custodian of the document cited by
Entropic. See Dkt. 68 at 9 (citing Dkt. 68-29); see Brown Reply Declaration, ¶¶ 6-7.



                                                 -5-

                                           APPX738
            Case: 23-136         Document: 2-2         Page: 568        Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 79 Filed 03/16/23 Page 10 of 16 PageID #: 1743




       Entropic also relies on web sites using the “www.spectrum.com” URL as evidence that

there is only “One Charter.” Dkt. 68 at 15. All this shows, however, is the fact that services are

provided under the Spectrum brand, not “Charter Communications, Inc.” or even “Charter,”

confirming the fact that CCI’s subsidiaries do not hold themselves out as CCI.

       Lastly, Entropic argues CCI “represents [] to the federal government” that “Charter is one

enterprise and that CCI provides the accused products and services.” Dkt. 68 at 16-18. In reality,

Charter repeatedly explained that it provided these services through its subsidiaries. Dkt. 68 at 16-

17 (citing Dkt. 68-15, Entropic’s Ex. N (referring to CCI as “the ultimate controlling entity” and

showing a partial corporate structure)); Dkt. 68 at 17 (quoting from CCI filing that refers to CCI

“together with its controlled subsidiaries”)2; Dkt. 68 at 18 (quoting from another CCI filing that

states CCI provides services “through its operating subsidiaries”). 3

       If CCI’s generic statements concerning the services provided by its subsidiaries were

sufficient to pierce the corporate veil, no major corporation in the United States would be able to

function without a wholesale reorganization. See Interactive Toybox, 2018 WL 5284625, at *4

(rejecting alter ego theory where “evidence [did] not establish” that parent ignored “the corporate

formalities” or exerted “such a level of control” based on public documents wherein the parent-




2
        Entropic fails to provide the full quote for this filing, which also includes: “Charter admits
that Charter Communications, Inc., together with its controlled subsidiaries, is a holding company
whose principal asset is a controlling equity interest in Charter Communications Holdings, LLC,
an indirect owner of Charter Communications Operating, LLC under which substantially all of the
operations reside.” Compare Dkt. 68 at 1, 17 with Ex. 13, ITC Submission, ¶ 15.
3
        As for Entropic’s reliance on CCI’s pleadings in Rockstar or Bear Creek Techs., see Dkt.
68 at 17-18, these are from 2014 and 2011, respectively, before CCI even owned any Time Warner
Cable entities, including SGC.              See https://ir.charter.com/news-releases/news-release-
details/charter-communications-merge-time-warner-cable-and-acquire.               And, “[v]enue is
determined by the facts and situation as of the date suit is filed.” Parallel Network Licensing LLC
v. Arrow Elecs., Inc., No. 21-CV-0714, 2022 WL 1597364, at *3 (E.D. Tex. May 19, 2022).



                                                 -6-

                                           APPX739
            Case: 23-136         Document: 2-2         Page: 569        Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 79 Filed 03/16/23 Page 11 of 16 PageID #: 1744




defendant stated, among other things, it is “home” to “a leading retail business,” i.e., the branded-

store subsidiary).

       B.      Venue is Improper as to CCI Because It Does Not Have Regular and
               Established Places of Business In This District 4
               1.      Spectrum, Not CCI, Is Associated With the Website and Buildings
                       That Offer Spectrum Services in This District
       CCI has no physical place of business in this district. Thus, Entropic contends that CCI

carries out its business in this district by imputing the presence of SGC to CCI. E.g., Dkt. 68 at

21-22 (arguing that “CCI has touted publicly” the services offered in Spectrum stores). For the

reasons stated above, those arguments should fail. Entropic cites this Court’s decision in Entropic

Communications, LLC v. DirecTV, LLC et al (“DirecTV”) to argue that CCI carries out business

at the Spectrum stores in this district because each location displays the Spectrum logo and offers

services under the Spectrum brand. Dkt. 68 at 21-22 (citing DirecTV, No. 22-CV-0075, Dkt. 109,

at 7 (E.D. Tex. Oct. 24, 2022) (Gilstrap, J.)). CCI, however, does not own or lease any physical

locations anywhere in Texas; those four locations are owned or leased and operated by SGC. Dkt.

61 at 13. And, unlike DirecTV, all of the evidence shows use of the Spectrum brand, and not any

“Charter” or CCI-specific brand: there are no locations in this district that bear the “Charter”

name, and the Spectrum website (not the Charter website) identifies the Spectrum services that are

offered at the Spectrum stores in this district. Cf. DirecTV, at 7-8.

               2.      CCI Has No Agents Conducting Business in the District
       Entropic argues that CCI has a regular and established place of business based on an agency

relationship and because CCI has purportedly “represented” that “when a customer walks into a

Spectrum store or has a Spectrum technician install equipment at their home, that customer is


4
         CCI denies that it committed any acts of infringement and focuses its arguments on
Entropic’s failure to establish that CCI has a regular and established place of business in the
district. See Dkt. 61 at 12 n.9.



                                                 -7-

                                           APPX740
            Case: 23-136         Document: 2-2         Page: 570        Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 79 Filed 03/16/23 Page 12 of 16 PageID #: 1745




interacting with an employee/agent of” CCI. Dkt. 68 at 26 (emphases added); id. at 23-26. Yet,

Entropic cites no evidence for this statement and fails to explain how the Spectrum brand is

synonymous with CCI, other than to ask that the Court pierce the corporate veil and find that CCI

is the alter ego of its subsidiaries. For the reasons above, the Court should reject that argument. 5

       As for the agency theory, Entropic contends that CCI has the “right to direct or control the

employees’ actions,” and that CCI officers “can direct the work of the employees,” because CCI

is a designated manager under LLC agreements. 6 Dkt. 68 at 23-24. As explained, nothing in the

record suggests that the relationship between CCI and SGC (or any other subsidiary) is anything

other than that between a parent and subsidiary or a LLC manager and a managed LLC. See § II.A,

supra; see Dkt. 61 at 14-15; E. Texas Med. Ctr. Reg’l Healthcare Sys. v. Slack, 916 F. Supp. 2d

719, 722 (E.D. Tex. 2013) (Gilstrap, J.) (rejecting agency relationship “based merely on” a

“corporate relationship”); Charles v. Charles, No. 21-CV-2061, 2022 WL 4747499, at *4 (S.D.

Tex. Sept. 30, 2022) (same); L.B. Benon Family Ltd. P’ship v. Wells Fargo Bank, N.A., SA-21-

CA-01115, 2022 WL 16825204, at *4 (W.D. Tex. Nov. 7, 2022) (no agency relationship where

there the parties shared the same office, CFO, and management team and a “contractual

relationship” was the only supporting evidence). Here, too, Entropic misrepresents that CCI or its

officers, acting as CCI, hire and fire employees, which is “directly contradicted” by CCI’s

corporate representatives. See § II.A, supra; Dkt. 61 at 14-15; Andra Grp., 6 F.4th at 1288-89.




5
       Entropic argues that the same facts in support of the first Cray factor to support the second
Cray factor. Dkt. 68 at 22-23. As explained in CCI’s opening brief and again above, the Court
should reject this argument.
6
       “Texas law does not presume agency and the party asserting agency has the burden of
proving it.” Neria v. Dish Network L.L.C., No. 19-CV-00430, 2020 WL 3403074, at *5 (W.D.
Tex. June 19, 2020).



                                                 -8-

                                           APPX741
           Case: 23-136          Document: 2-2         Page: 571       Filed: 06/16/2023
                      CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 79 Filed 03/16/23 Page 13 of 16 PageID #: 1746




       Entropic repeats its imputation arguments and relies on public documents to aver that CCI

“manifested its consent that the employees act” on its behalf by “representing to the public that the

employees work for CCI.” Dkt. 68 at 24. Entropic does not cite any authority for the proposition

that acknowledging the existence of employees who support the Spectrum brand is a manifestation

“of consent” for CC LLC employees to act on CCI’s behalf. Bobby Goldstein Productions, Inc. v.

Habeeb, No. 21-CV-1924-G, 2022 WL 1642466, at *4 (N.D. Tex. May 24, 2022) (setting forth

the two ways in which “manifestation of consent” may be demonstrated). In any event, as

discussed, the documents cited by Entropic “are documents covering all of” the Spectrum brand;

and any reference to “we” does not mean CCI “could include the individual subsidiary[ies]”

providing services under the Spectrum brand 7 Andra Grp., 6 F.4th at 1288.

       Lastly, Entropic does not explain how “Spectrum employees” consented “to act as the

agents of CCI” or how CCI consented to have them act on its behalf by their signing an arbitration

agreement or using a Spectrum website to apply for jobs. Dkt. 68 at 25 (emphasis added). Nor do

the LinkedIn profiles matter, id. at 25-26, because Entropic does not contend that any of these

individuals work or operate out of any property listed in the SAC, as is required under Cray.8

               3.      CCI Has Not Ratified Any Place of Business In This District



7
        Entropic cites documents from wrongful death case to argue that CCI “acknowledged” that
its employee Brian Anderson was an “agent.” Dkt. 24-25 (citing Montes v. Charter Comms., Inc.,
No. 21-CV-0489 (S.D. Tex.)). However, CCI did not “acknowledge” anything. The plaintiff
alleged that Anderson was an “agent.” Montes, No. 21-CV-0489 (S.D. Tex.), Dkt. 1-1 at ECF p.
11. CCI had no need to dispute that fact at the pleading stage and instead merely argued that the
plaintiff “failed to plead facts establishing that Anderson was negligent” because as a purported
agent he “did not owe [the plaintiff] an individual duty.” Id., Dkt. 1, ¶¶ 12-14. In any event,
Entropic itself acknowledges that Anderson was employed by CC LLC, and not CCI. See Dkt. 68
at 25 n.14.
8
        Entropic wrongly asserts, without evidence, that “CCI has given their employees no reason
to believe they work for anyone but CCI.” Dkt. 68 at 26. Employees receive paychecks or W-2
from different subsidiaries – not CCI. Dkt. 61-4, Ex. 2, Proost Dep., 83:17-84:23; see e.g., Ex. 14
(                                          ).



                                                 -9-

                                          APPX742
           Case: 23-136         Document: 2-2          Page: 572       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 79 Filed 03/16/23 Page 14 of 16 PageID #: 1747




       Relying on many of the same arguments, Entropic argues that CCI ratified the Spectrum

store locations in this district because visitors to the Spectrum website or stores “believe that the

Spectrum-branded stores and Spectrum services are provided by CCI.”               Dkt. 68 at 26-27

(emphases added). Entropic provides no support for this statement and cannot show that CCI

ratified any store in this district because CCI has maintained the corporate forms and thus, the

“shared use” of “Spectrum” “does not detract from the separateness of [its] business.” Andra Grp,

6 F.4th at 1290. And, to analyze whether CCI ratified any stores in this district, which it has not,

courts weigh many considerations, which Entropic does not address. Id. at 1289-90. Contrary to

Entropic’s suggestion (Dkt. 68. at 28-29), and discussed above, the formation and execution of an

LLC agreement alone does not support the conclusion that CCI has ratified any Spectrum store as

its own. Here, unlike in DirecTV or Agis Software Development LLC v. Google LLC, 2022 WL

1511757, at *9 (E.D. Tex. May 12, 2022), all of the job listings and advertisements here are offered

under the Spectrum-brand and Spectrum is the “provider” of all services “in all interactions with”

customers such that there was “never any suggestion that anyone other than [Spectrum] was

providing the service.” MDSave, Inc. v. Sesame, Inc., No. 21-CV-01338, 2023 WL 353998, at *5

(W.D. Tex. Jan. 11, 2023) (distinguishing Agis and granting motion to dismiss for improper

venue); cf. Agis, 2022 WL 1511757, at *18 (finding Google ratified location because “by [its] own

admission, ‘[Customers] are not even aware of CTDI,’” its alleged agent); cf. DirecTV, at 10-11

(finding the defendant “adopted and ratified” locations based on the company’s DISH-branded

website offering DISH service packages and authorized retailers of DISH-branded products,

among other DISH-branded information). The Court should therefore grant CCI’s motion.

III.   CONCLUSION

       For the reasons stated above, and for the reasons set forth in Defendant CCI’s opening

brief, the Court should grant Defendant’s Motion to Dismiss the SAC.



                                                -10-

                                          APPX743
         Case: 23-136   Document: 2-2       Page: 573    Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 79 Filed 03/16/23 Page 15 of 16 PageID #: 1748




 Dated: March 9, 2023                Respectfully submitted,

                                     /s/ Deron R. Dacus
                                     Deron R. Dacus
                                     State Bar No. 00790553
                                     The Dacus Firm, P.C.
                                     821 ESE Loop 323, Suite 430
                                     Tyler, TX 75701
                                     Phone: (903) 705-1117
                                     Fax: (903) 581-2543
                                     Email: ddacus@dacusfirm.com

                                     Daniel L. Reisner
                                     David Benyacar
                                     Elizabeth Long
                                     Albert J. Boardman
                                     Melissa Brown
                                     Palak Mayani Parikh
                                     ARNOLD & PORTER KAYE SCHOLER LLP
                                     250 West 55th Street
                                     New York, New York, 10019-9710
                                     Telephone: (212) 836-8000
                                     Email: daniel.reisner@arnoldporter.com
                                     Email: david.benyacar@arnoldporter.com
                                     Email: elizabeth.long@arnoldporter.com
                                     Email: albert.boardman@arnoldporter.com
                                     Email: melissa.brown@arnoldporter.com
                                     Email: palak.mayani@arnoldporter.com

                                     Attorneys for Defendant
                                     Charter Communications, Inc.




                                     -11-

                                APPX744
           Case: 23-136        Document: 2-2         Page: 574      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 79 Filed 03/16/23 Page 16 of 16 PageID #: 1749




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has been

served on all counsel of record via the Court’s ECF system on March 9, 2023.



                                            /s/ Deron R. Dacus
                                            Deron R. Dacus


             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       Pursuant to Local Rule CV-5, the undersigned counsel hereby certifies that authorization

for filing under seal has been previously granted by the Court in the Protective Order (Dkt. 36)

entered in this case on August 10, 2022.



                                            /s/ Deron R. Dacus
                                            Deron R. Dacus




                                              -12-


                                           APPX745
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 79-1    Page:  575 Filed:
                                             03/16/23 Page 06/16/2023
                                                           1 of 3 PageID #: 1750



                       UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION



 ENTROPIC COMMUNICATIONS, LLC,

        Plaintiff,

           v.                                     Civil Action No. 2:22-cv-00125-JRG

 CHARTER COMMUNICATIONS, INC.,

        Defendant.



   REPLY DECLARATION OF MELISSA A. BROWN IN FURTHER SUPPORT OF
   CHARTER COMMUNICATIONS, INC.’S MOTION TO DISMISS THE SECOND
  AMENDED COMPLAINT FOR IMPROPER VENUE PURSUANT TO FRCP 12(b)(3)




                                APPX746
             Case: 23-136           Document: 2-2      Page: 576       Filed: 06/16/2023
                       CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 79-1 Filed 03/16/23 Page 2 of 3 PageID #: 1751




I, Melissa A. Brown, declare as follows:

        1.      I am over 18 years of age and competent to make this declaration. If called to testify

as a witness, I could and would testify truthfully under oath to each of the statements in the

declaration. I make each statement below based on my personal knowledge or after investigation

of the relevant information.

        2.      I am an attorney at Arnold & Porter Kaye Scholer, LLP, counsel of record for

Defendant, Charter Communications, Inc. (“Defendant” or “CCI”). I am licensed to practice law

in the States of New York and New Jersey, and have been admitted pro hac vice to this Court.

        3.      I make this Declaration based on my personal knowledge and in further support of

CCI’s Motion to Dismiss the Second Amended Complaint for Improper Venue Pursuant to Federal

Rule of Civil Procedure 12(b)(3).

        4.      Attached hereto as Exhibit 13 is a true and correct copy of the submission to the

United States International Trade Commission, Investigation No. 337-TA-1315, referenced by

Plaintiff Entropic Communications, LLC (“Entropic”) in its opposition brief (Dkt. 68) at 1, 3, 17.

        5.      Attached hereto as Exhibit 14 is a true and correct redacted copy of a pay stub

reflecting                                             .

        6.      CCI has not been designated or listed as a custodian of any document produced by

Defendant CCI in this litigation.

        7.      Gregory Greene is the custodian of the document that Entropic submitted as Exhibit

AB (CHARTER_ENTROPIC00007936). See Dkt. 68-29.


Executed on March 9, 2023 in New York, New York.


                                               /s/ Melissa A. Brown
                                               Melissa A. Brown



                                                  1

                                           APPX747
           Case: 23-136        Document: 2-2        Page: 577       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 79-1 Filed 03/16/23 Page 3 of 3 PageID #: 1752




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has been

served on all counsel of record via the Court’s ECF system on March 9, 2023.



                                            /s/ Melissa A. Brown
                                            Melissa A. Brown


             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       Pursuant to Local Rule CV-5, the undersigned counsel hereby certifies that authorization

for filing under seal has been previously granted by the Court in the Protective Order (Dkt. 36)

entered in this case on August 10, 2022.



                                            /s/ Melissa A. Brown
                                            Melissa A. Brown




                                              -2-

                                           APPX748
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 79-2     Page:  578 Page
                                             03/16/23 Filed: 106/16/2023
                                                               of 37 PageID #: 1753




                              EXHIBIT 13




                                  APPX749
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 79-2     Page:  579 Page
                                             03/16/23 Filed: 206/16/2023
                                                               of 37 PageID #: 1754




                    UNITED STATES INTERNATIONAL TRADE COMMISSION
                                    WASHINGTON, DC

                                     Before the Honorable Cameron R. Elliot
                                           Administrative Law Judge




  In the Matter of

  CERTAIN DIGITAL SET-TOP BOXES                                  Investigation No. 337-TA-1315
  AND SYSTEMS AND SERVICES
  INCLUDING THE SAME



           RESPONDENTS CHARTER COMMUNICATIONS, INC., CHARTER
        COMMUNICATIONS OPERATING, LLC, CHARTER COMMUNICATIONS
        HOLDING COMPANY, LLC, AND SPECTRUM MANAGEMENT HOLDING
        COMPANY, LLC’S RESPONSE TO THE AMENDED COMPLAINT UNDER
        SECTION 337 OF THE TARIFF ACT OF 1930, AS AMENDED, AND TO THE
                          NOTICE OF INVESTIGATION

           Respondents Charter Communications, Inc., Charter Communications Operating, LLC,

 Charter Communications Holding Company, LLC, and Spectrum Management Holding Company,

 LLC (collectively “Charter”), pursuant to 19 C.F.R. § 210.13, respectfully submit this Response

 to the Complaint Under Section 337 of the Tariff Act of 1930, including pre-institution

 supplements to the Complaint dated April 27, 2022, May 3, 2022, May 10, 2022, and May 12,

 2022 (the “Complaint”) filed by Broadband iTV, Inc. (“BBiTV”), and the resulting Notice of

 Investigation (the “Notice of Investigation”).

                                           RESPONSE TO COMPLAINT

           Charter responds to the Complaint dated April 22, 2022, and entitled “Certain Digital Set-

 Top Boxes and Systems and Services Including Same,” and its pre-institution supplements, in like-

 numbered paragraphs as follows. Certain headings are reproduced from the Complaint for the



 Charter Respondents Response to Amended Complaint and NoI   1
 US 172004846v8

                                                      APPX750
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 79-2     Page:  580 Page
                                             03/16/23 Filed: 306/16/2023
                                                               of 37 PageID #: 1755




 sake of convenience but are not an admission of the content of the Complaint or the specific

 allegations therein.

           I.        INTRODUCTION

           1.        Charter admits that BBiTV requested that the International Trade Commission

 institute an investigation based upon allegations of violations of Section 337 of the Tariff Act of

 1930, as amended, 19 U.S.C. § 1337 (“Section 337”).

           2.        Charter admits that BBiTV brought this action seeking relief under Section 337 to

 prevent the alleged unlawful and unauthorized importation into the United States, the sale for

 importation into the United States, and the sale within the United States after importation, of

 certain set-top boxes, streaming set-top boxes, and systems and services containing the same (the

 “Accused Products”). Charter also admits that BBiTV has asserted certain claims from U.S. Patent

 No. 9,866,909 (“the ’909 patent”); U.S. Patent No. 10,555,014 (“the ’014 patent”); U.S. Patent

 No. 9,936,240 (“the ’240 patent”); and U.S. Patent No. 11,277,669 (“the ’669 patent”)

 (collectively, the “Asserted Patents”). Charter denies all other allegations of this paragraph,

 including that it infringes any claim of the Asserted Patents and further denies that it has unlawfully

 or without authorization imported into the United States, sold for importation, or sold within the

 United States after importation any Accused Products.

           3.        Charter denies all allegations of this paragraph, including that it infringes any claim

 of the Asserted Patents either literally or under the doctrine of equivalents.

           4.        Paragraph 4 does not contain factual allegations requiring a response. To the extent

 a response is nonetheless deemed to be required, Charter denies the allegations of this paragraph.

           5.        Charter denies it imports into the United States, sells for importation into the

 United States, and/or sells in the United States after importation one or more Accused Products

 that infringe one or more Asserted Patents, either literally or under the doctrine of equivalents.

 Charter Respondents Response to Amended Complaint and NoI   2
 US 172004846v8

                                                      APPX751
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 79-2     Page:  581 Page
                                             03/16/23 Filed: 406/16/2023
                                                               of 37 PageID #: 1756




 Charter lacks knowledge or information sufficient to form a belief as to the truth or the remaining

 allegations in paragraph 5, and on that basis, denies them.

           6.        Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 6, and on that basis, denies them.

           7.        Charter denies that is has committed unfair acts. The remainder of paragraph 7

 does not contain factual allegations requiring a response. To the extent a response is nonetheless

 deemed to be required, Charter denies the allegations of this paragraph.

           II.       COMPLAINANT

           8.        Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 8, and on that basis, denies them.

           9.        Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 9, and on that basis, denies them.

           10.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 10, and on that basis, denies them.

           III.      PROPOSED RESPONDENTS

                     A.        Comcast

           11.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 11, and on that basis, denies them.

           12.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 12, and on that basis, denies them.

           13.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 13, and on that basis, denies them.

           14.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 14, and on that basis, denies them.

 Charter Respondents Response to Amended Complaint and NoI   3
 US 172004846v8

                                                      APPX752
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 79-2     Page:  582 Page
                                             03/16/23 Filed: 506/16/2023
                                                               of 37 PageID #: 1757




                     B.        Charter

           15.       Charter admits that Charter Communications, Inc. is a Delaware corporation with

 headquarters at 400 Washington Blvd., Stamford, Connecticut 06902. Charter admits the other

 Charter Respondents are indirect subsidiaries of Charter Communications, Inc. Charter admits

 that Charter Communications, Inc., together with its controlled subsidiaries, is a holding company

 whose principal asset is a controlling equity interest in Charter Communications Holdings, LLC,

 an indirect owner of Charter Communications Operating, LLC under which substantially all of the

 operations reside. Charter admits that its Spectrum TV service is provided using set-top boxes

 provided to its customers. Charter denies the remaining allegations in paragraph 15.

           16.       Charter admits that Charter Communications Operating, LLC is a Delaware limited

 liability company with its principal place of business at 12405 Powerscourt Dr., St. Louis, Missouri

 63131 and incorporates its response to paragraph 15. Charter denies the remaining allegations in

 paragraph 16.

           17.       Charter admits that Charter Communications Holding Company, LLC is a

 Delaware limited liability company with its principal place of business at 12405 Powerscourt Dr.,

 St. Louis, Missouri 63131. Charter admits that Charter Communications Holding Company, LLC

 provides management services for certain cable systems owned or operated by Charter’s

 subsidiaries. Charter denies the remaining allegations in paragraph 17.

           18.       Charter admits that Spectrum Management Holding Company, LLC is a Delaware

 limited liability company with its principal place of business at 12405 Powerscourt Drive, St.

 Louis, Missouri 63131. Charter admits that Spectrum Management Holding Company, LLC

 provides management services for certain cable systems owned or operated by Charter

 subsidiaries. Charter denies the remaining allegations in paragraph 18.



 Charter Respondents Response to Amended Complaint and NoI   4
 US 172004846v8

                                                      APPX753
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 79-2     Page:  583 Page
                                             03/16/23 Filed: 606/16/2023
                                                               of 37 PageID #: 1758




           19.       Charter admits that Charter Communications, Inc., Spectrum Management Holding

 Company, LLC and Charter Communications Holding Company, LLC provide management

 services for the cable systems owned or operated by their subsidiaries. Charter denies the

 remaining allegations of paragraph 19.

           20.       Charter admits that Charter Communications, Inc. (together with its controlled

 subsidiaries) is a broadband connectivity company and cable operator that provides television

 and other services to subscribers under the Spectrum brand and provides such services on a

 variety of platforms, including through digital set-top boxes which may include access to an

 interactive programming guide, video on demand, or pay-per-view services. Charter denies the

 remaining allegations of paragraph 20 as stated.

           21.       Charter denies the allegations of paragraph 21.

                     C.        Altice

           22.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 22, and on that basis, denies them.

           23.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 23, and on that basis, denies them.

           24.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 24, and on that basis, denies them.

           25.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 25, and on that basis, denies them.

           26.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 26, and on that basis, denies them.




 Charter Respondents Response to Amended Complaint and NoI   5
 US 172004846v8

                                                      APPX754
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 79-2     Page:  584 Page
                                             03/16/23 Filed: 706/16/2023
                                                               of 37 PageID #: 1759




           IV.       TECHNOLOGY AND PRODUCTS AT ISSUE

           27.       Charter admits that the categories of products and/or activities BBiTV accused of

 infringing are “(i) imported set-top boxes, including streaming devices, for receiving television

 services and (ii) services and systems that incorporate the imported set-top boxes, and

 components of such systems, including servers, mobile streaming apps, content delivery

 networks, and ingestion tools.” Charter lacks knowledge or information sufficient to form a

 belief as to the truth of the remaining allegations in paragraph 27, and on that basis, denies them.

           28.       Charter denies the allegations of paragraph 28, including BBiTV’s descriptions of

 the purported invention, and that the Asserted Patents disclosed any improvements over the prior

 art.

           29.       Charter denies that it infringes the Asserted Patents through the provision of

 television services and the sale for importation into the United States, importation into the United

 States, and/or sale within the United States after importation of Accused Products. Charter lacks

 knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

 paragraph 29, and on that basis, denies them.

           30.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 30, and on that basis, denies them.

           31.       Charter admits it sells or leases set-top boxes 101H, 101T, 110A, 110H, 110T,

 200H, 201H, 201T, 210A, 210H, 210T, DCX3200M/P3-Spectrum, DCX3220E-Spectrum,

 DCX3510-Spectrum, and DCX3520E-Spectrum set-top boxes. The remainder of paragraph 31

 does not contain factual allegations requiring a response. To the extent a response is nonetheless

 deemed to be required, Charter denies the allegations of this paragraph.

           32.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 32, and on that basis, denies them.

 Charter Respondents Response to Amended Complaint and NoI   6
 US 172004846v8

                                                      APPX755
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 79-2     Page:  585 Page
                                             03/16/23 Filed: 806/16/2023
                                                               of 37 PageID #: 1760




           33.       Charter denies that it infringes the Asserted Patents. The remainder of paragraph

 33 does not contain factual allegations requiring a response.              To the extent a response is

 nonetheless deemed to be required, Charter denies the allegations of this paragraph.

           V.        ASSERTED PATENTS

                     A.        U.S. Patent No. 9,866,909

                               1.        Identification of the ’909 patent and ownership by
                                         Complainant

           34.       Charter admits that the ’909 patent is entitled “Video-On-Demand Content

 Delivery System for Providing Video-On-Demand Services to TV Service Subscribers” and, on

 its face, indicates that it issued on January 9, 2018 and that Milton Diaz Perez is listed as the

 inventor. Charter also admits that, on its face, the ’909 patent indicates that it issued from

 application No. 15/582,155 and further indicates that application No. 15/582,155 is a continuation

 of application No. 15/190,954, filed on June 23, 2016, now U.S. Patent No. 9,641,896, which is a

 continuation of application No. 14/978,881, filed on Dec. 22, 2015, now U.S. Patent No.

 9,386,340, which is a continuation of application No. 14/703, 597, filed on May 4, 2015, now U.S.

 Patent No. 9, 232, 275, which is a continuation of application No. 12/852,663, filed on Aug. 9,

 2010, now U.S. Patent No. 9,078,016, which is a division of application No. 11/952,552, filed on

 Dec. 7, 2007, now U.S. Patent No. 7,774,819, which is a division of application No. 10/909,192,

 filed on Jul. 30, 2004, now U.S. Patent No. 7,590,997. Charter lacks knowledge or information

 sufficient to form a belief as to the truth of the remaining allegations in paragraph 34 and, on that

 basis, denies them.

           35.       Charter admits that BBiTV attached what purports to be a certified copy of the ’909

 patent, a certified copy of the prosecution history of the ’909 patent, and a copy of the assignment




 Charter Respondents Response to Amended Complaint and NoI   7
 US 172004846v8

                                                      APPX756
           Case: 23-136 Document
Case 2:22-cv-00125-JRG   Document: 2-2 Filed
                                 79-2     Page:  586 Page
                                             03/16/23 Filed: 906/16/2023
                                                               of 37 PageID #: 1761




 records for the ’909 patent. Charter lacks knowledge or information sufficient to form a belief as

 to the truth of the remaining allegations in paragraph 35 and, on that basis, denies them.

                               2.        Nontechnical description of the ’909 patent

           36.       Charter denies the allegations in paragraph 36.

                               3.        Foreign counterparts of the ’909 patent

           37.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 37 and, on that basis, denies them.

                     B.        U.S. Patent No. 10,555,014

                               1.        Identification of the ’014 patent and ownership by
                                         Complainant

           38.       Charter admits that the ’014 patent is entitled “System for Addressing On-Demand

 TV Program Content on TV Services Platform of a Digital TV Services Provider” and, on its face,

 indicates that it issued on February 4, 2020 and that Milton Diaz Perez is listed as the inventor.

 Charter also admits that, on its face, the ’014 patent indicates that it issued from application No.

 16/269,721 and further indicates that application No. 16/269,721 is a continuation application of

 application No. 16/023,875, filed on Jun. 29, 2018, now U.S. Patent No. 10,341,699, which is a

 continuation of application No. 15/251,865, filed on Aug. 30, 2016, now U.S. Patent No.

 10,028,027, which is a continuation of application No. 14/827,113, filed on Aug. 14, 2015, now

 U.S. Patent No. 9,491,497, which is a continuation of application No. 12/632,745, filed on Dec. 7,

 2009, now U.S. Patent No. 9,113,228, which is a division of application No. 11/685,188, filed on

 Mar. 12, 2007, now U.S. Patent No. 7,631,336, which is a continuation-in-part of application No.

 10/909,192, filed on Jul. 30, 2004, now U.S. Patent No. 7,590,997. Charter lacks knowledge or

 information sufficient to form a belief as to the truth of the remaining allegations in paragraph 38

 and, on that basis, denies them.


 Charter Respondents Response to Amended Complaint and NoI   8
 US 172004846v8

                                                      APPX757
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 587 Page
                                              03/16/23 Filed:10
                                                              06/16/2023
                                                                of 37 PageID #: 1762




           39.       Charter admits that BBiTV purports to have attached a certified copy of the ’014

 patent, a certified copy of the prosecution history of the ’014 patent, and a copy of the assignment

 records for the ’014 patent. Charter lacks knowledge or information sufficient to form a belief as

 to the truth of the remaining allegations in paragraph 39 and, on that basis, denies them.

                               2.        Nontechnical description of the ’014 patent

           40.       Charter denies the allegations in paragraph 40.

                               3.        Foreign counterparts of the ’014 patent

           41.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 41 and, on that basis, denies them.

                     C.        U.S. Patent No. 9,936,240

                               1.        Identification of the ’240 patent and ownership by
                                         Complainant

           42.       Charter admits that the ’240 patent is entitled “Dynamic Adjustment of Electronic

 Program Guide Displays Based on Viewer Preferences for Minimizing Navigation in VOD

 Program Selection” and, on its face, indicates that it issued on April 8, 2018 and that Milton Diaz

 Perez is listed as the inventor. Charter also admits that, on its face, the ’240 patent indicates that

 it issued application No. 15/582,099 and further indicates that application No. 15/582,099 is a

 continuation application of application No. 15/002,011, filed on Jan. 20,2016, now Pat. No.

 9,641,902, which is a continuation of application No. 12/869,534, filed on Aug. 26, 2010, now

 Pat. No. 9,344,765, which is a division of application No. 11/768,895, filed on Jun. 26, 2007, now

 Pat. No. 9,584,868. Charter lacks knowledge or information sufficient to form a belief as to the

 truth of the remaining allegations in paragraph 42 and, on that basis, denies them.

           43.       Charter admits that BBiTV purports to have attached a certified copy of the ’240

 patent, a copy of the prosecution history of the ’240 patent, and a copy of the assignment records


 Charter Respondents Response to Amended Complaint and NoI   9
 US 172004846v8

                                                      APPX758
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 588 Page
                                              03/16/23 Filed:11
                                                              06/16/2023
                                                                of 37 PageID #: 1763




 for the ’240 patent. Charter lacks knowledge or information sufficient to form a belief as to the

 truth of the remaining allegations in paragraph 43 and, on that basis, denies them.

                               2.        Nontechnical description of the ’240 patent

           44.       Charter denies the allegations in paragraph 44.

                               3.        Foreign counterparts of the ’240 patent

           45.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 45 and, on that basis, denies them.

                     D.        U.S. Patent No. 11,277,669

                               1.        Identification of the ’669 patent and ownership by
                                         Complainant

           46.       Charter admits that the ’669 patent is entitled “Dynamic Adjustment of Electronic

 Program Guide Displays Based on Viewer Preferences for Minimizing Navigation in VOD

 Program Selection” and, on its face, indicates that it issued on March 22, 2022 and that Milton

 Diaz Perez is listed as the inventor. Charter also admits that, on its face, the ’669 patent indicates

 that it issued from application No. 16/785,224 and further indicates that application No.

 16/785,224 is a continuation application that claims the benefit of application No. 16/199,894,

 filed on Nov. 26, 2018, now Pat. No. 10,567,846, which is a continuation of application No.

 15/894,262, filed on Feb. 12, 2018, now Pat. No. 10,149,015, which is a continuation of application

 No. 15/589,225, filed on May 8, 2017, now Pat. No. 9,894,419, which is a continuation of

 application No. 15/002,040, filed on Jan. 20, 2016, now Pat. No. 9,648,390, which is a continuation

 of application No. 13/831,042, filed on Mar. 14, 2013, now Pat. No. 9,247,308, which is a

 continuation of application No. 12/869,534, filed on Aug. 26, 2010, now Pat. No. 9,344,765, which

 is a division of application No. 11/768,895, filed on Jun. 26, 2007, now Pat. No. 9,584,868. Charter




 Charter Respondents Response to Amended Complaint and NoI   10
 US 172004846v8

                                                      APPX759
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 589 Page
                                              03/16/23 Filed:12
                                                              06/16/2023
                                                                of 37 PageID #: 1764




 lacks knowledge or information sufficient to form a belief as to the truth of the remaining

 allegations in paragraph 46 and, on that basis, denies them.

           47.       Charter admits that BBiTV purports to have attached a certified copy of the ’669

 patent, a certified copy of the prosecution history of the ’669 patent, and a copy of the assignment

 records for the ’669 patent. Charter lacks knowledge or information sufficient to form a belief as

 to the truth of the remaining allegations in paragraph 47 and, on that basis, denies them.

                               2.        Nontechnical description of the ’669 patent

           48.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 48 and, on that basis, denies them.

                               3.        Foreign counterparts of the ’669 patent

           49.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 49 and, on that basis, denies them.

           VI.       LICENSES UNDER THE ASSERTED PATENTS

           50.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 50 and, on that basis, denies them.

           VII.      SPECIFIC INSTANCES OF UNLAWFUL IMPORTATION AND SALE

           51.       Charter denies the allegations of paragraph 51 as they concern Charter. Charter

 lacks knowledge or information sufficient to form a belief as to the truth of the remaining

 allegations in paragraph 51 and, on that basis, denies them.

           52.       Paragraph 52 does not contain factual allegations requiring a response. To the

 extent a response is nonetheless deemed to be required, Charter denies the allegations of paragraph

 52. Charter further incorporates by reference its responses with respect to paragraphs 62 through

 68.




 Charter Respondents Response to Amended Complaint and NoI   11
 US 172004846v8

                                                      APPX760
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 590 Page
                                              03/16/23 Filed:13
                                                              06/16/2023
                                                                of 37 PageID #: 1765




                     A.        Comcast’s Importation

           53.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 53 and, on that basis, denies them.

           54.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 54 and, on that basis, denies them.

           55.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 55 and, on that basis, denies them.

           56.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 56 and, on that basis, denies them.

           57.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 57 and, on that basis, denies them.

           58.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 58 and, on that basis, denies them.

           59.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 59 and, on that basis, denies them.

           60.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 60 and, on that basis, denies them.

           61.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 61 and, on that basis, denies them.

                     B.        Charter’s Importation

           62.       Charter admits that the Charter Accused Products are manufactured abroad and

 imported into the United States by original equipment manufacturers (OEMs) and that at least

 some of the Charter Accused Products are designed in part according to Charter specifications.

 Charter also admits that the Charter Accused Products are provided to its Spectrum TV service

 Charter Respondents Response to Amended Complaint and NoI   12
 US 172004846v8

                                                      APPX761
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 591 Page
                                              03/16/23 Filed:14
                                                              06/16/2023
                                                                of 37 PageID #: 1766




 customers. Charter denies that it imports Charter Accused Products into the United States and

 denies all of the remaining allegations of paragraph 62.

           63.       Charter admits that the Charter Accused Products include certain set-top boxes that

 are leased by Charter customers in the United States. Charter denies the remaining allegations of

 paragraph 63.

           64.       Charter admits that it charges subscribers for lost, damaged, and/or returned set-top

 boxes, including the Charter accused products. Charter denies the remaining allegations of

 paragraph 64.

           65.       Charter admits that Charter’s television subscribers take possession of the Charter

 Accused Products when Charter leases its Accused Products to certain Spectrum TV subscribers,

 Charter denies the remaining allegations of paragraph 65.

           66.        Charter admits that it sells and provides Spectrum TV services in the United

 States and, in certain situations, provides set-top boxes in conjunction with this service. The

 remainder of the paragraph contains legal conclusions that do not require a response. To the

 extent any further factual response is required, Charter denies the remaining allegations of

 paragraph 66.

           67.       Charter admits that Exhibit 17 purports to be a list of Charter’s Spectrum

 Equipment. Charter admits its set-top boxes include the 101T model.                  Charter denies the

 remaining allegations of paragraph 67.

           68.       Charter admits that Exhibit 26 is an image of a label that says “Made in China,” but

 Charter does not have sufficient knowledge of whether the label shown in Exhibit 26 is relevant

 to any Charter Accused Product in the United States and, on that basis, denies that it is. Charter

 denies the remaining allegations in paragraph 68.



 Charter Respondents Response to Amended Complaint and NoI   13
 US 172004846v8

                                                      APPX762
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 592 Page
                                              03/16/23 Filed:15
                                                              06/16/2023
                                                                of 37 PageID #: 1767




                     C.        Altice’s Importation

           69.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 69 and, on that basis, denies them.

           70.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 70 and, on that basis, denies them.

           71.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 71 and, on that basis, denies them.

           72.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 72 and, on that basis, denies them.

           73.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 73 and, on that basis, denies them.

           74.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 74 and, on that basis, denies them.

           75.       Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 75 and, on that basis, denies them.

           VIII. UNLAWFUL AND UNFAIR ACTS OF THE PROPOSED RESPONDENTS

           76.       Charter denies that it infringes the Asserted Patents. The remainder of paragraph

 76 does not contain factual allegations requiring a response.             To the extent a response is

 nonetheless deemed to be required, Charter denies the allegations of paragraph 76.

           77.       Charter denies that it infringes the Asserted Patents. Charter denies that it “sell[s]

 cable TV services that include provision of a set-top box, but subscribers generally cannot select

 a specific set-top-box model from among all the set-top boxes that are currently deployed.”

 Charter provides various cable TV services along with a set-top box to its customers and charges

 them fees. With respect to the other respondents, Charter lacks knowledge or information

 Charter Respondents Response to Amended Complaint and NoI   14
 US 172004846v8

                                                      APPX763
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 593 Page
                                              03/16/23 Filed:16
                                                              06/16/2023
                                                                of 37 PageID #: 1768




 sufficient to form a belief as to the truth of the allegation that “respondents sell cable TV services

 that include provision of a set-top box, but subscribers generally cannot select a specific set-top-

 box model from among all the set-top boxes that are currently deployed.” The remainder of

 paragraph 77 does not contain factual allegations requiring a response. To the extent a response

 is nonetheless deemed to be required, Charter denies the remaining allegations of paragraph 77.

                     A.        Comcast’s Patent Infringement

           78.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 78 and, on that basis, denies them.

                               1.        Comcast’s Infringement of the ’909 patent

           79.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 79 and, on that basis, denies them.

           80.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 80 and, on that basis, denies them.

           81.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 81 and, on that basis, denies them.

           82.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 82 and, on that basis, denies them.

                               2.        Comcast’s Infringement of the ’014 patent

           83.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 83 and, on that basis, denies them.

           84.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 84 and, on that basis, denies them.

           85.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 85 and, on that basis, denies them.

 Charter Respondents Response to Amended Complaint and NoI   15
 US 172004846v8

                                                      APPX764
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 594 Page
                                              03/16/23 Filed:17
                                                              06/16/2023
                                                                of 37 PageID #: 1769




           86.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 86 and, on that basis, denies them.

                               3.        Comcast’s Infringement of the ’240 patent

           87.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 87 and, on that basis, denies them.

           88.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 88 and, on that basis, denies them.

           89.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 89 and, on that basis, denies them.

           90.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 90 and, on that basis, denies them.

           91.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 91 and, on that basis, denies them.

                               4.        Comcast’s Infringement of the ’669 patent

           92.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 92 and, on that basis, denies them.

           93.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 93 and, on that basis, denies them.

           94.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 94 and, on that basis, denies them.

           95.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 95 and, on that basis, denies them.

           96.       Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 96 and, on that basis, denies them.

 Charter Respondents Response to Amended Complaint and NoI   16
 US 172004846v8

                                                      APPX765
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 595 Page
                                              03/16/23 Filed:18
                                                              06/16/2023
                                                                of 37 PageID #: 1770




                     B.        Charter’s Patent Infringement

           97.       Charter denies the allegations of paragraph 97.

                               1.        Charter’s Infringement of the ’909 patent

           98.       Charter denies the allegations of paragraph 98.

           99.       Charter admits that Ex. 40 states, on its face, “Tune your receiver to Channel 1

 using your Spectrum remote (or hit the On Demand button). You'll be redirected to your On

 Demand menu to browse Movies, Primetime, Premiums and more. On Demand programming is

 accessible on all of your TVs connected to Spectrum TV service with Spectrum-issued digital

 equipment.” Charter further admits that Ex 41 states, on its face, “lets Spectrum TV subscribers

 watch popular shows and movies at any time.” Charter denies the remaining allegations of

 paragraph 99.

           100.      Charter admits that Ex. 39.1 is a letter dated December 10, 2021 addressed to

 Thomas Rutledge, President of Charter Communications, Inc. Charter admits that Ex. 39.2 is a

 letter dated April 8, 2022 addressed to Kirill Abramov of Charter Communications, Inc. Charter

 denies the remaining allegations of paragraph 100.

           101.      Charter denies the allegations of paragraph 101.

                               2.        Charter’s Infringement of the ’014 patent

           102.      Charter denies the allegations of paragraph 102.

           103.      Charter admits that Ex. 40 states, on its face, “Tune your receiver to Channel 1

 using your Spectrum remote (or hit the On Demand button). You'll be redirected to your On

 Demand menu to browse Movies, Primetime, Premiums and more. On Demand programming is

 accessible on all of your TVs connected to Spectrum TV service with Spectrum-issued digital

 equipment.” Charter further admits that Ex. 41 states, on its face, “lets Spectrum TV subscribers



 Charter Respondents Response to Amended Complaint and NoI   17
 US 172004846v8

                                                      APPX766
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 596 Page
                                              03/16/23 Filed:19
                                                              06/16/2023
                                                                of 37 PageID #: 1771




 watch popular shows and movies at any time.” Charter denies the remaining allegations of

 paragraph 103.

           104.      Charter admits that Ex. 39.1 is a letter dated December 21, 2021 addressed to

 Thomas Rutledge, President of Charter Communications, Inc. Charter admits that Ex. 39.2 is a

 letter dated April 8, 2022 addressed to Kirill Abramov of Charter Communications, Inc. Charter

 denies the remaining allegations of paragraph 104.

           105.      Charter denies the allegations of paragraph 105.

                               3.        Charter’s Infringement of the ’240 patent

           106.      Charter denies the allegations of paragraph 106.

           107.      Charter admits that Ex. 42 states, on its face, that “The Spectrum TV app gives you

 more choices for watching your favorite programming at no extra charge. Watch live TV and On

 Demand programming, browse 14 days of guide listings, schedule recordings, get programming

 recommendations and more.” Charter denies the remaining allegations of paragraph 107.

           108.      Charter denies the allegations of paragraph 108.

           109.      Charter denies the allegations of paragraph 109.

                               4.        Charter’s Infringement of the ’669 patent

           110.      Charter denies the allegations of paragraph 110.

           111.      Charter admits that Ex. 42, on its face, states “The Spectrum TV app gives you

 more choices for watching your favorite programming at no extra charge. Watch live TV and On

 Demand programming, browse 14 days of guide listings, schedule recordings, get programming

 recommendations and more.” Charter denies the remaining allegations of paragraph 111.

           112.      Charter denies the allegations of paragraph 112.

           113.      Charter denies the allegations of paragraph 113.



 Charter Respondents Response to Amended Complaint and NoI   18
 US 172004846v8

                                                      APPX767
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 597 Page
                                              03/16/23 Filed:20
                                                              06/16/2023
                                                                of 37 PageID #: 1772




                     C.        Altice’s Patent Infringement

           114.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 114 and, on that basis, denies them.

                               1.        Altice’s Infringement of the ’909 patent

           115.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 115 and, on that basis, denies them.

           116.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 116 and, on that basis, denies them.

           117.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 117 and, on that basis, denies them.

           118.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 118 and, on that basis, denies them.

                               2.        Altice’s Infringement of the ’014 patent

           119.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 119 and, on that basis, denies them.

           120.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 120 and, on that basis, denies them.

           121.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 121 and, on that basis, denies them.

           122.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 122 and, on that basis, denies them.

                               3.        Altice’s Infringement of the ’240 patent

           123.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 123 and, on that basis, denies them.

 Charter Respondents Response to Amended Complaint and NoI   19
 US 172004846v8

                                                      APPX768
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 598 Page
                                              03/16/23 Filed:21
                                                              06/16/2023
                                                                of 37 PageID #: 1773




           124.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 124 and, on that basis, denies them.

           125.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 125 and, on that basis, denies them.

           126.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 126 and, on that basis, denies them.

                               4.        Altice’s Infringement of the ’669 patent

           127.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 127 and, on that basis, denies them.

           128.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 128 and, on that basis, denies them.

           129.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 129 and, on that basis, denies them.

           130.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 130 and, on that basis, denies them.

           IX.       CLASSIFICATION UNDER THE HARMONIZED TARIFF SCHEDULE

           131.      Charter denies the allegations of paragraph 131.

           132.      Paragraph 132 does not contain factual allegations requiring a response. To the

 extent a response is nonetheless deemed to be required, Charter denies the allegations of paragraph

 132.

           X.        DOMESTIC INDUSTRY

           133.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 133 and, on that basis, denies them.



 Charter Respondents Response to Amended Complaint and NoI   20
 US 172004846v8

                                                      APPX769
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 599 Page
                                              03/16/23 Filed:22
                                                              06/16/2023
                                                                of 37 PageID #: 1774




                     A.        Technical Prong

           134.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 134 and, on that basis, denies them.

           135.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 135 and, on that basis, denies them.

           136.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 136 and, on that basis, denies them.

           137.      Charter lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations in paragraph 137 and, on that basis, denies them.

           138.      Charter admits that BBiTV attached to its complaint a claim chart that purports to

 apply an exemplary claim of the ’909 patent to a purported Domestic Industry Product. Charter

 lacks knowledge or information sufficient to form a belief as to the truth of the allegations in

 paragraph 138 and, on that basis, denies them.

           139.      Charter admits that BBiTV attached to its complaint a claim chart that purports to

 apply claim 1 of the ’909 patent to a purported Domestic Industry Product. Charter lacks

 knowledge or information sufficient to form a belief as to the truth of the allegations in paragraph

 139 and, on that basis, denies them.

           140.      Charter admits that BBiTV attached to its complaint a claim chart that purports to

 apply claim 1 of the ’014 patent to a purported Domestic Industry Product. Charter lacks

 knowledge or information sufficient to form a belief as to the truth of the allegations in paragraph

 140 and, on that basis, denies them.

           141.      Charter admits that BBiTV attached to its complaint a claim chart that purports to

 apply claim 1 of the ’240 patent to a purported Domestic Industry Product. Charter lacks



 Charter Respondents Response to Amended Complaint and NoI   21
 US 172004846v8

                                                      APPX770
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 600 Page
                                              03/16/23 Filed:23
                                                              06/16/2023
                                                                of 37 PageID #: 1775




 knowledge or information sufficient to form a belief as to the truth of the allegations in paragraph

 141 and, on that basis, denies them.

           142.      Charter admits that BBiTV attached to its complaint a claim chart that purports to

 apply claim 1 of the ’669 patent to a purported Domestic Industry Product. Charter lacks

 knowledge or information sufficient to form a belief as to the truth of the allegations in paragraph

 142 and, on that basis, denies them.

           143.      Charter admits that BBiTV identified purported Domestic Industry Products that

 are purported to correspond to claims of the Asserted Patent. Charter lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations in paragraph 143 and, on

 that basis, denies them.

                     B.        Economic Prong

           144.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 144 and, on that basis, denies them.

           145.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 145 and, on that basis, denies them.

           146.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 146 and, on that basis, denies them.

                               1.        Domestic Activities Conducted with Respect to the Domestic
                                         Industry Products and to Exploit the Asserted Patents

           147.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 147 and, on that basis, denies them.

           148.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 148 and, on that basis, denies them.




 Charter Respondents Response to Amended Complaint and NoI   22
 US 172004846v8

                                                      APPX771
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 601 Page
                                              03/16/23 Filed:24
                                                              06/16/2023
                                                                of 37 PageID #: 1776




           149.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 149 and, on that basis, denies them.

           150.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 150 and, on that basis, denies them.

           151.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 151 and, on that basis, denies them.

           152.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 152 and, on that basis, denies them.

           153.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 153 and, on that basis, denies them.

           154.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 154 and, on that basis, denies them.

           155.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 155 and, on that basis, denies them.

           156.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 156 and, on that basis, denies them.

                               2.        Domestic Investments Made with Respect to the Domestic
                                         Industry Products and to Exploit the Asserted Patents

                                         a.        Significant Investments in Plant and Equipment

           157.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 157 and, on that basis, denies them.

           158.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 158 and, on that basis, denies them.




 Charter Respondents Response to Amended Complaint and NoI   23
 US 172004846v8

                                                      APPX772
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 602 Page
                                              03/16/23 Filed:25
                                                              06/16/2023
                                                                of 37 PageID #: 1777




           159.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 159 and, on that basis, denies them.

           160.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 160 and, on that basis, denies them.

           161.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 161 and, on that basis, denies them.

           162.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 162 and, on that basis, denies them.

           163.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 163 and, on that basis, denies them.

           164.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 164 and, on that basis, denies them.

           165.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 165 and, on that basis, denies them.

           166.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 166 and, on that basis, denies them.

           167.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 167 and, on that basis, denies them.

           168.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 168 and, on that basis, denies them.

                                         b.        Employment of Labor and Capital

           169.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 169 and, on that basis, denies them.



 Charter Respondents Response to Amended Complaint and NoI   24
 US 172004846v8

                                                      APPX773
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 603 Page
                                              03/16/23 Filed:26
                                                              06/16/2023
                                                                of 37 PageID #: 1778




           170.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 170 and, on that basis, denies them.

           171.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 171 and, on that basis, denies them.

           172.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 172 and, on that basis, denies them.

           173.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 173 and, on that basis, denies them.

           174.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 174 and, on that basis, denies them.

           175.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 175 and, on that basis, denies them.

                                         c.        Investment in Research, Development, and Engineering
                                                   to Exploit the Asserted Patents

           176.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 176 and, on that basis, denies them.

           177.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 177 and, on that basis, denies them.

           178.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 178 and, on that basis, denies them.

           179.      Charter lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations in paragraph 179 and, on that basis, denies them.




 Charter Respondents Response to Amended Complaint and NoI   25
 US 172004846v8

                                                      APPX774
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 604 Page
                                              03/16/23 Filed:27
                                                              06/16/2023
                                                                of 37 PageID #: 1779




           XI.       RELATED LITIGATION

           180.      Paragraph 180 does not contain factual allegations requiring a response. To the

 extent a response is nonetheless deemed to be required, Charter denies the allegations of paragraph

 180.

           181.      Charter admits the allegations in sub-paragraph b of paragraph 181 with respect to

 Time Warner Cable, Inc. and Oceanic Time Warner Cable, LLC. Charter lacks knowledge or

 information sufficient to form a belief as to the truth of the allegations in paragraph 181 and, on

 that basis, denies them.

           XII.      RELIEF REQUESTED

           182.      Paragraph 182 does not contain factual allegations requiring a response. To the

 extent a response is nonetheless deemed to be required, Charter denies the allegations of paragraph

 182.

           183.      Charter admits that paragraph 183 purports to describe the relief that BBiTV is

 seeking from the Commission. Charter denies that BBiTV is entitled to any relief whatsoever

 against Charter in this Investigation, either as prayed for in its Complaint or otherwise. Charter

 further denies that there is any violation of § 337 or that it has infringed any valid and enforceable

 claim of the Asserted Patents or otherwise engaged in allegedly unlawful activity as described in

 the Complaint.

                          ADDITIONAL INFORMATION REQUIRED UNDER
                                  COMMISSION RULE 210.13(b)

           In accordance with the requirements of 19 C.F.R. § 210.13(b), Charter states as follows:

 Charter’s statement pursuant to Rule 210.13(b) is attached hereto as Confidential Exhibit A. By

 providing the information therein, Charter intends only to supply the data required by 19 C.F.R. §

 210.13(b). Charter specifically denies that any of the information or data supplied relates to or


 Charter Respondents Response to Amended Complaint and NoI   26
 US 172004846v8

                                                      APPX775
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 605 Page
                                              03/16/23 Filed:28
                                                              06/16/2023
                                                                of 37 PageID #: 1780




 supports any allegation of infringement against Charter or any unlawful act by Charter under 19

 U.S.C. § 1337, or otherwise.

           XIII. AFFIRMATIVE DEFENSES

           Charter alleges and asserts the following defenses in response to the allegations in the

 Complaint. Charter asserts the following defenses without regard to which party has the initial or

 ultimate burden of proof. Charter notes that discovery in this Investigation is in its nascent stages,

 and Charter has not yet had sufficient time to collect and review all the information that may be

 relevant to its potential defenses. Accordingly, Charter reserves the right to modify its defenses

 and/or raise additional defenses as discovery proceeds.

                                        FIRST AFFIRMATIVE DEFENSE
                                            (Failure to State a Claim)

           Complainants have failed to allege sufficient facts in the Complaint to state a claim against

 Respondents.

                                      SECOND AFFIRMATIVE DEFENSE
                                            (Non-infringement)

           Charter has not infringed and does not infringe, either directly or indirectly, literally or

 under the doctrine of equivalents, and has not induced the infringement of any valid and

 enforceable claim of the Asserted Patents. Charter has not otherwise committed any acts in

 violation of 35 U.S.C. § 271 or 19 U.S.C. § 1337.

                                        THIRD AFFIRMATIVE DEFENSE
                                                 (Invalidity)

           Each of the claims of the Asserted Patents are invalid under 35 U.S.C. §§ 101, 102, 103,

 112, and/or 256, or any judicially created doctrine of invalidity, including but not limited to

 obviousness-type double patenting, and for failure to comply with one or more of the requirements

 set forth in Section 37 of the Code of Federal Regulations.


 Charter Respondents Response to Amended Complaint and NoI   27
 US 172004846v8

                                                      APPX776
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 606 Page
                                              03/16/23 Filed:29
                                                              06/16/2023
                                                                of 37 PageID #: 1781




                                      FOURTH AFFIRMATIVE DEFENSE
                                        (Estoppel, Disclaimer, and Laches)

           BBiTV’s claims are barred in whole or in part by the doctrines of estoppel, prosecution

 laches, prosecution history estoppel, and/or prosecution disclaimer due to proceedings before, or

 admissions, amendments, arguments, concessions, and/or other representations made to the United

 States Patent and Trademark Office during the prosecution of the applications leading to the

 issuance of, or related to, the asserted patents.

                                        FIFTH AFFIRMATIVE DEFENSE
                                              (Lack of Importation)

           Charter does not violate Section 337 because it does not import into the United States, sell

 for importation, or sell in the United States after importation the Charter Accused Products.

           With respect to the method claims in the Asserted Patents, BBiTV does not allege that the

 act of importation is an act that practices the steps of the asserted method claims. Thus, the

 importation of the accused set-top boxes and gateways does not directly infringe any of the

 patented methods.

           BBiTV’s allegations concerning the method claims in the Asserted Patents are directed at

 domestic use and operations by or for Charter. These acts by Charter are not a sufficient basis for

 a violation of 19 U.S.C. § 1337(a)(l)(B)(i), which requires the “importation” or “sale” of “articles

 that infringe” a U.S. patent.

                                     SIXTH AFFIRMATIVE DEFENSE
                           (Lack of Importation of Article that Infringes Any Patent)

           Charter does not sell for importation into the United State, import, or sell with the United

 State after importation any article that infringes the asserted patents.




 Charter Respondents Response to Amended Complaint and NoI   28
 US 172004846v8

                                                      APPX777
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 607 Page
                                              03/16/23 Filed:30
                                                              06/16/2023
                                                                of 37 PageID #: 1782




                                     SEVENTH AFFIRMATIVE DEFENSE
                                        (Remedy not in Public Interest)

           BBiTV’s requested relief is not in the public interest at least because it would negatively

 impact competitive conditions in the United States economy, the production of like or directly

 competitive articles in the United States, and United States consumers, and because there are

 strong policy reasons for denying BBiTV’s requested relief.

                                      EIGHTH AFFIRMATIVE DEFENSE
                                          (Lack of Domestic Industry)

           BBiTV has not adequately alleged or established the existence of a domestic industry for

 any of the Asserted Patents, as required by Section 337(a)(2) and defined by Section 337(a)(3).

 On information and belief, BBiTV will not be able to prove that a domestic industry relating to

 articles protected by any of the Asserted Patents exists or is in the process of being established.

 Specifically, on information and belief, BBiTV will not be able to satisfy either the economic

 prong or the technical prong of the domestic industry requirement in this Investigation.


                                        NINTH AFFIRMATIVE DEFENSE
                                               (Unclean Hands)

           BBiTV’s claims are barred by the doctrine of unclean hands. On information and belief,

 BBiTV has breached its confidentiality obligations by using confidential information of its

 licensees in violation of court orders and/or private agreements to support its claims in this

 investigation. This unconscionable act has immediate and necessary relation to the equity of

 BBiTV’s claims, because but for BBiTV’s misconduct, the Commission may not have instituted

 an investigation and, further, cannot find a violation of section 337 if BBiTV fails to prove that a

 domestic industry exists through the investments of its licensees. BBiTV’s misconduct is material

 for the same reasons.



 Charter Respondents Response to Amended Complaint and NoI   29
 US 172004846v8

                                                      APPX778
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 608 Page
                                              03/16/23 Filed:31
                                                              06/16/2023
                                                                of 37 PageID #: 1783




                                       TENTH AFFIRMATIVE DEFENSE
                                              (Other Defenses)

           Charter provides notice that it intends to rely upon any additional defenses that become

 available or apparent during discovery and reserves the right to amend this response and to assert

 such additional defenses or, if appropriate, withdraw any of the above-delineated defenses as

 discovery proceeds.

                                               REQUEST FOR RELIEF

           Respondents respectfully requests that the Commission issue an order:

           1.        denying all relief requested in the Complaint;

           2.        determining that Charter has not violated Section 337 of the Tariff Act of 1930, as

 amended;

           3.        determining that Charter has not infringed any claim of the Asserted Patents;

           4.        determining that the claims of the Asserted Patents are invalid;

           5.        determining that no domestic industry exists for the Asserted Patents;

           6.        determining that Complainants’ claims are barred by Charter’s affirmative

 defenses;

           7.        dismissing the Complaint and terminating the present investigation with prejudice;

 and

           8.        awarding such other and further relief to Charter as the Commission deems just and

 proper.


                          RESPONSE TO THE NOTICE OF INVESTIGATION

           Charter acknowledges that the Commission has instituted an investigation as set forth in

 the Commissions Notice of Investigation, dated May 24, 2022, and published in the Federal


 Charter Respondents Response to Amended Complaint and NoI   30
 US 172004846v8

                                                      APPX779
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 609 Page
                                              03/16/23 Filed:32
                                                              06/16/2023
                                                                of 37 PageID #: 1784




 Register on May 31, 2022, and that Charter is named as respondent therein. See 87 Fed. Reg.

 32459 (May 31, 2022). Charter otherwise denies the existence of the predicates and requirements

 for liability under such an Investigation and/or under Section 337 and therefore denies the

 allegations therein.




 Charter Respondents Response to Amended Complaint and NoI   31
 US 172004846v8

                                                      APPX780
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 610 Page
                                              03/16/23 Filed:33
                                                              06/16/2023
                                                                of 37 PageID #: 1785




  Dated: June 21, 2022                                       Respectfully submitted,

                                                             /s/ Philip W. Marsh
                                                             David S. Benyacar
                                                             Daniel L. Reisner
                                                             ARNOLD & PORTER KAYE SCHOLER LLP
                                                             250 West 55th Street
                                                             New York, NY 10019
                                                             Telephone: (212) 836-8000
                                                             Facsimile: (212) 836-8689

                                                             Dina M. Hayes
                                                             ARNOLD & PORTER KAYE SCHOLER LLP
                                                             70 West Madison Ave., Suite 4200
                                                             Chicago, IL 60602-4231
                                                             Telephone: (312) 583-2300
                                                             Facsimile: (312) 583-2360

                                                             Philip W. Marsh
                                                             Michael D.K. Nguyen
                                                             Joseph B. Palmieri
                                                             ARNOLD & PORTER KAYE SCHOLER LLP
                                                             3000 El Camino Real
                                                             Five Palo Alto Square, Suite 500
                                                             Palo Alto, CA 94306-3807
                                                             Telephone: (650) 319-4500
                                                             Facsimile: (650) 319-4700

                                                             Counsel for Respondents
                                                             Charter Communications, Inc.,
                                                             Charter Communications Operating, LLC,
                                                             Charter Communications Holding Company, LLC,
                                                             and Spectrum Management Holding Company, LLC




 Charter Respondents Response to Amended Complaint and NoI     32
 US 172004846v8

                                                      APPX781
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 611 Page
                                              03/16/23 Filed:34
                                                              06/16/2023
                                                                of 37 PageID #: 1786




                                                     VERIFICATION

           I, Daniel Boglioli, state that I am the Vice President and the Associate General Counsel for

 Charter Communications, and I am authorized to sign this verification on behalf of Respondents

 Charter      Communications,             Inc.,    Charter   Communications   Operating,   LLC,    Charter

 Communications Holding Company, LLC, and Spectrum Management Holding Company, LLC

 (collectively, “Charter”). I have reviewed Charter’s Response to the Amended Complaint and

 Notice of Investigation and declare that, based upon a reasonable inquiry, the facts set forth in the

 Response, as they relate to Charter, are true and correct to the best of my knowledge, information

 and belief. The allegations and contentions in the Response have evidentiary support, or they are

 likely to have evidentiary support after a reasonable opportunity for further investigation or

 discovery, to the best of my knowledge, information, or belief.

           I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



       June 21, 2022                                                  _____________________________


                                                                      Vice President, Associate General
                                                                      Counsel for Charter
                                                                      Communications




 Charter Respondents Response to Amended Complaint and NoI   33
 US 172004846v8

                                                      APPX782
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 612 Page
                                              03/16/23 Filed:35
                                                              06/16/2023
                                                                of 37 PageID #: 1787




                                  APPX783
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 613 Page
                                              03/16/23 Filed:36
                                                              06/16/2023
                                                                of 37 PageID #: 1788




                                  APPX784
            Case: 23-136 Document
Case 2:22-cv-00125-JRG     Document: 2-2Filed
                                  79-2      Page: 614 Page
                                              03/16/23 Filed:37
                                                              06/16/2023
                                                                of 37 PageID #: 1789




Clement Seth Roberts, Esq.
Will Melehani, Esq.
Sarah Mullins, Esq.
ORRICK, HERRINGTON & SUTCLIFFE LLP
The Orrick Building
405 Howard Street
San Francisco, CA 94105-2669
Telephone: (415) 773-5700
Facsimile: (415) 773-5759
Email: Altice-1315-Service@orrick.com

Alyssa Caridis, Esq.
ORRICK, HERRINGTON & SUTCLIFFE LLP
777 South Figueroa Street, Suite 3200
Los Angeles, CA 90017-5855
Telephone: (213) 629-2020
Facsimile: (213) 612-2499
Email: Altice-1315-Service@orrick.com

Bas de Blank, Esq.
ORRICK, HERRINGTON & SUTCLIFFE LLP
1000 Marsh Road
Menlo Park, CA 94025-1015
Telephone: (650) 614-7400
Facsimile: (650) 614-7401
Email: Altice-1315-Service@orrick.com



                                                                  /s/ Donna Baker
                                                                     Donna Baker




 Charter Respondents Response to Amended Complaint and NoI   36
 US 172004846v8

                                                      APPX785
 Case: 23-136   Document: 2-2   Page: 615   Filed: 06/16/2023




        CONFIDENTIAL MATERIAL OMITTED




Exhibit 14 to Defendant’s
Reply Brief In Support of
    Motion to Dismiss
Dkt. 65-3 (Sealed Version)
Dkt. 79-3 (Public Version)
 FILED UNDER SEAL




          (APPX786-791)
         Case: 23-136 Document
Case 2:22-cv-00125-JRG Document:76
                                 2-2Filed
                                        Page: 616 Page
                                          03/13/23 Filed:106/16/2023
                                                           of 4 PageID #: 1725




                       81,7('67$7(6',675,&7&2857
                     )257+(($67(51',675,&72)7(;$6
                            0$56+$//',9,6,21

(17523,&&20081,&$7,216//&            
                                         
        3ODLQWLII                      
                                         &LYLO$FWLRQ1RFY-5*
    Y                                  
                                         -85<75,$/'(0$1'('
&+$57(5&20081,&$7,216,1&            
                                         ),/('81'(56($/
        'HIHQGDQWV                    
                                          


            6833/(0(17723/$,17,))¶623326,7,2172'()(1'$17¶6
            027,2172',60,667+(6(&21'$0(1'('&203/$,17)25
                  ,03523(59(18(38568$1772)5&3 E  










                                APPX792

         Case: 23-136 Document
Case 2:22-cv-00125-JRG Document:76
                                 2-2Filed
                                        Page: 617 Page
                                          03/13/23 Filed:206/16/2023
                                                           of 4 PageID #: 1726




         ,Q (QWURSLF &RPPXQLFDWLRQV //&¶V ³(QWURSLF´  2SSRVLWLRQ WR 'HIHQGDQW¶V 0RWLRQ WR

'LVPLVVWKH6HFRQG$PHQGHG&RPSODLQW 'NW1R (QWURSLFVWDWHGWKDW³&&,LVOLVWHGDVWKH

FXVWRGLDQRIQHDUO\DOOWKHWHFKQLFDOGRFXPHQWV&KDUWHUKDVSURGXFHGLQWKLVFDVH´ 'NW1RDW

 LQFOXGLQJD³5HTXHVWIRU4XRWH´GRFXPHQWIRURQHRIWKHDFFXVHGVHWWRSER[HV ([KLELW

$% (QWURSLFVXEPLWVWKLVVXSSOHPHQWWRFODULI\WKDWIDFWXDOVWDWHPHQW

         )RU &KDUWHU¶V WHFKQLFDO GRFXPHQWV WKH ³&XVWRGLDQ´ ILHOG GLVSOD\V ³&KDUWHU

&RPPXQLFDWLRQV,QF´$WWKHWLPH(QWURSLFILOHGLWVRSSRVLWLRQEULHILWXQGHUVWRRGWKLVILHOGWREH

PHWDGDWDRULJLQDOWR&KDUWHU¶VSURGXFWLRQPHDQLQJ(QWURSLFXQGHUVWRRG&&,WREHWKHLGHQWLILHG

FXVWRGLDQLQWKHPHWDGDWD(QWURSLFKDVVLQFHOHDUQHGWKDWWKH³&XVWRGLDQ´ILHOGZDVDFWXDOO\FRGHG

E\LWVHGLVFRYHU\YHQGRUGXULQJLQJHVWLRQWRUHIOHFWWKHVRXUFHRIWKHGRFXPHQWV&&,WKHUHIRUHLV

QRW³OLVWHG´DVWKHFXVWRGLDQDQGWKDWVSHFLILFVWDWHPHQWLVLQDFFXUDWH

         7KHUHPDLQGHURIWKHVWDWHPHQWKRZHYHUUHPDLQVFRUUHFW&&,LVLQIDFWWKHFXVWRGLDQRI

WKHVH GRFXPHQWV UHJDUGOHVV RI KRZ WKH\ DUH FRGHG &&,²DQG QRW VRPH DOOHJHGO\ VHSDUDWH

VXEVLGLDU\ZKLFKLVQRWSDUW\WRWKHFDVH²SURGXFHGWKHGRFXPHQWVLQUHVSRQVHWR&&,¶VGLVFRYHU\

REOLJDWLRQV &&,¶V FRUSRUDWH UHSUHVHQWDWLYH DOVR WHVWLILHG WKDW LW PDLQWDLQV DOO &KDUWHU FRUSRUDWH

UHFRUGV XQGHU D VLQJOH ILOH PDQDJHPHQW V\VWHP IRU DOO VXEVLGLDULHV See 'NW 1R  DW 

7KHUHIRUHLWLVHYLGHQWWKDWWKHVHWHFKQLFDOGRFXPHQWVDUH&&,¶VUHFRUGVDQG&&, LVWKHDFWXDO

FXVWRGLDQ

         

'DWHG0DUFK                                 5HVSHFWIXOO\VXEPLWWHG

                                                          /s/ James Shimota by permission Wesley Hill
                                                          -DPHV6KLPRWD/($'$77251(<
                                                          -DVRQ(QJHO
                                                          *HRUJH6XPPHUILHOG
                                                          . /*$7(6//3
                                                          :0DGLVRQ6WUHHW6XLWH







                                              APPX793

         Case: 23-136 Document
Case 2:22-cv-00125-JRG Document:76
                                 2-2Filed
                                        Page: 618 Page
                                          03/13/23 Filed:306/16/2023
                                                           of 4 PageID #: 1727




                                          &KLFDJR,/
                                          -LPVKLPRWD#NOJDWHVFRP
                                          -DVRQHQJHO#NOJDWHVFRP
                                          *HRUJHVXPPHUILHOG#NOJDWHVFRP
                                          
                                          1LFKRODV)/HQQLQJ
                                          . /*$7(6//3
                                          )RXUWK$YHQXH6XLWH
                                          6HDWWOH:$
                                          QLFKRODVOHQQLQJ#NOJDWHVFRP
                                          
                                          'DUOHQH*KDYLPL
                                          0DWWKHZ%ODLU
                                          . /*$7(6//3
                                          9LD)RUWXQD
                                          6XLWH
                                          $XVWLQ7H[DV
                                          'DUOHQHJKDYLPL#NOJDWHVFRP
                                          0DWWKHZEODLU#NOJDWHVFRP
                                          
                                          :HVOH\+LOO
                                          7H[DV%DU1R
                                          $QGUHD)DLU
                                          7H[DV%DU1R
                                          :$5'60,7+ +,//3//&
                                          %LOO2ZHQV3NZ\
                                          /RQJYLHZ7;
                                          7HO  
                                          ZK#ZVILUPFRP
                                          DQGUHD#ZVILUPFRP
                                          
                                          $77251(<6)253/$,17,))
                                          (17523,&&20081,&$7,216//&

                      








                                APPX794

         Case: 23-136 Document
Case 2:22-cv-00125-JRG Document:76
                                 2-2Filed
                                        Page: 619 Page
                                          03/13/23 Filed:406/16/2023
                                                           of 4 PageID #: 1728




                                   &(57,),&$7(2)6(59,&(

         , KHUHE\ FHUWLI\ WKDW D FRS\ RI WKH IRUHJRLQJ GRFXPHQW ZDV ILOHG HOHFWURQLFDOO\ LQ

FRPSOLDQFHZLWK/RFDO5XOH&9 D DQGVHUYHGYLDHPDLORQDOOFRXQVHORIUHFRUGRQWKLVVL[WK

GD\RI0DUFK

                                              /s/ Wesley Hill 
                                              :HVOH\+LOO
                                              
                &(57,),&$7(2)$87+25,=$7,2172),/(81'(56($/

         7KLVLVWRFHUWLI\WKDWWKHDERYHGRFXPHQWVKRXOGEHILOHGXQGHUVHDOEHFDXVHLWFRQWDLQV

PDWHULDOGHVLJQDWHGE\WKHSDUWLHVDVFRQILGHQWLDOSXUVXDQWWRWKH3URWHFWLYH2UGHUHQWHUHGLQWKLV

FDVH 'NW 

                                                                /s/ Wesley Hill         
                                                                :HVOH\+LOO








                                           APPX795

          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:832-2Filed
                                          Page: 620 Page
                                            04/03/23 Filed:106/16/2023
                                                            of 14 PageID #: 1809




                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

ENTROPIC COMMUNICATIONS, LLC,

            Plaintiff
                                           Civil Action No. 2:22-cv-00125-JRG
      v.
                                           JURY TRIAL DEMANDED
CHARTER COMMUNICATIONS, INC.,

            Defendants.



          PLAINTIFF’S SUR-REPLY IN FURTHER OPPOSITION TO
        DEFENDANT’S MOTION TO DISMISS THE SECOND AMENDED
       COMPLAINT FOR IMPROPER VENUE PURSUANT TO FRCP 12(b)(3)




                                  APPX796
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:832-2Filed
                                          Page: 621 Page
                                            04/03/23 Filed:206/16/2023
                                                            of 14 PageID #: 1810




                                                TABLE OF CONTENTS

I.     Introduction ..........................................................................................................................1

II.    Argument .............................................................................................................................4

            A. Charter misstates the law .........................................................................................4

            B. Charter has no response to the overwhelming evidence that CCI has ratified the
               Spectrum stores in the District .................................................................................4

            C. Charter’s enterprise does lack corporate separateness .............................................9

III.   Conclusion ...........................................................................................................................9




                                                        APPX797
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:832-2Filed
                                          Page: 622 Page
                                            04/03/23 Filed:306/16/2023
                                                            of 14 PageID #: 1811




                                                 TABLE OF AUTHORITIES

Cases                                                                                                                                 Pages

Andra Group, LP v. Victoria’s Secret Stores, LLC, 6 F.4th 1283, 1289 (Fed. Cir. 2021) ..............4

Bd. of Regents v. Medtronic PLC., 17-cv-0942-LY, 2018 WL 4179080 (W.D. Tex. July 19,
        2018) ................................................................................................................................4–5

Celgene Corp. v. Mylan Pharms. Inc., 17 F.4th 1111 (Fed. Cir. 2021)...........................................4

Entropic Comm’cns, LLC v. DIRECTV, LLC, Case No. 2:22-cv-75-JRG, 2022 WL 19076758
       (E.D. Tex. Oct. 24, 2022).....................................................................................1, 5–6, 8–9

In re Cray, 871 F.3d 1355 (Fed. Cir. 2017) .....................................................................................8

Optic153 LLC v. Thorlabs Inc., 6:19-CV-00667-ADA, 2020 WL 3403076 (W.D. Tex. June 19,
       2020) ....................................................................................................................................9

Soverain IP, LLC v. AT&T, Inc., 2:17-CV-00293-RWS, 2017 WL 5126158 (E.D. Tex. Oct. 31,
       2017) ....................................................................................................................................4

Other

Montes v. Charter Communications, Inc., No. 7:21-cv-489, Dkt. No. 1, NOTICE OF REMOVAL
      (S.D. Tex. Dec. 20, 2021) ....................................................................................................6




                                                            APPX798
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:832-2Filed
                                          Page: 623 Page
                                            04/03/23 Filed:406/16/2023
                                                            of 14 PageID #: 1812




                                        INTRODUCTION

       Stripped of complexity, this motion should be decided on the Court’s precedent. As

Entropic addressed in its Opposition (Dkt. No. 68), this Court very recently addressed similar facts

in Entropic Comm’cns, LLC v. DIRECTV, LLC, Case No. 2:22-cv-75-JRG, 2022 WL 19076758

(E.D. Tex. Oct. 24, 2022). There, DISH argued that the physical stores of its California subsidiary

could not be considered places of business of the ultimate DISH parent. DISH made the same

arguments Charter does here—about corporate formalities, which entity technically employed

whom, and which entity, on paper, provided the services, etc. The Court rejected them. Here, the

facts are even more compelling in favor of denying the motion to dismiss.

       Charter has now had the chance in multiple briefs spanning thirty pages to explain why the

Court’s precedent does not apply. This is Charter’s complete attempt to distinguish that opinion:

“[U]nlike DirecTV, all of the evidence shows use of the Spectrum brand, and not any ‘Charter’ or

CCI-specific brand: there are no locations in this district that bear the ‘Charter’ name, and the

‘Spectrum’ website (not the Charter website) identifies the Spectrum services that are offered at

the Spectrum stores in this district.” Dkt. No. 75, Charter Reply, at 7 (emphasis in original), 10

(same). That’s it. Charter asserts the DIRECTV opinion is not dispositive here because DISH

brands itself as DISH, whereas here Charter calls itself Spectrum. Charter of course does not

explain why this would even matter—CCI owns the Spectrum brand and that name is plastered all

over the physical locations, employees, and services in the District, establishing ratification. It’s

also a remarkable argument. In every other way Charter argues that only the formalities matter,

except on the dispositive point of this precedent. Then, Charter adopts the opposite philosophy—

only perception matters.




                                                 1

                                         APPX799
          Case: 23-136 Document
Case 2:22-cv-00125-JRG  Document:832-2Filed
                                          Page: 624 Page
                                            04/03/23 Filed:506/16/2023
                                                            of 14 PageID #: 1813




        Aside from being irrelevant, this argument is, like all Charter’s others, directly contradicted

by the facts. Charter Communications, Inc. is “Spectrum.” Here is the very first paragraph of CCI’s

year 2022 SEC 10-K statement, in its entirety:

        Introduction

        We are a leading broadband connectivity company and cable operator serving more
        than 32 million customers in 41 states through our Spectrum brand. Over an
        advanced high-capacity, two-way telecommunications network, we offer a full
        range of state-of-the-art residential and business services including Spectrum
        Internet®, TV, Mobile and Voice. For small and medium-sized companies,
        Spectrum Business® delivers the same suite of broadband products and services
        coupled with special features and applications to enhance productivity, while for
        larger businesses and government entities, Spectrum EnterpriseTM provides highly
        customized, fiber-based solution. Spectrum Reach® delivers tailored advertising
        and production for the modern media landscape. We also distribute award-winning
        news coverage and sports programming to our customers through Spectrum
        Networks. 1

Moreover:

        •    The end of every CCI press release concludes with either an “About Spectrum”
             section (“Spectrum is a suite of advanced communications services offered by
             Charter Communications, Inc. . . .”) or an “About Charter” section (“Charter
             Communications, Inc. (NASDAQ:CHTR) is a leading broadband connectivity
             company and cable operator serving more than 32 million customers through
             its Spectrum brand”). 2

        •    Charter’s Spectrum-labeled invoices tell customers to send their payments to
             “Charter Communications.” 3

Indeed, it is nearly impossible for a customer not to know that Spectrum is CCI, and CCI is

Spectrum. Anyone running an internet search is presented the equivalence immediately:




1
  Available at https://www.sec.gov/ix?doc=/Archives/edgar/data/1091667/000109166723000024/chtr-
20221231.htm.
2
  See, e.g., https://corporate.charter.com/newsroom/spectrum-network-designers-wanted-for-newly-expanded-center;
https://corporate.charter.com/newsroom/2023-spectrum-community-center-assist-programs-at-new-locations; see
also Dkt. No. 68, Entropic Opposition, at 14–16 (describing Charter’s public statements about its Spectrum brand).
3
  https://www.spectrum.net/support/manage-account/understanding-your-statement-bill/.

                                                        2

                                              APPX800
             Case: 23-136        Document: 2-2        Page: 625       Filed: 06/16/2023
                       CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 83 Filed 04/03/23 Page 6 of 14 PageID #: 1814




In summary, Charter’s apparent argument that the public does not understand that Spectrum =

Charter and Charter = Spectrum borders upon the absurd.

       Charter’s position simply confirms everything Entropic has argued—there is one operating

enterprise nationwide. The entire enterprise uses the brand “Spectrum.” And as Entropic’s

Opposition made clear, the contrived lines Charter advances are drawn over the reality of Charter’s

business.                          the heads of divisions have enterprise wide authority, the

employees are shuffled around the whole enterprise, the leases are signed by CCI, etc.

       Charter’s Reply is strangely focused on whether Charter broke any laws with all these

paper contrivances. That is irrelevant. The point is, the regular and established places of business

in this District are CCI’s. CCI controls these locations, CCI has ratified these locations, CCI’s

employees staff these locations—CCI even signed the leases. This Court should deny the motion.




                                                 3

                                          APPX801
             Case: 23-136        Document: 2-2       Page: 626        Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 83 Filed 04/03/23 Page 7 of 14 PageID #: 1815




                                         ARGUMENT

   A. Charter misstates the law.

       Charter asserts that Entropic must prove “corporate formalities [were] ignored” because “a

subsidiary’s presence in a venue cannot be imputed to the parent absent disregard for corporate

separateness.” Charter Reply at 1, 4 (quoting Bd. of Regents v. Medtronic PLC., 2018 WL

4179080, at *2 (W.D. Tex. July 19, 2018); Soverain IP, LLC v. AT&T, Inc., 2017 WL 5126158, at

*1 (E.D. Tex. Oct. 31, 2017)).

       That is not the law. Indeed, the Federal Circuit has expressly rejected the idea that

ratification requires a lack of corporate separateness. Celgene Corp. v. Mylan Pharms. Inc., 17

F.4th 1111, 1127 (Fed. Cir. 2021) (“Of course, it might be that a parent corporation might

specifically ratify a subsidiary’s place of business, even if the two do maintain corporate

separateness). Corporate separateness and ratification are two separate avenues for establishing

venue between corporate relatives. See Andra Group, LP v. Victoria’s Secret Stores, LLC, 6 F.4th

1283, 1289 (Fed. Cir. 2021).

   B. Charter has no response to the overwhelming evidence that CCI has ratified the
      Spectrum stores in the District.

       Entropic’s Opposition presented overwhelming evidence that CCI has ratified the

Spectrum store locations. Just to name a few examples, Entropic uncovered evidence in venue

discovery that 1) the Spectrum stores all use the same                logo, which the CCI website

explains “is a suite of advanced broadband services offered by Charter Communications, Inc.,” 2)

the same website directs customers and prospective employees to the store locations in question,

and 3) CCI actually signed the lease agreements on behalf of its subsidiary.

       Charter dismisses all of this evidence with a curt response:

       Entropic argues that CCI ratified the Spectrum store locations in this district
       because visitors to the Spectrum website or stores ‘believe that the Spectrum-

                                                4

                                          APPX802
             Case: 23-136         Document: 2-2         Page: 627       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 83 Filed 04/03/23 Page 8 of 14 PageID #: 1816




       branded stores and Spectrum services are provided by CCI.’ Entropic provides no
       support for this statement and cannot show that CCI ratified any store in this district
       because CCI has maintained the corporate forms and thus, the ‘shared use’ of
       ‘Spectrum’ ‘does not detract from the separateness of [its] business.’

Charter Reply at 10 (citations omitted). Once again, Charter tries to redirect the Court’s attention

back to the corporate separateness issue, even though this is not necessary for Entropic’s

ratification theory. Charter goes on to argue, “[c]ontrary to Entropic’s suggestion . . . the formation

and execution of an LLC agreement alone does not support the conclusion that CCI has ratified

any Spectrum store as its own.” Charter Reply at 10. But this grossly mischaracterizes Entropic’s

Opposition. Nowhere does Entropic suggest that the mere existence of a parent-subsidiary

relationship, or even the existence of an LLC management agreement, is sufficient. CCI actually

controls the enterprise (through its authority expressly granted in corporate documents) and

actually signed the leases both for the physical store locations and for the equipment used to

provide the accused services. CCI has no response to this fact.

       Nor can Charter muster a convincing response to the fact that its stores all use the same

         logo. Charter attempts to liken this case to Bd. of Regents v. Medtronic PLC, No. 17-cv-

942, 2018 WL 4179080, at *2 (W.D. Tex. July 19, 2018), which involved “the use of the common

or generic name Medtronic on the exterior of the building.” As addressed in Entropic’s Opposition,

however, the Spectrum stores do more than feature generic “Spectrum” signage. They use the

         logo. See Dkt. No. 68, Entropic Opposition, at 21. Charter insists that this case is

distinguishable from Entropic Comm’cns, LLC v. DirecTV, LLC because the stores use “Spectrum”

branding instead of “Charter” branding. See Charter Reply at 7. But this is a distinction without

meaning, as addressed above. See supra at 1–3.

       Because Charter has failed to explain why the result should differ here, this Court’s

precedent should control. Just like the Dish defendants in DirecTV, CCI uses its national website


                                                  5

                                            APPX803
             Case: 23-136         Document: 2-2         Page: 628       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 83 Filed 04/03/23 Page 9 of 14 PageID #: 1817




to advertise its services to customers within the District, direct customers to store locations within

the District, and promote job openings at those store locations. See Entropic Opposition at 15–16,

26; see also Entropic Comm’cns, LLC v. DirecTV, LLC, 2022 WL 19076758 at *5. And that is to

say nothing of the other facts that were not present in the DirecTV case, including Charter’s

representations to the FCC and Federal Courts (Opposition at 16–18), as well as the evidence that

CCI holds out the store employees as its own employees/agents (Opposition at 15–16) and signed

the leases in the District (Opposition at 8–9). Charter likewise attempts to downplay these facts,

but its arguments ring hollow.

       For example, Entropic presented evidence that CCI had, in a previous employment dispute,

acknowledged one of its managers as CCI’s “agent,” even though the manager was technically

employed by Charter Communications, LLC. See Entropic Opposition at 24–25. Charter attempts

to hand-wave this evidence by arguing that “CCI had no need to dispute that fact at the pleading

stage.” See Charter Reply at 9, n. 7. Even Charter seems to recognize the weakness of this

argument, choosing to bury it in a footnote. Moreover, the case involved a wrongful death action,

with Plaintiff attempting to hold CCI liable for the manager’s actions. See Montes v. Charter

Communications, Inc., No. 7:21-cv-489, Dkt. No. 1, NOTICE OF REMOVAL (S.D. Tex. Dec. 20,

2021) (filed by Charter Communications, Inc.). As such, CCI absolutely had a reason to deny its

agency relationship with the manager. But instead, it was CCI who called Mr. Anderson its

“agent.” See id. at ¶ 12 (“Plaintiff has failed to plead facts establishing that Anderson was negligent

or grossly negligent because, as Charter’s agent, he did not owe Ms. Trevino an individual duty”)

(emphasis added).

       Entropic also presented evidence that CCI has actual authority over employment matters

for its subsidiaries. See Entropic Opposition at 6, 23–24. Charter attempts to downplay this



                                                  6

                                            APPX804
             Case: 23-136         Document: 2-2        Page: 629       Filed: 06/16/2023
                       CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 83 Filed 04/03/23 Page 10 of 14 PageID #: 1818




evidence, but in doing so misrepresents Entropic’s position. According to Charter, “Entropic

contends that CCI has the ‘right to direct or control the employees’ actions,’ and that CCI officers

‘can direct the work of the employees,’ because CCI is a designated manager under LLC

agreements.” Charter Reply at 8. Again, Charter misses the point. It is not the simple fact that there

is an LLC agreement in place between CCI and its subsidiaries; it is the fact that the express terms

of that agreement authorize CCI to




See Entropic Opposition at 23.

       Moreover,

                           See Proost Dep. Tr., Exhibit A to Entropic Opposition, at 85:15–16.

Charter characterizes this testimony as confirmation that

              See Charter Reply at 3. However, the management agreement plainly gives

management authority to CCI, not Charter Communications, LLC. Furthermore, it is unclear why

CCI—a company that allegedly has no employees of its own—would need to have departments

such as Human Resources and Field Operations. See CCI Officer List, Exhibit G to Entropic

Opposition. Importantly, Charter never disputes that these officers have the power to direct or

control the actions of the employees in their department; Charter simply disputes whether these

officers have done so in fact, and whether, if they, they did it “in their capacity” as CC LLC

employees, not CCI officers, whatever that means.

       Finally, Charter has no response to the evidence and testimony that its employees

understand themselves to work for CCI. Charter’s corporate representative testified that

                                                                                                  See



                                                  7

                                           APPX805
               Case: 23-136       Document: 2-2        Page: 630      Filed: 06/16/2023
                       CONFIDENTIAL MATERIAL OMITTED
Case 2:22-cv-00125-JRG Document 83 Filed 04/03/23 Page 11 of 14 PageID #: 1819




Proost Dep. Tr., Exhibit A to Entropic Opposition, at 74:12–17. And this is consistent with the

numerous Charter employees who list CCI as their employer on LinkedIn. See Entropic Opposition

at 25–26. Charter dismisses this evidence, noting that “Entropic does not contend that any of these

individuals work or operate out of any property listed in the SAC.” Regardless, this evidence is

emblematic of the relationship CCI holds with Charter employees nationwide. As noted above and

in Entropic’s Opposition, CCI uses the same national website to promote job openings at its

Spectrum stores—just like the Dish defendants in DirecTV. See Entropic Opposition at 15–16, 26–

27. There is no reason to believe that CCI’s relationship with E.D. Texas employees is any different

from its relationship with employees in other districts or even other states.

       Charter dedicates a substantial portion of its Reply to the issue of whether CCI and its

subsidiaries have maintained corporate separateness. But this misses the point. As this Court noted

in Entropic Comm’cns, LLC v. DirecTV, LLC, the Court “need not pierce the corporate veil of

[Defendant]’s organizational structure to find that [Defendant] holds the locations… out as its

own.” 2022 WL 19076758 at *5. Nor does venue hinge on whether CCI exercises improper control

over its subsidiaries. See Charter Reply, at 2. The point of Entropic’s Opposition is not that CCI

overstepped its corporate bounds by signing the property and equipment leases, by

                   with its subsidiaries, or by using the CCI website to promote the store locations

and associated job postings. Rather, the point is that CCI has given its employees and the public

every reason to believe that CCI operates the stores and provides the accused services in the

District. This is the very essence of what it means to “ratify” a location as Defendant’s own. See

In re Cray, 871 F.3d 1355, 1363–64 (Fed. Cir. 2017) (“Relevant considerations include whether

the defendant owns or leases the place, or exercises other attributes of possession or control over

the place”).



                                                 8

                                           APPX806
             Case: 23-136         Document: 2-2        Page: 631       Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 83 Filed 04/03/23 Page 12 of 14 PageID #: 1820




   C. Charter’s enterprise does lack corporate separateness.

       Even setting aside that Entropic need not show a lack of corporate separateness to prevail,

that standard nonetheless has been met here. Charter profusely defends that its lawyers have dotted

their i’s and crossed their t’s, and that no Delaware corporate laws have been broken. See Charter

Reply at 2–4. That, again, is not what the law requires. The standard, which is relaxed for venue,

instead requires only that “the corporations disregard their separateness and act as a single

enterprise.” Optic153 LLC v. Thorlabs Inc., 6:19-CV-00667-ADA, 2020 WL 3403076, at *2

(W.D. Tex. June 19, 2020). Entropic has shown that in spades. See Entropic Opposition at 5–13.

Regardless of what paperwork Charter submits to Delaware, or how it files its taxes, these

corporate lines simply do not exist in Charter’s actual business. That’s what Charter tells the public

and the government (Opposition at 14–17), and Charter has presented no evidence that its

employees or officers are even aware of the different entities. Entropic, through the facts revealed

in venue discovery, has more than carried its burden to show that Charter’s business disregards

corporate separateness and acts as a single business enterprise.

                                          CONCLUSION

       Charter’s Reply brief fails to present any persuasive reason, factual or legal, why this Court

should reach a different outcome from its decision in DirecTV. Not only are the same facts present

here; venue discovery has confirmed that CCI expressly ratified the Spectrum stores when it signed

the property leases on behalf of its subsidiary. For that and the other reasons stated above and in

Entropic’s Opposition brief, the Court should deny Defendant’s Motion to Dismiss the Second

Amended Complaint.




                                                  9

                                           APPX807
              Case: 23-136   Document: 2-2   Page: 632      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 83 Filed 04/03/23 Page 13 of 14 PageID #: 1821




Dated: March 23, 2023                        Respectfully submitted,

                                             /s/ James Shimota by permission Wesley Hill
                                             James Shimota - LEAD ATTORNEY
                                             Jason Engel
                                             George Summerfield
                                             K&L GATES LLP
                                             70 W. Madison Street, Suite 3300
                                             Chicago, IL 60602
                                             Jim.shimota@klgates.com
                                             Jason.engel@klgates.com
                                             George.summerfield@klgates.com

                                             Nicholas F. Lenning
                                             K&L GATES LLP
                                             925 Fourth Avenue, Suite 2900
                                             Seattle, WA 98104-1158
                                             nicholas.lenning@klgates.com

                                             Darlene Ghavimi
                                             Matthew Blair
                                             K&L GATES LLP
                                             2801 Via Fortuna
                                             Suite #650
                                             Austin, Texas 78746
                                             Darlene.ghavimi@klgates.com
                                             Matthew.blair@klgates.com

                                             Wesley Hill
                                             Texas Bar No. 24032294
                                             Andrea Fair
                                             Texas Bar No. 24078488
                                             WARD, SMITH & HILL, PLLC
                                             1507 Bill Owens Pkwy
                                             Longview, TX 75604
                                             Tel: (903) 757-6400
                                             wh@wsfirm.com
                                             andrea@wsfirm.com

                                             ATTORNEYS FOR PLAINTIFF
                                             ENTROPIC COMMUNICATIONS, LLC




314921797.3


                                   APPX808
              Case: 23-136       Document: 2-2        Page: 633      Filed: 06/16/2023

Case 2:22-cv-00125-JRG Document 83 Filed 04/03/23 Page 14 of 14 PageID #: 1822




                                 CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing document was filed electronically in

compliance with Local Rule CV-5(a) and served via email on all counsel of record on this twenty-

third day of March, 2023.

                                                            /s/ Wesley Hill
                                                            Wesley Hill

              CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

         This is to certify that the above document should be filed under seal because it contains

material designated by the parties as confidential pursuant to the Protective Order entered in this

case (Dkt. 36).

                                                            /s/ Wesley Hill
                                                            Wesley Hill




314921797.3


                                          APPX809
              Case: 23-136       Document: 2-2      Page: 634      Filed: 06/16/2023

                                        JRG3,JURY,PATENT/TRADEMARK,PROTECTIVE−ORDER
                                U.S. District Court
                    Eastern District of TEXAS [LIVE] (Marshall)
                 CIVIL DOCKET FOR CASE #: 2:22−cv−00125−JRG

Entropic Communications, LLC v. Charter Communications,    Date Filed: 04/27/2022
Inc. et al                                                 Jury Demand: Plaintiff
Assigned to: District Judge Rodney Gilstrap                Nature of Suit: 830 Patent
Related Cases: 2:23−cv−00050−JRG                           Jurisdiction: Federal Question
                2:23−cv−00051−JRG
                2:23−cv−00052−JRG
Cause: 35:271 Patent Infringement
Technical Advisor
David Keyzer
david@keyzerlaw.com

Plaintiff
Entropic Communications, LLC                 represented by Darlene Fae Ghavimi
                                                            K&L Gates, LLP
                                                            2801 Via Fortuna
                                                            Ste 650
                                                            TX
                                                            Austin, TX 78746
                                                            512−482−6800
                                                            Email: Darlene.Ghavimi@klgates.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                           James A Shimota
                                                           K&L Gates LLP − Chicago
                                                           70 West Madison Street
                                                           Suite 3100
                                                           Chicago, IL 60602
                                                           312−807−4299
                                                           Fax: 312−827−8000
                                                           Email: jim.shimota@klgates.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Andrea Leigh Fair
                                                           Ward, Smith & Hill, PLLC
                                                           1507 Bill Owens Parkway
                                                           Longview, TX 75604
                                                           903−757−6400
                                                           Fax: 903−757−2323
                                                           Email: andrea@wsfirm.com
                                                           ATTORNEY TO BE NOTICED
                                                           Connor James Meggs
                                                           K&L Gates LLP
                                                           10100 Santa Monica Blvd.
                                                           8th Floor
                                                           Los Angeles, CA 90067
                                                           310−552−5031
                                                           Email: connor.meggs@klgates.com
                                                           ATTORNEY TO BE NOTICED

                                                           Courtney Neufeld
                                                           K&L Gates LLP
                                                           925 Fourth Ave.
                                                           Suite 2900

                                         APPX810
Case: 23-136     Document: 2-2       Page: 635       Filed: 06/16/2023

               Seattle, WA 98104
               206−370−7836
               Email: courtney.neufeld@klgates.com
               ATTORNEY TO BE NOTICED
               George C Summerfield
               K & L Gates LLP − Chicago
               70 W Madison Street
               Suite 3300
               Chicago, IL 60602
               312−807−4376
               Fax: 312−827−8000
               Email: george.summerfield@klgates.com
               ATTORNEY TO BE NOTICED
               Jason A Engel
               K&L Gates LLP − Chicago
               70 West Madison Street
               Suite 3100
               Chicago, IL 60602
               312−807−4236
               Fax: 312−827−8000
               Email: jason.engel@klgates.com
               ATTORNEY TO BE NOTICED
               Katherine L. Allor
               K&L Gates LLP − Chicago
               70 West Madison Street
               Suite 3100
               Chicago, IL 60602
               312.372.1121
               Fax: 312.827.8000
               Email: katy.allor@klgates.com
               ATTORNEY TO BE NOTICED
               Kenneth H. Bridges
               Bridges IP Consulting
               2113 19th Ave S
               Nashville, TN 37212
               615−973−9478
               Email: bridgesip@icloud.com
               ATTORNEY TO BE NOTICED

               Matthew Alexander Blair
               K&L Gates
               2801 Via Fortuna
               Ste 650
               Austin, TX 78746
               512−482−6851
               Email: matthew.blair@klgates.com
               ATTORNEY TO BE NOTICED
               Nicholas F. Lenning
               K&L Gates LLP
               925 Fourth Avenue
               Suite 2900
               Seattle, WA 98104−1158
               206−623−7580
               Fax: 206−623−7022
               Email: nicholas.lenning@klgates.com
               ATTORNEY TO BE NOTICED
               Peter E. Soskin
               K&L Gates LLP − San Francisco
               Four Embarcadero Center

                          APPX811
             Case: 23-136      Document: 2-2   Page: 636      Filed: 06/16/2023

                                                      Suite 1200
                                                      San Francisco, CA 94111
                                                      415−882−8046
                                                      Fax: 415−882−8220
                                                      Email: peter.soskin@klgates.com
                                                      ATTORNEY TO BE NOTICED

                                                      Samuel Patrick Richey
                                                      K&L Gates LLP
                                                      70 W. Madison St.
                                                      Suite 3100
                                                      Chicago, IL 60602
                                                      312−372−1121
                                                      Email: samuel.richey@klgates.com
                                                      ATTORNEY TO BE NOTICED

                                                      Jack Wesley Hill
                                                      Ward, Smith & Hill, PLLC
                                                      1507 Bill Owens Parkway
                                                      Longview, TX 75604
                                                      903−757−6400
                                                      Fax: 903−757−2323
                                                      Email: wh@wsfirm.com
                                                      ATTORNEY TO BE NOTICED


V.
Defendant
Charter Communications, Inc.            represented by Daniel Reisner
                                                       Arnold & Porter Kaye Scholer LLP
                                                       250 West 55th Street
                                                       New York, NY 10019
                                                       212−836−8132
                                                       Email: Daniel.Reisner@arnoldporter.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      Albert John Boardman
                                                      Arnold & Porter Kaye Scholer LLP
                                                      250 West 55th Street
                                                      New York, NY 10019−9710
                                                      212−836−8135
                                                      Email: Albert.Boardman@arnoldporter.com
                                                      ATTORNEY TO BE NOTICED

                                                      Amy L DeWitt
                                                      Arnold & Porter Kaye Scholer, LLP −
                                                      Wash DC
                                                      601 Massachusetts Avenue NW
                                                      Washington, DC 20001−3743
                                                      202−942−5823
                                                      Fax: 202−942−5999
                                                      Email: amy.dewitt@aporter.com
                                                      ATTORNEY TO BE NOTICED

                                                      David S Benyacar
                                                      Kaye Scholer − New York
                                                      425 Park Avenue
                                                      New York, NY 10022
                                                      212/836−7763
                                                      Fax: 212/836−6404
                                                      Email: David.Benyacar@arnoldporter.com
                                                      ATTORNEY TO BE NOTICED

                                     APPX812
            Case: 23-136     Document: 2-2   Page: 637    Filed: 06/16/2023

                                                   Deron R Dacus
                                                   The Dacus Firm, PC
                                                   821 ESE Loop 323
                                                   Suite 430
                                                   Tyler, TX 75701
                                                   903/705−1117
                                                   Fax: 903/581−2543
                                                   Email: ddacus@dacusfirm.com
                                                   ATTORNEY TO BE NOTICED

                                                   Elizabeth Anne Long
                                                   Arnold & Porter Kaye Scholer LLP
                                                   250 West 55th Street
                                                   New York, NY 10019−9710
                                                   212−836−8067
                                                   Email: elizabeth.long@arnoldporter.com
                                                   ATTORNEY TO BE NOTICED

                                                   Melissa A. Brown
                                                   Arnold & Porter Kaye Scholer LLP
                                                   250 West 55th Street
                                                   New York, NY 10019−9710
                                                   212−836−7981
                                                   Email: Melissa.Brown@arnoldporter.com
                                                   ATTORNEY TO BE NOTICED

                                                   Palak Mayani Parikh
                                                   Arnold & Porter Kaye Scholer LLP
                                                   250 West 55th Street
                                                   New York, NY 10019−9710
                                                   212−836−7243
                                                   Email: palak.mayani@arnoldporter.com
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

Defendant
Spectrum Advanced Services, LLC        represented by Albert John Boardman
TERMINATED: 02/07/2023                                (See above for address)
                                                      TERMINATED: 02/07/2023
                                                      ATTORNEY TO BE NOTICED

                                                   Daniel Reisner
                                                   (See above for address)
                                                   TERMINATED: 02/07/2023
                                                   ATTORNEY TO BE NOTICED

                                                   David S Benyacar
                                                   (See above for address)
                                                   TERMINATED: 02/07/2023
                                                   ATTORNEY TO BE NOTICED

                                                   Deron R Dacus
                                                   (See above for address)
                                                   TERMINATED: 02/07/2023
                                                   ATTORNEY TO BE NOTICED

                                                   Elizabeth Anne Long
                                                   (See above for address)
                                                   TERMINATED: 02/07/2023
                                                   ATTORNEY TO BE NOTICED

                                                   Melissa A. Brown
                                                   (See above for address)
                                                   TERMINATED: 02/07/2023

                                   APPX813
             Case: 23-136       Document: 2-2         Page: 638        Filed: 06/16/2023

                                                               ATTORNEY TO BE NOTICED

                                                               Palak Mayani Parikh
                                                               (See above for address)
                                                               TERMINATED: 02/07/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

Defendant
Spectrum Management Holding                   represented by Albert John Boardman
Company, LLC                                                 (See above for address)
TERMINATED: 02/07/2023                                       TERMINATED: 02/07/2023
                                                             ATTORNEY TO BE NOTICED

                                                               Daniel Reisner
                                                               (See above for address)
                                                               TERMINATED: 02/07/2023
                                                               ATTORNEY TO BE NOTICED

                                                               David S Benyacar
                                                               (See above for address)
                                                               TERMINATED: 02/07/2023
                                                               ATTORNEY TO BE NOTICED

                                                               Deron R Dacus
                                                               (See above for address)
                                                               TERMINATED: 02/07/2023
                                                               ATTORNEY TO BE NOTICED

                                                               Elizabeth Anne Long
                                                               (See above for address)
                                                               TERMINATED: 02/07/2023
                                                               ATTORNEY TO BE NOTICED

                                                               Melissa A. Brown
                                                               (See above for address)
                                                               TERMINATED: 02/07/2023
                                                               ATTORNEY TO BE NOTICED

                                                               Palak Mayani Parikh
                                                               (See above for address)
                                                               TERMINATED: 02/07/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED


Date Filed   #   Docket Text
04/27/2022    1 COMPLAINT against Charter Communications, Inc., Spectrum Advanced Services,
                LLC, Spectrum Management Holding Company, LLC ( Filing fee $ 402 receipt
                number 0540−8892861.), filed by Entropic Communications, LLC. (Attachments: # 1
                Civil Cover Sheet, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6
                Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, # 11 Exhibit J, #
                12 Exhibit K, # 13 Exhibit L)(Hill, Jack) (Entered: 04/27/2022)
04/27/2022    2 Notice of Filing of Patent/Trademark Form (AO 120). AO 120 mailed to the Director
                of the U.S. Patent and Trademark Office. (Hill, Jack) (Entered: 04/27/2022)
04/27/2022    3 CORPORATE DISCLOSURE STATEMENT filed by Entropic Communications,
                LLC identifying Corporate Parent Entropic Holdings, LLC for Entropic
                Communications, LLC. (Hill, Jack) (Entered: 04/27/2022)
04/27/2022    4 DEMAND for Trial by Jury by Entropic Communications, LLC. (Hill, Jack) (Entered:
                04/27/2022)

                                          APPX814
             Case: 23-136        Document: 2-2         Page: 639       Filed: 06/16/2023

04/27/2022       Case assigned to District Judge Rodney Gilstrap. (ch, ) (Entered: 04/27/2022)
04/27/2022       In accordance with the provisions of 28 USC Section 636(c), you are hereby notified
                 that a U.S. Magistrate Judge of this district court is available to conduct any or all
                 proceedings in this case including a jury or non−jury trial and to order the entry of a
                 final judgment. The form Consent to Proceed Before Magistrate Judge is available on
                 our website. All signed consent forms, excluding pro se parties, should be filed
                 electronically using the event Notice Regarding Consent to Proceed Before Magistrate
                 Judge. (ch, ) (Entered: 04/27/2022)
04/27/2022    5 SUMMONS Issued as to Charter Communications, Inc., Spectrum Advanced Services,
                LLC, Spectrum Management Holding Company, LLC. (Attachments: # 1
                Summons(es), # 2 Summons(es))(ch, ) (Entered: 04/27/2022)
05/09/2022    6 SUMMONS Returned Executed by Entropic Communications, LLC. Charter
                Communications, Inc. served on 5/3/2022, answer due 5/24/2022. (Hill, Jack)
                (Entered: 05/09/2022)
05/09/2022    7 SUMMONS Returned Executed by Entropic Communications, LLC. Spectrum
                Advanced Services, LLC served on 5/3/2022, answer due 5/24/2022. (Hill, Jack)
                (Entered: 05/09/2022)
05/09/2022    8 SUMMONS Returned Executed by Entropic Communications, LLC. Spectrum
                Management Holding Company, LLC served on 5/3/2022, answer due 5/24/2022.
                (Hill, Jack) (Entered: 05/09/2022)
05/18/2022    9 NOTICE of Attorney Appearance by Andrea Leigh Fair on behalf of Entropic
                Communications, LLC (Fair, Andrea) (Entered: 05/18/2022)
05/23/2022   10 Defendant's Unopposed First Application for Extension of Time to Answer Complaint
                re Charter Communications, Inc., Spectrum Advanced Services, LLC, Spectrum
                Management Holding Company, LLC.( Dacus, Deron) (Entered: 05/23/2022)
05/23/2022       Defendant's Unopposed First Application for Extension of Time to Answer Complaint
                 is granted pursuant to Local Rule CV−12 for Spectrum Management Holding
                 Company, LLC to 6/23/2022; Spectrum Advanced Services, LLC to 6/23/2022;
                 Charter Communications, Inc. to 6/23/2022. 30 Days Granted for Deadline Extension.(
                 nkl, ) (Entered: 05/23/2022)
05/23/2022   11 Defendant's Unopposed Second Application for Extension of Time to Answer
                Complaint re Charter Communications, Inc., Spectrum Advanced Services, LLC,
                Spectrum Management Holding Company, LLC.( Dacus, Deron) (Entered:
                05/23/2022)
05/23/2022       Defendant's Unopposed Second Application for Extension of Time to Answer
                 Complaint is granted pursuant to Local Rule CV−12 for Spectrum Management
                 Holding Company, LLC to 7/8/2022; Spectrum Advanced Services, LLC to 7/8/2022;
                 Charter Communications, Inc. to 7/8/2022. 15 Days Granted for Deadline Extension.(
                 nkl, ) (Entered: 05/23/2022)
05/24/2022   12 AMENDED COMPLAINT against Charter Communications, Inc., Spectrum
                Advanced Services, LLC, Spectrum Management Holding Company, LLC, filed by
                Entropic Communications, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, #
                9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14
                Exhibit N)(Hill, Jack Wesley) (Entered: 05/24/2022)
06/14/2022   13 ORDER − Scheduling Conference set for 7/19/2022 10:00 AM before District Judge
                Rodney Gilstrap. Signed by District Judge Rodney Gilstrap on 6/14/2022. (ch, )
                (Entered: 06/15/2022)
07/06/2022   14 NOTICE of Discovery Disclosure by Entropic Communications, LLC (P.R. 3−1 and
                P.R. 3−2 Disclosures) (Hill, Jack Wesley) (Entered: 07/06/2022)
07/08/2022   15 NOTICE of Attorney Appearance − Pro Hac Vice by Palak Mayani Parikh on behalf
                of Charter Communications, Inc., Spectrum Advanced Services, LLC, Spectrum
                Management Holding Company, LLC. Filing fee $ 100, Receipt #ATXEDC−9010087.
                (nkl, ) (Entered: 07/08/2022)

                                           APPX815
             Case: 23-136        Document: 2-2        Page: 640       Filed: 06/16/2023

07/08/2022   16 NOTICE of Attorney Appearance − Pro Hac Vice by Albert John Boardman on behalf
                of All Defendants. Filing fee $ 100, receipt number ATXEDC−9010246. (Boardman,
                Albert) (Entered: 07/08/2022)
07/08/2022   17 NOTICE of Attorney Appearance − Pro Hac Vice by David S Benyacar on behalf of
                All Defendants. Filing fee $ 100, receipt number ATXEDC−9010286. (Benyacar,
                David) (Entered: 07/08/2022)
07/08/2022   18 MOTION to Dismiss For Improper Venue Pursuant to FRCP 12(b)(3) by Charter
                Communications, Inc., Spectrum Advanced Services, LLC, Spectrum Management
                Holding Company, LLC. (Attachments: # 1 Declaration − Armstrong, # 2 Declaration
                − Burdett, # 3 Declaration − Nelson, # 4 Declaration − Smith, # 5 Text of Proposed
                Order)(Dacus, Deron) (Entered: 07/08/2022)
07/08/2022   19 CORPORATE DISCLOSURE STATEMENT filed by Charter Communications, Inc.,
                Spectrum Advanced Services, LLC, Spectrum Management Holding Company, LLC
                (Dacus, Deron) (Entered: 07/08/2022)
07/08/2022   20 NOTICE of Attorney Appearance − Pro Hac Vice by Daniel Reisner on behalf of All
                Defendants. Filing fee $ 100, receipt number ATXEDC−9010457. (Reisner, Daniel)
                (Entered: 07/08/2022)
07/13/2022   21 NOTICE of Attorney Appearance − Pro Hac Vice by James A Shimota on behalf of
                Entropic Communications, LLC. Filing fee $ 100, receipt number
                ATXEDC−9017573. (Shimota, James) (Entered: 07/13/2022)
07/13/2022   22 NOTICE of Attorney Appearance − Pro Hac Vice by Jason A Engel on behalf of
                Entropic Communications, LLC. Filing fee $ 100, receipt number
                ATXEDC−9017576. (Engel, Jason) (Entered: 07/13/2022)
07/13/2022   23 NOTICE of Attorney Appearance by George C Summerfield on behalf of Entropic
                Communications, LLC (Summerfield, George) (Entered: 07/13/2022)
07/19/2022       Minute Entry for proceedings held before District Judge Rodney Gilstrap: Scheduling
                 Conference held on 7/19/2022. Counsel for the parties appeared. Court asked whether
                 they consented to trial before the U.S. Magistrate Judge. Court then gave counsel
                 Claim Construction and Jury Selection/Trial dates. (Court Reporter Shawn McRoberts,
                 RMR, CRR) (aeb) (Entered: 07/19/2022)
07/22/2022   24 Joint MOTION for Extension of Time to File Response/Reply as to 18 MOTION to
                Dismiss For Improper Venue Pursuant to FRCP 12(b)(3) and for Limited Expedited
                Venue Discovery by Entropic Communications, LLC. (Attachments: # 1 Text of
                Proposed Order)(Hill, Jack Wesley) (Entered: 07/22/2022)
07/25/2022   25 ORDER granting 24 Joint MOTION for Extension of Time to File Response/Reply as
                to 18 MOTION to Dismiss For Improper Venue Pursuant to FRCP 12(b)(3) and for
                Limited Expedited Venue Discovery ORDERED that the parties may conduct venue
                discovery subject to the agreements set forth in the Motion. (Dkt. No. 24 at 23.) It is
                ORDERED that the venue discoveryshall be completed by September 30, 2022 and the
                deadline for Entropics response to Charters Motionto Dismiss for Improper Venue
                (Dkt. No. 18) is extended until October 14, 2022. Signed by District Judge Rodney
                Gilstrap on 7/25/2022. (ch, ) (Entered: 07/25/2022)
08/02/2022   26 Unopposed MOTION for Extension of Time to File by Charter Communications, Inc.,
                Spectrum Advanced Services, LLC, Spectrum Management Holding Company, LLC.
                (Attachments: # 1 Text of Proposed Order)(Dacus, Deron) (Entered: 08/02/2022)
08/03/2022   27 ORDER granting 26 Unopposed MOTION for Extension of Time to File Docket
                Control Order. Signed by District Judge Rodney Gilstrap on 8/3/2022. (ch, ) (Entered:
                08/03/2022)
08/05/2022   28 NOTICE of Attorney Appearance − Pro Hac Vice by Nicholas F. Lenning on behalf of
                Entropic Communications, LLC. Filing fee $ 100, receipt number
                ATXEDC−9055865. (Lenning, Nicholas) (Entered: 08/05/2022)
08/05/2022   29 Agreed MOTION for Entry of Docket Control Order by Entropic Communications,
                LLC. (Attachments: # 1 Text of Proposed Order)(Hill, Jack Wesley) (Entered:
                08/05/2022)

                                          APPX816
             Case: 23-136       Document: 2-2        Page: 641      Filed: 06/16/2023


08/05/2022   30 Agreed MOTION for Entry of Discovery Order by Entropic Communications, LLC.
                (Attachments: # 1 Text of Proposed Order)(Hill, Jack Wesley) (Entered: 08/05/2022)
08/09/2022   31 Unopposed MOTION for Extension of Time to File by Charter Communications, Inc.,
                Spectrum Advanced Services, LLC, Spectrum Management Holding Company, LLC.
                (Attachments: # 1 Text of Proposed Order)(Dacus, Deron) (Entered: 08/09/2022)
08/09/2022   32 Agreed MOTION for Entry of Protective Order by Entropic Communications, LLC.
                (Attachments: # 1 Text of Proposed Order)(Hill, Jack Wesley) (Entered: 08/09/2022)
08/10/2022   33 ORDER granting 31 Motion for Extension of Time to File Disclosures. Signed by
                District Judge Rodney Gilstrap on 8/10/2022. (ch, ) (Entered: 08/10/2022)
08/10/2022   34 DISCOVERY ORDER granting 30 Agreed MOTION for Entry of Discovery Order.
                Signed by District Judge Rodney Gilstrap on 8/10/2022. (ch, ) (Entered: 08/10/2022)
08/10/2022   35 DOCKET CONTROL ORDER granting 29 Agreed MOTION for Entry of Docket
                Control Order. Pretrial Conference set for 10/30/2023 09:00 AM before District Judge
                Rodney Gilstrap., Amended Pleadings due by 3/28/2023., Jury Selection set for
                12/4/2023 09:00AM before District Judge Rodney Gilstrap., Markman Hearing set for
                6/13/2023 09:00 AM before District Judge Rodney Gilstrap., Motions due by
                10/10/2023., Proposed Pretrial Order due by 10/23/2023.). Signed by District Judge
                Rodney Gilstrap on 8/10/2022. (ch, ) (Entered: 08/10/2022)
08/10/2022   36 STIPULATED PROTECTIVE ORDER. Signed by District Judge Rodney Gilstrap on
                8/10/2022. (ch, ) (Entered: 08/10/2022)
08/15/2022   37 NOTICE by Charter Communications, Inc., Spectrum Advanced Services, LLC,
                Spectrum Management Holding Company, LLC Notice of Compliance (Dacus, Deron)
                (Entered: 08/15/2022)
08/18/2022   38 NOTICE of Discovery Disclosure by Entropic Communications, LLC (Initial
                Disclosures) (Hill, Jack Wesley) (Entered: 08/18/2022)
08/30/2022   39 Agreed MOTION Agreed Motion for Entry of First Amended Docket Control Order re
                35 Order,,, Terminate Motions,,, Scheduling Order,, by Charter Communications, Inc.,
                Spectrum Advanced Services, LLC, Spectrum Management Holding Company, LLC.
                (Attachments: # 1 Text of Proposed Order)(Dacus, Deron) (Entered: 08/30/2022)
08/31/2022   40 FIRST AMENDED DOCKET CONTROL ORDER granting 39 Agreed MOTION
                Agreed Motion for Entry of First Amended Docket Control Order re 35 Order. Signed
                by District Judge Rodney Gilstrap on 8/31/2022. (ch, ) (Entered: 09/01/2022)
09/08/2022   41 NOTICE by Charter Communications, Inc., Spectrum Advanced Services, LLC,
                Spectrum Management Holding Company, LLC Notice of Compliance (Dacus, Deron)
                (Entered: 09/08/2022)
09/23/2022   42 Unopposed MOTION for Extension of Time to File Response/Reply as to 18
                MOTION to Dismiss For Improper Venue Pursuant to FRCP 12(b)(3) by Entropic
                Communications, LLC. (Attachments: # 1 Text of Proposed Order)(Hill, Jack Wesley)
                (Entered: 09/23/2022)
09/26/2022   43 ORDER granting 42 Unopposed MOTION for Extension of Time to File
                Response/Reply as to 18 MOTION to Dismiss For Improper Venue Pursuant to FRCP
                12(b)(3) , 18 MOTION to Dismiss For Improper Venue Pursuant to FRCP 12(b)(3)
                Responses due by 11/11/2022. Signed by District Judge Rodney Gilstrap on
                9/26/2022. (ch, ) (Entered: 09/27/2022)
09/27/2022   44 NOTICE of Attorney Appearance by Matthew Alexander Blair on behalf of Entropic
                Communications, LLC (Blair, Matthew) (Entered: 09/27/2022)
09/28/2022   45 NOTICE of Attorney Appearance by Darlene Fae Ghavimi on behalf of All Plaintiffs
                (Ghavimi, Darlene) (Entered: 09/28/2022)
10/25/2022   46 Unopposed MOTION for Extension of Time to File Response/Reply as to 18
                MOTION to Dismiss For Improper Venue Pursuant to FRCP 12(b)(3) by Entropic
                Communications, LLC. (Attachments: # 1 Text of Proposed Order)(Hill, Jack Wesley)
                (Entered: 10/25/2022)

                                         APPX817
             Case: 23-136        Document: 2-2        Page: 642        Filed: 06/16/2023

10/31/2022   47 ORDER granting 46 Unopposed MOTION for Extension of Time to File
                Response/Reply as to 18 MOTION to Dismiss For Improper Venue Pursuant to FRCP
                12(b)(3) . Signed by District Judge Rodney Gilstrap on 10/31/2022. (ch, ) (Entered:
                10/31/2022)
12/02/2022   48 Unopposed MOTION for Extension of Time to File Response/Reply as to 18
                MOTION to Dismiss For Improper Venue Pursuant to FRCP 12(b)(3) by Entropic
                Communications, LLC. (Attachments: # 1 Text of Proposed Order)(Hill, Jack Wesley)
                (Entered: 12/02/2022)
12/08/2022   49 ORDER granting 48 Unopposed MOTION for Extension of Time to File
                Response/Reply as to 18 MOTION to Dismiss For Improper Venue Pursuant to FRCP
                12(b)(3) , 18 MOTION to Dismiss For Improper Venue Pursuant to FRCP 12(b)(3)
                Responses due by 1/6/2023. Signed by District Judge Rodney Gilstrap on 12/8/2022.
                (ch, ) (Entered: 12/08/2022)
01/04/2023   50 NOTICE of Attorney Appearance by Elizabeth Anne Long on behalf of All
                Defendants (Long, Elizabeth) (Entered: 01/04/2023)
01/04/2023   51 Unopposed MOTION for Extension of Time to File Response/Reply as to 18
                MOTION to Dismiss For Improper Venue Pursuant to FRCP 12(b)(3) by Entropic
                Communications, LLC. (Attachments: # 1 Text of Proposed Order)(Hill, Jack Wesley)
                (Entered: 01/04/2023)
01/05/2023   52 ORDER granting 51 Unopposed MOTION for Extension of Time to File
                Response/Reply as to 18 MOTION to Dismiss For Improper Venue Pursuant to FRCP
                12(b)(3). Extended to 1/10/2023. Signed by District Judge Rodney Gilstrap on
                1/5/2023. (ch, ) (Entered: 01/05/2023)
01/10/2023   53 AMENDED COMPLAINT (Second) against Charter Communications, Inc., filed by
                Entropic Communications, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, #
                9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14
                Exhibit N)(Hill, Jack Wesley) (Entered: 01/10/2023)
01/10/2023   54 SEALED RESPONSE to Motion re 18 MOTION to Dismiss For Improper Venue
                Pursuant to FRCP 12(b)(3) filed by Entropic Communications, LLC. (Attachments: #
                1 Declaration of M. Blair, # 2 Exhibit A to Blair Declaration, # 3 Exhibit B to Blair
                Declaration, # 4 Exhibit C to Blair Declaration, # 5 Exhibit D to Blair Declaration, # 6
                Exhibit E to Blair Declaration, # 7 Exhibit F to Blair Declaration, # 8 Exhibit G to
                Blair Declaration, # 9 Exhibit H to Blair Declaration, # 10 Exhibit I to Blair
                Declaration, # 11 Exhibit J to Blair Declaration, # 12 Exhibit K to Blair Declaration, #
                13 Exhibit L to Blair Declaration, # 14 Exhibit M to Blair Declaration, # 15 Exhibit N
                to Blair Declaration, # 16 Exhibit O to Blair Declaration, # 17 Exhibit P to Blair
                Declaration, # 18 Exhibit Q to Blair Declaration, # 19 Exhibit R to Blair Declaration, #
                20 Exhibit S to Blair Declaration, # 21 Exhibit T to Blair Declaration, # 22 Exhibit U
                to Blair Declaration, # 23 Exhibit V to Blair Declaration, # 24 Exhibit W to Blair
                Declaration, # 25 Exhibit X to Blair Declaration, # 26 Exhibit Y to Blair Declaration, #
                27 Text of Proposed Order proposed order)(Hill, Jack Wesley) (Entered: 01/10/2023)
01/17/2023   55 REPLY to Response to Motion re 18 MOTION to Dismiss For Improper Venue
                Pursuant to FRCP 12(b)(3) filed by Charter Communications, Inc., Spectrum
                Advanced Services, LLC, Spectrum Management Holding Company, LLC. (Long,
                Elizabeth) (Entered: 01/17/2023)
01/18/2023   56 REDACTION to 54 Sealed Response to Motion,,,, by Entropic Communications,
                LLC. (Attachments: # 1 Declaration of M. Blair, # 2 Exhibit A through E to Blair
                Declaration (Sealed in Entirety), # 3 Exhibit F to Blair Declaration, # 4 Exhibit G
                through H to Blair Declaration (Sealed in Entirety), # 5 Exhibit I to Blair Declaration,
                # 6 Exhibit J to Blair Declaration, # 7 Exhibit K to Blair Declaration, # 8 Exhibit L to
                Blair Declaration, # 9 Exhibit M to Blair Declaration, # 10 Exhibit N to Blair
                Declaration, # 11 Exhibit O to Blair Declaration, # 12 Exhibit P to Blair Declaration, #
                13 Exhibit Q to Blair Declaration, # 14 Exhibit R to Blair Declaration, # 15 Exhibit S
                to Blair Declaration, # 16 Exhibit T to Blair Declaration, # 17 Exhibit U to Blair
                Declaration, # 18 Exhibit V to Blair Declaration, # 19 Exhibit W to Blair Declaration,
                # 20 Exhibit X to Blair Declaration, # 21 Exhibit Y to Blair Declaration (Sealed in
                Entirety), # 22 Text of Proposed Order proposed order)(Hill, Jack Wesley) (Entered:

                                          APPX818
             Case: 23-136         Document: 2-2         Page: 643       Filed: 06/16/2023

                 01/18/2023)
01/19/2023   57 NOTICE of Attorney Appearance − Pro Hac Vice by Melissa A. Brown on behalf of
                All Defendants. Filing fee $ 100, receipt number ATXEDC−9315923. (Brown,
                Melissa) (Entered: 01/19/2023)
01/23/2023   58 Unopposed MOTION for Extension of Time to File Answer re 53 Amended
                Complaint, by Charter Communications, Inc.. (Attachments: # 1 Text of Proposed
                Order)(Dacus, Deron) (Entered: 01/23/2023)
01/25/2023   59 ORDER granting 58 Unopposed MOTION for Extension of Time to File Answer re 53
                Amended Complaint. Charter Communications, Inc. answer due 1/30/2023.. Signed by
                District Judge Rodney Gilstrap on 1/25/2023. (ch, ) (Entered: 01/25/2023)
01/27/2023   60 NOTICE of Attorney Appearance − Pro Hac Vice by Kenneth H. Bridges on behalf of
                Entropic Communications, LLC. Filing fee $ 100, receipt number
                ATXEDC−9330960. (Bridges, Kenneth) (Entered: 01/27/2023)
01/30/2023   61 SEALED MOTION to Dismiss by Charter Communications, Inc.. (Attachments: # 1
                Text of Proposed Order, # 2 Declaration, # 3 Exhibit 1, # 4 Exhibit 2, # 5 Exhibit 3, #
                6 Exhibit 4, # 7 Exhibit 5, # 8 Exhibit 6, # 9 Exhibit 7, # 10 Exhibit 8, # 11 Exhibit 9,
                # 12 Exhibit 10, # 13 Exhibit 11, # 14 Exhibit 12)(Dacus, Deron) (Entered:
                01/30/2023)
02/06/2023   62 REDACTION to 61 SEALED MOTION to Dismiss by Charter Communications, Inc..
                (Attachments: # 1 Text of Proposed Order, # 2 Declaration, # 3 Exhibit 1, # 4 Exhibit
                2, # 5 Exhibit 3, # 6 Exhibit 4, # 7 Exhibit 5, # 8 Exhibit 6, # 9 Exhibit 7−12)(Dacus,
                Deron) (Entered: 02/06/2023)
02/06/2023   63 STIPULATION of Dismissal by Charter Communications, Inc.. (Dacus, Deron)
                (Entered: 02/06/2023)
02/06/2023   64 Unopposed MOTION Motion to Amend Case Caption re 63 Stipulation of Dismissal
                by Charter Communications, Inc.. (Attachments: # 1 Text of Proposed Order)(Dacus,
                Deron) (Entered: 02/06/2023)
02/07/2023   65 ORDER re 63 Stipulation of Dismissal without prejudice as too Spectrum Advanced
                Services, LLC and Spectrum Management Holding Company, LLC. Signed by District
                Judge Rodney Gilstrap on 2/7/2023. (ch, ) (Entered: 02/07/2023)
02/08/2023   66 Unopposed MOTION for Extension of Time to File Response/Reply as to 61
                SEALED MOTION to Dismiss by Entropic Communications, LLC. (Attachments: # 1
                Text of Proposed Order)(Fair, Andrea) (Entered: 02/08/2023)
02/10/2023   67 ORDER granting 66 Unopposed MOTION for Extension of Time to File
                Response/Reply as to 61 SEALED MOTION to Dismiss , 61 SEALED MOTION to
                Dismiss Responses due by 2/20/2023. Signed by District Judge Rodney Gilstrap on
                02/10/2023. (klc, ) (Entered: 02/10/2023)
02/21/2023   68 SEALED RESPONSE to Motion re 61 SEALED MOTION to Dismiss filed by
                Entropic Communications, LLC. (Attachments: # 1 Affidavit Declaration of M. Blair,
                # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F,
                # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, # 11 Exhibit J, # 12 Exhibit K, # 13
                Exhibit L, # 14 Exhibit M, # 15 Exhibit N, # 16 Exhibit O, # 17 Exhibit P, # 18
                Exhibit Q, # 19 Exhibit R, # 20 Exhibit S, # 21 Exhibit T, # 22 Exhibit U, # 23 Exhibit
                V, # 24 Exhibit W, # 25 Exhibit X, # 26 Exhibit Y, # 27 Exhibit Z, # 28 Exhibit AA, #
                29 Exhibit AB, # 30 Exhibit AC, # 31 Text of Proposed Order)(Hill, Jack Wesley)
                (Entered: 02/21/2023)
02/27/2023   69 Unopposed MOTION for Extension of Time to File by Charter Communications, Inc..
                (Attachments: # 1 Text of Proposed Order)(Dacus, Deron) (Entered: 02/27/2023)
02/28/2023   70 REDACTION to 68 Sealed Response to Motion,, by Entropic Communications, LLC.
                (Attachments: # 1 Affidavit Declaration of M. Blair, # 2 Exhibit A−E, # 3 Exhibit F, #
                4 Exhibit G−H, # 5 Exhibit I, # 6 Exhibit J, # 7 Exhibit K, # 8 Exhibit L, # 9 Exhibit
                M, # 10 Exhibit N, # 11 Exhibit O, # 12 Exhibit P, # 13 Exhibit Q, # 14 Exhibit R, #
                15 Exhibit S, # 16 Exhibit T, # 17 Exhibit U, # 18 Exhibit V, # 19 Exhibit W, # 20
                Exhibit X, # 21 Exhibit Y−AB, # 22 Exhibit AC, # 23 Text of Proposed Order)(Hill,

                                           APPX819
             Case: 23-136        Document: 2-2        Page: 644       Filed: 06/16/2023


                 Jack Wesley) (Entered: 02/28/2023)
02/28/2023   71 ORDER granting 69 Motion for Extension of Time to File Reply. Signed by District
                Judge Rodney Gilstrap on 2/28/2023. (ch, ) (Entered: 02/28/2023)
02/28/2023   72 Agreed MOTION to Amend/Correct 40 Order on Motion for Miscellaneous Relief by
                Entropic Communications, LLC. (Attachments: # 1 Text of Proposed Order)(Fair,
                Andrea) (Entered: 02/28/2023)
03/02/2023   73 SECOND AMENDED DOCKET CONTROL ORDER granting 72 Agreed MOTION
                to Amend/Correct 40 Order on Motion for Miscellaneous Relief. Signed by District
                Judge Rodney Gilstrap on 3/2/2023. (ch, ) (Entered: 03/02/2023)
03/06/2023   74 Sealed Document. SUPPLEMENT re 68 SEALED RESPONSE to Motion re 61
                SEALED MOTION to Dismiss filed by Entropic Communications, LLC. (Hill, Jack
                Wesley) (Entered: 03/06/2023)
03/09/2023   75 SEALED REPLY to Response to Motion re 61 SEALED MOTION to Dismiss filed
                by Charter Communications, Inc.. (Attachments: # 1 Declaration, # 2 Exhibit 13, # 3
                Exhibit 14)(Dacus, Deron) (Entered: 03/09/2023)
03/13/2023   76 REDACTION to 74 Sealed Document by Entropic Communications, LLC. (Hill, Jack
                Wesley) (Entered: 03/13/2023)
03/13/2023   77 Unopposed MOTION for Extension of Time to File Response/Reply as to 61
                SEALED MOTION to Dismiss (to File Sur−Reply) by Entropic Communications,
                LLC. (Attachments: # 1 Text of Proposed Order)(Hill, Jack Wesley) (Entered:
                03/13/2023)
03/15/2023   78 ORDER granting 77 Unopposed MOTION for Extension of Time to File
                Response/Reply as to 61 SEALED MOTION to Dismiss (to File Sur−Reply), 61
                SEALED MOTION to Dismiss Responses due by 3/23/2023. Signed by District Judge
                Rodney Gilstrap on 3/15/2023. (ch, ) (Entered: 03/16/2023)
03/16/2023   79 REDACTION to 75 Sealed Reply to Response to Motion re 61 Motion to Dismiss filed
                by Charter Communications, Inc.. (Attachments: # 1 Declaration, # 2 Exhibit 13, # 3
                Exhibit 14)(Brown, Melissa) (Entered: 03/16/2023)
03/23/2023   80 SEALED SUR−REPLY to Reply to Response to Motion re 61 SEALED MOTION to
                Dismiss filed by Entropic Communications, LLC. (Hill, Jack Wesley) (Entered:
                03/23/2023)
03/29/2023   81 NOTICE of Attorney Appearance − Pro Hac Vice by Katherine L. Allor on behalf of
                Entropic Communications, LLC. Filing fee $ 100, receipt number
                ATXEDC−9426592. (Allor, Katherine) (Entered: 03/29/2023)
03/29/2023   82 NOTICE of Attorney Appearance − Pro Hac Vice by Peter E. Soskin on behalf of
                Entropic Communications, LLC. Filing fee $ 100, receipt number
                ATXEDC−9426688. (Soskin, Peter) (Entered: 03/29/2023)
04/03/2023   83 REDACTION to 80 Sealed Sur−Reply to Reply to Response to Motion by Entropic
                Communications, LLC. (Hill, Jack Wesley) (Entered: 04/03/2023)
04/04/2023   84 Sealed Document. Joint Claim Construction and Pre−Hearing Statement (P.R. 4−3)
                (Shimota, James) (Entered: 04/04/2023)
04/05/2023   85 NOTICE by Charter Communications, Inc. of Service of Expert Witness Disclosures
                Pursuant to PR 4−3(b) (Dacus, Deron) (Entered: 04/05/2023)
04/12/2023   86 NOTICE of Attorney Appearance − Pro Hac Vice by Samuel Patrick Richey on behalf
                of Entropic Communications, LLC. Filing fee $ 100, receipt number
                ATXEDC−9448177. (Richey, Samuel) (Entered: 04/12/2023)
04/14/2023   87 ***WITHDRAWN PER ORDER #94*** SEALED MOTION to Disqualify Cathleen
                Quigley by Entropic Communications, LLC. (Attachments: # 1 Declaration of James
                Shimota, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7
                Text of Proposed Order)(Shimota, James) Modified on 5/9/2023 (ch, ). (Entered:
                04/14/2023)

                                          APPX820
             Case: 23-136         Document: 2-2        Page: 645       Filed: 06/16/2023


04/19/2023    88 Agreed MOTION to Amend/Correct Docket Control Order by Entropic
                 Communications, LLC. (Attachments: # 1 Text of Proposed Order)(Fair, Andrea)
                 (Entered: 04/19/2023)
04/20/2023    89 AMENDED DOCKET CONTROL ORDER granting 88 Agreed MOTION to
                 Amend/Correct Docket Control Order. Signed by District Judge Rodney Gilstrap on
                 4/20/2023. (ch, ) (Entered: 04/21/2023)
04/27/2023    90 Unopposed MOTION for Extension of Time to File Response/Reply as to 87
                 SEALED MOTION to Disqualify Cathleen Quigley by Charter Communications, Inc..
                 (Attachments: # 1 Text of Proposed Order)(Brown, Melissa) (Entered: 04/27/2023)
05/05/2023    92 Unopposed MOTION to Withdraw 87 SEALED MOTION to Disqualify Cathleen
                 Quigley by Entropic Communications, LLC. (Attachments: # 1 Text of Proposed
                 Order)(Hill, Jack Wesley) (Entered: 05/05/2023)
05/05/2023    93 ORDER granting 90 Unopposed MOTION for Extension of Time to File
                 Response/Reply as to 87 SEALED MOTION to Disqualify Cathleen Quigley , 87
                 SEALED MOTION to Disqualify Cathleen Quigley Responses due by 5/5/2023.
                 Signed by District Judge Rodney Gilstrap on 5/5/2023. (ch, ) (Entered: 05/08/2023)
05/08/2023    94 ORDER granting 92 Motion to Withdraw 87 SEALED MOTION to Disqualify >.
                 Signed by District Judge Rodney Gilstrap on 5/8/2023. (ch, ) (Entered: 05/09/2023)
05/09/2023    95 NOTICE by Entropic Communications, LLC of Compliance Regarding Technical
                 Tutorial (Fair, Andrea) (Entered: 05/09/2023)
05/09/2023    96 NOTICE of Attorney Appearance − Pro Hac Vice by Amy L DeWitt on behalf of
                 Charter Communications, Inc.. Filing fee $ 100, receipt number ATXEDC−9490163.
                 (DeWitt, Amy) (Entered: 05/09/2023)
05/09/2023    97 PLAINTIFF'S OPENING CLAIM CONSTRUCTION BRIEF filed by Entropic
                 Communications, LLC. (Attachments: # 1 Exhibit 1 − U.S. Patent No. 8,223,775, # 2
                 Exhibit 2 − U.S. Patent No. 8,792,008, # 3 Exhibit 3 − U.S. Patent No. 9,825,826, # 4
                 Exhibit 4 − U.S. Patent No. 8,284,690, # 5 Exhibit 5 − U.S. Patent No. 9,210,362, # 6
                 Exhibit 6 − U.S. Patent No. 10,135,682, # 7 Exhibit 7 − Rebuttal Declaration of
                 Richard A. Kramer, # 8 Exhibit 8 − Declaration of Dr. Kevin Almeroth, # 9 Exhibit 9
                 − Almeroth Condensed Deposition Transcript, # 10 Exhibit 10 − IEEE Dictionary, #
                 11 Exhibit 11 − Email from A. Boardman)(Fair, Andrea) (Entered: 05/09/2023)
05/10/2023    98 NOTICE by Charter Communications, Inc. − Joint Notice of Redaction of Docket 91
                 − (Attachments: # 1 Exhibit 1 − Redacted Order, dated May 3, 2023 to the docket in
                 22−cv−125 (ED Tex))(Brown, Melissa) (Entered: 05/10/2023)
05/11/2023    99 Opposed MOTION TO CONSOLIDATE THIS ACTION WITH NO.
                 2:23−CV−00052−JRG AND TO AMEND THE CASE SCHEDULE by Charter
                 Communications, Inc.. (Attachments: # 1 Ex 1 − Proposed Consolidated Order, # 2 Ex
                 2 − Claim Charts, # 3 Text of Proposed Order)(Reisner, Daniel) (Entered: 05/11/2023)
05/11/2023   100 ORDER − Court hereby appoints David Keyzer as the Courts technical advisor.
                 Signed by District Judge Rodney Gilstrap on 5/11/2023. (ch, ) (Entered: 05/12/2023)
05/17/2023   101 Sealed Document. Defendant's Answer to Second Amended Complaint (Dacus,
                 Deron) (Entered: 05/17/2023)
05/17/2023   102 NOTICE of Attorney Appearance − Pro Hac Vice by Courtney Neufeld on behalf of
                 Entropic Communications, LLC. Filing fee $ 100, receipt number
                 ATXEDC−9505527. (Neufeld, Courtney) (Entered: 05/17/2023)
05/18/2023   103 NOTICE of Attorney Appearance − Pro Hac Vice by Connor James Meggs on behalf
                 of Entropic Communications, LLC. Filing fee $ 100, receipt number
                 ATXEDC−9506343. (Meggs, Connor) (Entered: 05/18/2023)
05/23/2023   104 REPLY to 97 Claim Construction Brief,, filed by Charter Communications, Inc..
                 (Attachments: # 1 Affidavit/Declaration of Albert Boardman in Support of Charter's
                 Responsive Claim Construction Brief, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5
                 Exhibit 4, # 6 Exhibit 5)(Long, Elizabeth) (Entered: 05/23/2023)


                                           APPX821
             Case: 23-136         Document: 2-2        Page: 646       Filed: 06/16/2023


05/24/2023   105 REDACTION to 101 Sealed Document Answer by Charter Communications, Inc..
                 (Long, Elizabeth) (Entered: 05/24/2023)
05/25/2023   106 FILED IN ERROR PER ATTORNEY

                   Unopposed MOTION for Extension of Time to File Response/Reply as to 99 Opposed
                   MOTION TO CONSOLIDATE THIS ACTION WITH NO. 2:23−CV−00052−JRG
                   AND TO AMEND THE CASE SCHEDULE by Entropic Communications, LLC.
                   (Attachments: # 1 Proposed Order)(Hill, Jack Wesley) Modified on 5/25/2023 (nkl, ).
                   (Entered: 05/25/2023)
05/25/2023         ***FILED IN ERROR PER ATTORNEY. Document # 106, Unopposed
                   MOTION for Extension of Time to File Response/Reply. PLEASE IGNORE.***
                   (nkl, ) (Entered: 05/25/2023)
05/25/2023   107 NOTICE by Charter Communications, Inc. of its Designation of Daniel L. Reisner as
                 Lead Counsel (Long, Elizabeth) (Entered: 05/25/2023)
05/26/2023   108 Unopposed MOTION for Leave to Supplement Infringement Contentions by Entropic
                 Communications, LLC. (Attachments: # 1 Proposed Order)(Fair, Andrea) (Entered:
                 05/26/2023)
05/26/2023   109 Unopposed MOTION for Extension of Time to File Response/Reply as to 99 Opposed
                 MOTION TO CONSOLIDATE THIS ACTION WITH NO. 2:23−CV−00052−JRG
                 AND TO AMEND THE CASE SCHEDULE by Entropic Communications, LLC.
                 (Attachments: # 1 Proposed Order)(Hill, Jack Wesley) (Entered: 05/26/2023)
05/30/2023   110 PLAINTIFF'S REPLY CLAIM CONSTRUCTION BRIEF filed by Entropic
                 Communications, LLC. (Attachments: # 1 Exhibit 12 − U.S. Patent Publication No.
                 2021/0337543, # 2 Exhibit 13 − Newtons Telecom Dictionary Excerpt, # 3 Exhibit 14
                 − Microsoft Computer Dictionary Excerpt, # 4 Exhibit 15 − Entropic's Technology
                 Tutorial Slides)(Shimota, James) (Entered: 05/30/2023)
05/31/2023   111 ORDER Before the Court is Plaintiff's Unopposed Motion for Leave to Supplement
                 Infringement Contentions filed by Entropic Communications LLC. (Dkt. No. 109 .) In
                 the Motion, Entropic requests leave to supplement its infringement contentions. (Id. at
                 1.) Entropic served its supplemental infringement contentions on March 10, 2023. (Id.)
                 The Motion is unopposed. (Id. at 1, 3) Having considered the Motion, and noting its
                 unopposed nature, the Court finds that it should be and hereby is GRANTED.
                 Accordingly, the Court ORDERS that Entropic is granted leave to supplement its
                 infringement contentions as requested. Signed by District Judge Rodney Gilstrap on
                 5/30/2023. (psm) (Entered: 05/31/2023)
05/31/2023   112 ORDER Before the Court is the Unopposed Motion for Extension of Time to Respond
                 to Charter's Motion to Consolidate filed by Plaintiff Entropic Communications, LLC.
                 (Dkt. No. 109 .) In the Motion, Entropic requests an extension of time to file a
                 response in opposition to Defendant Charter Communications, Inc.'s Motion to
                 Consolidate and Amend the Case Schedule (Dkt. No. 99 ). (Id. at 1.) The requested
                 extension would move the deadline for Entropic to file its opposition up to and
                 including May 31, 2023. (Id.) The Motion is unopposed. (Id. at 1, 3.) Having
                 considered the Motion, and noting its unopposed nature, the Court finds that it should
                 be and hereby is GRANTED. Accordingly, the Court ORDERS that the deadline for
                 Entropic to file a response to the Motion to Consolidate is extended up to and
                 including May 31, 2023. Signed by District Judge Rodney Gilstrap on 5/30/2023.
                 (psm) (Entered: 05/31/2023)
05/31/2023   113 RESPONSE in Opposition re 99 Opposed MOTION TO CONSOLIDATE THIS
                 ACTION WITH NO. 2:23−CV−00052−JRG AND TO AMEND THE CASE
                 SCHEDULE filed by Entropic Communications, LLC. (Attachments: # 1 Proposed
                 Order Proposed Order)(Hill, Jack Wesley) (Entered: 05/31/2023)
06/02/2023   114 P.R. 4−5(d) Joint Claim Construction Chart by Charter Communications, Inc..
                 (Attachments: # 1 Exhibit A(Long, Elizabeth) (Entered: 06/02/2023)
06/06/2023   115 Amended P.R. 4−5(d) Joint Claim Construction Chart by Charter Communications,
                 Inc.. (Attachments: # 1 Exhibit A)(Long, Elizabeth) (Entered: 06/06/2023)


                                           APPX822
        Case: 23-136       Document: 2-2       Page: 647      Filed: 06/16/2023

06/08/2023   116 REPLY to Response to Motion re 99 Opposed MOTION TO CONSOLIDATE THIS
                 ACTION WITH NO. 2:23−CV−00052−JRG AND TO AMEND THE CASE
                 SCHEDULE filed by Charter Communications, Inc.. (Attachments: # 1 Declaration of
                 Daniel Reisner)(Brown, Melissa) (Entered: 06/08/2023)




                                    APPX823
          Case: 23-136    Document: 2-2       Page: 648   Filed: 06/16/2023




                         CERTIFICATE OF SERVICE
      I certify that on June 16, 2023, I electronically filed the foregoing with the

Clerk of the Court for the United States Court of Appeals for the Federal Circuit by

using the appellate CM/ECF system.

      I further certify that on June 16, 2023, I caused a copy of the foregoing to be

served on the Clerk of the Court for the United States Court of Appeals for the

Federal Circuit as well as to the following counsel of record and district court

judge by Federal Express and by electronic mail at the following addresses:

Darlene F. Ghavimi                             Connor J. Meggs
Matthew A. Blair                               K&L Gates, LLP
K&L Gates, LLP                                 10100 Santa Monica Blvd., 8th Floor
2801 Via Fortuna, Suite 650                    Los Angeles, CA 90067
Austin, TX 78746                               Tel.: (310) 552-5031
Tel.: (512) 482-6800                           connor.meggs@klgates.com
Darlene.Ghavimi@klgates.com
matthew.blair@klgates.com                      Peter E. Soskin
                                               K&L Gates, LLP
James A Shimota                                Four Embarcadero Center, Suite 1200
George C Summerfield                           San Francisco, CA 94111
Jason A Engel                                  Tel.: 415-882-8046
Katherine L. Allor                             Fax: 415-882-8220
Samuel P. Richey                               peter.soskin@klgates.com
K&L Gates, LLP
70 West Madison Street, Suite 3100             Nicholas F. Lenning
Chicago, IL 60602                              Courtney Neufeld
Tel.: (312) 807-4299                           K&L Gates, LLP
Fax: (312) 827-8000                            925 Fourth Ave., Suite 2900
jim.shimota@klgates.com                        Seattle, WA 98104
george.summerfield@klgates.com                 Tel.: (206) 623-7580
jason.engel@klgates.com                        Fax: (206) 623-7022
katy.allor@klgates.com                         nicholas.lenning@klgates.com
samuel.richey@klgates.com                      courtney.neufeld@klgates.com


                                          i
          Case: 23-136    Document: 2-2        Page: 649   Filed: 06/16/2023




Andrea Leigh Fair
Jack Wesley Hill
Ward, Smith & Hill, PLLC
1507 Bill Owens Parkway
Longview, TX 75604
Tel.: (903) 757-6400
Fax: (903) 757-2323
andrea@wsfirm.com
wh@wsfirm.com

Kenneth H. Bridges
Bridges IP Consulting
2113 19th Ave S
Nashville, TN 37212
Tel.: (615) 973-9478
bridgesip@icloud.com

Counsel for Plaintiff-Respondent
Entropic Communications, LLC


Hon. Rodney Gilstrap
U.S.D.C. – Eastern District of Texas
Sam B. Hall, Jr. Federal Building and United States Courthouse
100 East Houston Street
Marshall, Texas 75670
Tel.: (903) 935-3868
Fax: (903) 935-2295


Dated: June 16, 2023                                 /s/ Daniel Reisner




                                          ii
